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              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

FOOD & WATER WATCH,                 )
RECIRCULATING FARMS COALITION, )
CENTER FOR FOOD SAFETY, SIERRA )
CLUB, HEALTHY GULF, SUNCOAST )
WATERKEEPER, and TAMPA BAY          )
WATERKEEPER,                        )
                     Petitioners,   )                   22-1253
                                    )
v.                                  )
                                    )
U.S. ENVIRONMENTAL PROTECTION )
AGENCY, and U.S. ENVIRONMENTAL )
PROTECTION AGENCY                   )
ENVIRONMENTAL APPEALS BOARD, )
                                    )
                     Respondents.   )
____________________________________)

                           PETITION FOR REVIEW

      Pursuant to Fed. R. App. P. 15, D.C. Cir. Rule 15, section 509(b)(1)(F) of

the Clean Water Act, 33 U.S.C. § 1369(b)(1)(F), and the Administrative Procedure

Act, 5 U.S.C. § 706, Food & Water Watch, Recirculating Farms Coalition, Center

for Food Safety, Sierra Club, Healthy Gulf, Suncoast Waterkeeper, and Tampa Bay

Waterkeeper (collectively, “Petitioners”) hereby petition this Court for review of:

(1) the U.S. Environmental Protection Agency’s (“EPA”) September 2020

issuance, pursuant to 33 U.S.C. § 1342, of National Pollutant Discharge

Elimination System (“NPDES”) Permit No. FL0A00001 to Ocean Era, Inc. for an

offshore aquaculture facility to be constructed and operated in federal waters of the
                                          1
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Gulf of Mexico (“Permit,” attached as Exhibit 1); (2) EPA’s Order Remanding in

Part and Denying Review in Part, issued on May 6, 2022 by EPA’s Environmental

Appeals Board in NPDES Appeal No. 20-09, see In re Ocean Era, Inc., 18 E.A.D.

678 EAB 2022) (attached as Exhibit 2); and (3) EPA’s June 8, 2022 final permit

decision (attached as Exhibit 3), which became effective on that date. See 40

C.F.R. § 23.2 (providing that where the EPA explicitly provides an approval date

on a NPDES permit, the decision becomes final on the specified date).

      The challenged actions—which, as appropriate, Petitioners timely appealed

to EPA’s Environmental Appeals Board—and EPA’s associated failure to comply

with federal law injure Petitioners and their members, by, inter alia, permitting

water pollution discharges and negatively affecting waters used by Petitioners’

members for recreation and other purposes without a full, legally-compliant

environmental review of those impacts.

      Respectfully submitted this 27th day of September, 2022.

/s/Elizabeth L. Lewis                         /s/William S. Eubanks II
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                                              Counsel for all Petitioners



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/s/Meredith Stevenson                      /s/Marianne Cufone
Meredith Stevenson                         Marianne Cufone
CA Bar No. 328712 (application for         FL Bar No. 186198 (application for
      admission forthcoming)                     admission forthcoming)
Center for Food Safety                     Recirculating Farms Coalition
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Counsel for Petitioner Center for          Counsel for Recirculating Farms
     Food Safety                                Coalition




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                         CERTIFICATE OF SERVICE

      I hereby certify that, in accordance with Fed. R. App. P. 15(c)(1) and

25(c)(2), on September 27, 2022, I served copies of the foregoing document and its

attachments on the following parties admitted to participate in the agency

proceedings by electronic mail (with written consent):

Julie Simmonds                               Stephen Hernick
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                                             Counsel for Friends of Animals,
Hallie Templeton                                  Petitioner before the
HTempleton@foe.org                                Environmental Appeals Board

Counsel for Friends of the Earth,
     Petitioner before the
     Environmental Appeals Board

      Dated this 27th day of September, 2022

                                             /s/Elizabeth L. Lewis
                                             Elizabeth L. Lewis
                                             DC Bar No. 229702
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                                             Counsel for all Petitioners


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                     UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                           REGION 4
                                         Water Division
                                     Atlanta Federal Center
                                        61 Forsyth Street
                                     Atlanta GA 30303-8960

                         AUTHORIZATION TO DISCHARGE UNDER THE
                    NATIONAL POLLUTANT DISCHARGE ELIMINATION SYSTEM
                                    PERMIT NUMBER
                                       FL0A00001

Under the authority of the Clean Water Act (CWA) of 1977 (33 USC § 1251 et seq.) and in accordance with the
effluent limitations, monitoring requirements, and other conditions set forth herein.

Permittee:                      Ocean Era, Inc.
                                PO Box 4239
                                Kailua-Kona HI 96745

Facility:                       Velella Epsilon

Location:                       Gulf of Mexico (Approx. 27° 7.34185N, 83° 12.02291W)

Authorization to discharge:     Wastewater from an Aquatic Animal Production Facility producing up to 80,000
                                pounds/year for one production cycle (SIC code 0273)

Outfall:                        001

Receiving water body:           Federal Waters of the Gulf of Mexico

Issuance Date:                  September 30, 2020
Permit Effective Date:          October 30, 2020
Permit Expiration Date:         September 29, 2025

The permittee shall reapply for NPDES coverage before April 2, 2025 (180 days before the expiration of this permit)
if the permittee intends to continue to discharge at the facility beyond the term of this permit.



                                                         _______________________________
                                                         Jeaneanne M. Gettle, Director
                                                         Water Division
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PART I  SCHEDULE OF SUBMISSIONS

The following table summarizes some of the items that the permittee must complete and submit to the U.S.
Environmental Protection Agency Region 4 (EPA) during the term of this permit:

 Item                          Due Date

1.    Discharge Monitoring     Unless an exception is granted, the effluent and receiving water body monitoring must be
      Reports (DMRs)           submitted on DMRs and entered into NetDMR on a monthly basis (see Part II.A and III.B)

2.    Drug and Chemical Use    Drugs, pesticides, chemicals, investigational new animal drugs, and extra-label drug use
      Report                   must be reported when used (see Part III.A.1).
3.    Best Management          The permittee must develop a BMP plan within 90 days of the issuance date of this permit
      Practices (BMP) Plan     and obtain approval from the EPA prior to discharge (see Part IV).
4.    Environmental            The permittee must develop an EMP within 90 days of permit issuance and obtain approval
      Monitoring Plan (EMP)    from the EPA prior to discharge (see Part V).
5.    Facility Damage
                               The permittee must create a FDPC plan within 90 days of the issuance date of this permit
      Prevention and Control
                               and obtain approval from the EPA prior to discharge (see Part VI).
      (FDPC) Plan
6.    Quality Assurance        The permittee must develop a QAPP within 90 days of the issuance date of this permit and
      Project Plan (QAPP)      obtain approval from the EPA prior to discharge (see Part VII).

7.    Submittal of NPDES       A complete application for the next permit cycle must be submitted to the EPA no later than
      Application              180 days before the permit expires (see 40 CFR § 122.21).

8.    Annual Certification     The permittee must submit a certification to the EPA that the BMP plan, FDPC plan, and
                               QAPP has been reviewed and modified (if necessary) on an annual basis no later than July
                               31st of each year. Certification is not required if the facility is not discharging.
                               See Part IV, VI, and VII for more information. The EMP may be modified as necessary in
                               consultation with the EPA (see Part V for more information).



The address below is to be used for all submittals required by the permit except DMRs:

     U.S. Environmental Protection Agency, Region 4
     Permitting and Grants Branch Chief
     Water Division
     61 Forsyth Street SW | Atlanta GA 30303-8960
     404.562.9459 | R4NPDESPermits@epa.gov




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  PART II  MONITORING AND OTHER REQUIREMENTS

  A. Water Quality, Sediment, and Biological Monitoring Requirements

  During the period beginning on the effective date and lasting through the expiration date of this permit, the permittee is
  authorized to discharge industrial wastewater from an aquatic animal production facility into the Gulf of Mexico for one
  production cycle. The discharge shall be limited and monitored by the permittee as specified below. All reports shall be
  submitted in accordance with the requirements of the permit.

      1. Monitoring Requirements

                                         Table 1: Summary of Monitoring Requirements


                                               Parameter   Daily         Average                 Monitoring
Parameter                         Units                                             Location                     Sample Type
                                               Code 1      Maximum       Monthly                 Frequency 2

Water Quality Monitoring
Current measurements 3            m/s          -                                    EF1          Continuous      Instantaneous
                3
Fish biomass                      lbs          -                                    EF1          Monthly         Measured
Feed rate                         lbs/day      45603                                BT1          Monthly         Measured
Feed Conversion Rate 4            %/day        45603                                BT1          Monthly         Calculated
                        5
Medicinal products                lbs or gal   -                                    BT1          As applicable   Measured
Chlorophyll-a                     mg/l         32230
Copper, Total (as Cu)             mg/l         01042
Nitrogen, Ammonia Total (as N)    mg/l         00610       Report        Report
Nitrogen, Total (as N)            mg/l         00600
Oxygen, Dissolved                 mg/l         00300                                UC1, EF1,
                                                                                    EF2, DC1,    Monthly 6       Grab
pH                                s.u.         00400                                DC2
Phosphorus, Total (as P)          mg/l         00665
Solids, Total Suspended           mg/l         00530
Sulfide, Total (as S)             mg/l         00745
Temperature                       °C           00010
Sediment Monitoring
Carbon, Total Organic (TOC)       mg/l         00680
Hydrogen sulfide                  mg/l         71875
Sediment Oxygen Demand            mg/l         51812
Nitrogen, Total (as N)            mg/l         00600                                SD1, SD2,    Biomass
                                                           Report        Report                                  Grab
Particle size distribution   3
                                  -            -                                    SD3          based 7
Phosphorus, Total (as P)          mg/l         00665
Solids, Total                     mg/l         00500
Total volatile solids             mg/l         00505
Benthic Monitoring
                                                                                    SD1, SD2,    Biomass
Benthic macroinvertebrates 3      -            -                    Report                                       Grab
                                                                                    SD3          based 7




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   Table 1 footnote information:
   1
       Parameter Codes are the unique codes identifying the individual parameter being monitored and shall be
       used when reporting monitoring results in NetDMR pursuant to permit Part III.B.
   2
       The monitoring requirements contained in the NPDES permit are only effective while the facility is
       operational; however, the DMR reporting requirements remain in force while the permit is effective. When
       the facility is not operating or discharging, the regularly scheduled DMRs must be submitted to the EPA
       with the appropriate no discharge reporting code (NODI = 2 Operation Shutdown).
   3
       The environmental monitoring data and reports for current measurements (velocity and direction), fish
       biomass, particle size distribution, and benthic macroinvertebrates shall be submitted to the EPA at the
       address shown in Part I of the permit. The results of monitoring for current measurements and fish biomass
       shall be submitted to the EPA monthly and are due at the end of the following month. The results of
       monitoring for particle size distribution and benthic macroinvertebrates shall be submitted to the EPA on a
       biomass basis (see Footnote 7) and are due at the end of the following month.
   4
       The feed conversion rate shall be reported as the ratio of feed weight per day to animal weight (see
       Appendix D).
   5
       Only medicinal products (all veterinary therapeutic products, antibiotics, and other treatments) and
       medicinal premixes for inclusion in fish feeds which are approved for use in aquaculture by the Food and
       Drug Administration, shall be used. The appropriate withdrawal times for all medicines used in the
       treatment or prevention of fish disease must be adhered to. The discharge of any medicinal products shall
       be reported to the EPA at the address shown in Part I of the permit. The report shall include the mass or
       volume of product discharged, the product, and the duration that the product was used (see Appendix C).
       See Part III.A for more information.

   6
       Effluent and down current samples shall be collected no more than 30 minutes after feeding is complete.
       Upstream current samples shall be collected no more than 60 minutes before or after feeding is complete.
       The sample collected during the final month of the project should be collected just prior to harvesting the
       fish to collect data representative of maximum biomass.
   7
       Sampling shall be collected at frequencies corresponding to fish biomass and should be collected on the
       same day as that months water quality samples. Sampling shall occur when the fish production reaches an
       approximate 50% biomass and at maximum biomass prior to harvesting.




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   2. Compliance Monitoring Locations

   The following table lists the sampling locations associated with this permit:

                                           Table 2: Sampling Locations

 No      Type                           Current Vector        Location                         Depth
 BT1                                    Not applicable        On vessel                        Not applicable
 UC1                                                          500 m up-current of cage
                                                                                               Mid-cage
 EF1
         Water Quality                                                   -current of cage
 EF2                                    Day of sampling 1
 DC1                                                                                           Mid-cage
                                                              5 m down-current of cage
 DC2                                                                                           5 m below cage
 SD1                                                          2,000 m up-current
         Sediment and Benthic
 SD2                                                2         Center of project site
         Macroinfauna Community         Long-term                                              Ocean floor
                                                              Down-current edge of project
 SD3     Sampling
                                                              site

   Table 2 footnote information:
   1
       Water quality sampling locations shall be based on the primary current vector on the day of sampling.
       Sampling locations shall be located along a transect passing through the center of the cage and run in the
       direction of the primary current vector at the time of sampling. These locations could change with each
       water quality sampling event (see Part V for more information).
   2
       Sediment and benthic macroinvertebrate sampling locations shall be based on the long-term primary current
       vector and shall remain the same throughout the lifetime of the project. The exact sampling locations for
       sediment/benthic monitoring will be determined after the cage has been placed in the water and the long-
       term current vector has been confirmed (see Part V for more information).

B. Other Requirements and Prohibitions

   1. There shall be no discharge of floating solids or visible foam in other than trace amounts.

   2. The effluent shall not cause a visible sheen on the receiving water.

   3. The discharge of surfactants, dispersants, and detergents is not allowed.

   4. The discharge of any solid material not in compliance with the other parts of the permit is prohibited.

   5. Any discharge from the facility support vessel must comply with the U.S. Coast Guard regulations
      implementing Annex V of Marpol 73/78 for domestic waste disposal or exploitation of seabed mineral
      resources (33 CFR § 151). These limitations apply to all navigable Waters of the United States to prevent
      pollution from ships (33 USC § 1901). Annex V prohibits the discharge of garbage, including food wastes,
      within 12 nautical miles from land. Comminuted food waste (able to pass through a screen with a mesh size
      no larger than 25 mm) may be discharged within 12 nautical miles or more from land (33 CFR § 151.51 
      151.77). Gray water, drainage from dishwater, shower, laundry, bath, and washbasins are not considered
      garbage within the meaning of Annex V. Incineration ash and non-plastic clinkers may be discharged
      beyond 12 nautical miles from nearest land.

   6. The discharge from the facility shall not cause unreasonable degradation of the marine environment
      underneath the facility and in the surrounding area. Unreasonable degradation is defined in 40 CFR §
      125.121(e) as significant adverse changes in ecosystem diversity, productivity and stability of the biological
      community within the area of discharge and surrounding biological communities, and/or loss of aesthetic,

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        recreational, scientific or economic values which is unreasonable in relation to the benefit derived from the
        discharge.

    7. All stocking of live aquatic organisms of any life stage must be accompanied by an Official Certificate of
       Veterinary Inspection signed by a licensed and accredited veterinarian attesting to the health of the
       organisms to be stocked.

    8. This permit only authorizes discharges under the Clean Water Act in accordance with the terms of this
       permit and does not authorize any activity in violation of other applicable law; permittee remains
       responsible for compliance with all applicable laws.

    9. The use or discharge of toxic chemicals to control the fouling of any part of the cage is prohibited.

    10. Un-pelletized wet feed (minced fish or shellfish) shall not be discharged.

    11. The permittee shall not store toxic chemicals or materials (as defined in 40 CFR § 122, Appendix D) at the
        facility.

    12. The facility and anchoring system shall be placed at least 500 meters from any hardbottom habitat on the
        seafloor.

    13. Discharges from seafood processing activities are not authorized under this permit.

    14. The discharge from the facility is limited to one production cycle of approximately 80,000 lbs over the
        course of approximately 12 months. A production cycle is defined as the period of time that starts when
        fish are placed in the cage until all fish are harvested.

C. Failure to Sample

Should conditions arise so that some or all of the sampling or analytical procedures prescribed in this permit are not
done or reporting cannot occur on schedule, the EPA must be notified in writing (email) within 5 calendar days at
the address shown in Part I of the permit. The notification should include the nature of the problem and recommend
solutions.




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PART III  REPORTING, MONITORING, AND RECORD REQUIREMENTS

A. Aquaculture Specific Requirements

     1. Reporting Requirements for the Use of Drugs and Other Chemicals

     The following requirements apply to drugs, pesticides, and chemicals that are used in such a way that they will
     be or may be discharged to the receiving water body. More information about the reporting requirements
     (including report examples) for drugs, pesticides, chemicals, structural failure or damage to the facility, and
     spills can be found in the Compliance Guide for the Concentrated Aquatic Animal Production Point Source
     Category. 1

     a. Use of Drugs, Pesticides, and Other Chemicals

         i. All drugs, pesticides and other chemicals must be applied in accordance with label directions.
        ii. The permittee must maintain records of all drug, pesticide, and other chemical applications including
            date and time of application and the quality of the drug or chemical used. See Appendix C for more
            information

     b. Investigational New Animal Drugs (INAD) and Extra-Label Drug Usage

        i.  Participation in INAD Testing and the Use of Extra-Label Drugs: The permittee must notify the EPA in
            writing within seven (7) days of volunteering to participate in INAD testing. The written report must
            identify the INAD to be used, method of use, the dosage, and the disease or condition the INAD is
            intended to treat. For INADs and extra label drug uses, the permittee must provide an oral report to the
            permitting authority as soon as possible, preferably in advance of use, but no later than seven (7) days
            after initiating use of that drug. The oral report must identify the drugs used, method of application, and
            the reason for using that drug. Based on the report, the EPA may implement site-specific action, as
            warranted. For INADs and extra-label drug uses, the permittee must provide a written report to the
            permitting authority within thirty (30) days after initiating the use of that drug. The written report must
            identify the drug used and include: the reason for treatment, date(s) and time(s) of the addition (including
            duration), method of application; and the amount added. See appendix C for more information.
        ii. INAD or Extra-Label Drug Reporting Exception: If the EPA has already approved the permittees use
            of a specific INAD or extra-label drug, additional approval to treat another species, or to treat another
            disease using this INAD or extra-label drug, is not necessary provided that the INAD or extra-label use
            is at or below the approved dosage and involves similar conditions of use (See 40 CFR § 451.3(a)).

     2. Structural Failure or Damage to the Facility

     The permittee shall alert the EPA to any failure or damage to any part of the aquatic animal containment
     structures that results in any fish escapes, discharge of pollutants, or hazardous materials, including pollutants
     authorized by this permit, into the receiving water body. The permittee shall make an oral report to the EPA
     within twenty-four (24) hours of the occurrence identifying the material discharged and describe the cause of
     the failure or damage in the facility. The permittee must also provide a written report within seven (7) days that
     includes: cause of the damage or failure, estimate of time elapsed until the failure or damage was repaired, an
     estimate of the material released, and steps taken to prevent a reoccurrence.




1
 U.S. Environmental Protection Agency. 2006. Compliance Guide for the Concentrated Aquatic Animal Production Point Source Category.
EPA-821-B-05-001. U.S. Environmental Protection Agency, Office of Water, Washington, DC.
< http://water.epa.gov/scitech/wastetech/guide/aquaculture/upload/2006_05_03_guide_aquaculture_guidance_full-final.pdf >.

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       3. Spills of Feed, Drugs, Pesticides, or Other Chemicals

       The permittee shall alert the EPA of a spill of any hazardous materials, drugs, pesticides, or feed that results in
       a discharge to waters of the United States. The permittee shall make an oral report to the EPA within twenty-
       four (24) hours of the spills occurrence identifying the cause and amount of material discharged. The permittee
       must also provide a written report within seven (7) days that includes: cause of the spill, estimate of time elapsed
       until the spill was contained, an estimate of the material released, and steps taken to prevent a reoccurrence.

B. Electronic Reporting Requirements

       1. Except as described in item 2 below, all monitoring data required by this permit shall be submitted on EPA
          Form 3320-1 Discharge Monitoring Report (DMR) forms using the electronic DMR (NetDMR) internet
          application. NetDMR is a web-based application that allows NPDES Permittee Users to enter and
          electronically submit DMR data through the Central Data Exchange to the Integrated Compliance
          Information System (ICIS). 2

       2. The environmental monitoring data and reports for current measurements (velocity and direction), fish
          biomass, particle size distribution, and benthic macroinvertebrates shall be submitted to the EPA at the
          address shown in Part I of the permit. Results shall include any narrative reporting in electronic format
          (.pdf, .doc, .txt, etc.). All processed and raw data shall be included in Excel (.xls) format. The results of
          monitoring for current measurements and fish biomass shall be submitted to the EPA monthly and are due
          at the end of the following month. The results for monitoring for particle size distribution and benthic
          macroinvertebrates shall be submitted based on product biomass (50% biomass and maximum biomass)
          and are due at the end of the following month

       3. The permittee shall determine its ability to meet the electronic reporting requirements. DMRs must be
          reported using EPAs electronic NetDMR tool unless a waiver from electronic reporting has been granted
          from EPA Region 4. If the permittee wishes to obtain a waiver from submitting DMRs electronically, a
          written request must be submitted to EPA Regional 4 at the address shown in Part I of the permit. Temporary
          and permanent waivers from electronic reporting may be granted based on one of the following conditions.

           a. If the permittees headquarters is physically located in a geographic area (i.e., zip code or census tract)
              that is identified as under-served for broadband Internet access in the most recent report from the
              Federal Communications Commission; or

           b. If the permittee has limitations regarding available computer access or computer capability.

           The request must document which exemption is met and provide evidence supporting any claims. A waiver
           may only be considered granted once the permittee receives written confirmation from EPA Region 4. If
           the permittee qualifies for a waiver from electronic reporting, monitoring data must be submitted on paper
           DMR forms provided by EPA Region 4.

       4. The DMRs shall be signed by a facility's Responsible Official or a Delegated Responsible Official (i.e. a
          person delegated by the Responsible Official) in accordance with 40 CFR § 122.22(b). The Responsible
          Official of a facility is defined in Part VIII. For NetDMR, the person(s) viewing, editing, signing and
          submitting the DMRs will need to register for a new account managed by EPA Region 4. A request for
          signatory privilege requires submission of a Subscriber Agreement to EPA Region 4 for any facility or
          permittee staff responsible for signing and submitting DMRs on behalf of an organization. Additionally,
          Delegated Responsible Officials must be delegated by the Responsible Official, either on-line using
          NetDMR, or on a paper delegation form provided by EPA Region 4. More information and guidance on
          NetDMR can be found online.2


2
    EPAs NetDMR webpage can be found at: https://netdmr.epa.gov.

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    5. DMRs submitted using NetDMR shall be submitted to EPA Region 4 by the end of the month following
       the month for which the monitoring was completed. DMRs submitted on paper must include the original
       signed DMR form and must be submitted to the EPA at the address shown in Part I of the permit.

        A paper copy of the submitted EPA 3320-1 DMR shall be maintained onsite for records retention purposes.
        For NetDMR users, view and print the DMR from the Submission Report Information page after each
        original or revised DMR is submitted. For submittals on paper, make a copy of the completed paper form
        after it is signed by a Responsible Official or a Delegated Responsible Official.

C. Monitoring Procedures

In accordance with 40 CFR § 122.41(j)(4), monitoring and sampling must be conducted according to test procedures
approved under 40 CFR Part 136, unless other sufficiently sensitive test procedures have been specified in this
permit or approved by EPA as an alternate test procedure under 40 CFR § 136.5.

D. Additional Monitoring by the Permittee

In accordance with 40 CFR § 122.41(l)(4)(ii), if the permittee monitors any additional parameters/pollutants or
monitors any parameter/pollutant more frequently than required by this permit, using test procedures approved
under 40 CFR Part 136 or as specified in this permit, the permittee must include the results of this monitoring in
the calculation and reporting of the data submitted in the DMR.

E. Retention of Records

In accordance with 40 CFR § 122.41(j)(2), the permittee shall retain records of all monitoring information including
all calibration and maintenance records, all recordings for continuous monitoring instrumentation, copies of all
reports and plans required by this permit, and records of all data used to complete the application for this permit,
for a period of at least 3 years from the date of the sample, measurement, report, plan, or application. This period
may be extended by request of the Director at any time.




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PART IV  BEST MANAGEMENT PRACTICES

A. Requirements

The permittee must use Best Management Practices (BMPs) as well as develop and implement a BMP Plan that
will prevent or minimize the generation of direct and indirect discharge for wastes and pollutants to the receiving
water body that are associated with the aquaculture facility. More information about BMP plan requirements
(including examples) can be found in EPAs Compliance Guide for the Concentrated Aquatic Animal Production
Point Source Category. The BMP Plan must include, at a minimum, procedures and information explaining how
the permittee will meet all of the following requirements:

    1. Feed Management

    The permittee must employ efficient feed management and feeding strategies that limit feed input to the
    minimum amount reasonably necessary to achieve production goals and sustain targeted rates of aquatic animal
    growth in order to minimize potential discharges of uneaten food and waste products to the waters of the U.S..
    These strategies must minimize the accumulation of uneaten food beneath the pens through the use of active
    feed monitoring and management practices. These practices may include one or more of the following: use of
    real-time feed monitoring, including devices such as video cameras, digital scanning sonar, and upwelled
    systems; monitoring of sediment quality beneath the pens; monitoring of benthic community quality beneath
    the pens; capture of waste feed and feces; or other good husbandry practices. Feeding methods should maximize
    ingestion and food conversion by using slow-settling and highly digestible feed.

    2. Waste Collection and Disposal

    The permittee must collect, return to shore, and properly dispose of all feed bags, packaging materials, waste
    rope and netting.

    3. Transport or Harvest Discharge

    The permittee must minimize any discharge associated with the transport or harvesting of aquatic animals
    including blood, viscera, aquatic animal carcasses, or transport water containing blood. The permittee shall
    contain and transfer commercial fish and other aquatic life in a manner which shall prevent the unconfined entry
    of commercial aquatic life into waters of the United States, and in a manner, which shall prevent release by
    overstocking, tipping, or rupture. All transfer structures/facilities shall conform with and be maintained in
    accordance with all applicable manufacturer and U.S. Coast Guard requirements and recommendations.

    4. Carcass and Waste Removal

    The permittee must identify and implement procedures to collect, store, and dispose of wastes, including
    biological wastes, such as fish mortalities and other solid processing aquaculture wastes. The permittee must
    remove and dispose of aquatic animal mortalities properly on a regular basis to prevent discharge to waters of
    the United States. Mortalities must be stored and transported in closed containers with tight fitting lids and
    must be returned to shore.

    5. Material Storage

        a. The permittee must ensure proper storage of drugs, pesticides, feed, and hazardous materials in a
           manner designed to prevent spills that may result in the discharge of drugs, pesticides, feed, and
           hazardous materials to water of the United States. The permittee shall:


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            i.   Maintain the facility, its support craft, and storage facilities in clean and tidy condition to minimize
                 the possibility of accidents and spills of petroleum products and other hazardous materials in the
                 operation of the facility.
           ii.   Conduct periodic inspection, cleaning, and maintenance of the facility, and its support craft.
          iii.   Develop a list of appropriate agencies to contact in the event of a spill that includes, but is not
                 limited to, the EPA, U.S. Army Corps of Engineers, and National Marine Fisheries Service.
          iv.    Provide and always have on-hand absorbent materials and appropriate tools in enough quantities
                 to contain and collect chemicals spilled at the mariculture facility, on its support craft, and in
                 shore-based storage facilities.

       a. The permittee must implement procedures for properly containing, cleaning, and disposing of any
          spilled material. The permittee must:

           i.    Provide a complete and up-to-date list of all chemicals and other hazardous materials stored at the
                 facility.
          ii.    Include descriptions of the procedures used to properly prevent, control, clean, dispose and/or treat
                 spills and unplanned discharges of chemicals and other hazardous materials.
         iii.    Include a description of the supplies and equipment which prevent, control, and/or treat spills and
                 unplanned discharges and a compliance schedule to install any necessary items.
         iv.     Describe the reporting system which shall be used to alert responsible facility management and
                 appropriate legal and regulatory authorities.
          v.     Store all petroleum products and other hazardous materials in durable, impervious containers
                 which are clearly labeled to indicate their contents. Fuel used for boat and small engine operation
                 shall be stored in U.S. Coast Guard-approved containers.
         vi.     In the event of a discharge of petroleum products and other hazardous materials:
                 a. Undertake actions to limit and prevent the spreading of the discharge to the waters of the
                      United States.
                 b. Notify the appropriate agencies as soon as possible and within twenty-four (24) hours.
                 c. Commence cleanup efforts immediately and be completed as soon as possible, taking
                      precedence over normal work, and include the proper disposal of any spilled materials and
                      used cleanup materials (chemical wastes and spilled chemicals shall be removed from the
                      mariculture facility and disposed of at an approved facility).

   6. Structural Maintenance

   The permittee shall implement procedures to ensure structural maintenance of the facility. At a minimum, the
   permittee must ensure that all equipment is operational by:

       a. Routine inspection of the production system to identify and promptly repair any damage.
       b. Regularly conduct maintenance of the production system in order to ensure that it is properly
          functioning.

   7. Record-keeping

   The permittee shall implement record keeping procedures. At a minimum, the permittee must implement the
   following record maintenance requirements:

       a. Maintain records for aquatic animal net pens documenting feed amounts and estimates of the numbers
          and weights of aquatic animals in order to calculate representative feed conversion ratios.
       b. Keep records documenting frequency of cleaning, inspections, maintenance, and repairs. A checklist
          of record-keeping requirements is located in Appendix R of EPAs 2006 Compliance Guide for the
          Concentrated Aquatic Animal Production Point Source Category.


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    8. Training Requirements

    At a minimum, the permittee must implement the following training requirements:

        a. Train all relevant personnel in spill prevention and how to respond in the event of a spill to ensure
           proper clean-up and disposal of spilled materials.
        b. Train personnel on proper operation and cleaning of all feeding procedures, equipment, proper disposal
           of waste material including carcasses, administration of drugs, and treatment systems.

    9. Pathogen Requirements

    The permittee shall create and implement health management procedures to prevent and minimize the indirect
    transfer or discharge of aquaculture pathogens. At a minimum, the following procedures are required:

        a. Create a frequent fish inspection, fish sampling, or fish monitoring program to identify aquatic
           pathogens and parasites as early as practicable.
        b. Develop a cage monitoring and cleaning plan that maximizes flow through the rearing area.
        c. Identify the feasibility of using alternative disease control prevention measures such as vaccines.

B. Plan Development, Implementation, Submission, and Approval

The permittee must develop and implement a BMP Plan that meets the specific requirements listed in this Part. The
plan must be provided to the EPA within 90 days of permit issuance and approved by the EPA prior to discharge
(i.e. stocking of fish). The plan shall include the NPDES number, the name of the facility, the date the plan was
developed, and signed by an authorized representative pursuant to 40 CFR § 122.22. The BMP plan shall be
submitted to the EPA at the address shown in Part I of the permit.

C. Modification and Annual Certification

The permittee must amend the BMP Plan whenever there is a change in the facility or in the operation of the facility
which materially increases the generation of pollutants or their release or potential release to surface waters. With
any change in operator, the BMP Plan must be reviewed and modified, if necessary. The permittee must review the
BMP Plan annually and provide certification that the BMP plan has been reviewed annually and modified if
necessary. The annual certification is due July 31st of each year. If the BMP plan is modified, implementation of
the modified plan is required upon submittal to EPA. When determined as necessary, EPA has the authority to
require modifications to the BMP plan. Modification and certification are not required if the facility is not operating
or discharging.

D. Documentation

The permittee must maintain a copy of the BMP Plan at the facility and make it available to the EPA or an authorized
representative upon request.




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PART V  ENVIRONMENTAL MONITORING

A. Requirements

The permittee shall perform environmental monitoring as well as develop and implement an environmental
monitoring plan (EMP) to provide project-specific details for the water quality, sediment, and benthic infauna
monitoring and sampling requirements contained in the permit. The permittee must comply with the following
requirements:

   1. Water Quality Samples

       a. Sampling Locations

       Water quality samples shall be collected at locations along the primary current vector. Samples shall be
       collected at one point up-current of the cage (reference), two points directly next to the cage (effluent), and
       two locations down-current of the cage. Sampling locations shall be located along a transect passing through
       the center of the cage and run with the primary current vector (determined at the time of sampling). Samples
       shall also be collected at different depths depending on the location. The sample depths shall be based off
       the depth of the cage at the time of feeding. See Table 3 and Figure 1 at the end of Part V for a summary of
       the sampling locations. The cage shall not be moved vertically until after sampling is complete. The
       sampling sites include:

           i.   Up-current: The up-current sample (UC1) shall be collected at the same depth as mid-cage at a
                point approximately 500 meters up-current of the cage.
         ii.    Effluent: Two effluent samples shall be collected. One effluent sample must be at mid-cage depth
                (EF1). Another effluent sample shall be collected at a depth of less than 1 meter below the cage
                (EF2). Both samples shall be collected at a point less than 1 meter down-current from the edge of
                the cage.
         iii.   Down-current: One sample shall be collected at mid-cage depth (DC1). Another sample shall be
                collected 5 meters below the bottom of the cage (DC2). Both samples must be collected at a location
                approximately 5 meters down-current from the edge of the cage.

       d. Sampling Frequency

       Sampling shall occur at the monitoring frequency shown in Table 1 (Permit Part II.A) while the facility is
       discharging (fish are present). The sample during the last month shall be collected just prior to harvesting
       the fish to collect data representative of maximum biomass. Effluent and down current samples shall be
       collected no more than 30 minutes after feeding is complete. Upstream current samples shall be collected
       no more than 60 minutes before or after feeding is complete.

       e. Water Quality Parameters

       Water quality parameters shall include: dissolved oxygen, pH, temperature, total suspended solids,
       chlorophyll-a, sulfide, copper, total ammonia-N, total nitrogen, and total phosphorous. Samples shall be
       collected at the locations and the frequencies mentioned above.

       Water quality-associated parameters shall include: fish biomass, feed rate, feed conversion ratio, medicinal
       products, and current measurement. Monitoring shall be performed at the location and frequencies specified
       in Table 1.




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         f.     Current Measurement

         Water quality sampling locations shall be based on the primary current vector on the day of sampling. The
         primary current vector is the direction of the current at the facility on the day of sampling. To comply with
         the monitoring requirements, continuous measurements shall be taken to determine the direction and
         magnitude of the current prior to water quality sample collection. The primary current vector measurement
         shall be representative of the current at the time of sampling. The current measurement results and report
         must provide the direction (frequency distribution) and magnitude (average and maximum velocity) for the
         appropriate depth intervals (identified in the EMP by the permittee). The report shall also indicate the
         primary direction and magnitude at the time of water quality sampling. Current measurement data should
         be submitted in accordance with Permit Part III.B.

     2. Sediment Samples
         a. Sampling Locations

         Sediment samples shall be collected at intervals along a transect passing through the center of the site
         parallel to the long-term primary current vector. Sediment samples must occur at three sampling locations:

                i.   Up-current (SD1): approximately 2,000 meters up-current of the cage along the long-term primary
                     flow vector;
               ii.   Facility (SD2): in the middle of the project area along the long-term primary flow vector; and
              iii.   Down-current (SD3): at the down-current edge of the project site along the long-term primary
                     flow vector.

         b.      Sampling Frequency

         Sampling shall occur at stages corresponding with increments of increasing fish biomass and should be
         collected on the same day as that months water quality sample. Sediment samples will be collected during
         two periods:

                i.   when the production reaches an approximate 50% biomass; and
               ii.   at the maximum biomass immediately prior to harvesting.

         c. Sediment Parameters

         Sediment physical characteristics shall be collected consisting of particle size distribution and total solids.
         Sediment chemical composition samples shall consist of total volatile solids (TOV), total organic carbon
         (TOC), total nitrogen, total phosphate, hydrogen sulfide, and sediment oxygen demand.3

         d. Current Measurement

         Sediment sampling shall be based on the long-term primary current vector and shall remain the same
         throughout the lifetime of the project. The exact sampling locations will be determined after the cage has
         been placed in the water and the current measurements have confirmed the long-term primary current
         vector. To comply with the monitoring requirements, continuous measurements of the current velocity and
         direction shall be taken to determine the long-term primary current vector. The current results must provide
         the direction (frequency distribution) and magnitude (recorded as the average and maximum velocity) at
         the appropriate depth intervals identified in the EMP by the permittee. Current measurement data should
         be submitted in accordance with Permit Part III.B.


3
 Analytical methods to determine TOC or TOV may be hampered by sediment grain size as influenced by scouring currents. In the event
one or both parameters cannot be determined, the permittee must document such as a failure.

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    3. Benthic Sampling

        a. Sampling Locations

        Benthic samples shall be collected at the same sample locations as the sediment samples.

        b. Sampling Frequency

        Benthic samples shall be collected at the same frequency as the sediment samples.

        c. Benthic Parameters

        Benthic macroinvertebrates or infauna (organisms that are retained on a 0.5 mm sieve) shall be collected at
        each benthic sample location for community structure analysis. Organisms shall be identified to the lowest
        possible identification level and counted. Infauna community structure analysis shall include species
        richness and diversity. Species richness shall be calculated as Margalefs index: d = (S-1)/log N, where N is
        the total number of species in the sample). Species diversity must be calculated as Shannon diversity: H' =
        - i pi(log pi)).

        d. Current Measurement

        Benthic macroinvertebrate sampling shall be based on the long-term primary current vector and shall
        remain the same throughout the lifetime of the project. The exact sampling locations will be determined
        after the cage has been placed in the water and the current measurements have confirmed the long-term
        primary current vector. To comply with the monitoring requirements, continuous measurements of the
        current velocity and direction shall be taken to determine the long-term primary current vector. The current
        results must provide the direction (frequency distribution) and magnitude (recorded as the average and
        maximum velocity) at the appropriate depth intervals identified in the EMP by the Permittee. Current
        measurement data should be submitted in accordance with Permit Part III.B.

B. Plan Development, Implementation, Submission, and Approval

The permittee must develop and implement an EMP for all the monitoring required by the permit. The EMP plan
must be provided to the EPA within 90 days of permit issuance and approved by the EPA prior to discharge (i.e.
stocking of fish). The plan shall include the NPDES number, the name of the facility, the date the plan was
developed, and signed by an authorized representative pursuant to 40 CFR § 122.22. The EMP shall be submitted
to the EPA at the address shown in Part I of the permit.

C. Modifications to the EMP

The specifications in the monitoring program are subject to modification by the EPA if warranted, based on
evaluation of physical, chemical, and biological data or proposed changes. The permittee may request modifications
of the monitoring program in writing to the EPA. The EPA shall consider modification requests based on findings
of the monitoring program, in consultation with the permittee. If the EMP is modified, implementation of the
modified plan is required upon submittal to EPA. When determined as necessary, EPA has the authority to require
modifications to the EMP.

D. Documentation

The permittee must maintain a copy of the EMP at the facility and make it available to the EPA or an authorized
representative upon request.



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                 Table 3  Summary of Sampling Locations with Distance and Depths

                     Depth              Up-current   Effluent    Down-current
                     Mid-cage           UC1          EF1         DC1
                     < 1 m below cage   -            EF2         -
                     5 m below cage     -            -           DC2


                                        Figure 1: Sampling Locations




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PART VI  FACILITY DAMAGE PREVENTION AND CONTROL

A. Requirements

The permittee must implement Facility Damage Prevention and Control (FDPC) practices as well as develop and
implement a FDPC plan to demonstrate that the facility is being operated and maintained to mitigate any
environmental impacts during any disaster and prevent the release of aquatic animals from entering waters of the
United States during any disaster. At a minimum, the permittee must use the below practices:

   1. Prevention Practices

   The permittee shall operate and maintain the facility, anchors, mooring lines, confinement structures, and
   support vessels in a structurally sound manner to prevent or minimize the impact of disasters. At a minimum,
   the following prevention practices shall be used:

       a. Identify procedures to operate and maintain all facility components in a structurally sound manner in
          order to prevent or minimize the impact of disasters.
       b. Describe how the facility systems conform with and will be maintained in accordance with all
          applicable manufacturer requirements and recommendations and include a maintenance schedule for
          all facility components.
       c. Provide a facility-specific analysis of potential risks for each type of disaster (extreme weather events,
          tropical storms, hurricanes, vessel strike, entanglement of mammals, etc.).
       d. Describe the procedures used to prevent, control, and/or minimize the impacts of disasters to the facility
          according to the type and magnitude of the disaster.
       e. Assess the appropriate materials, supplies, equipment, and tools needed to contain and collect aquatic
          life at the facility.
       f. Include the description of the reporting system which shall be used to alert responsible facility
          management and appropriate regulatory authorities during disasters.
       g. An emergency contact list including but not limited to the EPA, U.S. Army Corps of Engineers,
          National Marine Fisheries Service, and the U.S. Coast Guard.
       h. Develop procedures to contain and transfer commercial fish and other aquatic life in a manner which
          shall prevent the entry of commercial aquatic life into waters of the United States.
       i. Describe the emergency procedures that will be taken to minimize the structural failure of the facility
          or fish escapes.
       j. Provide written certification that all members of the facilitys staff have an operational familiarity with
          the prevention practices and plan.

   2. Disaster Response

   In the event of a disaster, the permittee shall undertake actions to limit and prevent environmental impacts and
   the release of commercial aquatic life into the waters of the United States. At a minimum, the disaster response
   efforts shall include:

       a. Procedures for notification of the appropriate agencies as soon as possible and within 24 hours of any
          disaster impacting the facility.
       b. Procedures requiring the permittee to report any emergency procedures used during a disaster. The
          report shall include the cause of the disaster, aquatic animal escape information, facility and/or aquatic
          animal recovery efforts, and the effectiveness of any emergency efforts deployed.
       c. Procedures for commencing response and cleanup efforts immediately and completing such efforts as
          soon as possible, taking precedence over normal work.
       d. Procedures for the proper disposal of dead or parts of commercial fish, aquatic life, and debris at an
          approved method.
       e. Provide written certification that all members of the facilitys staff have an operational familiarity with

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            the disaster response requirements and plan.

B. Plan Development, Implementation, and Submission

The permittee must develop and implement a FDPC plan to meet the requirements within this part of the permit.
The plan must be provided to the EPA within 90 days of permit issuance and approved by the EPA prior to discharge
(i.e. stocking of fish). The plan shall include the NPDES number, the name of the facility, the date the plan was
developed, and signed by an authorized representative pursuant to 40 CFR § 122.22. The FDPC plan shall be
submitted to the EPA at the address shown in Part I of the permit.

C. Modification and Annual Certification

The permittee must amend the FDPC plan whenever there is a change in the facility or in the operation of the facility
which materially increases the risk of damage to the site. The permittee must review the FDPC Plan annually and
provide certification that the FDPC Plan has been reviewed annually. The annual certification is due July 31st of
each year. Modification and certification is not required if the facility is not operating or discharging. If the FDPC
plan is modified, implementation of the modified plan is required upon submittal to EPA. When determined as
necessary, EPA has the authority to require modifications to the FDCP plan.

D. Documentation

The permittee must maintain a copy of the FDCP Plan at the facility and make it available to the EPA or an
authorized representative upon request.




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PART VII  QUALITY ASSURANCE

A. Requirements

The permittee shall ensure that all monitoring data collected is reliable through the implementation of quality
assurance (QA) procedures and development a QA Project Plan (QAPP). Quality assurance procedures shall be
used to support sample collection and analysis, document and identify representative sampling conditions, and data
anomalies at the facility and in the receiving water body. The QAPP shall provide details (such as sampling devices,
methods, sample holding times, quality control/quality assurance, chain of custody, etc.) to be used to collect water
quality, sediment, and benthic samples. The permittee must use the appropriate EPA-approved quality assurance
and quality control (QA/QC) and chain-of-custody procedures throughout the sample collection and analysis
activities. More information about QA/QC procedures are described in the EPAs Requirements for Quality
Assurance Project Plans 4 and Guidance for Quality Assurance Project Plans. 5 At a minimum, the QA procedures
must include the following:

     1. Details on the number of samples, type of sample containers, preservation of samples, holding times,
        analytical methods, analytical detection and quantification limits for each parameter, type and number of
        quality assurance field samples, precision and accuracy requirements, sample preparation requirements,
        sample shipping methods, chain of custody, and laboratory data delivery requirements.
     2. Requirements and procedures for the collection of information about the weather and ocean conditions
        during each sampling event such as a record of the sea surface conditions (wind, wave amplitude and
        frequency, rain, cloud cover, air temperature, salinity, current velocity, and current direction).
     3. Details about the production amounts such as current stocking density, feeding rate, and an analysis of feed
        contents.
     4. Description of current measuring devices and/or methods used to accurately measure the current vectors at
        the facility and within the sampling area, calibration procedures, and calculations used.
     5. Maps indicating the location of each sampling point.
     6. Qualification and training of personnel, or any specialized training and certifications, needed to properly
        conduct sampling, measurements, or perform analyses.
     7. Documentation of how environmental monitoring data will be managed, formatted, and compiled in
        electronic systems or databases.
     8. Name, address, and telephone number of the laboratory used by the permittee.

B. Plan Development, Implementation, Submission, and Approval

The permittee must develop and implement a QAPP for all monitoring required by this part of the permit. The
QAPP must be provided to the EPA within 90 days of permit issuance and approved by the EPA prior to discharge
(i.e. stocking of fish). The plan shall include the NPDES number, the name of the facility, the date the plan was
developed, and signed by an authorized representative pursuant to 40 CFR § 122.22. The QAPP shall be submitted
to the EPA at the address shown in Part I of the permit.

C. Modification and Annual Certification

The permittee must amend the QAPP whenever there is a change in the facility or in the operation of the facility
which materially increases the generation of pollutants or their release or potential release to surface waters. An
amendment to the QAPP is also required whenever there is a modification in sample collection, sample analysis, or
other procedure addressed by the QAPP. The permittee must amend the QAPP with any change in operator. The

4
  U.S. Environmental Protection Agency. 2001. EPA Requirements for Quality Assurance Project Plans (QA/R-5). EPA/240/B-01/003. U.S.
Environmental Protection Agency, Office of Environmental Information, Washington, DC.
< https://www.epa.gov/quality/epa-qar-5-epa-requirements-quality-assurance-project-plans >
5
  U.S. Environmental Protection Agency. 2002. Guidance for Quality Assurance Project Plans (QA/G-5). EPA/240/R-02/009. U.S.
Environmental Protection Agency, Office of Environmental Information, Washington, DC.
< https://www.epa.gov/quality/guidance-quality-assurance-project-plans-epa-qag-5>

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permittee must review the QAPP annually and provide certification that the QAPP has been reviewed annually. The
annual certification is due July 31st of each year. Modification and certification is not required if the facility is not
operating or discharging. If the QAPP is modified, implementation of the modified plan is required upon submittal
to EPA. When determined as necessary, EPA has the authority to require modifications to the QAPP.

D. Documentation

The permittee must maintain a copy of the QAPP at the facility and make it available to the EPA or an authorized
representative upon request.




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PART VIII  STANDARD CONDITIONS

A. General Conditions

1. Duty to Comply [40 CFR §§ 122.41(a) and 122.41(a)(1)]

The permittee must comply with all conditions of this permit. Any permit noncompliance constitutes a violation of
the Clean Water Act (CWA or Act) and is grounds for enforcement action; for permit termination, revocation and
reissuance, or modification; or denial of a permit renewal application. The permittee shall comply with effluent
standards or prohibitions established under Section 307(a) of the CWA for toxic pollutants and with standards for
sewage sludge use or disposal established under Section 405(d) of the CWA within the time provided in the
regulations that establish these standards or prohibitions or standards for sewage sludge use or disposal, even if the
permit has not yet been modified to incorporate the requirement.

2. Penalties for Violations of Permit Conditions [40 CFR § 122.41(a)(2) and 40 CFR § 122.41(a)(3)]

(Note: Civil and administrative penalty amounts described in this subsection are based on adjustments to the original
statutory amounts based on inflation, pursuant to the Federal Civil Penalties Inflation Adjustment Act of 1990 (28
U.S.C. § 2461 note; Pub. L. 101- 410, enacted October 5, 1990; 104 Stat. 890), as amended by the Debt Collection
Improvement Act of 1996 (31 U.S.C. § 3701 note; Public Law 104-134, enacted April 26, 1996; 110 Stat. 1321)
and as set forth at 40 CFR § 19.4.)

The CWA provides that any person who violates Section 301, 302, 306, 307, 308, 318 or 405 of the Act, or any
permit condition or limitation implementing any such sections in a permit issued under Section 402, or any
requirement imposed in a pretreatment program approved under Sections 402(a)(3) or 402(b)(8) of the Act, is
subject to a civil penalty not to exceed $51,570 per day for each violation. The CWA provides that any person who
negligently violates Sections 301, 302, 306, 307, 308, 318, or 405 of the Act, or any condition or limitation
implementing any of such sections in a permit issued under Section 402 of the Act, or any requirement imposed in
a pretreatment program approved under Section 402(a)(3) or 402(b)(8) of the Act, is subject to criminal penalties
of $2,500 to $25,000 per day of violation, or imprisonment of not more than one year, or both. In the case of a
second or subsequent conviction for a negligent violation, a person shall be subject to criminal penalties of not more
than $50,000 per day of violation, or by imprisonment of not more than two years, or both. Any person who
knowingly violates such sections, or such conditions or limitations is subject to criminal penalties of $5,000 to
$50,000 per day of violation, or imprisonment for not more than three years, or both. In the case of a second or
subsequent conviction for a knowing violation, a person shall be subject to criminal penalties of not more than
$100,000 per day of violation, or imprisonment of not more than six years, or both. Any person who knowingly
violates Section 301, 302, 303, 306, 307, 308, 318 or 405 of the Act, or any permit condition or limitation
implementing any of such sections in a permit issued under Section 402 of the Act, and who knows at that time that
he thereby places another person in imminent danger of death or serious bodily injury, shall, upon conviction, be
subject to a fine of not more than $250,000 or imprisonment of not more than 15 years, or both. In the case of a
second or subsequent conviction for a knowing endangerment violation, a person shall be subject to a fine of not
more than $500,000 or by imprisonment of not more than 30 years, or both. An organization, as defined in Section
309(c)(3)(B)(iii) of the CWA, shall, upon conviction of violating the imminent danger provision, be subject to a
fine of not more than $1,000,000 and can be fined up to $2,000,000 for second or subsequent convictions.

Any person may be assessed an administrative penalty by the Administrator for violating Section 301, 302, 306,
307, 308, 318 or 405 of this Act, or any permit condition or limitation implementing any of such sections in a permit
issued under Section 402 of this Act. Administrative penalties for Class I violations are not to exceed $20,628 per
violation, with the maximum amount of any Class I penalty assessed not to exceed $51,570. Penalties for Class II
violations are not to exceed $20,628 per day for each day during which the violation continues, with the maximum
amount of any Class II penalty not to exceed $257,848. The specific penalty amounts described above for violations
reflect those in effect at the time of permit issuance and are subject to change.



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3. Civil and Criminal Liability [40 CFR § 122.41(m) and (n)]

Except as provided in permit conditions on Bypassing Section B, and Upset Section B, nothing in this permit
shall be construed to relieve the permittee from civil or criminal penalties for noncompliance.

4. Duty to Mitigate [40 CFR § 122.41(d)]

The permittee shall take all reasonable steps to minimize or prevent any discharge or sludge use or disposal in
violation of this permit which has a reasonable likelihood of adversely affecting human health or the environment.

5. Permit Actions [40 CFR § 122.41(f)]

This permit may be modified, revoked and reissued, or terminated for cause. The filing of a request by the permittee
for a permit modification, revocation and reissuance, or termination, or a notification of planned changes or
anticipated noncompliance does not stay any permit condition.

6. Toxic Pollutants [40 CFR § 122.44(b)(1)]

If any applicable toxic effluent standard or prohibition (including any schedule of compliance specified in such
effluent standard or prohibition) is promulgated under Section 307(a) of the CWA for a toxic pollutant and that
standard or prohibition is more stringent than any limitation on the pollutant in the permit, the Director shall institute
proceedings under these regulations to modify or revoke and reissue the permit to conform to the toxic effluent
standard or prohibition.

7. Oil and Hazardous Substance Liability

Nothing in this permit shall be construed to preclude the institution of any legal action or relieve the permittee from
any responsibilities, liabilities, or penalties to which the permittee is or may be subject under Section 311 of the
CWA.

8. State Laws

Nothing in this permit shall be construed to preclude the institution of any legal action or relieve the permittee from
any responsibilities, liabilities, or penalties established pursuant to any applicable State law or regulation under
authority preserved by Section 510 of the CWA.

9. Effect of a Permit [40 CFR § 122.5(a)(l) and (2)]

Except for any toxic effluent standards and prohibitions imposed under Section 307 of the CWA and standards for
sewage sludge use or disposal under Section 405(d) of the CWA, compliance with a permit during its term
constitutes compliance, for purposes of enforcement, with Sections 301, 302, 306, 307, 318, 403, and 405 (a)-(b)
of the CWA. However, a permit may be modified, revoked and reissued, or terminated during its term for cause as
set forth in 40 CFR §§ 122.62 and 122.64.

Compliance with a permit condition which implements a particular standard for sewage sludge use or disposal
shall be an affirmative defense in any enforcement action brought for a violation of that standard for sewage sludge
use or disposal pursuant to Sections 405(e) and 309 of the CWA.

10. Property Rights [40 CFR § 122.5(b), 40 CFR § 122.41(g), and 40 CFR § 122.5(c)]

This permit does not convey any property rights of any sort, or any exclusive privilege. The issuance of a permit
does not authorize any injury to persons or property or invasion of other private rights, or any infringement of State
or local law or regulations.


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11. Onshore or Offshore Construction

This permit does not authorize or approve the construction of any onshore or offshore physical structures or facilities
or the undertaking of any work in any waters of the United States.

12. Severability

The provisions of this permit are severable, and if any provision of this permit, or the application of any provision
of this permit to any circumstance, is held invalid, the application of such provision to other circumstances, and the
remainder of this permit, shall not be affected thereby.

13. Duty to Provide Information [40 CFR § 122.41(h)]

The permittee shall furnish to the Director, within a reasonable time, any information which the Director may
request to determine whether cause exists for modifying, revoking and reissuing, or terminating this permit or to
determine compliance with this permit. The permittee shall also furnish to the Director upon request, copies of
records required to be kept by this permit.

14. Reopener Clause [40 CFR § 122.62(a)(7)]

This permit shall be modified, or alternatively, revoked and reissued, to comply with any applicable effluent
standard or limitation issued or approved under CWA § 301(b)(2)(C), CWA § 301(b)(2)(D), and CWA § 307(a)(2),
as amended, if the effluent standard or limitation so issued or approved:

    a. Contains different conditions or is otherwise more stringent than any condition in the permit; or

    b. Controls any pollutant not addressed in the permit.

The permit as modified or reissued under this paragraph shall contain any other requirements of the CWA then
applicable.




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B. Operation and Maintenance of Pollution Controls

1. Proper Operation and Maintenance [40 CFR § 122.41(e)]

The permittee shall always properly operate and maintain all facilities and systems of treatment and control (and
related appurtenances) which are installed or used by the permittee to achieve compliance with the conditions of
this permit. Proper operation and maintenance also includes adequate laboratory controls and appropriate quality
assurance procedures. This provision requires the operation of backup or auxiliary facilities or similar systems
which are installed by a permittee only when the operation is necessary to achieve compliance with the conditions
of the permit.

2. Need to Halt or Reduce Activity Not a Defense [40 CFR § 122.41(c)]

It shall not be a defense for a permittee in an enforcement action that it would have been necessary to halt or reduce
the permitted activity in order to maintain compliance with the conditions of this permit.

3. Bypass of Treatment Facilities [40 CFR § 122.41(m)(1)-(4)]

     a.   Definitions

          (1) Bypass means the intentional diversion of waste streams from any portion of a treatment facility.

          (2) Severe property damage means substantial physical damage to property, damage to the treatment
              facilities which causes them to become inoperable, or substantial and permanent loss of natural
              resources which can reasonably be expected to occur in the absence of a bypass. Severe property
              damage does not mean economic loss caused by delays in production.

     b.   Bypass not exceeding limitations

          The permittee may allow any bypass to occur which does not cause effluent limitations to be exceeded,
          but only if it also is for essential maintenance to assure efficient operation. These bypasses are not subject
          to the provisions of Paragraphs c. and d. of this subsection.

     c.   Notice

          (1) Anticipated bypass. If the permittee knows in advance of the need for a bypass, it shall submit prior
              notice, if possible, at least ten days before the date of the bypass.

          (2) Unanticipated bypass. The permittee shall submit notice of an unanticipated bypass as required in
              Section D, Subsection 8 (24-hour notice).

     d.   Prohibition of bypass

          (1) Bypass is prohibited, and the Director may take enforcement action against a permittee for bypass,
              unless:

               (a) Bypass was unavoidable to prevent loss of life, personal injury, or severe property damage; and

               (b) There were no feasible alternatives to the bypass, such as the use of auxiliary treatment facilities,
                   retention of untreated wastes, or maintenance during normal periods of equipment downtime.
                   This condition is not satisfied if adequate back-up equipment should have been installed in the
                   exercise of reasonable engineering judgment to prevent a bypass which occurred during normal
                   periods of equipment downtime or preventive maintenance; and


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                (c) The permittee submitted notices as required under Paragraph c. of this subsection.

           (2) The Director may approve an anticipated bypass, after considering its adverse effects, if the Director
               determines that it will meet the three conditions listed above in Paragraph d.(1) of this subsection.

4.    Upsets [40 CFR § 122.41(n)(1)-(4)]

      a.   Definition

           Upset means an exceptional incident in which there is unintentional and temporary noncompliance with
           technology-based permit effluent limitations because of factors beyond the reasonable control of the
           permittee. An upset does not include noncompliance to the extent caused by operational error, improperly
           designed treatment facilities, inadequate treatment facilities, lack of preventive maintenance, or careless
           or improper operation.

      b.   Effect of an upset

           An upset constitutes an affirmative defense to an action brought for noncompliance with such technology-
           based permit effluent limitations if the requirements of Paragraph c. of this subsection are met. No
           determination made during administrative review of claims that noncompliance was caused by upset, and
           before an action for noncompliance, is final administrative action subject to judicial review.

      c.   Conditions necessary for a demonstration of upset

           A permittee who wishes to establish the affirmative defense of upset shall demonstrate, through properly
           signed, contemporaneous operating logs, or other relevant evidence that:

           (1) An upset occurred and that the permittee can identify the cause(s) of the upset;

           (2) The permitted facility was at the time being properly operated;

           (3) The permittee submitted notice of the upset as required in Section D, Subsection 8 (24-hour notice);
               and

           (4) The permittee complied with any remedial measures required under Section A, Subsection 4.

      d.   Burden of proof

           In any enforcement preceding the permittee seeking to establish the occurrence of an upset has the burden
           of proof.

5.    Removed Substances

This permit does not authorize discharge of solids, sludge, filter backwash, or other pollutants removed during
treatment or control of wastewaters of the United States unless specifically limited in Part I.




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C. Monitoring and Records

1.    Representative Sampling [40 CFR § 122.41(j)(1)]

Samples and measurements taken for the purpose of monitoring shall be representative of the monitored activity.

All samples shall be taken at the monitoring points specified in this permit and, unless otherwise specified, before
the effluent joins or is diluted by any other waste stream, body of water, or substance. Monitoring points shall not
be changed without notification to and the approval of the Director.

2.    Current Measurements [40 CFR 122.44(i)(1)(iii)]

Appropriate current measurement devices and methods consistent with accepted scientific practices shall be selected
and used to ensure the accuracy and reliability of measurements of the volume of monitored discharges. The devices
shall be installed, calibrated, and maintained to ensure that the accuracy of all measurements are consistent with the
accepted capability of that type of device. Devices selected shall be capable of measuring current with a maximum
deviation of less than + 10% from the true discharge rates throughout the range of expected discharge volumes.

3. Monitoring Procedures [40 CFR § 122.41(j)(4)]

Monitoring results must be conducted according to test procedures approved under 40 CFR Part 136 unless another
method is required under 40 CFR sub-chapters N or O.

4.    Penalties for Tampering [40 CFR § 122.41(j)(5)]

The CWA provides that any person who falsifies, tampers with, or knowingly renders inaccurate any monitoring
device or method required to be maintained under this permit shall, upon conviction, be punished by a fine of not
more than $10,000, or by imprisonment for not more than 2 years, or both. If a conviction of a person is for a
violation committed after a first conviction of such person under this paragraph, punishment is a fine of not more
than $20,000 per day of violation, or by imprisonment of not more than 4 years, or both.

5.    Retention of Records [40 CFR § 122.41(j)(2)]

Except for records of monitoring information required by this permit related to the permittee's sewage sludge use
and disposal activities, which shall be retained for a period of at least five years (or longer as required by 40 CFR
Part 503), the permittee shall retain records of all monitoring information, including all calibration and maintenance
records and all original strip chart recordings for continuous monitoring instrumentation, copies of all reports
required by this permit, and records of all data used to complete the application for this permit, for a period of at
least 3 years from the date of the sample, measurement, report or application. This period may be extended by
request of the Director at any time.

6.    Record Contents [40 CFR § 122.41(j)(3)(i)-(vi)]

Records of monitoring information shall include:

      a.   The date, exact place, and time of sampling or measurements;

      b.   The individual(s) who performed the sampling or measurements;

      c.   The date(s) analyses were performed;

      d.   The individual(s) who performed the analyses;

      e.   The analytical techniques or methods used; and
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      f.   The results of such analyses.


7.    Inspection and Entry [40 CFR § 122.41(i)(1)-(4)]

The permittee shall allow the Director or an authorized representative (including an authorized contractor acting as
a representative of the Administrator), upon presentation of credentials and other documents as may be required by
law, to:

      a.   Enter upon the permittee's premises where a regulated facility or activity is located or conducted, or where
           records must be kept under the conditions of this permit;

      b.   Have access to and copy, at reasonable times, any records that must be kept under the conditions of this
           permit;

      c.   Inspect at reasonable times any facilities, equipment (including monitoring and control equipment),
           practices, or operations regulated or required under this permit; and

      d.   Sample or monitor at reasonable times, for the purposes of assuring permit compliance or as otherwise
           authorized by the CWA, any substances or parameters at any location.




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D. Reporting Requirements

1.    Change in Discharge [40 CFR § 122.41(l)(1)(i)-(iii)]

The permittee shall give notice to the Director as soon as possible of any planned physical alterations or additions
to the permitted facility. Notice is required only when:

      a. The alteration or addition to a permitted facility may meet one of the criteria for determining whether a
         facility is a new source in 40 CFR § 122.29(b); or

      b. The alteration or addition could significantly change the nature or increase the quantity of pollutants
         discharged. This notification applies to pollutants which are subject neither to effluent limitations in the
         permit, nor to notification requirements under Section D.

      c. The alteration or addition results in a significant change in the permittee's sludge use or disposal practices,
         and such alteration, addition, or change may justify the application of permit conditions that are different
         from or absent in the existing permit, including notification of additional use or disposal sites not reported
         during the permit application process or not reported pursuant to an approved land application plan.

2.    Anticipated Noncompliance [40 CFR § 122.41(l)(2)]

The permittee shall give advance notice to the Director of any planned changes in the permitted facility or activity
which may result in noncompliance with permit requirements.

Any maintenance of facilities, which might necessitate unavoidable interruption of operation and degradation of
effluent quality, shall be scheduled during noncritical water quality periods and carried out in a manner approved
by the Director.

3.    Transfer of Ownership of Control [40 CFR § 122.41(l)(3), § 122.61, and § 122.61(b)]

      a. This permit is not transferable to any person except after notice to the Director. The Director may require
         modification or revocation and reissuance of the permit to change the name of the permittee and
         incorporate such other requirements as may be necessary under the CWA.

      b. In some cases, modification or revocation and reissuance is mandatory.

      c. Automatic transfers. As an alternative to transfers of permits by modification, any NPDES permit may be
         automatically transferred to a new permittee if:

           (1) The current permittee notifies the Director at least 30 days in advance of the proposed transfer date
               in Subparagraph b(2) of this subsection;

           (2) The notice includes a written agreement between the existing and new permittee(s) containing a
               specific date for transfer of permit responsibility, coverage, and liability between them; and

           (3) The Director does not notify the existing permittee and the proposed new permittee of his or her intent
               to modify or revoke and reissue the permit. A modification under this subparagraph may also be a
               minor modification under 40 CFR § 122.63. If this notice is not received, the transfer is effective on
               the date specified in the agreement mentioned in Subparagraph b(2) of this subsection.




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4.    Monitoring Reports [40 CFR § 122.41(l)(4) and 40 CFR § 122.41(l)(4)(i)]

Monitoring results shall be reported at the intervals specified in this permit. Monitoring results must be reported on
a Discharge Monitoring Report (DMR) or forms provided or specified by the Director for reporting results of all
effluent and in-stream monitoring.

5.    Additional Monitoring by the Permittee [40 CFR § 122.41(l)(4)(ii)]

If the permittee monitors any pollutant more frequently than required by the permit using test procedures approved
under 40 CFR Part 136, or another method required for an industry-specific waste stream under 40 CFR subchapters
N or O, the results of this monitoring shall be included in the calculation and reporting of the data submitted in the
DMR.

6.    Averaging of Measurements [40 CFR § 122.41(l)(4)(iii)]

Calculations for all monitoring or limitations which require averaging of measurements shall utilize an arithmetic
mean unless otherwise specified by the Director in the permit.

7.    Compliance Schedules [40 CFR § 122.41(l)(5)]

The permittee shall achieve compliance with the effluent limitations and monitoring requirements specified for
discharges by the effective date of this permit. Reports of compliance or noncompliance with, or any progress
reports on, interim and final requirements contained in any compliance schedule of this permit shall be submitted
no later than 14 days following each schedule date. Any reports of noncompliance shall include the cause of
noncompliance, any remedial actions taken, and the probability of meeting the next scheduled requirement.

8.    Twenty-Four Hour Reporting [40 CFR § 122.44(g), 40 CFR § 122.41(l)(6), and 40 CFR § 122.44(g)]

The permittee shall report any noncompliance which may endanger health or the environment. Any information
shall be provided orally within 24 hours from the time the permittee becomes aware of the circumstances. A written
submission shall also be provided within 5-calendar days of the time the permittee becomes aware of the
circumstances. The written submission shall contain a description of the noncompliance and its cause; the period of
noncompliance, including exact dates and times, and if the noncompliance has not been corrected, the anticipated
time it is expected to continue; and steps taken or planned to reduce, eliminate, and prevent reoccurrence of the
noncompliance.

The following shall be included as information which must be reported within 24 hours under this paragraph. The
Director may waive the written report on a case-by-case basis for reports under this subsection if the oral report has
been received within 24 hours.

      a. Any unanticipated bypass which exceeds any effluent limitation in the permit.

      b. Any upset which exceeds any effluent limitation in the permit.

      c. Violation of a maximum daily discharge limitation for any of the pollutants listed by the Director in the
         permit to be reported within 24 hours.

9.    Other Noncompliance [40 CFR § 122.41(l)(7)]

The permittee shall report all instances of noncompliance not reported under Section D at the time monitoring
reports are submitted. The reports shall contain the information listed in Section D, Subsection 8.

10. Other Information [40 CFR § 122.41(l)(8)]


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Where the permittee becomes aware that it failed to submit any relevant facts in a permit application or submitted
incorrect information in a permit application or in any report to the Director, it shall promptly submit such facts or
information to the Director.

11. Changes in Discharge of Toxic Substances [40 CFR § 122.42(a)(1)(i-iii) and 40 CFR § 122.42(a)(2)(i-iii)]

The following conditions apply to all NPDES permits within the categories specified below:

     a.   Existing manufacturing, commercial, mining, and silvicultural dischargers. All existing manufacturing,
          commercial, mining, and silvicultural dischargers must notify the Director as soon as they know or have
          reason to believe:

          (1) That any activity has occurred or will occur which would result in the discharge, on a routine or
              frequent basis, of any toxic pollutant which is not limited in the permit, if that discharge will exceed
              the highest of the following notification levels:

               (a) One hundred micrograms per liter (100 g/l);

               (b) Two hundred micrograms per liter (200 g/l) for acrolein and acrylonitrile; five hundred
                   micrograms per liter (500 g/l) for 2,4-dinitrophenol and for
                   2-methyl-4,6-dinitrophenol; and one milligram per liter (1 mg/l) for antimony; or

               (c) Five (5) times the maximum concentration value reported for that pollutant in the permit
                   application in accordance with 40 CFR § 122.21(g)(7).

          (2) That any activity has occurred or will occur which would result in any discharge, on a non-routine
              or infrequent basis, of a toxic pollutant which is not limited in the permit, if that discharge will exceed
              the highest of the following notification levels:

               (a) Five hundred micrograms per liter (500 g/l);

               (b) One milligram per liter (1 mg/l) for antimony; or

               (c) Ten (10) times the maximum concentration value reported for that pollutant in the permit
                   application in accordance with 40 CFR § 122.21(g)(7).

     b.   Publicly owned treatment works. All POTWs must provide adequate notice to the Director of the
          following:

          (1) Any new introduction of pollutants into the POTW from an indirect discharger which would be
              subject to Section 301 or 306 of CWA if it were directly discharging those pollutants; and

          (2) Any substantial change in the volume or character of pollutants being introduced into that POTW by
              a source introducing pollutants into the POTW at the time of issuance of the permit.

          (3) For purposes of this paragraph, adequate notice shall include information on the quality and quantity
              of effluent introduced into the POTW, and any anticipated impact of the change on the quantity or
              quality of effluent to be discharged from the POTW. [40 CFR § 122.42(b)]

12. Duty to Reapply [40 CFR § 122.41(b), § 122.21(d), § 122.6(a), and § 122.6(b)]

If the permittee wishes to continue an activity regulated by this permit after the expiration date of this permit, the
permittee must apply for and obtain a new permit.


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The application should be submitted at least 180 days before the expiration date of this permit. The Regional
Administrator may grant permission to submit an application later than the 180 days in advance, but no later than
the permit expiration date.

The conditions of an expired permit continue in force under 5 U.S.C. 558(c) until the effective date of a new permit
if the permittee has submitted a timely application under this subsection which is a complete application for a new
permit; and the Regional Administrator, through no fault of the permittee, does not issue a new permit with an
effective date on or before the expiration date of the previous permit. Permits continued under this section remain
fully effective and enforceable.

13. Signatory Requirements [40 CFR § 122.41(k)(1) and 40 CFR § 122.22]

All applications, reports, or information submitted to the Director shall be signed and certified.

     a.   All permit applications shall be signed as follows:

          (1) For a corporation. By a responsible corporate officer. For the purpose of this section, a responsible
              corporate officer means:

               (a) A president, secretary, treasurer, or vice-president of the corporation in charge of a principal
                   business function, or any other person who performs similar policy- or decision-making
                   functions for the corporation, or

               (b) The manager of one or more manufacturing, production, or operating facilities,
                   provided the manager is authorized to make management decisions which govern the operation
                   of the regulated facility including having the explicit or implicit duty of making major capital
                   investment recommendations, and initiating and directing other comprehensive measures to
                   assure long term environmental compliance with environmental laws and regulations; the
                   manager can ensure that the necessary systems are established or actions taken to gather
                   complete and accurate information for permit application requirements; and where authority to
                   sign documents has been assigned or delegated to the manager in accordance with corporate
                   procedures.

               NOTE: The EPA does not require specific assignments or delegations of authority to responsible
               corporate officers identified in this subparagraph. The Agency will presume that these responsible
               corporate officers have the requisite authority to sign permit applications unless the corporation has
               notified the Director to the contrary. Corporate procedures governing authority to sign permit
               applications may provide for assignment or delegation to applicable corporate positions under this
               subparagraph rather than to specific individuals.

          (2) For a partnership or sole proprietorship. By a general partner or the proprietor, respectively; or

          (3) For a municipality, State, Federal, or other public agency. By either a principal executive officer or
              ranking elected official. For purposes of this section, a principal executive officer of a Federal
              agency includes:

               (a) the chief executive officer of the agency, or

               (b) a senior executive officer having responsibility for the overall operations of a principal
                   geographic unit of the agency (e.g., Regional Administrators of EPA).

     b.   All reports required by permits, and other information requested by the Director shall be signed by a
          person described in Paragraph a. of this section, or by a duly authorized representative of that person. A
          person is a duly authorized representative only if:

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         (1) The authorization is made in writing by a person described in Paragraph a. of this section;

         (2) The authorization specifies either an individual or a position having responsibility for the overall
             operation of the regulated facility or activity such as the position of plant manager, operator of a well
             or a well field, superintendent, position of equivalent responsibility, or an individual or position
             having overall responsibility for environmental matters for the company.

         (3) The written authorization is submitted to the Director.

    c.   Changes to authorization. If an authorization under Paragraph b. of this section is no longer accurate
         because a different individual or position has responsibility for the overall operation of the facility, a new
         authorization satisfying the requirements of Paragraph b. of this section must be submitted to the Director
         prior to or together with any reports, information, or applications to be signed by an authorized
         representative.

    d.   Certification. Any person signing a document under Paragraph a. or b. of this section shall make the
         following certification:

         I certify under penalty of law that this document and all attachments were prepared under my direction
         or supervision in accordance with a system designed to assure that qualified personnel properly gather
         and evaluate the information submitted. Based on my inquiry of the person or persons who manage the
         system, or those persons directly responsible for gathering the information, the information submitted is,
         to the best of my knowledge and belief, true, accurate, and complete. I am aware that there are significant
         penalties for submitting false information, including the possibility of fine and imprisonment for knowing
         violations.

14. Availability of Reports and the Administrative Record [40 CFR §§ 124.18 & 122.7]

Except for data determined to be confidential under 40 CFR Part 2, all reports prepared in accordance with the terms
of this permit shall be available for public inspection at the offices of the EPA. As required by the Act, permit
applications, permits and effluent data shall not be considered confidential.

15. Penalties for Falsification of Reports [40 CFR § 122.41(k)(2)]

The CWA provides that any person who knowingly makes any false statement, representation, or certification in
any record or other document submitted or required to be maintained under this permit, including monitoring reports
or reports of compliance or non-compliance shall, upon conviction, be punished by a fine of not more than $10,000
per violation, or by imprisonment for not more than six (6) months per violation, or by both.




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E. Definitions

1. The EPA [40 CFR § 122.2]

The Regional Administrator of EPA Region 4 or his/her designee is The EPA, unless at some time in the future
the State or Indian Tribe receives authority to administer the NPDES program and assumes jurisdiction over the
permit at which time, the Director of the State program receiving the authorization becomes the issuing authority.

The use of the term Director in this permit shall apply to the EPA Regional Administrator, Region 4.

2. Act [40 CFR § 124.2]

"Act" means the CWA (formerly referred to as the Federal Water Pollution Control Act or Federal Water Pollution
Control Act Amendments of 1972) Public Law 92-500, as amended by Public Law 95-217, Public Law 95-576,
Public Law 96-483, and Public Law 97-117, 33 U.S.C. 1251 et seq.

3. Discharge Monitoring Report (DMR) [40 CFR § 122.2]

Discharge Monitoring Report means the EPA national form (Form 3320-1) or electronic reporting form required
by the federal regulations including any subsequent additions, revisions, or modifications for the reporting of self-
monitoring results by permittees.

4. Measurements [40 CFR § 122.2]

The Daily discharge means the discharge of a pollutant measured during a calendar day or any 24-hour period
that reasonably represents the calendar day for purposes of sampling. For pollutants with limitations expressed in
units of mass, the daily discharge is calculated as the total mass of the pollutant discharged over the day. For
pollutants with limitations expressed in other units of measurement (i.e., concentration), the daily discharge is
calculated as the average measurement of the pollutant over the day.

The average annual discharge limitation means the highest allowable average of daily discharges over a period
of twelve consecutive calendar months, calculated as the arithmetic mean of the monthly averages for the current
calendar month and the eleven prior calendar months. The annual average is calculated each month. This limitation
is identified as Annual Average in the permit.

The average monthly discharge limitation other than for bacterial indicators, means the highest allowable average
of daily discharges over a calendar month, calculated as the sum of all daily discharges measured during a
calendar month divided by the number of daily discharges measured during that month. For bacterial indicators,
the average monthly discharge limitation is calculated using a geometric mean. This limitation is identified as
Monthly Average or Daily Average in the permit.

The average weekly discharge limitation means the highest allowable average of daily discharges over a
calendar week, calculated as the sum of all daily discharges measured during a calendar week divided by the
number of daily discharges measured during that week. This limitation is identified as Weekly Average in the
permit.

The maximum daily discharge limitation means the highest allowable daily discharge. This limitation is
identified as Daily Maximum in the permit.

The Method Detection Limit (MDL) means the minimum concentration of a substance (analyte) that can be
measured and reported with 99 percent confidence that the analyte concentration is greater than zero and is
determined from analysis of a sample in a given matrix containing the analyte.



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The Minimum Level (ML) means the concentration at which the entire analytical system must give a recognizable
signal and an acceptable calibration point. The ML is the concentration in a sample that is equivalent to the
concentration of the lowest calibration standard analyzed by a specific analytical procedure, assuming that all the
method-specified sample weights, volumes and processing steps have been followed.

5. Types of Samples

    a. Composite Sample: A composite sample is a combination of not less than eight influent or effluent
       portions (aliquots), of at least 100 ml, collected over the full time specified in the permit. The composite
       sample must be flow proportioned by either a time interval between each aliquot, or by volume as it relates
       to effluent flow at the time of sampling, or by total flow since collection of the previous aliquot. Aliquots
       may be collected manually or automatically.

    b. Grab Sample: A grab sample is a single influent or effluent portion which is not a composite sample.
       The sample(s) shall be collected at the period(s) most representative of the total discharge.

6. Calculation of Means

    a. Arithmetic Mean: The arithmetic mean of any set of values is the sum of the individual values divided
       by the number of individual values.

    b. Geometric Mean: The geometric mean of any set of values is the Nth root of the product of the individual
       values where N is equal to the number of individual values. The geometric mean is equivalent to the antilog
       of the arithmetic mean of the logarithms of the individual values. For purposes of calculating the geometric
       mean, values of zero (0) shall be considered to be one (1).

7. Permittee [40 CFR 122.21(b)]

The permittee means the operator who has substantial control over the day-to-day operations of the facility; when
a facility or activity is owned by one person but is operated by another person, it is the operators duty to obtain a
permit.

8. Hazardous Substance [40 CFR § 122.2]

A hazardous substance means any substance designated under 40 CFR Part 116 pursuant to Section 311 of the
CWA.

9. Toxic Pollutants [40 CFR § 122.2]

A toxic pollutant is any pollutant listed as toxic under Section 307(a)(1) of the CWA or, in the case of Sewage
sludge use or disposal practices, any pollutant identified in regulations implementing Section 405(d) of the CWA.




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APPENDICES 6

Appendix A: Best Management Practices (BMP) Plan Certification
Appendix B: Quality Assurance Plan (QAPP) Certification
Appendix C: Drug and Chemical Use Certification
Appendix D: Example Feed Conversion Ratios Log




6
 More guidance about the reporting and certification requirements for the aquaculture industry (including plans, certifications, reports, and
guidance) can be found in the Compliance Guide for the Concentrated Aquatic Animal Production Point Source Category.
U.S. Environmental Protection Agency. 2006. Compliance Guide for the Concentrated Aquatic Animal Production Point Source Category.
EPA-821-B-05-001. U.S. Environmental Protection Agency, Office of Water, Washington, DC.
< http://water.epa.gov/scitech/wastetech/guide/aquaculture/upload/2006_05_03_guide_aquaculture_guidance_full-final.pdf >.

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                                      Appendix A

                          Best Management Practices (BMP) Plan
                                     Certification




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                                     Best Management Practices (BMP) Plan
                                                    Certification


Facility Name: _________________________________________
NPDES Permit Number: ________________________________


The BMP Plan is complete and has been submitted to EPA.
The BMP Plan is being implemented by trained employees.
The BMP Plan has been reviewed and endorsed by the facility manager.
The individuals responsible for implementation of the BMP Plan have been properly trained.


I certify under penalty of law that this document and all attachments were prepared under my direction or
supervision in accordance with a system designed to assure that qualified personnel properly gather and evaluate
the information submitted. Based on my inquiry of the person or persons who manage the system, or those persons
directly responsible for gathering the information, the information submitted is, to the best of my knowledge and
belief, true, accurate, and complete. I am aware that there are significant penalties for submitting false information,
including the possibility of fine and imprisonment for knowing violations.



Print Name: _______________________________


Title/Company: ____________________________


Signature: _________________________________


Date: _____________________________________




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                                      Appendix B

                          Quality Assurance Project Plan (QAPP)
                                       Certification




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                                     Quality Assurance Project Plan (QAPP)
                                                    Certification




Facility Name: _________________________________________
NPDES Permit Number: ________________________________


The QAPP is complete and has been submitted to EPA.
The QAPP is being implemented by trained employees.
The QAPP has been reviewed and endorsed by the facility manager.
The individuals responsible for implementation of the QAPP have been properly trained.

I certify under penalty of law that this document and all attachments were prepared under my direction or
supervision in accordance with a system designed to assure that qualified personnel properly gather and evaluate
the information submitted. Based on my inquiry of the person or persons who manage the system, or those persons
directly responsible for gathering the information, the information submitted is, to the best of my knowledge and
belief, true, accurate, and complete. I am aware that there are significant penalties for submitting false information,
including


Print Name: _______________________________


Title/Company: ____________________________


Signature: _________________________________


Date: _____________________________________




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                                     Appendix C

                                Drug and Chemical Use
                                   Report Contents




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           CHECKLIST FOR ORAL REPORT FOR INAD AND EXTRA-LABEL DRUG USE

Instructions: Provide an oral and written report to EPA within 7 days after initiating use of the drug. The first row
is an example row.


                                                                                              Date Oral
  Reported to        Name of Drug (INAD &                                      First Date       Report
                                                          Method of
  Permitting         Extra-label) Used &                                        of Drug      Submitted       Initials
                                                          Application
  Authority?         Reason for Use                                               Use       to Permitting
                                                                                              Authority
                 Extra-label: Erythromycin
                 Treat bacterial infections                 Injection          09/09/04       09/10/04      MJ




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             WRITTEN REPORT FOR AGREEING TO PARTICIPATE IN AN INAD STUDY


Facility Name:                                                            NPDES Permit Number:

Name of person submitting this report:

Date this written report was submitted to the permitting authority:


Instructions: Submit a written report to the EPA within 7 days of agreeing or signing up to participate in an INAD study.
The first row is an example row.


   Date Initiating          Name of INAD
                                                       Disease or Condition
    INAD Study              Drug Used &                                                            Method of Application
    Participation           Dosage                      Intended to Treat

                                                                                               Medicated feed
                                                    For controlling                           Injection
       09/09/04           Oxytetracycline           columnaris in walleye                     Bath treatment
                                                                                              Other:


                                                                                               Medicated feed
                                                                                              Injection
                                                                                              Bath treatment
                                                                                              Other:


                                                                                               Medicated feed
                                                                                              Injection
                                                                                              Bath treatment
                                                                                              Other:


                                                                                               Medicated feed
                                                                                              Injection
                                                                                              Bath treatment
                                                                                              Other:


Note: This form is only an example of what a written report could look like. Facilities may use other types of existing written reports if available.




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                        WRITTEN REPORT FOR INAD AND EXTRA-LABEL DRUG USE



Facility Name:                                                NPDES Permit Number:

Name of person submitting this report:

Date this written report was submitted to the permitting authority:


Instructions: Submit a written report to the EPA within 30 days after initiating use of the drug. For extra-label drug
use, include the name of the prescribing veterinarian and date of the prescription. The first row is an example row.


                          Date and                                                              Total              Total
                          Time of                                                               Amount of          Amount of
  Name of Drug &
                         Application        Duration           Method of Application            Active             Medicated
  Reason for Use
                        (start date/time                                                        Ingredient         Feed
                        end date/time)                                                          Added              Added**

  Oxytetracycline          09/09/04                              Medicated feed
                           10:00 AM        5                    Injection
                                           consecutive                                         1 g/lb as sole
  For control of                                               Bath treatment                                         50 lbs
                                           days                                                ration
  columnaris in            09/13/04                            Other:
  walleye                  10:00 AM

                                                                 Medicated feed
                                                               Injection
                                                               Bath treatment
                                                               Other:


                                                                 Medicated feed
                                                               Injection
                                                               Bath treatment
                                                               Other:


                                                                 Medicated feed
                                                               Injection
                                                               Bath treatment
                                                                Other:


  * This form is only an example of what a written report could look like. Facilities may use other types of existing written
    reports if available.
  ** Applies only to drugs applied through medicated feed.




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                                     Appendix D

                              Feed Conversion Ratios Log




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                                       FEED CONVERSION RATIOS LOG
                      FLOW-THROUGH, RECIRCULATING, AND NET PEN SYSTEMS


Instructions: This example form may be used to keep track of feeding and to calculate/track feed conversion ratios
(FCR). The first row is an example row. The FCR is calculated with the following equation:


                            FCR = Dry weight of feed applied / Wet weight of fish gained


                                                                   Weights of
  Date (start                                 Total Feed
                Description of Group                              Animals (start      Weight       Calculated
  date   end                                  Amounts              weight end         Gained          FCR
  date)                                       (Estimate)            weight)

   3/20/04                                                           100 lbs
                Brook trout stockers for        5,275 lbs                             4,700 lbs        1.12
   10/21/04     Potomac River                                       4,800 lbs




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 United States Environmental     Region 4                                904-P-19-001
 Protection Agency               61 Forsyth Street, SW                 September 2020
                                 Atlanta, GA 30303




                          Final
                 Environmental Assessment

 National Pollutant Discharge Elimination System Permit
for Ocean Era, Inc – Velella Epsilon Offshore Aquaculture
                 Project – Gulf of Mexico
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 Abbreviations Used in this Document
 Abbreviation   Definition
 ACL            Annual Catch Limit
 APHIS          Animal and Plant Health Inspection Service
 ATON           Aids to Navigation
 BACT           Best Available Control Technology
 BES            Baseline Environmental survey
 BOEM           Bureau of Ocean Energy Management
 BPJ            Best Professional Judgement
 BSEE           Bureau of Safety and Environmental Enforcement
 o
     C          Degree Celsius
 CAA            Clean Air Act
 CAAP           Concentrated Aquatic Animal Production
 CASS           Coastal Aquaculture Siting and Sustainability
 CEQ            Council on Environmental Quality
 CFR            Code of Federal Regulations
 Chl-a          Chlorophyll a
 CWA            Clean Water Act
 CZMA           Coastal Zone Management Act
 DA             Department of Army
 DO             Dissolved Oxygen
 DOC            Department of Commerce
 DOD            Department of Defense
 DOI            Department of Interior
 DPS            Distinct Population Segment
 DWH            Deepwater Horizon Event
 EA             Environmental Assessment
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 EEZ            Exclusive Economic Zone
 EFH            Essential Fish Habitat
 EFP            Exempted Fishing Permit
 EIS            Environmental Impact Statement
 ELG            Effluent Limitations Guidelines
 EPA            U.S. Environmental Protection Agency
 ESA            Endangered Species Act
 FIFRA          Federal Insecticide, Fungicide, and Rodenticide Act
 FMP            Fishery Management Plan
 FR             Federal Register
 ft             Feet
 FWS            U.S. Fish and Wildlife Service
 GAP            Gulf Aquaculture Permit
 GOMESA         Gulf of Mexico Energy Security Act
 GPS            Global Positioning System
 Gulf           Gulf of Mexico
 HAB            Harmful Algal Blooms
 HAPCs          Habitats of Particular Concern
 kg/day         Kilograms per Day
 km             Kilometer
 lbs. gw        Pounds Gross Weight
 LOA            Letter of Authorization
 LOP            Letter of Permission
 m              Meters
 MAS            Multi-Anchor System
 MBTA           Migratory Bird Treaty Act
 mg/l           Milligram per Liter
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 MMAP           Marine Mammal Authorization Program
 MMPA           Marine Mammal Protection Act
 MOU            Memorandum of Understanding
 MPAs           Marine Protected Areas
 MSA            Marine Sanctuary Act
 NAAQS          National Ambient Air Quality Standards
 NEPA           National Environmental Policy Act
 NHPA           National Historic Preservation Act
 NMFS           National Marine Fisheries Service
 nmi            Nautical Mile
 NMSA           National Marine Sanctuaries Act
 NMSP           National Marine Sanctuary Program
 NOAA           National Oceanic and Atmospheric Administration
 NPDES          National Pollutant Discharge Elimination System
 NWR            National Wildlife Refuge
 OCS            Outer Continental Shelf
 ODC            Ocean Discharge Criteria
 ODMDS          Ocean Dredged Material Disposal Site
 PAHs           Polyaromatic Hydrocarbons
 PATON          Private Aids to Navigation
 PCBs           Polychlorinated Biphenyls
 PDARP          Final Programmatic Damage Assessment and Restoration Plan
 PEIS           Programmatic Environmental Impact Statement
 PFEIS          Programmatic Final Environmental Impact Statement
 PM             Particulate Matter
 ppt            Parts per Thousand
 PSD            Prevention of Significant Deterioration
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 PSMP           Protected Species Management Plan
 RAS            recirculating aquaculture system
 RUE            Right of Use and Easement
 SEFSC          Southeast Fisheries Science Center
 SLA            Submerged Lands Act
 SPCC           Spill Prevention, Containment, and Countermeasure
 TKN            Total Kjeldahl Nitrogen
 TOC            Total Organic Carbon
 TP             Total Phosphorous
 ug/L           Microgram per Liter
 USACE          U.S. Army Corps of Engineers
 USCG           U.S. Coast Guard
 USDA           U.S. Department of Agriculture
 WTCW           Well Treatment, Completion, and Workover (fluids)
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 Table 1 - Errata Table – Substantive Changes from draft to final EA

   Page Number / Section                             Change from draft to final EA

 Global                        Added Ocean Era, Inc. as applicant
 Global                        Clarification that permit will be limited to “one production cycle”

 Introduction                  Text revised
 Table 3                       Revised ESA and MMPA text

 Section 3.2.3 – Air Quality Text revised and updated

 Section 4.2.1 – Water         Text Revised
 Quality

 Section 4.2.1.1 –             Text revised
 Pharmaceuticals

 Section 4.2.2 – Sediment      Text revised
 Quality

 Section 4.2.3 Air Quality     Text revised
 Section 4.3.1 – Fish          Text revised

 Section 4.3.3 – Marine        Text revised
 Mammals
 Section 4.3.4 – Sea Turtles   Text revised

 Section 4.3.6 – Essential     Concurrence correspondence text added
 Fish Habitat

 Section 4.4.3 –               Text revised
 Recreational Fishing

 Section 4.4.4 –               Text revised
 Commercial Fishing

 Section 4.4.5 –               Text revised
 Environmental Justice

 Section 5.0 – Cumulative      Text revised
 Impacts

 Section 5.3 Future            Text revised
 Aquaculture Operations

 Section 5.4 – Physical        Text revised
 Resources
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 Section 5.4.1 – Water         Text revised
 Quality

 Section 5.4.1.1 –             Text revised
 Pharmaceuticals

 Section 5.4.2 – Sediment      Text revised
 Quality
 Section 5.4.3 – Air Quality Section has been revised to reflect updated information

 Section 5.5 – Biological      Text revised
 Resources
 Section 5.5.4 – Sea Turtles   Text revised

 Section 5.5.6 – Essential     Text revised and concurrence correspondence text added
 Fish Habitat

 Section 6.0- Alternatives     Text revised

 Section 6.7 – Preliminary     Text revised
 FONSI

 Section 7.5 – Section 7       Text revised
 ESA Coordination

 Section 7.6 – Essential       Text revised
 Fish Habitat Consultation

 Section 9.0 – Public          Section has been revised to reflect public comment period, public
 Notice                        hearing, and agency responses.



 List of Appendices
 Appendix A – Baseline Environmental Survey
 Appendix B – Cage/Pen Design
 Appendix C – ODC Evaluation
 Appendix D – ESA Consultation Document
 Appendix E – EFH Consultation Documents
 Appendix F – CASS Technical Report
 Appendix G – Preliminary Finding of No Significant Impact
 Appendix H – State Consultations (NHPA Section 106/CZMA)
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1.0 Introduction
Ocean Era, Inc. (formerly Kampachi Farms, LLC) (applicant) is proposing to install and operate
a pilot-scale marine aquaculture facility in federal waters of the Gulf of Mexico (Gulf) and has
applied for permits from multiple federal agencies (See Table 2). This EA was prepared by the
U.S. Environmental Protection Agency (EPA) as the lead federal agency with assistance from
the National Marine Fisheries Service (NMFS) and U.S. Army Corps of Engineers (USACE) as
cooperating agencies under the National Environmental Policy Act (NEPA). This EA evaluates
the potential environmental impacts from the construction and operation of the proposed project,
named Velella Epsilon (VE). Cooperating agencies have jurisdiction by law or special expertise
with respect to the potential environmental impacts resulting from the VE project.


A NEPA review is required when the EPA issues a National Pollutant Discharge Elimination
System (NPDES) permit for a “new source” under the Clean Water Act (CWA). At this time, the
proposed facility does not meet the definition of “new source,” which includes facilities subject
to and commencing construction after the promulgation of national standards of performance
under Section 306 of the CWA (40 CFR Section 122.2). The proposed facility will commence
construction after promulgation of national standards of performance for Concentrated Aquatic
Animal Production (CAAP) facilities set forth at 40 CFR Part 451; however, those standards do
not apply to facilities producing less than 100,000 pounds of aquatic animals annually (the
proposed facility will produce a maximum of 80,000 pounds of aquatic animals per year). Thus,
the obligation to conduct NEPA review for issuance of “new source” permits does not directly
apply to the proposed permit.


While the NEPA regulations are not automatically applicable to the proposed facility, the EPA
finds that a NEPA analysis will be beneficial. It is appropriate to perform a NEPA review in
accordance with EPA’s Policy for Voluntary Preparation of NEPA Documents (63 FR 58045;
October 29, 1998) based on the facility-specific circumstances surrounding the issuance of the
NPDES permit. First, preparing a NEPA evaluation will enhance and facilitate an analysis of
environmental impacts that are not well known because the proposed facility would be the first
aquaculture facility to operate and discharge in federal waters of the eastern Gulf. Second, the
EPA’s decision to prepare an Environmental Assessment (EA) is also supported by 40 CFR
Section 6.205(a), which provides for preparation of an EA when a proposed action is expected to
result in environmental impacts and the significance of the impacts are not known. Third,
improved coordination and efficiencies with other federal agencies will occur. Finally, the
proposed facility’s maximum annual production of 80,000 lbs. is relatively close to the threshold
for meeting the new source definition for which EPA’s NEPA requirements under 40 CFR Part 6
are automatically applicable. While the EPA voluntarily used NEPA review procedures in
conducting the analysis for the NPDES permit issuance, the EPA also has explained that “[t]he
voluntary preparation of these documents in no way legally subjects the Agency to NEPA’s
requirements” (63 FR 58046).




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1.1 Environmental Review Process and Coordination
This will be the first offshore aquaculture project in the Gulf to be issued under the new
interagency process for coordinating aquaculture permitting. 1 Because a particular agency may
have more extensive authority and expertise concerning the activities that are subject to these
regulations, that agency (or agencies) will generally take the lead on required evaluations or
consultations in order to minimize delays and reduce potential duplication and effort (NMFS,
2016). In addition to the cooperating agencies, the EPA requested that the Bureau of Ocean
Energy Management (BOEM), the U.S. Fish and Wildlife Service (FWS), Bureau of Safety and
Environmental Enforcement (BSEE), and the U.S. Coast Guard (USCG) contribute in this
process as participating agencies.


1.2 Regulatory Background
The operator of an offshore aquaculture facility must obtain required federal permits and
authorizations prior to beginning operations (e.g., USACE Section 10 permit needed before
anchoring any structures into federal waters of the Gulf and EPA’s NPDES permit needed before
discharging pollutants from those structures). Table 1 summarizes the permits that are needed to
conduct aquaculture in federal waters of the Gulf.


Table 2: Federal Permits needed for offshore aquaculture projects.

        Agency                     Statutes/Authorities                           Purpose                                  Permit
  U.S. Army Corps of                 Section 10 of the              Required in navigable waters of the               Section 10 Permit
       Engineers                    Rivers and Harbors                U.S. to protect navigation for                     or Letter of
                                            Act                                  commerce                                Permission
  U.S. Environmental               Sections 402 and 403               Required for the discharge of                    NPDES Permit
  Protection Agency                 of the Clean Water               pollutants into waters of the U.S.
                                            Act


Additional details regarding the statutory/regulatory framework that supports offshore
aquaculture permitting are provided in the following sections.


1.2.1 EPA--Clean Water Act
In accordance with the CWA, all pollutant discharges must comply with specific legal
requirements. The CWA defines pollutant as dredged spoil, solid waste, incinerator residue,
sewage, garbage, sewage sludge, munitions, chemical wastes, biological materials, heat, wrecked
or discarded equipment, rock, sand, cellar dirt and industrial, municipal, and agricultural waste
discharged into water. The CWA established the NPDES program to protect and improve water
quality by regulating point-source discharges into waters of the United States. Pursuant to its
CWA authority, the EPA developed the NPDES Permit Program to permit pollutant discharges.



1
  On February 6, 2017, the Memorandum of Understanding (MOU) for Permitting Offshore Aquaculture Activities in federal waters of the Gulf
of Mexico became effective for seven federal agencies with permitting or authorization responsibilities.



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Discharges from aquaculture operations are primarily governed by the implementing regulations
of CWA Sections 402 and 403. The CWA Section 402 authorizes the EPA to issue NPDES
permits for the discharge of pollutants from point sources into waters of the United States. The
CWA Section 402 requires that a NPDES permit for a discharge into federal waters of the ocean
be issued in compliance with EPA’s ocean discharge criteria within CWA Section 403 for
preventing unreasonable degradation of the receiving waters (i.e., 40 CFR Section 125.121).
Potential pollutant discharges from aquaculture operations include solids, nutrients, ammonia,
fish waste, feed waste, pharmaceuticals, chemicals, and other industrial animal-processing
byproducts. The proposed facility will require a NPDES permit because it proposes to discharge
pollutants from a point source to waters of the United States and, therefore, is subject to the
general CWA Section 301 prohibition against discharges unless authorized by a NPDES permit.


Relevant to the proposed action is the CWA implementing NPDES regulation relating to CAAP
facilities under 40 CFR Section 122.24, which requires technology-based effluent limitations for
certain discharges of pollutants from CAAP facilities. The discharges from the proposed facility
are not regulated as a CAAP because the facility does not meet the fish production thresholds for
the warm water category. Therefore, the discharge of pollutants from the facility will be
regulated as an aquatic animal production facility and the NPDES permit for the proposed
facility will include the CAAP effluent limitations based on best professional judgement as
allowed by 40 CFR Section 125.3(c).


Effective in 2004, the CAAP performance standards and effluent-limit guidelines (ELGs) are set
forth in 40 CFR Part 451 and consist of a series of management practices designed to control
pollutant discharges. These standards and guidelines were developed for CAAP facilities
producing over 100,000 pounds annually in net pens or submerged cage systems. Based on
maximum production levels provided by the applicant, the proposed action will not meet that
production threshold. However, while the Part 451 effluent guideline limitations are not directly
applicable, the NPDES permit for the facility will adopt those same requirements in the permit
based on the best professional judgment (BPJ) of the permit writer and based on the factors set
forth in 40 CFR Part 125, Subpart A. An individual permit is required because no general permit
is available for off-shore aquatic animal production or CAAP operations within federal waters of
the Gulf. NPDES permits usually are issued for 5-year terms and reissued every 5 years.


The CWA’s jurisdiction extends over navigable waters, territorial seas, the waters of the
contiguous zone, and the oceans. The CWA defines navigable waters to include the territorial
seas, which are defined as the belt of seas measured from the ordinary, low-water line in direct
contact with the open sea and the line marking the seaward limit of inland waters and extending
seaward 3 miles. The contiguous zone is the entire zone established under Article 24 of the
Convention of the Territorial Sea and the Contiguous Zone, and any portion of the high seas
beyond this zone is defined as the ocean. In most places, federal waters extend from where state
waters end out to about 200 nautical miles (nmi) also known as the U.S. Exclusive Economic
Zone (EEZ). 2


2
  EPA has delegated the NPDES program to the State of Florida for projects in state waters. The State of Florida’s NPDES jurisdiction extends
three miles offshore. The CWA requires the EPA to issue NPDES permits for pollutant discharges beyond three miles seaward offshore Florida.



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The CWA Section 403 requires all offshore pollutant discharges to have permit limits consistent
with EPA’s ocean discharge criteria, which are the EPA’s regulations to prevent unreasonable
degradation of the marine environment in connection with discharges to the territorial seas, the
contiguous zone, and the oceans. Consequently, all CWA Section 402 permitted discharges into
the territorial sea, the waters of the contiguous zone, or the oceans must be consistent with CWA
Section 403 criteria.


Additionally, depending upon the proposed design and operations, aquaculture facilities may
also be subject to federal requirements under the Animal and Plant Health Inspection Service
(APHIS) which is administered by the U.S. Department of Agriculture, the Spill Prevention,
Containment, and Countermeasure (SPCC) regulations, or the Federal Insecticide, Fungicide,
and Rodenticide Act (FIFRA), and NEPA (EPA, 2006).


1.2.2 USACE--Section 10
The proposed action requires the issuance of a Department of the Army (DA) permit pursuant to
Section 10 of the Rivers and Harbors Act (RHA) approved March 3, 1899, (33 U.S.C. 403)
(hereinafter referred to as Section 10) only. Pursuant to 33 CFR 320.2(b), Section 10 prohibits the
unauthorized obstruction or alteration of any navigable water of the United States (U.S.). The
construction of any structure in or over any navigable water of the United States, the excavating
from or depositing of material in such waters, or the accomplishment of any other work affecting
the course, location, condition, or capacity of such waters is unlawful unless the work has been
recommended by the Chief of Engineers and authorized by the Secretary of the Army. The
instrument of authorization is designated a permit. The authority of the Secretary of the Army to
prevent obstructions to navigation in navigable waters of the United States was extended to
construction of artificial islands, installations, and other devices located on the seabed, to the
seaward limit of the outer continental shelf, by section 4(f) of the Outer Continental Shelf Lands
Act of 1953 as amended (43 U.S.C. 1333(e)). (See 33 CFR part 322.3(b)).


1.3 Primary Federal Authorizations needed for Proposed Aquaculture Projects
In addition to required federal permits, other federal authorizations may be needed to support
commencement of offshore aquaculture projects in federal waters. For example, if an aquaculture
facility is co-located within the outer continental shelf (OCS) oil and gas facilities (this is not the
case with the VE project), the BOEM and the BSEE must review and provide certain approvals
which would be incorporated into the federal permitting processes (i.e., no separate
authorizations would be issued). Once all federal permits have been obtained, applicants must
apply to the USCG to receive an authorization to deploy Private Aids to Navigation (PATON),
(e.g., markers, buoys, at their approved aquaculture operation site). Table 3 provides a summary
of the federal authorizations that may be needed for offshore marine aquaculture projects in
federal waters.



For purposes of this EA, nautical mile is used interchangeably with geographic miles (i.e., CWA) to be distinguished from statutory miles. For
example, 9 nmi equals 8.99 geographic miles versus 10.36 statute miles.



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Table 3: Federal authorizations required for Offshore Aquaculture Projects.
                                                        Application           Who initiates this   Form of
Agency           Statutes/Authorities   Purpose
                                                        Form(s)/Process4      action and how?      authorization

Authorizations
                                        Ensure safe                                                Formal
                                        navigation      Private Aids to       Applicant seeking    authorization
U.S. Coast       33 U.S.C. 1221 et
                                        Authorize       Navigation            to establish a       from
Guard            seq
                                        Private Aids    Application Form      private aid          appropriate
(USCG)           33 CFR Section 66
                                        To              (CG-2554)             to navigation        USCG
                                        Navigation                                                 District

Authorizations for Aquaculture Operations Co-Located with OCS Oil and Gas Facilities
                                                                            Operator of the
                                                                            OCS aquaculture
                                                                            facility proposing
                                        Required for
                                                                            to initiate offshore   A formal
                                        any offshore   Right of Use and
                                                                            aquaculture            RUE is
                 Outer Continental      aquaculture    Easement (RUE)
Bureau of                                                                   activities submits     established
                 Shelf Lands Act;       operations     for Energy and
Ocean Energy                                                                request for an         using the
                 Energy Policy Act of that utilize or Marine- Related
Management                                                                  Alternate Use          facility for
                 2005; 30 CFR           tether to      Activities Using
(BOEM)                                                                      RUE after              the purpose
                 Section 500-599        existing oil   Existing OCS
                                                                            contacting and         of
                                        and gas        Facilities
                                                                            receiving approval     aquaculture
                                        facilities
                                                                            from the OCS Oil
                                                                            and Gas Facility
                                                                            Owner
                                                                              Permitting
Bureau of
                                                                              agencies request
Safety and
                 Outer Continental                                            BSEE consultation
Environmenta
                 Shelf Lands Act                                              on proposed
l Enforcement
                                                                              aquaculture
(BSEE)
                                                                              activities


1.4 Required Federal Consultations, Reviews, and Other Applicable Laws
The EPA and the USACE must coordinate with other agencies when making permitting
decisions for offshore aquaculture operations. Table 4 provides a summary of these applicable
laws and coordination efforts. Additional information about the coordination and consultation
efforts to comply with other applicable federal laws is provided in Chapter 7 and in the
Appendices of this EA.




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Table 4. Other Applicable Federal Laws
     Federal Law                                                Description of the Requirement

                         Section 7 of the Endangered Species Act (ESA) requires any federal agency that issues a permit to consult
                         with NOAA’s National Marine Fisheries Service (NMFS) and/or the U.S. Fish and Wildlife Service
                         (USFWS), if issuance of the permit may affect ESA- listed species and/or the designated critical habitat for
                         ESA-listed species. The Section 7 consultation process requires an analysis of the effects of the proposed
Endangered Species
                         action on ESA-listed species and designated critical habitat based on the best available science. The analysis
Act
                         must determine if the proposed action is likely to adversely affect an ESA-listed species and/or designated
                         critical habitat. If the analysis determines the issuance of a proposed permit may adversely affect an ESA-
                         listed species, but will not jeopardize its continued existence, then reasonable and prudent measures and
                         implementing terms and conditions that minimize the adverse impacts must be developed.

                         The essential fish habitat (EFH) provisions of the Magnuson-Stevens Act require federal agencies to consult
Essential Fish Habitat
                         with NMFS when activities they undertake or permit may adversely affect EFH.
                         Section 106 of the National Historic Preservation Act (36 CFR Part 800) requires any federal agency issuing a
National Historic        permit to account for potential effects of the proposed aquaculture activity on historic properties, e.g.,
Preservation Act         shipwrecks, prehistoric sites, cultural resources. If a proposed aquaculture activity has the potential to affect
                         historic properties, these details must be provided by the applicant as part of the application packages.

                         The Fish and Wildlife Coordination Act requires any federal agency issuing permits to consult with USFWS
Fish and Wildlife
                         and NMFS if the proposed aquaculture activities could potentially harm fish and/or wildlife resources. These
Coordination Act
                         consultations may result in project modification and/or the incorporation of measures to reduce these effects.

                         Section 304(d) of the National Marine Sanctuaries Act (NMSA) requires that any federal agency issuing
                         permits to consult with NOAA’s National Marine Sanctuary Program (NMSP) if the proposed aquaculture
National Marine
                         activity is likely to destroy or injure sanctuary resources. As part of the consultation process, the NMSP can
Sanctuary Resources
                         recommend reasonable and prudent alternatives. While such recommendations may be voluntary, if they are
Act
                         not followed and sanctuary resources are destroyed or injured in the course of the action, the NMSA requires
                         the federal action agency(ies) issuing the permit(s) to restore or replace the damaged resources.

                         The Marine Mammal Protection Act (MMPA) prohibits the harassment, hunting, capturing or killing of
Marine Mammal            marine mammals without a permit from either the Secretary of the Interior or the Secretary of Commerce.
Protection Act           There are some exemptions to marine mammal take which are specified in sections 101 and 118 of the Marine
                         Mammal Protection Act.

                         NEPA requires federal agencies to prepare either an Environmental Impact Statement (EIS) or Environmental
                         Assessment (EA) for any federal action affecting the quality of the human environment; unless it is
                         determined the activity is categorically excluded from NEPA. NOAA has completed a Programmatic EIS
National Environmental   (PEIS), which broadly considers a range of similar aquaculture projects in the Gulf. Federal agencies, in
Policy Act               particular EPA and USACE, will ensure that any additional site-specific assessments deemed necessary are
                         conducted. Permit applicants may be required to provide support for the project-specific evaluation of
                         alternatives and their environmental effects, such as providing estimates of nutrient loadings, an assessment of
                         the potential for benthic impacts, or effects on native species.

                         The Coastal Zone Management Act of 1972 (CZMA) encourages coastal states to develop and implement
                         coastal zone management plans as a basis for protecting, restoring, and establishing a responsibility in
                         preserving and developing the nation’s coastal communities and resources. Coastal states with an approved
                         coastal zone management program are authorized to review certain federal actions affecting the land or water
                         uses or natural resources of its coastal zone for consistency with its program. Under the CZMA, a state may
Coastal Zone
                         review: activities conducted by, or on behalf of, a federal government agency within or outside the coastal
Management Act
                         zone that affects any land or water use or natural resource of the coastal zone; an application for a federal
                         license or permit; and any plan for the exploration or development or, or production from, any area that has
                         been leased under the Outer Continental Shelf Lands Act for offshore minerals exploration or development.
                         The CZMA requires federal agency activities to be consistent to the maximum extent practicable with the
                         enforceable policies of a state’s approved coastal zone management program.




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1.5 Proposed Action
The applicant is proposing a pilot-scale project where up to 20,000 almaco jack (Seriola
rivoliana, i.e., Kampachi) fingerlings will be reared in a single net pen aquaculture system in
federal waters approximately 45 miles west, southwest of Longboat Pass-Sarasota Bay, Florida.
Project details are provided in Section 1.7.3 Summary of Proposed Project Activities.


The proposed action is the issuance of a permit under the respective authorities of the EPA as
required to operate the facility. The EPA’s proposed action is the issuance of a NPDES permit
that authorizes the discharge of pollutants from an aquatic animal production facility that is
considered a point source into federal waters of the United States. In addition, the USACE
proposed action is the issuance of a Letter of Permission (LOP) pursuant to Section 10 that
authorizes anchorage to the sea floor, and structures affecting navigable waters.


1.6 Purpose and Need for the Proposed Action
The applicant seeks permits and authorizations for the VE project which is a single net pen
demonstration project for open ocean aquaculture of marine finfish in federal waters of the Gulf.
The EPA and the USACE are the two federal agencies that are statutorily required to issue
permits and authorizations for this type of operation. The EPA and USACE agency specific
purpose and need for the proposed project are as follows:


EPA
On November 9, 2018, the EPA Region 4 received a complete application for a NPDES permit
from the applicant (Ocean Era) for the discharge from a marine aquaculture facility into federal
waters of the Gulf. The proposed action is the issuance of a new NPDES individual permit for
discharges from a new aquaculture facility into federal waters of the Gulf. The proposed facility
would be the first aquaculture facility to operate and discharge in federal waters of the eastern
Gulf and, thus, the significance of any impacts to the environment from such a facility are not
fully known. Consistent with 40 CFR Section 6.205(a), the EA was prepared for the proposed
action under EPA’s Voluntary Policy for the Preparation of NEPA Documents. The applicant
needs an NPDES permit in order to operate and discharge from its proposed aquaculture facility
in compliance with the CWA.


USACE
Operators must obtain a Section 10 permit prior to installing any offshore aquaculture
infrastructure, such as net pens and lines, provided that it is an “installation or other device” and
is attached to the seabed. The applicant needs a DA authorization in order to operate its proposed
aquaculture facility in compliance with Section 10.


On November 10, 2018, the USACE Jacksonville District received a complete application for a
DA permit pursuant to Section 10 for structures and work affecting navigable waters from Ocean
Era. The USACE evaluated this project pursuant to a LOP pursuant to 33 CFR 325.2(b)(2) and

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(e)(1). Pursuant to 325, Appendix B (6) Categorical Exclusions, all applications which qualify as
letters of permission (as described at 33 CFR 325.2(b)(2) are categorically excluded from NEPA
as they are not considered to be major Federal actions significantly affecting the quality of the
human environment.


For the purposes of this EA, the Section 10 Permit and LOP will be used interchangeably. The
LOP will be valid for five years. However, the applicant proposes a pilot-scale aquaculture
system that will raise approximately 20,000 almaco jack over an 18-month project period. An
LOP was determined appropriate for this action due to the small scale and temporary nature of
the proposed pilot project.


1.7 Site Selection
Two potential site locations, approximately five nautical miles apart, were identified along the
40-meter (m) isobath after an extensive preliminary siting analysis conducted with NOAA’s
National Ocean Service National Centers for Coastal Ocean Science (NOS NCCOS) staff.
Preliminary analysis used a number of site criteria including: proximity to a commercial port,
adequate water depths (at least 130 ft) to allow net pen submersion and maximize mooring
scope, avoidance of hardbottom habitats, artificial reefs and submerged cultural resources (e.g.,
shipwrecks), areas consisting of unconsolidated sediments for positioning the anchors, avoidance
of marine protected areas (MPAs), marine reserves, and Habitats of Particular Concern
(HAPCs). Selection criteria also considered the presence of navigational fairways, vessel traffic
routes, anchoring areas, lightering zones, deepwater ports, platform safety zones, military zones,
fisheries and tourism areas, dredging sites, mineral extraction areas, designated dredge material
dumping sites, rights of way for energy transmission lines and communications cables, and
scientific reference sites and fishery conflicts.


A baseline environmental survey (BES) (Appendix A) of both sites was commissioned by the
applicant to determine if the sites were clear of sensitive live bottom habitat, potential hazards,
and potential archeological and historic features not present in the data sets used in the
preliminary site analysis. The BES was also used for engineering analysis by determining
whether selected sites contained sufficiently deep layers of unconsolidated sediments suitable for
cage anchors. Benthic surveys using sidescan sonar, sub-bottom profiling, and towed
magnetometer data determined that the seafloor at both locations were free of any exposed
pipelines, marine debris, underwater wrecks and cultural resources. This site screening process
informed federal agencies of viable action alternatives and non-viable alternatives as part of the
NEPA process.


1.7.1 Description and Location
The proposed facility will be located within the boundary of the coordinates shown in Table 5.
The boundary of the facility is ~45 miles southwest of Sarasota, Florida and consists of water
depths of ~130 feet which is conducive for placement of the single cage and multi-anchor system
(MAS).




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The applicant will select a specific location within that area based on diver-assisted assessments
of the sea floor when the cage and MAS are deployed. See Appendix A for additional information
on the project boundary.




             Table 5. Velella Epsilon Boundary Coordinates




1.7.2 Surrounding Location Uses
The proposed area is located on a portion of the west Florida Shelf that is heavily trawled by the
shrimp fishing industry. Additionally, large portions of the west Florida Shelf are designated as
military special use airspace. To avoid user conflicts in this area, the applicant coordinated
closely with the military and the shrimping industry during the site selection process.


1.7.3 Summary of Proposed Project Activities
The proposed project activities include operation of a pilot-scale marine aquaculture facility with
up to 20,000 almaco jack (Seriola rivoliana; i.e., Kampachi) being reared in federal waters for a
period of approximately 12 months (total deployment of the cage system is 18 months), which
will represent one production cycle. Based on an estimated 85% (percent) survival rate, the
operation is expected to yield approximately 17,000 fish. Final fish size is estimated to be
approximately 4.4 lbs./fish, resulting in an estimated final maximum harvest weight of 80,000
lbs. (considering a 90% survival rate). The fingerlings will be sourced from brood stock that are
located at Mote Aquaculture Research Park and were caught in the Gulf near Madeira Beach,
Florida. As such, only F1 progeny will be stocked into the proposed project. Following harvest,
cultured fish would be landed in Florida and sold to federally-licensed dealers in accordance with
state and federal laws.


A single offshore strength (PolarCirkel-style) submersible fish pen will be deployed on an
engineered MAS mooring system. The design provided by the applicant for the engineered MAS
will use embedment anchors for the mooring system. The cage material for the proposed project
is constructed with rigid and durable materials (copper mesh net with a diameter of 4 millimeter
(mm) wire and 40mm x 40 mm mesh square). The mooring lines for the proposed project will be
constructed of steel chain (50mm thick) and thick rope (36mm) that are attached to a floating
cage that will rotate in the prevailing current direction; the floating cage position that is
influenced by the ocean currents will maintain the mooring rope and chain under tension during
most times of operation. The bridle line that connects from the swivel to the cage will be encased



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in a rigid pipe. Structural information showing the MAS and pen array, along with the tethered
tender vessel, is provided in Appendix B.


The cage design is flexible and self-adjusts to suit the constantly changing wave and current
conditions. As a result, the system can operate floating on the ocean surface or submerged within
the water column of the ocean. When a storm approaches the area, the operating team uses a
valve to flood the floatation system with water, causing the entire cage array to submerge. A
buoy remains on the surface, marking the net pen’s position and supporting the air hose. When
the pen approaches the bottom, the system will maintain the cage several meters above the sea
floor. Submerged and protected from the storm above, the system is still able to rotate around the
MAS and adjust to the currents. After storm events, facility staff makes the cage system buoyant,
causing the system to rise back to the surface or near surface position to resume normal
operational conditions. The proposed project cage will have at least one properly functioning
global positioning system device to assist in locating the system in the event it is damaged or
disconnected from the mooring system.


At the conclusion of the 18-month demonstration trial period, the net pen and all mooring
equipment would be removed from the site and hauled to shore for proper cleaning and storage.
For a detailed schematic of the pen design see Appendix B.


1.8 Documents incorporated by reference
The NEPA implementing regulations direct agencies to develop succinct NEPA documents and
incorporate material by reference when appropriate without impeding agency and public review
of the action (see 40 CFR Section 1502.21). Therefore, the EPA is incorporating the following
documents and references for this EA:

       NMFS’ 2008 Programmatic Environmental Impact Statement (PEIS), NMFS proposed
        regional regulations: Fishery Management Plan to Promote and Manage Marine
        Aquaculture within the Gulf of Mexico Exclusive Economic Zone.

       USEPA Region 4’s 2016 Environmental Assessment (EA) for National Pollutant
        Discharge Elimination System (NPDES) Permit for Eastern Gulf of Mexico Offshore
        Oil and Gas Exploration, Development, and Production

       NOAA Fisheries’ 2016 final rule: the FMP for Regulating Offshore Aquaculture in the
        Gulf of Mexico

       40 CFR Part 6 – Procedures for Implementing the National Environmental Policy Act
         and Assessing the Environmental Effects Abroad of EPA Actions.

       2016 Interagency Memorandum of Understanding for Permitting Offshore Aquaculture
         Activities in Federal Waters of the Gulf of Mexico.




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2.0 Alternatives
The EPA considered two alternatives for the proposed VE project in this EA. Alternatives
considered include a No Action Alternative (Alternative 1) and issuance of a NPDES permit for
the facility (Alternative 2).


2.1 Alternative 1--No Action
Under the no-action alternative, the EPA would not issue a NPDES permit for the proposed VE
project. The effects of the no action alternative are described in Chapter 3, Affected
Environment, in which no structures or pens would exist at the site location.


2.2 Alternative 2 --Issuance of NPDES Permit and Section 10 Authorization
Under Alternative 2, the EPA would issue a NPDES permit for the proposed VE project. This
Alternative complies with the statutory requirements of the CWA.


2.3 Alternatives Considered but Eliminated from Detailed Study
As discussed in Section 1.7 Site Selection, multiple sites were considered for the proposed
project site. An extensive screening process was undertaken by the applicant to evaluate these
alternative sites. Sites originally considered but identified in the BES (Appendix A) as non-
viable were eliminated from further consideration for not meeting the necessary criteria. For the
purposes of NEPA, these alternative sites have been eliminated for consideration by the EPA and
USACE and are not carried forward for analysis in this EA.


2.4 Factors Used to Develop and Screen Alternatives
As required by 40 CFR Section 1502.14, the EPA is required to rigorously explore and
objectively evaluate all reasonable alternatives, and for alternatives which were eliminated from
detailed study, briefly discuss the reasons for elimination. The EPA is also required to devote
substantial treatment to each alternative considered in detail including the proposed action so that
reviewers may evaluate their comparative merits. In addition, the EPA must include reasonable
alternatives not within the jurisdiction of the lead agency and include the alternative of no action.


As part of the NEPA process, the EPA must identify the agency's preferred alternative or
alternatives, if one or more exists, in the draft statement and identify such alternative in the final
statement unless another law prohibits the expression of such a preference. The EPA must also
include appropriate mitigation measures not already included in the proposed action or
alternatives.


The EPA has included both action and no action alternatives in this EA. Rationale for
alternatives eliminated for additional study is provided in Chapter 1. We provide a detailed
discussion on the proposed action and the levels of impacts compared to the no action alternative

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in Chapters 4. Chapter 5 describes cumulative impacts in the context of the proposed action.
Chapter 6 provides the agency preference and rationale for the preferred alternative. Protective
measures and mitigation measures for the proposed action are described throughout this EA and
all supporting documents.




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3.0 Affected Environment
3.1 Introduction
This chapter describes the existing environment potentially affected by the proposed action
through issuance of required federal permits and authorizations. The current status of each
potentially affected resource is discussed below, including physical resources (Section 3.2),
biological resources (Section 3.3), and social and economic environment (Section 3.4). This
chapter describes the potentially affected resources prior to the proposed action as a point of
comparison for evaluating the consequences or impacts resulting from the proposed action.
Resources that are not expected to be impacted (e.g. wetlands) by the proposed action are not
discussed in this chapter and therefore are not carried forward for analysis.


The discussion in this section is primarily focused on the proposed location for the VE project,
which is in the eastern Gulf (west Florida Shelf) approximately 45 miles southwest of Sarasota,
Florida. The applicant will utilize existing land-side facilities such as boat docks and hatcheries
for all other aspects that are not analyzed in this section.


The EPA used several sources of information to develop this chapter including but not limited to
the Final Environmental Assessment, National Pollutant Discharge Elimination System
(NPDES) Permit for Eastern Gulf of Mexico Offshore Oil and Gas Exploration, Development,
and Production, 2016. The ODC Evaluation in Appendix C, Ocean Era – Velella Epsilon Net
Pen Fish Culture Facility and the NPDES Permit [FL0A00001] Outer Continental Shelf, Gulf of
Mexico, and Draft Biological Evaluation – Ocean Era, LLC – Velella Epsilon, Marine
Aquaculture Facility, Outer Continental Shelf Federal Waters of the Gulf of Mexico, March 15,
2019 in Appendix D provide expanded discussions on the physical and biological environments
in the eastern Gulf and the general area of the proposed VE project.


3.2 Physical Resources
Ocean currents on the west coast of Florida were studied for 308 days at the Tampa Ocean
Dredged Material Disposal Site (ODMDS), located approximately 18 miles west of Tampa Bay,
approximately 27-meters (m) deep, during the 2008-2009 time period (EPA, 2012). Measured
currents in this study are consistent with previous studies at the Tampa ODMDS in the 1980s
revealing that currents flowed predominately to the south and southeast with mean near bottom
current velocities between 5 and 8 cm/sec. Ocean currents were also measured at a NOAA buoy
(Station 42022) located along the 50-meter isobath approximately 45 miles north-east of the
project location from 2015 to 2018. Currents at this location average 3-5 centimeters per second
(cm/sec) higher than at the Tampa ODMDS. Currents at both locations were shown to have a
dominant southerly direction in the winter and northerly direction in the summer consistent with
circulatory current patterns of the eastern Gulf. Tides can dominate the currents at the Tampa
ODMDS, but most often they are dominated by other forces (e.g. surface winds and the Gulf
Loop Current). Tidal influence should be less pronounced further offshore.




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Offshore habitats in the proposed project area include the water column and the sea floor. The
west Florida Shelf extends seaward of Sarasota Bay approximately 200 kilometer (km) to a depth
of 200 m and consists mainly of unconsolidated sediments punctuated by low-relief rock
outcroppings and several series of high relief ridges. The seafloor on the west Florida Shelf in
the proposed project area consists mainly of coarse to fine grain sands with scattered limestone
outcroppings making up about 18 percent of the seafloor habitat. These limestone outcroppings
provide substrata for the attachment of macroalgae, stony corals, octocorals, sponges and
associated hard-bottom invertebrate and reef fish communities (EPA, 1994). Unconsolidated
(soft) sediments provide habitat for benthic macroinvertebrate communities, consisting of several
hundred species and provide an important source of forage for benthic and demersal fishes and
shellfish.


3.2.1 Water Quality
Water quality studies have been conducted at the Tampa ODMDS, located approximately 18
miles west of Tampa Bay. During a 2013 EPA Status and Trends study of the Tampa ODMDS
the following water quality parameters in the water column were evaluated: conductivity,
dissolved oxygen (DO), salinity, temperature, density, and turbidity and conducted laboratory
analysis for nutrients, metals, polyaromatic hydrocarbons (PAHs), polychlorinated biphenyls
(PCBs), pesticides and butyltins. Temperatures recorded ranged from 29.77 to 29.98 degrees
Centigrade (oC), while salinity ranged from 35.47 to 35.88 parts per thousand (ppt), DO ranged
from 5.99 to 6.19 mg/L, and density ranged from 22.14 to 22.99 sigma-T.


The results from chemical analyses of the water samples collected during that study revealed,
with the exception of six metals, all other analytes were either not detected at or above the
reporting limit or the reported values were flagged as estimates. The six detected metals and their
range of values (in micrograms per liter or ug/L) are arsenic (1.0 – 1.09), chromium (0.21 -0.49),
copper (0.119 -0.139), lead (0.025), nickel (0.21 – 1.74), and zinc (0.53 – 1.47). All of these
values are below levels of concern.


3.2.1.1 Deepwater Horizon Spill
On April 20, 2010, the Deepwater Horizon (DWH) oil drilling rig operating 47 miles southeast
of Louisiana in the Mississippi Canyon Block 252 of the Gulf, exploded and sank killing 11
workers and releasing the largest marine oil spill disaster in the U.S. history of marine oil drilling
operations. Four million barrels of oil flowed over an 87-day period from the damaged Macondo
oil well, before the well was finally capped on July 15, 2010 (EPA, 2017). The oil spill’s surface
extent exceeded 19,305 square miles and ranged from central Louisiana to the Florida Panhandle
(EPA, 2017). The Macondo well is located more than 300 miles North/Northwest of the
proposed location of the VE project. The Final Programmatic Damage Assessment and
Restoration Plan (PDARP) and Final Programmatic Environmental Impact Statement (PEIS)
describes the impacts of DWH. 3 a




3 The PEIS can be found at: http://www.gulfspillrestoration.noaa.gov/restoration-planning/gulf-plan/.




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3.2.1.2 Red Tide Outbreaks
During the month of October 2017, a bloom of the Florida red tide organism, Karenia brevis,
broke out in Southwest Florida and extended from Pinellas to northern Collier counties, along
approximately 145 miles of coastline at its height. The bloom persisted for over a year and
resulted in large scale fish kills, as well as sea turtle and manatee mortality. A state of emergency
was declared for seven Florida counties, including Lee, Collier and Charlotte, due to the impact
of red tide. Karenia brevis is still occurring in several locations along the coast. Updates on red
tide occurrence off the west coast of Florida can be found online. 4


Nutrient addition to the Gulf is of concern because they can contribute to harmful algal blooms
(HABs); however, quantitative direct links to marine aquaculture are lacking in the scientific
literature. HABs are on the rise in frequency, duration, and intensity in the Gulf, largely because
of human-induced activities (Corcoran, Dornback, Kirkpatrick, & Jochens, 2013). Of the more
than 70 HAB species occurring in the Gulf, the best-known is the red tide organism, Karenia
brevis, which blooms frequently along the west coast of Florida. Macronutrients, micronutrients
and vitamins characteristic of fish farms can be growth-promoting factors for phytoplankton.
However, a NPDES permit is being issued with conditions to monitor the discharge and protect
water quality. The overall pollutant loading of the project should be minimal given the small
production levels. Additionally, it is not expected that aquaculture-related pollutants will be
measured in the water within 5-10meters from the project.


The primary nutrients of interest in relation to open ocean aquaculture are nitrogen and
phosphorus; both may cause excess growth of phytoplankton and lead to aesthetic and water
quality problems. Generally, in marine waters, phytoplankton growth is either light or nitrogen
limited, and phosphorus is not as critical a nutrient as it is in fresh water (Ryther, 1971; Welch,
1980). However, it has been shown that because nutrient fluctuations in the Gulf can be
significant due to the large inputs from river systems, both nitrogen limitation and phosphorus
limitation can happen concurrently in different locations (Turner & Rabalais, 2013).


3.2.1.3 Pharmaceuticals
Diseases may occur in net-pen systems because water moves freely between net-pens and the
open marine environment, allowing the transmission of pathogens between wild and farmed fish
(Rust, et al., 2014). Fish diseases occur naturally in the wild, but their effects often go unnoticed
because moribund or dead animals quickly become prey for other aquatic animals. Clinical
disease occurs only when sufficient numbers of pathogens encounter susceptible fish under
environmental conditions that are conducive to disease (Rose, Ellis, & Munro, 1989). Fisheries
managers are concerned about the risk of pathogen amplification on farms followed by
transmission of pathogens from farmed to wild fish, as well as the introduction of nonnative
pathogens and parasites when live fish are moved from region to region. Aquaculture facilities
may use a number of measures, including vaccines, probiotics, limiting culture density, high-
quality diets, and use of antibiotics, which are effective at preventing and controlling bacterial


4
    http://www.myfwc.com/RedTideStatus.




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diseases. Antibiotics are considered a method of last resort and are being replaced by other sound
management approaches.


3.2.2 Sediment Quality
The EPA (EPA, 2014) analyzed sediments at the Tampa ODMDS for the following parameters:
particle size, total organic carbon, heavy metals, nutrients including total phosphorous (TP),
NO2+NO3 (Nitrites and nitrates), NH3 (Ammonia), and Total Kjeldahl Nitrogen (TKN), and
extractable organic compounds (e.g., Polyaromatic hydrocarbons or PAHs), pesticides, and
Polychlorinated biphenyls or PCBs.


All stations were shown to be predominantly sand, ranging from a low of 73.4 % sand to a high
of 97.3 % sand. Silt/clay fractions ranged from 0.3 to 26.7 %. Total organic carbon (TOC) results
ranged from 0.18 – 0.38 %. The amount of percent solids found for the Tampa ODMDS samples
ranged from 68.3 – 82.4 %. The sediment chemistry showed all contaminants, except for metals,
to be at or below detection limits. For the thirteen metals analyzed, nine were found to be
detectable at one or more sample locations. However, the very low concentration results were not
of a significant concern. This sediment data represents the best available information for
sediment quality in the region of the proposed action.


3.2.3 Air Quality
In the vicinity of the proposed action, Section 328 of the Clean Air Act Amendments of 1990
(CAA) authorized EPA to establish air-emission control requirements for Outer Continental
Shelf (OCS) sources located off Florida’s Gulf coast eastward of the 87°30' W longitude. The
purpose of these air-control requirements is the attainment and maintenance of federal and state
ambient air quality standards and the compliance with the CAA’s provisions to prevent
significant deterioration of air quality. The EPA Region 4 currently administers the air quality
program in the eastern Gulf and the Department of Interior (DOI) is authorized to regulate air
emissions in the western Gulf west of 87°30' W longitude (EPA, 2016).


The CAA requires the EPA to set National Ambient Air Quality Standards (NAAQS) for six
common air pollutants (criteria air pollutants) to protect human health and welfare (EPA, 2018a).
NAAQS have been designated for these six criteria pollutants: carbon monoxide, ozone, sulfur
dioxide, nitrogen dixoide, Particulate Matter, particulate matter with an aerodynamic diameter
less than or equal to 10 microns (PM10), and particulate matter with an aerodynamic diameter
less than or equal to 2.5 microns (PM2.5), and lead (EPA, 2018b). The EPA is required to
designate areas that meet (attainment) or do not meet (nonattainment) these 6 NAAQS to ensure
compliance with air quality standards. Additionally, the CAA requires states to develop a general
plan (State Implementation Plans) to attain and maintain the NAAQS. For those areas in
nonattainment with NAAQS, the states are required to develop a specific plan to achieve
attainment for all standards responsible for an area’s nonattainment status (EPA, 2018c).


The Gulf has no fixed air quality monitoring stations. Beyond the states’ seaward boundaries, the
Gulf is listed as unclassified with respect to NAAQS attainment. Consequently, the only
available air quality data relevant to the Gulf is that data collected by the states of Mississippi,

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Alabama, and Florida’s Gulf coastal counties. The comparison of year 2014 to 2005 air quality
data for the coastal counties for these three states indicate that the overall air quality has
improved. There are no non-attainment areas along the Gulf’s central and eastern coast as of
2020. The greater Tampa/St Petersburg area within Hillsborough County, Florida is a
maintenance area that has been redesignated from nonattainment (EPA, 2016).


When any new source of air-pollutant emissions meeting a major status is proposed, the CAA’s
Prevention of Significant Deterioration (PSD) provisions are triggered. These provisions include:
the installation of the "Best Available Control Technology" (BACT); an air quality analysis; an
additional impacts analysis; and public involvement (EPA, 2018d).


The purpose of the PSD provisions is to assure that any decision to permit increased air pollution
in certain areas is made only after careful evaluation of all the consequences of such a decision
and after adequate procedural opportunities for informed public participation in the decision
making process. The focus is to protect the public health and welfare; preserve, protect, and
enhance the air quality in Class I areas, such as areas of special national or regional natural,
recreational, scenic, or historic value, including national parks, national wilderness areas,
national monuments, and national seashores; and insure that economic growth will occur in a
manner consistent with the preservation of existing clean air resources. The closest Class I area
to the vicinity of the proposed action is the Breton National Wildlife Refuge (NWR) and
Wilderness area offshore southeastern Louisiana near the seaward boundaries of Mississippi and
Alabama (EPA, 2016). The Refuge is comprised of a series of barrier islands including Breton
Island and the Chandeleur Islands in the Gulf.


3.2.4 Coastal Barrier Beaches
The Gulf is characterized by a broad spectrum of sediments, sediment transport processes, and
environments that vary along the spectrum from coastal shores to deep water. Waves, tides,
currents, and gravity are the primary transporters of sediments. The coastal sedimentary
environments include: beaches, tidal inlets, tidal flats, wetlands, and estuaries that are dominated
by sediments originating from land (terrigenous sediments) (Ward, 2017). The proposed action is
to be located in approximately 40 m water depth off southwest Florida, generally located
approximately 45 miles west, southwest of Longboat Pass-Sarasota Bay, Florida. There are
several coastal barrier islands 1-2 miles off shore and in the vicinity of Sarasota to include Siesta
Key, Lido Key, Long Boat key, Manasota Key, etc. The islands are highly developed with
residential and businesses catering to tourism and recreation.


3.2.5 Noise Environment
The proposed project is located on the west Florida Shelf, approximately 45 miles southwest of
Sarasota, Florida in federal waters. Ambient noise from wind, waves, and periodic noise from
occasional boat and vessel traffic are expected. The facility is not expected to make a significant
contribution to ambient noise and to current open operation noise.




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3.2.6 Climate
The effect of ongoing human-caused climate change makes the Gulf environment vulnerable to
rising ocean temperatures, sea level rise, storm surge, ocean acidification, and significant habitat
loss. Cores from corals, ocean sediments, ice records, and other indirect temperature
measurements indicate the recent rapid increase of ocean temperature is the greatest that has
occurred in at least the past millennium and can only be reproduced by climate models with the
inclusion of human-caused sources of heat-trapping gas emissions. While the long-term global
sea surface temperature pattern is clear, there is considerable variability in the effects of climate
change regionally and locally because oceanographic conditions are not uniform and are strongly
influenced by natural climate fluctuations (Doney, et al., 2014).


Certain areas along the Atlantic and Gulf coasts are undergoing relatively rapid sea water
inundation and associated landscape changes because of the prevalence of low-lying coastal
lands in combination with altered hydrology and land subsidence. The combination of sea level
rise and land subsidence is forecast to result in various changes in the distribution and abundance
of coastal wetlands and mangroves, which could damage habitat functions for many important
fish and shellfish populations (BOEM, 2016). Shellfish populations also are at risk from ocean
acidification. Increases in water temperatures will alter the seasonal growth and geographic
range of harmful algae and certain bacteria, such as Vibrio parahaemolyticus, which was
responsible for human illnesses associated with oysters harvested from the Gulf and northern
Europe (Doney, et al., 2014).


3.3 Biological Resources
Biological resources refer to plant and animal communities and associated habitat that they
comprise or, that provides important support to critical life stages. This section focuses primarily
on the biological resources occurring in the eastern Gulf and in the area of the proposed VE
project. The following sub-sections provide a discussion on the biological setting of the eastern
Gulf and resources such as birds, reptiles, fish, marine mammals, marine invertebrates, plants,
and fish species that may occur in the project area.


The west Florida Shelf extends seaward of Sarasota Bay approximately 200 km to a depth of 200
m and consists mainly of unconsolidated sediments punctuated by low-relief rock outcroppings
and several series of high relief ridges. The seafloor on the west Florida Shelf in the immediate
vicinity of the proposed project area consists mainly of coarse to fine grain sands with scattered
limestone outcroppings making up about 18% of the seafloor habitat. These limestone
outcroppings provide substrata for the attachment of macroalgae, stony corals, octocorals,
sponges and associated hard-bottom invertebrate and fish communities (EPA, 1994).


A 2010 survey of the Tampa ODMDS site 18 miles west of Tampa Bay, (70 miles northeast of
the proposed VE site) showed that the dominant substrata at the natural bottom sites in the area
consisted of sand, live coral, coralline algae, sponge, hydroid, octocorals, rubble, macro algae
rock, and turf algae. Macro invertebrate counts at the natural bottom sites were dominated by
gastropods, crabs, sea urchins, bivalves and several scelacterian corals including, blushing star
coral (Stephanocoenia intersepta), tube coral (Cladocora arbuscular), smooth star coral


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(Solenastrea bournoni), thin finger coral (Porites divaricate), solitary disc corals such as
Scolymias, and the sinuous cactus coral (Isophyllia sinuosa).


3.3.1 Fish
The Gulf has a diverse ichthyofaunal community consisting of more than 1400 finfish species,
over 51 shark species, and at least 49 species of rays and skates. About 900 marine fishes occur
off the west Florida coast, occupying all benthic and pelagic habitats, including many managed
fish stocks of great commercial and recreational importance. There are also a number of fish
species that are protected under the ESA.


Of the ESA-listed fish species, only the smalltooth sawfish (Pristis pectinate), giant manta ray
(Manta birostris), and oceanic whitetip shark (Carcharhinus longimanus), may occur in the
vicinity of the VE project and the presence of even these species is likely rare. The aquaculture
facility proposed sites are more than 250 miles south of the Suwannee River, the southernmost
river with a reproducing population of gulf sturgeon (Acipenser oxyrinchus desotoi). There are
rare captures of Gulf sturgeon in the bays, estuaries, and nearshore Gulf off Tampa Bay and
Charlotte Harbor during the cool winter months, but no reported captures in offshore waters.
nassau grouper (Epinephelus striatus), also listed under ESA, are generally absent from the Gulf
north and outside of the Florida Keys; this is well documented by the lack of records in Florida
Fish and Wildlife Conservation Commission’s, Fisheries Independent Monitoring data as well as
various surveys conducted by NOAA Fisheries Southeast Fisheries Science Center (SEFSC).
Based on this information, we believe both Gulf sturgeon and nassau grouper will not be present.


The smalltooth sawfish is a tropical marine and estuarine elasmobranch. Smalltooth sawfish
primarily occur in the Gulf off peninsular Florida and are most common off Southwest Florida
and the Florida Keys. There are distinct differences in habitat use based on life history stage as
the species shifts use through ontogeny. Juvenile smalltooth sawfish less than 220 cm, inhabit the
shallow euryhaline waters (i.e., variable salinity) of estuaries and can be found in sheltered bays,
dredged canals, along banks and sandbars, and in rivers (NMFS, 2000). As juveniles increase in
size, they begin to expand their home ranges (Simpfendorfer, Wiley, & Yeiser, 2010;
Simpfendorfer, et al., 2011), eventually moving to more offshore habitats where they likely feed
on larger prey as they continue to mature. While adult smalltooth sawfish may also use the
estuarine habitats used by juveniles, they are commonly observed in deeper waters along the
coasts. Poulakis and Seitz (2004) noted that nearly half of the encounters with adult-sized
smalltooth sawfish in Florida Bay and the Florida Keys occurred in depths from 200-400 ft (70-
122 m) of water. Similarly, Simpfendorfer and Wiley (2005) reported encounters in deeper
waters off the Florida Keys, and observations from both commercial longline fishing vessels and
fishery-independent sampling in the Florida Straits report large smalltooth sawfish in depths up
to 130 ft (~40 m) (International Sawfish Encounter Database, 2014). Even so, NMFS believes
adult smalltooth sawfish use shallow estuarine habitats during parturition (when adult females
return to shallow estuaries to pup) because very young juveniles still containing rostral sheaths
are captured in these areas. Since very young juveniles have high site fidelities, they are likely
birthed nearby or in their nursery habitats. Smalltooth sawfish feed primarily on teleost and
elasmobranch fishes at all lifestages even though sawfish move from estuarine to coastal habitats
during their ontogeny (Poulakis, et al., 2017).


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The oceanic whitetip shark is a large open ocean highly migratory apex predatory shark found in
subtropical waters around the globe. It is usually found offshore in the open ocean, on the OCS
or around oceanic islands in deep water greater than 184 m, occurring from the surface to at least
152 m depth. Occasionally, it is found close to land, in waters as shallow as 37 m (~120 ft.),
mainly around mid-ocean islands, or in areas where the continental shelf is narrow with access to
nearby deep water. Oceanic whitetip sharks feed mainly on teleosts and cephalopods (Backus,
Springer, & Arnold, 1956; Bonfil, Clarke, & Nakano, 2008), but studies have also reported that
they consume sea birds, marine mammals, other sharks and rays, mollusks, crustaceans, and even
garbage (Compagno, 1984; Cortes, 1999). Backus, Springer, and Arnold (1956) recorded various
fish species in the stomachs of oceanic whitetip sharks, including blackfin tuna, barracuda, and
white marlin. The available evidence also suggests that oceanic whitetip sharks are opportunistic
feeders.


On January 22, 2018, NOAA Fisheries published a final rule listing the giant manta ray (Manta
birostris) as threatened under the ESA effective February 21, 2018 (83 FR 2916). The giant
manta ray is the largest living ray, with a wingspan reaching a width of up to 9 m (29.5 ft), and
an average size between 4-5 m (15-16.5 ft). The giant manta ray is found worldwide in tropical
subtropical, and temperate seas. These slow-growing, migratory animals are circumglobal with
fragmented populations. Giant mant
certain areas and remain resident, or aggregate seasonally (Dewar, et al., 2008; Graham, et al.,
2012; Girondot, et al., 2015; Stewart, Hoyos-Padilla, Kumli, & Rubin, 2016). Giant manta rays
are seasonal visitors along productive coastlines with regular upwelling, in oceanic island
groups, and near offshore pinnacles and seamounts. The timing of these visits varies by region
and seems to correspond with the movement of zooplankton, current circulation and tidal
patterns, seasonal upwelling, seawater temperature, and possibly mating behavior. They have
also been observed in estuarine waters near oceanic inlets, with use of these waters as potential
nursery grounds (Adams & Amesbury, 1998; Milessi & Oddone, 2003; Medeiros, Luiz, &
Domit, 2015; Pate). Giant manta rays primarily feed on planktonic organisms such as
euphausiids, copepods, mysids, decapod larvae and shrimp, but some studies have noted their
consumption of small and moderately sized fishes (Miller & Klimovich, 2017). When feeding,
giant manta rays hold their cephalic lobes in an “O” shape and open their mouth wide, which
creates a funnel that pushes water and prey through their mouth and over their gill rakers. They
use many different types of feeding strategies, such as barrel rolling (doing somersaults
repeatedly) and creating feeding chains with other mantas to maximize prey intake.


3.3.2 Invertebrates
Of the more than 15,000 species of animals in the Gulf, more than 13,000 are invertebrates. Like
fishes, marine invertebrates are distributed throughout the Gulf and they occupy all marine
habitats. Some species of crabs, shrimps and lobster, etc., make up important managed fishery
stocks and several invertebrate species are protected under ESA.


Marine invertebrates currently protected under ESA include a number of species of stony coral
(i.e., elkhorn (Acropora palmata), staghorn (Acropora cervicornis), pillar (Dendrogyra
cylindrus), rough cactus coral (Mycetophyllia ferox), lobed star (Orbicella annularis),


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mountainous star (Orbicella faveolata), and boulder star (Montastrea annularis). The listed coral
species do not occur in or near the VE project. Of the seven ESA-listed coral species in the Gulf,
four (elkhorn, lobed star, mountainous star, and boulder star) are known to occur in the Flower
Banks National Marine Sanctuary, located 70 to 115 miles off the coast of Texas and Louisiana
and all seven are known to occur near the Dry Tortugas, a small group of islands located in the
Gulf approximately 67 miles west of Key West, Florida.


3.3.3 Marine Mammals
There are 22 marine mammal species protected by the MMPA occurring in the Gulf, a manatee
(under Fish and Wildlife Service jurisdiction) and 21 cetacean species (dolphins and whales; all
under NOAA Fisheries’ jurisdiction). Two of the marine mammals, sperm whales (Physeter
macrocephalus) and manatees (genus Trichechus), have been protected under the ESA for many
years and an unnamed subspecies, the Gulf bryde’s whale (Balaenoptera edeni), was just listed
as endangered under the ESA (81 FR 88639).


The manatee species in the Gulf, western indian manatee (Trichechus manatus) does not travel
into offshore waters of the VE project area. In contrast, most of the Gulf cetacean species reside
in the oceanic habitat (greater than or equal to 200 m). However, the atlantic spotted dolphin
(Stenella frontalis) is found in waters over the continental shelf (10 m-200 m), and the common
bottlenose dolphin (Tursiops truncatus truncatus) (hereafter referred to as bottlenose dolphin) is
found throughout the Gulf, including within bays, sounds, and estuaries; coastal waters over the
continental shelf; and in deeper oceanic waters. Consequently, bottlenose dolphins and atlantic
spotted dolphins are the most likely marine mammal species that overlap with the facility’s
proposed sites. There are other marine mammal species that may overlap with the facility’s
proposed site, but these marine mammals are not known to use this habitat regularly or are likely
extralimital or occasional migrants.


Bottlenose dolphins in the Gulf can be separated into demographically independent populations
called stocks. Bottlenose dolphins are currently managed by NOAA Fisheries as 36 distinct
stocks within the Gulf. These include 31 bay, sound and estuary stocks, three coastal stocks, one
continental shelf stock, and one oceanic stock (Hayes, Josephson, Maze-Foley, & Rosel, 2017).
Marine Mammal Stock Assessment Reports and additional information on these species in the
Gulf are available on from the NOAA Fisheries Office of Protected Species. 5


The bottlenose dolphin stock that overlaps with this action is the Northern Gulf continental shelf
stock. The best abundance estimate for this stock is 51,192 with a resulting potential biological
removal 6 of 469 (Waring, Josephson, Maze-Foley, & Rosel, 2016). This stock of dolphins
inhabits waters from 20 m to 200 m deep from U.S.-Mexican border to the Florida Keys

5
    http://www.nmfs.noaa.gov/pr/sspecies/.
6
  The potential biological removal (PBR) level is defined by the MMPA as the maximum number of animals, not including natural mortalities,
that may be removed from a marine mammal stock while allowing that stock to reach or maintain its optimum sustainable population. The PBR
level is the product of the following factors— 1) The minimum population estimate of the stock; 2) One-half the maximum theoretical or
estimated net productivity rate of the stock at a small population size; and3) A recovery factor of between 0.1 and 1.0.




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(Waring, Josephson, Maze-Foley, & Rosel, 2016). Threats to this stock include fisheries
entanglements (e.g., shark bottom hook and line and bottom longline, snapper-grouper and other
reef fish bottom longline and hook and line, and trawl fisheries for butterfish (Peprilus
triacanthus) and shrimp) that can result in serious injury or death (Waring, Josephson, Maze-
Foley, & Rosel, 2016).


The atlantic spotted dolphin occurs primarily from continental shelf waters 10 m to 200 m deep
to slope waters (Fulling et al., 2003; Mullin and Fulling, 2004; Maze-Foley and Mullin, 2006).
The most recent best abundance estimate for this stock is 37,611. However, the potential
biological removal is currently unknown given the lack of more current population surveys
(Waring, Josephson, Maze-Foley, & Rosel, 2016). There tends to be a concentration of these
animals over the Florida Shelf in the eastern Gulf and stretched westward to the Florida
panhandle (Waring, Josephson, Maze-Foley, & Rosel, 2016). It has been suggested that this
species may move inshore seasonally during the spring, but data supporting this proposition are
limited (Caldwell & Caldwell, 1966; Fritts, et al., 1983). Threats to this stock include fisheries
entanglements (e.g., pelagic longline and shrimp trawl gear) that can result in serious injury or
death (Waring, Josephson, Maze-Foley, & Rosel, 2016).


3.3.4 Sea Turtles
Green sea turtles (Chelonia mydas) North Atlantic and South Atlantic district population
segments (DPSs), hawksbill (Eretmochelys imbricate), kemp’s ridley (Lepidochelys kempii),
leatherback (Dermochelys coriacea), and loggerhead (Caretta Caretta-Northwest Atlantic DPS)
sea turtles are all highly migratory and travel widely throughout the Gulf. Several volumes exist
that cover the biology and ecology of these species (Lutz & Musick, 1997; Lutz, Musick, &
Wyneken, 2003; Wyneken, Lohmann, & Musick, 2013). Sea turtles are primarily diurnal and
feed and rest intermittently during a typical day. Sea turtles can spend their nights sleeping at the
surface while in deep water or on the bottom wedged under rocks in nearshore waters. Many
divers have seen green turtles sleeping under ledges in reefs and rocks. Hatchlings typically sleep
floating on the surface, and they usually have their front flippers folded back over the top of their
backs.


Green sea turtle hatchlings occupy pelagic areas of the open ocean and are often associated with
Sargassum rafts (Carr A. 1987; Walker, 1994). Pelagic stage Green sea turtles are thought to be
carnivorous. Stomach samples of these animals found ctenophores and pelagic snails (Frick,
1976; Hughes, 1974). At approximately 20 cm to 25 cm carapace length, juveniles migrate from
pelagic habitats to benthic foraging areas (Bjorndal, 1997). As juveniles move into benthic
foraging areas a diet shift towards herbivory occurs. They consume primarily seagrasses and
algae, but are also known to consume jellyfish, Sea salps, and sponges (Bjorndal, 1980;
Bjorndal, 1997; Paredes, 1969; Mortimer, 1981; Mortimer, 1982). During the day, green turtles
occupy shallow flats and seagrass meadows. In the evening, they return to their sleeping quarters
of rock ledges, oyster bars and coral reefs. The diving abilities of all sea turtle species vary by
their life stages. The maximum diving range of green sea turtles is estimated at 110m (360 ft.)
(Frick, 1976), but they are most frequently making dives of less than 20 m (65 ft.) (Walker,
1994). The time of these dives also varies by life stage. The maximum dive length is estimated at
66 minutes, with most dives lasting from nine to 23 minutes (Walker, 1994). NOAA Fisheries
and FWS removed the range-wide and breeding population ESA listings of the Green sea turtle

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and listed eight DPSs as threatened and three DPSs as endangered, effective May 6, 2016. Two
of the Green sea turtle DPSs, the North Atlantic DPS and the South Atlantic DPS, occur in the
Gulf and are listed as threatened.


The hawksbill sea turtle’s pelagic stage lasts from the time they leave the nesting beach as
hatchlings until they are approximately 22-25 cm in straight carapace length (Meylan A., 1988;
Meylan & Donnelly, 1999). The pelagic stage is followed by residency in developmental habitats
(foraging areas where juveniles reside and grow) in coastal waters. Little is known about the diet
of pelagic stage hawksbills. Adult foraging typically occurs over coral reefs, although other hard-
bottom communities and mangrove-fringed areas are occupied occasionally. Hawksbills show
fidelity to their foraging areas over several years (van Dam & Diez, 1998). The hawksbill’s diet
is highly specialized and consists primarily of sponges (Meylan A., 1988). Gravid (pregnant)
females have been noted ingesting coralline substrate (Meylan A., 1984) and calcareous algae
(Anderes Alvarez & Uchida, 1994), which are believed to be possible sources of calcium to aid
in eggshell production. The maximum diving depths of these animals are unknown, but the
maximum length of dives is estimated at 73.5 minutes, more routinely dives last about 56
minutes (Hughes, 1974).


Kemp’s ridley sea turtle hatchlings are also pelagic during the early stages of life and feed in
surface waters (Carr A., 1987; Ogren, 1989). After the juveniles reach approximately 20 cm
carapace length they move to relatively shallow (less than 50m) benthic foraging habitat over
unconsolidated substrates (Marquez, 1994). They have also been observed transiting long
distances between foraging habitats (Ogren, 1989). Adult and sub-adult kemp's ridleys primarily
occupy nearshore habitats that contain muddy or sandy bottoms where prey can be found.
Kemp’s ridleys feeding in these nearshore areas primarily prey on crabs, though they are also
known to ingest mollusks, fish, marine vegetation, and shrimp (Shaver, 1991). The fish and
shrimp kemp’s ridleys ingest are not thought to be a primary prey item but instead may be
scavenged opportunistically from bycatch discards or discarded bait (Shaver, 1991). Given their
predilection for shallower water, kemp’s ridleys most routinely make dives of 50 m or less
(Soma, 1985; Byles, 1988). Their maximum diving range is unknown. Depending on the life
stage, a kemp’s ridley may be able to stay submerged anywhere from 167 minutes to 300
minutes, though dives of 12.7 minutes to 16.7 minutes are much more common (Soma, 1985;
Mendonca & Pritchard, 1986; Byles, 1988). kemp’s ridleys may also spend as much as 96% of
their time underwater (Soma, 1985; Byles, 1988).


Leatherback sea turtles are the most pelagic of all ESA-listed sea turtles and spend most of their
time in the open ocean. They will enter coastal waters and are seen over the continental shelf on
a seasonal basis to feed in areas where jellyfish are concentrated. Leatherbacks feed primarily on
cnidarians (medusae, siphonophores) and tunicates. Unlike other sea turtles, leatherbacks’ diets
do not shift during their life cycles. Because leatherbacks’ ability to capture and eat jellyfish is
not constrained by size or age, they continue to feed on these species regardless of life stage
(Bjorndal, 1997). Leatherbacks are the deepest diving of all sea turtles. It is estimated that these
species can dive in excess of 1,000 m (Eckert, Eckert, Ponganis, & Kooyman, 1989) but more
frequently dive to depths of 50 m to 84 m (Eckert, Nellis, Eckert, & Kooyman, 1986). Dive times
range from a maximum of 37 minutes to more routines dives of 4 to 14.5 minutes (Standora,
Spotila, Keinath, & Shoop, 1984; Eckert, Nellis, Eckert, & Kooyman, 1986; Eckert, Eckert,


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Ponganis, & Kooyman, 1989; Keinath & Musick, 1993). Leatherbacks may spend 74% to 91%
of their time submerged (Standora, Spotila, Keinath, & Shoop, 1984).


Loggerhead sea turtle hatchlings forage in the open ocean and are often associated with
Sargassum rafts (Hughes, 1974; Carr A., 1987; Walker, 1994; Bolten & Balazs, 1995). The
pelagic stage of these sea turtles is known to eat a wide range of things including sea salps,
jellyfish, amphipods, crabs, syngnathid fish, squid, and pelagic snails (Brongersma, 1972).
Stranding records indicate that when pelagic immature loggerheads reach 40 cm to 60 cm
straight-line carapace length, they begin to live in coastal inshore and nearshore waters of the
continental shelf throughout the U.S. Atlantic (Witzell W., 2002). Here they forage over hard-
and soft-bottom habitats (Carr A., 1986). Benthic foraging loggerheads eat a variety of
invertebrates with crabs and mollusks being an important prey source (Burke, Morreale, &
Rhodin, 1993). Estimates of the maximum diving depths of loggerheads range from 211 m to
233 m (692-764 ft.) (Limpus & Nichols, 1988; Thayer, Bjorndal, Ogden, Williams, & Zieman,
1984). The lengths of loggerhead dives are frequently between 17 and 30 minutes (Thayer,
Bjorndal, Ogden, Williams, & Zieman, 1984; Limpus & Nichols, 1988; Limpus & Nichols,
1994; Lanyon, Limpus, & Marsh, 1989) and they may spend anywhere from 80% to 94% of their
time submerged (Limpus & Nichols, 1994; Lanyon, Limpus, & Marsh, 1989).


Of the five sea turtles species, loggerheads are the most abundant on the west Florida shelf. The
west Florida shelf hard-bottom and live-bottom habitats provide long-term residence and
foraging habitats for juvenile and adult loggerheads. The West Florida Shelf provides residence
areas for post-nesting loggerheads from four of the five loggerhead recovery units identified by
the NOAA Fisheries and the USFWS in their recovery plan for the northwest Atlantic
loggerhead population (NOAA and FWS, 2008). Those four recovery units are peninsular
Florida (Girard, Tucker, & Calmettes, 2009; Phillips, 2011; Ceriani, Roth, Evans, Weishampel,
& Ehrhart, 2012; Foley, et al., 2013), the Dry Tortugas (Hart, et al., 2012), the northern Gulf of
Mexico (Hart, et al., 2012; Foley, et al., 2013), and the northern Atlantic (Mansfield, 2006;
Griffin, et al., 2013).


3.3.5 Birds
The marine and coastal birds that occur in the Gulf region for at least some portion of their life
cycle are generally classified as seabirds, shorebirds, wetland birds, waterfowl, passerines, and
raptors (EPA, 2016).


Seabirds include gulls, terns, loons, frigate birds, pelicans, tropicbirds, cormorants, gannets,
boobies, storm-petrels, and shearwaters. They spend a large portion of their lives on or over
seawater and may be found both in offshore and coastal waters of the Gulf. They feed on fish
and invertebrates; their temporal occurrence varies greatly. Some seabirds, e.g., boobies, petrels,
and shearwaters, only occur in open ocean habitats, including deeper waters of the continental
slope and basin. Most seabird species of the Gulf are found in the continental shelf and adjacent
coastal and inshore habitats.




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Shorebirds include plovers, oystercatchers, stilts, avocets, and sandpiper. Shorebirds typically are
small wading birds that feed on invertebrates in shallow waters and along beaches, mudflats, and
sand bars. Shorebirds are generally restricted to coastline margins except when migrating.
Shorebirds are generally solitary or occur in small- to moderate-sized flocks, although large
aggregations of several species can occur during migration.


There are 14 federally-listed avian species identified as threatened or endangered, previously
delisted, or as candidate species in the eastern Gulf of Mexico. Three species are listed as
threatened; eight species are listed as endangered; and three species are delisted. Of those
species, only two listed species are considered in this EA because their behavior and range could
expose them to activities covered under the proposed action: piping plover (Charadrius melodus)
and red knot (Calidris canutus). See the Biological Evaluation - Appendix D for more
information. There are several other listed species whose range includes inshore and coastal
margin waters that are very unlikely to be exposed to the activities covered under the proposed
VE permit.


The piping plover is a shorebird that inhabits coastal sandy beaches and mudflats. Critical habitat
rules have been published for piping plover, including designations for coastal wintering areas in
Florida. The piping plover is considered a state species of conservation concern in all Gulf coast
states (BOEM, 2012a).


The red knot, listed as threatened in 2014, is a highly migratory species travels between nesting
habitats in mid- and high-Arctic latitudes and southern non-breeding habitats in South America
and the U.S. Atlantic and Gulf of Mexico coasts (BOEM, 2012b). Red knots forage along sandy
beaches, tidal mudflats, salt marshes, and peat banks for bivalves, gastropods, and crustaceans
(FWS, 2013). Wintering red knots are found primarily in Florida and is designated a State
Species of Conservation Concern.


3.3.6 Essential Fish Habitat
There are seven Gulf Fishery Management Plans (FMPs), covering a number of representative
finfish and shellfish species, which result in most of the landings from the Gulf. The FMPs or
amendments to the plans, provide the basis for management of fishery resources in the Gulf of
Mexico by regulating the amount of fish that are harvested and are enforced by the U.S. Coast
Guard, enforcement agents from the NMFS, and the Gulf states.


Representative fish species from all FMPs occur in the area around the proposed VE site. In
general, reef fish are widely distributed in the Gulf, occupying both pelagic and benthic habitats
during their life cycle. Habitat types and life history stages can be found in more detail in (Gulf
of Mexico Fishery Management Council, 2004). Generally, both eggs and larval stages are
planktonic with larvae feeding on zooplankton and phytoplankton. Exceptions to these
generalizations include the gray triggerfish (Balistes capriscus) that lay their eggs in depressions
in the sandy bottom, and gray snapper (Lutjanus griseus) whose larvae are found around
submerged aquatic vegetation. Juvenile and adult reef fish are typically demersal and are usually
associated with benthic features which offer some relief (i.e., coral reefs, artificial reefs, rocky

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hard-bottom substrates, ledges and caves, sloping soft-bottom areas, and limestone
outcroppings).


The 2010 EPA Tampa ODMDS survey identified 29 species of demersal fishes associated with
the high relief habitat created by the dredged material spoil mound, with 14 species on nearby
natural low-relief hard bottom habitat. Abundances of fishes on natural low-relief hard bottom in
the area were also significantly smaller than on the spoil mound (EPA, 2011). Coastal pelagic
fishes that are common to the area include some commercially important groups of fishes
including sharks, anchovies, herring, mackerel, tuna, mullet, bluefish and cobia. Oceanic pelagic
species occur at or seaward of the shelf edge include many larger species such as sharks, tuna,
bill fishes, dolphin and wahoo.


More extensive descriptions of fish communities in the eastern Gulf, and their associated habitat,
can be found in the ODC Evaluation, Appendix C, the Final Environmental Assessment, National
Pollutant Discharge Elimination System (NPDES) Permit for Eastern Gulf of Mexico Offshore
Oil and Gas Exploration, Development, and Production, 2016, and the NOAA Fisheries’ 2008
Programmatic Environmental Impact Statement (PEIS), NMFS proposed regional regulations:
Fishery Management Plan to Promote and Manage Marine Aquaculture within the Gulf of
Mexico Exclusive Economic Zone.


3.3.7 Deepwater Benthic Communities
Depending on the criteria used, deepwater and related deepwater biological communities in the
Gulf are generally defined as occurring in a range of depths from 200-500 m (i.e., 656-1500 ft.).
The proposed VE site is located along the 40-45 m (120-135 ft.) depth range. Because depths
equal to 200 m occur approximately 130 miles off Sarasota, Florida, deepwater benthic
communities are not found near the proposed site.


3.3.8 Live Bottoms
The seafloor on the west Florida shelf in the immediate vicinity of the proposed project area
consists mainly of coarse to fine grain sands with scattered limestone outcroppings making up
about 18% of the seafloor habitat. These limestone outcroppings provide substrata for the
attachment of macroalgae, stony corals, octocorals, sponges and associated hard-bottom
invertebrate and fish communities (EPA, 1994). A 2010 survey of the Tampa ODMDS site 18
miles west of Tampa Bay, (70 miles northeast of the proposed VE site) showed that the dominant
substrata at the natural bottom sites in the area consisted of sand, live coral, coralline algae,
sponge, hydroid, octocorals, rubble, macro algae rock, and turf algae. Macro invertebrate counts
at the natural bottom sites were dominated by gastropods, crabs, sea urchins, bivalves and
several scleractinian corals identified in Section 3.3 Biological Resources.


3.3.9 Seagrasses
The west Florida coast, in both Florida state waters and adjacent federal waters, include the two
largest contiguous seagrass beds in the continental United States: the Florida Keys and the
Florida Big Bend regions. Florida seagrasses include turtle grass (Thalassia testudinum), shoal

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grass (Halodule wrightii), and manatee grass (Syringodium filiforme), the most abundant species
in estuarine and nearshore waters. Star grass (Halophila engelmanii) is locally abundant in turbid
estuarine environments, and paddle grass (Halophila decipiens), covers large areas of the west
Florida shelf at depths from 9 m to more than 30 m (30 to over 100 ft.). Wigeon grass (Ruppia
maritima) is also widely distributed in Florida estuaries.


Sargent, Leary, Crewz, and Kruer (1995) estimated that Florida state waters contained
approximately 2,660,000 acres of seagrass, of which 55% (1,451,900 acres) occur in the Florida
Keys and Florida Bay. An additional 826,800 acres (31% of statewide total seagrass area)
occurred in the Big Bend region. The remaining seagrass area, 381,200 acres, was distributed in
estuaries and lagoons throughout the state. If seagrasses in adjacent federal waters, including
deepwater Halophila beds, are included, seagrass area in state and federal waters totals more
than 3 million acres.


Seagrasses are very sensitive to water column transparency, their depth, distribution, and
survival are primarily determined by water clarity. In areas with extremely clear water (the
offshore areas of Big Bend and the Florida Keys, seagrasses grow to depths greater than 20 m
(65 ft.). The only seagrass species that may be found on the shelf offshore Sarasota Bay is paddle
grass (Halophila decipiens), which can occur at depths over 30m (90 ft.) in very clear water
(Handley, Altsman, & DeMay, 2007).


3.4 Social and Economic Environment
The following sections provide discussion on the status of U.S. seafood production and
consumption, commercial aquaculture, commercial landings of almaco jack, and environmental
justice.


3.4.1 U.S. Seafood Consumption and Production
The U.S. is a net importer of seafood. In 2017, the U.S. imported edible seafood products valued
at $21.5 billion and exported $5.7 billion (NMFS, 2018a). That is a seafood trade deficit of $15.8
billion. U.S. commercial landings (wild-catch) cannot increase to eliminate that deficit without
becoming unsustainable. However, aquaculture production can increase and become a potentially
sustainable resource.


3.4.2 Commercial Marine Aquaculture Production
The U.S. ranks sixteenth in world aquaculture production (NMFS, 2018a). That production rank
includes both freshwater and marine aquaculture. Within the U.S, the Gulf is a major aquaculture
producer (NMFS, 2015a), and marine aquaculture production has been increasing. 7 However,
current freshwater aquaculture production far exceeds marine aquaculture.


7
  More information about Gulf aquaculture at the regional and state levels can be found in the USDA Census of Aquaculture and
is incorporated by reference (https://www.nass.usda.gov/Surveys/Guide_to_NASS_Surveys/Census_of_Aquaculture/).



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Gulf marine aquaculture primarily produces oysters, hard clams, and live rock species. Florida
ranks toward the top in the U.S. for hard clam production and most of its production occurs in
Cedar Key. Florida is also the largest live rock 8 producer that occurs in Monroe County.
Economic and demographic characteristics of these and other Gulf areas can be found in NOAA
Fisheries community profiles. The full-length community profiles, last updated in 2002 to 2005,
have in-depth information regarding the historic, demographic, cultural, and economic context
for understanding a community's involvement in fishing. 9


3.4.3 Commercial Landings of Almaco Jack
Almaco jack is part of the Gulf Reef Fish Fishery and it along with banded rudderfish (Seriola
zonata) and lesser amberjack (Seriola fasciata) make up the ‘Jacks Complex’. The Jacks
Complex has a combined commercial and recreational annual catch limit (ACL), and with the
exception of 2013, annual landings have been less than the ACL. Commercial landings of the
complex are considerably lower than recreational landings. More information about the Jacks
Complex and the Reef Fish Fishery can be found on the NMFS Southeast Regional Office’s Gulf
of Mexico Reef Fish webpage and is incorporated by reference.


Dockside (ex-vessel) revenue from almaco jack landings accounted for an average of 0.3% of the
total dockside revenue for commercial fishing vessels that harvested the species from 2012 to
2016. The very low percentage is expected because almaco jack is not a commercially targeted
species. Instead, it is incidentally harvested by commercial vessels that target pelagic species.
Almaco jack has a relatively low dockside price because it is commonly characterized as a ‘trash
fish’. For example, when compared with other species (e.g., banded rudderfish, vermilion
snapper (Rhomboplites aurorubens) and hogfish (Lachnolaimus maximus) and excluding king
mackerel, (Scomberomorus cavalla) the reef fish fishery, the dockside price of almaco jack ranks
towards the bottom. Nonetheless, commercial landings of wild-caught almaco jack generate
economic benefits to the nation in the form of jobs and income, sales, and value-added impacts.
Average annual landings (59,633 lbs. gw with a value of $85,658 in 2016) generates 11 full- and
part-time jobs, $312 thousand in income impacts and other benefits (estimates produced by
NMFS SERO using model produced and applied in Fisheries Economics of the United States,
2016). 10 For more information about commercial landings within the Gulf, see reference at
NMFS, 2018a. There is presently no commercial aquaculture of almaco jack in the Gulf.
Nevertheless, it is traditionally harvested.


3.4.4 Commercial Fishing
Commercially important species groups in the GOM include oceanic pelagic (epipelagic) fishes,
reef (hard bottom) fishes, coastal pelagic species, and estuarine-dependent species.
Invertebrates such as shrimp, blue crab, spiny lobster, and stone crab also contributed
8 Live rock is fragmented pieces of old coral reefs. These pieces are colonized by marine life such as invertebrates, corals,

sponges, and millions of beneficial nitrifying bacteria.
9
  Community profiles for fishing communities in the Gulf can be found at
http://sero.nmfs.noaa.gov/sustainable_fisheries/social/community_snapshot/ and is incorporated by reference.
10
    More information about the dealers and commercial fishing in Florida at the community level can be found within the community profiles and
is incorporated by reference (http://sero.nmfs.noaa.gov/sustainable_fisheries/social/community_snapshot/)




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significantly to the value of commercial landings. Other finfish species that contributed
substantially to the overall commercial value of the GOM fisheries included red grouper, red
snapper, and yellowfin tuna.


The commercial fishing industry is an important component of the economy of the Gulf coast of
Florida. Table 6 shows commercial landings and ex-vessel values for finfish and shellfish
landing for west Florida that are compiled annually by NMFS. In 2014 and 2015, commercial
landings of all fisheries in west Florida totaled in excess of 63 million and 71 million pounds,
respectively and was valued at $171 million and $190 million (NMFS Office of Science and
Technology, 2016). The Gulf shellfishery dominated, with only 22% of the total landings, but
accounting for 78% of the value; shrimp represented nearly 70% of the shellfish catch and
value.


Important commercial finfish and shellfish include red grouper, Atlantic herring, king mackerel,
striped mullet, red snapper, yellowtail snapper, blue crab, stone crab (claws), spiny lobster,
oysters, and brown and pink shrimp.

Table 6. Annual Commercial Landings for West Florida, 2014 and 2015

Metrics                           2014                     2015
Thousand Pounds                 63,657                    71,633
Metric Tons                      28,875                   32,493
Thousand Dollars                171,565                  190,586
Source: NMFS, 2016


3.4.5 Recreational Marine Fishing
In 2017, the U.S. recreational marine fishers took an estimated 202 million fishing trips and
harvested an estimated 397 million fish weighing 447 million pounds. Approximately 36% of
those trips were made in the Gulf (NMFS, 2018a). Recreational fishing activity can affect a
regional economy in a number of ways. When anglers participate in fishing activities, they
support sales and employment in recreational fishing and other types of businesses. Anglers buy
fishing equipment from bait and tackle shops, rent or buy boats, or pay to have others take them
on charter boats to fish. They may also pay for food and drink at local restaurants, purchase gas
for their boat, and stay in hotels for overnight fishing trips (NMFS, 2018b).


The majority of Gulf trips are in West Florida. In 2015, for example, approximately 64% of the
Gulf’s recreational fishing trips were in West Florida (NMFS Office of Science and Technology,
2016). The 13,219 angler trips in West Florida generated 60,179 jobs, approximately $2.6 billion
in income and other beneficial impacts (NMFS, 2018b).


The most commonly caught non-bait species (numbers of fish) in the eastern Gulf in 2015 were
spotted seatrout (Cynoscion nebulosus), gray snapper, red drum (Sciaenops ocellatus), blue
runner or bluestripe jack (Caranx crysos), and sand seatrout (Cynoscion arenarius). The largest
harvests by weight were for Spotted seatrout, red drum, red snapper (Lutjanus campechanus),
king mackerel, sheepshead (Archosargus probatocephalus), and dolphinfish (Coryphaena

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hippurus) (NMFS Office of Science and Technology, 2016). The species most commonly caught
on Gulf trips that fished primarily in federally-managed waters were red snapper, red grouper
(Epinephelus morio), white grunt (Haemulon plumierii), dolphinfish, and yellowtail snapper
(Ocyurus chrysurus). About 33 % of the total Gulf catch came on trips that fished primarily in
the state territorial seas.


3.4.6 Human Health/Public Health
Aquaculture’s contribution to global seafood production continues to rise. With this rise in
aquaculture production, human health/public health issues associated with aquaculture should be
considered. Human health/public health concerns that can arise from aquaculture production
include the increase in use of formulated food, use of antibiotics, use of antifungals, and use of
agrochemicals. These aquaculture practices can potentially lead to elevated levels of antibiotic
residuals, antibiotic-resistant bacteria, persistent organic pollutants, metals, parasites, and viruses
in aquaculture finfish. People working in and around aquaculture facilities, populations living
near these operations, and consumers may be at potential risk of exposure to these containments
(Sapkota, et al., 2008).


3.4.7 Environmental Justice
On February 11, 1994, the President issued Executive Order 12898 (E.O. 12898), “Federal
Actions to Address Environmental Justice in Minority Populations and Low-Income
Populations.” E.O. 12898 provides that “each federal agency shall make achieving
environmental justice part of its mission by identifying and addressing, as appropriate,
disproportionately high and adverse human health or environmental effects of its programs,
policies, and activities on minority populations and low-income populations.” E.O. 12898 also
provides for agencies to collect, maintain, and analyze information on patterns of subsistence
consumption of fish, vegetation, or wildlife.


Where an agency action may affect fish, vegetation, or wildlife, the agency should consider the
potential adverse effects on subsistence patterns of consumption and indicate the potential for
disproportionately high and adverse human health or environmental effects on low-income
populations, and minority populations. The proposed project is physically located on the west
Florida shelf, approximately 45 miles west, southwest of Longboat Pass-Sarasota Bay, Florida in
federal waters, which is not near any minorities or low-income populations. However, harvested
farmed fish would be brought to port where wild fish are landed by potentially subsistence
fishermen.




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4.0 Environmental Consequences
4.1 Introduction
This chapter describes the potential environmental impacts associated with the proposed actions
as well as the issuance of required federal authorizations necessary to operate the VE project.
The anticipated impacts on resources as a result of the VE project are discussed in the following
sections.


Concerns related to the environment regarding aquaculture operations include water quality
(waste and pharmaceutical applications), genetic impacts to wild fish from cultured fish escapes
(e.g., loss of fitness to wild populations if wild and cultured fish interbreed), spread of disease
from cultured to wild fish, entanglement of protected species in aquaculture gear, use of bait fish
as a feed source, risk of loss of equipment and damage to the marine environment during severe
storm events (e.g., tropical storms, hurricanes), privatization of a public resource (federal waters)
for profit, loss of ocean space where aquaculture operations are sited, and socio-economic
impacts on commercial or recreational fisheries.


Generally, open ocean aquaculture may have effects on water and sediment quality and the plant
and animal communities living in the water column and those in close association with, on, or in
the sediments. The two major factors which determine the geographic distribution and severity
of impacts of open ocean aquaculture on the water column, seafloor sediments and benthic
communities are farm operations management, and farm siting. Sound farm operating practices
tend to reduce waste loading by employing efficient feeding methods and by use of dry, slow
sinking, more easily digested feed types. Good management practices can also limit impacts due
to escapes, spread of diseases, and entanglements etc. Proper farm siting can minimize water
column and benthic impacts by maximizing over bottom depths and current flow through cages,
and through avoidance of more sensitive biological communities. Optimal siting can also reduce
potential marine resource use conflicts.


A more extensive discussion of the potential impacts on physical and biological resources
associated with the proposed action are provided in Appendix C, ODC Evaluation and the
NPDES Permit [FL0A00001] Outer Continental Shelf, Gulf of Mexico and Appendix D, Draft
Biological Evaluation – Ocean Era, LLC - Velella Epsilon, Marine Aquaculture Facility, Outer
Continental Shelf Federal Waters of the Gulf of Mexico, March 15, 2019.


4.2 Physical Resources
Offshore aquaculture operations can affect physical resources in several ways. Particulates from
fish cages add to water column turbidity and reduced clarity. Solid wastes can alter the physical
environment and chemistry of benthic sediments. In cases of extreme loading, solid wastes can
result in burial of benthic habitats beneath cages. The placement of physical structures on the
seafloor, i.e., anchors and anchor lines, and in the water column, cages, may result in damage to
seafloor habitat and entanglement and collision impacts to motile marine animals.



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Alternative 1 - No Action. The No Action alternative would result in no effect on physical
resources (water column and seafloor) because an aquaculture facility would not be able to
discharge any operational wastes without an NPDES permit the facility would not be constructed
or operated at this location on the west Florida Shelf.


Alternative 2 - Proposed Action, Issuance of NPDES permit. The proposed action alternative,
the issuance of an NPDES permit, will likely have minimal impacts to physical resources in the
vicinity of the proposed facility. The siting analysis conducted during the site selection process
chose an area consisting of unconsolidated sediments coupled with sufficient depth and current
flow parameters that should result in broad dispersion of solid wastes. Positioning away from
potential live bottom habitat will mitigate physical benthic impacts from anchors and mooring
lines. The cage is designed to swivel around the center of a suspended 3-point mooring, further
reducing anchor chain sweep. The relatively small fish biomass to be reared in the single cage
(80,000 lbs. at harvest – one production cycle) demonstration is expected to result in small daily
loading rates per meter squared (m2) downstream of the cage. Solid wastes settling on the
seafloor will likely undergo resuspension and transport and additional dispersion from the area
resulting in minimal solids accumulation.


4.2.1 Water Quality
The water quality around offshore aquaculture operations is mainly affected by the release of
dissolved and particulate inorganic and organic nutrients. Water column effects around offshore
aquaculture operations include a decrease in dissolved oxygen and increases in biochemical
oxygen demand, and nutrients (phosphorus, total carbon and organic and inorganic nitrogen),
increased turbidity and potential for ammonia toxicity. Degradation of water quality parameters
is greatest within the fish culture structures and improves rapidly with increasing distance from
cages. Recent studies have documented only limited water column impacts due to rapid dispersal
(Holmer, 2010). The health of the fish stocks is a self-limiting control on water column pollution.
A more extensive discussion of water quality impacts from offshore aquaculture operations can
be found in the ODC Evaluation, Appendix C.


Alternative 1 - No Action. The No Action alternative would result in no change to the quality of
the water column because an aquaculture facility would not be able to discharge any operational
wastes without an NPDES permit the facility would not be constructed or operated at this
location on the west Florida Shelf.


Alternative 2 - Proposed Action, Issuance of NPDES permit. The proposed action alternative,
issuance of an NPDES permit will likely have minimal impacts to water quality in the vicinity of
the proposed facility due to the small fish biomass, 80,000 lbs produced during a 280-day fish
production cycle in the single cage facility and current flows measured in the vicinity of the
selected site. It is estimated (CASS Tech Reports, Appendix F) that a total of 2,743 kg of
ammonia nitrogen would be produced during the production cycle. The EPA’s calculations
provided in the ODC Evaluation for this project, Appendix C, estimated that the flow-averaged
ammonia concentration at an ammonia production of 9.8 kilograms per day (kg/day) loading rate




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is approximately = 0.0072 milligrams per liter (mg/l), significantly below the USEPA’s
published ammonia aquatic life criteria values for saltwater organisms. 11


4.2.1.1 Pharmaceuticals
There is some concern that use of antibiotics in offshore aquaculture operations could lead to an
increase in antibiotic resistance among bacteria in the facility effluent. An extensive discussion
of impacts resulting from pharmaceutical application at offshore aquaculture operations can be
found in the ODC Evaluation for this project, Appendix C.


Alternative 1 - No Action. The No Action alternative would result in no use of pharmaceutical
agents because an aquaculture facility would not be able to discharge any operational wastes
without an NPDES permit, the facility would not be constructed or operated at this location on
the west Florida Shelf.


Alternative 2 - Proposed Action, Issuance of NPDES permit. The proposed action alternative,
issuance of NPDES permit will likely result in minimal use of pharmaceutical agents only in the
event of disease, and, therefore, have minimal impacts to sediment quality in the vicinity of the
proposed facility. Also, due to the small fish biomass, 80,000 lbs. produced during a 280-day fish
production cycle in the single cage facility, the amounts of pharmaceutical agents needed will be
small, and current flows measured in the vicinity of the selected site should result in broad
dispersal of any pharmaceutical agents onto the seafloor.


The applicant has indicated that FDA-approved antibiotics will not likely be used during the
proposed project due to the strong currents expected at the proposed action area and the low fish
culture density. In the unlikely event that therapeutants are used, administration of drugs will be
performed under the control of a licensed veterinarian. In addition, the NPDES permit will
require that the use of any medicinal products including therapeutics, antibiotics, and other
treatments are to be reported to the EPA. The report will include types and amounts of medicinal
product used and the period of time it was used. 12 In accordance with the NPDES permit, all
drugs, pesticides and other chemicals must be applied in accordance with label directions.


4.2.2 Sediment Quality
The two most significant sources of impacts to sediment quality from offshore aquaculture
operations are total solids deposition and organic enrichments to seafloor sediments from
uneaten feed and fish feces. Numerous studies have shown that organic enrichment of the seabed
is the most widely encountered environmental effect of culturing fish in cages (Karakassis,

11 EPAS recommended saltwater aquatic life criteria is available at: www.epa.gov/wqc/national-recommended-water-quality-

criteria-aquatic-life-criteria-table.
12 The applicant noted in the NPDES permit application that only FDA-approved therapeutants for aquaculture would be used.

The applicant is not expected to use any drugs; however, in the unlikely circumstance that therapeutant treatment is needed, three
drugs were provided to the EPA as potential candidates (hydrogen peroxide, oxytetracycline dihydrate, and florfenicol).




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Tsapakis, Hatziyanni, Papadopoulou, & Plaiti, 2000; Price & Morris Jr., 2013; Karakassis,
Tsapakis, Smith, & Rumohr, 2002). The spatial patterns of organic enrichment from offshore
aquaculture operations varies with physical conditions at the sites and farm specifics and has
been detected at distances from meters to several hundred meters from the perimeter of the cage
array (Mangion, Borg, & Schembri, 2014). Studies of offshore aquaculture operations in the
Mediterranean showed that the severe effects of organic inputs from fish farming on benthic
macrofauna are limited to up to 25 m from the edge of the cages (Lampadariou, Karakassis, &
Pearson, 2005) although the influence of carbon and nitrogen from farm effluents in sea floor can
be detected in a wide area about 1,000 m from the cages (Sara, Scilipoti, Mazzola, & Modica,
2004). The impacts on the seabed beneath the cages were found to range from very significant to
relatively negligible depending on sediment type and the local water currents, with silty
sediments having a higher potential for degradation. Model results for this project predict that
there are minimal to no risks to water quality or benthic ecology functions within the area of
operation, CASS Technical Reports Appendix F. A more in-depth discussion of potential impacts
to sediment quality can be found in the ODC Evaluation, Appendix C.


Alternative 1 - No Action. The No Action alternative would result in no effect on sediment
quality around the site because an aquaculture facility would not be able to discharge any
operational wastes without an NPDES permit, the facility would not be constructed or operated
at this location on the west Florida Shelf.


Alternative 2 - Proposed Action, Issuance of NPDES permit. The proposed action alternative,
issuance of NPDES permit will likely have minimal impacts to sediment quality in the vicinity of
the proposed facility. The siting analysis conducted during the site selection process chose an
area with sufficient depth and current flow parameters that should result in broad dispersion of
solid wastes. The relatively small fish biomass to be reared in the single cage (80,000 lbs. at
harvest – one production cycle) is expected to result in small daily loading rates per meter
squared downstream of the cage. Solid wastes settling on the seafloor will likely undergo
resuspension and transport and additional dispersion from the area resulting in minimal solids
accumulation. The results of a depositional model (CASS Tech Reports, Appendix F) show that
for the estimated production values, net organic carbon accumulation would be at 5.0 grams per
meter squared per year (g/m2/yr.) or less for 99.0 % of the test grid. A portion of the organic
wastes are expected to be assimilated by the macroinvertebrate community inhabiting the soft
sediments in the surrounding area. A more extensive discussion of the potential for impacts to
physical resources can be found in the ODC Evaluation, Appendix C. The results of deposition
modeling, even when doubling fish production amounts, conclude that net accumulation of
wastes following a 1-year production cycle would likely not be distinguishable from background
levels of organic carbon. Even when the period of discharge is increased to the full 5-year permit
term, the modeling report indicated that the proposed project “will not likely have a discernable
impact on benthic communities around the project location” and that the project “will present
challenges for monitoring and detecting environmental impacts on sediment chemistry or benthic
communities because of the circulation around the project location and the small mass flows of
materials from the net pen installation.”




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4.2.3 Air Quality
There are no large sources of anthropogenic (man-made) emissions expected to be released into
the atmosphere from the project area under the proposed alternative. A tender vessel, which will
be moored to the net pen array, may be a small source of emissions in offshore waters. The
tender vessel is an 80-foot ocean going Staysail Schooner, the SV Machias, a U.S. Coast Guard
inspected and documented (Document No. 289053) sailing vessel with a commercial fishing
endorsement, outfitted and approved for open ocean, blue water cruising that includes space for
24 passengers. The vessel is equipped with modern communications and navigation technology,
e.g., two-way radio, GPS, radar, high frequency transceivers, etc. It can use both sail power and
diesel power and in the event of problems, can communicate with the Coast Guard for assistance.
At least two scientific field technicians from Ocean Era, LLC, will be stationed on the tender
vessel at all times for the duration of the project. Staff will be rotated, so that each individual is
at sea for four weeks, then off for two weeks. The vessel will maintain position at the site via
mooring to the array. All marine engines on the vessel meet IMO/EPA air quality standards.
Hoteling emissions are expected while the vessel is moored at the project site. The vessel is
equipped with two generators on-board (25KW and 15KW) units. Moreover, trade wind
conditions around Florida are likely to quickly disperse these emissions. The EPA has reviewed
detailed information regarding the support vessel and confirmed that the emission associated
with the tender vessel will not be a significant source of air emissions.


4.2.4 Coastal Barrier Beaches
The proposed action is to be located in approximately 130 m water depth off southwest Florida,
approximately 45 miles southwest of Sarasota, Florida. The proposed action will be offshore
from any coastal barrier beaches. In accordance with the CZMA, the applicant obtained
concurrence from the Florida Department of Environmental Protection for the proposed project,
Appendix H. It is possible that miscellaneous debris from the aquaculture operation could impact
coastal beaches, but it is anticipated that impacts to coastal barrier beaches will be negligible.


4.2.5 Noise Environment
The proposed project’s location, approximately 45 miles offshore off the western coast of
Florida, is an area with ambient noise from wind, waves, and periodic noise from occasional boat
and vessel traffic. The proposed facility is not expected to make a significant contribution to
ambient noise and to current open ocean noise.


4.2.6 Climate
As discussed in Section 3.2.6 Climate, the effect of ongoing human-caused climate change
makes the Gulf environment vulnerable to rising ocean temperatures, sea level rise, storm surge,
ocean acidification, and significant habitat loss. The climate in the project area would be as
described in Section 3.2.6 Climate.


Alternative 1 - No Action. The No Action alternative would result in no effect on the climate
because an aquaculture facility would not be built without an NPDES permit, the facility would
not be constructed or operated at this location on the west Florida Shelf.


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Alternative 2 - Proposed Action, Issuance of NPDES permit. The Proposed Action alternative,
issuance of NPDES permit, will likely result in negligible emissions of Green House Gasses
(GHGs) resulting from operation of support vessels. The cages could be vulnerable to storm
events in the Gulf, however, mitigation measures proposed in the NPDES permit will minimize
the potential for damage to the environment from such an event.


4.3 Biological Resources
The biological resources likely to occur in the immediate vicinity of the proposed VE project are
described in Section 3.3 Biological Resources. The factors with potential to impact biological
resources around coastal fish farms are disturbance, entanglement, vessel strikes, and the
discharges of dissolved and particulate inorganic and organic nutrients into the water column and
discharges of total solids deposition and organic enrichments to seafloor sediments from uneaten
feed and fish feces. The latter can potentially impact biological communities through the
degradation of water quality, affecting pelagic plants and animals, and organic enrichment of
benthic sediments, thereby, affecting benthic biota.


A more extensive discussion of the potential impacts on physical and biological resources
associated with the proposed action are provided in the Appendix C, ODC Evaluation and
Appendix D, Draft Biological Evaluation – Ocean Era, LLC - Velella Epsilon, Marine
Aquaculture Facility, Outer Continental Shelf Federal Waters of the Gulf of Mexico, March 15,
2019.


4.3.1 Fish
Fish species that can occur in the vicinity of the proposed VE project area are discussed in
Section 3.3.1 Fish. The factors that may impact fish near coastal offshore aquaculture operations
are disturbance, and water and sediment quality degradation as a result of waste discharges.
Potential water quality impacts are associated with discharges of dissolved and particulate
inorganic and organic nutrients into the water column and discharges of total solids deposition
and organic enrichments to seafloor sediments from uneaten feed and fish feces. These
discharges can potentially impact fish through the degradation of water quality, affecting pelagic
plants and animals, and organic enrichment of benthic sediments, affecting benthic habitat.


Alternative 1 - No Action. The No Action alternative would result in no effect on water column
biota or benthic communities around the site, including fish, because an aquaculture facility
would not be able to discharge any operational wastes without an NPDES permit, the facility
would not be constructed or operated at this location on the west Florida Shelf.


Alternative 2 - Proposed Action, Issuance of NPDES permit. The proposed action alternative,
issuance of NPDES permit, will likely have only very minimal impacts to the fish species
expected to occur near the proposed facility. The siting analysis conducted during the site
selection process chose an area with sufficient depth and current flow parameters that should
result in rapid dilution of dissolved wastes and broad dispersion of solid wastes discharged from

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the facility. The relatively small fish biomass to be reared in the single cage (80,000 lbs. at
harvest – one production cycle) demonstration is also expected to result in small daily loading
rates of discharged pollutants downstream of the cage. In addition, it is expected that fish that
may occur at the proposed VE project site would only encounter the facility temporarily since
they are motile animals. Exposure to any discharged pollutants will be minimal.


One concern with marine cage culture and fish tends to be the threat of entanglement with nets,
lines or other floating equipment. The large diameter of the anchor line as well as the stiffness of
it and other lines make it extremely unlikely that a fish would be entangled. Additionally, the pen
will use a rigid copper alloy mesh, which presents no entanglement hazard.


Another concern is related to the potential for fish escapes and genetic impact they may have on
native fish. The farmed species, almaco jack, is native and common to the Gulf. The fingerlings
will be sourced from brood stock that are located at Mote Marine Aquaculture Research Park and
were caught in the Gulf near Madeira Beach, Florida. As such, only F1 (first filial generation)
progeny from those wild caught brood stock will be stocked into the net-pen for the proposed
project. Neither the brood stock, as they are native and wild caught, or the first-generation
fingerlings from that brood stock, have undergone any genetic modification or selective
breeding, and would not likely pose a competitive risk to wild stock. It’s also not likely that there
would be any genetic contamination or weakening if any fugitive fish spawned with wild
individuals. Therefore, there is limited to no risk for non-indigenous stock establishment.
Furthermore, the risks that escaped farm fish pose to wild populations are a function of the
probability of escape, and the magnitude of the event that could cause an escape event. The
copper mesh cage to be used is impact resistant and designed to survive storm events while being
completely submerged. The EPA believes that the cage design will result in a low probability of
escape.


An additional concern is related to the potential for pathogens and parasites to be released from
the pen impacting wild fish. Pathogen and parasite transfer is considered in the NPDES permit
through the following conditions:


       1) The permittee will be required to create and implement health management strategies
          for marine aquaculture organisms in the BMP plan. Effective disease prevention
          programs may include routine health exams and inspections, accurate record-keeping
          by the permittee, biosecurity measures, preventative actions like vaccines.
       2) The permittee will be required to certify that the fish were examined prior to going
          offshore to ensure they are healthy, so any pathogens that affect them would come
          from the surrounding environment.
       3) The NPDES permit includes fish health and disease control conditions that are
          comparable to the Gulf Aquaculture FMP requirements referenced below.


               “Marine aquaculture activities should: (1) Minimize impacts of disease outbreaks
               if they occur; (2) Create and implement health evaluation programs and policies
               that prevent the importation or release of disease pathogens or parasites of

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               regulatory concern. These policies should support development and utilization of
               technologies to identify and control disease organisms; (3) Develop effective
               disease control, quarantine, and inventory destruction procedures to prevent the
               spread of disease to public waterways, native species, and other marine
               aquaculture facilities; (4) Create and implement health management strategies for
               marine aquaculture organisms in cooperation with states, federal agencies,
               industry, veterinarians, and scientists; and (5) Use only FDA approved therapeutic
               and chemical treatments as part of best management practices.”


Regarding potential impacts from water and sediment quality, fish species are not expected to be
impacted given their unique habitat preferences and known proximity to the proposed action
area. The oceanic whitetip shark is not likely to occur near the proposed project given its
preference for deeper waters. The action agencies believe that the nassau grouper will not be
present given that it is absent from the Gulf outside of the Florida Keys. Interactions with
smalltooth sawfish with the proposed project is extremely unlikely because they primarily occur
in the Gulf off peninsular Florida and are most common off Southwest Florida. The giant manta
ray may encounter the facility given its migratory patterns. However, long term impacts are not
expected because the facility is relatively small and is expected to have a short deployment
period of approximately 18 months.


The NPDES permit provisions will contain environmental monitoring (water quality, sediment,
and benthic infauna) and other conditions that minimize potential adverse impacts to fish from
the discharge of effluent from the proposed facility, and prohibit the discharge of certain
pollutants (e.g., oil, foam, floating solids, trash, debris, and toxic pollutants). Due to the pilot-
scale size of the facility and low density of cultured fish, water quality and benthic effects are not
expected to occur outside of 30 m. The discharges authorized by the proposed NPDES permit
represent a small incremental contribution of pollutants that are not expected to affect fish
species in the project area.


4.3.2 Invertebrates
Marine invertebrates occurring in the Gulf are discussed in Section 3.3.2 Invertebrates. The
factors that may impact marine invertebrate communities near coastal offshore aquaculture
operations are impacts to water and sediment quality. Anchor placement and mooring line sweep
may impact sessile benthic invertebrates. Expected discharges from aquaculture operations
include dissolved and particulate inorganic and organic nutrients into the water column, total
solids deposition, and organic enrichments to seafloor sediments from uneaten feed and fish
feces These discharges can potentially impact protected corals through the degradation of water
quality, and organic enrichment of benthic sediments, affecting benthic habitat.


Alternative 1 - No Action. The No Action alternative would result in no change to water column
biota or benthic communities around the site, including stony corals, because an aquaculture
facility would not be able to discharge any operational wastes without an NPDES permit, the
facility would not be constructed or operated at this location on the west Florida Shelf.



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Alternative 2 - Proposed Action, Issuance of NPDES permit. The proposed action alternative,
issuance of an NPDES permit, may result in impacts to invertebrate communities in the benthos
around the farm site due to benthic loading of discharged solid wastes, however, any impacts to
benthic invertebrates are expected to be minimal.


The siting analysis conducted during the site selection process chose an area with sufficient
depth and current flow parameters that should result in rapid dilution of dissolved wastes and
broad dispersion of solid wastes discharged from the facility. The relatively small fish biomass to
be reared in the single cage (80,000 lbs. at harvest – one production cycle) demonstration is also
expected to result in small daily loading rates of discharged pollutants downstream of the cage.
Exposure of benthic invertebrates to any discharged pollutants will be minimal.


The Proposed Action alternative, issuance of an NPDES permit, will likely have no impact to
protected corals as none of the listed species are expected to occur near the proposed facility.
Additionally, the anchoring system and cage will be placed in an area consisting of
unconsolidated sediments, away from potential hardbottom which may contain corals according
to the facility’s BES.


The discharge from the proposed facility will be covered by a NPDES permit with water quality
conditions required by the CWA. The aquaculture-specific water quality conditions contained in
the NPDES permit will generally include an environmental monitoring plan (i.e., water quality,
sediment, and benthic monitoring) and effluent limitations expressed as best management
practices (BMPs). Furthermore, the NPDES permit will require the proposed facility to be placed
at least 500 meters from any hardbottom habitat or coral reefs to protect those communities from
physical impacts due to the deposition of solids and potential impacts due to organic enrichment.
Water quality effects are not expected to occur outside of 30 m due to the small size of the
facility and low production levels. The impacts from water quality are expected to be minimal or
insignificant, and the likelihood that deleterious water quality will contribute to any adverse
effects to listed coral species is extremely unlikely.


4.3.3 Marine Mammals
Marine mammals that can occur in the vicinity of the proposed VE project area are discussed in
Section 3.3.3 Marine Mammals. The greatest risks to bottlenose or atlantic spotted dolphins at
this site are entanglement, vessel strike and behavioral disturbance. When dolphins become
conditioned (a form of behavioral disturbance) to an anthropogenic food source, the risk of
vessel strikes, and entanglement increases (Donaldson, Finn, & Calver, 2010).


The greatest risk to dolphins from this operation is entanglement in vertical lines that are
associated with the mooring lines and net pen connections. Flexible lines that easily loop are
most risk-adverse for dolphins (e.g., shrimp trawl lazy lines (Gearhart & Hataway, 2018) and
crab pot buoy lines (Adimey, et al., 2014). The line proposed for the mooring and net pen
connection lines (Amsteel blue) is a strong, but flexible line (pers comm. Gearhart, 2018).
Entanglement risk to dolphins will depend greatly on the tautness of the line; any slack in the
line poses an entanglement risk (Maze-Foley & Mullin, 2006). The copper alloy net mesh

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enclosing the pen is not anticipated to be an entanglement risk for dolphins given its firm and
inflexible state.


Vessel strikes are also a risk for dolphins. As the density of vessels increase in areas utilized by
dolphins, so does incident of boat strike injury or mortality to dolphins (Bechdel, et al., 2009).
There is likely to be an increase in boat traffic moving back and forth from port to the
aquaculture operation. It is recommended that the vessel captain slows to a no wake speed if
dolphins are seen nearby and only resumes normal speed when the animals leave the area. If
dolphins wake or bow-ride while a vessel is transiting, it is recommended that the vessel captain
maintain the vessel’s course and speed until the dolphins depart or as long as it is safe to do so.


Dolphins are attracted to concentrated food sources specifically when feeding opportunities exist.
There is a possibility that if the animals are fed or are successful at extracting fish from divers or
from the pen, the dolphins will become conditioned and change their behavior to spend more
time milling around the net waiting for an opportunity to scavenge fish (Christiansen, et al.,
2016). When dolphins learn to associate anthropogenic sources with food, unnatural behaviors
such as begging or depredating disrupt their natural foraging repertoire and become an abnormal
and detrimental feeding strategy (Powell & Wells, 2010). Conditioned dolphins approach
humans or anthropogenic food sources more readily looking for handouts, thus increasing the
animal’s risk for boat strike or gear entanglement (Bechdel, et al., 2009; Powell & Wells, 2010;
Samuels & Bejder, 2004; Wells & Scott, 1997). To minimize conditioning of dolphins to the
pen, all operations staff must be educated that feeding or attempting to feed wild dolphins is
illegal. It is recommended that any divers collecting fish mortalities from the tank remove and
dispose of the fish in such a way that does not allow a dolphin an opportunity to scavenge or
depredate the discards.


Another factor that may impact protected marine mammals around coastal offshore aquaculture
operations are the discharges of dissolved and particulate inorganic and organic nutrients into the
water column and discharges of total solids deposition and organic enrichments to seafloor
sediments from uneaten feed and fish feces. They can potentially impact marine mammals
through the degradation of water quality, affecting pelagic plants and animals, and organic
enrichment of benthic sediments, affecting benthic habitat.


Alternative 1 - No Action. The No Action alternative would result in no effect to marine
mammals, because the facility would not be constructed or operated at this location on the west
Florida Shelf, therefore there is no additional risks being added to this location.


Alternative 2 - Proposed Action, Issuance of NPDES permit. The construction and operation of
an aquaculture facility at this site present marine mammal risks that will include entanglement,
vessel strike, and behavioral disturbance, however, the level of impact to individual dolphins
from these risks is unknown. An aquaculture facility of this type has not yet been operated in the
Gulf. As a means to better understand these risks and level of individual impacts, the applicant
has agreed to partner with NMFS SERO to collect information on dolphin interactions and
behavior around this facility. However, given the large size of these marine mammal stocks and,


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thus, larger potential biological removal levels, it is anticipated the impacts to the overall
population would be minimal.


Entanglement risks to marine mammals will be minimized by using rigid and durable cage
materials and by keeping all lines taut. The cage material for the proposed project is constructed
with rigid and durable materials. The mooring lines for the proposed project will be constructed
of steel chain and thick rope that are attached to a floating cage that will rotate in the prevailing
current direction; the floating cage position that is influenced by the ocean currents will maintain
the mooring rope and chain under tension during most times of operation. The bridle line that
connects from the swivel to the cage will be encased in a rigid pipe. The risk of an entanglement
interaction is likely minimal if lines are kept taut or covered in rigid pipes; however, should
entanglement occur, on-site staff would follow the steps outlined in the Protected Species
Management Plan (PSMP) and alert the appropriate experts for an active entanglement.


In regard to vessel strikes, facility staff will be stationed on one vessel for the duration of the
project except during unsafe weather conditions. There is a low probability that collisions with
the vessel associated with the proposed project would kill or injure marine mammals given the
limited trips to the facility with only one vessel and that the vessel will follow the vessel strike
and avoidance measures that have been developed by the NMFS.


Disturbance to marine mammals from ocean noise generated by the proposed facility is expected
to be minimal given that there is one production cage and one vessel that will be deployed for a
duration of approximately 18 months.


4.3.4 Sea Turtles
Sea turtles that can occur in the vicinity of the proposed VE project site are discussed in Section
3.3.4 Sea Turtles. The factors that may impact protected sea turtles near coastal offshore
aquaculture operations are impacts to water quality, entanglement, physical encounters with the
pen system, and behavioral disturbance.


Alternative 1 - No Action. The No Action alternative would result in no effect on water column
biota or benthic communities around the site, including sea turtles, because an aquaculture
facility would not be able to discharge any operational wastes without an NPDES permit, the
facility would not be constructed or operated at this location on the west Florida Shelf.


Alternative 2 - Proposed Action, Issuance of NPDES permit. Sea turtles frequent reefs and other
areas with submerged structures (Stoneburner, 1982; Booth & Peters, 1972; Witzell W. N., 1982;
Carr A. F., 1952) and may be attracted to the project area for food, shelter, and/or rest. The
primary concern with marine cage culture and listed sea turtles and fish tends to be the threat of
entanglement with nets, lines or other floating equipment. However, the large diameter of the
anchor line as well as the stiffness of it and the other lines make it extremely unlikely that a sea
turtle would be entangled. Mooring lines are designed to be kept taught, reducing the potential



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for entanglements. Additionally, the pen will use a rigid copper alloy mesh, which presents no
entanglement hazard.


Sea turtles may be indirectly affected by the proposed facility if it concentrates hook-and-line
(i.e., rod and reel) fishermen in the vicinity. Sea turtles are known to bite baited hooks and can be
hooked incidentally by these fishermen.


Sea turtles may experience disturbance by stress due to a startled reaction should they encounter
vessels in transit to the proposed project site. Given the limited trips to the site, opportunities for
disturbance from vessels participating in the proposed project are minimal. ESA-listed sea turtles
may be attracted to aquaculture facilities as potential sources of food, shelter, and rest, but
behavioral effects from disturbance are expected to be insignificant. Additionally, all vessels are
expected to follow the vessel strike and avoidance measures that have been developed by the
NMFS. Furthermore, there has been a lack of documented observations and records of ESA-
listed sea turtles interacting with a permitted commercial-scale marine aquaculture facility in
Hawaii (Blue Ocean Mariculture, 2014). The EPA anticipates that such interactions would be
unlikely. As a result, disturbance from human activities and equipment operation resulting from
the proposed action is expected to have insignificant effects on ESA-listed reptiles.


Sea turtles located in close proximity to an offshore aquaculture operation could also be
impacted by the discharges of dissolved and particulate inorganic and organic nutrients into the
water column and discharges of total solids deposition and organic enrichments to seafloor
sediments from uneaten feed and fish feces. These discharges can impact through the
degradation of water quality, affecting pelagic plants and animals, and organic enrichment of
benthic sediments, affecting benthic biota and habitat. However, the siting analysis conducted
during the site selection process chose an area with sufficient depth and current flow parameters
that should result in rapid dilution of dissolved wastes and broad dispersion of solid wastes
discharged from the facility. The relatively small fish biomass to be reared in the single cage
(80,000 lbs. at harvest – one production cycle) demonstration is also expected to result in small
daily loading rates of discharged pollutants downstream of the cage. In addition, it is expected
that sea turtles that may occur at the proposed VE project site area would only encounter the
facility temporarily since they are pelagic animals. Exposure to any discharged pollutants will be
minimal.


The risk of sea turtles being entangled in offshore aquaculture operation is greatly reduced by
using rigid and durable cage materials and by keeping all lines taut. The cage material for the
proposed project is constructed with rigid and durable materials. The mooring lines for the
proposed project will be constructed of steel chain and thick rope that are attached to a floating
cage that will rotate in the prevailing current direction; the floating cage position that is
influenced by the ocean currents will maintain the mooring rope and chain under tension during
most times of operation. Additionally, the bridle line that connects from the swivel to the cage
will be encased in a rigid pipe. Moreover, the limited number of vertical mooring lines (three)
and the duration of cage deployment (less than 18 months) will reduce the risk of potential
entanglement by sea turtles. Because of the proposed project operations and duration, the action
agencies expect that the effects of this entanglement interaction would be discountable.


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However, should entanglement occur, on-site staff would follow the steps outlined in the PSMP
and alert the appropriate experts for an active entanglement.


4.3.5 Birds
Birds that may occur in the vicinity of the proposed VE project site are discussed in Section 3.3.5
Birds. Potential impacts to seabirds from the VE project could be related to the physical
structure, presence of fish, and associated activities that would attract migratory seabirds as well
as other migratory birds. A number of species, such as common loons (Gavia immer) and
double-crested cormorants (Phalacrocorax auratus) may dive from the surface near the facility
to try to access small fishes underwater, whereas brown pelicans (Pelecanus occidentalis),
northern gannets (Morus bassanus), masked boobies (Sula dactylatra), brown boobies (Sula
leucogaster), and red-footed boobies (Sula sula) may attempt to plunge dive into the cage and
may be injured by the taut mesh covering the tops of the cages. Cage covering should limit the
visibility of fish in cages, reducing diving activity.


Alternative 1 - No Action. The No Action alternative would result in no effect on seabirds and
other migratory birds occurring in the area, because, without an NPDES permit, the facility
would not be constructed or operated at this location on the west Florida Shelf.


Alternative 2 - Proposed Action, Issuance of NPDES permit. The proposed action alternative,
issuance of NPDES permit will likely have only very minimal impacts to the seabirds and other
migratory birds expected to occur in the vicinity of the proposed facility.


The EPA and USACE considered disturbance as the only potential stressor to ESA-protected
seabirds from the proposed project. Seabirds are not expected to interact with the proposed
project or become trapped in the cage due to distance of the proposed project from shore
(approximately 45 miles). The piping plover is a shorebird that primarily inhabits coastal sandy
beaches and mudflats. The red knot is a highly migratory species. However, their known
migratory routes do not overlap with the proposed project and migration and wintering habitat
for the red knot are in intertidal marine habitats such as coastal inlets, estuaries, and bays (FWS,
2014). Should there be any interaction that results in an injury to a protected seabird, the on-site
staff would follow the steps outlined in the PSMP and alert the appropriate experts for an active
entanglement. 13 The project staff will suspend all surface activities, including stocking,
harvesting operations, and routine maintenance operations in the unlikely event that an ESA-
listed seabird comes within 100 m of the activity until the bird leaves the area. Any potential
effects from the proposed action on ESA-listed birds are discountable because the effects are
extremely unlikely to occur.




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   A PSMP has been developed by the applicant with assistance from the NMFS Protected Resources Division. The purpose of the PSMP is to
provide monitoring procedures and data collection efforts for species (marine mammals, sea turtles, seabirds, or other species) protected under the
MMPA or ESA that may be encountered at the proposed project.



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4.3.6 Essential Fish Habitat
The Gulf of Mexico Fishery Management Plans and essential fish habitat that apply to the
proposed VE project site are discussed in Section3.3.6 Essential Fish Habitat. The main factors
most likely to impact essential fish habitat around offshore aquaculture operations are the
discharges of dissolved and particulate inorganic and organic nutrients into the water column and
discharges of total solids deposition and organic enrichments to seafloor sediments from uneaten
feed and fish feces. These discharges can cause impacts through the degradation of water quality,
affecting pelagic early life stages and adult stages of animals, and through organic enrichment of
benthic sediments, affecting demersal and benthic fish and shellfish species and critical benthic
habitat. A more extensive discussion of the potential for impacts of fish farming on essential fish
habitat can be found in the ODC Evaluation, Appendix C and Appendix D, Threatened and
Endangered Species Assessment.


Alternative 1 - No Action. The No Action alternative would result in no effect on essential fish
habitat around the proposed VE site because an aquaculture facility would not be able to
discharge any operational wastes without an NPDES permit, the facility would not be
constructed or operated at this location on the west Florida Shelf.


Alternative 2 - Proposed Action, Issuance of NPDES permit. The proposed action alternative,
issuance of NPDES permit will likely have minimal impacts to essential fish habitat expected to
occur in the vicinity of the proposed facility. The siting analysis conducted during the site
selection process chose an area with sufficient depth and current flow parameters that should
result in rapid dilution of dissolved wastes and broad dispersion of solid wastes discharged from
the facility. The relatively small fish biomass to be reared in the single cage (80,000 lbs. at
harvest – one production cycle) demonstration is also expected to result in small daily loading
rates of discharged pollutants downstream of the cage. The proposed VE site will be located over
unconsolidated sediments, limiting any potential impacts to reef fish habitat such as live bottom
areas The EPA provided an EFH assessment to the NMFS for consideration on our determination
that the proposed project would not result in substantial adverse effects on EFH and the permits
will have conditions to mitigate any minor impacts that may occur (Appendix E). The NMFS
provided written concurrence with our determination in a letter dated March 12, 2019 (Appendix
E).


4.3.7 Deepwater Benthic Communities
Deepwater benthic communities do not occur within a distance of approximately 90 miles or
more, seaward of the proposed VE site. Therefore, no impact on this resource is expected.


4.3.8 Live Bottoms
Live bottom communities in the vicinity of the proposed VE project location are discussed in
Section 3.3.8 Live Bottoms. The main impact causing factor to live bottom communities around
offshore aquaculture operations is the discharge of total solids consisting of uneaten feed and fish
feces, resulting in solids deposition and organic enrichments to seafloor sediments. These
discharges can cause impacts through the degradation of water and sediment quality, burial, and
through organic enrichment of benthic sediments, affecting demersal and benthic fish and

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macroinvertebrate species and critical benthic habitat. A more extensive discussion of the
potential for impacts of offshore aquaculture operations to live bottom habitat and associated
communities can be found in the ODC Evaluation, Appendix C.


Alternative 1 - No Action. The No Action alternative would result in no effect on live bottom
habitat and associated biological communities around the proposed VE site because an
aquaculture facility would not be able to discharge any operational wastes without an NPDES
permit, the facility would not be constructed or operated at this location on the west Florida
Shelf.


Alternative 2 - Proposed Action, Issuance of NPDES permit. The proposed action alternative,
issuance of NPDES permit will likely have minimal impacts to live bottom habitat and
associated communities expected to occur in the vicinity of the proposed facility. The siting
analysis conducted during the site selection process chose an area with sufficient depth and
current flow parameters that should result in rapid and broad dispersion of solid wastes
discharged from the facility. The relatively small fish biomass to be reared in the single cage
(80,000 lbs. at harvest – one production cycle) demonstration is also expected to result in small
daily loading rates of discharged pollutants downstream of the cage. The relatively low
production of solid wastes from the single cage facility and the wide dispersal of discharged
solids to the benthos should minimize impacts to live bottoms. Additionally, the proposed VE
site will be located over unconsolidated sediments, limiting any potential physical and biological
impacts to live bottoms. Positioning away from potential live bottom habitat will mitigate
physical benthic impacts from anchors and mooring lines. The cage is designed to swivel around
the center of a suspended 3-point mooring, further reducing anchor chain sweep.


4.3.9 Seagrasses
Seagrasses occurring on the west Florida shelf are discussed in Section 3.3.9 Seagrasses.
Because seagrass distribution is dependent on water clarity for light penetration, the main impact
causing factor to sea grasses around offshore aquaculture operations is the discharge of
suspended solids consisting of uneaten feed and fish feces, resulting in reduced water clarity and
light attenuation. paddle grass was not observed at the Tampa ODMDS at depths ranging from
14-27m (40-80 ft.), likely due to low water clarity. Additionally, impacts may also result from
solids deposition and organic enrichments to seafloor sediments.


Alternative 1 - No Action. The No Action alternative would result in no effect on seagrasses and
associated biological communities around the proposed VE site because an aquaculture facility
would not be able to discharge any operational wastes without an NPDES permit, the facility
would not be constructed or operated at this location on the west Florida Shelf.


Alternative 2 - Proposed Action, Issuance of NPDES permit. The proposed action alternative,
issuance of NPDES permit will likely have only very minimal impacts to sea grasses and
associated communities as they are not expected to occur in the vicinity of the proposed facility.
In addition, the siting analysis conducted during the site selection process chose an area with
sufficient depth and current flow parameters that should result in rapid and broad dispersion of

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suspended solids discharged from the facility. The relatively small fish biomass to be reared in
the single cage (80,000 lbs. at harvest – one production cycle) demonstration is also expected to
result in small daily loading rates of discharged pollutants downstream of the cage. The
relatively low production of solid wastes from the single cage facility and the wide dispersal of
discharged solids to the benthos should minimize impacts to seagrasses.


4.4 Social and Economic Environment
The following sections focus on the proposed action impacts on four primary areas: aquaculture
production, commercial fishing, recreational fishing, human health/public health, and
environmental justice.


4.4.1 Commercial Marine Aquaculture Production
This project is not expected to have an adverse socio-economic impact on current commercial
aquaculture production or producers in the Gulf because finfish production in the Gulf has been
limited to freshwater species, such as catfish or tilapias, and almaco jack is not a substitute for
those species.


Alternative 1: No Action. The No Action alternative would result in no effect commercial
marine aquaculture production, because an aquaculture facility would not be able to discharge
any operational wastes without an NPDES permit, the facility would not be constructed or
operated at this location on the west Florida Shelf.


Alternative 2: It is not expected the proposed project will negatively impact commercial marine
aquaculture production in the Gulf.


4.4.2 Commercial Fisheries
A discussion of the status of commercial fisheries is provided in Section 3.4.3 Commercial
Landings of Almaco Jack and Section 3.4.4 Commercial Fisheries. The potential for impacts to
commercially important fin fishes and invertebrates were discussed above in Section 4.3.1 Fish
and Section 4.3.2 Invertebrates.


As stated previously and should be emphasized, almaco jack is not a targeted commercial fish. It
is only harvested incidentally. Consequently, production of farmed almaco jack from the
proposed VE project is not expected to have an adverse economic impact on commercial fishing
businesses that land almaco jack.


Alternative 1: No Action. The No Action alternative would result in no effect on commercial
fisheries around the site, because an aquaculture facility would not be able to discharge any
operational wastes without an NPDES permit, the facility would not be constructed or operated
at this location on the west Florida Shelf. The baseline conditions described in Section 3.4.3



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Commercial Landings of Almaco Jack and Section 3.4.4 Commercial Fisheries would not be
impacted.


Alternative 2 - Proposed Action, Issuance of NPDES permit. The proposed action alternative,
issuance of NPDES permit will likely have minimal impacts to the commercial fishing industry.
almaco jack is not a commercially targeted species. Instead, it is incidentally harvested by
commercial vessels that target pelagic species. Consequently, almaco jack has a low dockside
price. There is a low potential for almaco jack being a substitute for commercial landings of one
or more species, increasing market supply, and causing a decrease in market price of those
substitute species. However, based on supplemental information provided by the applicant, fish
harvested from the VE project will be sold to multiple state and Federally licensed dealers in an
effort to test the marketability of almaco jack. This should spread any impact across multiple
markets. In addition, almaco jack are expected to be harvested over a three-month period, thus
avoiding the entire project harvest hitting the market at one landing.


With regards to conflicts with commercial fishing activities, the proposed site was selected to
minimize potential conflicts with shrimping and other commercial fishing activities in the area.
In addition, the siting analysis conducted during the site selection process chose an area with
sufficient depth and current flow parameters that should result in rapid dilution of dissolved
wastes and broad dispersion of solid wastes discharged from the facility. The relatively small
fish biomass to be reared in the single cage (80,000 lbs. at harvest – one production cycle)
demonstration is also expected to result in small daily loading rates of discharged pollutants
downstream of the cage. Species that would be commercially targeted would have minimal
exposure to any discharged pollutants.

4.4.3 Recreational Fishing
Recreational fishing that may occur in the vicinity of the proposed VE site is discussed in Section
3.4.5 Recreational Marine Fishing. The factors most likely to impact recreational fishing around
offshore aquaculture operations are the discharges of dissolved and particulate inorganic and
organic nutrients into the water column and discharges of total solids deposition and organic
enrichments to seafloor sediments from uneaten feed and fish feces. These discharges can impact
through the degradation of water quality, affecting sensitive early life stages of marine fishes,
and organic enrichment of benthic sediments, affecting habitat that supports juvenile and adult
fish communities and surrounding food sources. In addition, siting of stationary fish farms may
interfere with recreational fishing activities.


Alternative 1 - No Action. The No Action alternative would result in no effect on early life
stages of fish water column or benthic fish communities around the site, because an aquaculture
facility would not be able to discharge any operational wastes without an NPDES permit, the
facility would not be constructed or operated at this location on the west Florida Shelf.


Alternative 2 - Proposed Action, Issuance of NPDES permit. The proposed site was selected to
minimize potential conflicts with recreational fishing activities in the area, therefore, the
proposed action alternative, issuance of NPDES permit will likely have minimal impacts on
recreational fishing that may occur in the vicinity of the proposed facility. In addition, the siting

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analysis conducted during the site selection process chose an area with sufficient depth and
current flow parameters that should result in rapid dilution of dissolved wastes and broad
dispersion of solid wastes discharged from the facility. The relatively small fish biomass to be
reared in the single cage (80,000 lbs. at harvest – one production cycle) demonstration is also
expected to result in small daily loading rates of discharged pollutants downstream of the cage.
Exposure to any discharged pollutants will be minimal for recreationally targeted fish.


4.4.4 Human Health/Public Health
Contamination from the use of the use of pharmaceuticals (Section 4.2.1.1) to prevent and
control disease in farmed fish and impacts to water and sediment quality (Sections 4.2.1 and
4.2.2) are potential sources of bioaccumulated contaminants that can affect farmed fish quality.
Consumption of farmed fish exposed to pathogens and pollutants discharged from the
aquaculture facility or in the open marine environment could pose health risks to consumers. It is
expected that potential adverse human health outcomes are avoided or minimized based on the
impact discussions presented in the following sections of the EA: Water Quality (4.2.1),
Pharmaceuticals (4.2.1.1), and Sediment Quality (4.2.2).


Alternative 1 - No Action. The No Action alternative would result in no effect on human health,
because an aquaculture facility would not be able to discharge any operational wastes without an
NPDES permit, the facility would not be constructed or operated at this location on the west
Florida Shelf.


Alternative 2 - Proposed Action, Issuance of NPDES permit. The proposed action alternative,
issuance of NPDES permit will likely have minimal impacts to human health due to water and
sediment quality and fish health. The siting analysis conducted during the site selection process
chose an area with sufficient depth and current flow parameters that should result in rapid
dilution of dissolved wastes and broad dispersion of solid wastes discharged from the facility.
The relatively small fish biomass to be reared in the single cage (80,000 lbs. at harvest – one
production cycle) demonstration is also expected to result in small daily loading rates of
discharged pollutants downstream of the cage. A small harvest is also a fishery management
measure of disease control and prevention in farmed fish (Section 3.2.1.3 Pharmaceuticals).
Based on these factors, there are no significant human health/public health impacts expected as a
result of the proposed action.


4.4.5 Environmental Justice
Environmental justice (EJ) ensures that minority and low-income populations are not subject to
disproportionately high and adverse human health or environmental effects due to a proposed
action. As discussed in Section 4.4.4 Human Health/Public Health, contaminated fish resulting
in adverse human health outcomes is the same concern for EJ communities. The discharges
authorized under this permit are not expected to adversely impact farmed fish quality. Therefore,
greater human health risks to minority and low-income populations from contaminated farmed
fish is not expected. Refer to Section 4.4.4 Human Health/Public Health for the result of
aquaculture and human health, and the alternative effects.



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The proposed action footprint would be relatively small and located well out to sea. There are no
minorities or low-income populations near the proposed action, but such populations may exist
in communities living onshore near staging areas used for the proposed VE project. Based on
discussion with the applicant, shared dock space at Port Manatee will be utilized for staging and
any conflicts in use will be minimized.

The proposed action would not cause changes to the physical or natural environment that would
affect coastal communities. The proposed action would not inhibit persons from any nearby
communities from fishing near the action area. Also, farmed fish landings from the proposed
action are not expected to effect commercial landings of almaco jack because it is not directly
targeted and is incidentally caught by commercial fishermen. For these reasons, Alternative 2 is
not likely to impact adversely fish or other wildlife, habitats, or marine plants that are
subsistence resources.

Finally, the proposed action is not expected to have disproportionately high and adverse
environmental or human health effects to minority and low-income populations that would
require further consideration under E.O. 12898.




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5.0 Cumulative Impacts
The Council on Environmental Quality’s (CEQ) regulations define cumulative effects as “the
impact on the environment which results from the incremental impact of the action when added
to other past, present, and reasonably foreseeable future actions regardless of what agency
(federal or non-federal) or person undertakes such other actions” (40 CFR Section 1508.7). Other
actions considered in this cumulative impact analysis include the 2010 Deep Water Horizon
(DWH) oil spill event, oil and gas operations, future aquaculture operations and natural disasters.
As noted in 1.8 Documents Incorporated by Reference of this EA, several previous NEPA
documents are adopted by reference. Information from these documents were used extensively in
determining the cumulative impacts of the proposed action. This analysis considers the
cumulative impacts related to the preferred alternative (Alternative 2). Below is a brief summary
of issues and resource specific discussion related to cumulative impacts in the context of the
proposed action:


Based on public comments received on the draft EA, the EPA understands there are several areas
of concern relating to cumulative impacts of the proposed action. Two primary concerns
highlighted were the period of time that should be considered when evaluating other actions and
the potential for a commercial scale VE project being permitted at or near the current location of
the pilot-scale project. The EPA initially considered cumulative impacts over the full permit term
(5 years), however, the NPDES permit has been modified to limit discharges from the VE project
to one production cycle. The EPA expects this cycle to take no-longer than 18-months, therefore
significantly shortening the time in which other offshore aquaculture projects or other actions
may have an incremental impact. In addition, if a commercial scale VE project were to be
authorized, the new project would be subject to a new permit process and new NEPA analysis.


5.1 Deepwater Horizon Event
On April 20, 2010, the DWH mobile drilling unit exploded, caught fire, and eventually sank in
the Gulf, resulting in a massive release of oil and other substances from British Petroleum’s
Macondo well. The Macondo well is located more than 300 miles North/Northwest of the
proposed location of the Ocean Era project. Regarding DWH, the NFMS conducted a thorough
evaluation of direct, indirect and cumulative impacts associated with the DWH in their 2015
Final Supplement to the Final Programmatic Environmental Impact Statement for the Fishery
Management Plan for Regulating Offshore Marine Aquaculture in the Gulf of Mexico. EPA
notes that on page 62 of this document NFMS concluded that “several studies have produced
preliminary information on the impacts of the DWH blowout to marine organisms and
ecosystems in the Gulf. More information on the short- and long-term impacts of the DWH
blowout is needed to assess whether the additional stress caused by the DHW blowout has
resulted in a cumulative effect beyond current thresholds.” (NMFS, 2015b). The EPA concur
with these findings and recognize that the cumulative impacts associated with DWH are still
relatively unknown at this time and the minor incremental impact of the proposed action would
have little cumulative impact to the Gulf.




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5.2 Oil and Gas Operations
Oil and gas operations are common in the Gulf. To evaluate the proposed action in the context of
oil and gas activities EPA considered information from both the EPA’s 2016 National Pollutant
Discharge Elimination System (NPDES) Permit for Eastern Gulf of Mexico Offshore Oil and
Gas Exploration, Development, and Product Environmental Assessment (EPA, 2016) and the
NMFS’s 2015 Final Supplement to the Final Programmatic Environmental Impact Statement for
the Fishery Management Plan for Regulating Offshore Marine Aquaculture in the Gulf of
Mexico (NMFS, 2015b). As noted in the EPA EA (1.4.3 Moratoria) (EPA, 2016). Currently,
there are no OCS areas restricted under Congressional moratoria. However, in 2006 GOMESA
[Gulf of Mexico Energy Security Act] was enacted to restrict oil and gas leasing in portions of
the Gulf through 2022. This action restricts leasing within 125 miles of Florida in the eastern
Gulf and within 100 miles of Florida in the central Gulf.


The EPA notes that the proposed action is approximately 45 miles off the coast of Florida and
within the GOMESA restricted area. The EPA conclude that the proposed action would have
negligible cumulative impacts regarding oil and gas operations because it is located in the
drilling moratoria area.


5.3 Future Aquaculture Operations
The EPA understands that it is reasonably foreseeable that the marine aquaculture industry may
expand in the Gulf, and therefore we considered expansion of the industry as a possibility in our
cumulative impacts analysis. When evaluating cumulative impacts, EPA must consider past,
present, and reasonably foreseeable future actions that can result in incremental impact of the
proposed action (See 40 CFR § 1508.7). The EPA determined that one reasonably foreseeable
action that could have an incremental impact on the environment was other offshore aquaculture
operations in the Gulf (in the vicinity of the project). The EPA determined that it was not
reasonable to consider future projects that are speculative. Based on information EPA had when
drafting the EA, the owner/operators of the VE pilot-scale project had not committed to a
location of a commercial operation and had not submitted a NPDES permit application for such
an operation. Without a draft NPDES permit application and no formal pre-application process
started for a commercial scale VE project, it would be unreasonable for EPA to consider impacts
from such a facility.


At present, there is one other offshore aquaculture project (Manna Fish Farms) which is being
proposed for an area located in the Northern Gulf. This project is in the pre-application stages,
but the applicant has yet to submit a NPDES application to the EPA. Therefore, it is unclear if
the Manna Fish Farms project will be permitted and operational prior to the end of the
production cycle for the VE project. Manna Fish Farms has proposed siting their facility offshore
and south of Pensacola, FL. The Manna Fish Farms project is planned to be a commercial scale
project. The location of the proposed Manna Fish Farm operations is approximately 300 miles
from the operations proposed in this EA. Because of the significant distance between the two
aquaculture operations and the NPDES permit limit of one production cycle for the VE project,
the EPA determined that the proposed action will not result in incremental impacts that could
become significant. We base this determination on our impact analysis supporting the NPDES
permitting process. Because of small scale of this project, it is not precedent setting or predictive


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of decision-making for commercial scale aquaculture projects. In addition, the effects of the
proposed action will be monitored through submission of periodic reports to EPA.


5.4 Physical Resources
As previously discussed in Section 4.2 Physical Resources, solid waste from the aquaculture
operations is the physical resource of concern and it was determined that the solid waste
deposition would be minimal. The incremental effect of the proposed action, issuance of the
NPDES permit would have minimal impact even combined with the other proposed project
(Manna Fish Farms) for aquaculture operations throughout the project area. Solid waste from the
VE project and any future aquaculture project would likely re-suspend and disperse. Other
activities in the project area that were considered such as any future oil and gas operations would
cumulatively add little solid waste to the project area.


5.4.1 Water Quality
As discussed in Section 4.2.1 Water Quality, the proposed action, issuance of the NPDES permit,
would produce ammonia levels significantly below the published ammonia aquatic life criteria
values for saltwater organisms (EPA, 1989). At present, there is only one NPDES permit
application for an aquaculture facility submitted to EPA in the Gulf (for which is the proposed
action of this EA) and one proposed project (Manna Fish Farms) discussed above. Because of the
significant distance between the two aquaculture operations and the NPDES permit limit of one
production cycle for the VE project it is anticipated that both actions combined would cause
negligible cumulative impacts to water quality.


In the USEPA Region 4’s 2016 Environmental Assessment (EA) for National Pollutant
Discharge Elimination System (NPDES) Permit for Eastern Gulf of Mexico Offshore Oil and
Gas Exploration, Development, and Production, it was determined that water quality impacts
associated with drilling activities such as drilling fluids and cuttings during daily operations even
combined with relatively infrequent and low volume discharges such as WTCW fluids; deck
drainage; sanitary and domestic wastes; and miscellaneous wastes were minor water quality
impacts. As previously discussed, there is a moratorium on oil and gas operations within 125
miles of the Florida coast (EPA, 2016) and the proposed action is within that moratoria zone.
Also, previously discussed, it was concluded that the proposed action would have negligible
cumulative impacts in relationship to large scale oil spills (such as DWH).


There is a potential for water quality impacts associated with spills related to other shipping
activities (such as cargo ship spills, fuel spills due to shipwrecks or related to ship loss due to
storms). However, because of the minor water quality impacts associated with the proposed
action it would have minor cumulative impacts associated with spills from other shipping
activities.


Additionally, the minor amount of ammonia produced by the proposed action would not
incrementally increase the cumulative impacts associated with other activities such as the
proposed future oil and gas activities, future aquaculture activities and any lingering
environmental impacts associated with the DWH.

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5.4.1.1 Pharmaceuticals
As discussed in Section 4.2.1.1 Pharmaceuticals, the amounts of pharmaceuticals discharged
will have minimal direct impacts. The only other known facility within the Gulf that would have
pharmaceutical impacts would be the proposed Manna Fish Farm facility. Because of the
significant distance between the two aquaculture operations and the NPDES permit limit of one
production cycle for the VE project, these facilities would have negligible cumulative impacts to
the Gulf.

In addition, the NPDES permit for the VE project will require that the use of any medicinal
products including therapeutics, antibiotics and other treatments are to be reported to the EPA.
The report will include types and amounts of medicinal product used and the period of time it
was used. In accordance with the NPDES permit, all drugs, pesticides and other chemicals must
be applied in accordance with label directions. The permittee must maintain records of all drug,
pesticide, and other chemical applications including date and time of application and the quantity
of the drug or chemical used.


5.4.2 Sediment Quality
As discussed in Section 4.2.2 Sediment Quality, numerous studies within the Mediterranean have
shown that organic inputs from fish farms on benthic macrofaunal are only limited up to 25 m
from the edge of the cages (Lampadariou, Karakassis, & Pearson, 2005) and carbon and nitrogen
produced by fish farm effluents on the seafloor is detected in an area about 1,000 m from the
cages (Sara, Scilipoti, Mazzola, & Modica, 2004). Also, the organic material will most likely re-
suspend and be dispersed and will not accumulate in any concentrations on the seabed floor. Any
remaining accumulation of organic material would also be assimilated by macroinvertebrates
living on the seafloor. Other potential sources of organic and inorganic discharges near the
proposed action could potentially be from point source discharges such as land-based wastewater
treatment and industrial discharges, discharges from septic tanks and non-point source discharges
from stormwater. It is unlikely that organics and nitrogen from land-based discharges would
reach the proposed facility 45 miles offshore. The effluent from the cage will have minimal
impact on sediment quality. The results of deposition modeling, even when doubling fish
production amounts, conclude that net accumulation of wastes following a 1-year production
cycle would likely not be distinguishable from background levels of organic carbon. Even when
the period of discharge is increased to the full 5-year permit term, the modeling report indicated
that the proposed project “will not likely have a discernable impact on benthic communities
around the project location.” Additionally, because of the significant distance between the two
aquaculture operations and the NPDES permit limit of one production cycle for the VE project
the two projects would not incrementally contribute to the cumulative impacts to sediment
quality in the study area.


5.4.3 Air Quality
As discussed in Section 4.2.3 Air Quality, there are no large sources of anthropogenic emissions
expected to be released into the atmosphere from activities related to the proposed action. Aside
from the aquaculture facility, there may be some emissions from outboard motors used by sport
fisherman and commercial fishing operations. A tender vessel, used on site at the facility, may be

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a small source of emissions in offshore waters; however, cumulative impacts from sources are
expected to be minimal.


5.4.4 Coastal Barrier Beaches
As discussed in Section 4.2.4 Coastal Barrier Beaches, the VE project is to be located
approximately 45 miles southwest of Sarasota and offshore from any coastal barrier beaches.
Conditions in the NPDES permit provide requirements and prohibitions relating to the discharge
of solid material (if specifically not covered in the permit), discharges of domestic waste, debris
during catastrophic events, and discharges associated with support vessels. Based on these
permit conditions, the cumulative impact from the VE project to coastal barrier beaches will be
negligible.


5.4.5 Noise Environment
As discussed in Section 4.2.5 Noise Environment, the VE project location is an area with ambient
noise from wind, waves, and periodic noise from occasional boat and vessel traffic. Noise
generated by the site would remain at low levels and likely not be heard once coupled with water
and wind effects that would dampen any sounds originating at the facility. Cumulative impacts
from noise are anticipated to be negligible.


5.4.6 Climate
As discussed in Section 4.2.6 Climate, the VE project will result in negligible emissions of Green
House Gasses (GHGs) resulting from operation of support vessels. In general, aquaculture is
considered to make a minor, contribution to greenhouse gas emissions although the extent to
which this occurs depends on the species, size and location of facilities (Food and Agriculture
Organization of the United Nations, 2009). Additional contributors to GHG emissions in the
Gulf include oil and gas operations, commercial and recreational fishing operations, commercial
shipping, and recreational boating.


While the proposed project may minimally contribute to global emissions, global climate change
could have significant effects on Gulf aquaculture operations. Climate change may affect the
severity of extreme weather (e.g., hurricanes), potentially generating more intense storms which
could lead to increases in storm-induced damage to equipment and facilities (IPCC, 2007; IPCC,
2013). The VE project cages could be vulnerable to more frequent storm events in the Gulf,
however, mitigation measures in the NPDES permit will minimize the potential for damage to
the environment from such an event.


Other possible impacts of climate change include temperature changes which can influence
organism metabolism and alter ecological processes such as productivity and species
interactions; changes in precipitation patterns and a rise in sea level which could change the
water balance of coastal ecosystems; altering patterns of wind and water circulation in the ocean
environment; and influencing the productivity of critical coastal ecosystems such as wetlands,
estuaries, and coral reefs (IPCC, 2007). None of these potential climate change impacts are
expected to be significant with respect to the NPDES permit duration of 5 years.

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5.5 Biological Resources
As previously discussed in Section 4.3 Biological Resources, the factors with potential to impact
biological resources around coastal fish farms are disturbance, entanglement, vessel strikes, and
the discharges of dissolved and particulate inorganic and organic nutrients into the water column
and discharges of total solids deposition and organic enrichments to seafloor sediments from
uneaten feed and fish feces. The latter can potentially impact biological communities through the
degradation of water quality, affecting pelagic plants and animals, and organic enrichment of
benthic sediments, thereby, affecting benthic biota.


The EPA has determined that due to the small incremental effect of the proposed action, issuance
of the NPDES permit would have minimal impact even combined with the other proposed
projects (Manna Fish Farms) for aquaculture operations throughout the project area. Solid waste
from the VE project and any future aquaculture project would likely re-suspend and disperse.
Other activities in the project area that were considered when evaluating potential impacts on
biological resources included future oil and gas operations which would cumulatively add little
solid waste to the project area.


5.5.1 Fish
Fish that can occur in the vicinity of the proposed VE project area are discussed in Section 3.3.1
Fish. In general, the factors that may impact fish near coastal offshore aquaculture operations are
disturbance and water and sediment quality degradation as a result of waste discharges. Potential
water quality impacts are associated with discharges of dissolved and particulate inorganic and
organic nutrients into the water column and discharges of total solids deposition and organic
enrichments to seafloor sediments from uneaten feed and fish feces. These discharges can
potentially impact fish through the degradation of water quality, affecting pelagic plants and
animals, and organic enrichment of benthic sediments, affecting benthic habitat. Cumulative
impacts to water quality may include discharges of dissolved and particulate inorganic and
organic nutrients into the water column, and discharges of total solids deposition and organic
enrichments to seafloor sediments from uneaten feed and fish feces. Other potential sources of
organic and inorganic discharges are waste from ships and point sources such as land-based
wastewater treatment, industrial discharges, discharges from septic tanks, and non-point
discharges from stormwater. It is not expected that the discharges from the VE project would
incrementally combine with these other discharges because the proposed facility is 45 miles
offshore in an area selected for enhanced currents.


There are also physical impacts throughout the Gulf that could cause fish mortality such as
entanglement in fishing gear and other floating material, and digestion of plastics. However, due
to the small size of the VE project and the expected temporary nature of the proposed project it is
anticipated that this proposed action would have minor to negligible impacts and would not
cumulatively impact fish.


As previously stated, the other only known potential aquaculture facility being proposed in the
Gulf (Manna Fish Farm) is more than 300 miles away from the VE project and would not

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incrementally contribute to the cumulative impacts in the study area. Given the relatively small
footprint of the VE project in context of the previously discussed impacts, it is anticipated that
this proposed action would have minimal to negligible impacts and would not cumulatively
impact fish. Furthermore, the EPA and USACE will include permit provisions that will contain
environmental monitoring (water quality, sediment, benthic infauna, etc.) and other conditions
that minimize potential adverse impacts to fish.


5.5.2 Invertebrates
Marine invertebrates occurring in the Gulf are discussed in Section 3.3.2 Invertebrates. The
factors that may impact marine invertebrate communities near coastal offshore aquaculture
operations are impacts to water and sediment quality. Anchor placement and mooring line sweep
may impact sessile benthic invertebrates. Expected discharges from aquaculture operations
include dissolved and particulate inorganic and organic nutrients into the water column, total
solids deposition, and organic enrichments to seafloor sediments from uneaten feed and fish
feces. These discharges can potentially impact protected corals through the degradation of water
quality, and organic enrichment of benthic sediments, affecting benthic habitat. Other potential
sources of organic and inorganic discharges are waste from ships and point sources such as land-
based wastewater treatment, industrial discharges, discharges from septic tanks, and non-point
discharges from stormwater. However, it is not expected that the discharges from the VE project
would incrementally combine with these other discharges because the proposed facility is 45
miles offshore in an area selected for enhanced currents.


Additionally, as previously stated, because of the significant distance between the two
aquaculture operations and the NPDES permit limit of one production cycle for the VE project
the proposed action would not incrementally contribute to the cumulative impacts in the study
area. Given the relatively small footprint of the VE project in context of the previously discussed
impacts, it is anticipated that this proposed action would have minimal to negligible impacts and
would not cumulatively impact invertebrates. Furthermore, the EPA and USACE will include
permit provisions that will contain environmental monitoring (water quality, sediment, benthic
infauna, etc.) and other conditions that minimize potential adverse impacts to invertebrates.


5.5.3 Marine Mammals
Marine mammals occurring in the Gulf are discussed in Section 3.3.3 Marine Mammals. The
factors that may impact marine mammals near coastal offshore aquaculture operations are
potential entanglement, vessel strikes, behavioral disturbance, and impacts to water and sediment
quality. Entanglement risks to marine mammals will be minimized by using rigid and durable
cage materials and by keeping all lines taut, however, should entanglement occur, on-site staff
would follow the steps outlined in the PSMP and alert the appropriate experts for an active
entanglement. Facility staff will monitor for the potential of vessel strikes, however, the
probability that collisions with the vessel associated with the proposed project would kill or
injure marine mammals is discountable as the vessel will not be operated at speeds known to
injure or kill marine mammals. Additionally, all vessels are expected to follow the vessel strike
and avoidance measures that have been developed by the NMFS. Disturbance to marine
mammals from ocean noise generated by the proposed facility is expected to be extremely low



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given that the there is one production cage and one vessel that will be deployed for a duration of
approximately 18 months.


Expected discharges from aquaculture operations include dissolved and particulate inorganic and
organic nutrients into the water column, total solids deposition, and organic enrichments to
seafloor sediments from uneaten feed and fish feces These discharges can potentially impact
protected corals through the degradation of water quality, and organic enrichment of benthic
sediments, affecting benthic habitat. Other potential sources of organic and inorganic discharges
are waste from ships and point sources such as land-based wastewater treatment, industrial
discharges, discharges from septic tanks, and non-point discharges from stormwater. However, it
is not expected that the discharges from the VE project would incrementally combine with these
other discharges because the proposed facility is 45 miles offshore in an area selected for
enhanced currents.


Since the VE project has a very low potential of impacting marine mammals by entanglement,
vessel strikes, behavioral disturbance, and impacts to water and sediment quality, the overall
cumulative impact potential for VE project is negligible.


5.5.4 Sea Turtles
Sea turtles occurring in the Gulf are discussed in Section 3.3.4 Sea Turtles. The factors that may
impact protected sea turtles near coastal offshore aquaculture operations are impacts to water
quality, entanglement, physical encounters with the pen system, and behavioral disturbance.


Entanglement risks to sea turtles will be minimized by using rigid and durable cage materials and
by keeping all lines taut, additionally, the pen will use a rigid copper alloy mesh, which presents
no entanglement hazard. Sea turtles may experience disturbance by stress due to a startled
reaction should they encounter vessels in transit to the proposed project site. Given the limited
trips to the site, opportunities for disturbance from vessels participating in the proposed project
are minimal. Disturbance to sea turtles by the proposed facility is expected to be extremely low
given that there is one production cage and one vessel that will be deployed for a duration of
approximately 18 months. Potential water quality impacts associated with discharges from
aquaculture operations include dissolved and particulate inorganic and organic nutrients into the
water column, total solids deposition, and organic enrichments to seafloor sediments from
uneaten feed and fish feces. Other potential sources of organic and inorganic discharges are
waste from ships and point sources such as land-based wastewater treatment, industrial
discharges, discharges from septic tanks, and non-point discharges from stormwater. However, it
is not expected that the discharges from the VE project would incrementally combine with these
other discharges because the proposed facility is 45 miles offshore in an area selected for
enhanced currents.


Since the VE project has a very low potential of impacting sea turtles by entanglement, physical
encounters with the pen system, behavioral disturbance, and water quality the overall cumulative
impact potential for VE project is negligible.



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5.5.5 Birds
Birds occurring in the Gulf are discussed in Section 3.3.5 Birds. Potential impacts to seabirds
from the VE project may be due to the physical structure, presence of fish, and associated
activities that would attract migratory seabirds as well as other migratory birds. Seabirds are not
expected to interact with the proposed project or become trapped in the cage due to distance of
the proposed project from shore (approximately 45 miles). Should there be any interaction that
results in an injury to a protected seabird, the on-site staff would follow the steps outlined in the
PSMP and alert the appropriate experts for an active entanglement. The project staff will suspend
all surface activities, including stocking, harvesting operations, and routine maintenance
operations in the unlikely event that an ESA-listed seabird comes within 100 m of the activity
until the bird leaves the area. Any potential effects from the proposed action on ESA-listed birds
are discountable because the effects are extremely unlikely to occur.


Since the VE project has a very low potential of impacting birds due to the low potential for
presence at the site the overall cumulative impact potential for VE project on birds is negligible.


5.5.6 Essential Fish Habitat
The environmental factors most likely to impact essential fish habitat around offshore
aquaculture operations are the discharges of dissolved and particulate inorganic and organic
nutrients into the water column and discharges of total solids deposition and organic enrichments
to seafloor sediments from uneaten feed and fish feces. These discharges can impact through the
degradation of water quality, affecting habitat critical to sensitive early life stages of marine
invertebrates and pelagic adult forms. Organic enrichment of benthic sediments can impact
habitat that supports juvenile and adult invertebrate communities and surrounding food sources.


As previously discussed, the proposed action alternative, issuance of an NPDES permit, will
likely have only very minimal impacts to essential fish habitat near the proposed facility. The
siting analysis conducted during the site selection process chose an area with sufficient depth and
current flow parameters that should result in rapid dilution of dissolved wastes and broad
dispersion of solid wastes discharged from the facility. The relatively small fish biomass to be
reared in the single cage (80,000 lbs. at harvest – one production cycle) demonstration is also
expected to result in small daily loading rates of discharged pollutants downstream of the cage.
In addition, pelagic animals passing through the area would be at the facility temporarily.
Exposure to any discharged pollutants would be minimal.


Other potential sources of organic and inorganic discharges are from point source discharges
such as land-based wastewater treatment and industrial discharges, discharges from septic tanks
and non-point discharges from stormwater. Additionally, waste from ships could contribute to
cumulative impacts associated with organic and inorganic pollution. It is unlikely that organic
and nitrogen from land-based discharges would reach the proposed facility 45 miles offshore.
Conversely, the effluent from the cages will have minimal impact and will not incrementally
combine with these other organic and nitrogen laden discharges to cause a cumulative impact.
The ODC Evaluation anticipates deposition from the VE facility will not likely have a
discernable impact on benthic communities around the project location.


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As previously stated, the other only known potential aquaculture facility (Manna Fish Farm)
would occur more than 300 miles away from the proposed facility and, thus, would not
incrementally contribute to significant cumulative impacts of essential fish habitat in the study
area.


Additionally, impacts related to natural disasters combined with the previously discussed impacts
could cumulatively impact protected marine habitat. On page 363 in the NMFS PFEIS, it was
documented that the impacts related to natural disasters and economic change “can also affect
resources, ecosystems, and communities. Such events include diseases outbreaks, red tides,
changes in economic conditions, foreign imports, high fuel prices, hurricanes and storm events,
and hypoxia” (Gulf of Mexico Fishery Management Council and National Oceanic and
Atmospheric Administration National Marine Fisheries Service, 2009). However, it is
anticipated that the cumulative impacts associated with the proposed action and natural disasters
(such as storms, hurricanes, red tides, etc.) would be minor.


The EPA provided an EFH assessment to the NMFS for consideration on our determination that
the proposed project would not result in substantial adverse effects on EFH and the permits will
have conditions to mitigate any minor impacts that may occur (Appendix E). The NMFS
provided written concurrence with our determination in a letter dated March 12, 2019 (Appendix
E).


5.5.7 Deepwater Benthic Communities
Deepwater benthic communities do not occur within a distance of approximately 90 miles or
more, seaward of the proposed VE site. Therefore, no cumulative impact on this resource is
expected.


5.5.8 Live Bottoms
The main impact causing factor to live bottom communities around coastal fish farms is the
discharge of total solids consisting of uneaten feed and fish feces resulting in solids deposition
and organic enrichments to seafloor sediments. These discharges can affect water and sediment
quality and may lead to eutrophication of both, in turn affecting the benthic habitat and dynamic
as a whole.


Cumulative impacts to live bottom habitats in the vicinity of the proposed facility are expected to
be minimal due to sufficient depth and flow parameters at the site that result in rapid dispersion
of waste. Small daily loading rates of discharged pollutants are anticipated due to the small fish
biomass being reared. This coupled with a wide dispersal of discharged solids limits impacts to
live bottoms.




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5.5.9 Seagrasses
Seagrass growth is dependent on water clarity for light penetration. As with live bottoms, the
main impact causing factor to seagrasses around offshore aquaculture operations is the discharge
of total solids consisting of uneaten feed and fish feces.


Cumulative impacts to seagrasses are expected to be minimal due to the lack of them in the
vicinity of the proposed facility. Additionally, sufficient depth and flow parameters at the site
should result in rapid dispersion of waste. Small daily loading rates of discharged pollutants are
anticipated due to the small fish biomass being reared. This coupled with a wide dispersal of
discharged solids limits impacts to seagrasses.


5.6 Social and Economic Environment
The following sections focus on the proposed action impacts on four primary areas: aquaculture
production, commercial and recreational fishing, human health/public health, and environmental
justice.


5.6.1 Aquaculture Production
The Gulf Region within state waters or inland is a major aquaculture producer. Freshwater
aquaculture far exceeds marine aquaculture and pond aquaculture, which is the most popular
method. Nonetheless, marine aquaculture production in Gulf state waters and inland has been
increasing. Because almaco jack is not a commercially targeted species and is not a substitute for
the Gulf’s freshwater finfish production (Sections 3.4.2 Commercial Marine Aquaculture
Production, 3.4.3 Commercial Landings of Almaco Jack, 4.4.1 Commercial Marine Aquaculture
Production and 4.4.2 Commercial Fisheries) cumulative impacts from the proposed facility are
expected to be minimal.


5.6.2 Commercial and Recreational Fishing
The proposed action alternative is expected to have minimal impacts on commercial and
recreational fishing that may occur in the vicinity of the facility. Fishermen are expected to
maintain a safe operating distance from the site, as trolling too closely may result in the loss of
expensive fishing tackle and other gear. With respect to safety and vessel operations, the risk of
gear entanglements or collisions with the feed barge, mooring line, or tethers are not expected.


One factor directly related to the proposed action that could impact commercial and recreational
fisheries around coastal fish farms are the discharges of dissolved and particulate inorganic and
organic nutrients into the water column and discharges of total solids deposition and organic
enrichments to seafloor sediments from uneaten feed and fish feces. The area chosen for the
proposed activity has depth and current flow parameters that should result in rapid and broad
dispersion of solid wastes discharged from the facility. Due to the small fish biomass (80,000 lbs.
produced during a 280-day fish production cycle) in the single cage facility and current flows
measured in the vicinity of the selected site, impacts on water quality as it relates to
commercial/recreational fishing is expected to be minimal. To put the proposed facility in


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perspective, the average annual catch of a single fishing ship in the U.S. is 40,000 metric tons (or
the equivalent of 88,184,920 lbs.) (Stupachenko, 2018).


The rapid development of marine aquaculture around the world has raised concerns over the
possible genetic and ecological impact of escaped fish on natural populations. Almaco jack, is
native and common to the Gulf. The fingerlings for the VE project will be sourced from brood
stock that are located at Mote Marine Aquaculture Research Park and were caught in the Gulf
near Madeira Beach, Florida. As such, only F1 (first filial generation) progeny from those wild
caught brood stock will be stocked into the net-pen for the proposed project. Neither the brood
stock, as they are native and wild caught, or the first-generation fingerlings from that brood
stock, have undergone any genetic modification or selective breeding, and would not likely pose
a competitive risk to wild stock. It’s also not likely that there would be any genetic
contamination or weakening if any fugitive fish spawned with wild individuals. Therefore, there
is limited to no risk for non-indigenous stock establishment.


Furthermore, the risks that escaped farm fish pose to wild populations are a function of the
probability of escape, and the magnitude of the event that could cause an escape event. The
copper mesh cage to be used is impact resistant and designed to survive storm events while being
completely submerged. EPA believes that the cage design will result in a low probability of
escape.


Some commercial fishermen are concerned that aquaculture will negatively affect prices for wild
harvest in the U.S. through increased supply (Rubino, 2008). Competition in seafood markets
will exist with or without domestic aquaculture. The U.S. cannot meet consumer seafood demand
through wild caught fishing activities alone, and seafood imports and other forms of protein
(such as chicken and beef) already provide significant competition. One reference source
(Anderson & Shamshak, 2008) explains that even if potential offshore aquaculture species are
not raised domestically, the importation of these and other aquaculture species will continue, and
most likely increase, as the forecasted gap between supply and demand for seafood widens.


The permit applicant worked with the NMFS and local commercial fisheries groups to site the
project in an area that would not conflict with commercial fishing activity occurring offshore
Florida. An evaluation of impacts on commercial fishing is provided in section 4.4.2. In general,
almaco jack is not a targeted commercial fish. It is only harvested incidentally. Consequently,
production of farmed almaco jack from the proposed VE project is not expected to have an
adverse economic impact on commercial fishing businesses that land almaco jack. Additionally,
the proposed site was selected to minimize potential conflicts with shrimping and other
commercial fishing activities in the area.


5.6.3 Human Health/Public Health
Bioaccumulation of contaminants in fish represent minimal cumulative impacts based on the
relatively small fish biomass proposed by the applicant. The potential adverse impacts to seafood
quality would be minimized by rapid dilution of dissolved wastes and dispersion of solid wastes
discharged from the facility, fishery management controls (Sections 3.2.1.3 and 4.2.1.1

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Pharmaceuticals), and permit conditions. Permit conditions that avoid or minimize potential
adverse impacts to commercial and recreational fisheries are the same requirements that would
address human health concerns. Therefore, it is not considered that potential impacts to human
health from the activities proposed under this EA would be significant.


5.6.4 Environmental Justice
Disproportionately high and adverse human health effects on EJ communities are not expected
from the permitted proposed action. Impacts on human health/public health related to farm fish
quality and landings have been discussed in the Human Health (Section 4.4.4) and
Environmental Justice (Section 4.4.5) sections.




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6.0 Summary of Alternatives
6.1 Alternatives Summary
As discussed in Section 2.0 Alternatives, the EPA considered two alternatives for the proposed
VE project in this EA. Alternatives considered include a No-action alternative and an action
alternative, issuance of a NPDES permit for the facility.


6.1.1 Alternative 1: No Action
Under the no-action alternative the EPA would not issue the NPDES permit for the proposed VE
project. The effects of the no action alternative are described in Chapter 3, Affected
Environment, in which no structures or pens would exist at the site location.


6.1.2 Alternative 2: Proposed Action--Issuance of NPDES Permit a for Velella
Epsilon
Under Alternative 2, the EPA would issue a NPDES permit for the proposed VE project. A
summary of the permit conditions are described below:


The proposed permit would include monitoring conditions and limitations that are based on
previous marine aquaculture NPDES permits and the BPJ of the permit writer. These permit
conditions will be consistent with the Clean Water Act (CWA) Section 308, Section 312, Section
402, and Section 403, and 40 CFR Section 125 and the concentrated aquatic animal production
facilities regulations at 40 CFR Section 122.24 and 40 CFR Part 451. While 40 CFR Part 451
applies to facilities which meet the CAAP definition, and is not directly applicable to the
proposed facility which does not meet the production thresholds of the CAAP definition, the
NPDES permit for the proposed facility will apply the effluent guideline limitations of 40 CFR
Part 451 based on the BPJ of the permit writer and the factors in 40 CFR Part 125, Subpart A.


The aquaculture-specific water quality conditions contained in the NPDES permit will generally
include an environmental monitoring plan and effluent limitations expressed as BMPs. The
environmental monitoring plan is included to examine the effects of the facility’s discharges on
the surrounding ecosystem. The environmental monitoring plan is based upon 40 CFR Section
125.123(d). The proposed NPDES permit includes water quality monitoring (feed rate, pH,
dissolved oxygen, chlorophyll a (chl-a), temperature, nitrogen, phosphorus, turbidity, drugs, and
total ammonia nitrogen), sediment monitoring, and benthic macroinvertebrate sampling. The
permit also includes the prohibitions on the discharge of solid materials. The BMP Plan will
require implementation of practices intended to meet the effluent limit guidelines established for
the Concentrated Aquatic Animal Production Point Source Category (40 CFR Section 451).


The permit also requires development and implementation of a facilities damage control plan to
prevent and contain facilities damages due to man-made and natural disasters. As part of the
plan, the permittee will be required to identify equipment and implement procedures to be used
to prevent and contain the facility’s damages due to natural disasters and storm events. The

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requirement for the plan is included based upon the BPJ of the permit writer. The permit also
requires development and implementation of a spill control plan to prevent and control spills of
toxic or hazardous substances listed under CWA Section 307(a) and Section 311 that may reach
surface waters. The permittee will be required to identify any toxic chemicals used at the facility.


Additionally, the proposed USACE LOP would include special conditions protecting general
navigation of the area, requirements for implementation of a tracking system for the net pen,
removal of the net pen system, adherence to the proposed Marine Mammal, Sea Turtle, and
Seabird Monitoring and Data Collection Plan (Protected Species Plan) and other ESA listed
species standard protection measures, and other notification and compliance requirements, as
deemed appropriate.


6.2 Comparison of Alternatives
The basic difference between the alternatives are action versus no action. Alternative 1
represents the baseline conditions of the project location without an offshore aquaculture project
being located at the project site. The action alternative (Alternative 2) represents authorizing
Ocean Era to install aquaculture pens at the project location and allows discharges associated
with the operation of these pens. The anticipated impacts associated with Alternative 2 include
relatively minimal impacts to physical, biological, socioeconomic resources. The EPA believes
the VE NPDES, Alternative 2, will include permit conditions to avoid or minimize potential
significant environmental impacts.


6.3 Preferred Alternative
The EPA has selected Alternative 2 as the preferred alternative. The major difference in the
alternatives is one represents the no action, Alternative 1, and one represents issuance of the
proposed NPDES permit, Alternative 2.


The proposed NPDES Individual Permit for the VE project, Alternative 2, contains provisions
that are sufficiently protective of the marine waters and resources of the Gulf. As long as Ocean
Era complies with the permit requirements, the EPA does not expect the discharges from the
facility to materially degrade the environmental resources of the Gulf. In addition, the proposed
EPA permit, Alternative 2, has a re-opener provision that authorizes EPA to modify the NPDES
permit as necessary in response to new information demonstrating the provisions of the proposed
permit are inadequately protective of marine resources of the Gulf.


6.4 Unavoidable Adverse Impacts
The discharges authorized by the NPDES permit from the proposed VE project are expected to
have unavoidable minor impacts, primarily in the immediate vicinity of the proposed project. For
the most part, these impacts would be short-term in nature, limited in spatial extent, and expected
to have a low likelihood to result in cumulative impacts. The potential impacts of authorized
effluent discharges are controlled through effluent discharge limits, the restricted use or
prohibited use of substances contained in authorized waste streams, and best management
practices.

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In ODC Evaluations for other marine aquaculture NPDES permits, the EPA made the finding
that those projects would not result in unreasonable degradation of, nor irreparable harm to the
marine environments. The ODC Evaluation for the VE project has the same finding


6.5 Irreversible and Irretrievable Commitments of Resources
The National Environmental Policy Act Section 101 (2)(c)(v) requires a detailed statement on
any irreversible and irretrievable commitments of resources that would be involved in the
proposed action should it be implemented. Irreversible and irretrievable resource commitments
are related to the use of non-renewable resources and the effects that the use of those resources
have on future generations. Irreversible commitments of resources are those that cannot be
reversed except over an extremely long period of time. These irreversible effects primarily result
from destruction of a specific resource (e.g., energy and minerals) that cannot be replaced within
a reasonable time frame. Irretrievable resource commitments involve the loss in value of an
affected resource that cannot be restored as a result of the action (e.g., extinction of a threatened
or endangered species or the disturbance of a cultural site).


The proposed action would constitute an irreversible or irretrievable commitment of non-
renewable or depletable resources, for the materials, time, money, and energy expended during
activities implementing the proposed action. Under the no-action alternative, there would be no
irreversible and irretrievable commitments of resources. Irreversible and/or irretrievable impacts
for the proposed action are noted below.


Consumption of fossil fuels and energy would occur during buildout of the aquaculture pens and
operation activities. Fossil fuels (gasoline and diesel oil) would be used to power support vessels
and generators. The energy consumed for project construction and operation represents a
permanent and non-renewable commitment of these resources.


Materials for construction of the facility would be irretrievably committed for the life of the
project. Use of these materials represents a further depletion of natural resources. Construction
and maintenance activities are considered a long-term non-renewable investment of these
resources.


Impacts to the sea bottom are expected to be temporary and are not expected to be an irreversible
and irretrievable resource commitment, however access to the area around and the facility may
be limited during the life of the project. There would also be commitment of time and money for
the planning, permitting, and implementation of the proposed project.


6.6 Relationship Between Short-term Uses of the Environment and the
Maintenance and Enhancement of Long-Term Productivity
The short-term uses of the environment that are considered in the EA include the water column
and discharges of total solids. Issuance of an NPDES permit for VE project and the other

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cumulative activities in the Gulf, are compatible with the maintenance of long-term productivity
in the Gulf. Any unavoidable adverse impacts associated with the proposed activity are
anticipated to be primarily short-term and localized in nature.


6.7 Finding of No Significant Impact
Consistent with 40 CFR §1508.13, the EPA has determined that the proposed action (issuance of
an NPDES permit, Alternative 2) will not cause a significant impact on the environment as
outlined in this EA. The issuance of the NPDES permit to the applicant will not cause a
significant environmental impact to water quality or result in any other significant impacts to
human health or the natural environment. The Finding of No Significant Impact (FONSI) is
provided in Appendix G.




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7.0 Other Protective Measures and Agency Coordination Efforts
The proposed permit and authorization include several conditions, terms, and provisions that are
protective measures against potential environmental consequences of the proposed action. The
EPA and USACE consulted multiple federal and state agencies for the proposed project. These
additional consultation and coordination efforts include the following:
                       State Coastal Zone Management Program consistency
                       National Historic Preservation Act
                       The Wild and Scenic Rivers Act
                       The Fish and Wildlife Coordination Act
                       Endangered Species Act Consultation
                       Essential Fish Habitat Consultation
                       Consideration of Clean Water Act Section 401
                       Marine Mammal Protection Act Coordination


7.1 State Coastal Zone Management Program Consistency
Coastal Zone Management Act (CZMA), 16 U.S.C. 1451 et seq. was enacted to protect the
Nation's coastal zone and is implemented through state-federal partnerships. Section 307(c) of
CZMA prohibits the issuance of NPDES permits for activities affecting land or water use in
coastal zones unless the permit applicant certifies that the proposed activity complies with the
state coastal zone management program. 14


Issuing a NPDES permit and Section 10 authorization for the VE project is a federal action that
requires compliance with the CZMA, therefore the applicant is required to certify that their
proposed project complies with the State of Florida’s Coastal Zone Management Program. On
February 25, 2019, the applicant received CZMA concurrence from the State of Florida for the
proposed project. Agency coordination letters and correspondences related to CZMA are
provided in Appendix H.


7.2 National Historic Preservation Act
Under 16 U.S.C. 470 et seq. Section 106 of the Act and implementing regulations (36 CFR Part
800) require the Regional Administrator, before issuing a license (permit), to adopt measures
when feasible to mitigate potential adverse effects of the licensed activity and properties listed or
eligible for listing in the National Register of Historic Places. The Act's requirements are to be
implemented in cooperation with state historic preservation officers and upon notice to, and
when appropriate, in consultation with the Advisory Council on Historic Preservation.



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     Cited from https://www.epa.gov/npdes/other-federal-laws-apply-npdes-permit-program



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During the permitting process for the proposed project the applicant coordinated with the State
Historic Preservation Office (SHPO) in Florida to ensure compliance with National Historic
Preservation Act (NHPA). In a letter dated February 8, 2019, the SHPO provided concurrence
that the project will have no effect on historic properties. Agency coordination letters and
correspondences related to NHPA are provided in Appendix H.


7.3 The Wild and Scenic Rivers Act
Under 16 U.S.C. 1273 et seq. Section 7 of the Act prohibits the Regional Administrator from
assisting by license or otherwise the construction of any water resources project that would have
a direct, adverse effect on the values for which a national wild and scenic river was established.
The proposed project selected site is located on the west Florida Shelf, approximately 45 miles
west, southwest of Longboat Pass-Sarasota Bay, Florida in federal waters. It is not expected that
this project will impact any wild and scenic rivers.


7.4 Fish and Wildlife Coordination Act
Under 16 U.S.C. 661 et seq. - the Regional Administrator, before issuing a permit proposing or
authorizing the impoundment (with certain exemptions), diversion, or other control or
modification of any body of water, consult with the United States Fish and Wildlife Service,
Department of the Interior, and the appropriate state agency exercising jurisdiction over wildlife
resources to conserve those resources.


The EPA has coordinated with the FWS to ensure compliance with the Fish and Wildlife
Coordination Act. The EPA invited thee FWS to participate as a cooperating agency for the
development of this EA for the proposed project on November 7, 2018. Agency coordination
letters and correspondences related to Fish and Wildlife Coordination Act are provided in
Appendix H.


7.5 Section 7 Endangered Species Act Coordination
16 U.S.C. 1531 et seq. Section 7 of the ESA requires that federal agencies consult with the ESA
administering services to ensure that any projects authorized, funded, or carried out by them are
not likely to jeopardize the continued existence of any endangered species or threatened species,
or result in the destruction or adverse modification of critical habitat of such species. The ESA
requires federal agencies to consult with the appropriate administrative agency (NMFS, USFWS,
or both) when proposing an action that may affect threatened or endangered species or critical
habitat. Consultations are necessary to determine the potential impacts of the proposed action.
They are concluded informally when proposed actions may affect but are “not likely to adversely
affect” threatened or endangered species or designated critical habitat. Formal consultations,
resulting in a biological opinion, are required when proposed actions may affect and are “likely
to adversely affect” threatened or endangered species or adversely modify designated critical
habitat.




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The EPA consulted with FWS and NMFS on potential impacts to endangered and threatened
species. The EPA concluded the required consultations with the USFWS on August 27, 2019 and
NMFS on September 30, 2019. Consultation letters are included in Appendix D of this EA.


7.6 Essential Fish and Habitat Consultation
Essential Fish Habitat Provisions of the Magnuson-Stevens Act - EFH promotes the protection of
essential fish habitat in the review of projects conducted under federal permits, licenses, or other
authorities that affect or have the potential to affect such habitat. EFH requires that the EPA
consult with the NMFS for any EPA-issued permits which may adversely affect essential fish
habitat identified under the Magnuson-Stevens Act.


An EFH assessment was jointly prepared by the EPA and the USACE. On March 8, 2019, the
EPA provided the EFH assessment to the NMFS and initiated abbreviated consultation with the
NMFS. On March 12, 2019, the NMFS concurred with the EFH determination made by the EPA
and the USACE. After completion and concurrence of the assessment, minor changes were made
to the EFH document, though the updates did not change the findings of the assessment. On
August 2, 2019 EPA provided the updated EFH assessment to NMFS for concurrence.
Consultation with NMFS on these changes will occur during the public comment period (See
Appendix E).


7.7 Clean Water Act Section 401
Under Section 401 of the Clean Water Act, a federal agency cannot issue a permit or license for
an activity that may result in a discharge to waters of the U.S. until the state or tribe where the
discharge would originate has granted or waived Section 401 certification. Section 401
certification provides states and authorized tribes with an effective tool to help protect state or
tribal aquatic resources. The state or tribe in which the discharge originates, in exercising Section
401 certification authority, decides whether the licensed or permitted activity will be consistent
with certain CWA provisions, including the state or tribe’s water quality standards. The state or
tribe may grant, condition, deny or waive certification. Under Section 401(d), the licensing or
permitting agency must include in the license or permit any conditions identified by the state or
tribe as necessary to ensure compliance with the relevant CWA provisions as well as appropriate
requirements of state or tribal law.


The proposed facility is located approximately 45 miles west, southwest of Longboat Pass-
Sarasota Bay, Florida. For purposes of the CWA, state waters extend three miles from shore.
Accordingly, CWA Section 401 certification is not required because the proposed discharge does
not originate in any state or tribal waters.


In addition to the state or tribal certification requirement for the state or tribe in which the
discharge originates, Section 401 of the CWA also requires the EPA, if a proposed discharge
may affect the quality of the waters of any other state or tribe (e.g., if the discharge may affect
waters of a state or tribe that is nearby or downstream from the state or tribe in which the
discharge originates), to notify such other state or tribe. The state or tribe, so notified, then has an
opportunity to submit its views or objections to the proposed license or permit, and to request a

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public hearing. While the EPA is obligated to condition any permit on compliance with the water
quality standards of any affected state or tribe, in the case of a nearby or neighboring state or
tribe, it is not required to adopt any conditions requested by the state or tribe. In this case, the
EPA has determined, based on a review of the application and other relevant information,
including the location and nature of the proposed discharge, that the proposed discharge will not
affect the water quality of any neighboring state or tribal waters.


7.8 Marine Mammal Protection Act
The Marine Mammal Protection Act (MMPA) established a moratorium, with certain
exemptions(see sec. 101 and 118), on the taking of marine mammals in U.S. waters and by U.S.
citizens on the high seas, and on the importing of marine mammals and marine mammal products
into the United States. Under the MMPA, the Secretary of Commerce (authority delegated to
NOAA Fisheries) is responsible for the conservation and management of cetaceans and
pinnipeds (other than walruses). The Secretary of the Interior is responsible for walruses, sea and
marine otters, polar bears, manatees, and dugongs.


Part of the responsibility NOAA Fisheries has under the MMPA involves monitoring populations
of marine mammals to ensure that they stay at optimum levels. If a population falls below its
optimum level, it is designated as “depleted,” and a conservation plan is developed to guide
research and management actions to restore the population to healthy levels.


Currently, the applicant is assisting by partnering with NMFS SERO to develop a marine
mammal monitoring plan to collect data to better inform the risks associated with this type of
aquaculture operation to marine mammals and, thus, help determine how better to categorize this
type of aquaculture operation on future letter of authorization (LOA). The applicant will carry
onboard a current MMAP certificate (Southeast MMP Authorization Certificate 2019
https://www.fisheries.noaa.gov/national/marine-mammal-protection/marine-mammal-authorization-
program) and report any marine mammal injuries to NMFS within 48 hours to comply with
Section 118 of the MMPA.




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9.0      Public Notice
The EPA provided the public an opportunity to review and comment on this EA during a 30-day
public comment period. On August 30, 2019, the EPA released for public notice and comment a
draft NPDES permit, a draft EA to comply with the NEPA, and other associated documents for
the proposed project. 15 The first public comment period lasted for 30-days and ended on
September 30, 2019.

On December 12, 2019, EPA released a notice of public hearing and extended the public
comment period regarding the proposed issuance of a NPDES permit and supporting documents.
On January 18, 2020, EPA published a public notice as a reminder of the public hearing. A
public hearing was held on January 28, 2020. The second public comment period ended on
February 4, 2020 and lasted for 54 days. The public was able to submit comments orally or in
writing at the public hearing or by submitting written comments to EPA.

In accordance with 40 CFR § 124.17, EPA must issue a response to comment (RTC) document
at the time of the final permit decision. The RTC is required to have certain information: 1)
specify any provisions of the draft permit that have been changed in the final permit and the
reason for the change; and 2) briefly describe and respond to all significant comments on the
draft permit and supporting documents raised during the public comment period including the
public hearing. Additionally, the implementing regulations for NEPA require the EPA to respond
to all substantive comments received on the preliminary FONSI (40 CFR § 6.206(f)).

EPA received approximately 44,500 comments from various interested individuals and parties
during the public comment period. In addition to written comments, EPA received about 50
verbal comments during the public hearing. Written and verbal comments were provided by
national, regional, and local non-governmental organizations; 16 university and research
organizations; 17 aquaculture associated organizations; 18 fishing groups; 19 and federal, state, and
local governments. 20

15
   In accordance with 40 CFR § 124.10, the public notices were published on EPA’s website and in the Sarasota Herald-Tribune,
and sent to the applicant, federal and state agencies, and various interested parties.
16
   Non-government organizations included: C.A. Goudey & Associates, Center for Biological Diversity, Center for Food Safety,
Citizens of Sarasota County, Clean Water Tribe, Community Alliance for Global Justice, Cuna Del Mar, Environmental
Confederation of Southwest Florida, Farmworker Association of Florida, Friends of Animals, Friends of the Earth, Food and
Water Watch, Green Justice Legal, Gulf Fisheries Management Council, Hands Along the Water, Healthy Gulf, Mansoatta-88,
National Family Farm Coalition, Northwest Atlantic Marine Alliance, Ocean Conservation Research, Paradise Cove Association,
Potesta & Associates, Sierra Club, Siesta Key Association, Sarasota County Council of Neighborhood Associations, Solutions to
Avoid Redtide, Stocking Savvy Environmental Consulting, Suncoast Waterkeeper, and Wildlife Law Center.
17
   Universities and research organizations included: Coonamessett Farm Foundation, Mote Marine Laboratory, University of
Miami, and University of South Florida.
18
   Aquaculture associated groups: Aquaculture Consulting Services, Aquarium of the Pacific, Florida Aquaculture Association,
Manna Fish Farms, National Aquaculture Association, Recirculating Farms Coalition, and Sanibel-Captiva Conservation
Foundation Marine Laboratory.
19
   Fishing associated groups: Bonefish and Tarpon Trust, Fish for America USA, Kirk Fishing Company, and Live Advantage
Bait.
20
   Government entities included: City of Naples, City of Sarasota, City of Sanibel, Florida Department of State, Lee County
Natural Resources, Mississippi-Alabama Sea Grant Consortium, and Siesta Key Chamber of Commerce.



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The EPA’s responses to significant public comments received on the proposed draft NPDES
permit, draft EA and FONSI, and all supporting documents can be found in the RTC. The EPA
has addressed all significant issues raised during the public comment period. Where multiple
comments were received on similar topics, the comments are grouped together and summarized.
Excerpts from some comments have been included to provide context. All comments are part of
the administrative record.




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10.0 Preparers
This EA was prepared by the EPA Region 4 Office with the assistance of personnel from
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Appendix A –Baseline Environmental Survey
Appendix B – Cage/Pen Design
Appendix C – ODC Evaluation
Appendix D – ESA Consultation Documents
Appendix E – EFH Consultation Documents
Appendix F – CASS Technical Reports
Appendix G – Preliminary Finding of No Significant Impact
Appendix H - State Consultations (Section 106/CZMA)




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         Appendix A
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                                 Updated - Final

                  Baseline Environmental Survey Report

                                       For the

                           Velella Epsilon Project

  Pioneering Offshore Aquaculture in the Southeastern Gulf of Mexico

              NOAA Sea Grant 2017 Aquaculture Initiative




                                    Submitted to:

                  U.S. Environmental Protection Agency (EPA) Region 4
              National Pollutant Discharge and Elimination System (NPDES)
                            Permitting and Enforcement Branch


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                                   November 2018
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  Appendix A



  Appendix B           Submerged Cultural Resource Data Analysis Letter Report For: The Velella Epsilon
                      Project Pioneering Offshore Aquaculture in the Southeastern Gulf of Mexico
                      Atlantic Research, Inc.




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        The Velella Epsilon Project            Baseline Environmental Survey
  1.0    Description of the Survey Area & Project Overview

  The project area is in the Gulf of Mexico (GOM) in approximately 40m water depth off southwest
  Florida, generally located 45 miles southwest of Sarasota, Florida. Figure 1 provides the
  location of two alternative site locations (Site A and Site B), originally under consideration.
  APTIM Environmental and Infrastructure, Inc. (APTIM) was subsequently hired by Kampachi
  Farms, LLC to conduct a geophysical baseline survey of the proposed site locations for siting
  the VE Project demonstration aquaculture farm. Contents of the APTIM Geophysical Survey
  Report to Kampachi Farms, LLC have been summarized, reorganized, and augmented to fulfil
  the requirements of the Baseline Environmental Survey Guidance and Procedures for Marine
  Aquaculture Activities in U.S. Federal Waters of the Gulf of Mexico, October 24th, 2016. The
  original APTIM report; Results of Baseline Geophysical Survey for the Siting of Aquaculture
  Operations in the Gulf of Mexico, is provided in Appendix A.

  Tidewater Atlantic Research, Inc. (TAR) was subsequently hired by Kampachi Farms, LLC to
  conduct the marine archaeological review and analysis of the geophysical baseline survey data.
  The original TAR report; Submerged Cultural Resource Data Analysis Letter Report For: The
  Velella Epsilon Project Pioneering Offshore Aquaculture in the                             , is
  provided in Appendix B.

  The purpose of the geophysical investigation was to characterize the sub-surface and surface
  geology of the sites and identify areas with a sufficient thickness of unconsolidated sediment
  near the surface while also clearing the area of any geohazards and structures that would
  impede the implementation of an aquaculture operation. The geophysical survey for the VE
  Project consisted of collecting single beam bathymetry, side scan sonar, sub-bottom profiler
  (seismic reflection), and magnetometer data within the GOM at Sites A and B. Each site was
  defined as approximately 1.3 x 1.3 nautical miles (nm; 1.7-square nm-site areas) which was
  filled with 200m (meters) spaced survey lines, running north/south, as well as two tie lines
  running east/west.

  Site #A:
         Location              Latitude              Longitude
         Top Left              27.087752° N          -83.218684° W
         Top Right             27.086662° N          -83.178426° W
         Bottom Left           27.051718° N          -83.219894° W
         Bottom Right          27.050629° N          -83.179649° W
  Site #B:
         Location              Latitude              Longitude
         Top Left              27.145665° N          -83.258456° W
         Top Right             27.144584° N          -83.218175° W
         Bottom Left           27.109629° N          -83.259656° W
         Bottom Right          27.108550° N          -83.219389° W
  Water depths across each of these areas ranged from a minimum depth of 38.3m to a
  maximum depth of 42.6m.




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                      Figure 1. Proposed Alternative Site Locations for the VE Project




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  3.0    Description of the Field Survey Methodology

  3.1    Navigation System
  Navigational, magnetometer, and depth sounder systems were interfaced with an onboard
  computer, and the data w
  software. Hypack 2017® is a state-of-the-art navigation and hydrographic surveying system.
  The location of the fish tow-point or transducer mount on the vessel in relation to the Trimble
  DGPS was measured, recorded and entered into the Hypack 2017® survey program. The
  length of cable deployed between the tow-point and each towfish was also measured and
  entered into Hypack 2017®. Hypack 2017® then takes these values and monitors the actual
  position of each system in real time. Online screen graphic displays include the replotted
  survey lines, the updated boat track across the survey area, adjustable left/right indicator, as
  well as other positioning information such as boat speed, and line bearing. The digital data are
  merged with the positioning data (Trimble DGPS), video displayed and recorded to the


  The navigation and positioning system deployed for the geophysical survey was a Trimble®

  Pro Beacon receiver provided DGPS correction from the nearest U.S. Coast Guard Navigational
  Beacon. The DGPS initially receives the civilian signal from the global positioning system
  (GPS) NAVSTAR satellites. The locator automatically acquires and simultaneously tracks the
  NAVSTAR satellites, while receiving precisely measured code phase and Doppler phase shifts,
  which enables the receiver to compute the position and velocity of the vessel. The receiver
  then determines the time, latitude, longitude, height, and velocity once per second. The GPS
  accuracy with differential correction provides for a position accuracy of one (1) to four (4) feet
  during most of the operations.         This is within the accuracy needed for geophysical
  investigations.

  3.2    Survey Instrumentation
         3.2.1   Single Beam Bathymetry
  The bathymetric survey was conducted using an ODOM Echotrac MKIII sounder with a 200 kHz
  transducer pole mounted on the port side of the on the R/V Eugenie Clark. A TSS DMS-05
  dynamic motion sensor was used to provide attitude corrections. For Quality Assurance/Quality
  Control and data reduction purposes, APTIM water level recorder data, and NOAA water level
  data were used to verify and/or correct onboard bathymetric readings.

  Upon completion of the field work, data were edited and reduced using Hypack 2017® using
  Single Beam Max application. Water level corrected data were exported and a comma delimited
  XYZ file was created. All overlapping profile data were compared in cross section format to
  ensure system accuracy. For surface and map creation the final XYZ data files were processed
                                          for interpolation and grid creation. ER
  was used for final interpolation and presentation.

         3.2.2   Sidescan Sonar
  Sidescan sonar data were collected to verify the location and extent of the surficial
  unconsolidated sediment and to map ocean bottom features such as benthic habitats, exposed
  pipelines, cables, underwater wrecks, potential cultural resources, etc. APTIM utilized a dual
  frequency EdgeTech 4200® sidescan sonar, which uses a full-spectrum chirp technology to
  deliver wide-band, high-energy pulses coupled with high resolution and good signal to noise
  ratio echo data. The sonar package includes a portable configuration with a laptop computer
                                                            dual frequency (300/600 kHz) towfish
  running in high definition mode. The EdgeTech 4200® has a maximum range of 754ft (230 m)
  to either side of the towfish at the 300kHz frequency and 394ft (120 m) to either side of the
  towfish at the 600kHz frequency.


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  Post processing of the sidescan sonar data was completed using Chesapeake Technology,
        SonarWiz 7® software. This software allows the user to apply specific gains and settings
  in order to produce enhanced sidescan sonar imagery that can be interpreted and digitized for
  specific seafloor features, including potential areas indicative of consolidated and
  unconsolidated sediment Post collection processing of the sidescan sonar data were completed
  using Chesapeake Technology,                        ® software. This software allows the user to
  apply specific gains and settings in order to produce enhanced sidescan sonar imagery that can
  be interpreted and digitized for specific benthic habitat features and debris throughout the study
  area. The first step in processing was to import the data into the software and bottom track the
  data. This is achieved using an automated bottom tracking routine and in some cases done
  manually. This step provides the data with an accurate baseline representation of the seafloor
  and eliminates the water column from the data.

  Once the data were bottom tracked, they were processed to reduce noise effects (commonly
  due to the vessel, sea state, or other anthropogenic phenomenon) and enhance the seafloor
  definition. All of the sidescan sonar data utilized empirical gain normalization (EGN). An
  empirical gain normalization table was built including all of the sidescan sonar data files. Once
  the table was built it was applied to all of the sidescan sonar data. EGN is a relatively new gain
  function that works extremely well in most situations and can be considered a replacement for
  Beam Angle Correction (BAC). EGN is a function that sums and averages up all of the sonar
  amplitudes in all pings in a set of sonar files by altitude and range. The amplitude values are
  summed and averaged by transducer (port and starboard) so there are actually two tables. A
  given sonar amplitude sample is placed in a grid location based on the geometry of the ping.
  On the x-axis of the grid is range, and on the y-axis of the grid is altitude. The resulting table is
  used to work out the beam pattern of sonar by empirically looking at millions of samples of data.

  After processing each line, the data were inspected and interpreted for the location and extent
  of unconsolidated sediment as well as ocean bottom features such as benthic habitats, exposed
  pipelines, cables, underwater wrecks, potential cultural resources, etc. All geologic features and
  sediment boundaries were digitized in SonarWiz 7® by encapsulating the feature into a
  geographically referenced polygon/polyline shapefile for integration into ArcGIS®.

         3.2.3   Sub-Bottom Profiler
  An EdgeTech 3200® sub-bottom profiler with a 512i towfish was used to collect the high-
  resolution seismic reflection profile data. This system is a versatile wideband frequency
  modulated (FM) sub-bottom profiler that collects digital normal incidence reflection data over
  many frequency ranges within the 0.5kHz                                                   This
  instrumentation generates cross-sectional images of the seabed capable of resolving bed
  separation resolutions of 0.06m to 0.10m (depending on selected pulse/ping rate). The tapered
  waveform spectrum results in images that have virtually constant resolution with depth. The
  data were collected and recorded in the systems native, EdgeTech® .jsf format. The seismic
  system was monitored and adjusted, if needed, in real-time to use the optimal settings for
  environmental, oceanographic and geologic conditions in order to ensure the highest quality
  data is being collected. Navigation and horizontal positioning for the sub-bottom system were
  provided by the Trimble® DGPS system via Hypack® utilizing the Hypack® towfish layback
  correction. The chirp sub-bottom profiler was operated using a pulse with a frequency sweep of
  1.0 kilohertz (kHz) to 10.0kHz with a 5 millisecond (ms) pulse length. The system was set to
  ping at a rate of 7 hertz (Hz) and was run with a 60% pulse power level.

  Post-collection processing of the chirp sub-bottom profiler data was completed using
  Chesapeake                                   z 7® software. This software allows the user to apply
  specific gains and settings in order to produce enhanced sub-bottom imagery that can then be
  interpreted and digitized for specific 4 stratigraphic facies relevant to the project goals. The data
  were continuously bottom-tracked to allow for the application of real-time gain functions in order
  to have an optimal in-the-field view of the data.


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  Raw *.jsf files were imported into SonarWiz 7® and the data were then bottom tracked, gained
  and swell filtered. The process of bottom tracking uses the high-amplitude signal associated
  with the seafloor to map it as the starting point for gains and swells. Swell filtering is a ping
  averaging function, which allows for the elimination of vertical changes caused from towfish
  movement produced from changes in sea state. The swell filter was increased or decreased
  depending on the period and frequency of the sea surface wave conditions and special care
  was taken not to over-smooth and eliminate features on the seafloor. Time-varying gain (TVG)
  was applied and manipulated to produce a better image (contrasts between low and high return
  signals) below the seafloor to increase the contrast within the stratigraphy, and increase the
  amplitude of the stratigraphy with depth, accounting for some of the signal attenuation normally
  associated with sound penetration over time. A blank-water column function was also applied to
  eliminate any features such as schools of fish under the chirp system which could produce
  noise within the water column.

         3.2.4   Magnetometer
  A Geometrics G-882 Digital Cesium Marine Magnetometer was used to perform a cursory
  investigation of the magnetic anomalies within the study area. The magnetometer runs on
  110/220 volts alternating current (VAC) power and capable of detecting and aiding the
  identification of any ferrous, ferric or other objects that may have a distinct magnetic signature.
  Factory set scale and sensitivity settings were
  nanotesla or gamma]. Typically 0.02 nT P-P [P-P = peak to peak] at a 0.1 second sample rate
  or 0.002 nT at 1 second sample rate). Sample frequency is factory-set at up to 10 samples per
  second. The magnetometer was towed in tandem with the sidescan system at an altitude of no
  greater than 6 meters (m) above the seafloor, per BOEM regulations, and far enough from the
  vessel to minimize boat interference since the instrument has a sensitivity of 1 gamma. The
  tandem systems were attached to a marine grade hydraulic winch to adjust for changes in the
  seafloor and maintain an altitude of no greater than 20 feet (ft; 6m) above the seafloor.
  Navigation and horizontal positioning for the magnetometer were provided by the Trimble®
  DGPS system via Hypack® utilizing the Hypack towfish layback correction. Magnetometer data
  were recorded in .raw Hypack® file format.

                                                                                      ®
  MagEditor software to identify any potential magnetic anomalies. In order to normalize the
  magnetic field and select anomalies with the finest data resolution possible, the background
  magnetic field and background noise was adjusted to negate for diurnal variations. Within
  MagEditor, the diurnal magnetic readings were duplicated and cropped. The cropped data were
  then deducted from the original gamma readings to normalize the magnetometer data from any
  diurnal variations. Anomalies were then selected with the Whole Magnetic Analysis tool,
  accounting for the distance over ground, time elapsed, the minimum and maximum gamma
  readings and the total peak to peak gamma readings.

  3.3    Survey Vessel
         3.3.1   Vessel Description
  The R/V Eugenie Clark (Photograph 1) is a shallow-water hydrographic survey vessel owned
  and operated by Mote Marine Laboratory. Based out of Sarasota, FL, the R/V Eugenie Clark
  has operated on a number of offshore and nearshore surveys along the gulf coast of Florida. It
  is a 46 ft fiberglass hulled vessel with a 16 ft beam and 3.3 ft draft. The vessel is equipped with
  twin inboard C7 Caterpillar Diesel engines (470 HP each), a Northern Lights 12KW Marine
  generator (120/208V), an A-Frame, and twin hydraulic 2 winches. With a cruising speed of 17
  knots (kts) and a maximum speed of 20kts, the R/V Eugenie Clark was an efficient vessel,
  which allowed for quick transit between survey areas, and fulfilled the necessary requirements
  for survey operations.



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   Photograph 1. Survey Vessel R/V Eugenie Clark used for the VE Project BES

         3.3.2   Sensor Configuration and Set-backs
  The geophysical survey consisted of collecting single beam bathymetry, side scan sonar, sub-
  bottom profiler (seismic reflection), and magnetometer data (Photograph 2). The instrument
  set-backs identify the distances from the zero mark (vessel GPS) to each of the towed/mounted
  systems. As such, the system set-backs were measured from the GPS antenna (placed on
  vessels Port side on the second deck) to each of the towpoints/mounted instruments and
  inputted into the system set-up in Hypack®. Sidescan sonar and seismic sub-bottom had an
  additional offset length of cable out from the towpoint to the instrument. The magnetometer
  position was based on the sidescan sonar offset, and was set-back with an additional 20 ft of
  cable (i.e., the magnetometer was set-back 20 ft behind the sidescan sonar). The raw data for
  each survey system was recorded with the layback (set-back) already corrected during
  navigation (Table 1).




                  Photograph 2. Sensors Deployed during the BES Fieldwork




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          Table 1. Summary System Set-backs (Offsets) Used during the BES Fieldwork

                      System               X Offset (ft)     Y Offset (ft)       Z Offset (ft)
        Vessel GPS (zero)                          0                  0               -15.5
        Odom/Hydrotrack-mounted                 -3.2               -5.5                   0
        Motion Reference Unit- mounted           2.5               15.3               -15.5
        Chirp-towed                             10.4              -13.6                -3.3
        SSS-towed                                2.7                -18                -7.4

  3.4      Vessel Speed and Course Changes
  The survey began with the APTIM crew mobilizing the R/V Eugenie Clark on August 12, 2018,
  at the Mote                                       Florida. Once the vessel was mobilized, it
  began its transit to the survey sites on August 14, 2018, and collected geophysical data
  between August 14, 2018, and August 15, 2018. Average vessel speeds during the surveys
  ranged from 4 kts to 7 kts.

  3.5      Sea State and Weather Conditions
  Weather conditions were characterized as relatively calm sunny days and mild breezes with
  winds at approximately 5 to 10kts. Air temperatures ranged from 75 degrees Fahrenheit (°F) to
  90°F, and sea temperatures between 85.5°F and 86.5°F. Seas were calm with swells at
  approximately 2ft on both survey days.

  3.6      Original Daily Survey Operation Logs and Sensor Tow Depths
  Due to their file size (>18.3 GB), the original daily survey logs will be made available digitally
  upon request. These files also include the sensor height for each towed system off the seafloor
  for the beginning and end of each survey trackline (Table 2). On average, the magnetometer
  and the sidescan sonar tows were maintained at relatively constant depths from the seafloor of
  6m and 12m; respectively. The sub-bottom profiler was maintained within a range of depths
  from the seafloor of approximately 14m to 21m, based on trackline bathymetry.

  3.7      Description of Survey Procedures
  During survey operations, APTIM personnel reviewed the data in real time, in order to establish
  a basic site characterization and determine any structures or geology that would impede the
  development of an aquaculture operation. APTIM began by collecting seismic sub-bottom,
  sidescan sonar, magnetometer and bathymetric data along four (4) tracklines at a wide spacing
  of 1968 ft (600 m) at Site A. Based on the data collected, it was evident that the area contained
  more consolidated sediments (i.e. hardbottom) near the seafloor and very little unconsolidated
  sediments (such as sands or siltier sands) at Site A.

  APTIM communicated these preliminary findings to the Kampachi, LLC, Project Manager on the
  evening of Tuesday, August 14, 2018 and a collective decision was made to move to Site B to
  determine if Site B contained more unconsolidated than consolidated sediments. APTIM began
  collecting seismic sub-bottom, sidescan sonar, magnetometer and bathymetric data along three
  (3) tracklines at a wide spacing of 1968 ft (600 m) at Site B and reviewed the data in real time.
  Based on the data collected, it was evident that the south eastern portion of the Site B survey
  area contained more unconsolidated sediments (such as sands or siltier sands). As a result of
  this information, APTIM revised the survey area and collected approximately 27 nautical miles
  (nm) (46 line kilometers [km]) of data in a roughly 1.6nm x 1.4nm (3.0 km x 2.5 km) area,
  targeting an area with a thicker (2 to 8ft) surficial layer of unconsolidated sediments near the
  seafloor in the south eastern portion, and mostly outside of Site B (here forward referred to as
  Modified Site B). A total of 16 tracklines were surveyed within this area (Figure 2). The depth
  profiles are illustrated in Figure 3.

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                            Table 2. Sensor Heights off the Seafloor for Start and End of each Survey Trackline

            Start          Start         Sidescan          Mag        Sub-bottom           End             End           Sidescan          Mag        Sub-bottom
 Line
           Latitude      Longitude      Altitude (m)   Altitude (m)   Altitude (m)       Latitude        Longitude      Altitude (m)   Altitude (m)   Altitude (m)

Number   (DD MM.mmm')   (DD MM.mmm')       SOL            SOL             SOL        (DD MM.mmm')      (DD MM.mmm')        EOL            EOL            EOL

 100       27° 5.270'    -83° 13.118'       17              9              23           27° 3.079'       -83° 13.188'       14             11             23
 103       27° 5.277'    -83° 12.769'       18             13              23           27° 3.091'       -83° 12.821'       16             13             24
 106       27° 5.247'    -83° 12.382'       11              9              20           27° 3.061'       -83° 12.464'       14             11             21
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 109       27° 5.256'    -83° 12.043'       17             13              22           27° 3.070'       -83° 12.090'       17             14             23
 170       27° 8.689'    -83° 13.097'       14              7              22           27° 6.492'       -83° 13.161'       11              9             19
 210       27° 8.157'    -83° 15.523'       16             13              22           27° 8.058'       -83° 12.500'       13             11             20
 211       27° 7.169'    -83° 15.582'       14             13              23           27° 7.089'       -83° 13.136'       16             12             21
211_1      27° 7.093'    -83° 13.321'       21             15              25           27° 7.059'       -83° 12.177'       16              7             20
211_2      27° 7.032'    -83° 11.634'       14              5              22           27° 7.061'       -83° 12.359'        8              7             15
 311       27° 7.916'    -83° 13.480'       17             11              20           27° 6.527'       -83° 13.534'       15             11             25
 312       27° 7.897'    -83° 13.368'        9              5              16           27° 6.498'       -83° 13.403'        7              4             16
 313       27° 7.905'    -83° 13.238'       14              8              22           27° 6.498'       -83° 13.282'        9              6             17
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 315       27° 7.902'    -83° 12.995'       16             10              19           27° 6.510'       -83° 13.038'       13              9             20
 316       27° 7.904'    -83° 12.878'       15             10              20           27° 6.508'       -83° 12.925'       13             11             22
 317       27° 7.883'    -83° 12.758'        9             6.5             17           27° 6.483'       -83° 12.806'        9              6             18
 318       27° 7.883'    -83° 12.643'        8              5              16           27° 6.473'       -83° 12.685'       12              6             21
 319       27° 7.901'    -83° 12.508'       12              8              18           27° 6.496'       -83° 12.558'       11              8             19
 320       27° 7.896'    -83° 12.395'       12              9              20           27° 6.492'       -83° 12.450'       13              9             20
 321       27° 8.398'    -83° 12.288'       16              8              18           27° 6.445'       -83° 12.318'       11              9             23
 322       27° 7.889'    -83° 12.151'       14             10              20           27° 6.480'       -83° 12.191'       13              9             20
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 323       27° 7.886'    -83° 12.027'       15             10              19           27° 6.484'       -83° 12.068'       12             11             21
 324       27° 7.862'    -83° 11.911'        9              4              15           27° 6.460'       -83° 11.958'        9              5             16
 325       27° 7.866'    -83° 11.792'       15              6              21           27° 6.457'       -83° 11.835'        8              5             16
 326       27° 7.878'    -83° 11.666'       15             11              21           27° 6.470'       -83° 11.710'       14             12             21
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                    Figure 2. Survey Tracklines Conducted during the BES Fieldwork

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                    Figure 3. Single Beam Bathymetry Conducted at Modified Site B during the BES Fieldwork

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  Modified Site #B:
         Location                Latitude                Longitude
         Top Left                27.131143° N            -83.224303° W
         Top Right               27.130512° N            -83.193872° W
         Bottom Left             27.107230° N            -83.194890° W
         Bottom Right            27.108377° N            -83.225442° W
  During the processing of the sidescan sonar data, no contacts or targets were identified in the
  entire survey area, indicating that the seafloor is free of any exposed pipelines, marine debris,
  underwater wrecks, potential cultural resources, etc. Only two types of bottom textures were
  identified throughout the study area (Figure 4). In order to characterize the two surficial
  sediment types, sidescan sonar data were compared to the seismic isopach (i.e., sub-bottom
  profiler data). Upon careful examination of the two data types, it was evident that areas with
  high intensity backscatter and sand ripples (Texture 1) correlated to areas with exposed
  consolidated sediments or a thin layer of unconsolidated sediments (upper portion of Figure 3).




           Figure 4. Example of Surface Sediment Types Identified from the BES Fieldwork

  The second texture (Texture 2), consisted of a medium intensity backscatter, and correlated
  with a thick unconsolidated sediment layer (lower portion of Figure 3) in the seismic data (i.e.,
  sub-bottom profiler data). Geologists typically utilize the backscatter intensity, distribution, and
  texture to make educated interpretations as to the location of consolidated and unconsolidated
  sediments; however, these interpretations are based solely on the acoustic interpretation. As
  such, additional investigation (i.e., ground-truthing or surface samples) may be required in order
  to characterize the sediment properties, as deemed necessary.

  No survey difficulties or problems were encountered during the deployment; operations; or data
  capture, analysis, and interpretation from any of the sensor systems that would affect the ability
  APTIM, TAR, or Kampachi investigators to determine the potential for the presence of hazards,
  debris, human activities (i.e., oil/gas structure, artificial reefs), and biological and archaeological
  resources in the survey area.

  3.8    Explanation of Problems
  None were encountered.

  4.0    Navigational Post Plot

  4.1    Sub-Bottom Profiler Data Analysis
  Bottom tracked chirp sub-bottom profile lines were opened to digitally display the recorded
  subsurface stratigraphy. Given the large extent of the consolidated sediment layer, data
  interpretation consisted of highlighting the top of consolidated sediment layer which was
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  generally associated with the layer causing the blanking of the seismic signal impeding the
  penetration of the chip pulse further below the seafloor. The green line in Figure 5 indicates the
  digitized consolidated sediment boundary with unconsolidated sediments above.




  Figure 5. Seismic Line 324 from Modified Site B Trending North (left) to South (right) (APTIM 2018)

  The stratigraphic reflector that best correlated with this layer was digitized by digitally clicking on
  the reflector within SonarWiz to create a color-coded boundary. This boundary appears on the
  subsequent chirp sub-bottom imagery (see Figure 5) to allow for an easy, visual reference for
  the boundary between consolidated and unconsolidated material.

  Figure 6 illustrates areas of high intensity backscatter (i.e., consolidated sediments, or thin
  unconsolidated sediments encompassed in green) that are mostly located on the outer edges of
  the revised study area, indicating that the thicker unconsolidated layer is located mostly in the
  central portion of the investigation area. As previously mentioned, no contacts were identified
  within the area therefore no additional features were plotted onto the map.

  The SonarWiz® boundary was used to compute the thickness of the unconsolidated deposit by
  calculating the distance between the digitized seafloor and the digitized top of consolidated
  sediment boundary. Once the seismic data were reviewed in SonarWiz 7®, the thickness (xyz)
  of the unconsolidated sediment unit was imported into Surfer 13 and gridded to create an
  interpolated surface depicting the general trend of sand deposits within the area. This isopach
  was then imported into ArcMap® 10.6 to compare to the digitized sidescan sonar
  interpretations. Some of the thicker areas digitized throughout the area appear to be isolated
  depressions (Figure 7) where the consolidated sediment has deepened allowing for more
  unconsolidated sediment to be deposited. Seismic Line 323 (trending south to north) illustrates
  an example of the deepening of the consolidated sediment layer.




  Figure 7. Seismic Line 323 from Modified Site B Trending South (left) to North (right) (APTIM 2018)


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                    Figure 6. Surface Sediment Types Identified from Modified Site B Data Analysis (APTIM 2018)

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  Figure 8 illustrates the unconsolidated sediment thickness of the surface sediments with a
  general sediment trend across the area. The central and eastern areas demonstrate a thicker
  unconsolidated sediment layer, which appears to migrate west. Statistics on the surface
  indicate that the average thickness of the area is 2.6ft, with a standard deviation (+/-) of 1.4ft.
  Maximum thickness reaches 13ft, with the minimum being zero (predominant on the western
  side).

  4.2    Sidescan Sonar and Magnetometer Data Analysis
  As previously mentioned in Section 3.7, processing of the sidescan sonar data identified no
  contacts or targets in the entire Modified Site B survey area, indicating that the seafloor is free
  of any exposed pipelines, marine debris, underwater wrecks, potential cultural resources, etc.
  Only two types of bottom textures (Texture 1, Consolidated Sediments; and Texture 2,
  Unconsolidated Sediments) were identified throughout the study area (see Figure 3).

  While no absolute criteria for identification of potentially significant magnetic and/or acoustic
  target signatures exist, available literature confirms that reliable analysis must be made on the
  basis of certain characteristics. Magnetic signatures must be assessed on the basis of three
  basic factors. The first factor is intensity and the second is duration. The third consideration is
  the nature of the signature; e.g., positive monopolar, negative monopolar, dipolar or multi-
  component. Unfortunately, shipwreck sites have been demonstrated to produce each signature
  type under certain circumstances. Some shipwreck signatures are more apparent than others.

  Large vessels, whether constructed of iron or wood, produce magnetic signatures that can be
  reliably identified. Smaller vessels, or disarticulated vessel remains, are more difficult to identify.
  Their signatures are frequently difficult, if not impossible, to distinguish from single objects
  and/or modern debris. In fact, some small vessels produce little or no magnetic signature.
  Unless ordnance, ground tackle, or cargo associated with the hull produces a detectable
  signature, some sites are impossible to identify magnetically. It is also difficult to magnetically
  distinguish some small wrecks from modern debris. As a consequence, magnetic targets must
  be subjectively assessed according to intensity, duration and signature characteristics. The
  final decision concerning potential significance must be made on the basis of anomaly
  attributes, historical patterns of navigation in the project area, and a responsible balance
  between historical and economic priorities.

  Acoustic signatures must also be assessed on the basis of several basic characteristics.
  Perhaps the most important factor in acoustic analysis is the configuration of the signature. As
  the acoustic record represents a reflection of specific target features, wreck signatures are often
  a highly detailed and accurate image of architectural and construction features. On sites with
  less structural integrity, acoustic signatures often reflect more of a geometric pattern that can be
  identified as structural material. Where hull remains are disarticulated, the pattern can be little
  more than a texture on the bottom surface representing structure, ballast, or shell hash
  associated with submerged deposits. Unfortunately, shipwreck sites have been demonstrated
  to produce a variety of signature characteristics under different circumstances. Like magnetic
  signatures, some acoustic shipwreck signatures are more apparent than others.




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                    Figure 8. Unconsolidated Sediment Thickness Isopach from Modified Site B (APTIM 2018)

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  In summary; ferrous items, detected via the magnetometer, are typically observed with an
  increased gamma intensity reading and seen as monopoles, dipoles and multi-component
  signals. These varying signals distinguish the anomalies from the natural environment.
  Anomalies identified throughout the processing and identification phase were then classified
  based on their magnetic signatures and intensity.

  Different ferrous objects emit different signal types; for example, shipwrecks and pipelines are
  normally associated with multicomponent signals and single monopole signals are normally
  associated with small objects such as crab pots and other isolated ferrous objects. Each survey
  line was viewed and interpreted in great detail for any magnetic anomalies. Throughout the
  entire survey area, APTIM recorded a total of 45 magnetometer anomalies (Figure 9). Almost
  all magnetometer hits observed throughout the survey site were minute, (less than 7 gammas
  (g)) and do not appear to be of any significant impact in the development of the area. One
  magnetometer anomaly (which was observed at over 1000g) is located outside of the Modified
  Site B survey area.
  change in the elevation of the magnetometer (Table 3).

  This assumption is based on a combination of causes: (a) the as-run track for the
  magnetometer position on that line extends itself further than the planned line so the system
  was possibly recording while it was being retrieved at the end of the day; (b) when plotting the

  significantly and eventually reaches less than 10ft which would only occur when retrieving the
  fish; and (c) the magnetometer anomaly extends itself 332ft, which makes it a significant impact
  area and given the overall type and size of anomalies in the area, this is very unexpected.

  When the fish is being retrieved, the gamma signal is constantly changing based on several
  effects,
  (pitching and rolling) while its coming up through the water column. All these factors increase
  the overall magnetic field the sensor is capturing, therefore causing a large magnetic hit
  (especially large objects like the boat). Additionally, when retrieving the geophysical equipment,
  the vessel would have had to maintain its bearing for a significant period of time so the towed
  systems would not get tangled; therefore,

  TAR provided a seasoned marine archaeologist to additionally review each identified anomaly
  and make a determination of the significant submerged cultural resources (SCR) potential, and
  therefore, classify it based on its importance using both the geophysical data collected and
  other sources that provide historical records of the area in question (see Sections 5.0 and 6.0
  below).

  4.3     Current Oil and Gas Operations
  There are no current or planned oil and gas operations (e.g., well locations, platform sites,
  and/or pipelines) in the vicinity of Site A, Site B, or Modified Site B at the time of this report
  preparation.

  4.4     Former Oil and Gas Operations
  There are no former oil and gas operations (e.g., well locations, platform sites, and/or pipelines)
  in the vicinity of Site A, Site B, or Modified Site B at the time of this report preparation.




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                    Figure 9. Magnetometer Anomalies Detected during BES Fieldwork (APTIM 2018)

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              Table 3. Magnetometer Anomalies Detected from Modified Site B (APTIM 2018)

         Anomaly ID            X Coordinate     Y Coordinate     Line No     Signature Type      Gammas        DOG       Signature
  106-1-DP-0.6g-768.69ft       263408          999787           106        1 Dipolar             0.6g        768.69ft    DP
  106-2-MC-1.1g-1219.05ft      263200          993737           106        2 Multi-Component     1.1g        1219.05ft   MC
  106-3-DP-1.9g-1694.3ft       263118          991183           106        3 Dipolar             1.9g        1694.3ft    DP
  109-1-DP-1.6g-1128.71ft      265146          993344           109        1 Dipolar             1.6g        1128.71ft   DP
  109-2-MP-0.9g-486.39ft       265277          996490           109        2 Monopolar           0.9g        486.39ft    MP
  109-3-MP-1.1g-826.66ft       265316          997929           109        3 Monopolar           1.1g        826.66ft    MP
  109-4-MP-0.9g-646.36ft       265413          1001015          109        4 Monopolar           0.9g        646.36ft    MP
  211-1-MP-1.9g-962.03ft       247156          1014649          211        1 Monopolar           1.9g        962.03ft    MP
  210-1-MP-1.4g-1880.73ft      252338          1020431          210        1 Monopolar           1.4g        1880.73ft   MP
  210-2-MP-0.8g-510.25ft       258571          1020109          210        2 Monopolar           0.8g        510.25ft    MP
  170-1-DP-1.8g-753.87ft       259787          1019498          170        1 Dipolar             1.8g        753.87ft    DP
  170-2-MP-3g-752.38ft         259637          1015659          170        2 Monopolar           3g          752.38ft    MP
  211-1-MP-1g-673.81ft         264504          1013816          211        1 Monopolar           1g          673.81ft    MP
  319-1-DP-0.8g-557.5ft        262897          1013895          319        1 Dipolar             0.8g        557.5ft     DP
  317-1-MP-1.4g-514.64ft       261534          1013526          317        1 Monopolar           1.4g        514.64ft    MP
  317-2-MP-0.6g-467.79ft       261508          1013004          317        2 Monopolar           0.6g        467.79ft    MP
  317-3-DP-3.5g-650.89ft       261479          1011686          317        3 Dipolar             3.5g        650.89ft    DP
  317-4-DP-3.2g-712ft          261450          1011002          317        4 Dipolar             3.2g        712ft       DP
  315-1-DP-0.8g-704.95ft       260169          1011279          315        1 Dipolar             0.8g        704.95ft    DP
  315-1-DP-0.6g-520.56ft       260202          1012165          315        1 Dipolar             0.6g        520.56ft    DP
  315-2-DP-0.7g-440.43ft       260266          1013511          315        2 Dipolar             0.7g        440.43ft    DP
  315-3-DP-0.4g-368.96ft       260416          1017470          315        3 Dipolar             0.4g        368.96ft    DP
  312-1-DP-4.2g-351.39ft       258458          1018900          312        1 Dipolar             4.2g        351.39ft    DP
  312-2-MP-3.5g-538.53ft       258419          1018495          312        2 Monopolar           3.5g        538.53ft    MP
  312-3-MP-3.3g-467.99ft       258413          1018090          312        3 Monopolar           3.3g        467.99ft    MP
  312-4-DP-2.4g-674.78ft       258384          1017783          312        4 Dipolar             2.4g        674.78ft    DP
  312-5-DP-1.3g-464.63ft       258383          1016708          312        5 Dipolar             1.3g        464.63ft    DP
  312-6-DP-3.6g-517.58ft       258351          1015675          312        6 Dipolar             3.6g        517.58ft    DP
  312-7-DP-2.7g-454.22ft       258193          1011227          312        7 Dipolar             2.7g        454.22ft    DP
  316-1-DP-3.2g-1258.05ft      260835          1011954          316        1 Dipolar             3.2g        1258.05ft   DP
  316-2-MP-1.6g-449.32ft       260881          1012275          316        2 Monopolar           1.6g        449.32ft    MP
  320-1-DP-1.2g-498.23ft       263710          1017768          320        1 Dipolar             1.2g        498.23ft    DP
  211-1-MP-1.8g-286.83ft       264462          1013842          211        1 Monopolar           1.8g        286.83ft    MP
  326-1-MP-2.1g-551.41ft       267371          1010591          326        1 Monopolar           2.1g        551.41ft    MP
  326-2-DP-0.9g-560.88ft       267492          1013618          326        2 Dipolar             0.9g        560.88ft    DP
  326-3-MP-4.3g-1070.04ft      267580          1015760          326        3 Monopolar           4.3g        1070.04ft   MP
  326-4-MP-0.7g-426.31ft       267620          1017488          326        4 Monopolar           0.7g        426.31ft    MP
  324-1-DP-1g-361.51ft         266293          1017957          324        1 Dipolar             1g          361.51ft    DP
  324-2-DP-1.9g-394.94ft       266165          1014388          324        2 Dipolar             1.9g        394.94ft    DP
  324-3-MC-4.1g-281.09ft       266097          1012586          324        3 Multi-Component     4.1g        281.09ft    MC
  324-4-MP-7g-416.61ft         266105          1012488          324        4 Monopolar           7g          416.61ft    MP
  325-1-MP-1.7g-235.45ft       266884          1015812          325        1 Monopolar           1.7g        235.45ft    MP
  325-2-DP-1.6g-422.34ft       266811          1014000          325        2 Dipolar             1.6g        422.34ft    DP
  321-1-MC-1305.5g-332.08ft    264353          1021535          321        1 Multi-Component     1305.5g     332.08ft    MC
  320-2-MC-1.2g-534.6ft        263709          1017773          320        2 Multi-Component     1.2g        534.6ft     MC
  318-1-MC-2g-260.45ft         262340          1018178          318        1 Multi-Component     2g          260.45ft    MC

  Note: Coordinates are in feet based on the Florida State Plane Coordinate System, West Zone, North American Datum of
  1983 (NAD 83). DOG = Distance Over Ground (length of anomaly signature). MP = Monopolar. DP = Dipolar.




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  5.0    Potential for Prehistoric Sites

  5.1    Relict Geomorphic Features
  The survey area appears to be typical west-Florida continental shelf geomorphology, consisting
  of a thin siliciclastic sediment veneer (0m to 2m) overlying a consolidated limestone surface
  likely of upper Oligocene (28 million years ago - mya) to middle Miocene (15 mya) in origin. The
  thin siliciclastic sediment veneer is relict material that was transported from the north (from the
  southern Appalachian Mountains and Piedmont) to the south during the late Miocene (10 mya)
  and Pliocene (5 to 3 mya), resulting in a relatively thin late Neogene to modern quartz-rich
  veneer covering a thick (2km to 6km) Jurassic-to-Neogene carbonate succession (Hine et al.
  2009).

  There is no evidence in the sub-bottom data of any paleochannels, fluvial downcutting, infill, or
  any paloefluvial activity anywhere within the survey area. The only evidence of erosion is the
  top of the Miocene limestone layer, and is indicative of much lower eustatic sea levels from the
  middle-Miocene, well before prehistoric times. Based on the geologic analysis of the data,
  including the age of the geologic materials in question, the lack of relict geomorphic features
  indicative of artifact preservation potential, and the relative deep elevation (>120 feet NAVD88)
  and distant offshore location of the survey area, the likelihood for the presence and/or
  preservation of prehistoric sites and geomorphic features with archaeological potential is very
  low.

  5.2    Buried Prehistoric Sites
  Based on the capabilities of current technology in relation to the thickness and composition of
  sediments overlying the area of Modified Site B, there is little to no potential for the identification
  nor evaluation of buried prehistoric sites.

  6.0    Existing Records Review of Reported Shipwrecks

  6.1    Unidentified Magnetic Anomalies
  Based on the results and conclusions presented earlier in Section 4.2, there were neither
  unidentified magnetic anomalies viewed nor interpreted from surveys conducted at Modified Site
  B, as previously confirmed in Table 2.

  6.2    Sidescan Sonar Contacts
  Based on the results and conclusions presented earlier in Section 4.2, there was no sidescan
  sonar contacts identified from surveys conducted at Modified Site B.

  6.3    Unknown Sources of Magnetic Anomalies and Sidescan Sonar Contacts
  Based on the results and conclusions presented earlier in Section 4.2, there was neither
  unknown sources of magnetic anomalies or sidescan sonar contacts identified from surveys
  conducted at Modified Site B.

  6.4    Correlation between Magnetic Anomalies and Sidescan Sonar Contacts
  Magnetic and acoustic data were collected on 16 survey lines and one tie line associated with
  Modified Site B. Magnetometer data was collected as Hypack® raw data. Each line file was
  reviewed by the TAR marine archaeologist to identify and characterize anomalies that could be
  generated by submerged cultural resources. Anomaly signatures were analyzed in accordance
  with intensity, duration, areal extent and signature characteristics.

  A total of 36 anomalies were identified in the data (Figure 10) associated with Modified Site B.
  Analysis of each anomaly included consideration of magnetic and acoustic signature
  characteristics previously demonstrated to be reliable indicators of historically significant
  submerged cultural resources.

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          Figure 10. Magnetometer Anomalies Analyzed within Modified Site B (TAR 2018)


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  Analysis of each anomaly included consideration of magnetic and acoustic signature
  characteristics previously demonstrated to be reliable indicators of historically significant
  submerged cultural resources. Assessment of each anomaly included recommendations for
  additional investigation (if required) to determine the exact nature of the cultural material that
  generated the signature and its potential National Register of Historic Places (NRHP)
  significance. A magnetic contour map of the survey area was not produced to aid in analysis
  and data representation as the survey line spacing was too broad. TAR prepared a table listing
  all magnetic anomalies located during the survey (Table 4). This table includes the anomaly
  name, identification number, signature characteristics, location coordinates and assessment of
  the type of material generating the signature.

  Acoustic sidescan sonar data was collected in the form of raw EdgeTech JSF data files.
  Acoustic sub-bottom profiler data was also collected in the form of raw EdgeTech JSF data files.
  Each line of acoustic data was reviewed by TAR using SONARWIZ software to identify and
  characterize targets that could be generated by submerged cultural resources. Using
  SONARWIZ software, APTIM produced a sonar coverage mosaic of the survey area to aid in
  analysis and data representation (see Figure 6). Acoustic signatures suggestive of significant
  submerged cultural material were to be isolated and analyzed in accordance with image
  intensity, duration, a real extent and configuration characteristics. Analysis of target images
  would normally include consideration of acoustic signature characteristics previously
  demonstrated to be reliable indicators of historically significant submerged cultural resources.
  However, no sonar targets were identified in the acoustic data. SONARWIZ software was also
  used to review the sub-bottom profiler date and identify any relict landforms that could be
  associated with prehistoric habitation. All lines of sub-bottom data confirmed a shallow sandy
  deposit of varying thickness overlying hard bottom likely limestone (see Figures 5 and 7). As
  stated previously, no relict landforms of potential significance were identified.

  6.5    Positive Identification of Archaeological Resources
  TAR     nalysis of the APTIM magnetic data identified a total of 36 anomalies in the project
  survey. All of the anomalies are very low intensity (see Table 4) and represent small ferrous
  objects such as commercial crab or fish traps or debris lost or intentionally case overboard.
  None of the anomalies appear to represent potentially significant submerged cultural resources.
  Analysis of the sonar data confirmed that nothing associated with those magnetic anomalies or
  nonferrous structures or cultural material is exposed on the bottom surface. Sub-bottom profiler
  data confirmed that bottom sediment in the survey area consists of unconsolidated sediment,
  such as sand of varying thickness, overlying hard bottom. Hard bottom in the area is likely
  limestone and no karst or relict landforms were apparent.

  6.6    Potential for Shipwreck Preservation
  Based on the results and conclusions presented earlier in Section 4.2, there was no potential for
  shipwreck preservation neither in terms of sediment type and thickness, nor from the effects of
  past and present marine processes from surveys conducted at Modified Site B.

  6.7    Potential for Identification and Evaluation of Potential Shipwrecks
  Based on NOAA
  System (AWOIS), the closest documented shipwreck (Record Number 2884; Kingfisher [sunk in
  1980]) to Modified Site B is located at 26.833669° N and -83.166503° W, or approximately 18
  nm SSW of Modified Site B. Therefore, there is little to no potential for the identification or
  evaluation of potential shipwrecks at Modified Site B.




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                    Table 4. SCR Potential from Magnetometer Anomalies Detected from Modified Site B (TAR 2018)
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  7.0    Representative Data Samples

  7.1    Sub-Bottom Profiler Data
  Representative data samples from the sub-bottom profiler data were provided in Section 4.1.
  Due to the file size (>18.3 GB), the complete APTIM geophysical survey dataset, including the
  16 survey tracklines from the original daily survey logs from Modified Site B were made
  available digitally to NOAA Fisheries, EPA, USACE, and FL SHPO on September 19, 2018.

  7.2    Recorded Unidentified Objects
  Based on the results and conclusions presented earlier in Sections 4.2 and 6.3, there are no
  contacts representing unidentified objects from surveys conducted at Modified Site B.

  8.0    Conclusions and Recommendations

  8.1    Known or Potential Physical, Biological, and Archaeological Resources
  Based on the contents and data analyses provided by APTIM Geophysical Survey Report to
  Kampachi Farms, LLC, there are no features (physical, biological, and archaeological
  resources) that would preclude the siting of an aquaculture operation within Modified Site B.

  8.2    Recommendations for Avoidance or Further Investigations
  Based on the absence of any physical, biological, and archaeological resources, there are no
  recommendations for avoidance.          Further, while APTIM marine geologists utilized the
  backscatter intensity, distribution, and texture to make educated interpretations as to the
  location of consolidated and unconsolidated sediments, these interpretations are based solely
  on the acoustic interpretation; therefore, additional investigation (i.e., ground-truthing or surface
  samples) would be advisable in order to characterize the sediment properties of the desired
  mooring locations at the time of deployment.

                                                         ased on the limited amount of bottom
  disturbance associated with deployment of the ground tackle necessary for anchoring the
  proposed floating structure, it is apparent that no submerged cultural resources will be impacted
  if anchors and/or sinkers can be located on, or within 50 feet, of the surveyed lines. If that can
  be accomplished, no additional archaeological investigation at the site is recommended. If the
  anchoring design requires placing ground tackle outside the 100 foot corridors centered on the
  data tracklines, additional investigation should be carried out to clear those sites.

                                  further recommended the institution of, and compliance with, an
                                          In the event that any project activities expose potential
  prehistoric/historic cultural materials not identified during the remote-sensing survey, operations
  should be immediately shifted from the site. The respective Point of Contact for regulatory
  agencies with jurisdictional oversight should be immediately appraised of the situation.
  Notification should address the exact location, where possible, the nature of material exposed
  by project activities, and options for immediate archaeological inspection and assessment of the
  site.

  9.0    Additional Investigations Required by NOAA Fisheries and EPA

  Due to the conclusions and recommendations of this BES Report, as well as the individual
  conclusions and recommendations from the APTIM and TAR reports (Appendix A and B,
  respectively), no additional investigations would be anticipated to be required by NOAA
  Fisheries or EPA.




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  10.0     Hydrological Measurements

  Hydrological data were captured from the NOAA Data Buoy Center; Station 42022 - C12 - WFS
  Central Buoy located on the 50 m Isobath at approximately 27.505 N and 83.741 W; located
  approximately 34 NM northwest of Modified Site B. These data represent approximately 66,711
  records over nearly a 4 year summary from 2015 through 2018 of surface (4m; Figure 11),
  midwater (22m; Figure 12), and bottom (44m; Figure 13) current speed and direction. As
  such, these results provide a description of maximum, minimum and average currents, and are
  provide as rose plots representative of near surface, mid water, and near bottom currents.
  These raw data file is being submitted electronically as part of this report and may be located at:

  https://www.ndbc.noaa.gov/station_history.php?station=42022.




         Figure 11. Near Surface (4m) Current Speed & Direction from NOAA Buoy Station 42022



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       Figure 12. Midwater (22m) Current Speed and Direction from NOAA Buoy Station 42022




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        Figure 13. Bottom (44m) Current Speed and Direction from NOAA Buoy Station 42022




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                                                             APPENDIX A
                                                    APTIM 2018 Report
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                                                                                                     APTIM
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August 22, 2018

Dennis J. Peters (via email)
Gulf South Research Corporation (GSRC)
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Niceville, Florida 32578

Subject: Results of Baseline Geophysical Survey for the Siting of Aquaculture Operations in the
Gulf of Mexico.

APTIM Environmental and Infrastructure, Inc. (APTIM) was hired by Kampachi Farms, LLC to conduct a
geophysical baseline survey of a potential area offshore Sarasota Florida that will be used for aquaculture
activities. The area consisted of two (2) survey sites, proposed Site A and proposed Site B. The purpose
of the geophysical investigation was to characterize the sub-surface and surface geology of the sites and
identify areas with a sufficient thickness of unconsolidated sediment near the surface while also clearing
the area of any geohazards and structures that would impede the implementation of an aquaculture
operation.

Survey Operations
The Kampachi Farms, LLC Velella Epsilon Geophysical Survey consisted of collecting single beam
bathymetry, side scan sonar, sub-bottom profiler (seismic reflection) and magnetometer data within the
Gulf of Mexico at the proposed survey Sites A and B. Each site was 1.7 x 1.7 miles which was filled with
200 m (meters) spaced survey lines, running north/south, as well as two tie lines running east/west. A
detailed description of the vessel and equipment utilized for this survey can be found below.

The survey began with the APTIM crew mobilizing the R/V Eugenie Clark on August 12, 2018 at the Mote
Marine Laboratory’s Facility in Sarasota, FL. Once the vessel was mobilized, it began its transit to the
survey sites on August 14, 2018 and collected geophysical data between August 14, 2018 and August
15, 2018. On both days, winds were approximately 5-10kts and swells were approximately 2 feet (ft).
During survey operations, APTIM personnel reviewed the data in real time in order to establish a basic
site characterization and determine any structures or geology that would impede the development of an
aquaculture operation. APTIM began by collecting seismic sub-bottom, sidescan sonar, magnetometer
and bathymetric data along four (4) tracklines at a wide spacing of 1968 ft (600m) and reviewed the data
in real time. Based on the data collected, it was evident that the area contained more consolidated
sediments (i.e. hardbottom) near the seafloor and very little unconsolidated sediments (such as sands or
siltier sands). APTIM personnel then moved over to Site B and determined that the south eastern portion
of the survey area contained more unconsolidated than consolidated sediments. Therefore APTIM
revised the survey area and collected approximately 27 nautical miles (nm) (46 line kilometers (km)) of
data in a roughly 1.6 x 1.4 nm (3.0 x 2.5 km) area, targeting an area with a thicker surficial layer of
unconsolidated sediments near the seafloor (Map 1 in Appendix A).

R/V Eugenie Clark
The R/V Eugenie Clark is a shallow-water hydrographic survey vessel owned and operated by Mote
Marine Laboratory. Based out of Sarasota, FL, the R/V Eugenie Clark has operated on a number of
offshore and nearshore surveys along the gulf coast of Florida. It is a 46 ft fiberglass hulled vessel with
a 16 ft beam and 3.3 ft draft. The vessel is equipped with twin inboard C7 Caterpillar Diesel engines (470
HP each), a Northern Lights 12KW Marine generator (120/208V), an A-Frame, and twin hydraulic
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winches. With a cruising speed of 17 knots and a maximum speed of 20 knots, the R/V Eugenie Clark
was an efficient vessel, which allowed for quick transit between survey areas, and fulfills the necessary
requirements for survey operations.

Hypack
Navigational, magnetometer, and depth sounder systems were interfaced with an onboard computer,
and the data were integrated in real time using Hypack Inc.’s Hypack 2017® software. Hypack 2017® is
a state-of-the-art navigation and hydrographic surveying system. The location of the fish tow-point or
transducer mount on the vessel in relation to the Trimble DGPS was measured, recorded and entered
into the Hypack 2017® survey program. The length of cable deployed between the tow-point and each
towfish was also measured and entered into Hypack 2017®. Hypack 2017® then takes these values and
monitors the actual position of each system in real time. Online screen graphic displays include the pre-
plotted survey lines, the updated boat track across the survey area, adjustable left/right indicator, as well
as other positioning information such as boat speed, and line bearing. The digital data are merged with
the positioning data (Trimble DGPS), video displayed and recorded to the acquisition computer’s hard
disk for post processing and/or replay.

Navigation
The navigation and positioning system deployed for the geophysical survey was a Trimble Differential
Global Positioning System (DGPS) interfaced to Hypack, Inc.’s Hypack 2017®. A Pro Beacon receiver
provided DGPS correction from the nearest U.S. Coast Guard Navigational Beacon. The DGPS initially
receives the civilian signal from the global positioning system (GPS) NAVSTAR satellites. The locator
automatically acquires and simultaneously tracks the NAVSTAR satellites, while receiving precisely
measured code phase and Doppler phase shifts, which enables the receiver to compute the position and
velocity of the vessel. The receiver then determines the time, latitude, longitude, height, and velocity once
per second. Most of the time the GPS accuracy with differential correction provides for a position accuracy
of one (1) to four (4) ft. This is within the accuracy needed for geophysical investigations.

Single Beam Bathymetry
The bathymetric survey was conducted using an ODOM Echotrac MKIII sounder with a 200 kHz
transducer pole mounted on the port side of the on the R/V Eugenie Clark. A TSS DMS-05 dynamic
motion sensor was used to provide attitude corrections. For Quality Assurance/Quality Control and data
reduction purposes, APTIM water level recorder data, and NOAA water level data were used to verify
and/or correct onboard bathymetric readings.

Upon completion of the field work, data were edited and reduced using Hypack 2017® using Single Beam
Max application. Water level corrected data were exported and a comma delimited XYZ file was created.
All overlapping profile data were compared in cross section format to ensure system accuracy. For
surface and map creation the final XYZ data files were processed through Golden Software’s Surfer 12
for interpolation and grid creation. ERSI’s Arc GIS 10.3 was used for final interpolation and presentation.

Sidescan Sonar
Sidescan sonar data were collected to verify the location and extent of the surficial unconsolidated
sediment and to map ocean bottom features such as benthic habitats, exposed pipelines, cables,
underwater wrecks, potential cultural resources, etc. APTIM utilized a dual frequency EdgeTech 4200
sidescan sonar, which uses a full-spectrum chirp technology to deliver wide-band, high-energy pulses
coupled with high resolution and good signal to noise ratio echo data. The sonar package includes a
portable configuration with a laptop computer running EdgeTech’s Discover® acquisition software and
dual frequency (300/600 kHz) towfish running in high definition mode. The EdgeTech 4200 has a
maximum range of 754 ft (230 m) to either side of the towfish at the 300 kHz frequency and 394 ft (120
m) to either side of the towfish at the 600 kHz frequency.
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Post processing of the sidescan sonar data was completed using Chesapeake Technology, Inc.’s
SonarWiz 7 software. This software allows the user to apply specific gains and settings in order to
produce enhanced sidescan sonar imagery that can be interpreted and digitized for specific seafloor
features, including potential areas indicative of consolidated and unconsolidated sediment

Post collection processing of the sidescan sonar data were completed using Chesapeake Technology,
Inc.’s SonarWiz 7 software. This software allows the user to apply specific gains and settings in order to
produce enhanced sidescan sonar imagery that can be interpreted and digitized for specific benthic
habitat features and debris throughout the study area. The first step in processing was to import the data
into the software and bottom track the data. This is achieved using an automated bottom tracking routine
and in some cases done manually. This step provides the data with an accurate baseline representation
of the seafloor and eliminates the water column from the data.

Once the data were bottom tracked, they were processed to reduce noise effects (commonly due to the
vessel, sea state, or other anthropogenic phenomenon) and enhance the seafloor definition. All of the
sidescan sonar data utilized empirical gain normalization (EGN). An empirical gain normalization table
was built including all of the sidescan sonar data files. Once the table was built it was applied to all of
the sidescan sonar data. EGN is a relatively new gain function that works extremely well in most
situations and can be considered a replacement for Beam Angle Correction (BAC). EGN is a function
that sums and averages up all of the sonar amplitudes in all pings in a set of sonar files by altitude and
range. The amplitude values are summed and averaged by transducer (port and starboard) so there are
actually two tables. A given sonar amplitude sample is placed in a grid location based on the geometry
of the ping. On the x-axis of the grid is range, and on the y-axis of the grid is altitude. The resulting table
is used to work out the beam pattern of a sonar by empirically looking at millions of samples of data.

After processing each line, the data were inspected and interpreted for the location and extent of
unconsolidated sediment as well as ocean bottom features such as benthic habitats, exposed pipelines,
cables, underwater wrecks, potential cultural resources, etc. All geologic features and sediment
boundaries were digitized in SonarWiz 7 by encapsulating the feature into a geographically referenced
polygon/polyline shapefile for integration into ArcGIS.

Sub-Bottom Profiler
An EdgeTech 3200 sub-bottom profiler with a 512i towfish was used to collect the high-resolution seismic
reflection profile data. This system is a versatile wideband frequency modulated (FM) sub-bottom profiler
that collects digital normal incidence reflection data over many frequency ranges within the 0.5 kHz – 12
kHz range, also called a “chirp pulse”. This instrumentation generates cross-sectional images of the
seabed capable of resolving bed separation resolutions of 0.06 m to 0.10 m (depending on selected
pulse/ping rate). The tapered waveform spectrum results in images that have virtually constant resolution
with depth. The data were collected and recorded in the systems native, EdgeTech .jsf format. The
seismic system was monitored and adjusted, if needed, in real-time to use the optimal settings for
environmental, oceanographic and geologic conditions in order to ensure the highest quality data is being
collected. Navigation and horizontal positioning for the sub-bottom system were provided by the Trimble
DGPS system via Hypack utilizing the Hypack towfish layback correction. The chirp sub-bottom profiler
was operated using a pulse with a frequency sweep of 1.0 kilohertz (kHz) to 10.0 kHz with a 5 millisecond
(ms) pulse length. The system was set to ping at a rate of 7 hertz (Hz) and was run with a 60% pulse
power level.

Post-collection processing of the chirp sub-bottom profiler data was completed using Chesapeake
Technology, Inc.’s SonarWiz 7 software. This software allows the user to apply specific gains and settings
in order to produce enhanced sub-bottom imagery that can then be interpreted and digitized for specific
                                                                                                             3
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stratigraphic facies relevant to the project goals. The data were continuously bottom-tracked to allow for
the application of real-time gain functions in order to have an optimal in-the-field view of the data.

Raw .jsf files were imported into SonarWiz 7 and the data were then bottom tracked, gained and swell
filtered. The process of bottom tracking uses the high-amplitude signal associated with the seafloor to
map it as the starting point for gains and swells. Swell filtering is a ping averaging function, which allows
for the elimination of vertical changes caused from towfish movement produced from changes in sea
state. The swell filter was increased or decreased depending on the period and frequency of the sea
surface wave conditions and special care was taken not to over-smooth and eliminate features on the
seafloor. Time-varying gain (TVG) was applied and manipulated to produce a better image (contrasts
between low and high return signals) below the seafloor to increase the contrast within the stratigraphy,
and increase the amplitude of the stratigraphy with depth, accounting for some of the signal attenuation
normally associated with sound penetration over time. A blank-water column function was also applied
to eliminate any features such as schools of fish under the chirp system which produce noise within the
water column.

Magnetometer
A Geometrics G-882 Digital Cesium Marine Magnetometer was used to perform a cursory investigation
of the magnetic anomalies within the study area. The magnetometer runs on 110/220 volts alternating
current (VAC) power and capable of detecting and aiding the identification of any ferrous, ferric or other
objects that may have a distinct magnetic signature. Factory set scale and sensitivity settings were
                                                                                              -P [P-P =
peak to peak] at a 0.1 second sample rate or 0.002 nT at 1 second sample rate). Sample frequency is
factory-set at up to 10 samples per second. The magnetometer was towed in tandem with the sidescan
system at an altitude of no greater than 6 meters (m) above the seafloor, per BOEM regulations, and
far enough from the vessel to minimize boat interference since the instrument has a sensitivity of 1
gamma. The tandem systems were attached to a marine grade hydraulic winch to adjust for changes in
the seafloor and maintain an altitude of no greater than 20ft (6m) above the seafloor. Navigation and
horizontal positioning for the magnetometer were provided by the Trimble DGPS system via Hypack
utilizing the Hypack towfish layback correction. Magnetometer data were recorded in .raw Hypack file
format.

The magnetometer data were post processed by APTIM’s personnel in Hypack 2018’s MagEditor
software to identify any potential magnetic anomalies. In order to normalize the magnetic field and select
anomalies with the finest data resolution possible, the background magnetic field and background noise
was adjusted to negate for diurnal variations. Within MagEditor, the diurnal magnetic readings were
duplicated and cropped. The cropped data were then deducted from the original gamma readings to
normalize the magnetometer data from any diurnal variations. Anomalies were then selected with the
Whole Magnetic Analysis tool, accounting for the distance over ground, time elapsed, the minimum and
maximum gamma readings and the total peak to peak gamma readings.

Data Interpretation

Sidescan Sonar
During the processing of the sidescan sonar data, no contacts or targets were identified in the entire
survey area, indicating that the seafloor is free of any exposed pipelines, marine debris, underwater
wrecks, potential cultural resources, etc. Only two types of bottom textures were identified throughout the
study area (Figure 1). In order to understand the two surficial sediment types, sidecan sonar data were
compared to the seismic isopach (detailed in the seismic sub-bottom section). Upon careful examination
of the two data types, it was evident that areas with high intensity backscatter and sand ripples (Texture
1) correlated to areas with exposed consolidated sediments or a thin layer of unconsolidated sediments.
                                                                                                           4
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The second texture (medium intensity backscatter) correlated with a thick unconsolidated sediment layer
in the seismic data. While APTIM geologists utilized the backscatter intensity, distribution, and texture to
make educated interpretations as to the location of consolidated and unconsolidated sediments, these
interpretations are based solely on the acoustic interpretation therefore additional investigation (i.e
ground-truthing or surface samples) would be advisable in order to characterize the sediment properties
if deemed necessary.




 Figure 1: Example of the two identified surface sediment types. Texture 1: high backscatter (upper portion of image). Texture 2: medium
                                                intensity backscatter (lower part of image).

As can be seen in Map 2 in Appendix A, areas of high intensity backscatter (i.e, consolidated sediments,
or thin unconsolidated sediments encompassed in green) are mostly located on the outer edges of the
revised study area, indicating that the thicker unconsolidated layer is located mostly in the central portion
of the investigation area. As previously mentioned, no contacts were identified within the area therefore
no additional features were plotted onto the map.

Chirp Sub-Bottom Profiler
Bottom tracked chirp sub-bottom profile lines were opened to digitally display the recorded subsurface
stratigraphy. Given the large extent of the consolidated sediment layer, data interpretation consisted of
highlighting the top of consolidated sediment layer (Figure 2) which was generally associated with the
layer causing the blanking of the seismic signal impeding the penetration of the chip pulse further below
the seafloor.




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   Figure 2: Seismic Line 324 in Site B trending north to south. Green line indicates the digitized consolidated sediment boundary with
                                                     unconsolidated sediments above.

The stratigraphic reflector that best correlated with this layer was digitized by digitally clicking on the
reflector within SonarWiz to create a color-coded boundary. This boundary appears on the subsequent
chirp sub-bottom imagery to allow for an easy, visual reference for the boundary between consolidated
and unconsolidated material. This boundary was used within SonarWiz to compute the thickness of the
unconsolidated deposit by calculating the distance between the digitized seafloor and the digitized top of
consolidated sediment boundary. Once the seismic data were reviewed in SonarWiz 7, the thickness
(xyz) of the unconsolidated sediment unit was imported into Surfer 13 and gridded to create an
interpolated surface depicting the general trend of sand deposits within the area. This isopach was then
imported into ArcMap 10.6 to compare to the digitized sidescan sonar interpretations.

The unconsolidated sediment thickness surface (depicted in Map 3 in Appendix A) shows a general
sediment trend across the area. As can be seen on Map 3, the central and eastern area have a thicker
unconsolidated sediment layer, which appears to migrate west. Statistics on the surface indicate that the
average thickness of the area is 2.6 (ft), with a standard deviation (+/-) of 1.4ft. Maximum thickness
reaches 13 ft, with the minimum being zero (predominant on the western side). Some of the thicker areas
digitized throughout the area appear to be isolated depressions (Figure 3) where the consolidated
sediment has deepened allowing for more unconsolidated sediment to be deposited.




             Figure 3: Seismic Line 323 trending south to north showing the deepening of the consolidated sediment layer.

Gridding of the xy-thickness data calculated for the four (4) lines in Site A indicate that the average
sediment thickness is 1.7ft (+/- 0.9ft) with a few isolated areas that are slightly thicker, as well as some
depressions like the example shown in Figure 3.

A seismic web project has been exported and is included in the digital version of this submittal. The
data can be viewed by either opening each PNG line image file in any image viewer, or by opening the
                                                                                                                                          6
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“2018_Kampachi_Seismic_Data_viewer.htm” file in any web browser to view the data interactively
(showing coordinates/depths and a location on a map).

Magnetometer
Ferrous items, detected via the magnetometer, are typically observed with an increased gamma
intensity reading and seen as monopoles, dipoles and multi-component signals (Figure 4). These
varying signals distinguish the anomalies from the natural environment. Anomalies identified throughout
the processing and identification phase were then classified based on their magnetic signatures and
intensity.




             Figure 4: Magnetometer gamma signatures; Left: Dipole anomaly and Right: Monopole anomaly.


Each survey line was viewed and interpreted in great detail for any magnetic anomalies. Throughout the
entire survey area APTIM recorded a total of 45 magnetometer anomalies (Map 4 in Appendix A and
table in Appendix B). Almost all magnetometer hits observed throughout the survey site were minute,
(less than 7 gammas (g)) and do not appear to be of any significant impact in the development of the
area. One magnetometer anomaly, which is observed over 1000 g, is located outside of the survey area.
Due to the signature’s disarrangement, the anomaly is likely noise due to a change in the elevation of the
magnetometer.

Results
APTIM has reviewed the data and has determined that there are no features that would preclude the
siting of an aquaculture operation within Site B and the area adjacent to it on the southeastern portion. It
is important to note that this data has not been reviewed by a professional and licensed archaeologist
and as such does not constitute a full evaluation of the geophysical data as required by National Oceanic
and Atmospheric Administration (NOAA) Fisheries in its Baseline Environmental Survey Guidance and
Procedures for Marine Aquaculture Activities in U.S. Federal Waters of the Gulf of Mexico.

Sincerely,



Beau Suthard
Client Program Manager
Aptim Environmental and Infrastructure, Inc.




                                                                                                                       7
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Appendix A
Maps




                                                                                8
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Appendix B
Magnetometer Anomaly Table




                                                                                   9
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                                                                                     Anomaly
Anomaly ID                   X Cooridnate       Y Coordinate     Line Number                    Signature Type     Gammas       DOG         Signature
                                                                                     Number
106-1-DP-0.6g-768.69ft                 263408           999787                 106             1 Dipolar           0.6g         768.69ft    DP
106-2-MC-1.1g-1219.05ft                263200           993737                 106             2 Multi-Component   1.1g         1219.05ft   MC
106-3-DP-1.9g-1694.3ft                 263118           991183                 106             3 Dipolar           1.9g         1694.3ft    DP
109-1-DP-1.6g-1128.71ft                265146           993344                 109             1 Dipolar           1.6g         1128.71ft   DP
109-2-MP-0.9g-486.39ft                 265277           996490                 109             2 Monopolar         0.9g         486.39ft    MP
109-3-MP-1.1g-826.66ft                 265316           997929                 109             3 Monopolar         1.1g         826.66ft    MP
109-4-MP-0.9g-646.36ft                 265413          1001015                 109             4 Monopolar         0.9g         646.36ft    MP
211-1-MP-1.9g-962.03ft                 247156          1014649                 211             1 Monopolar         1.9g         962.03ft    MP
210-1-MP-1.4g-1880.73ft                252338          1020431                 210             1 Monopolar         1.4g         1880.73ft   MP
210-2-MP-0.8g-510.25ft                 258571          1020109                 210             2 Monopolar         0.8g         510.25ft    MP
170-1-DP-1.8g-753.87ft                 259787          1019498                 170             1 Dipolar           1.8g         753.87ft    DP
170-2-MP-3g-752.38ft                   259637          1015659                 170             2 Monopolar         3g           752.38ft    MP
211-1-MP-1g-673.81ft                   264504          1013816                 211             1 Monopolar         1g           673.81ft    MP
319-1-DP-0.8g-557.5ft                  262897          1013895                 319             1 Dipolar           0.8g         557.5ft     DP
317-1-MP-1.4g-514.64ft                 261534          1013526                 317             1 Monopolar         1.4g         514.64ft    MP
317-2-MP-0.6g-467.79ft                 261508          1013004                 317             2 Monopolar         0.6g         467.79ft    MP
317-3-DP-3.5g-650.89ft                 261479          1011686                 317             3 Dipolar           3.5g         650.89ft    DP
317-4-DP-3.2g-712ft                    261450          1011002                 317             4 Dipolar           3.2g         712ft       DP
315-1-DP-0.8g-704.95ft                 260169          1011279                 315             1 Dipolar           0.8g         704.95ft    DP
315-1-DP-0.6g-520.56ft                 260202          1012165                 315             1 Dipolar           0.6g         520.56ft    DP
315-2-DP-0.7g-440.43ft                 260266          1013511                 315             2 Dipolar           0.7g         440.43ft    DP
315-3-DP-0.4g-368.96ft                 260416          1017470                 315             3 Dipolar           0.4g         368.96ft    DP
312-1-DP-4.2g-351.39ft                 258458          1018900                 312             1 Dipolar           4.2g         351.39ft    DP
312-2-MP-3.5g-538.53ft                 258419          1018495                 312             2 Monopolar         3.5g         538.53ft    MP
312-3-MP-3.3g-467.99ft                 258413          1018090                 312             3 Monopolar         3.3g         467.99ft    MP
312-4-DP-2.4g-674.78ft                 258384          1017783                 312             4 Dipolar           2.4g         674.78ft    DP
312-5-DP-1.3g-464.63ft                 258383          1016708                 312             5 Dipolar           1.3g         464.63ft    DP
312-6-DP-3.6g-517.58ft                 258351          1015675                 312             6 Dipolar           3.6g         517.58ft    DP
312-7-DP-2.7g-454.22ft                 258193          1011227                 312             7 Dipolar           2.7g         454.22ft    DP
316-1-DP-3.2g-1258.05ft                260835          1011954                 316             1 Dipolar           3.2g         1258.05ft   DP
316-2-MP-1.6g-449.32ft                 260881          1012275                 316             2 Monopolar         1.6g         449.32ft    MP
320-1-DP-1.2g-498.23ft                 263710          1017768                 320             1 Dipolar           1.2g         498.23ft    DP
211-1-MP-1.8g-286.83ft                 264462          1013842                 211             1 Monopolar         1.8g         286.83ft    MP
326-1-MP-2.1g-551.41ft                 267371          1010591                 326             1 Monopolar         2.1g         551.41ft    MP
326-2-DP-0.9g-560.88ft                 267492          1013618                 326             2 Dipolar           0.9g         560.88ft    DP
326-3-MP-4.3g-1070.04ft                267580          1015760                 326             3 Monopolar         4.3g         1070.04ft   MP
326-4-MP-0.7g-426.31ft                 267620          1017488                 326             4 Monopolar         0.7g         426.31ft    MP
324-1-DP-1g-361.51ft                   266293          1017957                 324             1 Dipolar           1g           361.51ft    DP
324-2-DP-1.9g-394.94ft                 266165          1014388                 324             2 Dipolar           1.9g         394.94ft    DP
324-3-MC-4.1g-281.09ft                 266097          1012586                 324             3 Multi-Component   4.1g         281.09ft    MC
324-4-MP-7g-416.61ft                   266105          1012488                 324             4 Monopolar         7g           416.61ft    MP
325-1-MP-1.7g-235.45ft                 266884          1015812                 325             1 Monopolar         1.7g         235.45ft    MP
325-2-DP-1.6g-422.34ft                 266811          1014000                 325             2 Dipolar           1.6g         422.34ft    DP
321-1-MC-1305.5g-332.08ft              264353          1021535                 321             1 Multi-Component   1305.5g      332.08ft    MC
320-2-MC-1.2g-534.6ft                  263709          1017773                 320             2 Multi-Component   1.2g         534.6ft     MC
318-1-MC-2g-260.45ft                   262340          1018178                 318             1 Multi-Component   2g           260.45ft    MC

Note: Coordinates are in feet based on the Florida State Plane Coordinate System, West Zone, North American Datum of 1983 (NAD 83).
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Appendix C (Digital Only)
Seismic Web Project




                                                                                  10
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                                                             APPENDIX B
                                                       TAR 2018 Report
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         Appendix B
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1) Deadweight Anchors (concrete):                               7) Net Pen Connection Lines (rope):
         Three (3) anchors equally spaced @:                              Four (4) ~13m connection lines (rope)
              o     120m from mooring centerline                          Connected from Spreader Bar to Net Pen Float Rings
              o     120 degrees from each other                           AMSTEEL®-BLUE
         Each @ 3 ton Stevpris Mk-5 drag embedment anchor                 33.3mm (1 5/16) lines
2) Mooring Chain (Grade 2 steel):                               8) Net Pen Frame Structure (HDPE):
                                                                                                                                                                                                    Document #1966785




         80m length on each anchor                                        Top Frame Structure
         50mm (2) thick links                                                 o    18m in diameter
         No load = 70m length of each on seafloor                              o    One (1) HDPE side-by-side Float Rings
         Design load = some entirely off seafloor/                                            On the sea surface
         others completely on seafloor                                                        ~ 0.36m OD DR 11 HDPE pipe
                                                                               o    One (1) HDPE net ring (railing)
3) Mooring Lines (rope):                                                                      Connected ~ 1.0m above Float Rings
         40m length on each chain
                                                                                              Connected to Net Pen Mesh
         AMSTEEL®-BLUE
                                                                                              ~ 0.15m OD DR 17 HDPE pipe
         36mm (1 1/2) thick lines
                                                                          Bottom Frame Structure
4) Spar Buoy w/ Swivel (steel):                                                o    18m in diameter
                                                                               o    One (1) HDPE sinker ring                       10) Shackle Point Connection (steel):
5) Bridle Lines (rope inside HDPE pipe):
                                                                                              7.0m below Float Rings                         One (1) ~0.13m2 shackle plate
                                                                                                                                                                                                    Filed: 09/27/2022




           Three (3) ~30m bridle lines (rope) from swivel to
                                                                                              Connected to Net Ring                          Four (4) connection lines
           spreader bar
                                                                                              ~ 0.36m OD DR 11 HDPE pipe                           o    12 mm in diameter x 10m in length
           AMSTEEL®-BLUE
                                                                               o    One (1) HDPE net ring                                          o    Connected from shackle plate to HDPE sinker ring
           33.3mm (1 5/16) lines inside HDPE pipe
                                                                                              7.0m below float rings                         ~1m Grade 2 steel chain (32mm) connected to Floatation
6) Spreader Bar (HDPE):                                                                       Connected to copper alloy mesh                 Capsule
          Header Bar (load bearing) connected to Bridle Lines                                 ~ 0.15m OD DR 17 HDPE pipe
                                                                                                                                   11) Floatation Capsule (steel):
                o    30m in length
                                                                9) Net Pen Mesh (copper alloy):                                              ~ 1.5m in diameter x ~3.45m in length
                o    0.36m OD DR 11 HDPE pipe
                                                                          17m diameter x 7m depth                                            Effective floatation volume = 6m3
          Side and Rear Bars (smaller load bearing)
                                                                          Top connected to top net ring (railing)                            ~3m Grade 2 steel chain (32mm) connected to Counter Weight
                o    30m in length
                                                                          Bottom connected to bottom net ring
                                                                                                                                                                                                    Page 218 of 582




                o    0.36m OD DR 17 HDPE pipe                                                                                      12) Counter Weight (concrete):
                                                                                o     4mm wire diameter
          Four (4) corner spar buoys                                                                                                        ~ 1.1m in diameter x ~2.2m in length
                                                                                o     40mm x 40mm mesh square
                                                                                                                                            Effective weight of 5 MT
                                                                          Effective volume of 1,600m3
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         Appendix C
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                                    Final
                     OCEAN DISCHARGE CRITERIA EVALUATION




                          Ocean Era, Inc. - Velella Epsilon
                            Net Pen Aquaculture Facility
                              Outer Continental Shelf
                        Federal Waters of the Gulf of Mexico




                              NPDES Permit Number
                                  FL0A00001


                                September 30, 2020




                       U.S. Environmental Protection Agency
                                      Region 4
                                   Water Division
                                61 Forsyth Street SW
                               Atlanta Georgia 30303
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                                                 List of Acronyms

BES                            Baseline Environmental Survey
BMP                            Best Management Practices
BOEM                           Bureau of Ocean and Energy Management
CAAP                           Concentrated Aquatic Animal Production
CFR                            Code of Federal Regulations
CWA                            Clean Water Act
CZMA                           Coastal Zone Management Act
CZMP                           Coastal Zone Management Program
DEP                            Department of Economic Opportunity
DWH                            Deep Water Horizon
EA                             Environmental Assessment
EIS                            Environmental Impact Statement
EPA                            U.S. Environmental Protection Agency
FAO                            Food and Agriculture Organization of the United Nations
FCR                            Feed Conversion Ratio
FCMP                           Florida Coastal Management Program
FDA                            U.S. Food and Drug Administration
FDACS                          Florida Department of Agriculture and Consumer Services
FDEP                           Florida Department of Environmental Protection
FMP                            Fishery Management Plan
FWC                            Florida Fish and Wildlife Conservation Commission
GMFMC                          Gulf of Mexico Fishery Management Council
HAB                            Harmful Algal Blooms
HAPC                           Habitat Area of Particular Concern
ITI                            Infaunal Tropic Index
MAS                            Multi-anchor Swivel
MMS                            Minerals Management Service
MMPA                           Marine Mammal Protection Act
NCCOS                          National Ocean Service National Centers for Coastal Ocean Science
NMFS                           National Marine Fisheries Service
NOAA                           National Oceanic and Atmospheric Administration
NEPA                           National Environmental Policy Act
NPDES                          National Pollutant Discharge Elimination System
OCS                            Outer Continental Shelf
ODC                            Ocean Discharge Criteria
ODMDS                          Ocean Dredge Material Disposal Site
OTC                            Oxytetracycline
PSMP                           Protected Species Monitoring Plan
SAFMC                          South Atlantic Fishery Management Council
SOD                            Sediment Oxygen Demand
USC                            United States Code
USFWS                          U.S. Fish and Wildlife Service
VE                             Velella Epsilon
WQS                            Water Quality Standards


ODC Evaluation                                                                                     Page 3 of 85
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1.0      Introduction

1.1       Proposed Agency Action
Ocean Era, Inc. (applicant) is proposing to operate a pilot-scale marine aquaculture facility (proposed project)
in federal waters of the Gulf of Mexico (Gulf). Clean Water Act (CWA) Section 402 authorizes the
Environmental Protection Agency (EPA) to issue National Pollutant Discharge Elimination System (NPDES)
permits to regulate the discharge of pollutants into waters of the United States. The EPA action is the
issuance of a NPDES permit that authorizes the discharge of pollutants from an aquatic animal production
facility that is considered a point source into federal waters of the Gulf.

1.2      Evaluation Purpose
The purpose of this Ocean Discharge Criteria (ODC) Evaluation is to identify pertinent information relative to
the ODC and address the EPA’s regulations for preventing unreasonable degradation of the receiving waters
for the discharges covered under this NPDES permit. CWA Sections 402 and 403 require that a NPDES permit
for a discharge into the territorial seas (coast to 12 nautical miles, or farther offshore in the contiguous zone
or the ocean), be issued in compliance with EPA’s regulations for preventing unreasonable degradation of
the receiving waters. Before issuing a NPDES permit, discharges must be evaluated against EPA's published
criteria for a determination of unreasonable degradation. The NPDES implementing regulations at 40 CFR §
125.121(e) defines unreasonable degradation of the marine environment as the following:

      1. Significant adverse changes in ecosystem diversity, productivity, and stability of the biological
         community within the area of discharge and surrounding biological communities
      2. Threat to human health through direct exposure to pollutants or through consumption of exposed
         aquatic organisms, or
      3. Loss of aesthetic, recreational, scientific or economic values, which is unreasonable in relation to the
         benefit derived from the discharge.

This ODC evaluation addresses the 10 factors for determining unreasonable degradation as required by 40
CFR § 125.122. It also assesses whether the information exists to make a “no unreasonable degradation”
determination, including any recommended permit conditions that may be necessary to reach that
conclusion. The following ten factors are specified at 40 CFR § 125.122 for determining unreasonable
degradation:

      1. The quantities, composition, and potential for bioaccumulation or persistence of the pollutants to be
         discharged;
      2. The potential transport of such pollutants by biological, physical or chemical processes;
      3. The composition and vulnerability of the biological communities which may be exposed to such
         pollutants, including the presence of unique species or communities of species, the presence of
         species identified as endangered or threatened pursuant to the Endangered Species Act (ESA), or the
         presence of those species critical to the structure or function of the ecosystem, such as those
         important for the food chain;
      4. The importance of the receiving water area to the surrounding biological community, including the
         presence of spawning sites, nursery/forage areas, migratory pathways, or areas necessary for other
         functions or critical stages in the life cycle of an organism;



ODC Evaluation                                                                                       Page 4 of 85
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    5. The existence of special aquatic sites including, but not limited to, marine sanctuaries and refuges,
       parks, national and historic monuments, national seashores, wilderness areas, and coral reefs;
    6. The potential impacts on human health through direct and indirect pathways;
    7. Existing or potential recreational and commercial fishing, including fin fishing and shell fishing;
    8. Any applicable requirements of an approved Coastal Zone Management plan;
    9. Such other factors relating to the effects of the discharge as may be appropriate; and
   10. Marine water quality criteria developed pursuant to CWA Section 304(a)(1).

If, on the basis of all available information, the EPA determines that the discharge will not cause unreasonable
degradation of the marine environment after application of any necessary conditions, an NPDES permit
containing such conditions can be issued. If it is determined, on the basis of the available information, that
the discharge will cause unreasonable degradation of the marine environment after application of all possible
permit conditions, the EPA may not issue an NPDES permit which authorizes the discharge of pollutants. If
the EPA has insufficient information to determine that there will be no unreasonable degradation of the
marine environment, there shall be no discharge of pollutants into the marine environment unless the
director of the EPA determines that:

    1. Such discharge will not cause irreparable harm to the marine environment during the period in which
       monitoring is undertaken, and
    2. There are no reasonable alternatives to the on-site disposal of these materials, and
    3. The discharge will be in compliance with all permit conditions established pursuant to 40 CFR §
       125.123(d).

1.3     ODC Evaluation Report Overview
The ODC Evaluation focuses on the sources, fate, and potential effects from discharges at a small-scale
marine aquaculture facility on various groups of marine aquatic life. It also assesses whether the information
exists to make a “no unreasonable degradation” determination, including any recommended permit
conditions that may be necessary to reach that conclusion. Each section of the ODC Evaluation addresses one
of the 10 factors used in making a determination about whether the discharge will cause unreasonable
degradation as shown in Table 1.1.

                                        Table 1.1 – Summary of the ODC Topics

   Section    ODC Factor     Description
   3          2              Physical and chemical oceanography relevant to the action area
   4          1 and 10       Characteristics, composition, and quantities of materials that potentially will be discharged
                             from the facility; transport and persistence of pollutants in the marine environment
   5          3 and 4        Biological overview of the affected environment
   6          7              Information on commercial and recreational fisheries in the receiving water environment
   7          5 and 8        Florida Coastal Zone Management Plan (CZMP) and Special Aquatic Sites
   8          10             Federal Water Quality Criteria and State Water Quality Standards Analysis
   9          1, 2, and 6    Potential impacts on human health, and describes the toxicity and potential for
                             bioaccumulation of contaminants
   10         Summary        Evaluation of the ODC




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2.0 Proposed Project Information

2.1     Proposed Project
The proposed project would allow the applicant to operate a pilot-scale marine aquaculture facility with up
to 20,000 almaco jack (Seriola rivoliana) being reared in federal waters for a period of approximately 12
months (total deployment of the cage system is 18 months). Based on an estimated 85 percent survival rate,
the operation is expected to yield approximately 17,000 fish. Final fish size is estimated to be approximately
4.4 lbs/fish, resulting in an estimated final maximum harvest weight of 80,000 lbs (or 74,800 lbs considering
the anticipated survival rate). The fingerlings will be sourced from brood stock that are located at Mote
Aquaculture Research Park (Sarasota, FL) and were caught in the Gulf near Madeira Beach, Florida. As such,
only F1 progeny will be stocked into the proposed project.

One support vessel will be used throughout the life of the project. The boat will always be present at the
facility except during certain storm events or times when resupplying is necessary. The support vessel would
not be operated during any time that a small craft advisory is in effect for the proposed action area. The
support vessel is expected to be a 70 foot (ft) long Pilothouse Trawler (20 ft beam and 5 ft draft) with a single
715 HP engine. The vessel will also carry a generator that is expected to operate approximately 12 hours per
day. Following harvest, cultured fish would be landed in Florida and sold to federally-licensed dealers in
accordance with state and federal laws. The exact type of harvest vessel is not known; however, it is expected
to be a vessel already engaged in offshore fishing activities in the Gulf.

A single cage, that is offshore strength fully enclosed submersible fish pen will be deployed on an engineered
multi-anchor swivel (MAS) mooring system. The engineered MAS will have up to three anchors for the
mooring, with a swivel and bridle system. The cage material for the proposed project is constructed with rigid
and durable materials (copper mesh net with a diameter of 4-millimeter (mm) wire and 40 mm x 40 mm
mesh square). The mooring lines for the proposed project will be constructed of steel chain (50 mm thick)
and thick rope (36 mm) that are attached to a floating cage which will rotate in the prevailing current
direction; the floating cage position that is influenced by the ocean currents will maintain the mooring rope
and chain under tension during most times of operation. The bridle line that connects from the swivel to the
cage will be encased in a rigid pipe. Structural information showing the MAS and pen, along with the tethered
supporting vessel, is provided in Appendix A. The anchoring system for the proposed project is being finalized
by the applicant. While the drawings in Appendix A show concrete deadweight anchors, it is likely that the
final design will utilize appropriately sized embedment anchors instead.

The cage design is flexible and self-adjusts to suit the constantly changing wave and current conditions. As a
result, the system can operate floating on the ocean surface or submerged within the water column of the
ocean; however, the normal operating condition of the cage is below the water surface. When a storm
approaches the area, the entire cage can be submerged by using a valve to flood the floatation system with
water. A buoy remains on the surface, marking the net pen’s position and supporting the air hose. When the
pen approaches the bottom, the system can be maintained several meters above the sea floor. The cage
system is able to rotate around the MAS and adjust to the currents while it is submerged and protected from
storms near the water surface. After storm events, the cage system is made buoyant, causing the system to
resume normal operational conditions. The proposed project cage will have at least one properly functioning
global positioning system device to assist in locating the system in the event it is damaged or disconnected
from the mooring system.

In cooperation with the National Marine Fishery Service (NMFS), a protected species monitoring plan (PSMP)
has been developed for the proposed action to protect all marine mammal, reptiles, sea birds, and other
protected species. Monitoring will occur throughout the life of the project and is an important minimization
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measure to reduce the likelihood of any unforeseen potential injury to all protected species including ESA-
listed marine animals. The data collected will provide valuable insight to resource managers about potential
interactions between aquaculture operations and protected species. The PSMP also contains important
mitigative efforts such as suspending vessel transit activities when a protected species comes within 100
meters (m) of the activity until the animal(s) leave the area. The project staff will suspend all surface activities
(including stocking fish, harvesting operations, and routine maintenance operations) in the unlikely event
that any protected species comes within 100 m of the activity until the animal leaves the area. Furthermore,
should there be activity that results in an entanglement or injury to protected species, the on-site staff would
follow the steps outlined in the PSMP and alert the appropriate experts for an active entanglement. 1

2.2      Proposed Action Area
The proposed project would be placed in the Gulf at an approximate water depth of 130 ft (40 m),
generally located 45 miles southwest of Sarasota, Florida. The proposed facility will be placed within an area
that contains unconsolidated sediments that are 3 – 10 ft deep (see Table 2.1). The applicant will select the
specific location within that area based on diver-assisted assessments of the sea floor when the cage and MAS
are deployed. More information about the proposed project boundaries are shown in Appendix B. The
proposed action area is a 1,000-meter radius measured from the center of the MAS.

The facility potential locations were selected with assistance from the National Oceanic and Atmospheric
Administration’s (NOAA) National Ocean Service National Centers for Coastal Ocean Science (NCCOS). The
applicant and the NCCOS conducted a site screening process over several months to identify an appropriate
project site. Some of the criteria considered during the site screening process included avoidance of corals,
coral reefs, submerged aquatic vegetation, and hard bottom habitats, and avoidance of marine protected
areas, marine reserves, and habitats of particular concern. This siting assessment was conducted using the
Gulf AquaMapper tool developed by NCCOS. 2

Upon completion of the site screening process with the NCCOS, the applicant conducted a Baseline
Environmental Survey (BES) in August 2018 based on guidance developed by the NMFS and EPA. 3 The BES
included a geophysical investigation to characterize the sub-surface and surface geology of the sites and
identify areas with a sufficient thickness of unconsolidated sediment near the surface while also clearing the
area of any geohazards and structures that would impede the implementation of the aquaculture operation.
The geophysical survey for the proposed project consisted of collecting single beam bathymetry, side scan
sonar, sub-bottom profiler, and magnetometer data within the proposed area. The BES report noted that
there were no physical, biological, or archaeological features that would preclude the siting of the proposed
aquaculture facility at one of the four potential locations shown in Table 2.1.

                         Table 2. 1 – Target Area With 3’ to 10’ of Unconsolidated Sediments

                   Location                                     Latitude                          Longitude
                   Upper Left Corner                         27° 7.70607’ N                    83° 12.27012’ W
                   Upper Right Corner                        27° 7.61022’ N                    83° 11.65678’ W
                   Lower Right Corner                        27° 6.77773’ N                    83° 11.75379’ W
                   Lower Left Corner                         27° 6.87631’ N                    83° 12.42032’ W


1
  A PSMP has been developed by the applicant with assistance from the NMFS Protected Resources Division. The purpose of the PSMP is
to provide monitoring procedures and data collection efforts for species (marine mammals, sea turtles, seabirds, or other species) protected
under the MMPA or ESA that may be encountered at the proposed project.
2
  The Gulf AquaMapper tool is available at: https://coastalscience.noaa.gov/products-explorer/
3
  The BES guidance document is available at: http://sero.nmfs.noaa.gov/sustainable_fisheries/Gulf_fisheries/aquaculture/

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3.0      Physical Environment

3.1     Physical Oceanography
The Gulf is bounded by Cuba on the southeast; Mexico on the south and southwest; and the United States
(U.S.) Gulf Coast on the west, north, and east. The Gulf has a total area of 564,000 square kilometers (km2).
Shallow and intertidal areas (water depths of less than 20 m) compose 38 percent of the total area, with
continental shelf (22 percent), continental slope (20 percent), and abyssal (20 percent) composing the
remainder of the basin.

The Gulf is separated from the Caribbean Sea and Atlantic Ocean by Cuba and other islands and has relatively
narrow connections to the Caribbean and Atlantic through the Florida and Yucatan Straits. The Gulf is
composed of three distinct water masses, including the North and South Atlantic Surface Water (less than
100 m deep), Atlantic and Caribbean Subtropical Water (up to 500 m deep), and Sub Antarctic Intermediate
Water.

3.1.1 Circulation
Circulation patterns in the Gulf are characterized by two interrelated systems, the offshore or open Gulf, and
the shelf or inshore Gulf. Both systems involve the dynamic interaction of a variety of factors. Open Gulf
circulation is influenced by eddies, gyres, winds, waves, freshwater input, density of the water column, and
currents. Offshore water masses in the eastern Gulf may be partitioned into a Loop Current, a Florida
Estuarine Gyre in the northeastern Gulf, and a Florida Bay Gyre in the southeastern Gulf (Austin, 1970).

The strongest influence on circulation in the eastern Gulf is the Loop Current (Figure 3.1). The location of the
Loop Current is variable, with fluctuations that range over the outer shelf, the slopes, and the abyssal areas
off Mississippi, Alabama, and Florida. Within this zone, short-term strong currents exist, but no permanent
currents have been identified (MMS, 1990). The Loop Current forms as the Yucatan Current enters the Gulf
through the Yucatan Straits and travels through the eastern and central Gulf before exiting via the Straits of
Florida and merging with other water masses to become the Gulf Stream (Leipper, 1970; Maul, 1977).
Currents associated with the Loop Current and its eddies extend to at least depths of 700 m with surface
speeds as high as 150-200 centimeters (cm/s), decreasing with depth (BOEM, 2012).

In the shelf or inshore Gulf region, circulation within the Mississippi, Alabama, and west Florida shelf areas is
controlled by the Loop Current, winds, topography, and tides. Freshwater input also acts as a major influence
in the Mississippi/Alabama shelf and eddy-like perturbations play a significant role in the west Florida shelf
circulation. Current velocities along the shelf are variable. Brooks (1991) found that average current velocities
in the Mississippi/Alabama shelf area are about 1.5 cm/s, and east-west and northeast/southwest directions
dominate. MMS (1990) data showed that winter surface circulation is directed along shore and westward
with flow averaging 4 cm/s to 7 cm/s. During the spring and summer, the current shifts to the east with flow
averaging 2 cm/s to 7 cm/s. The mean circulation on the west Florida shelf is directed southward with mean
flow ranging from 0.2 cm/s to 7 cm/s (MMS, 1990).

An EPA study of ocean currents at the Tampa Ocean Dredged Material Disposal Site, which lies 18 miles due
west of Tampa Bay, FL was conducted between 2008-2009 (EPA, 2012). The study showed that current flow
off the west FL coast is predominately in the south-southwest direction (Figure 3.2). Winter months appear
to be dominated by south-southwest currents, whereas north-northeast currents dominated the spring
months. The median surface current was 13 cm/s whereas the median bottom currents were 7 cm/s. The
depth average median current velocity was 9 cm/s.



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                                    Figure 3. 1 - Major current regime in the Gulf




Figure 3. 2 - Depth average current rose diagram for the Tampa ODMDS showing current speeds and
direction. (EPA, 2012)




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Wind patterns in the Gulf are primarily anticyclonic (clockwise around high-pressure areas) and tend to follow
an annual cycle; winter winds from the north and southeast and summer winds from the northeast and south.
During the winter, mean wind speeds range from 8 knots to 18 knots. Several examples of mean annual wind
speeds in the eastern Gulf are 8.0 millibars (mb) in Gulf Port, Mississippi; 8.3 mb in Pensacola, Florida; and
11.2 mb in Key West, Florida (NOAA, 1986).

The tides in the Gulf are less developed and have smaller ranges than those in other coastal areas of the
United States. The range of tides is 0.3 meters to 1.2 meters, depending on the location and time of year.
The Gulf has three types of tides, which vary throughout the area: diurnal, semidiurnal, and mixed (both
diurnal and semidiurnal). Wind and barometric conditions will influence the daily fluctuations in sea level.
Onshore winds and low barometric readings, or offshore winds and high barometric readings, cause the daily
water levels either to be higher or lower than predicted. In shelf areas, meteorological conditions occasionally
mask local tide induced circulation. Tropical storms in summer and early fall may affect the area with high
winds (18+ meters per second), high waves (7+ meters), and storm surge (3 to 7.5 meters). Winter storm
systems also may cause moderately high winds, waves, and storm conditions that mask local tides.

3.1.2 Climate
The Gulf is influenced by a maritime subtropical climate controlled mainly by the clockwise wind circulation
around a semi-permanent, high barometric pressure area alternating between the Azores and Bermuda
Islands. The circulation around the western edge of the high-pressure cell results in the predominance of
moist southeasterly wind flow in the region. However, winter weather is quite variable. During the winter
months, December through March, cold fronts associated with outbreaks of cold, dry continental air masses
influence mainly the northern coastal areas of the Gulf. Tropical cyclones may develop or migrate into the
Gulf during the warmer season, especially in the months of August through October. In coastal areas, the
land-sea breeze is frequently the primary circulation feature in the months of May through October. (BOEM,
2012)

3.1.3 Temperature
In the Gulf, sea surface temperatures range from nearly isothermal (29 - 30oC) in August to a sharp horizontal
gradient in January, ranging from 25oC in the Loop core to values of 14-15oC along the shallow northern
coastal estuaries. A 7oC sea surface temperature gradient occurs in winter from north to south across the
Gulf. During summer, sea surface temperatures span a much narrower range. The range of sea surface
temperatures in the eastern Gulf tends to be greater than the range in the western Gulf, illustrating the
contribution of the Loop Current.

Eastern Gulf surface temperature variation is affected by season, latitude, water depth, and distance
offshore. During the summer, surface temperatures are uniformly 26.6oC or higher. The mean March
isotherm varies from approximately 17.8oC in the northern regions to 22.2oC in the south (Smith, 1976).
Surface temperatures range as low as 10oC in the Louisiana-Mississippi shelf regions during times of
significant snow melt in the upper Mississippi valley (MMS, 1990).

At a depth of 1,000 m, the temperature remains close to 5oC year-round (MMS, 1990). In winter, nearshore
bottom temperatures in the northern Gulf are 10oC cooler than those temperatures offshore. A permanent
seasonal thermocline occurs in deeper off shelf water throughout the Gulf. In summer, warming surface
waters help raise bottom temperatures in all shelf areas, producing a decreasing distribution of bottom
temperatures from about 28oC at the coast to about 18-20oC at the shelf break.



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The depth of the thermocline, defined as the depth at which the temperature gradient is a maximum, is
important because it demarcates the bottom of the mixed layer and acts as a barrier to the vertical transfer
of materials and momentum. The thermocline depth is approximately 30 m in the eastern Gulf during January
(MMS, 1990). In May, the thermocline depth is about 46 m throughout the entire Gulf (MMS, 1990).

3.1.4 Salinity
Characteristic salinity in the open Gulf is generally between 36.4 and 36.5 parts per thousand (ppt). Coastal
salinity ranges are variable due to freshwater input, draught, etc. (MMS, 1990). During months of low
freshwater input, deep Gulf water penetrates the shelf and salinities near the coastline range from 29-32
ppt. High freshwater input conditions (spring-summer months) are characterized by strong horizontal
gradients and inner shelf salinity values of less than 20 ppt (MMS, 1990).

3.2     Chemical Composition
Of the 92 naturally occurring elements, nearly 80 have been detected in seawater (Kenisha, 1989). The
dissolved material in seawater consists mainly of eleven elements. These are, in decreasing order, chlorine,
sodium, magnesium, calcium, potassium, silicon, zinc, copper, iron, manganese, and cobalt (Smith, 1981).
The major dissolved constituents in seawater are shown in Table 3.1. In addition to dissolved materials, trace
metals, nutrient elements, and dissolved atmospheric gases comprise the chemical makeup of seawater.

Table 3. 1 - Major dissolved constituents in seawater with a chlorinity of 19‰ and a salinity of 34‰

                              Dissolved substance                    Concentration        Percent
                              (Ion or Compound)                (grams per kilogram)   (by weight)
                              Chloride (Cl-)                                 18.98         55.04
                                          +
                              Sodium (Na )                                   10.56         30.61
                                          2-
                              Sulfate (SO4 )                                  2.65          7.68
                                                      2+
                              Magnesium (Mg )                                 1.27          3.69
                                          2+
                              Calcium (Ca )                                   0.40          1.16
                                                  +
                              Potassium (K )                                  0.38            1.1
                                                           -
                              Bicarbonate (HCO3 )                             0.14          0.41
                                              -
                              Bromide (Br )                                   0.07          0.19
                              Boric Acid (H3BO3)                              0.03          0.07
                              Strontium (Sr2+)                                0.01          0.04
                              Fluoride (F-)                                   0.00          0.00
                              Totals                                         34.48         99.99


3.2.1 Micronutrients
In Gulf waters, generalizations can be drawn for three principal micronutrients; phosphate, nitrate, and
silicate. Phytoplankton consume phosphorus and nitrogen in an approximate ratio of 1:16 for growth. The
following nutrient levels and distribution values were obtained from MMS (1990): phosphates range from 0
ppm to 0.25 ppm, averaging 0.021 ppm in the mixed layer, and with shelf values similar to open Gulf values;
nitrates range from 0.0031 ppm to 0.14 ppm, averaging 0.014 ppm; silicates range predominantly from 0.048
ppm to 1.9 ppm, with open Gulf values tending to be lower than shelf values.




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In the eastern Gulf, inner shelf waters tend to remain nutrient deficient, except in the immediate vicinity of
estuaries. On occasions when the loop current occurs over the Florida slope, nutrient rich waters are
upwelled from deeper zones (MMS, 1990).

3.2.2 Dissolved Gases
Dissolved gases found in seawater include oxygen, nitrogen, and carbon dioxide. Oxygen is often used as an
indicator of water quality of the marine environment and serves as a tracer of the motion of deep-water
masses of the oceans. Dissolved oxygen values in the mixed layer of the Gulf average 4.6 milligrams per liter
(mg/l), with some seasonal variation, particularly during the summer months when a slight lowering can be
observed. Oxygen values generally decrease with depth to about 3.5 mg/l through the mixed layer (MMS,
1990). In some offshore areas in the northern Gulf, hypoxic (<2.0 mg/l) and occasionally anoxic (<0.1 mg/l)
bottom water conditions are widespread and seasonally regular (Rabalais, 1986). These conditions have been
documented since 1972 and have been observed mostly from June to September on the inner continental
shelf at a depth of 5 to 50 meters (Renauld, 1985; Rabalais et al., 1985).




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4.0      Discharged Materials

The composition, characteristics, and quantities of materials that will or potentially will be discharged from
the facility under the NPDES permit are considerations under Factor 1 of the 10 factors used to determine
whether unreasonable degradation may occur. The materials to be discharged under NPDES permit to the
Gulf from the proposed project will consist of uneaten fish food pellets and fish wastes.

4.1     Fish Feed
Much of the discussion in this section was developed from information concerning large production scale fish
farms. It is important to note that the proposed project under consideration for this permit will be a small
demonstration project. The proposed project will grow out a maximum of 20,000 fish that would be grown
to 1.8-2.0 kg for one year. The total maximum biomass assuming no mortality is estimated to be
approximately 36,288 kg. Fish will be fed a commercially available grow out diet with 43 percent protein
content. The total maximum daily feed ration at harvest is equivalent to 399 kg at harvest. Maximum daily
excretion of total ammonia nitrogen is estimated at 18-19 kg and maximum total solids production is 161 kg.
A total of 66,449 kg of feed will be used for production of each cohort of fish to achieve a feed conversion
ratio (FCR) of 1.8.

The quantities of food supplied per unit of fish depend on the type of food used, size of the fish, and the
water temperature. A typical salmon farm producing 340 metric tons (748,000 lbs) of fish annually will feed
340 to 680 metric tons (748,000-1,496,000 lbs) of food (Wash Dept. Fisheries, 1989). Fish cultured around
the world are fed a variety of foods, ranging from minced trash fish, to semi-moist pellets of minced fish and
various binders, to dry pellets. Semi-moist or dry pellets are used extensively in U.S. fish farms and consist of
a combination of fish meal and vegetable matter, mixed with vitamins, essential oils and other organic
material. Some studies have shown that when feeding methods are optimized, there is generally no
significant difference between pelletized artificial feeds and the use of trash fish regarding the discharge of
nutrients and solid materials from cages (Hasan, 2012). Table 4.1 shows the composition of several commonly
used prepared fish diets. Typical average levels of protein, fats and carbohydrates in fish feeds ranges from
18-50 percent, 10-25 percent and 15-20 percent respectively, depending on targeted species (Waldemar
Nelson International, 1997; Craig, 2009). The proposed permit prohibits the discharge of un-pelletized wet
feeds.

The effectiveness of cultured fish feeding methods and diets are measured by calculating a FCR - the ratio of
food fed (dry weight) to fish produced (wet weight). Typically, average FCR's range from 1:1 for salmonid
fishes to 2:1 for some freshwater species (Hasan and Soto, 2017). That is, for every pound of fish produced,
1 to 2 lbs of feed were introduced into the water. In some laboratory experiments, FCR's of less than 1:1 have
been achieved, and most fish farmers now claim values between 1 and 1.5. The amount fed during any period
depends primarily upon the type of food used, the size of the fish, and the water temperature. Farmed fish
are typically fed 1-4 percent of their body weight per day. Though protein content may vary, generally, fish
feed includes about 7.7 percent nitrogen (Edwards, 1978) and 37.7 percent organic carbon (Waldemar
Nelson International, 1997).

Modern feeds are designed to reduce solid wastes by improving digestibility, ingredient selection and
nutrient balance (Cho and Bureau, 2001). Even with the highest FCRs, a portion of fish feed is not eaten and
settles to the bottom. Feed wastage has proven difficult to ascertain in field conditions. However, several
studies in Europe have suggested that a range of 1 to 30 percent of the feed may be lost (Gowen et al 1988;
Pencsak et al., 1982). Dry feed consistently showed the least amount of wastage (1 to 5 percent) while 5 to
10 percent of moist fish foods were lost (Gowen and Bradbury, 1987). In Puget Sound farms, fish growers
report that food wastage is typically less than 5 percent (Weston, 1986). Specific studies of food wastage at
a commercial salmon farm in Sooke Inlet, B.C., showed that hand feeding, the most common practice in Puget

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Sound, resulted in wastage of 3.6 percent. The use of automatic feeders increased wastage to 8.8 percent
(Cross, 1988).

Since food pellets do not decompose appreciably as they settle to the bottom, they are unlikely to experience
substantial reduction in nitrogen or carbon, either through solution or microbial activity, before depositing
on the bottom (Collins, 1983; Gowen and Bradbury, 1987). Thus, any food particles or pellets lost during
feeding will retain their nutrients essentially unaltered. Development of slower settling feeds, which are
available to the fish in the pens for longer periods, and feeds with more uniform size have reduced wastage.
However, the amount of wastage is still highly dependent upon the care used by the fish farmer during
feeding.

                    Table 4. 1 – Nutritional composition of commonly used prepared fish diets 4

                                                                                  Feed         %      %               %
     Source                                Fish Species     Feed Brand
                                                                                  Type    Protein   Fats   Carbohydrates
     BioProducts, Inc (EPA, 1991)          Salmon           Biodry 3000           Dry       44.5    15.0             14.7
     Moore-Clark Co. (EPA, 1991)           Salmon           Select Ext.           Dry       45.0    22.0             14.0
     BioProducts, Inc (EPA, 1991)          Salmon           Biomoist F.3          Moist     39.0    13.5             11.8
     Moore-Clark Co. (EPA, 1991)           Salmon           Oregon Moist          Dry       35.0    11.0             13.0
     Ziegler Bros. (Ellis, 1996)           Grouper          Trout Grower          Dry       43.5     5.9             34.8
     Rangen, Inc. (Ellis, 1996)            Grouper          Salmon Grower         Dry       52.7    15.2             13.8
     Dainichi Corp. (Ellis, 1996)          Grouper          Carn. Fish Diet       Dry       55.6     7.8             20.7
     Oceanic Institute (Ellis, 1996)       Grouper          Mahi ex.diet          Dry       61.8    14.2             12.9
     Corey Feed Mills                      Salmon           Fundy Choice          Dry       43.0    30.0             11.0
     Aquaculture 1997 v. 151               Grouper          -                     Dry       43.0    14.0              8.0
     Oceanic Institute, 1993               Mahi-Mahi        OI prepared diet      Dry       60.0    12.0             10.0
     Williams, 1985                        Pompano          Menhaden oil diet     Dry       42.0    12.0              7.0
     Burris Mill & Feed                    Hybrid Bass      Grower                Dry       42.0     7.0             19.0
     Burris Mill & Feed                    Red Drum         Grower                Dry       42.0     7.0             19.0
     Burris Mill & Feed                    Red Drum         Grower                Dry       40.0    10.0             30.0
     Mean                                                                                   45.9    13.1            16.0



4.2     Fish Wastes
Of the feed consumed, about 10 percent is lost as solid wastes and 30 percent lost as liquid wastes (Butz and
Vens-Capell, 1982; Craig, 2009). Unlike feed pellets, fish feces are more variable in size and density.
Consequently, the settling rate of these particles will vary greatly, but will be less than that of feed pellets.
The composition of the feces is dependent upon the chemical composition of the feed and its digestibility.
Gowen and Bradbury (1987) estimated from the literature that about 30 percent of the consumed carbon
would be excreted in the feces, along with about 10 percent of the consumed nitrogen.




4
    Source: Modified from Waldemar Nelson International, 1997.


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Estimates of the total particulate matter emanating from net pens, for eventual deposit on the sea floor,
have been calculated. Weston (1986), assuming an FCR of 2:1 with 5 percent wastage and a third of the
consumed food being lost as feces, estimated that 733 kg (1,600 lbs) of sediment would be produced for
every metric ton (2200 lbs) of fish grown. The Institute of Aquaculture (1988) estimated sediment production
of 820 kg (1800 lbs), assuming 20 percent wastage and a 30 percent loss as feces.

A discharge limitation will be placed in the NPDES permit to state that fish food and metabolic wastes
discharged from the facility shall not cause unreasonable degradation of the environment beneath the facility
and/or the surrounding area as defined in 40 CFR § 125.122(a).




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5.0 Biological Overview

This chapter describes the biological communities and processes in the eastern Gulf in general and in the
specific area of the proposed facility which may be exposed to pollutants, the potential presence of
endangered species, any unique species or communities of species, and the importance of the receiving
water to the surrounding biological communities.

5.1      Primary Productivity
Primary productivity is "the rate at which radiant energy is stored by photosynthetic and chemosynthetic
activity of producer organisms in the form of organic substances which can be used as food materials" (Odum,
1971). Primary productivity is affected by light, nutrients, and zooplankton grazing, as well as other
interacting forces such as currents, diffusion, and upwelling. The producer organisms in the marine
environment consist primarily of phytoplankton and benthic macrophytes. Since benthic macrophytes are
depth/light limited, primary productivity in the open ocean is attributable primarily to phytoplankton. The
productivity of nearshore waters can be attributed to benthic macrophytes--including seagrasses,
mangroves, salt marsh grasses, and seaweeds--and phytoplankton.

There are numerous methods for estimating primary productivity in marine waters. One method is to
measure chlorophyll content per volume of seawater and compare results over time to establish a
productivity rate. The chlorophyll measurement, typically of chlorophyll a, gives a direct reading of total plant
biomass. Chlorophyll a is generally used because it is considered the "active" pigment in carbon fixation
(Steidinger and Williams, 1970). Another method, the C14 (radiocarbon) method, measures photosynthesis
(a controversy exists as to whether "net", "gross", or "intermediate" photosynthesis is measured by this
method; Kennish, 1989). The C14 method introduces radiolabeled carbon into a sample and estimates the
rate of carbon fixation by measuring the sample's radioactivity. The units used to express primary
productivity are grams of carbon produced in a column of water intersecting one square meter of sea surface
per day (g C/m2/d), or grams of carbon produced in a given cubic meter per day (g C/m3/d).

C14 uptake throughout the Gulf is 0.25 g C/m3/hr or less, and chlorophyll measurements range from 0.05 to
0.30 mg/m3 (ppb). Eastern regions of the Gulf are generally less productive than western regions, and
throughout the eastern Gulf, primary productivity is generally low. However, outbreaks of "red-tide" caused
by pathogenic phytoplankton may occur in the mid- to inner-shelf. Also, depth-integrated productivity values
in the area of the Loop Current (primarily the outer shelf and slope) are actually higher than western and
central Gulf values. Enhanced productivity occurs in areas affected by upwelling. Near the bottom of the
euphotic zone, chlorophyll and productivity values are about an order of magnitude greater, probably due to
the often intruded, nutrient-rich Loop undercurrent waters (MMS, 1990).

Productivity measurements in the oceanic waters of the Gulf include: 0.1 g C/m2/d yielding 17 g C/m2/yr or
86 million tons of phytoplankton biomass (MMS, 1983); 103-250 g C/m2/yr (Flint and Kamykowski, 1984);
103 g C/m2/yr (Flint and Rabalais, 1981). For comparisons, the following data on primary productivity are
presented for coastal wetland systems as compiled by Thayer and Ustach (1981):

          Salt Marshes, 200-2000 g C/m2/yr
          Mangroves, 400 g C/m2/yr
          Seagrasses, 100-900 g C/m2/yr
          Spartina alterniflora, 1300 g C/m2/yr
          Thalassia, 580-900 g C/m2/yr
          Phytoplankton, 350 g C/m2/yr


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Biomass (chlorophyll a) measurements in the predominantly oceanic waters of the Gulf include: 0.05-0.30
mg Chl a/m3 (MMS, 1983a); 0.05-0.1 mg Chl a/m3 (Yentsch, 1982); 0.22 mg Chl a/m3 (El-Sayed, 1972); and
0.17 mg Chl a/m3 (Trees and El-Sayed, 1986). For the eastern Gulf, biomass (chlorophyll a) measurements
include the following (Yoder and Mahood, 1983):

         Surface mixed layer values of 0.1 mg/m3;
         Subsurface measurements at 40-60 m ranged from 0.2 to 1.2 mg/m3;
         Average integrated values for the water column over the 100-200 m isobath was 10 mg/m2; and
         Average integrated values for the water column greater than 200 m isobath was 9 mg/m2.

5.2      Phytoplankton

5.2.1 Distribution
Phytoplankton distribution and abundance in the Gulf is difficult to measure. Shipboard or station
measurements cannot provide information about large areas at one moment in time, and satellite imagery
cannot provide definitive information about local conditions that may be important. Due to fluctuations in
light and nutrient availability and the immobility of phytoplankton, distribution is temporally and spatially
variable. Seasonal fluctuations in location and abundance are often masked by patchy distributions which
human sampling designs must attempt to interpret. In addition, methods for measurement of chlorophyll or
uptake of carbon cannot always resolve all questions concerning variability among or within species under
different conditions, or those concerning the effects of grazing on abundance.

As mentioned in the previous section, phytoplankton occupy a niche at the base of food chain as primary
producers of our oceans. Herbivorous zooplankton populations require phytoplankton for maintenance and
growth -- generally 30-50 percent of their weight each day and surpassing 300 percent of their weight in
exceptional cases (Kennish, 1989). In the Gulf, phytoplankton are also often closely associated with bottom
organisms, and may also contribute to benthic food sources for demersal feeding fish.

Phytoplankton seasonality has been explained in terms of salinity, depth of light penetration, and nutrient
availability. Generally, diversity decreases with decreased salinity and biomass decreases with distance from
shore (MMS, 1990).

5.2.2 Principal Taxa
The principal taxa of planktonic producers in the ocean are diatoms, dinoflagellates, coccolithophores,
silicoflagellates and blue-green algae (Kennish, 1989).

Diatoms
Many specialists regard diatoms as the most important phytoplankton group, contributing substantially to
oceanic productivity. Diatoms consist of single cells or cell chains, and secrete an external rigid silicate
skeleton called a frustule. In 1969, Saunders and Glenn reported the following for diatom samples collected
5.6 to 77.8 kilometers (km) from shore in the Gulf between St. Petersburg and Ft. Myers, Florida. Diatoms
averaged 1.4 x 107 2/l surface area offshore, 13.6 x 107 2/l at intermediate locations and 13.0 x 108 2/l
inshore. The ten most important species in terms of their cellular surface area were: Rhizosolenia alata, R.
setigera, R. stolterfothii, Skeletonema costatum, Leptocylindrus danicus, Rhizosolenia fragilissima,
Hemidiscus hardmanianus, Guinardia flaccida, Bellerochea malleus, and Cerataulina pelagica.

Dinoflagellates
Dinoflagellates are typically unicellular, biflagellated autotrophic forms that also supply a major portion of
the primary production in many regions. Some species generate toxins and when blooms reach high
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densities, mass mortality of fish, shellfish, and other organisms can occur (Kennish, 1989). Notably,
Gymnodinium breve is responsible for most of Florida's red tides and several of the Gonyaulax species are
known to cause massive blooms (Steidinger and Williams, 1970). Table 5.1 lists species and varieties of
dinoflagellates found to be abundant during the Hourglass Cruises (a systematic sampling program in the
eastern Gulf.)

                            Table 5. 1 - Significant Dinoflagellate Species of the Eastern Gulf 5

                                  Species                               Biomass Value (µ3)
                                  Amphibologia bidentata                     67,039 - 95,406
                                  Ceratium carriense                     637,219 - 1,115,367
                                  C. carriense var. volans               622,206 - 1,196,643
                                  C. contortum var. karstenii            943,121 - 1,655,573
                                  C. extensum                              189,709 - 323,546
                                  C. furca                                   23,157 - 43,369
                                  C. fusus                                  34,463 - 154,722
                                  C. hexacanthum                         687,593 - 1,384,016
                                  Ceratium hircus                                    211,709
                                  C. inflatum                              145,897 - 221,276
                                  C. massiliense                         543,762 - 1,002,222
                                  C. trichoceros                           104,110 - 357,437
                                  C. tripos var. atlanticum                518,659 - 964,436
                                  Dinophysis caudata var. pedunculata       92,153 - 231,405
                                  Gonyaulax splendens                                 51,651
                                  Prorocentrum crassipes                             329,540
                                  P. gracile                                          25,773
                                  P. micans                                           65,412



Coccolithophores
Coccolithophores are unicellular, biflagellated algae named for their characteristic calcareous plate, the
coccolith, which is embedded in a gelatinous sheath that surrounds the cell. Phytoplankton of offshore Gulf
are reported to be dominated by coccolithophores (Iverson and Hopkins, 1981).

Silicoflagellates
Silicoflagellates are unicellular flagellated (single or biflagellated) organisms that secrete an internal skeleton
composed of siliceous spicules (Kennish, 1989). Perhaps because of their small size (usually less than 30 µm
in diameter) little specific information relative to Gulf distribution and abundance, is available for this group.

Blue Green Algae
Blue green algae are prokaryotic organisms that have chitinous walls and often contain a pigment called
phycocyanin that gives the algae their blue green appearance (Kennish, 1989). On the west Florida shelf,
inshore blooms of the blue green algae Oscillatoria erethraea sometimes occur in spring or fall.


5
    Source: Steidinger and Williams, 1970.


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5.3     Zooplankton
Like phytoplankton, zooplankton are seasonal and patchy in their distribution and abundance. Zooplankton
standing stocks have been associated with the depth of maximum primary productivity and the thermocline
(Ortner et al., 1984). Zooplankton feed on phytoplankton and other zooplankton, and are important
intermediaries in the food chain as prey for each other and larger fish.

As in many marine ecosystems, zooplankton fecal pellets contribute significantly to the detrital pool. The
ease of mixing in Gulf coastal waters may make them extremely important to nutrient circulation and primary
productivity, as well as benthic food stocks. Also contributing to the detrital pool is the concentration of
zooplankton in bottom waters, coupled with phytoplankton in the nepheloid layer during times of greater
water stratification.

Copepods are the dominant zooplankton group found in all Gulf waters. They can account for as much as 70
percent by number of all forms of zooplankton found (NOAA, 1975). In shallow waters, peaks occur in the
summer and fall (NOAA, 1975), or in spring and summer, (MMS, 1983a). When salinities are low, estuarine
species such as Acartia tonsa become abundant.

The following information on zooplankton distribution and abundance in the eastern Gulf is summarized
from Iverson and Hopkins (1981):

      During Bureau of Land Management-sponsored studies, small copepods predominated in net catches
      over the shelf regions of the eastern and western Gulf.
      During Department of Energy-sponsored studies at sights located over the continental slope of Mobile
      and Tampa Bays, small calanoids such as Parcalanus, and Clausocalanus and cyclopoids such as
      Farralanula, Oncaea, and Oithona predominated at the 0-200 m depths; and larger copepods such as
      Eucalanus, Rhincalnus, and Pleuromamma dominated at 1,000 m depths. Euphausiids were also more
      conspicuous. Night-time samples taken near Tampa showed larger crustaceans such as Lucifer and
      Euphasia. Biomass data for the same site revealed a decrease in zooplankton with increasing depth. The
      mean cumulated biomass value for the upper 1,000 m was 21.9 ml/m2.
      Studies funded by the National Science Foundation in the east-central Gulf found diurnal patterns of
      distribution in the upper 1,000 m, with increases in the 50 m range at night and in the 300-600 m zone
      during the day, most likely attributable to vertical migration. In the upper 200 m, in addition to copepods,
      group such as chaetognaths, tunicates, hydromedusae, and euphausiids were significant contributors to
      the biomass.

Icthyoplankton studies for the eastern Gulf conducted during 1971-1974 found fish eggs to be more abundant
in the northern half and fish larvae to be more abundant in the southern half of the eastern Gulf. Mean
abundances were 5,454 eggs/m2 and 3,805 larvae/m2 in the northern Gulf and 4,634 eggs/m2 and 4,869
larvae/m2 in the southern Gulf. Eggs were more abundant in waters less than 450 meters deep, whereas
larvae were more abundant in-depth zones greater than 50 meters (Houde and Chitty, 1976).

5.4       Habitats

5.4.1 Seagrasses
Seagrasses are vascular plants that serve a variety of ecologically important functions. As primary producers,
seagrasses are a direct food source and also contribute nutrients to the water column. Seagrass communities
serve as a nursery habitat for juvenile fish and invertebrates and seagrass blades provide substrate for
epiphytes. Species such as Thalassia testudinum have an extensive root system that stabilize substrate, and


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broad ribbon-like blades that increase sedimentation. Seagrasses mainly occur in shallow, clear, highly saline
waters. Seagrass beds do not occur in the proposed activity area.

Approximately 1.25 million acres of seagrass beds are estimated to exist in exposed, shallow,
coastal/nearshore waters and embayments of the Gulf. About 3 percent of these beds are in Mississippi.
Florida with Florida Bay and coastal Florida accounting for more than 80 percent. True seagrasses that occur
in the Gulf are shoal grass, paddle grass, star grass, manatee grass, and turtle grass. Although not considered
a true seagrass because it has hydroanemophilous pollination (floating pollen grains) and can tolerate
freshwater, widgeon grass is common in the brackish waters of the Gulf. (BOEM, 2012).

5.4.2 Offshore Habitats
Offshore habitats include the water column and the sea floor. The west Florida Shelf extends seaward of
Tampa Bay approximately 200 km to a depth of 200 m and consists mainly of unconsolidated sediments
punctuated by low-relief rock outcroppings and several series of high relief ridges. The seafloor on the west
Florida shelf in the proposed project area consists mainly of course to fine grain sands with scattered
limestone outcroppings making up about 18 percent of the seafloor habitat. These limestone outcroppings
provide substrata for the attachment of macroalgae, stony corals, octocorals, sponges and associated hard-
bottom invertebrate and fish communities (EPA, 1994).

5.5     Fish and Shellfish Resources
The distribution of fish resources in the eastern Gulf are highly dependent on a variety of factors including
habitat type, chemical and physical water quality variables, biological, and climatic factors. The Gulf contains
both a temperate fish fauna and a tropical fauna arrayed into inshore and offshore habitats depending on
latitude. To the south of the 20°C winter isotherm, approximately middle Florida, the more tropical fish fauna
occupies inshore habitats replacing the temperate fauna. To the north the tropical fauna is pushed further
offshore to avoid cold winter temperature and by increased competition by temperate species able to
tolerate cooler waters. In the northern Gulf where temperate species dominate inshore, a well-developed
tropical fauna occurs on offshore structures, particularly reefs (Hoese and Moore, 1977). During warm
weather the early life stages of the tropical fauna move further inshore around piers and jetties.

The temperate fish and invertebrate fauna of the north-central Gulf tend to be dominated by estuary
dependent species such as sciaenids (i.e., croaker, red and black drum, spotted seatrout), menhaden, shrimp,
oysters and crabs. These species require the transportation of early life stages into estuaries for grow out
into mature adults or juveniles and migration out to shelf environments. Shellfish resources in the Gulf tend
to be more estuarine dependent than finfishes. Gulf shellfish habitats range from brackish wetlands to
nearshore shelf environments. Of the 15 penaeid shrimp species found in the Gulf the brown, white and pink
shrimp are the most important. Adults of these species spawn in offshore marine waters and the free-
swimming post larvae move into estuaries to remain through their juvenile stages. Juvenile shrimp move
back offshore to molt into adults.

Reef fish assemblages may consist of mainly temperate species in the more northern Gulf with increasing
dominance of more tropical fish species, typically associated with coral reefs, further offshore and in the
more southern portions of the Gulf. Natural reef habitat in the eastern Gulf ranges from low relief (>1 m) live
bottom, high relief ridge habitats along the Florida shelf break and pinnacle formations of the Florida Middle
Grounds on the west Florida shelf. Man-made or artificial reef habitats also exist from oil and gas platforms,
sunken vessels and a variety of other structures placed intentionally for fisheries enhancement. These
structures comprise critical habitats for many important commercial and recreational fishes such as groupers
and snappers.



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Pelagic fish species are distributed by water column depth and relationship to the shore. Coastal pelagic fish
are those that move mainly around the continental shelf year-round, singly or in schools of various size. These
include some commercially important groups of fishes including sharks, anchovies, herring, mackerel, tuna,
mullet, bluefish and cobia. Oceanic pelagic fish occur at or seaward of the shelf edge throughout the Gulf.
Oceanic pelagic fish include many larger species such as sharks, tuna, bill fishes, dolphin and wahoo.

Extensive discussions of reef and migratory fish species in the Gulf can be found in the Final Programmatic
Environmental Impact Statement. Fishery Management Plan for Regulating Offshore Marine Aquaculture in
the Gulf (NOAA 2009).

A 2010 survey of the Tampa Ocean Dredge Material Disposal Site (ODMDS) that is approximately 18 miles
west of Tampa Bay, identified 29 species of demersal fishes associated with the high relief habitat created by
the dredged material spoil mound, with only 9 species on nearby natural low-relief hard bottom habitat.
Abundances of fishes on natural low-relief hard bottom in the area were also significantly smaller than on
the spoil mound (EPA, 2011).

5.6     Marine Mammals
All marine mammals are protected under the Marine Mammal Protection Act of 1972 (MMPA). There are 22
marine mammal species that may occur in the Gulf (i.e., one sirenian species (a manatee), and 21
cetacean species (dolphins and whales)) based on sightings and/or strandings (Schmidly, 1981; NOAA,
2009). Three of the marine mammals (sperm whales, Gulf Bryde’s whale, and manatees) are also
currently protected under the ESA.

Cetaceans (whales, dolphins, and porpoises) are the most common. Six of the seven baleen whales in the
Gulf are currently listed as threatened or endangered and of the 20 toothed whales present only the sperm
whale is endangered. During 1978 to 1987, a total of 1,200 cetacean strandings/sightings was reported for
Alabama, Florida and Mississippi to the Southeastern U.S. Marine Strandings Network. Ninety percent of
these stranding/sighting occurred off Florida coasts (the Florida figure reflects strandings from both the Gulf
and the Atlantic waters (NOAA, 1991). The cetaceans found in the Gulf include species that occur in most
major oceans, and for the most part are eurythermic with a broad range of temperature tolerances (Schmidly,
1981). An introduced species of pinniped, the California sea lion, occurred in small numbers only in the feral
condition, however no sightings of this species has been reported in the Gulf since 1990.

Most of the Gulf cetacean species reside in the oceanic habitat (greater than or equal to 200 m). However,
the Atlantic spotted dolphin (Stenella frontalis) is found in waters over the continental shelf (10-200 m), and
the common bottlenose dolphin (Tursiops truncatus truncatus) (hereafter referred to as bottlenose dolphins)
is found throughout the Gulf, including within bays, sounds, and estuaries; coastal waters over the
continental shelf; and in deeper oceanic waters. Bottlenose dolphins in the Gulf can be separated into
demographically independent populations called stocks. Bottlenose dolphins are currently managed by
NOAA Fisheries as 36 distinct stocks within the Gulf. These include 31 bay, sound, and estuary stocks, three
coastal stocks, one continental shelf stock, and one oceanic stock (Hayes et al., 2017). 6

More extensive discussions about marine mammals for the proposed project are within the Environmental
Assessment (EA) for the proposed project. Additionally, more information about marine mammals in the Gulf
can be found in the Final Programmatic Environmental Impact Statement (EIS) Fishery Management Plan for
Regulating Offshore Marine Aquaculture in the Gulf (NOAA, 2009), the EA for the EPA Oil and Gas general


6
  Marine Mammal Stock Assessment Reports and additional information on these species in the Gulf are available on the NOAA Fisheries
Office of Protected Species website: www.nmfs.noaa.gov/pr/sspecies/.

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NPDES permit (EPA, 2016), and in recent Bureau of Ocean and Energy Management (BOEM) EIS documents
(BOEM, 2012).

5.7    Endangered Species
The USFWS and NMFS evaluate the conditions of species and their populations within the United States.
Those species populations considered in danger of extinction are listed as endangered species pursuant to
the Endangered Species Act of 1973. In addition, Section 7(a)(2) of the ESA requires federal agencies to
ensure that their action do not jeopardize the continued existence of listed species or destroy or adversely
modify critical habitat. Table 5.2 provides the list of ESA-listed species that were considered by the EPA and
could potentially occur in or near the proposed action area.

More information about endangered species can be found in the Biological Evaluation for the proposed
project. Overall, potential impacts to the ESA-listed species considered by the EPA are expected to be
extremely unlikely and insignificant due to the small size of the facility, the short deployment period, unique
operational characteristics, lack of geographic overlap with habitat or known migratory routes, or other
factors that are described in the below sections for each species.

Threatened and endangered species that occur in the Gulf are discussed extensively in the 2016 EPA
Environmental Assessment for the EPA Oil and Gas general NPDES permit (EPA, 2016), BOEM EIS documents
(BOEM, 2013), and the Final PEIS for Offshore Marine Aquaculture in the Gulf (NOAA, 2009).




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Table 5.2 – Federally Listed Species, Listed Critical Habitat, Proposed Species, and Proposed Critical
Habitat Considered for the Proposed Action

                                                          Critical Habitat   Potential Exposure to
              Species Considered           ESA Status
                                                          Status             Proposed Action Area
              Birds
              1 Piping Plover              Threatened     Yes                No
              2 Red Knot                   Threatened     No                 No
              Fish
              1 Giant Manta Ray            Threatened     No                 Yes
              2 Nassau Grouper             Threatened     No                 Yes
              3 Oceanic Whitetip Shark     Threatened     No                 Yes
              4 Smalltooth Sawfish         Endangered     No                 Yes
              Invertebrates
              1 Boulder Star Coral         Threatened     No                 No
              2 Elkhorn Coral              Threatened     No                 No
              4 Mountainous Star Coral     Threatened     No                 No
              5 Pillar Coral               Threatened     No                 No
              7 Staghorn Coral             Threatened     No                 No
              6 Rough Cactus Coral         Threatened     No                 Yes
              3 Lobed Star Coral           Threatened     No                 Yes
              Marine Mammals
              1 Blue Whale                 Endangered     No                 Yes
              2 Bryde's Whale              Endangered     No                 Yes
              3 Fin Whale                  Endangered     No                 Yes
              4 Humpback Whale             Endangered     No                 Yes
              5 Sei Whale                  Endangered     No                 Yes
              6 Sperm Whale                Endangered     No                 Yes
              Reptiles
              1 Green Sea Turtle           Threatened     No                 Yes
              2 Hawksbill Sea Turtle       Endangered     Yes                Yes
              3 Kemp's Ridley Sea Turtle   Endangered     No                 Yes
              4 Leatherback Sea Turtle     Endangered     Yes                Yes
              5 Loggerhead Sea Turtle      Threatened     Yes                Yes




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6.0 Commercial and Recreational Fisheries

6.1     Overview
Though the Gulf Region includes Alabama, Louisiana, Mississippi, Texas, and West Florida, much of the
following discussion will focus on Gulf states in the eastern portion of the Gulf. Federal fisheries in this region
are managed by the Gulf Fishery Management Council (GMFMC) and the NMFS under seven fishery
management plans (FMPs): Red Drum, Shrimp, Reef Fish, Coastal Migratory Pelagic Resources (with SAFMC),
Spiny Lobster (with SAFMC), Corals, and Aquaculture. The coastal migratory pelagic resources and spiny
lobster fisheries are managed in conjunction with the South Atlantic Fishery Management Council (SAFMC).

Several of the stocks or stock complexes covered in these fishery management plans, are currently listed as
overfished: gray snapper, greater amberjack, and lane snapper. 7 Other impacts to commercial fisheries in the
Gulf in recent years include a number of hurricanes, especially with major storms making landfall in Louisiana
and Texas in 2005 (Hurricanes Katrina and Rita) and 2008 (Hurricanes Gustav and Ike). Locally, these storms
severely disrupted or destroyed the infrastructure necessary to support fishing, such as vessels, fuel and ice
suppliers, and fish houses. 8

The Deepwater Horizon oil spill in 2010 severely affected fisheries in the Gulf. Large parts of the Gulf,
including state and federal waters, were closed to fishing during May through October, 2010. Both Alabama
and Mississippi reported less than half and Louisiana about three quarters of their annual shrimp landings
compared to the average of the previous three years. The impacts of the spill remain under study and the
long-term consequences of the oil spill on fish stocks and the fishing industry have yet to be fully assessed.

6.2      Commercial Fisheries
Information from the NMFS in 2013 shows that commercial fishermen in the Gulf Region landed 1.4 billion
pounds of finfish and shellfish, earning $937 million in landings revenue (NMFS, 2014; NMFS, 2015). In 2014
1.1 billion pounds were landed at a value of over $1.0 billion. From 2003 to 2013, most of the commercial
fisheries revenue and catch (91 percent and 96 percent respectively) was dominated by ten key species or
species groups (Table 6.1).

Commercially important species groups in the Gulf include oceanic pelagic (epipelagic) fishes, reef (hard
bottom) fishes, coastal pelagic species, and estuarine-dependent species. Landings revenue in 2012 was
dominated by shrimp ($392 million) and menhaden ($87 million). These species comprised 63 percent of
total landings revenue, and 90 percent of total landings in the Gulf Region. Other invertebrates such as blue
crab, spiny lobster, and stone crab also contributed significantly to the value of commercial landings. Other
finfish species that contributed substantially to the overall commercial value of the Gulf fisheries included
red grouper, red snapper, and yellowfin tuna. In terms of landing weight, Atlantic menhaden far surpassed
other commercial fish species in the Gulf, accounting for approximately 73 percent of the total weight of
landed commercial species in 2013 (Table 6.2). However, Atlantic menhaden accounted for only about 10
percent of the total value of the Gulf commercial fishery. The portion of commercial fishery landings that
occurred in nearshore and offshore waters of the Gulf States is presented in Table 6.3

In 2013, the eastern Gulf Region's seafood industry generated $527 million in sales in Alabama, $268 million
in sales in Mississippi, and $15 billion in sales in Florida Table 6.4). Florida generated the largest employment,
income, and value-added impacts, generating 78,000 jobs, $2.9 billion, and $5.1 billion, respectively. The


7
  Updated information on fishery stock is available at: www.fisheries.noaa.gov/national/population-assessments/fishery-stock-status-
updates
8
    Current information on US fisheries can be found at: www.nmfs.noaa.gov/sfa/fisheries_eco/status_of_fisheries/

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smallest income impacts were generated in Mississippi ($200 million) and the smallest employment impacts
were also generated in Mississippi (6,432 jobs) (NMFS, 2015).

                         Table 6.1 - Key Gulf Region Commercial Species or Species Groups

                                              Shellfish           Finfish
                                              Crawfish            Groupers
                                              Blue Crab           Menhaden
                                              Oysters             Mullets
                                              Shrimp              Red Snapper
                                              Stone Crab          Tunas



Table 6.2 - Total Weights and Values of Key Commercial Fishery Species in the Gulf Region in 2013 9

                                              Weight                         Value
               Species                                                                   % Weight       % Value
                                    (thousands of lbs)       (Thousands of dollars)
               Menhaden                    1,020,244                        95,277            73.3          10.2
               Shrimp                        204,527                      503,842             14.7          53.8
               Blue crab                      46,543                        61,264              3.3           6.5
               Oyster                         19,230                        76,729              1.4           8.2
               Crayfish                       19,823                        16,593              1.4           1.8
               Mullets                        13,482                        13,222            0.01          0.01
               Stone crab                       3,778                       24,762           0.003            2.6
               Groupers                         7,280                       23,396           0.005            2.5
               Red snapper                      5,286                       20,493           0.004            2.2
               Tuna                             2,107                        7,352           0.002         0.008
               Total                       1,392,364                      936,660                 -             -



Table 6.3 - Value of Gulf Coast Fish Landings by Distance from Shore and State for 2012 ($1,000) 10

                                                                Distance from Shore
                                      State
                                                             0-3 miles      3-200 miles
                                      Florida (Gulf)     $    64,727        $   75,232
                                      Alabama            $    15,870        $   27,195
                                      Mississippi        $    29,767        $   19,509



In 2013 1.4 billion pounds of finfish and shellfish were landed in the Gulf Region. This was a 6.7 percent
decrease from the 1.5 billion pounds landed in 2004 and a 7.0 percent increase from the 1.3 billion pounds


9
 NMFS, 2015.
10
  https://www.st.nmfs.noaa.gov/commercial-fisheries/commercial-landings/other-specialized-programs/preliminary-annual-landings-
by-distance-from-shore/index

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landed in 2012. Finfish landings experienced a 9.6 percent decrease between 2012 and 2013 while shellfish
landings experienced a 1.6 percent decrease over the same period (Table 6.5).

From 2004 to 2013, species or species groups with large changes in landings include tunas (decreasing 46
percent), groupers (decreasing 39 percent), and oysters (decreasing 23 percent). Species or species groups
with large changes in landings between 2012 and 2013 include crawfish (increasing 66 percent), and red
snapper (increasing 24 percent) (NMFS, 2015).

The Deep-Water Horizon event had immediate effects on the Gulf fishing industry between April and
November 2010, with up to 40 percent of Federal waters being closed to commercial fishing in June and July
(CRS 2010). Portions of Louisiana, Alabama, Mississippi, and Florida state waters have also been closed. These
areas are some of the richest fishing grounds in the Gulf for major commercial species such as shrimp, blue
crab, and oysters, and as prices for these items have increased, imports of these species have likely taken the
place of lost Gulf coast production. NOAA continued to reopen areas to fishing once chemical tests revealed
levels of hydrocarbons or dispersants in commercial species were not of concern to human health.

It cannot be determined from these data whether the decreases in fin and shell fish landings were the result
of reduced stock sizes, changes in stock geographic distribution or changes in fishing effort, however studies
are currently on going and it is not known at this time whether there are long term affects to fisheries due to
the spill.

Table 6.4 - 2013 Economic Impacts of the Eastern Gulf Region Seafood Industry (thousands of dollars) 11

         State             Jobs        Landings Revenue           Sales               Income        Value Added
         Alabama         $ 12,090           $    55,434        $ 526,767          $ 200,494          $ 265,580
         Mississippi     $ 6,432            $    46,618        $ 268,367          $ 107,340          $ 138,779
         Florida         $ 78,378           $   148,058       $ 15,319,435       $ 2,878,309        $ 5,136,623

dings Revenue Jobs Sales Income Valued Added
Table 6.5 - Total Landings and Landings of Key Species/Species Groups From 2010 to 2013 (thousands of
pounds) 122003 2004 2005 2006 2007 2008 2009 2010 2011 2012

                          Landings                  2010        2011          2012         2013
                          Finfish & other         810,649   1,472,798       987,374    1,092,148
                          Shellfish               261,419     319,752       305,821      300,216
                          Total landings        1,072,068   1,792,550     1,293,195    1,392,364

6.3      Recreational Fisheries
The NMFS (2015) estimates that in 2013, over 3.3 million recreational anglers took 25 million fishing trips in
the Gulf Region. The key fish species or species groups making up most of the recreational fishery in the Gulf
are listed in Table 6.6.

Of the three eastern Gulf states, western Florida had the highest number of anglers and fishing trips in 2013
(15.9 million), followed by Alabama (2.8 million), and Mississippi (1.8 million) (Table 6.7). Almost 67 percent

11
     NMFS, 2015n
12
     NMFS, 2015

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of the fishing trips in the Gulf coast left out of west Florida, followed by Alabama (7 percent), and Mississippi
(5 percent). 41.8 percent of the total recreational fish landings (by weight) in the Gulf occurred in Florida,
12.8 percent 33 in Alabama, and 5.3 percent in Mississippi.

In Mississippi, nearly all landings were made in inland waters (98.6 percent). While the inland catch was
important in Alabama (50.0 percent) and Florida (44.0 percent), the offshore catch was larger in these states,
with 34.1 percent of the total catch landed up to 5 km (3 mi) from shore, and 16 percent at more than 5 km
(3 mi) in Alabama and 28.7 percent at less than 16 km (10 mi), and 27.3 percent at more than 16 km (10 mi)
in Florida.

Recreational fishing contributes to the Gulf state economies mainly through employment, expenditures
(fishing trips and durable good), and sales. Table 6.8 shows the economic impacts of recreational fisheries by
Gulf state. Recreational fishing activities generated over 87,000 full- and part-time jobs in Alabama,
Mississippi and West Florida, and over $10.0 billion in sales.

                                    Table 6.6 - Key Gulf Region Recreational Species 13

                                  Atlanta Croaker                  Gulf and Southern Kingfish
                                  Sand and Silver Seatrout         Spotted Seatrout
                                  Sheepshead porgy                 Red Drum
                                  Red Snapper                      Southern Flounder
                                  Spanish Mackerel                 Striped Mullet


Table 6.7 - Estimated Number of People Participating in Eastern Gulf Marine Recreational Fishing in 2013
(thousands) 14

                      Location                Coastal        Non-coastal    Out of state        Total
                      West Florida               1,813               NA           2,538         4,351
                      Alabama                      279              224             549         1,050
                      Mississippi                  171               67             101           339
                      Gulf Total                 2,263              291           3,098         5,740



Table 6.8 - 2013 Economic Impacts of Recreational Fishing Expenditures in the Eastern Gulf (thousands of
dollars) 15


        Location          Trips              Jobs               Sales             Income         Value Added

        Alabama           $    2,862         $      10,163       $ 927,409        $ 358,769      $ 569,144
        Mississippi       $    1,761         $      1,583        $ 146,333        $ 53,602       $ 87,684
        West Florida      $    15,949        $      76,236       $ 9,086,311      $ 3,423,836    $ 5,341,420
        Total             $    20,572        $      87,982       $ 10,160,053     $ 3,836,207    $ 5,998,248


13
   NMFS, 2015
14
   NMFS, 2015
15
   NMFS, 2015

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7.0 Coastal Zone Management Consistency and Special Aquatic Sites

This chapter addresses two of the 10 ODC: (5) The existence of special aquatic sites including, but not limited
to marine sanctuaries and refuges, parks, national and historic monuments, national seashores, wilderness
areas and coral reefs, and (8) Any applicable requirements of an approved Coastal Zone Management plan.

7.1     Coastal Zone Management Consistency
The Coastal Zone Management Act (CZMA) requires that any Federally-licensed or permitted activity
affecting the coastal zone of a state that has an approved coastal zone management program (CZMP) be
reviewed by that state for consistency with the state's program (16 USC § 1456(c)(A) Subpart D). Under the
Act, applicants for Federal licenses and permits must submit a certification that the proposed activity
complies with the state's approved CZMP and will be conducted in a manner consistent with the CZMP. The
state then has the responsibility to either concur with or object to the consistency determination under the
procedures set forth by the Act and their approved plan.

Consistency certifications are required to include the following information (15 CFR § 930.58): “A detailed
description of the proposed activity and its associated facilities, including maps, diagrams, and other technical
data; a brief assessment relating the probable coastal zone effects of the proposal and its associated facilities
to relevant elements of the CZMP; a brief set of findings indicating that the proposed activity, its associated
facilities, and their effects are consistent with relevant provisions of the CZMP; and any other information
required by the state.”

The states of Mississippi, Alabama, and Florida have federally approved CZMP. Each Gulf state has specific
requirements in their CZMA plans that outline procedures for determining whether the permitted activity is
consistent with the provision of the program.

Discharges covered by the proposed permit will occur in Federal waters outside the boundaries of the coastal
zones of the State of Florida. However, because these discharges could create the potential for impacts on
state waters, consistency determinations for the individual NPDES permit will be prepared by the proposed
project and submitted to the State of Florida. The following summaries describe the requirements of the
state’s management plan for consistency determination. The permit applicant must provide the necessary
data and information for the state to determine that the proposed activities comply with the enforceable
policies of the states’ approved program, and that such activities will be conducted in a manner consistent
with the program.

7.2     Florida Coastal Management Program
The Florida Coastal Management Program (FCMP) was approved by NOAA in 1981 and is codified at Chapter
380, Part II, F.S. The State of Florida's coastal zone includes the area encompassed by the state's 67 counties
and its territorial seas. The FCMP consists of a network of 24 state statutes administered by eight state
agencies and five water management districts.

The review of federal activities is coordinated with the appropriate state agency. Each agency is given an
opportunity to provide comments on the merits of the proposed action, address concerns, make
recommendations, and state whether the project is consistent with its statutory authorities in the FCMP.
Regional planning councils and local governments also may participate in the federal consistency review
process by advising the Department of Economic Opportunity (DEO) on the local and regional impact of
proposed federal actions. Comments provided by regional planning councils and local governments are
considered by the DEO in determining whether the proposed federal activity is consistent with specific
sections of Chapter 163, Part II, F.S., that are included in the FCMP. If a state agency determines that a


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proposed activity is inconsistent, the agency must explain the reason for the objection, identify the statutes
the activity conflicts with and identify any alternatives that would make the project consistent.

Federal consistency reviews are integrated into other review processes conducted by the state depending on
the type of federal action being proposed. The Florida State Clearinghouse administered by the Florida
Department of Environmental Protection (FDEP) Office of Intergovernmental Programs, is the primary
contact for receipt of consistency evaluations from federal agencies. The Clearinghouse coordinates the
state’s review of applications for federal permits other than permits issued under Section 404 of the CWA
and Section 10 of the Rivers and Harbors Act. As the designated lead coastal agency for the state, the FDEP
communicates the agencies’ comments and the state’s final consistency decision to federal agencies and
applicants for all actions other than permits issued under CWA Section 404 and Section 10 of the Rivers and
Harbors Act.

7.3     Special Aquatic Sites
Special aquatic sites are “geographic areas, large or small, possessing special ecological characteristics of
productivity, habitat, wildlife protection, or other important and easily disrupted ecological values. These
areas are generally recognized as significantly influencing or positively contributing to the general overall
environmental health or vitality of the entire ecosystem of a region” (40 CFR § 230.3). Areas of high relief
ridges and outcroppings occur on the west Florida Shelf (Figure 7-1). These include the Madison-Swanson
Marine Reserve, Florida Middle Grounds, Pulley Ridge, Steamboat Lumps Special Management Area, and
Sticky Ground Mounds (BOEM, 2013).

7.3.1 Madison-Swanson/Steamboat Lumps Marine Reserves/The Edges
Madison-Swanson and Steamboat Lumps Marine Reserves are at two ends of a line of ridges beginning north
of Tampa Bay along the 100 m isobath. Madison-Swanson and Steamboat Lumps were protected initially in
2002 and are now established Marine Protected Areas; no-take marine reserves sited on gag spawning
aggregation areas where all fishing is prohibited (219 square nautical miles). With the addition of The Edges,
during seasonal closures, Madison-Swanson and Steamboat Lumps cover 600 square miles.

7.3.2 Florida Middle Grounds HAPC (1984)
These reefs consist of a series of both high and low relief limestone ledges and pinnacles that exceed 15
meters (49 feet) in some areas. The area consists of roughly 348 nm² of this hardbottom region 150
kilometers (93 miles) south of the panhandle coast and 160 kilometers (99 miles) northwest of Tampa Bay.
It is a Habitat Area of Particular Concern protected by preventing use of any fishing gear interfacing with
bottom.

7.3.3 Pulley Ridge
Pulley Ridge is the deepest known photosynthetic coral reef off the continental United States. The area
contains a near pristine, deep water reef characteristic of the coral reefs of the Caribbean Sea which are located
in the southern quadrant of Pulley Ridge. These coral reefs occupy an area of about 111 square nautical miles.
In 2005, a section of Pulley Ridge was designated as Habitat Area of Particular Concern (HAPC), which
prohibited bottom anchoring by fishing vessels, bottom trawling, bottom longlines, buoy gear, and all
trap/pot use in the area.

7.3.4 Sticky Ground Mounds
Shelf-margin carbonate mounds in water depths of 116–135 m in the eastern Gulf along the central west
Florida shelf, off Tampa Bay. Various species of sessile attached reef fauna and flora grow on the exposed
hard grounds. Some taller species (e.g., sea whips and other gorgonians) appear to survive this intermittent
sand movement and accretion. Surveys on the southwest Florida Shelf revealed that the biotic cover on the


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live bottom patches is generally low and that the patches tend to be dominated by either algae or encrusting
invertebrates (Woodward Clyde Consultants and CSA, 1984).


                  Figure 7. 1 – High Relief Live Bottom Areas in the Central and Eastern Gulf 16




16
     BOEM, 2015


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8.0       Federal Water Quality Criteria and Florida Water Quality Standards

Factor 10 of the 10 factors used to determine no unreasonable degradation requires the assessment of
Federal marine water quality criteria and applicable state water quality standards (WQS).

8.1     Federal Water Quality Criteria
Pursuant to CWA § 303(c), the implementing regulations in 40 CFR § 131 establish the requirements for states
and tribes to review, revise and adopt WQS. The regulations also establish the procedures for EPA to review,
approve, disapprove and promulgate WQS pursuant to the CWA. State WQS apply within the jurisdictional
waters of the state. For marine waters, state WQS apply within three nautical miles of shore. There are no
WQS that apply for marine waters in the Gulf seaward of the three nautical mile boundary.

Section 304 of the CWA requires EPA to develop criteria for ambient water quality that accurately reflect the
latest scientific knowledge on the impacts of pollutants on human health and the environment. 17 EPA designs
aquatic life criteria to protect both freshwater and saltwater organisms from short-term and long-term
exposure. Aquatic life criteria are based on how much of a chemical can be present in surface water before
it is likely to harm plant and animal life. EPA's Section 304(a) criteria are not laws or regulations; they are
guidance that states or Tribes may use as a starting point when developing their own WQS.

8.2      Florida Water Quality Standards
The proposed facility will be located approximately 45 miles seaward of Sarasota Bay, Florida, beyond the
jurisdictional waters of the State of Florida. The WQS promulgated by Florida are not applicable to the
proposed project because the project is within federal waters of the Gulf; however, some information about
Florida’s WQS is presented below.

WQS for the surface waters of Florida are established by the Department of Environmental Regulation in the
Official Compilation of Rules and Regulations of the State of Florida, Chapter 62-302: Surface Water Quality
Standards (Effective March 27, 2018). 18 Minimum criteria apply to all surface waters of the state and require
that all places shall at all times be free from discharges that, alone or in combination with other substances
or in combination with other components of discharges, cause any of the following conditions.

      ·      Settleable pollutants to form putrescent deposits or otherwise create a nuisance
      ·      Floating debris, scum, oil, or other matter in such amounts as to form nuisances
      ·      Color, odor, taste, turbidity, or other conditions in such degree as to create a nuisance
      ·      Acute toxicity (defined as greater than 1/3 of the 96-hour LC50)
      ·      Concentrations of pollutants that are carcinogenic, mutagenic, or teratogenic to human beings or
             to significant, locally occurring wildlife or aquatic species
      ·      Serious danger to the public health, safety, or welfare.

These general criteria of surface water apply to all surface waters except within zones of mixing. A mixing
zone is defined as the surface water surrounding the area of discharge “within which an opportunity for the
mixture of wastes with receiving waters has been afforded.” Effluent limitations can be set where the
analytical detection limit for pollutants is higher than the limitation based on computation of concentration
in the receiving water.


17
    Current federal water quality criteria are found here: www.epa.gov/wqc/national-recommended-water-quality-criteria-aquatic-life-
criteria-table
18
   https://floridadep.gov/dear/water-quality-standards

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The antidegradation policy of the standards that applies in Florida waters requires that new and existing
sources be subject to the highest statutory and regulatory requirements under Sections 301(b) and 306 of
the CWA. In addition, water quality and existing uses of the receiving water shall be maintained and violations
of WQS shall not be allowed.

As discussed in Section 3, all point source wastewater discharges are subject to a NPDES permit. Potential
impacts from fish wastes will be determined by water quality and benthic monitoring to ensure that no
unreasonable degradation of the marine environment will occur in accordance with Section 403 of the CWA.




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9.0       Potential Impacts

This section summarizes the potential impacts to receiving waters of the Gulf that might occur as a result of
the discharges from the proposed project. Also discussed in this section is the transport and persistence
(Factor 2) and the toxicity and bioaccumulation potential (Factors 1 and 6) of pollutants discharged from the
proposed facility.

9.1     Overview
Net pen aquaculture and its resultant discharges may have effects on water and sediment quality and the
plant and animal communities living in the water column and those in close association with, on or in the
sediments. The major discharges, uneaten fish food and fish metabolic wastes, are likely to have their
greatest impacts on the water column, benthos and related communities.

The two major factors which determine the geographic distribution and severity of impacts of net pens on
the water column, seafloor sediments and benthic communities are farm operations management and siting.

      Farm Operations Management

      1. Loading. The biomass of fish reared in the pens is proportional to the amount of organic matter
         deposited from the pens. The greater the density of fish, the more concentrated the deposition of
         organic waste.
      2. Pen size. Larger pens, with the same loading, deposit sediments over a relatively smaller area (Earll
         et al 1984). Thus, the effects are more concentrated, however, the size of the area affected is less.
      3. Pen configuration. Pen configuration and orientation to the predominant currents can significantly
         affect the dispersion of wastes.
      4. Feed type. Different feeds have different settling rates. Slower rates allow greater dispersion. In
         addition, feed that has lower carbon and nitrogen levels and higher digestibility will produce less
         organic matter on the bottom.
      5. Feeding method. Feeding methods can affect both wastage of feed and utilization of that feed by the
         fish. In one study, hand feeding resulted in 3.6 percent wastage, and up to 27.0 grams per meter
         squared per day (g/m2/day) organic matter deposition on the bottom. The use of automatic feeders
         resulted in wastage of 8.8 percent and a maximum deposition of 88.1 g/m2/day (Cross, 1988).

      Siting

      1. Water depth and current velocity. In deeper water and faster currents, the dispersion of wastes will
         be greater.
      2. Bottom current velocity. High bottom current velocities can erode and disperse resuspended
         sediments regardless of dispersion in the total water column.
      3. Bottom sediments and community. The benthic community will also affect the impact. Areas of high
         biological productivity may be able to assimilate higher organic deposition. However, adverse impacts
         may have greater significance due to the importance of such productive areas. Conversely, areas
         having few organisms may have less assimilative capacity, but creation of an azoic zone may have less
         effect on the biological community

9.2    Water Column Impacts
The water quality around coastal fish farms is affected by the release of dissolved and particulate inorganic
and organic nutrients. Water column effects around fish farms include a decrease in dissolved oxygen and

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increases in biological oxygen demand, and nutrients (P, total C and organic and inorganic N) (Penczak et al.,
1982). Degradation of water quality parameters is greatest within the fish culture structures and improves
rapidly with distance from holding pens. Recent studies have documented only limited water column impacts
due to rapid dispersal (Holmer, 2010). The health of the fish stocks is a self-limiting control on water column
pollution. Another review found that though the probability of any measurable impact from an offshore farm
appears to significantly decrease with distance from the farm, such information suffers from a general lack
of robustness and should be quantified with better systematic and standardized reporting with respect to
physical farm characteristics (Froehlich et. al., 2017).

9.2.1 Turbidity
Turbidity, an indication of water clarity, may be affected by fish farming operations. The loss of fish food and
feces is the largest source of increase in turbidity around net pens. Net cleaning can also significantly increase
turbidity down current of net pens. Turbidity will likely be most affected by cage siting with current velocities
and tidal influence the major factors. A study in the Puget Sound reported that floating net pens did not
affect turbidity (NMFS 1983). Turbidity ranged from 0.5 to 2.0 NTU throughout the study, but measurements
were not taken during net cleaning. In other studies, suspended solid concentrations and light attenuation
(due to turbidity) were found to be insignificant or localized.

9.2.2 pH
The effects of fish farming on water column pH was studied by Pease (1977) who reported that a net-pen
facility in a poorly flushed, log rafting area (Henderson Inlet, Washington) did not affect pH. Pease also
reported that tidal factors were the primary factor regulating pH at all sites.

9.2.3 Temperature
The operation of floating net pens would not affect water temperatures in the Gulf. Net pens have no
features that would measurably change heat loss or heat gain in surrounding waters.

9.2.4 Fecal Coliforms
Fecal coliform bacteria are produced in the digestive tracts of warm-blooded animals. Net pens do not
directly affect ambient (existing) fecal coliform concentrations in surrounding waters because fecal coliforms
are not produced in fish. However, fecal coliform levels could indirectly increase near net pens from increased
marine bird and mammal activity or human activity.

9.2.5 Nutrients
Nutrient addition to the Gulf is of concern because they contribute to certain harmful algal blooms (HABs).
HABs are on the rise in frequency, duration, and intensity in the Gulf, largely because of human activities
(Corcoran, et.al., 2013). Of the more than 70 HAB species occurring in the Gulf, the best-known is the red
tide organism, Karenia brevis, which blooms frequently along the west coast of Florida. Macronutrients,
micronutrients and vitamins characteristic of fish farms are growth-promoting factors for phytoplankton. The
primary nutrients of interest in relation to net pens are nitrogen and phosphorus; both may cause excess
growth of phytoplankton and lead to both aesthetic and water quality problems. Generally, in marine waters,
phytoplankton growth is either light or nitrogen limited, and phosphorus is not as critical a nutrient as it is in
fresh water (Ryther and Dunstan, 1971; Welch, 1980). However, it has been shown that because nutrient
fluctuations in the Gulf can be significant due to the large inputs from river systems, both nitrogen limitation
and phosphorus limitation can happen in different locations, but during the same time frame (Turner and
Rabalais, 2013)

Nitrogen may be categorized as: (1) inorganic (nitrate, nitrite and ammonia and nitrogen gas); and (2) organic
(urea and cellular tissue). Most of the organic matter in waste food and feces from net pens is composed of
organic carbon and nitrogen (Liao and Mayo, 1974; Clark et al., 1985). About 22 percent of the consumed
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nitrogen is retained within the fish tissue and the remainder (78 percent) is lost as excretory and fecal matter
(Gowen and Bradbury 1987). In a summary of nitrogen budgets in marine cage aquaculture, Islam (2005)
reported that 68–86 percent of the nitrogen input as feed is eventually released to the environment. In a
recent study, it was determined that about 63 percent of nitrogen fed at a rainbow trout Oncorhynchus
mykiss farm was lost as dissolved nitrogen (Norði et al., 2011).

Approximately 87 percent of the metabolic waste nitrogen is in the dissolved form of ammonia and urea; the
remainder (13 percent) is lost with the feces (Hochachaka, 1969). Salmon will produce approximately 0.22 to
0.28 grams of all forms of dissolved nitrogen per day per kilogram of fish produced annually (Ackefors and
Sodergren, 1985; Penczak et al., 1982; Warren-Hansen, 1982). Ammonia and urea are essentially
interchangeable as phytoplankton nutrients. Immediately downstream of most net pens (5-30 m) the
concentration of ammonia diminishes greatly. This decrease is probably due to the natural microbial process
of nitrification (oxidation of ammonia to nitrites and nitrates). Rapid rates of nitrification are expected in any
well-oxygenated aquatic environment (Harris 1986). The effects of these factors on phytoplankton near fish
farms are variable and not enough scientific evidence is available to suggest that macronutrients and
micronutrients from fish farming, or the proposed project, can be directly related to the occurrence of red
tides.

9.2.6 Ammonia Toxicity
Toxic chemicals would not be introduced into the net pens from fish stock or food. Ammonia in the un-ionized
form (NH3) is toxic to fish at high concentrations depending on water temperature and pH (EPA, 1986). High
ammonia levels in fish excrement have been shown to raise ambient (existing) ammonia concentrations.
Normal concentrations of ionized and un-ionized ammonia in Gulf waters are very low, with some variability.
A small percentage of the ammonia originating from net pens typically about 2 percent, will be of the toxic,
un-ionized form.

Near-field studies in Washington state (Milner-Rensel, 1986; Rensel, 1988 b,c) have shown increased
concentrations of ammonia immediately downstream or within the net pens. Total ammonia values typically
have increased from 3 to 55 percent above the low background levels. The highest observed concentrations
were only a small fraction of the maximum four-day, chronic exposure level recommended by EPA (1986). A
long-term study, under worst-case conditions in southern Puget Sound, found that the greatest
concentration of total ammonia observed at any time was 0.176 mg/l, equivalent to 0.006 mg/l un-ionized
ammonia, well below chronic exposure threshold (Pease, 1977).

In summary, increases in dissolved nitrogen (including ammonia) are typically seen within salmon net pens.
Immediately downstream, nitrogen or ammonia levels may also be elevated compared to ambient, upstream
values. However, results are variable (Price and Morris, 2013). In some cases, concentrations were greater
or much less than expected compared to predicted values based on freshwater hatchery data. However, even
within the net pens, toxic concentrations of un-ionized ammonia were not approached. Net pen fish culture
in open Gulf waters will be characterized by relatively large volumes of water passing through cages per unit
of fish production. This results in much greater dilution of waste products such as ammonia in net pens when
compared to freshwater hatcheries or municipal sewage discharges (Weston, 1986).

9.2.7 Phosphorus
Although nitrogen is generally considered to be the limiting macro-nutrient in many ocean waters, increasing
phosphorus levels in coastal waters due to anthropogenic sources is also of concern because some marine
systems can be phosphorus limited. Increased phosphorus may, along with nitrogen, contribute to algal
blooms and coastal eutrophication. Like nitrogen, the principal sources of phosphorus from fish farms are
uneaten food, fecal matter and metabolic wastes. A review of phosphorus budgets of marine cage
aquaculture reported that an average of 71.4 percent of the phosphorus in feed was released into the

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environment, the amounts depending on species cultured, feed type, and feeding efficiency (Islam, 2005).
Though fewer studies looked at phosphorus impacts, of those that did, a number showed measurable
increases in dissolved phosphorus around net pens, several showed statistically significant increases (Price
and Morris, 2013).

9.2.7 Dissolved Oxygen
Dissolved oxygen consumption by fish, and by microbial decomposition of fish wastes and excess food, could
significantly reduce water column dissolved oxygen concentrations near the pens. Most of the microbial
decomposition is associated with solids that settle to the bottom (Institute of Aquaculture, 1988). Thus, the
greatest potential for oxygen consumption would be from fish respiration near the surface and microbial
decomposition near the bottom.

The total effect of oxygen consumption from net-pen operations on dissolved oxygen concentrations near
the pens is highly variable. The loss of dissolved oxygen depends on the water exchange rate near pens, fish
density, and fish feeding rate. If the water exchange rate near the pens is high, there will be less reduction of
dissolved oxygen. If the fish density and fish feeding rate are high, there will be increased dissolved oxygen.

In general, the dissolved oxygen requirements of fish raised in net pens limit the impact net pens can have
on the environment. The lowest oxygen levels caused by net pens are likely to occur within the net pens and
immediately down current. Thus, the impact of low dissolved oxygen is likely to affect the net-pen operation
before having an effect on the surrounding environment.

9.3     Organic Enrichment Impacts to Seafloor Sediments
Numerous studies have shown that organic enrichment of the seabed is the most widely encountered
environmental effect of culturing fish in cages (Karakassis et al., 2000, Karakassis et al., 2002, Price and
Morris, 2013). The spatial patterns of organic enrichment from fish farms varies with physical conditions at
the sites and farm specifics and has been detected at distances from meters to several hundred meters from
the perimeter of the cage array (Mangion et al., 2014). Studies of fish farms in the Mediterranean showed
that the severe effects of organic inputs from fish farming on benthic macrofauna are limited to up to 25 m
from the edge of the cages (Lampadariou et al., 2005) although the influence of carbon and nitrogen from
farm effluents in sea floor can be detected in a wide area about 1,000 m from the cages (Sara et al., 2004).
The impacts on the seabed beneath the cages were found to range from very significant to relatively
negligible depending on sediment type and the local water currents, with silty sediments having a higher
potential for degradation.

Sedimentation rates are often 1-3 orders of magnitude higher at fish farms compared to unaffected areas of
the coast (Brown et al., 1987; Hall et al., 1990). Weston and Gowen (1988) found the greatest sediment
deposition occurred in the direction of the dominant current. Sediment traps under the pens estimated
deposition of 52.1 kilograms dry weight per meter squared per year (kg dry wt./m2/yr) and 29.7 kg dry
wt./m2/yr at the pen perimeter.

Sedimentation effects from net pens are the result of two major factors, additional particulate organic input
and inorganic sediment deposition. An additional factor contributing to sedimentation is organic matter that
grows on nets and is dislodged from the net during cleaning. This source contributes relatively little to the
total sedimentation generated by a net-pen operation (Weston, 1986). The organic input from these sources
affects both the chemical composition of the sediments and the responses of the organisms in the sediment
(Pearson and Rosenberg, 1978). A review of more recent studies pertaining to nutrient and organic carbon
loading to sediments from fish farms around the world can be found in Price and Morris (2013).



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One of the main impacts of organic enrichment to seafloor sediments is the stimulation of sediment
metabolism, i.e., increased microbial activity, sediment oxygen demand and nutrient release (Holmer, 1991).
High organic loading to the sea floor may result in the development of anoxic and reducing conditions and
the production of toxic gases, i.e., ammonia, methane and hydrogen sulfide (H2S).

In undisturbed sediments, oxygen is only able to penetrate a short distance depending upon sediment
porosity, bioturbation (activity of burrowing organisms), and current velocity, which controls the rate at
which oxygen is renewed at the sediment surface. Oxygenated sediments are typically light tan to light grey
in color. Below this oxic layer, sediments are oxygen depleted (anoxic). Anoxic sediments are characterized
by their dark black color, and the production of hydrogen sulfide gas. With increasing organic loading, the
demand for oxygen for microbial processes and reoxidation of reduced mineralization products increases.

Sediment oxygen demand (SOD) near fish farms can exceed the diffusive oxygen influx and the anoxic layer
moves closer to the surface (Brown et al., 1987). Studies have shown that sediment oxygen demand of
sediments enriched by fish-farming activities can be 2-5 times higher than in control areas (Hargrave, et al.,
1993). In these cases, the organic material often forms a layer over the original sediments. In stagnant areas
of poor circulation, oxygen demand by the anoxic sediments will reduce the dissolved oxygen in the overlying
water. Anaerobic metabolism of sediments becomes important in organic matter decomposition near farms
(Hall et al., 1990). Studies show that soleplate reduction is the terminal process for organic oxidation.
Anaerobic decomposition of the organic matter under these conditions may also lead to production of
methane in sufficient quantities to produce visible bubbles at the surface. At this point hydrogen sulfide will
reach concentrations that allow its distinctive "rotten egg" smell to be detected in the water. H2S is highly
toxic, making these sediments toxic, and at higher concentrations can lead to mortality of fish in pens.

The oxidation-reduction (redox) potential (positive = oxic; negative = anoxic) gives a relative indication of the
degree of enrichment. Negative oxidation-reduction (redox) values, indicating a strong possibility of
anaerobic conditions and the production of H2S, are common in sediments near and beneath net pens (Brown
et al., 1987). As organic matter continues to accumulate oxygen penetration into sediments are decreased
and redox potential values become more negative. Mats of white supplied oxidizing bacteria Beggiatoa spp.
covering the seafloor beneath salmonid cages have been observed (Hall et al. 1990).

It is estimated that only about 10 percent of the organic matter deposited from net pens each year is broken
down through microbial decomposition (Aure and Stigebrandt, 1990), and decomposition has been shown
to be inversely related to accumulation. Of the total carbon, nitrogen and phosphorous deposited to
sediments, around 79 percent, 88 percent and 95 percent respectively will accumulate and become
unavailable to the environment. Release of phosphorous to the environment is insignificant when deposits
are greater than 7 cm. Nitrogen mineralization is very slow in normally anaerobic sediments beneath net
pens where bioturbation and epifaunal reworking of sediments is minimized. In some studies, it was shown
that nitrogen cycling, nitrification (converting ammonium to nitrate) and denitrification (converting nitrate
to N2 gas) ceased. Most of the nitrogen is released to the water as ammonium and dissolved organic nitrogen.

A review of 41 papers (Kalantzi and Karakassis, 2006) covering a wide range of cultured species, habitats, site
characteristics and farm management practices concluded that their analysis suggests that the impact radius
at fish farms generally decreases with increased depth, at low latitudes and over fine sediment. The authors,
however, state that applying common standards over large geographic areas is challenging due to the
complex interplay of site characteristics among the studies they reviewed. A 2012 study of a farm in Norway
in 190 meters of water showed that despite deep water and low water currents, sediments underneath the
farm were heavily enriched with organic matter, resulting in stimulated biogeochemical cycling concluding
that water depth alone may not be sufficient (Valdemarsen, et.al., 2012). In another review of 64 studies of
benthic fish farm impacts, Giles (2008) developed a quantitative assessment of the relationships between
impact parameters and site and farm characteristics. The analysis showed that benthic impact was a function
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of fish density, farm volume, food conversion ratio, water depth, current strength and sediment mud content.
The analysis also suggested that fish farm impacts were confined to a radius of about 40 to 70 m around the
farms, however, the inability to satisfactorily model parameters as a function of distance from farms
demonstrated the complexity of the spatial distribution of the farms studied.

9.4     Organic Enrichment Impacts to Benthic Communities
The deposition of uneaten fish feed and feces may affect benthic communities in several ways. The
accumulation of organic and inorganic particulates may impact benthic flora and fauna. Significant changes
in the proportion of the fine sediment fractions can alter the microstructure of the habitat supporting
macroinfauna and meiofauna communities resulting in changes in both structure and function. High
sedimentation rates may interfere with feeding mechanisms of deposit and filter feeders. Benthic epifauna
and flora may be buried at very high rates of sedimentation. Sedimentation rates are often 1-3 orders of
magnitude higher at fish farms compared to unaffected areas (Brown et al., 1987; Hall et al., 1990; Holmer,
1991).

Sedimentation from net pens decreases sediment oxygen levels by increasing the demand for oxygen, and
by decreasing both diffusion and water flow into the interstitial spaces of the sediment. As increasing
amounts of fine sediment accumulate, the depth to which oxygen penetrates is reduced and the underlying
sediment layers become devoid of oxygen (anoxic) and unable to support animal life. The only organisms
found in such sediments will be those that have access to the surface waters for respiration via burrows or
siphons, and anaerobic bacteria, which derive energy from sources other than oxygen.

Depending on the rates of organic loading, community structure near net pens may become dominated by
pollution tolerant species or fauna may disappear entirely. Impact studies show variable results with some
showing a clear correlation between the deposition of fish wastes and community changes (Brown et al.,
1987). Pearson and Rosenberg (1978) present a comprehensive review of the impacts of organic enrichment
from a variety of natural and man-made sources on bottom sediments and the associated benthic
community. The authors show that benthic communities tend to respond along a gradient of organic loading
with effects most pronounced near the source and decrease progressively with increasing distance.

In undisturbed sediments a stable, diverse benthic community exists comprised of relatively large epibenthic
(surface dwelling) organisms, smaller burrowing organisms (< 0.5 mm) comprising the macroinfauna and the
meiofauna, smaller (< 0.064 mm) that occupy the interstitial spaces between sediment particles. As organic
matter is introduced into an undisturbed environment, it provides an additional source of nutrition for the
benthic organisms. This additional organic matter benefits the existing filter- and deposit- feeders, and
encourages colonization by additional species. Thus, both species diversity and biomass (total weight) of the
benthic organisms increases, and the benthic community is enhanced. The authors refer to this as the
"transition zone."

Earll et al. (1984) observed benthic conditions below 25 net-pen facilities in Scotland. He noted that the redox
potentials were reduced to a distance of 20 to 30 m from the pens and that Beggiatoa first appeared 10 to
15 m from the pen perimeter. Outside this zone, the sediment surface appeared normal and was light brown
in color with a thin covering of diatoms. Predator species such as crab, flatfish, nudibranchs, and anenomes
were abundant. Scallops, starfish, and sea cucumbers were also observed. Stewart (1984) noted that organic
loading, carbon:nitrogen ratios, and redox potentials were essentially normal beyond 40 m of a pen site. He
concluded that the transition zone extended 37 to 100 m from the pens.

High species abundance and diversity, representing both pre-existing species and newly colonized species,
were found in a zone 15 to 120 m from pens by Brown et al. (1987). Gowen et al. (1988) observed that total
organic carbon, redox potentials and dissolved oxygen levels were normal beyond 15 m of the pens, and that

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opportunistic species dominated the zone between 15 and 120 m, with the inner boundary of the transition
zone being 20 to 25 m from the pen boundary.

In studies conducted by Weston and Gowen (1988) it was estimated that normal benthic communities
extended to within 150 to 450 m of the pens. Mobile predators are also abundant in this area, including flat
fish (Pease 1984) and crab (Earll et. al., 1984; Cross, 1988). Weston and Gowen (1988) concluded that changes
in the biological community extended beyond the zone where chemical changes were detectable. Weston
(1990) studied benthic infauna response to organic enrichment at a large Puget sound fish farm. Species
richness, biomass and size of organisms decreased near the cages. Total abundance of individuals increased
when nematodes (pollution tolerant species) were included. Suspension and deposit feeders found at 450 m
either disappeared or were greatly reduced near cages.

Pearson and Rosenberg (1978) observed that as the level of organic input continues to increase, the
sediments become progressively dominated by various opportunistic deposit feeders which are able to
flourish under these conditions. The most notable deposit feeder is the small, common polychaeta worm
Capitella capitata, indicative of organic enrichment. Under these conditions, the abundance of these
opportunistic species can reach very high densities, to the exclusion of other species. Elimination of the
larger, deeper borrowing animals further reduces the ability of oxygen to penetrate the sediments.

Gowen et al. (1988), and Brown et al. (1987) observed that the area between 3 and 15 m was almost
exclusively dominated by opportunistic polychaete worms, especially Capitella capitata. The total number of
species in this zone was about 20 percent of that in undisturbed sediments. The number of individuals,
however, was 2 to 3 times normal with total biomass slightly below normal. All of the organisms were
polychaete worms, with Capitella capitata representing 80 percent of the total organisms. Weston and
Gowen (1988) observed increased concentrations of carbon, nitrogen, and reduced redox potentials
between 15 and 60 m down current (east) from net pens in the Puget Sound. The abundance of organisms
was approximately 4 times greater than background at the pen perimeter and declined to background levels
at about 45 m, with Capitella capitata the dominant species. Biomass was reduced to about 45 m and
increased moderately between 90 and 150 m. Normal conditions were reached between 150 and 450 m from
the pens. Pease (1984) reported that geoduck (bivalve mollusk) abundance increased in this area away from
the pens. No geoducks were found in the area occupied by Bogota. However, in a more recently developed
site in British Columbia, geoducks were observed in within the more distant area occupied by Beggiotoa
(Cross 1988).

At very high rates of organic sedimentation, few species can survive. At this point, the anoxic layer reaches
the sediment surface, depriving the animals of oxygen and exposing them to toxic H2S. In these sediments,
the surface is black and devoid of any animals (azoic). Gowen et al. (1988) estimated that input of organic
matter at rates greater than about 8 g carbon/m /day resulted in production of methane and azoic conditions.
At low concentrations, H2S can reduce fish health through gill damage and at higher concentrations be toxic
to fish in the pens above the sediments. Such affects have only been reported in stagnant areas with little
water circulation.

Azoic zones have been reported under most net pens, though their presence depends on the size (amounts
of wastes produced) of the fish farm (Weston and Gowen 1988) and water circulation beneath and around
cages (Weston 1986; Institute of Aquaculture 1988). The absence of Beggiotoa under the pens observed by
Earll et al. (1984) was attributed to its need for both oxygen from surface water and H2S from the anoxic
sediments. No live animals were observed in this zone; however, occasional dead starfish, nudibranchs and
sea cucumbers were observed on the surface. Gas bubbles (methane) were evident in the sediment and
redox potentials were severely depressed. Stewart (1984) observed these conditions to extend to about 3 m
from the pen perimeter. observed a zone of dark, black sediments under most net pens observed. Similar
observations are reported by Gowen et al., (1988) extending 3 m from the pens. In this zone, total organic
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carbon levels are about twice background levels and redox potentials were consistently less than -100 mV,
despite seasonal variations. Dissolved oxygen in the overlying water was reduced and gas bubbles were
observed. Hall and Holy (1986) measured chemical changes below a small net pen complex. Both total organic
carbon and nitrogen concentrations were increased ten-fold above background levels, and benthic oxygen
consumption was increased 12 to 15 times. Deposition under these pens was 50 to 200 g/m2/day total solids,
about 20 times higher than background.

The effects of organic enrichment of the sediments begins quickly after installation and operation of the net
pens. Weston and Gowen (1988) observed only limited changes in the community at the Squaxin Island site
after 18 months of operation. Ritz et al. (1989) saw a decline in macroinfauna signifying moderately disturbed
conditions (biomass>abundance) beneath salmonid cages in Tasmania within seven weeks of fish stocking.
Infauna community conditions (biomass<abundance) returned to normal within seven weeks after harvest.
Further measurable change at 14 weeks post-harvest. Species richness increased by a factor of 2.5 after fish
were harvested. Mazzola et al. (1999) examined changes in meiofauna community structure at a
Mediterranean fish farm. Sediments reached reducing conditions within 6 weeks of commencement of
culture operations. Meiofauna species richness and abundance decreased (on average 70 percent) within
three months.

Recovery of affected benthic communities may take a period of months or years, however, the benthic
sediment chemistry appears to recover to normal levels relatively rapidly. In Puget Sound, Pamatmat et al.
(1973) observed normal benthic oxygen consumption 2 months after pen removal. Dixon (1986) noted that
bottom sediments appeared normal at two pen sites in the Shetland Island, 12 months after removal of the
pens. Biological recovery may take much longer depending on the successional colonization of the area by
different species and normal recruitment cycles (Pearson and Rosenberg, 1978). Species abundance will
recover more quickly than biomass due to the growth rates of the larger animals. Rosenberg (1976) observed
that the recovery of the area surrounding a pulp mill discharged required 3 to 8 years to recover.

An extensive review of more recent studies (since 2000) of fish farming impacts to benthic communities can
be found in Price and Morris (2013).

9.5      Antibiotics
Three antibiotics are currently registered by the U.S. Food and Drug Administration (FDA) for use in treating
fishes farmed for human consumption. Austin (1985) discussed the effects of antimicrobial compounds that
are used in fish farming and that may escape into the environment. He noted that data are not available on
the quantities of antimicrobial compounds entering the environment from fish farming. However, his
research provides estimates of probable concentrations of antibiotics leaving freshwater fish farms. The
estimated dilution of Oxytetracycline (OTC), based on maximum allowable levels of administration, was 1
part in 50,000,000. This dilution was regarded as a worst-case estimate, based on no retention of the
administered drug in the fish. Thus, Austin (1985) concludes that the concentrations of drugs reaching the
environment are very small.

Austin (1985) noted that use of antibiotics in fish farms could lead to an increase in antibiotic resistance
among bacteria in the farm effluent. Other authors have reported the phenomenon of antibiotic resistance
of bacteria near fish farms in which the medications are applied (Aoki, 1975, 1988; Aoki et al., 1971, 1972b,
1974, 1977, 1980, 1984, 1985, 1986a, 1987a; Aoki and Takahashi, 1986; Takashima, et al 1985; Bullock et al.,
1974; Toranzo et al., 1983). Bacteria can gain antibiotic resistance through the selection of bacteria which
contain resistance factors, or plasmids, some of which may be transferable from one fish pathogenic
bacterium to another under certain conditions (Akashi and Aoki, 1986b; Aoki and Kitao, 1985; Aoki and
Takahashi, 1987; Aoki et al., 1972a, 1986b, 1987b, 1981; Mitoma et al., 1984; Toranzo et al., 1984). It is also
known that the plasmids, or resistance factors, can confer resistance to more than one antibiotic when

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transferred from one bacterium to another (Aoki et al., 1987a). The presence of plasmids has been
documented in both fish pathogenic bacteria (see above citations) and in native aquatic bacteria (Burton et
al., 1982).

An FDA study to evaluate the use of OTC for aquatic applications analyzed the environmental impact of the
antibiotic on disease control in lobsters held in impoundments Katz (1984). Based on seawater dilution and
lack of long-term selective pressure favoring the persistence of OTC resistant organisms, Katz (1984)
concluded that "there should be no build-up of antibiotic resistant population of microorganisms from the
use of OTC in treating gaffkemia in lobsters." In the same report, Katz concluded that "the potential of R-
factor (resistance-factor) transfer between organisms should be minimal", due to dilution, low levels of
nutrients, low temperatures, and high salinity of seawater.

The technical literature cited above indicates the several factors. They are occurrence of antibiotic resistant
bacteria in association with aquaculture depends on the diversity, frequency, and dosage of antibiotic
administration, and environmental conditions of culture including temperature, dilution of the antibiotics,
and the containment of the fish and associated bacteria.

The reports of antibiotic resistance from Japan are from very intensive aquaculture sites characterized by
warm temperatures, high densities of fish grown in confined ponds, and the use of a variety of antibiotics
not registered for use in the United States. As well, the dosage and duration of antibiotic treatment in Japan
appears to exceed both legal and general practices in the United States. Thus, while these studies document
antibiotic resistance in fish pathogenic bacteria due to the administration of antibiotics, they should not be
interpreted to indicate that similar antibiotic resistance will occur under very different environmental
conditions and fish husbandry practices. Importantly, studies (Austin, 1985; Aoki et al., 1984) have noted that
the increased level of antibiotic resistance associated with antibiotic use around fish farms was soon reduced
after antibiotic use stopped. This phenomenon has been observed in human medicine (Forfar et al., 1966)
where dramatic declines in resistance levels of bacteria occur after antibiotic treatments are stopped.

The possibility of transfer of drug-resistance factors from a fish disease-causing bacteria to a potential human
disease-causing bacteria, V. parahaemolyticus, was investigated in Japan (Hayashi et al., 1982). Using test
tube conditions and temperatures of about 86°F to 96°F, these authors were able to transfer drug resistance
to V. parahaemolyticus. These authors also noted that in Japan, where antibiotics have been extensively used
in aquaculture, drug-resistant strains of the V. parahaemolyticus have never been found in the environment.

Toranzo et al (1984) reported the transfer of drug resistance from several bacteria isolated from rainbow
trout to the bacterium, Escherichia coli. The transfer to resistance was performed under laboratory
conditions at 25° C (77° F). The studies demonstrated the potential for transfer under controlled laboratory
conditions and these authors concluded that "Responsible use of drugs in aquaculture will aid in minimizing
the development and spread of R+ factor-carrying microorganisms that may confer drug resistance…”.

The accumulation of antibiotic residues in shellfish near fish farms has received little study. In the Puget
Sound area (Tibbs et al., 1988) found that mussels, oysters, and clams suspended within a matrix of net pens
in which coho salmon were being given food supplemented with OTC had no detectable levels of the
antibiotic in their tissues. That study examined the phenomenon of antibiotic accumulation in shellfish under
worst-case conditions with regard to the distance between the fish pen and shellfish (the shellfish were
placed within the matrix of fish pens). Weston (1986) noted the large dilution factor that would occur when
antibiotics are used in a net pen. He made conservative calculations and computed a diluted level of 3 parts
per billion of OTC in a parcel of water passed through a fish pen receiving medicated feed. Given this dilution
factor and the water-soluble nature of antibiotics like OTC, Weston (1986) concluded that there was little
potential for bioaccumulation of antibiotics used in fish farming.

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Jacobsen and Bergline (1988) reported the persistence of OTC in sediments from fish farms in Norway. These
authors also conducted laboratory tests and concluded that the half-life (time required for a given
concentration to decay to 50 percent of the starting concentration) for OTC in marine sediments was about
ten weeks, but would likely depend on sediment type and other factors. They examined sediments from
underneath four farms, but did not report the duration or quantities of OTC applied at each location. OTC
was found in sediments from three of the four farms at levels from 0.1 to 4.0 mg/kg (ppm) of dry matter. This
level would potentially be high enough to be inhibitory to marine bacteria (1-2 ppm is considered inhibitory)
including vibrios. However, since the concentration is reported relative to dry weight, it overestimates the
actual concentration in hydrated sediment. The study does demonstrate that measurable OTC can
accumulate below fish farms. Conservatively, the study can be interpreted to show the highest
concentrations were just above inhibitory levels on a dry-weight basis. The authors also noted that the
oxidation state of the sediments would affect the half-life of OTC. An Environmental Assessment of OTC by
the FDA (USFDA, 1983) concluded that "the use of OTC is beneficial to control diseases in aquatic
environment and does not pose adverse effects on this compartment. However, steps should be developed
to avoid the emergence of drug-resistant organisms."

Accumulation of antibiotics in marine sediments is also a function of the dilution factor (which determines
the level of antibiotic reaching the sediment), biotransformation of the compound in the sediment, oxidation
state of the sediment, and water solubility of the antibiotic. Levels of OTC such as those calculated by Weston
(1986) to reach sediments are not likely to have inhibitory effects on non-pathogenic bacteria, which are little
affected at levels below 1 ppm (Carlucci and Pramer, 1960). In their study of the microbial quality of water in
intensive fish rearing, Austin and Allen-Austin (1985) note that while it is difficult to make generalizations,
their study indicated that two freshwater fisheries they monitored did not produce "a major imbalance in
the aquatic bacterial communities."

Although some technical details require further study, the issues surrounding antibiotic use in fish farming
have received some detailed study. Studies demonstrate that antibiotics will be released into the
environment when used as a medication for farmed fish. Antibiotics have not been detected in shellfish held
near salmon net pens. One Norwegian study found concentrations of one antibiotic may have been close to
inhibitory levels in three of four farms. The concentrations of antibiotics outside of the immediate proximity
of the fish pens are regarded by most authors as being too low to have adverse effects.

The presence of plasmids, a mechanism by which bacteria transfer resistance, is documented in pathogenic
and native aquatic bacteria. Antibiotic resistance has been recorded in bacteria around fish farms. Most of
the technical literature describing antibiotic resistance in fish pathogenic bacteria is based on studies of
aquaculture practices and environmental conditions not comparable with salmon net-pen farming in the
Puget Sound region. These conditions include high temperatures, high densities of fish, close proximity of
multiple farms, and use of a variety of antibiotics not used in fish farming in the United States. Conditions in
the studies reporting antibiotic resistance favor the development of resistance. In comparison, salmon net-
pen farming in the Puget Sound region would not favor the development of antibiotic resistance. In addition,
the federal regulations that apply to the use of antibiotics in fish farming in the United States appear to be
much more stringent than those that apply in Japan and Europe, where most of the technical literature has
originated. Antibiotic resistance tends to disappear when antibiotic administration is stopped. Shellfish held
within a net-pen complex did not accumulate detectable levels of OTC. This observation and the calculated
dilution of antibiotics away from the fish pens further suggest that any quantities of antibiotics accumulated
in shellfish, or other benthic or planktonic marine invertebrates not near the pens would be substantially
below levels of concern.

The lack of antibiotic resistance in a potential human disease-causing bacteria such as V. parahaemolyticus
in Japan, despite the extensive use of antibiotics in aquaculture there, indicates the transfer of drug

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resistance from fish to human pathogenic bacteria is unlikely. It appears such transfer is a laboratory
phenomenon, which requires highly controlled conditions and is not representative of phenomena that occur
in the environment. The Toranzo et al (1984) study further demonstrates the potential for drug resistance
transfer under controlled conditions (77°F).

The applicant has indicated that FDA-approved antibiotics or other therapeutants will not likely be used
(within any feed or dosing the rearing water) during the proposed project.19 The need for drugs is minimized
by the strong currents expected at the proposed action area, the low fish culture density, the cage material
being used, and the constant movement of the cage. In the event that drugs are used, the NPDES permit
requires that the use of any medicinal products including therapeutics, antibiotics, drugs, and other
treatments are to be reported to the EPA. The report must include types and amounts of medicinal product
used and the period of time it was used.

9.6     Waste Deposition Analysis
The proposed project generates and discharges various amounts of solid and dissolved wastes depending on
the fish biomass contained and amount of feed added daily. Solid waste consists primarily of unconsumed
feed and fecal material. Other minor sources of solid wastes include dead fish, fish parts (i.e. scales, mucous,
etc.) and material dislodged during net cleaning operations. Dissolved wastes include fish metabolic wastes,
plus therapeutic agents (e.g. antibiotics), if used, antifoulants, if applicable. The focus of this analysis is the
discharge of the primary solid wastes, feed and fecal material and dissolved metabolic wastes.

This facility as proposed consists of a single 17 m diameter floating cage estimated to hold approximately
80,000 lbs of fish at harvest. It is estimated that feeding rates would approximately 745 lbs per day at the
maximum expected fish biomass. Factors influencing the transport and fate of materials discharged from net-
pen facilities include oceanographic characteristics of the receiving water, physical characteristics of the net-
pen, water depth below the net-pen, configuration and orientation of the net-pen system in relation to
predominant currents, type of food used, fish feeding rates and stock size. Oceanographic considerations
include tides, wind, stratification, and current velocities and direction.

The NCCOS conducted environmental modelling analysis of the proposed project to help determine the fate
and effects of solid wastes discharged from the net-pen at maximum production rates. Numerical models
were constructed based upon anticipated farming parameters including configuration (net pen volume and
mooring configuration), fish production (species, biomass, size) and feed input (feed rate, formulation,
protein content). It should be noted that the models used the maximum fish production amounts for the
entirety of the simulation period. Several model scenarios were constructed, the first based on the actual
estimated production of a single cohort to harvest. The second scenario examined the solids discharge based
on a doubling of the estimated actual production to provide a “worst case” for potential impacts. The third
model scenario assumed a maximum biomass for the entire 5-year term of the NPDES permit.

9.6.1 Solid Waste Discharge
A solids deposition model was performed using data from the production model, as well as environmental
and oceanographic data on the proposed offshore location (see NCCOS technical reports in Appendix A and
B). DEPOMOD and NewDEPOMOD, a particle tracking model for predicting the flux of particulate waste
material (with resuspension) and associated benthic impact, was developed for net-pen fish farms. Net
depositional flux of organic carbon was predicted in g m2/yr on a two-dimensional grid overlaid on the farm
footprint. The grid size of 4 km2 was selected such that it would encompass the whole depositional footprint.



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   The applicant is not expected to use any drugs; however, in the unlikely circumstance that therapeutant treatment is needed, three
drugs were provided to the EPA as potential candidates (hydrogen peroxide, oxytetracycline dihydrate, and florfenicol).

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The results of the first depositional model show that for the estimated production values, net organic carbon
accumulation would be at 3.0 g/m2/yr or less for 99.7 percent of the test grid. The second depositional model
performed at twice the estimated production, net organic carbon accumulation would be 5.0 g/m2/yr or less
for 99.0 percent of the grid.

The model also estimated a biotic index, Infaunal Tropic Index (ITI), that is used as an indicator of organic
enrichment based on expected changes in benthic macroinvertebrate community feeding responses to
increases in deposited organic matter. The three model simulations resulted in ITI predictions ranging from
58.67 to 58.96. The predicted ITI close to 60 suggests that the proposed Velella project will not likely have a
discernable impact on the benthic infaunal community around the site. The third modeling scenario (full
production for the 5-year term) showed that “Velella project will present challenges for monitoring and
detecting environmental impacts on sediment chemistry or benthic communities because of the circulation
around the project location and the small mass flows of materials from the net pen installation.”

9.6.2 Dissolved Wastes
The NCCOS technical reports estimated that 2,743 kg of ammonia nitrogen would be produced using the
maximum biomass for the entire 280-day fish production cycle. The report suggested that daily ammonia
production at levels twice as high as estimated will be undetectable within 30 meters of the cage at typical
current flows regimes in the vicinity of the proposed site.

The NCCOS technical report did not provide dilution estimates for the dissolved waste discharge downstream
of the cage. Modelling input parameters within the NCCOS report were used to calculate the flow-averaged
ammonia concentration at the downstream edge of the cage for comparison with published water quality
criteria for ammonia in saltwater (EPA, 1989). The ambient water quality criteria for ammonia in saltwater
state that “saltwater aquatic organisms should not be affected unacceptably if the four-day average
concentration of un-ionized ammonia does not exceed 0.035 mg/l more than once every three years on the
average and if the one-hour average concentration does not exceed 0.233 mg/L more than once every three
years on the average.”

A total ammonia loading of 2,743 kg, based an initial estimated 280-day fish production cycle (Table 3 within
the NCCOS technical report) was averaged to 9.8 kg/ammonia/day and 113.0 milligrams per second (mg/s).
The flow-averaged ammonia concentration is estimated at 0.0072 mg/l (based on an ammonia production of
9.8 kg/day loading rate). 20

Since the NCCOS technical report, changes in estimated production parameters resulted in total ammonia
loading estimates for a 365-day production cycle of 3,978 kg/day. The average daily ammonia load was
calculated at 10.9 kg/d and 126.0 mg/s. The flow-averaged ammonia concentration was estimated at 0.008
mg/l (based on an ammonia production of 10.9 kg/day loading rate). Estimates of the flow-averaged
ammonia concentrations at the cage edge at maximum fish production are significantly below the published
ammonia aquatic life criteria values for saltwater organisms.




20
   The current velocity used for flow calculations is 13.26 cm/s, which is the total mean from Table 4 within the NCCOS technical report. A
lateral two-dimensional cage surface area is 1,190,000 cm2. The lateral flow through the cage was estimated 15,779,400 cm3/s.

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10.0      Evaluation of the Ocean Discharge Criteria

This section summarizes EPA’s review of the ten factors that the EPA must consider in determining, pursuant
to 40 CFR § 125.122(a), whether a discharge will cause unreasonable degradation of the marine environment,
to ensure that the proposed NPDES permit complies with CWA § 403. This section discusses how conditions
and limitations included in the final permit for the proposed project ensure compliance with these ODC, and
the determination, under CWA § 403, that the NPDES permit will not cause unreasonable degradation of the
marine environment with all NPDES permit limitations, conditions, and monitoring requirements in effect.

10.1     Evaluation of the Ten ODC Factors

10.1.1 Factor 1 - Quantities, Composition, and Potential for Bioaccumulation or Persistence of Pollutants
The quantities and composition of the discharged material were presented in Section 4 and the potential for
bioaccumulation or persistence was addressed in Section 9. Due to the relatively small fish biomass
production estimated for this demonstration project and limited discharges other than fish food and fecal
matter, the volume and constituents of the discharged material are not considered sufficient to pose a
significant environmental threat through bioaccumulation or persistence. However, to confirm the EPA's
decision and as a precaution against any changes in operational practices that could change the EPA's
assumptions, the NPDES Permit requires environmental monitoring and implementation of an environmental
monitoring plan to meet the requirements of the CWA § 402 and CWA § 403.

10.1.2 Factor 2 - Potential for Biological, Physical, or Chemical Transport
Section 3 and 4 of this document discusses the oceanographic process characteristic of the continental shelf
off the west coast of Florida responsible for the physical transport of fish wastes in the environment. Section
8 discusses the results of predicted impacts to the water column and waste deposition on the seafloor
surrounding the proposed facility.

Due to the small scale of the proposed project and because the discharged wastes are largely comprised of
organic and inorganic particulates and dissolved metabolic wastes, there is little potential for biological or
chemical transport. Ocean currents are expected to flush the cages sufficiently to carry wastes away from
cages and dilute and disperse dissolved and solid wastes over a large area. For any solid matter settling on
the seafloor, bioturbation should serve to mix sediments vertically at low to moderate benthic loading rates
and resuspension of sediments should further enhance the dispersion of uneaten food and fecal matter. High
loading rates that would be expected to impair benthic communities and reduce the effect of bioturbation
are not expected to occur. The physical transport of these waste streams is considered to be the most
significant source for dispersion of the wastes and monitoring and regulation is based on the results of those
investigations.

10.1.3 Factor 3 - Composition and Vulnerability of Biological Communities
The third factor used to determine no unreasonable degradation of the marine environment is an assessment
of the presence of unique species or communities of species, endangered species, or species critical to the
structure or function of the ecosystem. Section 4 describes the biological communities of the eastern Gulf
including the presence of endangered species and Section 8 discusses the factors that make these
communities or species vulnerable to the permitted activities.

High organic loading from fish farms have been shown to alter the physical structure of benthic sediment
and to cause anoxic conditions which reduce diversity and abundance of infauna, meiofauna and epibenthic
organisms. The area around the proposed facility is mainly comprised of soft sand sediments and their
characteristic benthic communities. Results from deposition modeling (Section 8) show the potential for

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benthic impacts over an area in excess of 1 km2. The potential for impacts due to toxic effects from a
demonstration size fish farm discharge, however, is minimal.

10.1.4 Factor 4 - Importance of the Receiving Water to the Surrounding Biological Community
The importance of the receiving waters to the species and communities of the eastern Gulf is discussed in
Section 4 and Section 5 in conjunction with the discussion of the species and biological communities. The
receiving water is considered when determining the discharge rate restrictions. The dissolved nutrient
estimates and deposition modeling considered concentrations of organic particulates that may have impacts
on aquatic life. Permit limitations on minor discharges ensure that levels of these effluents are below levels
that could have impacts on local biological communities. EPA finds that operating discharges from the
proposed facility will have little adverse impacts on species migrating to coastal or inland waters for spawning
or breeding.

10.1.5 Factor 5 - Existence of Special Aquatic Sites
The existence of special aquatic sites and proximity to the proposed project are discussed in Section 7. EPA
has determined that the proposed area is located sufficiently far from special aquatic sites off the west Florida
coast that any impacts resulting from the proposed facility will likely be limited to the surrounding area,
within 300-500 meters from the perimeter of the cage array, and will therefore not impact any special aquatic
sites.

10.1.6 Factor 6 - Potential Impacts on Human Health
Section 9 details the Federal and state human health criteria and standards for pollutants of concern. These
criteria and standards are for marine waters based on fish consumption. These analyses compare projected
pollutant concentrations with these criteria and standards, and indicate that there will be an insignificant
depositional and water quality impact. In addition, the permit prohibits the discharge or use of antifouling
agents or chemical fish treatments other than antibiotics allowed by the FDA animals raised for human
consumption. Based on consideration of this factor, EPA finds that the proposed facility is not likely to have
impacts on human health.

10.1.7 Factor 7 - Recreational or Commercial Fisheries
The commercial and recreational fisheries occurring in the eastern Gulf, mainly Alabama, Florida, and
Mississippi, are assessed in Section 6. Based on the following, EPA finds that the discharges from the project
will not adversely affect water quality or the health of these fisheries:
     1. The modeling performed for the proposed project found that there would be minimal to insignificant
         impact on water quality and seafloor benthic communities.
     2. EPA determined that the conditions and limitations in the permit for the proposed project are
         adequate to ensure that the recreational and commercial fisheries will not be adversely impacted. In
         addition to environmental monitoring, the NPDES permit will include a requirement that all fish
         stocked must obtain an Official Certificate of Veterinary Inspection prior to being stocked, and
         implement BMPs related to fish health management.
     3. EPA evaluated that potential social, economic, and environmental impacts to commercial and
         recreational fisheries caused by the proposed project within the Environmental Assessment to
         comply with the National Environmental Policy Act (NEPA).
     4. The EPA determined, in consultation with NMFS, that there the minimal short-term impacts
         associated with the discharge will not result in substantial adverse effects on Essential Fish Habitat
         (EFH), habitats of particular concern, or managed species in any life history stage, either immediate
         or cumulative, in the proposed project area (see EFH consultation record for more information).




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10.1.8 Factor 8 - Coastal Zone Management Plans
Section 7 provides an evaluation of the coastal zone management plan for the State of Florida. On January 3,
2019, the permit applicant submitted a CZMA consistency determination to the Florida State Clearinghouse
with the Florida Department of Environmental Protection. On January 15, 2019, the Florida Department of
Agriculture and Consumer Services (FDACS) documented that the coastal consistency determination
submitted by the applicant was consistent with all FDACS statutory responsibilities for aquaculture. On
February 18, 2019, the Florida Fish and Wildlife Conservation Commission (FWC) found that the applicant’s
coastal consistency determination was consistent with FCMP. Therefore, the EPA has determined that the
action covered by this permit is consistent with the CZMA and its implementing regulations.

10.1.9 Factor 9 - Other Factors Relating to Effects of the Discharge
Effluent Guidelines and Standards have been developed for the Concentrated Aquatic Animal Production
(CAAP) Point Source Category for facilities producing 100,000 pounds or more of aquatic animals per year in
floating net pens or submerged cage systems (40 CFR Part 451 Subpart B). The New Source Performance
Standards effluent limitation guidelines for the CAAP industry were applied to the proposed project in the
NPDES permit. The effluent limitations and standards for these facilities are non-numeric effluent limitations
expressed as practices designed to control the discharge of pollutants from these types of operations. the
NPDES permit will include effluent limitations expressed as best management practices (BMPs) for feed
managment, waste collection and disposal, harvest discharge, carcass removal, materials storage,
maintenance, record keeping, and training. Therefore, impacts to water quality will be reduced by a range of
non-numeric effluent limitations through the implementation of project-specific BMPs and operational
measures.

Factor 9 of the marine unreasonable degredation criteria are “such other factors relation to the effects of
the discharge as may appropriate. Factor 9 was considered, along with the other 9 factors, in developing
permit conditions to ensure that unreasonable degradation to the marine environment will not occur as a
result of the discharges from the proposed facility. As provided in 40 CFR § 125.123(a), 21 the EPA has included
permit conditions that have been determined to be necessary to ensure that unreasonable degradation of
the marine environment will not occur by including necessary conditions specified in 40 CFR § 125.123(d),
including the following conditions:

      1. Implementation of environmental monitoring and an environmental monitoring plan will be required
         in the NPDES permit to meet the requirements 40 CFR § 125.123(d)(2). 22 The applicant will be
         required to monitor and sample certain water quality, sediment, and benthic parameters at a
         background (up-current) location and near the cage.
      2. In accordance with 40 CFR § 125.123(d)(3), 23 the NPDES permit must include two conditions related
         to fish health management and the indirect discharge of pathogens:
         a. a requirement that all stocking of live aquatic organisms, regardless of life stage, must be
              accompanied by an Official Certificate of Veterinary Inspection signed by a licensed and
              accredited veterinarian attesting to the health of the organisms to be stocked; and
         b. the BMP plan shall include conditions to control or minimize the transfer of pathogens to wild

21
   40 CFR § 125.123(a) states that “If the director on the basis of available information including that supplied by the applicant pursuant to
§ 125.124 determines prior to permit issuance that the discharge will not cause unreasonable degradation of the marine environment after
application of any necessary conditions specified in §125.123(d), he may issue an NPDES permit containing such conditions.”
22
   40 CFR § 125.123(d)(2) states that EPA is allowed to “specify a monitoring program, which is sufficient to assess the impact of the
discharge on water, sediment, and biological quality including, where appropriate, analysis of the bioaccumulative and/or persistent impact
on aquatic life of the discharge.”
23
   40 CFR § 125.123(d)(3): “Contain any other conditions, such as performance of liquid or suspended particulate phase bioaccumulation
tests, seasonal restrictions on discharge, process modifications, dispersion of pollutants, or schedule of compliance for existing discharges,
which are determined to be necessary because of local environmental conditions, and”

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           fish.
    3. In accordance with CWA § 403 of the, 40 CFR § 125.123(a), and 125.123(d)(3), the NPDES permit will
       contain a condition that “The discharge from the facility shall not cause unreasonable degradation of
       the marine environment underneath the facility and in the surrounding area” under 40 CFR §
       125.123(d)(3).

10.1.10 Factor 10 - Marine Water Quality Criteria
The Federal and state marine water quality criteria and standards are discussed in Section 8. The proposed
facility will be located in federal waters where no federal or state criteria apply; however, the discharges
from the proposed project are not expected to exceed the recommended federal water quality criteria for
marine waters that were considered in this ODC Evaluation.

10.2 Conclusion
The consideration of the ten factors discussed in this ODC Evaluation were based on the available information
from published literature regarding impacts that have occurred near net pen fish farms from around the
world, and information in the Administrative Record for the NPDES permit action regarding the proposed
facility and the potential impacts of discharges from the proposed facility. Sufficient information currently
exists regarding open water marine fish farming activities and expected impacts from such activities, coupled
with information regarding the proposed discharge, to allow the EPA to adequately predict likely
environmental outcomes for the Proposed project.

The EPA also determined that the NPDES permit must contain necessary conditions allowed by 40 CFR §
125.123(d). First, the NPDES permit will contain a comprehensive environmental monitoring plan that will
confirm EPA’s determination and ensure no significant environmental impacts will occur from the proposed
project. Second, the NPDES permit must include a requirement that all stocking of live aquatic organisms,
must obtain an Official Certificate of Veterinary Inspection prior to being stocked, and implement BMPs
related to fish health management. Finally, the NPDES permit will contain a condition that the discharge from
the facility shall not cause unreasonable degradation of the marine environment. EPA finds that these
conditions, along with other the other conditions in the NPDES permit (i.e. BMP plan, Facility Damage
Prevention and Control Plan, etc.), will ensure that the discharges from the facility do not cause unreasonable
degradation of the marine environment.

The EPA finds that “no-unreasonable degradation” will likely occur as a result of the discharges from this
project based on the available scientific information concerning open ocean fish farming, the results
predicted by deposition and dilution modeling, the effluent limit guidelines for the CAAP industry that are
being applied to this facility, and the conditions included within the NPDES permit as allowed by the ODC
implementing regulations.




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                                               Appendix A
                                        CASS Technical Report
   Environmental Modelling to Support NPDES Permitting for Velella Epsilon Offshore Demonstration
                             Project in the Southeastern Gulf of Mexico




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Coastal Aquaculture Siting and Sustainability
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                                CASS Technical Report
                                Environmental Modelling to Support NPDES Permitting for
                                Velella Epsilon Offshore Demonstration Project in the
                                Southeastern Gulf of Mexico
                                Lead Scientists: Kenneth Riley, Ph.D. and James Morris, Ph.D.
                                Environmental Engineer: Barry King, PE
                                Submitted to Jess Beck (NMFS) and Kip Tyler (EPA), July 19, 2018


        This analysis uses an environmental model to simulate effluent to inform the NMFS Exempted
        Fishing Permit (EFP) and EPA National Pollutant Discharge Elimination System (NPDES) Permit
        for the Velella Epsilon Offshore Demonstration Project. Kampachi Farms, LLC (applicant)
        proposes to develop a temporary, small-scale demonstration net pen operation to produce two
        cohorts of Almaco Jack (Seriola rivoliana) at a fixed mooring located on the West Florida Shelf,
        approximately 45 miles offshore of Sarasota, Florida (Figure 1; Table 1). Scientists from the
        NOAA Coastal Aquaculture Siting and Sustainability (CASS) program worked with the EPA
        project manager and the applicant to develop estimates of effluents and sediment related
        impacts for the offshore demonstration fish farm.

        A numerical production model for two cohorts of Almaco Jack was constructed based upon
        anticipated farming parameters including configuration (net pen volume and mooring
        configuration), fish production (species, biomass, size) and feed input (feed rate, formulation,
        protein content). Using industry standard equations, daily estimates of biomass, feed rates, total
        ammonia nitrogen production, and solids production (see Microsoft Excel Spreadsheet – Velella
        Epsilon Production Model) were developed under a production scenario to estimate the
        maximum biomass of 20,000 fish that would be grown to 1.8 kg in approximately 280 days. The
        total biomass produced with one cohort and no mortality was determined to be 36,280 kg. The
        density in the cage at harvest would be 28 kg/m3. Fish will be fed a commercially available
        growout diet with 43% protein content. Daily feed rations range from 12 kg at stocking to a
        maximum total daily feed ration equivalent to 399 kg at harvest. Maximum daily excretion of
        total ammonia nitrogen is estimated at 16 kg and solids production is 140 kg. A total of 66,449



        The Coastal Aquaculture Siting and Sustainability (CASS) program supports works to provide science-based decision
        support tools to local, state, and federal coastal managers supporting sustainable aquaculture development. The CASS
        program is located with the Marine Spatial Ecology Division of the National Centers for Coastal Ocean Science, National
        Ocean Service, NOAA. To learn more about CASS and how we are growing sustainable marine aquaculture practices at:
        https://coastalscience.noaa.gov/research/marine-spatial-ecology/aquaculture/ or contact Dr. Ken Riley at
        Ken.Riley@noaa.gov.
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kg of feed will be used for production of each cohort of fish to achieve a feed conversion ratio
(FCR) of 1.8. Summary statistics were developed for each cohort and the entire project (Table
2).

Table 1. Boundary locations for the Velella Epsilon Offshore Aquaculture Project.

         Location                     Latitude                   Longitude

 Northwest corner                   27.072360 N                -83.234709 W

 Northeast corner                   27.072360 N                -83.216743 W

 Southwest corner                   27.056275 N                -83.216743 W

 Southeast corner                   27.056275 N                -83.234709 W




Figure 1. Bathymetric map of proposed Velella Epsilon Offshore Aquaculture Project.
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Table 2. Summary statistics for the Velella Epsilon Offshore Aquaculture Project.

     Farming parameter                          Value
 Growout duration                        280 days per cohort
 Total number                           20,000 fish per cohort
 Individual size at harvest                     1.8 kg
 Maximum biomass                              36,280 kg
 Cage density at harvest                      28 kg/m3
 Maximum daily feed rate                       399 kg
 Total feed used                              66,449 kg
 Feed conversion ratio                           1.8


In order to estimate sediment related impacts, a depositional model (DEPOMOD; Cromey et al
2002) was parameterized with data from the production model and environmental and
oceanographic data on the proposed offshore location. DEPOMOD is the most established and
widely used depositional model for estimating sediment related impact from net pen operations.
DEPOMOD is a particle tracking model for predicting the flux of particulate waste material (with
resuspension) and associated benthic impact of fish farms. The model has been proven in a wide
range of environments and is considered through extensive peer-review to be robust and
credible (Keeley et al 2013). Although this modelling platform was initially developed for
salmon farming in cool-temperate waters (Scotland and Canada), it has since been applied and
validated with warm-temperate and tropical net pen production systems (Magill et al. 2006;
Chamberlain and Stucchi 2007; Cromey et al. 2009; Cromey et al. 2012). Coastal managers
responsible for permitting aquaculture worldwide have been using this modelling platform
because it produces consistent results that are field validated and comparable (Chamberlain and
Stucchi 2007; Keeley et al 2013). It is routinely used in Scotland and Canada to set biomass (and
thereby feed use) limits and discharge thresholds of in-feed chemotherapeutants (SEPA 2005).
Further, the model output has been used to develop comprehensive and meaningful monitoring
programs that ensure environmentally sustainable limits are not exceeded (ASC 2012).

Traditionally a baseline environmental survey is used to inform water quality and depositional
models with site specific analysis of currents, tidal flows, sediment profiles, and benthic infaunal
profiles (species richness and abundance). In the absence of a survey, data were collected from
oceanographic and environmental observing systems in the vicinity of the project area. Current
data were obtained from NOAA Buoy Station 42022 along the 50-m isobath and located 45 miles
northwest of the project location (27.505 N, 83.741 W). Currents were recorded continuously
from July 2015 through April 2018. Currents were measured at 1-meter intervals from 4.0
meters to 42.0 meters below the surface (Table 3). Bathymetric data were obtained from the

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NOAA Coastal Relief Model. Bathymetry was resampled to 10 x 10 meter grid cells using a
bilinear interpolation to all for use within the deposition model.

Table 3. Water column related impacts for the Velella Epsilon Offshore Aquaculture Project.
Values represent summation of daily values over a 280-day production cycle.

            Parameter                        Value (kg)
 Total solids production                       23,257
 Total ammonia nitrogen                         2,743
 Total oxygen consumption                      16,612
 Total carbon dioxide production               19,187


The depositional model was executed for two different production simulations that assume
maximum standing biomass and maximum feed rate, which is characteristic when the fish are at
pre-harvest size. The first simulation represented the maximum standing biomass for the Velella
Epsilon Offshore Aquaculture Project. The model was run for 365 days assuming a net pen with
a constant daily standing biomass at 36,275 kg (28 kg/m3) and a daily feed rate of 1.1 percent of
biomass or equivalent to 399 kg of feed. The second simulation doubled production to assess
sediment related impacts at higher levels of biomass and feed rates. The second simulation at a
higher level of production was intended to aid EPA in development of an environmental
monitoring program. Under the second simulation, the model was run for 365 days assuming
two net pens each with a combined constant daily standing biomass at 72,550 kg (28 kg/m3 per
net pen) and a daily feed rate of 1.1 percent of biomass or equivalent to 798 kg of feed.

Waste feed and fish fecal settling rates are important determinants of distance that these
particles will travel in the current flow. The model does not allow the settling velocity of
particles to change through the growing cycle. The values used for feed and feces represented
those that would be encountered during the period of highest standing biomass, largest feed
pellet size, and highest waste output. Each simulation assumed maximum standing biomass each
day of the simulation with a fecal settling velocity at 3.2 cm/s. Many marine fish have fecal
settling velocities ranging from 0.5 to 2.0 cm/s, while salmonids tend to have higher settling
velocities ranging from 2.5 to 4.5 cm/s. Fecal settling velocities applicable to salmon production
were used because they are well studied, validated, and allow for maximum benthic impact
assessment. Standard feed waste was estimated at 3% and the food settling velocity was 9.5
cm/s. Pelleted fish feed is the single largest cost of fish farming, and because of this expense,
farms use best feeding practices to ensure minimal loss. Feed digestibility and water content
were set at 85% and 9%, respectively, which are standards based on technical data provided by
feed manufacturers. All other model parameters were consistent with existing net pen farm
waste modelling methodologies (Cromey et al. 2002a,b) and regulatory farm modelling
standards (SEPA 2005).
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Figure 2. Distribution of current velocities (cm/s) and direction for NOAA Buoy Station 42022
located along the 50-m isobath approximately 45 miles northwest of project location. Currents
are reported for water column depths of 4 m, 24 m, and 36 m.

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Table 4. Current velocities (cm/s) for NOAA Buoy Station 42022 located along the 50-m isobath
approximately 45 miles northwest of project location. Average current velocities are reported
with standard deviation.

     Depth             Average current         Maximum current
      (m)                  (cm/s)                  (cm/s)
         4                 14.6 ± 8.1                    83.9
         10                12.8 ± 8.0                    80.3
         20                12.2 ± 7.3                    67.6
         30                13.8 ± 8.2                    70.8
         40                12.9 ± 7.6                    68.7


Table 5. Model settings applied for depositional simulations of an offshore fish farm in the Gulf
of Mexico.

 Input variable                                Setting
 Feed wastage                                    3%
 Water content of feed pellet                    9%
 Digestibility                                   85%
 Settling velocity of feed pellet             0.095 m/s
 Settling velocity of fecal pellet            0.032 m/s


Offshore fish farms can be managed in terms of maximum allowable impacts to water quality
and sediment that are based on quantifiable indicators. This project will be difficult to monitor
and detect environmental change because of the relatively low level of production associated
with a demonstration farm and the nature of the net pen configuration deployed and moving
about on a single point mooring.

Overall, this analysis found that the proposed demonstration fish farm is not likely to cause
significant adverse impacts on water quality, sediment, or the benthic infaunal community.
Water quality modelling demonstrated that at the maximum farm production capacity of 36,280
kg only insignificant effects would occur in the water column. We believe that the excreted
ammonia levels of 16 kg per day will be rapidly diluted to immeasurable values near (within 30
meters) of the net pen under typical flow regimes of 12.8 ± 8.0 cm s-1. Dilution models could be
used to estimate nearfield and farfield dilution as used in conventional ocean outfall systems.

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However, based on our experience with offshore aquaculture installations and development of
modeling and monitoring programs, we believe that ammonia levels will be difficult to detect
beyond the zone of initial dilution.

The model does not allow the net pen or mooring configuration to move in space or time,
therefore, the model was executed at a fixed location (27.064318, -83.225726) in the center of
the project location (i.e., farm footprint). Net depositional flux was predicted in g m-2 yr-1 on a
two-dimensional grid overlaid on the farm footprint. The grid size was selected such that it
would encompass the whole depositional footprint. The distribution of deposited materials
beneath the cage is a function of local bathymetry and hydrographic regime. In low current
speed environments, only limited distribution of the solids footprint occurs. As current speeds
increase, greater dispersion of solids occurs during settling resulting in a more distributed
footprint. Greater water depth at a site results in increased settling times and result in a more
distributed footprint. Solids distribution is even greater where bottom current speeds are high
causing sediment erosion and particle resuspension and redistribution.

The predicted carbon deposition and magnitude of biodeposition for the single and dual cage
scenarios were estimated over a 2.04 km by 2.04 km evaluation grid. The grid is partitioned into
cells numbering 82 east-west by 82 north-south and identified as 1-82 in both directions. The
units of the axes in both Figures 3 and 4 are these cell counts. The dimension of a single cell
therefore is 2,040m/82=24.87 m. The depositional model predicted and integrated at each one-
hour step, the total carbon that ended up in each cell in the model grid, of which there are 82 x
82 = 6,724 cells. At the end of an execution run the accumulated mass of carbon within each cell
is reported. Predicted annual benthic carbon deposition are presented in Figures 3 and 4.
Frequency histograms of the carbon deposition per cell were created to help with interpretation
of results. The depositional data derived from the frequency histograms are presented in Table
6 and 7.

Table 6 shows the distribution of carbon that results from a single net pen operated for one year
at maximum standing biomass. Of the 6,724 computational cells, 1,386 had no carbon from the
farm. Over 88% of the cells received less than or equal to 1 gram of carbon. Only 2 cells on the
farm measured more than 4 grams of carbon over the year-long simulation.

Table 7 shows the distribution of carbon that results from a two net pens operated for one year
at maximum standing biomass. Similar to the depositional model with one cage, over 75% of the
cells received less than or equal to 1 gram of carbon. One cell was calculated to receive more
than 11 grams, but it is a minuscule mass of carbon to be assimilated by a square meter of ocean
bottom.




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Table 6. Frequency of carbon deposition within 6,724 cells, each measuring 619 m2, over a
4.16-km2 grid system. Values represent an annual sum of carbon deposition resulting from an
offshore fish farm with a constant standing stock biomass of 36,275 kg.

  Carbon deposition           Occurrence              Frequency
      (g/m2/yr)                  (N)                     (%)
             0                   1,386                   20.6
          0.1 – 1.0              4,561                   67.8
          1.1 – 2.0               620                     9.2
          2.1 – 3.0               141                     2.1
          3.1 – 4.0                14                     0.2
          4.1 – 5.0                2                     0.03


Table 7. Frequency of carbon deposition within 6,724 cells, each measuring 619 m2, over a
4.16-km2 grid system. Values represent an annual sum of carbon deposition resulting from an
offshore fish farm with a constant standing stock biomass of 72,550 kg.

  Carbon deposition           Occurrence              Frequency
      (g/m2/yr)                  (N)                     (%)
             0                    999                    14.9
          0.1 – 1.0              4,086                   60.8
          1.1 – 2.0               903                    13.4
          2.1 – 3.0               390                     5.8
          3.1 – 4.0               200                     3.0
          4.1 – 5.0                75                     1.1
          5.1 – 6.0                40                     0.6
          6.1 – 7.0                20                     0.3
          7.1 – 7.0                7                      0.1
          8.1 – 9.0                3                     0.04
         9.1 – 10.0                0                      0.0
         10.1 – 11.0               0                      0.0
         11.1 – 12.0               1                     0.01


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Because of physical oceanographic nature of the site including depth and currents (>10 cm/sec),
dissolved wastes will be widely dispersed and assimilated by the planktonic community (Rensel
et al. 2017). The results of the depositional model show that benthic impacts and accumulation
of particulate wastes would not be detectable or distinguishable from background levels through
measurement of organic carbon, even when the standing stock biomass is doubled. The final
component or step in the modeling process is to predict some measure of change in the benthic
community as a result of increased accumulation of waste material. Deposition of nutrients may
result a minor increase in infaunal invertebrate population or no measureable effect whatsoever.

As part of the model assessment, benthic community impact was predicted by an empirical
relationship between depositional flux (deposition and resuspension) and the Infaunal Trophic
Index (ITI). The ITI is a biotic index that has been used to quantitatively model changes in the
feeding mode of benthic communities and community response to organic pollution gradients
(Word 1978, 1980; Maurer et al. 1999). ITI scores are calculated based on predicted solids
accumulation on the seabed (g m-2 yr-1). ITI scores range from 0 to 100 g m-2 yr-1 and are banded
in terms of impact as:

         60 < ITI < 100 – benthic community normal
         30 < ITI < 60 – benthic community changed
         ITI < 30       – benthic community degraded.

Correlations between predicted solids accumulation and observed ITI and total infaunal
abundance have been established using data from numerous farm sites around the world.
Among the findings of these studies, a completely unperturbed benthic community at
equilibrium is considered to have an ITI of 60 and an ITI rating of 30 is the boundary where the
redox potential of the upper sediment goes from positive to negative and sulfide production
begins. A standard approach in Europe and Canada is to use an ITI of 30 as a lower limit for
acceptable impacts. In the present study with the Velella Project, the two model simulations
resulted in ITI predictions ranging from 58.67 to 58.81. The predicted ITI close to 60 suggests
that the Velella Project, as proposed, will not likely have a discernable impact on the sediment or
benthic infaunal community around the site.

In summary, the resulting model predictions covered a range of outputs representing both
submitted farming parameters and a worst-case scenario (doubled standing stock biomass) for
the Velella Epsilon Project. We conclude that there are minimal to no risks to water column or
benthic ecology functions in the subject area from the operation of the net pen as described in
Kampachi Farms, LLC applications for EFP and NPDES permits.




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Figure 3. Predicted annual benthic carbon deposition field beneath one net pen with a standing
stock biomass of 36,280 kg of Almaco Jack (Seriola rivoliana). Gray circle indicates center
position of the net pen. Axes indicate simulation cell numbers and deposition mass is in grams.




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Figure 4. Predicted annual benthic carbon deposition field beneath two net pens with a standing
stock biomass of 72,560 kg of Almaco Jack (Seriola rivoliana). Gray circle indicates center
position of the net pen. Axes indicate simulation cell numbers and deposition mass is in grams.
The center of the pens is located at (27.056275 N, -83.216743 W). Predicted carbon loading was
derived from the 12-month time series relationship based on depositional flux with
resuspension.


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                                                Appendix B
                                      CASS Technical Report
      Addendum: Environmental Modelling to Support NPDES Permitting for Velella Epsilon Offshore
                      Demonstration Project in the Southeastern Gulf of Mexico




ODC Evaluation                                                                          Page 72 of 85
Ocean Era, Inc. - Velella Epsilon
Coastal Aquaculture Siting and Sustainability
NCCOS/National  Ocean#22-1253
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                             CASS Technical Report
                             Addendum: Environmental Modelling to Support NPDES
                             Permitting for Velella Epsilon Offshore Demonstration
                             Project in the Southeastern Gulf of Mexico
                             Lead Scientists: Kenneth Riley, Ph.D. and James Morris, Ph.D.
                             Environmental Engineer: Barry King, PE
                             Submitted to Kip Tyler (EPA), September 23, 2020
         This report is submitted as an addendum to the report “Environmental Modelling to Support NPDES
         Permitting for Velella Epsilon Offshore Demonstration Project in the Southeastern Gulf of Mexico” of
         August 2018. The Environmental Protection Agency (EPA) is preparing to issue an NPDES permit for
         the Velella Epsilon Offshore Demonstration Project. The applicant, Kampachi Farms, LLC (now
         Ocean Era, Inc.), proposes to develop a temporary, small-scale demonstration net pen operation to
         produce a single cohort of Almaco Jack (Seriola rivoliana) at a fixed mooring located on the West
         Florida Shelf, approximately 45 miles offshore of Sarasota, Florida. With this addendum, scientists
         from the NOAA Coastal Aquaculture Siting and Sustainability (CASS) program continued to work
         with the EPA NPDES permitting program to develop estimates of farm discharge deposition on the
         seabed and surrounding benthic community. Specifically, the farm simulation was executed for five
         years at the maximum stocking density, with the predicted feed and fish waste daily contributions. The
         most recent version of DEPOMOD modelling software (i.e., NewDEPOMOD) was used to calculate
         the distribution and deposition of solid materials at the project location.

         Current data were obtained from NOAA Buoy Station 42022 along the West Florida Shelf at the 50-m
         isobath and located 45 miles northwest of the project location (27.505 N, 83.741 W). The buoy is
         owned and data are collected by the University of South Florida Coastal Ocean Monitoring and
         Prediction System with support from the U.S. Integrated Ocean Observing System. Lacking five
         continuous years of water column flow data at the site, a single year of current data from the original
         simulation was used to produce the assumed current profile at the project location. Given that single
         year current data was used for this model, year-to-year variability in oceanographic patterns that are
         associated with changing climate and weather patterns, water temperature, and storm tracks (e.g.,
         hurricanes) are not evaluated.

         As previously reported, bathymetric data were obtained from the NOAA Coastal Relief Model.
         Bathymetry was resampled to 25 x 25 meter grid cells using a bilinear interpolation to all, for use
         within the deposition model. The characterization of the site and composition of benthic surfaces were
         informed by U.S. Geological Survey offshore surficial sediment data (usSEABED) that describes
         seabed characteristics, including textural, geochemical, and compositional information for the Gulf of
         Mexico. The benthic surfaces for the project location were also informed by acoustic survey and sub-
         bottom profile data included with the applicant’s Baseline Environmental Survey (BES). Sediment
         samples, including core or grab samples, were not collected or analyzed as part of the BES. Without
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knowing explicitly the hydraulic roughness of the benthic surface at the project location, the model
was run (as previous) with the assumption of a smooth benthic surface characteristic of unconsolidated
sediments (coarse to fine grain sand bottom) such as those common on the West Florida Shelf.
Modelling with a smooth benthic surface and reduced roughness tends to lower the bed shear stress
and increase resuspension.

The model does not allow the net pen or mooring configuration to move in space or time, therefore,
the model was executed at a fixed location (27.064318, -83.225726) in the center of the project
location (i.e., farm footprint). The model domain also remained as reported. The model domain was
set to encompass the whole initial depositional footprint under average current velocities estimated at
20 cm/s and with particles settling at rates faster than 0.75 cm/s. The dimensions for the model domain
are standards required by the Scottish Environmental Protection Agency for marine aquaculture
operations. The domain also captures reasonable efficiency in processing large data sets or long time-
series data (i.e., model requires 24-36 hours to process). The predicted carbon deposition and
magnitude of biodeposition were estimated over a 2.04 km by 2.04 km evaluation grid. The grid is
partitioned into square cells with sides measuring 24.87 m and cells numbering 82 east-west by 82
north-south with cells identified as 1-82 in both directions. The modelling software reports the average
solids and carbon within each cell as grams per square meter at the moment it is queried, typically at
the end of the simulation period.

This model execution did not allow the settling velocity of particles to change through the growing
cycle. The values used for feed and feces represented those that would be encountered during the
period of highest standing biomass, largest feed pellet size, and highest waste output from the net pen
operation. Each simulation assumed maximum standing biomass each day of the simulation with fecal
settling and food settling velocities applicable to salmon production at 3.5 and 9.5 cm/s, respectively.
The values for fecal settling velocity may have implications for dispersion. For this study, a
conservative settling velocity (3.5 cm/s) was used to assess the maximum extent of fecal deposition on
benthic surfaces. Knowledge of the physical properties of fish feces under net pen conditions is
rudimentary. Most reported literature addresses the fecal stability, density, and settling velocity (3.5
cm/s) of farmed salmon (Reed et al. 2009). Data on fecal settling velocity for Amberjack (Seriola spp.)
are scarce. Amberjack feces are shapeless and unstable in the water column (e.g., lacking
cohesiveness). The species has a reported fecal settling velocity of about 1.6 cm/s owing to its smaller
size and density (Fernandes and Tanner 2008).

The model was run for 1,825 days assuming a net pen with a constant daily standing biomass at
36,288 kg (22.85 kg/m3) and a daily feed rate of 1.1 percent of biomass or equivalent to 399 kg of
feed. Standard feed waste was estimated at 3%. The model simulates release of fecal and feed particles
from a net pen at hourly increments. Multiple particles are released representing different mass
percentages and different settling velocities defined in the set-up files. The particles are all tracked
throughout the domain at each time step over the duration of the simulation. Particles that are
transported out of the domain boundary at 1,020 m away at the closest, are lost and removed from the
calculations. Only masses of material that remain in the domain at the moment a surface is queried and

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recorded are reported. At high current velocity sites, such as this project location where the average
flow is 13 cm/s and peaking at 67 cm/s at 4 meters above the seabed (Figure 1), the bulk of settleable
solids from the aquaculture operation are dispersed outside of the simulation domain. It is expected
that these solids would continue to be oxygenated and transported along benthic surfaces downstream
where currents allow for deposition and resuspension. This particulate organic carbon would be
readily available and consumed by bacteria and benthic infauna.

SOFTWARE UPDATES
NewDEPOMOD (version 1.3, released July 2020) and previous versions of DEPOMOD are computer
models that have been developed by the Scottish Association of Marine Science to inform siting,
permitting, and regulation of marine fish farms. The model predicts the impact of farm deposition on
the seabed in order to optimize the operation of aquaculture sites to match the environmental capacity.
The Scottish Environmental Protection Agency has used the software for over a decade in direct
support of their aquaculture permitting standards.

NewDEPOMOD incorporates a range of features in its newest release including:
        improved predictive abilities for offshore aquaculture projects including the capacity to use
        three-dimensional hydrodynamic flow field data;
        an updated and characterized resuspension process using data from an extensive set of field
        measurements of erosion, resuspension and transport at farm sites;
        a new model framework for sediment deposition which allows the model to include varying
        bathymetry; and
        a model that produces conservative estimates of the holding capacity of a proposed site that can
        be tuned using data collected once a farm enters production to improve predictions, also useful
        for planning expansion of an existing farm.



ESTIMATING DEPOSITION AND MASS FLOW TO THE BENTHOS
Mass flows of solids onto the seabed were estimated from the mass of cultured fish on the farm and
the specific rate, which they are fed (Table 1). We developed a model for a 1,296-m3 net pen 1 with a
stocking density of 28 kg/m3, which will yield a biomass of 36,288 kg. An estimated 399.17 kg of feed
will be applied per day at a feeding rate of 1.1 percent of body weight. During permitting, the
applicants changed the net pen design to a larger volume, however the biomass within remained the
same at 36,288 kg which is the keystone value for the waste dispersion simulation.




1 After completion of modelling, it was noted by the EPA that minor changes occurred with submission of the Ocean

Era permit application. The net pen configuration changed as did the size of fish at harvest. The discrepancy in net
pen volume (1,296 m3 vs 1,588 m3) and fish size (1.8 kg vs. 2.0 kg), and the implications on model results are
negligible.
                                                          3
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With a feed moisture content of 9% and an estimated 3% food waste rate, the feed dry mass lost from
the net pen is: [ 399.17 kg feed * (100%-9% kg dry feed / kg feed) * 3% kg dry feed lost/kg dry feed]
= 10.89 kg dry feed lost to the environment each day, or 0.454 kg per hour.

Since the feed is measured as 49% carbon, the flux is: 10.89 kg dry feed wastage * 0.49 kg carbon/ kg
dry feed = 5.34 kg carbon per day from feed.

Similarly, for the fecal mass produced with the assumed 9% feed moisture and 85% utilization:
[(399.17 kg feed – 3% lost (11.97 kg)) * 15% fecal mass/mass of solid feed ingested * 91% kg solid
feed / kg feed] = 52.85 kg of fecal solids per day, or 2.2022 kg per hour.

Fecal matter is measured as 30% carbon and yields: 52.85 kg of fecal solids * 0.30 kg carbon / kg of
fecal solids = 15.85 kg carbon per day

Combining the flux masses for solids and carbon an estimated 63.74 kg of solids and 21.19 kg of
carbon are released into the environment each day from the demonstration project.

Table 1. Summary statistics for the Velella Epsilon Offshore Aquaculture Demonstration Project.

           Farming parameter                            Value
 Initial Total number                               20,000 fish
 Individual size at harvest                             1.8 kg
 Maximum biomass during growout                      36,288 kg
 Net pen density at harvest                         22.85 kg/m3
 Maximum daily feed rate                                399 kg
 Total feed used                                     66,449 kg
 Feed conversion ratio                                   1.8



Table 2 reports the mass flows of solids and carbon from the Velella Epsilon Offshore Aquaculture
Demonstration Project within the simulation domain. The bulk of released solids and their carbon are
lost from the domain, carried into the far-field by currents. Comparing values of solids in Table 2, the
simulation predicts that 3.63% of the solids remain within the simulation domain after five years.
There are periods in the water flow cycles when solids accumulation is variable in the domain, as
illustrated in Figure 2. The masses on the final day approximate the average concentrations.




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Table 2. Mass flows of solids and carbon from the Velella Epsilon Offshore Aquaculture
Demonstration Project within the simulation domain at the end of 5 years.

 Model Parameters and Simulation Results                                 Value
 Mass of feed applied (5 years)                                       728,481.60 kg
 Mass of feed wastage (5 years )                                       19,887.57 kg
 Mass of feed wastage carbon (5 years)                                  9,744.89 kg
 Mass of fecal materials (5 years)                                     96,454.61 kg
 Mass of fecal carbon (5 years)                                        28,936.38 kg

 Total mass dry solids released / day                                      63.75 kg
 Total mass dry solids released / year                                 23,268.43 kg
 Total mass dry solids released / 5 years                             116,342.17 kg
 Total mass carbon released / day                                          21.20 kg
 Total mass carbon released / year                                      7,736.25 kg
 Total mass carbon released / 5 years                                  38,681.27 kg

 Solids balance (Total solids within domain after 5 years)               4,224.87 kg
 % solids retained inside domain                                             3.63 %
 % solids exported outside domain                                           96.37 %

 Carbon balance (Total carbon within domain after 5 years)               1,406.13 kg
 % carbon retained inside domain                                             3.64 %
 % carbon exported outside domain                                           96.36 %


At the project location, water velocities are typical for currents along the West Florida Shelf. Figure 1
illustrates the water velocity at the Velella site at a depth of 36.7 meters or approximately 4.0 meters
above the seafloor. Currents at this project location will likely re-suspend feed wastes and fecal
materials transporting these solids across the seafloor. The simulation software calculates the
movement of the released solids using the particle characteristics, the nature of the seafloor, and the
velocity of the water body in the proximity of the seafloor.




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Figure 1. Water currents and flow velocity measured at 4 m above the seafloor.

Figure 2 illustrates the fate of the remaining solids within the domain over the five-year simulation,
calculated from the total mass of released solids, minus the total mass of solids that are exported out of
the simulation domain. The figure shows that over the five-year simulation solids on the seafloor
within the domain reach an equilibrium, at an average total mass of 4,013 kg. The leading edge of the
plot illustrates the point material accumulates on the seabed where it will eventually resuspend leading
to more material being transported away from the depositional site as currents reach the shear force
threshold. During the first days of operation little material was available for resuspension, all the
while, new material was being added at a constant 63.75 kg per day.

NewDEPOMOD reports distribution of solids as surface plots of either solids or carbon, it does not
distinguish between the sources of the carbon, either feed or fecal, and are combined. In Figure 3, the
distribution of carbon is plotted for the final hour of the five-year simulation. Within the software,
each surface plot generates its own scale to coincide with the colors on the map. The reader should use
caution when comparing plots.




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Figure 2. Predicted solids deposition beneath one net pen with a standing stock biomass of 36,288 kg
of Almaco Jack (Seriola rivoliana) after five-year farm simulation.


Figure 3 shows the carbon distribution over the 2,040 x 2,040 meter Velella simulation domain on day
number 1,830. The highest concentration of aquaculture sourced carbon on the site is 4.35 g/m2. Most
noticeable in this deposition prediction map is the wide distribution of carbon over 4 km2 with small
accumulations and no areas of excessive concentrations. Frequency histograms of the carbon
deposition per cell were created to help with interpretation of results. The depositional data derived
from the frequency histograms are presented in Table 3.
This wide dispersion and low concentration of carbon created the average Infaunal Trophic Index (ITI)
score for this final overall benthic surface of 58.96 out of 60. As previously reported, a predicted ITI
of close to 60 suggests that the Velella project will not likely have a discernable impact on benthic
communities around the project location. Similar to other studies reporting ITI as a measure of benthic
impacts from net pen operations, we do not expect significant impact on sediment redox potential or
sulfide production. For example, Hargrave (2010) and Keeley et al. (2013) extensively documented
correlations among the carbon deposition rate, redox potential, hydrogen sulfide concentration,
interstitial dissolved oxygen, and ITI. We believe that the Velella project will present challenges for
monitoring and detecting environmental impacts on sediment chemistry or benthic communities
because of the circulation around the project location and the small mass flows of materials from the
net pen installation. As the simulation illustrates, the high energy environment at the site and the mass

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flow of materials equilibrates at a resident total mass of waste products at approximately 4,000 kg with
local masses never exceeding more than 43.4 g solids per square meter for a single sample point over
the 5 year simulation.

CONCLUSION
There are minimal to no risks to sediment chemistry or benthic ecology functions in the project area
from the operation of the net pen as described in the Ocean Era, LLC application for an NPDES
permit.




Figure 3. Predicted benthic carbon deposition field beneath one net pen with a standing stock biomass
of 36,288 kg of Almaco Jack (Seriola rivoliana) after five years. Grey circle indicates center position
of the net pen. Axes indicate simulation cell numbers and carbon deposition mass is in grams.




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Table 3. Frequency of carbon deposition within 6,724 cells, each measuring 619 m2, over a 4.16-km2
grid system. Values represent an annual sum of carbon deposition resulting from an offshore fish farm
with a constant standing stock biomass of 36,288 kg.
  Carbon deposition             Occurrence                Frequency
      (g/m2/yr)                    (N)                       (%)
            0                       1,508                    22.43
        0.1 – 1.0                   4,526                    67.32
        1.1 – 2.0                    559                      0.08
        2.1 – 3.0                    111                      1.65
        3.1 – 4.0                    16                      < 0.01
        4.1 – 5.0                     4                      < 0.01



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Appendix: Time-series simulation of predicted benthic carbon deposition beneath one net pen
with a standing stock biomass of 36,288 kg of Almaco Jack (Seriola rivoliana). The reader should
use caution comparing plots. The software generates a new legend for each plot in the time
series. The scale and color ramp varies with each surface plot.




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Appendix: Time-series simulation of predicted benthic carbon deposition beneath one net pen
with a standing stock biomass of 36,288 kg of Almaco Jack (Seriola rivoliana). The reader should
use caution comparing plots. The software generates a new legend for each plot in the time
series. The scale and color ramp varies with each surface plot.




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Appendix: Time-series simulation of predicted benthic carbon deposition beneath one net pen
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Appendix: Time-series simulation of predicted benthic carbon deposition beneath one net pen
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         Appendix D
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                                       DRAFT
                               BIOLOGICAL EVALUATION




                           Kampachi Farms, LLC - Velella Epsilon
                                 Marine Aquaculture Facility
                                   Outer Continental Shelf
                             Federal Waters of the Gulf of Mexico




                                         August 5, 2019




  U.S. Environmental Protection Agency                     U.S. Army Corps of Engineers
                Region 4                                        Jacksonville District
         Water Protection Division                           Fort Myers Permit Section
           61 Forsyth Street SW                      1520 Royal Palm Square Boulevard Suite 310
          Atlanta Georgia 30303                            Fort Myers Florida 33919-1036

        NPDES Permit Number                           Department of the Army Permit Number
            FL0A00001                                            SAJ-2017-03488
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1.0      Introduction and Federal Coordination

In accordance with the Endangered Species Act (ESA) Section 7, interagency consultation and coordination
with the National Marine Fisheries Service (NMFS) and the U.S. Fish and Wildlife Service (USFWS) is required
to insure that any action authorized, funded, or carried out by an action agency is not likely to jeopardize the
continued existence of any listed species or result in the destruction or adverse modification of any designated
critical habitat (Section 7(a)(2)); and confer with the NMFS and USFWS on any agency actions that are likely
to jeopardize the continued existence of any species that is proposed for listing or result in the destruction or
adverse modification of any critical habitat proposed to be designated (Section 7(a)(4)). 1

On November 9, 2018, the U.S. Environmental Protection Agency Region 4 (EPA) received a complete
application for a National Pollutant Discharge Elimination System (NPDES) permit from Kampachi Farms for
the point-source discharge of pollutants from a marine aquaculture facility in federal waters of the Gulf of
Mexico (Gulf). On November 10, 2018, the U.S. Army Corps of Engineers Jacksonville District (USACE)
received a completed Department of Army (DA) application pursuant to Section 10 of the Rivers and Harbors
Act for structures and work affecting navigable federal waters from the same marine aquaculture facility.

Given that the action of permitting the proposed project involves more than one federal agency, the EPA has
elected to act as the lead agency to fulfill the consultation responsibilities pursuant to the implementing
regulations of ESA Section 7. 2 The USACE is a cooperating and co-federal agency for this informal consultation
request. The completion of the informal consultation shall satisfy the EPA’s and USACE’s obligations under
ESA Section 7(a)(2).

The EPA and the USACE (action agencies) have reviewed the proposed activity and determined that a biological
evaluation (BE) is appropriate. The BE was prepared by the EPA and the USACE to jointly consider the potential
direct, indirect, and cumulative effects that the proposed actions may have on listed and proposed species as
well as designated and proposed critical habitat, and to assist the action agencies in carrying out their activities
for the proposed action pursuant to ESA Section 7(a)(2) and ESA Section 7(a)(4). The EPA and the USACE are
providing this BE for consideration by the USFWS and the NMFS in compliance with the ESA Section 7.

The EPA and USACE are coordinating the interagency permitting process as required by the interagency
Memorandum of Understanding (MOU) for Permitting Offshore Aquaculture Activities in Federal Waters of
the Gulf, 3 and conducting a comprehensive analysis of all applicable environmental requirements required by
the National Environmental Policy Act (NEPA); however, a consolidated cooperation process under NEPA is
not being used to satisfy the requirements of ESA Section 7 as described in 50 CFR § 402.06. 4 The NMFS is a
cooperating agency for the NEPA analysis and has provided scientific expertise related to the BE and NEPA
analysis for the proposed action including information about: site selection, ESA-listed species, marine mammal
protection, and essential fish habitat. While some information related to the ESA evaluation is within the
coordinated NEPA document developed by multiple federal agencies, the attached BE is being provided as a
stand-alone document to comply with the consultation process under ESA Section 7.


1
  The implementing regulations for the Clean Water Act related to the ESA require the EPA to ensure, in consultation with the NMFS and
USFWS, that “any action authorized the EPA is not likely to jeopardize the continued existence of any endangered or threatened species or
adversely affect its critical habitat” (40 CFR § 122.49(c)).
2
  50 CFR § 402.07 allows a lead agency: “When a particular action involves more than one Federal agency, the consultation and conference
responsibilities may be fulfilled through a lead agency. Factors relevant in determining an appropriate lead agency include the time sequence
in which the agencies would become involved, the magnitude of their respective involvement, and their relative expertise with respect to the
environmental effects of the action. The Director shall be notified of the designation in writing by the lead agency.”
3
  On February 6, 2017, the Memorandum of Understanding for Permitting Offshore Aquaculture Activities in Federal Waters of the Gulf of
Mexico became effective for seven federal agencies with permitting or authorization responsibilities.
4 50 CFR § 402.06 states that “Consultation, conference, and biological assessment procedures under section 7 may be consolidated with

interagency cooperation procedures required by other statutes, such as the National Environmental Policy Act (NEPA) (implemented at 40 CFR
Parts 1500 - 1508) or the Fish and Wildlife Coordination Act (FWCA).”

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2.0     Proposed Action

Kampachi Farms, LLC (applicant) is proposing to operate a pilot-scale marine aquaculture facility (Velella
Epsilon) in federal waters of the Gulf. The proposed action is the issuance of a permit under the respective
authorities of the EPA and the USACE as required to operate the facility. The EPA’s proposed action is the
issuance of a NPDES permit that authorizes the discharge of pollutants from an aquatic animal production
facility that is considered a point source into federal waters of the United States. The USACE’s proposed action
is the issuance of a DA permit pursuant to Section 10 of the Rivers and Harbors Act that authorizes anchorage
to the sea floor and structures affecting navigable waters.




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3.0     Proposed Project

The proposed project would allow the applicant to operate a pilot-scale marine aquaculture facility with up to
20,000 almaco jack (Seriola rivoliana) being reared in federal waters for a period of approximately 12 months
(total deployment of the cage system is 18 months). Based on an estimated 85 percent survival rate, the operation
is expected to yield approximately 17,000 fish. Final fish size is estimated to be approximately 4.4 pounds (lbs)
per fish, resulting in an estimated final maximum harvest weight of 88,000 lbs (or 74,800 lbs considering the
anticipated survival rate). The fingerlings will be sourced from brood stock that are located at Mote Aquaculture
Research Park and were caught in the Gulf near Madeira Beach, Florida. As such, only F1 progeny will be
stocked into the proposed project.

One support vessel will be used throughout the life of the project. The boat will always be present at the facility
except during certain storm events or times when resupplying is necessary. The support vessel would not be
operated during any time that a small craft advisory in effect for the proposed action area. The support vessel is
expected to be a 70 ft long Pilothouse Trawler (20 ft beam and 5 ft draft) with a single 715 HP engine. The
vessel will also carry a generator that is expected to operate approximately 12 hours per day. Following harvest,
cultured fish would be landed in Florida and sold to federally-licensed dealers in accordance with state and
federal laws. The exact type of harvest vessel is not known; however, it is expected to be a vessel already
engaged offshore fishing activities in the Gulf.

A single CopperNet offshore strength (PolarCirkel-style) fully enclosed submersible fish pen will be deployed
on an engineered multi-anchor swivel (MAS) mooring system. The engineered MAS will have up to three
anchors for the mooring, with a swivel and bridle system. The design drawings provided for the engineered
MAS uses three concrete deadweight anchors for the mooring; however, the final anchor design will likely
utilize embedment anchors instead. The cage material for the proposed project is constructed with rigid and
durable materials (copper mesh net with a diameter of 4 millimeter (mm) wire and 40 mm x 40 mm mesh square).
The mooring lines for the proposed project will be constructed of steel chain (50 mm thick) and thick rope (36
mm) that are attached to a floating cage that will rotate in the prevailing current direction; the ocean currents
will maintain the mooring rope and chain under tension during most times of operation. The bridle line that
connects from the swivel to the cage will be encased in a rigid pipe. Structural information showing the MAS
and pen, along with the tethered supporting vessel, is provided in Appendix A. The anchoring system for the
proposed project is being finalized by the applicant. While the drawings in Appendix A show concrete
deadweight anchors, it is likely that the final design will utilize appropriately sized embedment anchors instead.
Both anchor types are included for ESA consultation purposes.

The CopperNet cage design is flexible and self-adjusts to suit the constantly changing wave and current
conditions. As a result, the system can operate floating on the ocean surface or submerged within the water
column of the ocean; however, the normal operating condition of the cage is below the water surface. When a
storm approaches the area, the entire cage can be submerged by using a valve to flood the floatation system with
water. A buoy remains on the surface, marking the net pen’s position and supporting the air hose. When the pen
approaches the bottom, the system can be maintained several meters above the sea floor. The cage system is
sable to rotate around the MAS and adjust to the currents while it is submerged and protected from storms near
the water surface. After storm events, the cage system is made buoyant, causing the system to rise to resume
normal operational conditions. The proposed project cage will have at least one properly functioning global
positioning system device to assist in locating the system in the event it is damaged or disconnected from the
mooring system.

In cooperation with the NMFS, a protected species monitoring plan (PSMP) has been developed for the proposed
action to protect all marine mammal, reptiles, sea birds, and other protected species. Monitoring will occur
throughout the life of the project and represents an important minimization measure to reduce the likelihood of
any unforeseen potential injury to all protected species including ESA-listed marine animals. The data collected
will provide valuable insight to resource managers about potential interactions between aquaculture operations

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and protected species. The PSMP also contains important mitigative efforts such as suspending vessel transit
activities when a protected species comes within 100 meters (m) of the activity until the animal(s) leave the area.
The project staff will suspend all surface activities (including stocking fish, harvesting operations, and routine
maintenance operations) in the unlikely event that any protected species comes within 100 m of the activity until
the animal leaves the area. Furthermore, should there be activity that results in an injury to protected species,
the on-site staff would follow the steps outlined in the PSMP and alert the appropriate experts for an active
entanglement.5

The below information about chemicals, drugs, cleaning, and solid waste provides supporting details about the
proposed project:

     Chemicals: The proposed facility has indicated they would not be using toxic chemicals, cleaners, or solvents
     at the proposed project. The proposed project would use small amounts of petroleum to run the generator.
     Spills are unlikely to occur; however, if a spill did occur they would be small in nature.

     Drugs: The applicant has indicated that FDA-approved antibiotics or other therapeutants will not likely be
     used (within any feed or dosing the rearing water) during the proposed project. 6 The need for drugs is
     minimized by the strong currents expected at the proposed action area, the low fish culture density, the cage
     material being used, and the constant movement of the cage.

     Cleaning: The applicant does not anticipate the need to clean the cage for the short duration of the proposed
     project. Should the cage system need cleaning, divers would manually scrub the cage surfaces with cleaning
     brushes. No chemicals would be used while cleaning and any accumulated marine biological matter would
     be returned to sea without alteration.

     Solid Wastes: The applicant will dispose of all solid waste appropriately on shore.




5
  A PSMP has been developed by the applicant with assistance from the NMFS Protected Resources Division. The purpose of the PSMP is to
provide monitoring procedures and data collection efforts for species (marine mammals, sea turtles, seabirds, or other species) protected under
the MMPA or ESA that may be encountered at the proposed project.
6
  The applicant is not expected to use any drugs; however, in the unlikely circumstance that therapeutant treatment is needed, three drugs
were provided to the EPA as potential candidates (hydrogen peroxide, oxytetracycline dihydrate, and florfenicol).

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4.0         Proposed Action Area

The proposed project would be placed in the Gulf at an approximate water depth of 40 m (130 feet), and
generally located 45 miles southwest of Sarasota, Florida. The proposed facility will be placed within an area
that contains unconsolidated sediments that are 3 – 10 ft deep (see Table 1). The applicant will select the specific
location within that area based on diver-assisted assessment of the sea floor when the cage and anchoring system
are deployed. The proposed action area is a 1,000 m radius measured from the center of the MAS.

The facility potential locations were selected with assistance from NOAA’s National Ocean Service National
Centers for Coastal Ocean Science (NCCOS). The applicant and the NCCOS conducted a site screening process
over several months to identify an appropriate project site. Some of the criteria considered during the site
screening process included avoidance of corals, coral reefs, submerged aquatic vegetation, hard bottom habitats,
and avoidance of marine protected areas, marine reserves, and habitats of particular concern. This siting
assessment was conducted using the Gulf AquaMapper tool developed by NCCOS. 7

Upon completion of the site screening process with the NCCOS, the applicant conducted a Baseline
Environmental Survey (BES) in August 2018 based on guidance developed by the NMFS and EPA. 8 The BES
included a geophysical investigation to characterize the sub-surface and surface geology of the sites and identify
areas with a sufficient thickness of unconsolidated sediment near the surface while also clearing the area of any
geohazards and structures that would impede the implementation of the aquaculture operation. The geophysical
survey for the proposed project consisted of collecting single beam bathymetry, side scan sonar, sub-bottom
profiler, and magnetometer data within the proposed area. The BES report noted that were no physical,
biological, or archaeological features within the surveyed area that would preclude the siting of the proposed
aquaculture facility within the area shown in Table 1.

                                Table 1: Target Area with 3’ to 10’ of Unconsolidated Sediments
                                Location                          Latitude                         Longitude
                      Upper Left Corner                        27° 7.70607’ N                   83° 12.27012’ W
                      Upper Right Corner                       27° 7.61022’ N                   83° 11.65678’ W
                      Lower Right Corner                       27° 6.77773’ N                   83° 11.75379’ W
                      Lower Left Corner                        27° 6.87631’ N                   83° 12.42032’ W




7
    The Gulf AquaMapper tool is available at: https://coastalscience.noaa.gov/products-explorer/
8
    The BES guidance document is available at: http://sero.nmfs.noaa.gov/sustainable_fisheries/Gulf_fisheries/aquaculture/

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5.0     Federally Listed and Proposed Threatened and Endangered Species and Critical Habitat

5.1     Federally Listed Threatened and Endangered Species

The action agencies identified the ESA-listed species shown in Table 2 for consideration on whether the
proposed action may affect protected species in or near the proposed action area. In summary, the action agencies
considered the potential affects to threatened and endangered species from five groups of species: birds (2), fish
(4), invertebrates (7), marine mammals (6), and reptiles (5). The action agencies considered the species within
this Section of the BE because they may occur within the project footprint or near enough such that there are
potential routes of effects. Certain ESA-listed species are not discussed because their behavior, range, habitat
preferences, or known/estimated location do not overlap or expose them to the activities within the proposed
action area.

             Table 2: Federally Listed Species, Listed Critical Habitat, Proposed Species, and
             Proposed Critical Habitat Considered for the Proposed Action

                                                           Critical          Potential Exposure to
             Species Considered             ESA Status
                                                           Habitat Status    Proposed Action Area
             Birds
             1 Piping Clover                Threatened     Yes               No
             2 Red Knot                     Threatened     No                No
             Fish
             1 Giant Manta Ray              Threatened     No                Yes
             2 Nassau Grouper               Threatened     No                Yes
             3 Oceanic Whitetip Shark       Threatened     No                Yes
             4 Smalltooth Sawfish           Endangered     No                Yes
             Invertebrates
             1 Boulder Star Coral           Threatened     No                No
             2 Elkhorn Coral                Threatened     No                No
             4 Mountainous Star Coral       Threatened     No                No
             5 Pillar Coral                 Threatened     No                No
             7 Staghorn Coral               Threatened     No                No
             6 Rough Cactus Coral           Threatened     No                Yes
             3 Lobed Star Coral             Threatened     No                Yes
             Marine Mammals
             1 Blue Whale                   Endangered     No                Yes
             2 Bryde's Whale                Endangered     No                Yes
             3 Fin Whale                    Endangered     No                Yes
             4 Humpback Whale               Endangered     No                Yes
             5 Sei Whale                    Endangered     No                Yes
             6 Sperm Whale                  Endangered     No                Yes
             Reptiles
             1 Green Sea Turtle             Threatened     No                Yes
             2 Hawksbill Sea Turtle         Endangered     Yes               Yes
             3 Kemp's Ridley Sea Turtle     Endangered     No                Yes
             4 Leatherback Sea Turtle       Endangered     Yes               Yes
             5 Loggerhead Sea Turtle        Threatened     Yes               Yes




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5.1.1 Birds
There are 14 ESA-listed avian species identified as threatened or endangered, previously delisted, or as candidate
species in the eastern Gulf. Of those species, only two listed species, the piping plover and red knot, are
considered in this BE because their migratory range could expose them to activities covered under the proposed
action. There are several other listed species whose range includes only inshore and coastal margin waters and
are not exposed to the activities covered under the proposed action.

Piping Plover
The piping plover is a threatened shorebird that inhabits coastal sandy beaches and mudflats. Three populations
of piping plover are recognized under ESA: Great Lakes (endangered); Great Plains (threatened); and Atlantic
(threatened) (BOEM, 2012a). This species nests in sand depressions lined with pebbles, shells, or driftwood.
Piping plovers forage on small invertebrates along ocean beaches, on intertidal flats, and along tidal pool edges;
therefore, fish from the proposed action are not considered a potential source of food for the piping plover.

Possibly as high as 75% of all breeding piping plovers, regardless of population affiliation, may spend up to
eight months on wintering grounds in the Gulf. They arrive from July through September, leaving in late
February to migrate back to their breeding sites (BOEM, 2012b). They do not breed in the Gulf. Habitat used
by wintering birds include beaches, mud flats, sand flats, algal flats, and washover passes (where breaks in sand
dunes result in an inlet). The piping plover is considered a state species of conservation concern in all Gulf coast
states due to wintering habitat. The piping plover is it is a migratory shorebird with no open ocean habitat.

Red Knot
The red knot, listed as threatened in 2014, is a highly migratory shorebird species that travels between nesting
habitats in Arctic latitudes and southern non-breeding habitats in South America and the U.S. Atlantic and Gulf
coasts (BOEM, 2012a). Red knots forage along sandy beaches, tidal mudflats, salt marshes, and peat banks for
bivalves, gastropods, and crustaceans (USFWS, 2015). Horseshoe crab eggs are a critical food resource for this
species, and the overharvesting and population declines of horseshoe crabs may be a major reason for the decline
of red knot numbers.

Wintering red knots may be found in Florida and Texas (Würsig, 2017). They are considered a State Species of
Conservation Concern in Florida and Mississippi. The numbers of wintering and staging red knots using coastal
beaches in Gulf coast states other than Florida have declined dramatically (Würsig, 2017). Its population has
exhibited a large decline in recent decades and is now estimated in the low ten-thousands (NatureServe, 2019).
Critical habitat rules have not been published for the red knot. Within the Gulf region, wintering red knots are
found primarily in Florida, but this species has been reported in coastal counties of each of the Gulf states.

5.1.2 Fish
The four species of ESA-protected fish that may occur within the action area are: giant manta ray, nassau
grouper, smalltooth sawfish, and oceanic whitetip shark.

Giant Manta Ray
The giant manta ray was listed as threatened under the ESA on February 21, 2018. The giant manta ray is found
worldwide in tropical, subtropical, and temperate seas. These slow-growing, migratory animals are circumglobal
with fragmented populations. The giant manta ray is the largest living ray, with a wingspan reaching a width of
up to 9 m. Manta species are distinguished from other rays in that they tend to be larger with a terminal mouth,
and have long cephalic lobes (Evgeny, 2010), which are extensions of the pectoral fins that funnel water into
the mouth. Giant manta rays feed primarily on planktonic organisms such as euphausiids, copepods, mysids,
decapod larvae and shrimp, but some studies have noted their consumption of small and moderately sized fishes
(Miller and Klimovich, 2017).

Within the Southeast Region of the United States, the giant manta ray is frequently sighted along the east coast
and within the Gulf of Mexico. Giant manta rays are seasonal visitors along productive coastlines with regular

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upwelling, in oceanic island groups, and near offshore pinnacles and seamounts. Given the opportunistic
sightings of the species, researchers are still unsure what drives giant manta rays to certain areas and not others
(and where they go for the remainder of the time). The timing of these visits varies by region and seems to
correspond with the movement of zooplankton, current circulation and tidal patterns, seasonal upwelling,
seawater temperature, and possibly mating behavior. Although giant manta rays are considered oceanic and
solitary, they have been observed congregating at cleaning sites at offshore reefs and feeding in shallow waters
during the day at depths less than 10 m (O'Shea et al., 2010; Marshall et al., 2011; Rohner et al., 2013). The
giant manta ray ranges from near shore to pelagic habitats, occurring over the continental shelf near reef habitats
and offshore islands. The species can be found in estuarine waters near oceanic inlets, with use of these waters
as potential nursery grounds. This species appears to exhibit a high degree of plasticity in terms of their use of
depths within their habitat.

Nassau Grouper
The Nassau grouper is a reef fish typically associated with hard structure such as reefs (both natural and
artificial), rocks, and ledges. It is a member of the family Serranidae, which includes groupers valued as a major
fishery resource such as the gag grouper and the red grouper. These large fish are found in tropical and
subtropical waters of southern coastal Florida and the Florida Keys. Nassau grouper are generally absent from
the Gulf north and outside of the Florida Keys; this is well documented by the lack of records in Florida Fish
and Wildlife Conservation Commission’s, Fisheries Independent Monitoring data, as well as various surveys
conducted by NOAA Fisheries Southeast Fisheries Science Center. There has been one verified report of the
Nassau Grouper in the northwest Gulf at Flower Gardens Bank national marine sanctuary; however, the Flowers
Gardens Bank is not near the proposed action area.

Oceanic Whitetip Shark
The oceanic whitetip shark is a large open ocean highly migratory apex predatory shark found in subtropical
waters throughout the Gulf. It is a pelagic species usually found offshore in the open ocean, on the outer
continental shelf, or around oceanic islands in deep water greater than 184 m. The oceanic whitetip shark can
be found from the surface to at least 152 m depth. Occasionally, it is found close to land in waters as shallow as
37 m, mainly around mid-ocean islands or in areas where the continental shelf is narrow with access to nearby
deep water. Oceanic whitetip sharks have a strong preference for the surface mixed layer in warm waters above
20°C and are therefore mainly a surface-dwelling shark.

Oceanic whitetip sharks are high trophic-level predators in open ocean ecosystems feeding mainly on teleosts
and cephalopods (Backus et al., 1956; Bonfil et al., 2008); however, some studies have found that they consume
sea birds, marine mammals, other sharks and rays, mollusks, crustaceans, and even garbage (Compagno, 1984;
Cortés, 1999).

Smalltooth Sawfish
The smalltooth sawfish was the first marine fish to receive protection as an endangered species under the ESA
in 2003. Their current range is poorly understood but believed to have significantly contracted from these
historical areas. Today, smalltooth sawfish primarily occur off peninsular Florida from the Calloosahtchee River
to the Florida Keys (Würsig, 2017). Historical accounts and recent encounters suggest immature individuals are
most common in shallow coastal waters less than 25 m (Bigelow and Schroeder, 1953; Adams and Wilson,
1995). Smalltooth sawfish primarily live in shallow coastal waters near river mouths, estuaries, bays, or depths
up to 125 m. Smalltooth sawfish feed primarily on fish. Mullet, jacks, and ladyfish are believed to be their
primary food resources (Simpfendorfer, 2001). Smalltooth sawfish also prey on crustaceans (mostly shrimp and
crabs) by disturbing bottom sediment with their saw (Norman and Fraser, 1938; Bigelow and Schroeder, 1953).

5.1.3 Invertebrates
The seven ESA-listed coral species in the Gulf are known to occur near the Dry Tortugas, a small group of
islands located approximately 67 miles west of Key West, Florida. Four of the ESA-listed coral species in the
Gulf (elkhorn, lobed star, mountainous star, and boulder star) are known to occur in the Flower Banks National

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Marine Sanctuary, located 70 to 115 miles off the coast of Texas and Louisiana. The most abundant depth ranges
for the ESA-listed invertebrates are provided in Table 3. Given the known geographic locations of the considered
coral species and their recognized habitat preferences related to water depth, only two invertebrate species (lobed
star coral and rough cactus coral) may occur in the proposed action area. Threats to coral communities
throughout the Gulf include predation, hurricane damage, and loss of habitat due to algal overgrowth and
sedimentation.

                                 Table 3: ESA-listed Coral Depth Ranges

                                 Coral Species            Most Abundant Depth (ft)
                                 Boulder Star Coral       3 - 82 9
                                 Elkhorn Coral            3 - 16 10
                                 Lobed Star Coral         6 - 130 11
                                 Mountainous Star Coral   3 - 30 11
                                 Pillar Coral             3 - 90
                                 Rough Cactus Coral       15 - 270 10
                                 Staghorn Coral           15 - 60 10

5.1.4 Marine Mammals
All the ESA-listed marine mammals considered in this BE are endangered under the ESA. The six species of
whales that could occur within the action area are: blue whale, fin whale, Gulf Bryde’s whale, humpback whale,
sperm whale, and sei whale; however, except for the Gulf Bryde’s whale, each ESA-listed whale considered in
this BE are not common in the Gulf (Würsig, 2017). Threats to whales from aquaculture facilities include vessel
strikes, entanglement, and disturbance (ocean noise).

Blue Whales
Blue whales are found in all oceans except the Arctic Ocean. Currently, there are five recognized subspecies of
blue whales. Blue whales have been sighted infrequently in the Gulf. The only record of blue whales in the Gulf
are two strandings on the Louisiana and Texas coasts; however, the identifications for both strandings are
questionable. In the North Atlantic blue whales are most often seen off eastern Canada where they are present
year-round (NMFS, 2016). Blue whales also typically occur in deeper waters seaward of the continental shelf
and are not commonly observed in the waters of the Gulf or off the U.S. East Coast (CeTAP, 1982; Wenzel et
al., 1988; Waring et al., 2006). Blue whales are not expected to be within the proposed action area that is located
in a water depth of approximately 40 m.

Bryde’s Whale
The Gulf Bryde’s whale was listed as endangered on May 15, 2019. The Gulf Bryde’s whales are members of
the baleen whale family and are a subspecies of the Bryde’s whale. The Gulf Bryde’s whales are one of the most
endangered whales in the world, with likely less than 100 whales remaining. They are the only resident baleen
whale in the Gulf. The Gulf Bryde’s whale is one of the few types of baleen whales that do not migrate and
remain in the Gulf year-round. The historical range in Gulf waters is not well known; however, scientists believe
that the historical distribution of Gulf Bryde’s whales once encompassed the north-central and southern Gulf.
For the past 25 years, Bryde’s whales in U.S. waters of the Gulf have been consistently located in the
northeastern Gulf (largely south of Alabama and the western part of the Florida panhandle) along the continental
shelf break between the 100 and 400 m depth (Labrecque et al., 2015). This area has been identified as a
Biologically Important Area (BIA) for the Gulf Bryde’s whale and encompasses over 5.8 million acres. BIAs
are reproductive areas, feeding areas, migratory corridors, or areas in which small and resident populations are


9
     www.DCNANature.org, 2016
10
     NMFS, 2016
11
     www.IUCNRedList.org, 2016

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concentrated. The proposed action area is not located near the areas where the Gulf Bryde’s whale is known to
be distributed and are not expected to occur at the water depth of the proposed project.

Fin Whales
Fin whales are found in deep, offshore waters of all the world’s oceans, primarily in temperate to polar climates.
The NMFS has reported that the are about 2,700 fin whales in the North Atlantic and Gulf. There are few reliable
reports of fin whales in the northern Gulf. They are most commonly found in North Atlantic waters where they
feed on krill, small schooling fish, and squid (NMFS, 2016). Fin whales are generally found along the 100 m
isobath with sightings also spread over deeper water including canyons along the shelf break (Waring et al.,
2006). Therefore, fin whales are not expected to be found near the proposed action area where the water depth
is approximately 40 m.

Humpback Whales
Based on a few confirmed sightings and one stranding event, humpback whales are rare in the northern Gulf
(BOEM, 2012a). Baleen whale richness in the Gulf is believed to be less than previously understood (Würsig,
2017). U.S. populations of humpback whales mainly use the western North Atlantic for feeding grounds and use
the West Indies during winter and for calving (NMFS, 2016). Given that humpback whales are not a typical
inhabitant of the Gulf, they are not expected to be in found near the proposed action area. Additionally, the water
depth at the proposed action area (40 m) does not overlap to the habitat preference of humpback whales for
deeper waters.

Sei Whales
The sei whale is rare in the northern Gulf and its occurrence is considered accidental, based on four reliable and
one questionable strandings records in Louisiana and Florida (Jefferson and Schiro, 1997; Schmidley, 2004;
Würsig, 2017). Sei whales are more commonly found in subtropical to subpolar waters of the continental shelf
and slope of the Atlantic, with movement between the climates according to seasons (NMFS, 2016). Sei whales
typically occur in deeper waters seaward of the continental shelf and are not commonly observed in the waters
of the Gulf (CeTAP, 1982; Wenzel et al., 1988; Waring et al., 2006). Sei whales are not expected to be
geographically located near the proposed project.

Sperm Whales
In the northern Gulf, aerial and ship surveys indicate that sperm whales are widely distributed and present in all
seasons in continental slope and oceanic waters. Sperm whales are the most abundant large cetacean in the Gulf.
Greatest densities of sperm whales are in the central Northern Gulf near Desoto Canyon as well as near the Dry
Tortugas (Roberts et al., 2016). They are found in deep waters throughout the world's oceans, but generally in
waters greater than 200 to 800 m due to the habit of feeding on deep-diving squid and fish (Hansen et al., 1996;
Davis et al., 2002; Mullin and Fulling, 2003; Würsig, 2017). Research conducted since 2000 confirms that Gulf
sperm whales constitute a distinct stock based on several lines of evidence (Waring et al., 2006). Sperm whales
are not expected to be within the proposed action area due to their known preference for deeper water.

5.1.5   Reptiles
The five ESA-listed sea turtle species that may occur in or near the proposed action area are: green, hawksbill,
leatherback, kemp’s ridley, and loggerhead. Sea turtles are highly migratory and travel widely throughout the
Gulf. Therefore, each sea turtle has the potential to occur throughout the entire Gulf. In general, the entire Gulf
coastal and nearshore area can serve as habitat for marine turtles. Florida is the most important nesting area in
the United States for loggerhead, green, and leatherback turtles. Several volumes exist that cover the biology
and ecology of these species (i.e., Lutz and Musick, 1997; Lutz et al., 2003, Wynekan et al., 2013).

Green sea turtle
Green sea turtle hatchlings are thought to occupy pelagic areas of the open ocean and are often associated with
Sargassum rafts (Carr, 1987; Walker, 1994). Pelagic stage green sea turtles are thought to be carnivorous.

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Stomach samples of these animals found ctenophores and pelagic snails (Frick, 1976; Hughes, 1974). At
approximately 20 to 25 centimeters (cm) carapace length, juveniles migrate from pelagic habitats to benthic
foraging areas (Bjorndal, 1997). As juveniles move into benthic foraging areas a diet shift towards herbivory
occurs. They consume primarily seagrasses and algae, but are also known to consume jellyfish, salps, and
sponges (Bjorndal, 1980, 1997; Paredes, 1969; Mortimer, 1981, 1982). The diving abilities of all sea turtle
species vary by their life stages. The maximum diving range of green sea turtles is estimated at 110 m (Frick,
1976), but they are most frequently making dives of less than 20 m (Walker, 1994). The time of these dives also
varies by life stage.

The NMFS and USFWS removed the range-wide and breeding population ESA listings of the green sea turtle
and listed eight distinct population segments (DPSs) as threatened and three DPSs as endangered, effective May
6, 2016. Two of the green sea turtle DPSs, the North Atlantic DPS and the South Atlantic DPS, occur in the
Gulf. The proposed action area is within the North Atlantic NPS where the green sea turtle is listed as threatened.

Hawksbill sea turtle
The hawksbill sea turtle’s pelagic stage lasts from the time they leave the nesting beach as hatchlings until they
are approximately 22 to 25 cm in straight carapace length (Meylan, 1988; Meylan and Donnelly, 1999). The
pelagic stage is followed by residency in developmental habitats (foraging areas where juveniles reside and
grow) in coastal waters. Little is known about the diet of pelagic stage hawksbills. Adult foraging typically
occurs over coral reefs, although other hard-bottom communities and mangrove-fringed areas are occupied
occasionally. Hawksbills show fidelity to their foraging areas over several years (van Dam and Diéz, 1998). The
hawksbill’s diet is highly specialized and consists primarily of sponges (Meylan, 1988). Gravid females have
been noted ingesting coralline substrate (Meylan, 1984) and calcareous algae (Anderes, Alvarez, and Uchida,
1994), which are believed to be possible sources of calcium to aid in eggshell production. The maximum diving
depths of these animals are unknown, but the maximum length of dives is estimated at 73.5 minutes, more
routinely dives last about 56 minutes (Hughes, 1974). Hawksbill sea turtles are not known to regularly nest in
Florida but do occur occasionally.

Kemp’s Ridley sea turtle
Kemp’s ridley sea turtle hatchlings are also pelagic during the early stages of life and feed in surface waters
(Carr, 1987; Ogren, 1989). After the juveniles reach approximately 20 cm carapace length they move to
relatively shallow (less than 50 m) benthic foraging habitat over unconsolidated substrates (Márquez-M., 1994).
They have also been observed transiting long distances between foraging habitats (Ogren, 1989). Kemp’s ridleys
feeding in these nearshore areas primarily prey on crabs, though they are also known to ingest mollusks, fish,
marine vegetation, and shrimp (Shaver, 1991). The fish and shrimp Kemp’s ridleys ingest are not thought to be
a primary prey item but instead may be scavenged opportunistically from bycatch discards or discarded bait
(Shaver, 1991). Given their predilection for shallower water, Kemp’s ridleys most routinely make dives of 50
m or less (Soma, 1985; Byles, 1988). Their maximum diving range is unknown. Depending on the life stage, a
Kemp’s ridley may be able to stay submerged anywhere from 167 minutes to 300 minutes, though dives of 12.7
minutes to 16.7 minutes are much more common (Soma, 1985; Mendonca and Pritchard, 1986; Byles,
1988). Kemp’s ridley turtles may also spend as much as 96 percent of their time underwater (Soma, 1985; Byles,
1988). In the United States, Kemp’s ridley turtles inhabit the Gulf and northwest Atlantic Ocean; nesting occurs
primarily in Texas, and occasionally in Florida, Alabama, Georgia, South Carolina, and North Carolina.

Leatherback sea turtle
Leatherback sea turtles are the most pelagic of all ESA-listed sea turtles and spend most of their time in the open
ocean. They will enter coastal waters and are seen over the continental shelf on a seasonal basis to feed in areas
where jellyfish are concentrated. Leatherbacks feed primarily on cnidarians (medusae, siphonophores) and
tunicates. Unlike other sea turtles, leatherbacks’ diets do not shift during their life cycles. Because leatherbacks’
ability to capture and eat jellyfish is not constrained by size or age, they continue to feed on these species
regardless of life stage (Bjorndal, 1997). Leatherbacks are the deepest diving of all sea turtles. It is estimated
that these species can dive more than 1,000 m (Eckert et al., 1989) but more frequently dive to depths of 50 m

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to 84 m (Eckert et al. 1986). Dive times range from a maximum of 37 minutes to more routines dives of 4 to
14.5 minutes (Standora et al., 1984; Eckert et al., 1986; Eckert et al., 1989; Keinath and Musick, 1993).

Loggerhead sea turtle
Loggerhead sea turtle hatchlings forage in the open ocean and are often associated with Sargassum rafts
(Hughes, 1974; Carr 1987; Walker, 1994; Bolten and Balazs, 1995). The pelagic stage of these sea turtles are
known to eat a wide range of things including salps, jellyfish, amphipods, crabs, syngnathid fish, squid, and
pelagic snails (Brongersma, 1972). Stranding records indicate that when pelagic immature loggerheads reach 40
to 60 cm straight-line carapace length, they begin to live in coastal inshore and nearshore waters of the
continental shelf throughout the U.S. Atlantic (Witzell, 2002). Loggerhead sea turtles forage over hard-bottom
and soft-bottom habitats (Carr, 1986).

Benthic foraging loggerheads eat a variety of invertebrates with crabs and mollusks being an important prey
source (Burke et al., 1993). Estimates of the maximum diving depths of loggerheads range from 211 m to 233
m (Thayer et al., 1984; Limpus and Nichols, 1988). The lengths of loggerhead dives are frequently between 17
and 30 minutes (Thayer et al., 1984; Limpus and Nichols, 1988; Limpus and Nichols, 1994; Lanyon et al., 1989)
and they may spend anywhere from 80 to 94 percent of their time submerged (Limpus and Nichols, 1994;
Lanyon et al., 1989). Loggerhead sea turtles are a long-lived, slow-growing species, vulnerable to various threats
including alterations to beaches, vessel strikes, and bycatch in fishing nets.

5.2         Federally Listed Critical Habitat In or Near the Action Area

5.2.1 Birds
Onshore critical habitat has been designated for the piping plover including designations for coastal wintering
habitat areas in Alabama, Mississippi, and Florida.12 The proposed project is not expected to impact any onshore
habitats.

5.2.2 Reptiles
The only critical habitat designated near the proposed action area is the Northwest Atlantic DPS of loggerhead
sea turtles. Specific areas of designated habitat include: nearshore reproductive habitat, winter area, breeding
areas, migratory corridors, and Sargassum habitat. The northwest Atlantic loggerhead DPS designated critical
habitat portion that occurs in federal waters (i.e., a Sargasso habitat unit) consists of the western Gulf to the
eastern edge of the loop current, through the Straits of Florida and along the Atlantic coast from the western
edge of the Gulf Stream eastward. Sargassum habitat is home to most juvenile sea turtles in the western Gulf.

5.3         Federal Proposed Species and Proposed Critical Habitat

The action agencies did not identify any Federally-listed proposed species or proposed critical habitat in the
proposed action area.




12
     Critical habitat locations for the piping plover are available at: https://ecos.fws.gov/ecp0/profile/speciesProfile?spcode=B079

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6.0     Potential Stressors to Listed and Proposed Species and Critical Habitat

The action agencies evaluated the potential impacts of the proposed project on ESA-listed species that were
identified in Section 5.0 and that may occur in or near the proposed action area. Potential effects considered in
this analysis may occur because of a potential overlap between the proposed aquaculture facility location with
the species habitat (socialization, feeding, resting, breeding, etc.) or migratory route. Section 6.0 broadly
describes the most likely stressors, directly and indirectly, that were considered to potentially impact the species
near the proposed facility. The action agencies identified four categories of risks from the proposed project:
disturbance; entanglement; vessel collisions; and impacts from water quality. The specific analysis of potential
impacts to each species from the proposed project is provided in Section 7.0.

6.1     Disturbance

Disturbance in the context of this BE includes ocean noise (low-frequency underwater noises) and breakage
(invertebrates). Underwater noises can interrupt the normal behavior of whales, which rely on sound to
communicate. As ocean noise increases from human sources, communication space decreases and whales cannot
hear each other, or discern other signals in their environment as they used to in an undisturbed ocean. Different
levels of sound can disturb important activities, such as feeding, migrating, and socializing. Mounting evidence
from scientific research has documented that ocean noise also causes marine mammals to change the frequency
or amplitude of calls, decrease foraging behavior, become displaced from preferred habitat, or increase the level
of stress hormones in their bodies. Loud noise can cause permanent or temporary hearing loss. Underwater noise
threatens whale populations, interrupting their normal behavior and driving them away from areas important to
their survival. Increasing evidence suggests that exposure to intense underwater sound in some settings may
cause some whales to strand and ultimately die.

ESA-listed sea turtles, whales, and fish may experience stress due to a startled reaction should they encounter
vessels, or vessel noise, at the proposed location or in transit to the proposed project site. The reaction could
range from the animal approaching and investigating the activity, to the opposite reaction of flight, where the
animal could injure itself while attempting to flee. The most likely source of disturbance from the proposed
aquaculture activity would be noise from the vessel engines and barge generator.

6.2     Entanglements

Entanglement, for the purposes of this BE, refers to the wrapping of lines, netting, or other man-made materials
around the body of a listed species. Entanglement can result in restrainment and/or capture to the point where
harassment, injury, or death occurs. The cage, mooring lines, and bridles from the proposed project may pose
an entanglement risk to listed species in the project area; however, entanglement risks to ESA-listed species at
any aquaculture operation are mitigated by using rigid and durable cage materials, and by keeping all facility
lines taut as slack lines are the primary source of entanglements (Nash et al., 2005).

Past protected species reviews by the NMFS for a similar scale aquaculture project determined that cetacean and
sea turtle entanglement is not expected when facility mooring and tether lines are kept under near-constant
tension and free of loops (NMFS, 2016). Additionally, the NMFS determined that a similar aquaculture project
had the potential to result in interactions with marine mammals; however, the NMFS found that the most likely
effect of the project on marine mammals was behavioral interactions (e.g., individuals engaging in investigative
behavior around the array or that prey on wild fish accumulated near the facility) as opposed to causing injury
or mortality from entanglement.

6.3     Vessel Strike

A vessel strike is a collision between any type of boat and a marine animal in the ocean. All sizes and types of
vessels have the potential to collide with nearly any marine species. Strikes can result in death or injury to the

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marine animal and may go unnoticed by the vessel operator. Some marine species spend short durations “rafting”
at the ocean’s water surface between dives which makes them more vulnerable to vessel strikes.

The NMFS estimates collisions between some cetaceans and vessels are relatively rare events based on data
from Marine Mammal Stock Assessments for the Atlantic and Gulf (NMFS, 2017). Collisions between marine
mammals and vessels can be further minimized when vessels travel at less than 10 knots based on general
guidance from the NMFS for vessels transiting areas where there are known populations of whales (HIHWNMS,
2011). Detection of sea turtles by vessel operators may be more difficult because most vessel operators usually
sight protected species and avoid them. In past biological opinions in support of similar aquaculture activities,
the NMFS has determined that the rate of collisions between sea turtles and vessels was negligible and did not
expect sea turtle vessel strikes to occur (NMFS, 2016).

The support vessel used for the proposed project is expected to be vigilant against the possibility of protected
species collisions. Piloting of all vessels associated with the proposed project will be done in a manner that will
prevent vessel collisions or serious injuries to protected species. Operators and crew will operate vessels at low
speeds when performing work within and around the proposed project area and operate only when there are no
small craft advisories in effect. All vessels are expected to follow the vessel strike and avoidance measures that
have been developed by the NMFS. 13 These operating conditions are expected to allow vessel operators the
ability to detect and avoid striking ESA-listed species.

6.4      Water Quality

Although offshore marine cage systems do not generate a waste stream like other aquaculture systems, effluent
from the proposed action area can adversely affect water quality, sea floor sediment composition, and benthic
fauna though the additions of uneaten feed, ammonia excretions, and fish feces from the increased fish biomass.
Water quality in aquaculture is primarily assessed through measures of nitrogen (N), phosphorus (P), solids
(total suspended solids, settleable solids, and turbidity), dissolved oxygen (DO), and pH. The increased amount
of organic material has the potential to increase N, P, and solids levels in the surrounding waters. The
concentration of N (such as total nitrogen, ammonia, nitrate, nitrite) and P (as total phosphorus or
orthophosphate) are indicators of nutrient enrichment and are commonly used to assess the impact of aquaculture
on water quality. The release of nutrients, reductions in concentrations of DO, and the accumulation of sediments
under certain aquaculture operations can affect the local environment by boosting overall productivity in
phytoplankton and macroalgal production in marine ecosystems through eutrophication and degradation of
benthic communities (Stickney, 2002).

According to Marine Cage Culture and The Environment (Price and Morris, 2013), “there are usually no
measurable effects 30 meters beyond the cages when the farms are sited in well-flushed water. Nutrient spikes
and declines in dissolved oxygen sometimes are seen following feeding events, but there are few reports of long-
term risk to water quality from marine aquaculture.” Price and Morris (2013) also considered the benthic effects
of Marine Cage Culture and found that “well-managed farms may exhibit little perturbation and, where chemical
changes are measured, impacts are typically confined to within 100 meters of the cages. Benthic chemical
recovery is often rapid following harvest”. Conversely, poorly managed farms or heavily farmed areas, can see
anaerobic conditions persisting and extending hundreds of meters beyond the aquaculture facility. Changes in
water quality associated with commercial scale marine aquaculture facilities can be measurable downstream for
approximately 205 m (Nash et al., 2005).

The NCCOS reviewed global siting data to identify aquaculture site characteristics that are best suited for water
quality protection, concluding that, “Protection of water quality will be best achieved by siting farms in well-
13
  The NMFS has determined that collisions with any vessel can injure or kill protected species (e.g., endangered and threatened species, and
marine mammals). The vessel strike avoidance guidelines developed by the NMFS are the standard measures that should be implemented to
reduce the risk associated with vessel strikes or disturbance of these protected species to discountable levels. NMFS Southeast Region Vessel
Strike Avoidance Measures and Reporting for Mariners; revised February 2008.

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flushed waters.” (Price, 2013). The hydrology near the proposed action area has powerful and mixing ocean
currents that would constantly flush and dilute particulate and dissolved wastes. In addition, the proposed action
has other attributes cited in this study that contributes to decrease water quality impacts, including deep waters
and a sand bottom type. Neither particulates nor dissolved metabolites are expected to accumulate due to a low
fish production levels and the near constant flushing of the cage by strong offshore currents that dissipate wastes.

The EPA evaluated the proposed action’s potential impacts to water quality, impacts of organic enrichment to
the seafloor, and impacts to benthic communities from organic enrichment as required by the Sections 402 and
403 of the CWA. The EPA determined that discharges from the proposed facility are not expected to exceed
federally recommended water quality criteria; that the discharged material is not sufficient to pose a
environmental threat through seafloor bioaccumulation; and the potential for benthic impacts from the proposed
project are minimal.14 Additionally, the EPA considered recent environmental modeling performed by the
NMFS for a similar small scale aquaculture facility (Velella Delta). 15 NCCOS concluded that there are minimal
risks to water column or benthic ecology functions in the subject area from the operation of the fish cage as
described in the applicant’s proposal. Furthermore, EPA reviewed the previous and current environmental
monitoring data collected from a commercial-scale marine aquaculture facility, Blue Ocean Mariculture (BOM),
in Hawaii raising the same fish species.16 While the size of the proposed project is significantly smaller than the
BOM commercial-scale facility and BOM is in slightly deeper waters, the results show that soluble and
particulate nutrients from the BOM facility do not substantially affect the marine environment. Based on EPA’s
analysis, as well as a review and comparison of representative water quality information, the proposed action
would not likely raise particulate and dissolved nutrient concentrations in the proposed action area.

The proposed facility will be covered by a NPDES permit as an aquatic animal production facility with protective
conditions required by the Clean Water Act. The NPDES permit will contain conditions that will confirm EPA’s
determination and ensure no significant environmental impacts will occur from the proposed project. The
aquaculture-specific water quality conditions placed in the NPDES permit will generally include a
comprehensive environmental monitoring plan. The applicant will be required to monitor and sample certain
water quality, sediment, and benthic parameters at a background (up-current) location and near the cage.
Additionally, the NPDES permit will include effluent limitations expressed as best management practices
(BMPs) for feed managment, waste collection and disposal, harvest discharge, carcass removal, materials
storage, maintenance, record keeping, and training. Impacts to water quality will be reduced by a range of
operational measures through the implementation of project-specific BMPs. For example, feeding will always
be monitored to ensure fish are fed at levels just below satiation to limit overfeeding and decrease the amount
of organic material that is introduced into the marine environment. Moreover, the Essential Fish Habitat
assessment requires certain mitigation measures within the NPDES and Section 10 permits. 17


14
   Further information about EPA’s analysis and determination for impacts to water quality, seafloor, and benthic habitat can be found in the
final NPDES permit and the Ocean Discharge Criteria (ODC) Evaluation, as well as other supporting documents for the NPDES permit such
as the Essential Fish Habitat Assessment and the NEPA evaluation.
15
   The NCCOS previously produced models to assess the potential environmental effects on water quality and benthic communities for the
applicant’s Velella Delta project that is similar Velella Epsilon in terms of fish production (approximately 120,000 lbs), operation duration,
and cultured species; however, the water depth was dissimilar between the two projects (6,000 ft vs. 130 ft). At maximum capacity, NCCOS
determined there were no risks to water quality from the Velella Delta project, and only insignificant effects would occur in the water column
down to 100 feet. Because of the great depth, strong currents, and physical oceanographic nature of the Velella Delta site, dissolved wastes
would be widely dispersed and assimilated by the planktonic community. Furthermore, the model results showed that benthic impacts and
accumulation of particulate wastes would not be detectable through measurement of organic carbon or infaunal community biodiversity.
16
   Water quality information from a Blue Ocean Mariculture (BOM) facility in Hawaii was reviewed as representative data and compared to
the proposed project. The BOM farm previously produced approximately 950,000 lbs/yr prior to 2014 and has produced up to 2,400,000 lbs/yr
after 2014. The BOM facility is in a similar depth of water as the proposed project with an average depth of 60 m. Over eight years of
comprehensive water quality and benthic monitoring, the BOM facility has not adversely impacted water quality outside of the mixing zone at
the facility (BOM, 2014).
17
   The EPA and the USACE will require mitigation measures to be incorporated into the NPDES permit to avoid or limit organic enrichment
and physical impacts to habitat that may support associated hardbottom biological communities. The NPDES permit will require facility to be
positioned at least 500 meters from any hardbottom habitat; the DA permit will not authorize the anchor system to be placed on vegetated
and/or hardbottom habitat.

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The EPA also considered the potential water quality impacts from chemical spills, drugs, cleaning, and solid
wastes.

    Chemical Spills: Spills are unlikely to occur; however, if a spill did occur they would be small in nature and
    dissipate rapidly due to strong currents in the project area. The terms and conditions of the NPDES permit
    would require the applicant to follow operational procedures (i.e. BMPs) that minimize the risk of wastes
    and discharges that may affect any ESA-listed species or habitat. The risk of accidental fuel or oil spills into
    the marine environment is minimized by the support vessel not being operated during any time that a small
    craft advisory is in effect at the proposed facility.

    Drugs: The applicant indicated that FDA-approved antibiotics or other therapeutants will not likely be used
    during the proposed project due to the strong currents expected at the proposed action area, the low fish
    culture density, and the cage material being used. In the unlikely event that drugs/therapeutants are used,
    administration of drugs will be performed under the control of a licensed veterinarian and only FDA-
    approved therapeutants for aquaculture would be used as required by federal law. In addition, the NPDES
    permit will require that the use of any medicinal products be reported to the EPA, including therapeutics,
    antibiotics, and other treatments. The report will include types and amounts of medicinal product used and
    the duration they were used. The EPA does not expect the project to a cause a measurable degradation in
    water quality from drugs that may affect any ESA-listed species.

    Cleaning: Another potential source of water quality impacts would be from the cleaning of the cage system.
    The applicant does not anticipate the need to clean the cage for the short duration of the proposed project.
    Experience from previous trials by the applicant demonstrated that copper alloy mesh material used for the
    cage is resistant to fouling. Should the cage system need cleaning, divers would manually scrub the cage
    surfaces with cleaning brushes. No chemicals would be used while cleaning and any accumulated marine
    biological matter would be returned to sea without alteration.

    Solid Wastes: Multiple federal laws and regulations strictly regulate the discharge of oil, garbage, waste,
    plastics, and hazardous substances into ocean waters. The NPDES permit prohibits the discharge of any
    solid material not in compliance with the permit.




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7.0     Potential Effects of Action

Under the ESA, “effects of the action” means the direct and indirect effects of an action on the listed species or
critical habitat, together with the effects of other activities that are interrelated or interdependent with that action
(50 CFR § 402.02). The NMFS and USFWS standard for making a “no effect” finding is appropriate when an
action agency determines its proposed action will not affect that ESA-listed species or critical habitat, directly
or indirectly (USFWS and NMFS, 1998). Generally, a “no effect” determination means that ESA-listed species
or critical habitats will not be exposed to any potentially harmful/beneficial elements of the action (NMFS,
2014).

The applicable standard to find that a proposed action “may affect, but not likely to adversely affect” (NLAA)
listed species or critical habitat is that all the effects of the action are expected to be discountable, insignificant,
or completely beneficial. Insignificant effects relate to the size of the impact and should never reach the scale
where take occurs. Discountable effects are those extremely unlikely to occur. Beneficial effects are
contemporaneous positive effects without any adverse effects to the species or critical habitat.

A summary of the potential effects considered and the determination of impact for each listed species and critical
habitat is provided in Table 4. Overall, potential impacts to the ESA-listed species considered in this BE are
expected to be extremely unlikely and insignificant due to the small size of the facility, the short deployment
period, unique operational characteristics, lack of geographic overlap with habitat or known migratory routes,
or other factors that are described in the below sections for each species. The federal action agencies used
multiple sources to support the determinations described within this section including the analysis of potential
impacts that the NMFS used as the basis for its ESA determination for up to 20 commercial scale offshore
marine aquaculture facilities in the Gulf (EPA, 2016; NMFS, 2009; NMFS, 2013; NMFS, 2015; NMFS, 2016).

7.1     Federally Listed Threatened and Endangered Species

7.1.1 Birds
The action agencies did not consider any potential threats to ESA-protected birds from the proposed project.
The two species of birds considered are not expected to interact with the proposed project due to the distance
between the proposed project from shore (approximately 45 miles) to their onshore habitat preferences. The
piping plover and red knot are migratory shorebirds. Known migratory routes do not overlap with the proposed
project. Both birds primarily inhabit coastal sandy beaches and mudflats of the Gulf; migration and wintering
habitat are in intertidal marine habitats such as coastal inlets, estuaries, and bays (USFWS, 2015). Additionally,
the normal operating condition of the cage is expected to be below the water surface which will further decrease
the likelihood of any bird interaction with the proposed project.

The ESA-listed bird species will not be exposed to any potentially harmful impacts of the proposed action. The
action agencies have determined that the activities under the proposed project will have no effect on the
threatened species of birds.

7.1.2 Fish
The action agencies considered disturbance, entanglement (for smalltooth sawfish only), and water quality as
potential impacts to endangered or threatened fish from the proposed project in the rare event that interaction
occurs.

Impacts from disturbance, entanglement, and water quality are highly unlikely for each ESA-listed fish species
that was considered given their unique habitat preferences and known proximity to the proposed action area.
The oceanic whitetip shark is not likely to occur near the proposed project given its preference for deeper waters.
The action agencies believe that the Nassau grouper will not be present given that it is absent from the Gulf
outside of the Florida Keys. Interactions with smalltooth sawfish with the proposed project is extremely unlikely
because they primarily occur in the Gulf off peninsular Florida and are most common off Southwest Florida. The

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giant manta ray may encounter the facility given its migratory patterns; however, disturbance is not expected
because the facility is small and will have a short deployment period of approximately 18 months.

Entanglement impacts were considered for smalltooth sawfish because it is the only listed fish species large
enough to become entangled within the proposed facility’s mooring lines. Entanglement risks to the smalltooth
sawfish from the proposed project are minimized by using rigid and durable cage materials and by keeping all
lines taut (as described in Section 3.0). The ocean currents will maintain the floating cage, mooring lines, and
chain under tension during most times of operation. Additionally, the limited number of vertical mooring lines
reduce the risk of potential entanglement by this listed fish species. Furthermore, interactions are anticipated to
be highly unlikely given their current range in southwest Florida between Ft Myers and the Florida Keys.
Because of the proposed project operations and lack of proximity to the known habitat for the smalltooth sawfish,
the action agencies expect that the effects of this entanglement interaction would be discountable.

For water quality impacts, the EPA is proposing NPDES permit conditions required by the Clean Water Act.
These permit provisions will contain environmental monitoring (water quality, sediment, and benthic infauna)
and conditions that minimize potential adverse impacts to fish from the discharge of effluent from the proposed
facility, and prohibit the discharge of certain pollutants (e.g., oil, foam, floating solids, trash, debris, and toxic
pollutants). Due to the pilot-scale size of the facility, water quality and benthic effects are not expected to occur
outside of 10 meters. The discharges authorized by the proposed NPDES permit represent a small incremental
contribution of pollutants that are not expected to affect any ESA-listed fish species in or near the proposed
action area.

Any potential effects from the proposed action on ESA-listed fish are discountable and insignificant. The action
agencies have determined that the activities under the proposed project is NLAA the threatened and endangered
species of fish.

7.1.3 Invertebrates
Potential routes of effects to coral from the proposed project include disturbance (breakage of coral structures)
and water quality impacts (e.g., increased sedimentation, increased nutrient loading, and the introduction of
pollutants).

Regarding disturbance, anthropogenic breakage is extremely unlikely and discountable because the proposed
facility will not be in areas where listed corals may occur. Most of the ESA-listed invertebrate species are
associated with coral reefs that occur in shallower areas of the Gulf and along the west Florida shelf. Only five
species of the invertebrates considered (boulder star, elkhorn, mountainous star, pillar, and staghorn) are not
known to occur near the proposed project location or at depths where the proposed facility is located. Only two
invertebrate species (lobed star coral and rough cactus coral) may occur in the proposed action area. Moreover,
the anchoring system and cage will be placed in an area consisting of unconsolidated sediments, away from
potential hardbottom which may contain corals according to the facility’s seafloor survey. Given the known
geographic locations of the considered coral species and their recognized habitat preferences related to water
depth, the disturbance effects of the proposed action is anticipated to be minimal and extremely unlikely.

Regarding impacts from water quality, the discharge from the proposed facility will be covered by a NPDES
permit with water quality conditions required by the Clean Water Act. The aquaculture-specific water quality
conditions contained in the NPDES permit will generally include an environmental monitoring plan (water
quality, sediment, and benthic monitoring) and effluent limitations expressed as BMPs. Water quality effects
are not expected to occur outside of 30 m due to the small size of the facility and low production levels.
Sedimentation from the facility is not expected to occur outside of 1,000 m (assuming a maximum production
for the entire duration of the project) with impacts resulting from the proposed facility likely limited to within
300-500 meters from the cage. The NPDES permit will prohibit discharges within 500 m of areas of biological
concern, including live bottoms or coral reefs. The impacts from water quality and sedimentation are expected


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to be minimal or insignificant, and the likelihood that deleterious water quality will contribute to any adverse
effects to listed coral species is extremely unlikely.

Any adverse effects from the proposed project on ESA-listed corals are discountable and insignificant. The
action agencies have concluded that the proposed project will NLAA on the ESA-listed invertebrate species.

7.1.4 Marine Mammals
Generally, endangered whales are not likely to be adversely affected by any of the threats considered by the
action agencies at or near the proposed facility because they are unlikely to overlap geographically with the
small footprint of the proposed action area. All whales considered in this BE prefer habitat in waters deeper than
the proposed action (40 m) as described in Section 5.1.4. The expected absence of the ESA-listed marine
mammals in or near the proposed action area is an important factor in the analysis of whether impacts from the
proposed project will have any effect on ESA-listed whales; however, the action agencies have still considered
potential threats (disturbance, entanglement, vessel strikes, and water quality) to the six species of marine
mammals considered in this BE.

Disturbance to marine mammals from ocean noise generated by the proposed facility is expected to be extremely
low given the duration of the project, minimal vessel trips, and scale of the operation. The production cage will
be deployed for a duration of approximately 18 months. Opportunities for disturbance from the vessel
participating in the proposed project are minimal due to the limited trips to the site. The most likely source of
disturbance from the proposed aquaculture activity would be noise from the vessel engines and barge generator.
The noise emitted from the engines and generator would not significantly add to the frequency or intensity of
ambient sound levels in the proposed action area, and are not expected to be different from other vessels
operating in federal waters. The action agencies believe that the underwater noise produced by operating a vessel
and cage will not interfere with the ability of marine mammals to communicate, choose mates, find food, avoid
predators, or navigate. The limited amount of noise from the proposed project would have negligible effect on
ESA-listed whales.

Entanglement risks to marine mammals at any aquaculture operation is minimized by using rigid and durable
cage materials and by keeping all lines taut. As described in Section 3.0, the cage material for the proposed
project is constructed with rigid and durable materials that will significantly decrease the likelihood that ESA-
listed species will become entangled. The limited number of vertical mooring lines (3) and the duration of cage
deployment (approximately 18 months) will reduce the risk of potential entanglement by marine mammals.
When the currents change, the lines would likely remain taut even as the currents shift because of the weight of
chain and rope create a negative buoyancy on the facility anchorage lines. While it is highly unlikely that ESA-
listed whales would become entangled in the mooring lines; if incidental line contact occurs, serious harm to the
listed whales or sea turtles is not likely due to the tension in the mooring lines. The cage will be constructed of
semi-rigid copper alloy mesh with small openings that will further prevent entanglements.

Additionally, there have been no recorded incidents of entanglement from ESA-listed marine mammal species
interacting with a permitted commercial-scale marine aquaculture facility in Hawaii (BOM, 2014). The depth
of water and line length used at the proposed project would provide adequate spaces for most marine mammals
to pass through. The proposed action would not likely entangle marine mammals as they are likely to detect the
presence of the facility and would be able to avoid the gear; however, should entanglement occur, on-site staff
would follow the steps outlined in the PSMP and alert the appropriate experts for an active entanglement.
Furthermore, because of the proposed project operations and location of marine mammal habitat, the action
agencies expect that the effects of this entanglement interaction would be interactions are anticipated to be highly
unlikely.

Regarding vessel strikes, facility staff will be stationed on one vessel for the duration of the project except during
unsafe weather conditions. The probability that collisions with the vessel associated with the proposed project
would kill or injure marine mammals is discountable as the vessel will not be operated at speeds known to injure

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or kill marine mammals. Given the limited trips to the facility with only one vessel, and the high visibility of
whales to small vessels, opportunities for strikes from the vessel participating in the proposed project are
expected to be insignificant. Strikes from other vessels not operated by the facility are anticipated to be
improbable due to the proximity to shore (~45 miles). Additionally, all vessels are expected to follow the vessel
strike and avoidance measures that have been developed by the NMFS. Moreover, should there be any vessel
strike that results in an injury to an ESA-protected marine mammal, the on-site staff would follow the steps
outlined in the PSMP and alert the appropriate experts for an active entanglement.

Regarding potential impacts from water quality, each ESA-listed whale species considered in this BE is not
expected to be affected given their unique habitat preferences and known proximity to the proposed action area.
The discharge from the proposed facility will be covered by a NPDES permit with project-specific conditions
that includes water quality monitoring and implementation of practices to protect the environment near the
proposed action area. The discharge of wastewater from the proposed project are expected to have a minor
impact on water quality due to factors concerning the low fish biomass produced; the relatively small amounts
of pollutants discharged; depth of the sea floor; and current velocities at the proposed action area. It is anticipated
that the proposed activity would add relatively small amounts of nutrient wastes (nitrogen, phosphorus,
particulate organic carbon, and solids) to the ocean in the immediate vicinity of the proposed action area. The
facility’s effluent is expected to undergo rapid dilution from the prevailing current; constituents will be difficult
to detect within short distances from the cage. The impacts from water quality are expected to be insignificant,
and the likelihood of water quality impacts contributing to any adverse effects to ESA-listed marine mammals
is extremely unlikely (see Section 6.4 for more information).

The action agencies believe that any adverse effects from the potential threats considered to ESA-listed marine
mammals are extremely unlikely to occur and are discountable. The action agencies have determined that the
activities authorized under the proposed permits will NLAA any marine mammals considered in this BE.

7.1.5 Reptiles
The action agencies considered disturbance, entanglement, vessel strike, and water quality as the only potential
threats to reptiles within the proposed action area.

Sea turtles may experience disturbance by stress due to a startled reaction should they encounter vessels in transit
to the proposed project site. Given the limited trips to the site, opportunities for disturbance from vessels
participating in the proposed project are minimal. ESA-listed sea turtles may be attracted to aquaculture facilities
as potential sources of food, shelter, and rest, but behavioral effects from disturbance are expected to be
insignificant. Additionally, all vessels are expected to follow the vessel strike and avoidance measures that have
been developed by the NMFS.7 Furthermore, there has been a lack of documented observations and records of
ESA-listed sea turtles interacting with a permitted commercial-scale marine aquaculture facility in Hawaii
(BOM, 2014); we anticipate that such interactions would be unlikely. As a result, disturbance from human
activities and equipment operation resulting from the proposed action is expected to have insignificant effects
on ESA-listed reptiles.

The risk of sea turtles being entangled in offshore aquaculture operation is greatly reduced by using rigid cage
materials and by keeping all lines taut. Section 3 describes how the cage and mooring material for the proposed
project is constructed with rigid and durable materials, and how the mooring lines will be constructed of steel
chain and thick rope that will be maintained under tension by the ocean currents during most times of operation.
Additionally, the bridle line that connects from the swivel to the cage will be encased in a rigid pipe. Moreover,
the limited number of vertical mooring lines (three) and the duration of cage deployment (less than 18 months)
will reduce the risk of potential entanglement by sea turtles. Because of the proposed project operations and
duration, the action agencies expect that the effects of this entanglement interaction would be discountable;
however, should entanglement occur, on-site staff would follow the steps outlined in the PSMP and alert the
appropriate experts for an active entanglement.


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In regard to vessel strikes, facility staff will use only one vessel for the duration of the project. The vessel will
be operated at low speeds that are not known to injure or kill sea turtles; therefore, the probability that collisions
with the vessel associated with the proposed project would kill or injure sea turtles is discountable. Opportunities
for strikes to reptiles from the vessel participating in the proposed project are expected to be insignificant given
the limited number of trips to the facility with one vessel. Strikes from other vessels not operated by the facility
are anticipated to be improbable due to the proximity to shore. Additionally, all vessels are expected to follow
the vessel strike and avoidance measures that have been developed by the NMFS.

The proposed activity would not add significantly to the volume of maritime traffic in the proposed action area.
The number of trips associated with deploying and retrieving the facility components, routine maintenance,
stocking, and harvest operations would minimally increase vessel traffic in the proposed action area. The project
activities are not expected to result in collisions between protected species and any vessels. Collisions with ESA-
listed species during the proposed activity would be extremely unlikely to occur.

Commercial and recreational fishermen are expected to visit the proposed project because it could act as a fish
attraction device. While fishermen would be attracted to the project area from other locations, overall fishing
effort by these fishermen in federal fisheries would not increase as these fishermen would have fished elsewhere
if the project was not in place. The action agencies do not expect that any increased fishing activity in the project
area since there were no reports or observations of interactions between fishermen and ESA-listed species in
previous Velella trials (Velella Beta and Velella Gamma) in Hawaii (NMFS, 2016).

The impacts from water quality are expected to be insignificant, and the likelihood of water quality impacts
contributing to any adverse effects to ESA-listed reptiles in or near the proposed action area is extremely unlikely
(see Section 6.4 for more information related to water quality impacts). The discharge from the proposed facility
will be covered by a NPDES permit with project-specific conditions that includes water quality monitoring and
implementation of practices to protect the environment. Water quality effects are not expected to occur outside
of 10 m due to the low fish production levels and fast ocean currents.

Any adverse effects from the proposed project on ESA-listed reptiles are extremely unlikely to occur and are
discountable. The action agencies have determined that the activities under the proposed permit will NLAA the
sea turtles considered in this BE.

7.2     Federally Listed Critical Habitat

7.2.1 Reptiles
The action agencies identified vessel strike and water quality as the only potential routes of impacts to the
loggerhead turtle DPS critical habitat of the Northwest Atlantic. In the Gulf, designated critical habitat consists
of either nearshore reproductive habitat or Sargassum habitat. The proposed project is roughly 45 miles from
shore and will not affect nearshore reproductive habitat. Therefore, the essential features of loggerhead turtle
critical habitat that the proposed action may affect are foraging habitat for hatchlings and association of
hatchlings around Sargassum mats.

Sargassum mats may be impacted by vessel traffic; however, the PSMP that was developed for the proposed
project area includes a provision that trained observers will look for Sargassum mats and will inform vessel
operators as to their location to avoid the mats to the maximum extent practicable. The proposed project will be
sited in the open ocean environment, and Sargassum mats may infrequently drift into the project area; however,
it is highly unlikely the proposed facility would impact Sargassum habitat further offshore where the facility
will be located. Additionally, the facility will only bring the submerged aquaculture cage to the surface for brief
periods to conduct maintenance, feeding, or harvest activities due to the high energy open-ocean environment
where the proposed facility will be located.



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Sargassum mats are not anticipated to be negatively impacted by water quality due to the conditions in the
NPDES permit. Potential impacts on loggerhead critical habitat is expected to be discountable because of active
monitoring for Sargassum mats and the extremely low likelihood of impacts from water quality.

The action agencies believe that the adverse effects from the proposed action will have insignificant effect on
the Northwest Atlantic loggerhead DPS critical habitat due to location of the facility and operational methods
used while the cage is deployed. The action agencies have determined that the activities under the proposed
permit will NLAA the listed sea turtle critical habitat.

7.2.2 Birds
Critical habitat has been designated in for the piping plover for coastal wintering habitat areas in Florida;
however, the proposed action does not interfere with any nearshore areas. Therefore, critical habitat for the
piping plover will not be exposed to any potentially harmful elements of the proposed action. The action
agencies have determined that the activities under the proposed project will have no effect to the piping plover’s
critical habitat.

7.3     Federal Proposed Species and Proposed Critical Habitat

The action agencies did not perform an analysis of impacts because no federally-listed proposed species or
proposed critical habitat in or near the proposed action area were identified.




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       Table 4: Summary of potential impacts considered and ESA determination

                                      Potential Impacts
       Group and Species                                          Potential Effect   Determination
                                      Considered
       Birds
       1 Piping Plover
                                      None                        None               No effect
       2 Red Knot
       Fish
       1 Giant Manta Ray
                                      Disturbance,
       2 Nassau Grouper                                           Discountable and   May affect, but not
                                      entanglement, and
       3 Oceanic Whitetip Shark                                   insignificant      likely to adversely affect
                                      water quality
       4 Smalltooth Sawfish
       Invertebrates
       1 Boulder Star Coral
       2 Elkhorn Coral
       3 Mountainous Star Coral       Disturbance and water       Discountable and   May affect, but not
       4 Pillar Coral                 quality                     insignificant      likely to adversely affect
       5 Staghorn Coral
       6 Rough Cactus Coral
       7 Lobed Star Coral
       Marine Mammals
       1 Blue Whale
       2 Fin Whale
                                      Disturbance,
       3 Humpback Whale                                           Discountable and   May affect, but not
                                      entanglement, vessel
       4 Sei Whale                                                insignificant      likely to adversely affect
                                      strike, and water quality
       5 Sperm Whale
       6 Bryde's Whale
       Reptiles
       1 Green Sea Turtle
       2 Hawksbill Sea Turtle         Disturbance,
                                                                  Discountable and   May affect, but not
       3 Kemp's Ridley Sea Turtle     entanglement, vessel
                                                                  insignificant      likely to adversely affect
       4 Leatherback Sea Turtle       strike, and water quality
       5 Loggerhead Sea Turtle
       Critical Habitat
       1 Hawksbill Sea Turtle
                                      Vessel strike and water     Discountable and   May affect, but not
       2 Leatherback Sea Turtle
                                      quality                     insignificant      likely to adversely affect
       3 Loggerhead Sea Turtle
       4 Piping Plover                None                        None               No effect




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8.0     Conclusion

The EPA and USACE conclude that the proposed project’s potential threats (disturbance, entanglement, vessel
strike, water quality) to ESA-listed species and critical habitat are highly unlikely to occur or extremely minor
in severity; therefore, the potential effects to ESA protected species and critical habitats are discountable or
insignificant.

The EPA and USACE have determined that the proposed project will have “no effect” on the listed species
and critical habitat under the jurisdiction of the USFWS that may occur in the proposed action area and that
may be affected. This determination includes the piping plover and the red knot and critical habitat for the
piping plover. No other listed species, proposed species, critical habitats, or proposed critical habitats were
considered under the authority of the USFWS because there is no evidence to support that a potential effect from
the proposed project may occur. The EPA and USACE request concurrence from the USFWS for this
determination under ESA S ection 7.

The EPA and USACE have determined that the proposed project “may affect, but is not likely to adversely
affect” the listed species and critical habitat or designated critical habitat under the jurisdiction of the NMFS.
This determination includes: four species of fish, seven species of invertebrates, six species of whales, reptiles
from five species, and critical habitat for reptiles. No other listed species, proposed species, critical habitats, or
proposed critical habitats were considered under the authority of the NMFS because there is no evidence to
support that a potential effect from the proposed project may occur. The EPA and USACE request concurrence
from the NMFS for this determination under ESA S ection 7.




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                                           Final
                                  BIOLOGICAL EVALUATION




                               Ocean Era, Inc. - Velella Epsilon
                                 Marine Aquaculture Facility
                                   Outer Continental Shelf
                             Federal Waters of the Gulf of Mexico




                                     September 30, 2020




  U.S. Environmental Protection Agency                      U.S. Army Corps of Engineers
                 Region 4                                        Jacksonville District
         Water Protection Division                           Fort Myers Permit Section
           61 Forsyth Street SW                      1520 Royal Palm Square Boulevard Suite 310
          Atlanta Georgia 30303                            Fort Myers Florida 33919-1036

         NPDES Permit Number                           Department of the Army Permit Number
             FL0A00001                                           SAJ-2017-03488
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1.0      Introduction and Federal Coordination

In accordance with the Endangered Species Act (ESA) Section 7, interagency consultation and coordination
with the National Marine Fisheries Service (NMFS) and the U.S. Fish and Wildlife Service (USFWS) is required
to insure that any action authorized, funded, or carried out by an action agency is not likely to jeopardize the
continued existence of any listed species or result in the destruction or adverse modification of any designated
critical habitat (Section 7(a)(2)); and confer with the NMFS and USFWS on any agency actions that are likely to
jeopardize the continued existence of any species that is proposed for listing or result in the destruction or
adverse modification of any critical habitat proposed to be designated (Section 7(a)(4)). 1

On November 9, 2018, the U.S. Environmental Protection Agency Region 4 (EPA) received a complete
application for a National Pollutant Discharge Elimination System (NPDES) permit from Ocean Era (formerly
Kampachi Farms) for the point-source discharge of pollutants from a marine aquaculture facility in federal
waters of the Gulf of Mexico (Gulf). On November 10, 2018, the U.S. Army Corps of Engineers Jacksonville
District (USACE) received a completed Department of Army (DA) application pursuant to Section 10 of the
Rivers and Harbors Act for structures and work affecting navigable federal waters from the same marine
aquaculture facility.

Given that the action of permitting the proposed project involves more than one federal agency, the EPA has
elected to act as the lead agency to fulfill the consultation responsibilities pursuant to the implementing
regulations of ESA Section 7. 2 The USACE is a cooperating and co-federal agency for this informal consultation
request. The completion of the informal consultation shall satisfy the EPA’s and USACE’s obligations under ESA
Section 7(a)(2).

The EPA and the USACE (action agencies) have reviewed the proposed activity and determined that a biological
evaluation (BE) is appropriate. The BE was prepared by the EPA and the USACE to jointly consider the potential
direct, indirect, and cumulative effects that the proposed actions may have on listed and proposed species as
well as designated and proposed critical habitat, and to assist the action agencies in carrying out their activities
for the proposed action pursuant to ESA Section 7(a)(2) and ESA Section 7(a)(4). The EPA and the USACE have
provided this BE for consideration by the USFWS and the NMFS in compliance with the ESA Section 7.

The EPA and USACE coordinated the interagency permitting process as required by the interagency
Memorandum of Understanding (MOU) for Permitting Offshore Aquaculture Activities in Federal Waters of
the Gulf, 3 and conducted a comprehensive analysis of all applicable environmental requirements required by
the National Environmental Policy Act (NEPA); however, a consolidated cooperation process under NEPA was
not used to satisfy the requirements of ESA Section 7 as described in 50 CFR § 402.06. 4 The NMFS was a
cooperating agency for the NEPA analysis and has provided scientific expertise related to the BE and NEPA
analysis for the proposed action including information about: site selection, ESA-listed species, marine

1
  The implementing regulations for the Clean Water Act related to the ESA require the EPA to ensure, in consultation with the NMFS and
USFWS, that “any action authorized the EPA is not likely to jeopardize the continued existence of any endangered or threatened species or
adversely affect its critical habitat” (40 CFR § 122.49(c)).
2
  50 CFR § 402.07 allows a lead agency: “When a particular action involves more than one Federal agency, the consultation and conference
responsibilities may be fulfilled through a lead agency. Factors relevant in determining an appropriate lead agency include the time sequence
in which the agencies would become involved, the magnitude of their respective involvement, and their relative expertise with respect to
the environmental effects of the action. The Director shall be notified of the designation in writing by the lead agency.”
3
  On February 6, 2017, the Memorandum of Understanding for Permitting Offshore Aquaculture Activities in Federal Waters of the Gulf of
Mexico became effective for seven federal agencies with permitting or authorization responsibilities.
4
  50 CFR § 402.06 states that “Consultation, conference, and biological assessment procedures under section 7 may be consolidated with
interagency cooperation procedures required by other statutes, such as the National Environmental Policy Act (NEPA) (implemented
at 40 CFR Parts 1500 - 1508) or the Fish and Wildlife Coordination Act (FWCA).”

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mammal protection, and essential fish habitat. While some information related to the ESA evaluation is within
the coordinated NEPA document developed by multiple federal agencies, the attached BE is provided as a
stand-alone document to comply with the consultation process under ESA Section 7.




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2.0      Proposed Action

Ocean Era, Inc. (applicant) is proposing to operate a pilot-scale marine aquaculture facility (Velella Epsilon) in
federal waters of the Gulf. The proposed action is the issuance of permits under the respective authorities of
the EPA and the USACE as required to operate the facility. The EPA’s proposed action is the issuance of a NPDES
permit that authorizes the discharge of pollutants from an aquatic animal production facilityinto federal waters
of the United States. The USACE’s proposed action is the issuance of a DA permit pursuant to Section 10 of the
Rivers and Harbors Act that authorizes anchorage to the sea floor and structures affecting navigable waters.




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3.0      Proposed Project

The proposed project would allow the applicant to operate a pilot-scale marine aquaculture facility with up
to 20,000 almaco jack (Seriola rivoliana) being reared in federal waters for a period of approximately 12 months
(total deployment of the cage system is 18 months). Based on an estimated 85 percent survival rate, the
operation is expected to yield approximately 17,000 fish. Final fish size is estimated to be approximately 4.4
pounds (lbs) per fish, resulting in an estimated final harvest weight of 80,000 lbs considering a 10% mortality
rate. The fingerlings will be sourced from brood stock that are located at Mote Aquaculture Research Park, in
Sarasota, Florida, and were caught in the Gulf near Madeira Beach, Florida. As such, only F1 progeny will be
stocked into the proposed project.

One support vessel will be used throughout the life of the project. The vessel will always be present at the
facility except during certain storm events or times when resupplying is necessary. The support vessel would
not be operated during any time that a small craft advisory is in effect for the proposed action area. The
support vessel is expected to be a 70 ft long Pilothouse Trawler (20 ft beam and 5 ft draft) with a single 715 HP
engine. The vessel will also carry a generator that is expected to operate approximately 12 hours per day.
Following harvest, cultured fish would be landed in Florida and sold to federally licensed dealers in accordance
with state and federal laws. The exact type of harvest vessel is not known; however, it is expected to be a
vessel already engaged in offshore fishing activities in the Gulf.

A fully enclosed and submersible single copper pen that is offshore strength (PolarCirkel-style) will be deployed
on an engineered multi-anchor swivel (MAS) mooring system. The engineered MAS will have up to three
anchors for the mooring, with a swivel and bridle system. The design drawings provided for the engineered
MAS uses three concrete deadweight anchors for the mooring; however, the final anchor design will likely
utilize embedment anchors instead. The cage material for the proposed project is constructed with rigid and
durable materials (copper mesh net with a diameter of 4-millimeter (mm) wire and 40 mm x 40 mm mesh
square). The mooring lines for the proposed project will be constructed of steel chain (50 mm thick) and thick
rope (36 mm) that are attached to a floating cage that will rotate in the prevailing current direction; the ocean
currents will maintain the mooring rope and chain under tension during most times of operation. The bridle
line that connects from the swivel to the cage will be encased in a rigid pipe. Structural information showing
the MAS and pen, along with the tethered supporting vessel, is provided in Appendix A. The anchoring system
for the proposed project is being finalized by the applicant. While the drawings in Appendix A show concrete
deadweight anchors, it is likely that the final design will utilize appropriately sized embedment anchors instead.
Both anchor types are included for ESA consultation purposes.

The cage design is flexible and self-adjusts to suit the constantly changing wave and current conditions. As a
result, the system can operate floating on the ocean surface or submerged within the water column of the
ocean; however, the normal operating condition of the cage is below the water surface. When a storm
approaches the area, the entire cage can be submerged by using a valve to flood the flotation system with
water. A buoy remains on the surface, marking the net pen’s position and supporting the air hose. When the
pen approaches the bottom, the system can be maintained several meters above the sea floor. The cage
system is able to rotate around the MAS and adjust to currents while it is submerged and protected from
storms. After storm events, the cage system is made buoyant again by pumping air back into the flotation
system, causing the system to rise to resume normal operational conditions. The proposed project cage will
have at least one properly functioning global positioning system device to assist in locating the system in the
event it is damaged or disconnected from the mooring system.




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In cooperation with the NMFS, a protected species monitoring plan (PSMP) has been developed for the
proposed action to protect all marine mammal, reptiles, sea birds, and other protected species. Monitoring
will occur throughout the life of the project and represents an important minimization measure to reduce the
likelihood of any unforeseen potential injury to all protected species including ESA-listed marine animals. The
data collected will provide valuable insight to resource managers about potential interactions between
aquaculture operations and protected species. The PSMP also contains important mitigative efforts such as
suspending vessel transit activities when a protected species is observed to come within 100 meters (m) of the
activity until the animal(s) leave the area. The project staff will suspend all surface activities (including stocking
fish, harvesting operations, and routine maintenance operations) in the unlikely event that any protected
species is observed to come within 100 m of the activity until the animal leaves the area. Furthermore, should
there be activity that results in an injury to protected species, the on-site staff would follow the steps outlined
in the PSMP and alert the appropriate experts for an active entanglement. 5

The below information about chemicals, drugs, cleaning, and solid waste provides supporting details about the
proposed project:

     Chemicals: The proposed facility has indicated they would not be using toxic chemicals, cleaners, or
     solvents at the proposed project. The proposed project would use small amounts of petroleum to run the
     generator. Spills are unlikely to occur; however, if spills did occur, they would be small in nature.

     Drugs: The applicant has indicated that FDA-approved antibiotics or other therapeutants will not likely be
     used (within any feed or dosing the rearing water) during the proposed project. 6 The need for drugs is
     minimized by the strong currents expected at the proposed action area, the low fish culture density, the
     cage material being used, and the constant movement of the cage.

     Cleaning: The applicant does not anticipate the need to clean the cage for the short duration of the
     proposed project. Should the cage system need cleaning, divers would manually scrub the cage surfaces
     with cleaning brushes. No chemicals would be used while cleaning and any accumulated marine biological
     matter would be returned to sea without alteration.

     Solid Wastes: The applicant will dispose of all solid waste appropriately on shore.




5
  A PSMP has been developed by the applicant with assistance from the NMFS Protected Resources Division. The purpose of the PSMP is to
provide monitoring procedures and data collection efforts for species (marine mammals, sea turtles, seabirds, or other species) protected
under the MMPA or ESA that may be encountered at the proposed project.
6
  The applicant is not expected to use any drugs; however, in the unlikely circumstance that therapeutant treatment is needed, three drugs
were provided to the EPA as potential candidates (hydrogen peroxide, oxytetracycline dihydrate, and florfenicol).

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4.0         Proposed Action Area

The proposed project will be placed in the Gulf at an approximate water depth of 40 m (130 feet), and
generally located 45 miles southwest of Sarasota, Florida. The proposed facility will be placed within an area
that contains unconsolidated sediments that are 3 – 10 ft deep (see Table 1). The applicant will select the
specific location within that area based on diver-assisted assessment of the sea floor when the cage and
anchoring system are deployed. The proposed action area is a 1,000 m radius measured from the center of the
MAS.

The facility potential locations were selected with assistance from NOAA’s National Ocean Service National
Centers for Coastal Ocean Science (NCCOS). The applicant and the NCCOS conducted a site screening process
over several months to identify an appropriate project site. Some of the criteria considered during the site
screening process included avoidance of corals, coral reefs, submerged aquatic vegetation, hard bottom
habitats, and avoidance of marine protected areas, marine reserves, and habitats of particular concern. This
siting assessment was conducted using the Gulf AquaMapper tool developed by NCCOS. 7

Upon completion of the site screening process with the NCCOS, the applicant conducted a Baseline
Environmental Survey (BES) in August 2018 based on guidance developed by the NMFS and EPA. 8 The BES
included a geophysical investigation to characterize the sub-surface and surface geology of the sites and
identify areas with a sufficient thickness of unconsolidated sediment near the surface while also clearing the
area of any geohazards and structures that would impede the implementation of the aquaculture operation.
The geophysical survey for the proposed project consisted of collecting single beam bathymetry, side scan
sonar, sub-bottom profiler, and magnetometer data within the proposed area. The BES report noted that there
were no physical, biological, or archaeological features within the surveyed area that would preclude the siting
of the proposed aquaculture facility within the area shown in Table 1.

                                 Table 1: Target Area with 3’ to 10’ of Unconsolidated Sediments
                               Location                          Latitude                         Longitude
                     Upper Left Corner                        27° 7.70607’ N                   83° 12.27012’ W
                     Upper Right Corner                       27° 7.61022’ N                   83° 11.65678’ W
                     Lower Right Corner                       27° 6.77773’ N                   83° 11.75379’ W
                     Lower Left Corner                        27° 6.87631’ N                   83° 12.42032’ W




7
    The Gulf AquaMapper tool is available at: https://coastalscience.noaa.gov/products-explorer/
8
    The BES guidance document is available at: http://sero.nmfs.noaa.gov/sustainable_fisheries/Gulf_fisheries/aquaculture/

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5.0      Federally Listed and Proposed Threatened and Endangered Species and Critical Habitat

5.1     Federally Listed Threatened and Endangered Species
The action agencies identified the ESA-listed species shown in Table 2 for consideration on whether the
proposed action may affect protected species in or near the proposed action area. In summary, the action
agencies considered the potential affects to threatened and endangered species from five groups of species:
birds (2), fish (4), invertebrates (7), marine mammals (6), and reptiles (5). The action agencies considered the
species within this Section of the BE because they may occur within the project footprint or near enough such
that there are potential routes of effects. Certain ESA-listed species are not discussed because their behavior,
range, habitat preferences, or known/estimated location do not overlap or expose them to the activities within
the proposed action area.

               Table 2: Federally Listed Species, Listed Critical Habitat, Proposed Species, and Proposed
               Critical Habitat Considered for the Proposed Action

                                                               Critical Habitat   Potential Exposure to
               Species Considered              ESA Status
                                                               Status             Proposed Action Area
               Birds
               1 Piping Plover                 Threatened      Yes                No
               2 Red Knot                      Threatened      No                 No
               Fish
               1 Giant Manta Ray               Threatened      No                 Yes
               2 Nassau Grouper                Threatened      No                 Yes
               3 Oceanic Whitetip Shark        Threatened      No                 Yes
               4 Smalltooth Sawfish            Endangered      No                 Yes
               Invertebrates
               1 Boulder Star Coral            Threatened      No                 No
               2 Elkhorn Coral                 Threatened      No                 No
               4 Mountainous Star Coral        Threatened      No                 No
               5 Pillar Coral                  Threatened      No                 No
               7 Staghorn Coral                Threatened      No                 No
               6 Rough Cactus Coral            Threatened      No                 Yes
               3 Lobed Star Coral              Threatened      No                 Yes
               Marine Mammals
               1 Blue Whale                    Endangered      No                 Yes
               2 Bryde's Whale                 Endangered      No                 Yes
               3 Fin Whale                     Endangered      No                 Yes
               4 Humpback Whale                Endangered      No                 Yes
               5 Sei Whale                     Endangered      No                 Yes
               6 Sperm Whale                   Endangered      No                 Yes
               Reptiles
               1 Green Sea Turtle              Threatened      No                 Yes
               2 Hawksbill Sea Turtle          Endangered      Yes                Yes
               3 Kemp's Ridley Sea Turtle      Endangered      No                 Yes
               4 Leatherback Sea Turtle        Endangered      Yes                Yes
               5 Loggerhead Sea Turtle         Threatened      Yes                Yes




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5.1.1 Birds
There are 14 ESA-listed avian species identified as threatened or endangered, previously delisted, or candidate
species in the eastern Gulf. Of those species, only two listed species, the piping plover and red knot, are
considered in this BE because their migratory range could expose them to activities covered under the
proposed action. There are several other listed species whose range includes only inshore and coastal margin
waters and are not exposed to the activities covered under the proposed action.

Piping Plover
The piping plover is a threatened shorebird that inhabits coastal sandy beaches and mudflats. Three
populations of piping plover are recognized under ESA: Great Lakes (endangered); Great Plains (threatened);
and Atlantic (threatened) (BOEM, 2012a). This species nests in sand depressions lined with pebbles, shells, or
driftwood. Piping plovers forage on small invertebrates along ocean beaches, on intertidal flats, and along
tidal pool edges; therefore, fish from the proposed action are not considered a potential source of food for
the piping plover.

Possibly as high as 75% of all breeding piping plovers, regardless of population affiliation, may spend up to
eight months on wintering grounds in the Gulf. They arrive from July through September, leaving in late
February to migrate back to their breeding sites (BOEM, 2012b). They do not breed in the Gulf. Habitat used
by wintering birds include beaches, mud flats, sand flats, algal flats, and washover passes (where breaks in
sand dunes result in an inlet). The piping plover is considered a state species of conservation concern in all
Gulf coast states due to wintering habitat. The piping plover is a migratory shorebird with no open ocean
habitat.

Red Knot
The red knot, listed as threatened in 2014, is a highly migratory shorebird species that travels between nesting
habitats in Arctic latitudes and southern non-breeding habitats in South America and the U.S. Atlantic and
Gulf coasts (BOEM, 2012a). Red knots forage along sandy beaches, tidal mudflats, salt marshes, and peat
banks for bivalves, gastropods, and crustaceans (USFWS, 2015). Horseshoe crab eggs are a critical food
resource for this species, and the overharvesting and population declines of horseshoe crabs may be a major
reason for the decline of red knot numbers.

Wintering red knots may be found in Florida and Texas (Würsig, 2017). They are considered a State Species of
Conservation Concern in Florida and Mississippi. The numbers of wintering and staging red knots using coastal
beaches in Gulf coast states other than Florida have declined dramatically (Würsig, 2017). Its population has
exhibited a large decline in recent decades and is now estimated in the low ten-thousands (NatureServe,
2019). Critical habitat rules have not been published for the red knot. Within the Gulf region, wintering red
knots are found primarily in Florida, but this species has been reported in coastal counties of each of the Gulf
states.

5.1.2 Fish
The four species of ESA-protected fish that may occur within the action area are: giant manta ray, nassau
grouper, smalltooth sawfish, and oceanic whitetip shark.

Giant Manta Ray
The giant manta ray was listed as threatened under the ESA on February 21, 2018. The giant manta ray is found
worldwide in tropical, subtropical, and temperate seas. These slow-growing, migratory animals are
circumglobal with fragmented populations. The giant manta ray is the largest living ray, with a wingspan
reaching a width of up to 9 m. Manta species are distinguished from other rays in that they tend to be larger
with a terminal mouth, and have long cephalic lobes (Evgeny, 2010), which are extensions of the pectoral fins

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that funnel water into the mouth. Giant manta rays feed primarily on planktonic organisms such as
euphausiids, copepods, mysids, decapod larvae and shrimp, but some studies have noted their consumption
of small and moderately sized fishes (Miller and Klimovich, 2017).

Within the Southeast Region of the United States, the giant manta ray is frequently sighted along the east
coast and within the Gulf of Mexico. Giant manta rays are seasonal visitors along productive coastlines with
regular upwelling, in oceanic island groups, and near offshore pinnacles and seamounts. Given the
opportunistic sightings of the species, researchers are still unsure what drives giant manta rays to certain areas
and not others (and where they go for the remainder of the time). The timing of these visits varies by region
and seems to correspond with the movement of zooplankton, current circulation and tidal patterns, seasonal
upwelling, seawater temperature, and possibly mating behavior. Although giant manta rays are considered
oceanic and solitary, they have been observed congregating at cleaning sites at offshore reefs and feeding in
shallow waters during the day at depths less than 10 m (O'Shea et al., 2010; Marshall et al., 2011; Rohner et
al., 2013). The giant manta ray ranges from near shore to pelagic habitats, occurring over the continental shelf
near reef habitats and offshore islands. The species can be found in estuarine waters near oceanic inlets, with
use of these waters as potential nursery grounds. This species appears to exhibit a high degree of plasticity in
terms of their use of depths within their habitat.

Nassau Grouper
The Nassau grouper is a reef fish typically associated with hard structure such as reefs (both natural and
artificial), rocks, and ledges. It is a member of the family Serranidae, which includes groupers valued as a major
fishery resource such as the gag grouper and the red grouper. These large fish are found in tropical and
subtropical waters of southern coastal Florida and the Florida Keys. Nassau grouper are generally absent from
the Gulf north and outside of the Florida Keys; this is well documented by the lack of records in Florida Fish
and Wildlife Conservation Commission’s, Fisheries Independent Monitoring data, as well as various surveys
conducted by NOAA Fisheries Southeast Fisheries Science Center. There has been one verified report of the
Nassau Grouper in the northwest Gulf at Flower Gardens Bank national marine sanctuary; however, the Flower
Gardens Bank is not near the proposed action area.

Oceanic Whitetip Shark
The oceanic whitetip shark is a large, open ocean, highly migratory, apex predatory shark found in subtropical
waters throughout the Gulf. It is a pelagic species usually found offshore in the open ocean, on the outer
continental shelf, or around oceanic islands in deep water greater than 184 m. The oceanic whitetip shark can
be found from the surface to at least 152 m depth. Occasionally, it is found close to land in waters as shallow
as 37 m, mainly around mid-ocean islands or in areas where the continental shelf is narrow with access to
nearby deep water. Oceanic whitetip sharks have a strong preference for the surface mixed layer in warm
waters above 20°C and are therefore mainly a surface-dwelling shark.

Oceanic whitetip sharks are high trophic-level predators in open ocean ecosystems feeding mainly on teleosts
and cephalopods (Backus et al., 1956; Bonfil et al., 2008); however, some studies have found that they
consume sea birds, marine mammals, other sharks and rays, mollusks, crustaceans, and even garbage
(Compagno, 1984; Cortés, 1999).

Smalltooth Sawfish
The smalltooth sawfish was the first marine fish to receive protection as an endangered species under the ESA
in 2003. Their current range is poorly understood but believed to have significantly contracted from these
historical areas. Today, smalltooth sawfish primarily occur off peninsular Florida from the Caloosahatchee
River to the Florida Keys (Würsig, 2017). Historical accounts and recent encounters suggest immature
individuals are most common in shallow coastal waters less than 25 m (Bigelow and Schroeder, 1953; Adams

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and Wilson, 1995). Smalltooth sawfish primarily live in shallow coastal waters near river mouths, estuaries,
bays, or depths up to 125 m. Smalltooth sawfish feed primarily on fish. Mullet, jacks, and ladyfish are believed
to be their primary food resources (Simpfendorfer, 2001). Smalltooth sawfish also prey on crustaceans (mostly
shrimp and crabs) by disturbing bottom sediment with their saw (Norman and Fraser, 1938; Bigelow and
Schroeder, 1953).

5.1.3 Invertebrates
The seven ESA-listed coral species in the Gulf are known to occur near the Dry Tortugas, a small group of islands
located approximately 67 miles west of Key West, Florida. Four of the ESA-listed coral species in the Gulf
(elkhorn, lobed star, mountainous star, and boulder star) are known to occur in the Flower Banks National
Marine Sanctuary, located 70 to 115 miles off the coast of Texas and Louisiana. The most abundant depth
ranges for the ESA-listed invertebrates are provided in Table 3. Given the known geographic locations of the
considered coral species and their recognized habitat preferences related to water depth, only two
invertebrate species (lobed star coral and rough cactus coral) may occur in the proposed action area. Threats
to coral communities throughout the Gulf include predation, hurricane damage, and loss of habitat due to algal
overgrowth and sedimentation.

                                    Table 3: ESA-listed Coral Depth Ranges

                                    Coral Species             Most Abundant Depth (ft)
                                    Boulder Star Coral        3 - 82 9
                                    Elkhorn Coral             3 - 16 10
                                    Lobed Star Coral          6 - 130 11
                                    Mountainous Star Coral    3 - 30 11
                                    Pillar Coral              3 - 90
                                    Rough Cactus Coral        15 - 270 10
                                    Staghorn Coral            15 - 60 10

5.1.4 Marine Mammals
All the ESA-listed marine mammals considered in this BE are endangered under the ESA. The six species of
whales that could occur within the action area are: blue whale, fin whale, Gulf Bryde’s whale, humpback whale,
sperm whale, and sei whale; however, except for the Gulf Bryde’s whale, each ESA-listed whale considered in
this BE are not common in the Gulf (Würsig, 2017). Threats to whales from aquaculture facilities include vessel
strikes, entanglement, and disturbance (ocean noise).

Blue Whales
Blue whales are found in all oceans except the Arctic Ocean. Currently, there are five recognized subspecies of
blue whales. Blue whales have been sighted infrequently in the Gulf. The only record of blue whales in the Gulf
are two strandings on the Louisiana and Texas coasts; however, the identifications for both strandings are
questionable. In the North Atlantic blue whales are most often seen off eastern Canada where they are present
year-round (NMFS, 2016). Blue whales also typically occur in deeper waters seaward of the continental shelf
and are not commonly observed in the waters of the Gulf or off the U.S. East Coast (CeTAP, 1982; Wenzel et
al., 1988; Waring et al., 2006). Blue whales are not expected to be within the proposed action area that is
located in a water depth of approximately 40 m.



9
   www.DCNANature.org, 2016
10
    NMFS, 2016
11
    www.IUCNRedList.org, 2016

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Bryde’s Whale
The Gulf Bryde’s whale was listed as endangered on May 15, 2019. The Gulf Bryde’s whales are members of
the baleen whale family and are a subspecies of the Bryde’s whale. The Gulf Bryde’s whales are one of the
most endangered whales in the world, with likely less than 100 whales remaining. They are the only resident
baleen whale in the Gulf. The Gulf Bryde’s whale is one of the few types of baleen whales that do not migrate
and remain in the Gulf year-round. The historical range in Gulf waters is not well known; however, scientists
believe that the historical distribution of Gulf Bryde’s whales once encompassed the north-central and
southern Gulf. For the past 25 years, Bryde’s whales in U.S. waters of the Gulf have been consistently located
in the northeastern Gulf (largely south of Alabama and the western part of the Florida panhandle) along the
continental shelf break between the 100 and 400 m depth (Labrecque et al., 2015). This area has been
identified as a Biologically Important Area (BIA) for the Gulf Bryde’s whale and encompasses over 5.8 million
acres. BIAs are reproductive areas, feeding areas, migratory corridors, or areas in which small and resident
populations are concentrated. The proposed action area is not located near the areas where the Gulf Bryde’s
whale is known to be distributed and are not expected to occur at the water depth of the proposed project.

Fin Whales
Fin whales are found in deep, offshore waters of all the world’s oceans, primarily in temperate to polar
climates. The NMFS has reported that there are about 2,700 fin whales in the North Atlantic and Gulf. There
are few reliable reports of fin whales in the northern Gulf. They are most commonly found in North Atlantic
waters where they feed on krill, small schooling fish, and squid (NMFS, 2016). Fin whales are generally found
along the 100 m isobath with sightings also spread over deeper water including canyons along the shelf break
(Waring et al., 2006). Therefore, fin whales are not expected to be found near the proposed action area where
the water depth is approximately 40 m.

Humpback Whales
Based on a few confirmed sightings and one stranding event, humpback whales are rare in the northern Gulf
(BOEM, 2012a). Baleen whale richness in the Gulf is believed to be less than previously understood (Würsig,
2017). U.S. populations of humpback whales mainly use the western North Atlantic for feeding grounds and
use the West Indies during winter and for calving (NMFS, 2016). Given that humpback whales are not a typical
inhabitant of the Gulf, they are not expected to be found near the proposed action area. Additionally, the
water depth at the proposed action area (40 m) does not overlap the habitat preference of humpback whales
for deeper waters.

Sei Whales
The sei whale is rare in the northern Gulf and its occurrence is considered accidental, based on four reliable
and one questionable strandings records in Louisiana and Florida (Jefferson and Schiro, 1997; Schmidley, 2004;
Würsig, 2017). Sei whales are more commonly found in subtropical to subpolar waters of the continental shelf
and slope of the Atlantic, with movement between the climates according to seasons (NMFS, 2016). Sei whales
typically occur in deeper waters seaward of the continental shelf and are not commonly observed in the waters
of the Gulf (CeTAP, 1982; Wenzel et al., 1988; Waring et al., 2006). Sei whales are not expected to be
geographically located near the proposed project.

Sperm Whales
In the northern Gulf, aerial and ship surveys indicate that sperm whales are widely distributed and present in
all seasons in continental slope and oceanic waters. Sperm whales are the most abundant large cetacean in
the Gulf. Greatest densities of sperm whales are in the central Northern Gulf near Desoto Canyon as well as
near the Dry Tortugas (Roberts et al., 2016). They are found in deep waters throughout the world's oceans,
but generally in waters greater than 200 to 800 m due to the habit of feeding on deep-diving squid and fish
(Hansen et al., 1996; Davis et al., 2002; Mullin and Fulling, 2003; Würsig, 2017). Research conducted since 2000

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confirms that Gulf sperm whales constitute a distinct stock based on several lines of evidence (Waring et al.,
2006). Sperm whales are not expected to be within the proposed action area due to their known preference
for deeper water.

5.1.5    Reptiles
The five ESA-listed sea turtle species that may occur in or near the proposed action area are: green, hawksbill,
leatherback, kemp’s ridley, and loggerhead. Sea turtles are highly migratory and travel widely throughout the
Gulf. Therefore, each sea turtle has the potential to occur throughout the entire Gulf. In general, the entire
Gulf coastal and nearshore area can serve as habitat for marine turtles. Florida is the most important nesting
area in the United States for loggerhead, green, and leatherback turtles. Several volumes exist that cover the
biology and ecology of these species (i.e., Lutz and Musick, 1997; Lutz et al., 2003, Wynekan et al., 2013).

Green sea turtle
Green sea turtle hatchlings are thought to occupy pelagic areas of the open ocean and are often associated
with Sargassum rafts (Carr, 1987; Walker, 1994). Pelagic stage green sea turtles are thought to be carnivorous.
Stomach samples of these animals found ctenophores and pelagic snails (Frick, 1976; Hughes, 1974). At
approximately 20 to 25 centimeters (cm) carapace length, juveniles migrate from pelagic habitats to benthic
foraging areas (Bjorndal, 1997). As juveniles move into benthic foraging areas, a diet shift towards herbivory
occurs. They consume primarily seagrasses and algae, but are also known to consume jellyfish, salps, and
sponges (Bjorndal, 1980, 1997; Paredes, 1969; Mortimer, 1981, 1982). The diving abilities of all sea turtle
species vary by their life stages. The maximum diving range of green sea turtles is estimated at 110 m (Frick,
1976), but they are most frequently making dives of less than 20 m (Walker, 1994). The time of these dives
also varies by life stage.

The NMFS and USFWS removed the range-wide and breeding population ESA listings of the green sea turtle
and listed eight distinct population segments (DPSs) as threatened and three DPSs as endangered, effective
May 6, 2016. Two of the green sea turtle DPSs, the North Atlantic DPS and the South Atlantic DPS, occur in the
Gulf. The proposed action area is within the North Atlantic NPS where the green sea turtle is listed as
threatened.

Hawksbill sea turtle
The hawksbill sea turtle’s pelagic stage lasts from the time they leave the nesting beach as hatchlings until they
are approximately 22 to 25 cm in straight carapace length (Meylan, 1988; Meylan and Donnelly, 1999). The
pelagic stage is followed by residency in developmental habitats (foraging areas where juveniles reside and
grow) in coastal waters. Little is known about the diet of pelagic stage hawksbills. Adult foraging typically
occurs over coral reefs, although other hard-bottom communities and mangrove-fringed areas are occupied
occasionally. Hawksbills show fidelity to their foraging areas over several years (van Dam and Diéz, 1998). The
hawksbill’s diet is highly specialized and consists primarily of sponges (Meylan, 1988). Gravid females have
been noted ingesting coralline substrate (Meylan, 1984) and calcareous algae (Anderes, Alvarez, and Uchida,
1994), which are believed to be possible sources of calcium to aid in eggshell production. The maximum diving
depths of these animals are unknown, but the maximum length of dives is estimated at 73.5 minutes, more
routinely dives last about 56 minutes (Hughes, 1974). Hawksbill sea turtles are not known to regularly nest in
Florida but do occur occasionally.

Kemp’s Ridley sea turtle
Kemp’s ridley sea turtle hatchlings are also pelagic during the early stages of life and feed in surface waters
(Carr, 1987; Ogren, 1989). After the juveniles reach approximately 20 cm carapace length they move to
relatively shallow (less than 50 m) benthic foraging habitat over unconsolidated substrates (Márquez-M.,

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1994). They have also been observed transiting long distances between foraging habitats (Ogren, 1989).
Kemp’s ridleys feeding in these nearshore areas primarily prey on crabs, though they are also known to ingest
mollusks, fish, marine vegetation, and shrimp (Shaver, 1991). The fish and shrimp Kemp’s ridleys ingest are not
thought to be a primary prey item but instead may be scavenged opportunistically from bycatch discards or
discarded bait (Shaver, 1991). Given their predilection for shallower water, Kemp’s ridleys most routinely
make dives of 50 m or less (Soma, 1985; Byles, 1988). Their maximum diving range is unknown. Depending on
the life stage, a Kemp’s ridley may be able to stay submerged anywhere from 167 minutes to 300 minutes,
though dives of 12.7 minutes to 16.7 minutes are much more common (Soma, 1985; Mendonca and Pritchard,
1986; Byles, 1988). Kemp’s ridley turtles may also spend as much as 96 percent of their time underwater
(Soma, 1985; Byles, 1988). In the United States, Kemp’s ridley turtles inhabit the Gulf and northwest Atlantic
Ocean; nesting occurs primarily in Texas, and occasionally in Florida, Alabama, Georgia, South Carolina, and
North Carolina.

Leatherback sea turtle
Leatherback sea turtles are the most pelagic of all ESA-listed sea turtles and spend most of their time in the
open ocean. They will enter coastal waters and are seen over the continental shelf on a seasonal basis to feed
in areas where jellyfish are concentrated. Leatherbacks feed primarily on cnidarians (medusae, siphonophores)
and tunicates. Unlike other sea turtles, leatherbacks’ diets do not shift during their life cycles. Because
leatherbacks’ ability to capture and eat jellyfish is not constrained by size or age, they continue to feed on
these species regardless of life stage (Bjorndal, 1997). Leatherbacks are the deepest diving of all sea turtles. It
is estimated that these species can dive more than 1,000 m (Eckert et al., 1989) but more frequently dive to
depths of 50 m to 84 m (Eckert et al. 1986). Dive times range from a maximum of 37 minutes to more routines
dives of 4 to 14.5 minutes (Standora et al., 1984; Eckert et al., 1986; Eckert et al., 1989; Keinath and Musick,
1993).

Loggerhead sea turtle
Loggerhead sea turtle hatchlings forage in the open ocean and are often associated with Sargassum rafts
(Hughes, 1974; Carr 1987; Walker, 1994; Bolten and Balazs, 1995). The pelagic stage of these sea turtles are
known to eat a wide range of things including salps, jellyfish, amphipods, crabs, syngnathid fish, squid, and
pelagic snails (Brongersma, 1972). Stranding records indicate that when pelagic immature loggerheads reach
40 to 60 cm straight-line carapace length, they begin to live in coastal inshore and nearshore waters of the
continental shelf throughout the U.S. Atlantic (Witzell, 2002). Loggerhead sea turtles forage over hard-bottom
and soft-bottom habitats (Carr, 1986).

Benthic foraging loggerheads eat a variety of invertebrates with crabs and mollusks being an important prey
source (Burke et al., 1993). Estimates of the maximum diving depths of loggerheads range from 211 m to 233
m (Thayer et al., 1984; Limpus and Nichols, 1988). The lengths of loggerhead dives are frequently between 17
and 30 minutes (Thayer et al., 1984; Limpus and Nichols, 1988; Limpus and Nichols, 1994; Lanyon et al., 1989)
and they may spend anywhere from 80 to 94 percent of their time submerged (Limpus and Nichols, 1994;
Lanyon et al., 1989). Loggerhead sea turtles are a long-lived, slow-growing species, vulnerable to various
threats including alterations to beaches, vessel strikes, and bycatch in fishing nets.




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5.2       Federally Listed Critical Habitat In or Near the Action Area

5.2.1 Birds
Onshore critical habitat has been designated for the piping plover including designations for coastal wintering
habitat areas in Alabama, Mississippi, and Florida. 12 The proposed project is not expected to impact any
onshore habitats.

5.2.2 Reptiles
The only critical habitat designated near the proposed action area is the Northwest Atlantic DPS of loggerhead
sea turtles. Specific areas of designated habitat include: nearshore reproductive habitat, winter area, breeding
areas, migratory corridors, and Sargassum habitat. The northwest Atlantic loggerhead DPS designated critical
habitat portion that occurs in federal waters (i.e., a Sargasso habitat unit) consists of the western Gulf to the
eastern edge of the loop current, through the Straits of Florida and along the Atlantic coast from the western
edge of the Gulf Stream eastward. Sargassum habitat is home to most juvenile sea turtles in the western Gulf.

5.3    Federal Proposed Species and Proposed Critical Habitat
The action agencies did not identify any Federally-listed proposed species or proposed critical habitat in the
proposed action area.




12 Critical habitat locations for the piping plover are available at: https://ecos.fws.gov/ecp0/profile/speciesProfile?spcode=B079


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6.0      Potential Stressors to Listed and Proposed Species and Critical Habitat

The action agencies evaluated the potential impacts of the proposed project on ESA-listed species that were
identified in Section 5.0 and that may occur in or near the proposed action area. Potential effects considered
in this analysis may occur because of a potential overlap between the proposed aquaculture facility location
with the species habitat (socialization, feeding, resting, breeding, etc.) or migratory route. Section 6.0 broadly
describes the most likely stressors, directly and indirectly, that were considered to potentially impact the
species near the proposed facility. The action agencies identified four categories of risks from the proposed
project: disturbance; entanglement; vessel collisions; and impacts from water quality. The specific analysis of
potential impacts to each species from the proposed project is provided in Section 7.0.

6.1     Disturbance
Disturbance in the context of this BE includes ocean noise (low-frequency underwater noises) and breakage
(invertebrates). Underwater noises can interrupt the normal behavior of whales, which rely on sound to
communicate. As ocean noise increases from human sources, communication space decreases and whales
cannot hear each other, or discern other signals in their environment as they used to in an undisturbed ocean.
Different levels of sound can disturb important activities, such as feeding, migrating, and socializing. Mounting
evidence from scientific research has documented that ocean noise also causes marine mammals to change
the frequency or amplitude of calls, decrease foraging behavior, become displaced from preferred habitat, or
increase the level of stress hormones in their bodies. Loud noise can cause permanent or temporary hearing
loss. Underwater noise threatens whale populations, interrupting their normal behavior and driving them away
from areas important to their survival. Increasing evidence suggests that exposure to intense underwater
sound in some settings may cause some whales to strand and ultimately die.

ESA-listed sea turtles, whales, and fish may experience stress due to a startled reaction should they encounter
vessels, or vessel noise, at the proposed location or in transit to the proposed project site. The reaction could
range from the animal approaching and investigating the activity, to the opposite reaction of flight, where the
animal could injure itself while attempting to flee. The most likely source of disturbance from the proposed
aquaculture activity would be noise from the vessel engines and barge generator.

6.2     Entanglements
Entanglement, for the purposes of this BE, refers to the wrapping of lines, netting, or other man-made
materials around the body of a listed species. Entanglement can result in restrainment and/or capture to the
point where harassment, injury, or death occurs. The cage, mooring lines, and bridles from the proposed
project may pose an entanglement risk to listed species in the project area; however, entanglement risks to
ESA-listed species at any aquaculture operation are mitigated by using rigid and durable cage materials, and
by keeping all facility lines taut as slack lines are the primary source of entanglements (Nash et al., 2005).

Past protected species reviews by the NMFS for a similar scale aquaculture project determined that cetacean
and sea turtle entanglement is not expected when facility mooring and tether lines are kept under near-
constant tension and free of loops (NMFS, 2016). Additionally, the NMFS determined that a similar aquaculture
project had the potential to result in interactions with marine mammals; however, the NMFS found that the
most likely effect of the project on marine mammals was behavioral interactions (e.g., individuals engaging in
investigative behavior around the array or that prey on wild fish accumulated near the facility) as opposed to
causing injury or mortality from entanglement.

6.3     Vessel Strike
A vessel strike is a collision between any type of boat and a marine animal in the ocean. All sizes and types of
vessels have the potential to collide with nearly any marine species. Strikes can result in death or injury to the

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marine animal and may go unnoticed by the vessel operator. Some marine species spend short durations
“rafting” at the ocean’s water surface between dives which makes them more vulnerable to vessel strikes.

The NMFS estimates collisions between some cetaceans and vessels are relatively rare events based on data
from Marine Mammal Stock Assessments for the Atlantic and Gulf (NMFS, 2017). Collisions between marine
mammals and vessels can be further minimized when vessels travel at less than 10 knots based on general
guidance from the NMFS for vessels transiting areas where there are known populations of whales (HIHWNMS,
2011). Detection of sea turtles by vessel operators may be more difficult because most vessel operators usually
sight protected species and avoid them. In past biological opinions in support of similar aquaculture activities,
the NMFS has determined that the rate of collisions between sea turtles and vessels was negligible and did not
expect sea turtle vessel strikes to occur (NMFS, 2016).

The support vessel used for the proposed project is expected to be vigilant against the possibility of protected
species collisions. Piloting of all vessels associated with the proposed project will be done in a manner that will
prevent vessel collisions or serious injuries to protected species. Operators and crew will operate vessels at
low speeds when performing work within and around the proposed project area and operate only when there
are no small craft advisories in effect. All vessels are expected to follow the vessel strike and avoidance
measures that have been developed by the NMFS. 13 These operating conditions are expected to allow vessel
operators the ability to detect and avoid striking ESA-listed species.

6.4     Water Quality
Although offshore marine cage systems do not generate a waste stream like other aquaculture systems,
effluent from the proposed action area can adversely affect water quality, sea floor sediment composition,
and benthic fauna though the additions of uneaten feed, ammonia excretions, and fish feces from the
increased fish biomass. Water quality in aquaculture is primarily assessed through measures of nitrogen (N),
phosphorus (P), solids (total suspended solids, settleable solids, and turbidity), dissolved oxygen (DO), and pH.
The increased amount of organic material has the potential to increase N, P, and solids levels in the surrounding
waters. The concentration of N (such as total nitrogen, ammonia, nitrate, nitrite) and P (as total phosphorus
or orthophosphate) are indicators of nutrient enrichment and are commonly used to assess the impact of
aquaculture on water quality. The release of nutrients, reductions in concentrations of DO, and the
accumulation of sediments under certain aquaculture operations can affect the local environment by boosting
overall productivity in phytoplankton and macroalgal production in marine ecosystems through eutrophication
and degradation of benthic communities (Stickney, 2002).

According to Marine Cage Culture and The Environment (Price and Morris, 2013), “there are usually no
measurable effects 30 meters beyond the cages when the farms are sited in well-flushed water. Nutrient spikes
and declines in dissolved oxygen sometimes are seen following feeding events, but there are few reports of
long-term risk to water quality from marine aquaculture.” Price and Morris (2013) also considered the benthic
effects of Marine Cage Culture and found that “well-managed farms may exhibit little perturbation and, where
chemical changes are measured, impacts are typically confined to within 100 meters of the cages. Benthic
chemical recovery is often rapid following harvest”. Conversely, poorly managed farms or heavily farmed
areas, can see anaerobic conditions persisting and extending hundreds of meters beyond the aquaculture
facility. Changes in water quality associated with commercial scale marine aquaculture facilities can be
measurable downstream for approximately 205 m (Nash et al., 2005).


13
  The NMFS has determined that collisions with any vessel can injure or kill protected species (e.g., endangered and threatened species, and
marine mammals). The vessel strike avoidance guidelines developed by the NMFS are the standard measures that should be implemented
to reduce the risk associated with vessel strikes or disturbance of these protected species to discountable levels. NMFS Southeast Region
Vessel Strike Avoidance Measures and Reporting for Mariners; revised February 2008.

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The NCCOS reviewed global siting data to identify aquaculture site characteristics that are best suited for water
quality protection, concluding that, “Protection of water quality will be best achieved by siting farms in well-
flushed waters.” (Price, 2013). The hydrology near the proposed action area has powerful and mixing ocean
currents that would constantly flush and dilute particulate and dissolved wastes. In addition, the proposed
action has other attributes cited in this study that contributes to decreased water quality impacts, including
deep waters and a sand bottom type. Neither particulates nor dissolved metabolites are expected to
accumulate due to low fish production levels and the near constant flushing of the cage by strong offshore
currents that dissipate wastes.

The EPA evaluated the proposed action’s potential impacts to water quality, impacts of organic enrichment to
the seafloor, and impacts to benthic communities from organic enrichment as required by Sections 402 and
403 of the CWA. The EPA determined that discharges from the proposed facility are not expected to exceed
federally recommended water quality criteria; that the discharged material is not sufficient to pose an
environmental threat through seafloor bioaccumulation; and the potential for benthic impacts from the
proposed project are minimal. 14 Additionally, the EPA considered recent environmental modeling performed
by the NMFS for a similar small scale aquaculture facility (Velella Delta). 15 NCCOS concluded that there are
minimal risks to water column or benthic ecology functions in the subject area from the operation of the fish
cage as described in the applicant’s proposal. Furthermore, EPA reviewed the previous and current
environmental monitoring data collected from a commercial-scale marine aquaculture facility, Blue Ocean
Mariculture (BOM) in Hawaii, raising the same fish species. 16 While the size of the proposed project is
significantly smaller than the BOM commercial-scale facility and BOM is in slightly deeper waters, the results
show that soluble and particulate nutrients from the BOM facility do not substantially affect the marine
environment. Based on EPA’s analysis, as well as a review and comparison of representative water quality
information, the proposed action would not likely raise particulate and dissolved nutrient concentrations in
the proposed action area.

The proposed facility will be covered by a NPDES permit as an aquatic animal production facility with protective
conditions required by the Clean Water Act. The NPDES permit will contain conditions that will confirm EPA’s
determination and ensure no significant environmental impacts will occur from the proposed project. The
aquaculture-specific water quality conditions placed in the NPDES permit will generally include a
comprehensive environmental monitoring plan. The applicant will be required to monitor and sample certain
water quality, sediment, and benthic parameters at a background (up-current) location and near the cage.
Additionally, the NPDES permit will include effluent limitations expressed as best management practices
(BMPs) for feed management, waste collection and disposal, harvest discharge, carcass removal, materials
storage, maintenance, record keeping, and training. Impacts to water quality will be reduced by a range of
operational measures through the implementation of project-specific BMPs. For example, feeding will always

14
   Further information about EPA’s analysis and determination for impacts to water quality, seafloor, and benthic habitat can be found in the
final NPDES permit and the Ocean Discharge Criteria (ODC) Evaluation, as well as other supporting documents for the NPDES permit such as
the Essential Fish Habitat Assessment and the NEPA evaluation.
15
   The NCCOS previously produced models to assess the potential environmental effects on water quality and benthic communities for the
applicant’s Velella Delta project that is similar Velella Epsilon in terms of fish production (approximately 120,000 lbs), operation duration,
and cultured species; however, the water depth was dissimilar between the two projects (6,000 ft vs. 130 ft). At maximum capacity, NCCOS
determined there were no risks to water quality from the Velella Delta project, and only insignificant effects would occur in the water column
down to 100 feet. Because of the great depth, strong currents, and physical oceanographic nature of the Velella Delta site, dissolved wastes
would be widely dispersed and assimilated by the planktonic community. Furthermore, the model results showed that benthic impacts and
accumulation of particulate wastes would not be detectable through measurement of organic carbon or infaunal community biodiversity.
16
   Water quality information from a Blue Ocean Mariculture (BOM) facility in Hawaii was reviewed as representative data and compared to
the proposed project. The BOM farm previously produced approximately 950,000 lbs/yr prior to 2014 and has produced up to 2,400,000
lbs/yr after 2014. The BOM facility is in a similar depth of water as the proposed project with an average depth of 60 m. Over eight years of
comprehensive water quality and benthic monitoring, the BOM facility has not adversely impacted water quality outside of the mixing zone
at the facility (BOM, 2014).

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be monitored to ensure fish are fed at levels just below satiation to limit overfeeding and decrease the amount
of organic material that is introduced into the marine environment. Moreover, the Essential Fish Habitat
assessment requires certain mitigation measures within the NPDES and Section 10 permits. 17

The EPA also considered the potential water quality impacts from chemical spills, drugs, cleaning, and solid
wastes.

      Chemical Spills: Spills are unlikely to occur; however, if spills do occur they are expected to be small in
      nature and dissipate rapidly due to strong currents in the project area. The terms and conditions of the
      NPDES permit would require the applicant to follow operational procedures (i.e. BMPs) that minimize the
      risk of wastes and discharges that may affect any ESA-listed species or habitat. The risk of accidental fuel
      or oil spills into the marine environment is minimized by the support vessel not being operated during any
      time that a small craft advisory is in effect at the proposed facility.

      Drugs: The applicant indicated that FDA-approved antibiotics or other therapeutants will not likely be used
      during the proposed project due to the strong currents expected at the proposed action area, the low fish
      culture density, and the cage material being used. In the unlikely event that drugs/therapeutants are used,
      administration of drugs will be performed under the control of a licensed veterinarian and only FDA-
      approved therapeutants for aquaculture would be used as required by federal law. In addition, the NPDES
      permit will require that the use of any medicinal products be reported to the EPA, including therapeutics,
      antibiotics, and other treatments. The report will include types and amounts of medicinal product used
      and the duration they were used. The EPA does not expect the project to a cause a measurable degradation
      in water quality from drugs that may affect any ESA-listed species.

      Cleaning: Another potential source of water quality impacts would be from the cleaning of the cage system.
      The applicant does not anticipate the need to clean the cage for the short duration of the proposed project.
      Experience from previous trials by the applicant demonstrated that copper alloy mesh material used for
      the cage is resistant to fouling. Should the cage system need cleaning, divers would manually scrub the
      cage surfaces with cleaning brushes. No chemicals would be used while cleaning and any accumulated
      marine biological matter would be returned to sea without alteration.

      Solid Wastes: Multiple federal laws and regulations strictly regulate the discharge of oil, garbage, waste,
      plastics, and hazardous substances into ocean waters. The NPDES permit prohibits the discharge of any
      solid material not in compliance with the permit.




17
  The EPA and the USACE will require mitigation measures to be incorporated into the NPDES permit to avoid or limit organic enrichment
and physical impacts to habitat that may support associated hardbottom biological communities. The NPDES permit will require facility to be
positioned at least 500 meters from any hardbottom habitat; the DA permit will not authorize the anchor system to be placed on vegetated
and/or hardbottom habitat.

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7.0      Potential Effects of Action

Under the ESA, “effects of the action” means the direct and indirect effects of an action on the listed species
or critical habitat, together with the effects of other activities that are interrelated or interdependent with that
action (50 CFR § 402.02). The NMFS and USFWS standard for making a “no effect” finding is appropriate when
an action agency determines its proposed action will not affect that ESA-listed species or critical habitat,
directly or indirectly (USFWS and NMFS, 1998). Generally, a “no effect” determination means that ESA-listed
species or critical habitats will not be exposed to any potentially harmful/beneficial elements of the action
(NMFS, 2014).

The applicable standard to find that a proposed action “may affect, but not likely to adversely affect” (NLAA)
listed species or critical habitat is that all the effects of the action are expected to be discountable, insignificant,
or completely beneficial. Insignificant effects relate to the size of the impact and should never reach the scale
where take occurs. Discountable effects are those extremely unlikely to occur. Beneficial effects are
contemporaneous positive effects without any adverse effects to the species or critical habitat.

A summary of the potential effects considered and the determination of impact for each listed species and
critical habitat is provided in Table 4. Overall, potential impacts to the ESA-listed species considered in this BE
are expected to be extremely unlikely and insignificant due to the small size of the facility, the short
deployment period, unique operational characteristics, lack of geographic overlap with habitat or known
migratory routes, or other factors that are described in the below sections for each species. The federal action
agencies used multiple sources to support the determinations described within this section including the
analysis of potential impacts that the NMFS used as the basis for its ESA determination for up to 20 commercial
scale offshore marine aquaculture facilities in the Gulf (EPA, 2016; NMFS, 2009; NMFS, 2013; NMFS, 2015;
NMFS, 2016).

7.1      Federally Listed Threatened and Endangered Species

7.1.1 Birds
The action agencies did not consider any potential threats to ESA-protected birds from the proposed project.
The two species of birds considered are not expected to interact with the proposed project due to the distance
between the proposed project from shore (approximately 45 miles) to their onshore habitat preferences. The
piping plover and red knot are migratory shorebirds. Known migratory routes do not overlap with the proposed
project. Both birds primarily inhabit coastal sandy beaches and mudflats of the Gulf; migration and wintering
habitat are in intertidal marine habitats such as coastal inlets, estuaries, and bays (USFWS, 2015). Additionally,
the normal operating condition of the cage is expected to be below the water surface which will further
decrease the likelihood of any bird interaction with the proposed project.

The ESA-listed bird species will not be exposed to any potentially harmful impacts of the proposed action. The
action agencies have determined that the activities under the proposed project will have no effect on the
threatened species of birds.

7.1.2 Fish
The action agencies considered disturbance, entanglement (for smalltooth sawfish only), and water quality as
potential impacts to endangered or threatened fish from the proposed project in the rare event that
interaction occurs.

Impacts from disturbance, entanglement, and water quality are highly unlikely for each ESA-listed fish species
that was considered given their unique habitat preferences and known proximity to the proposed action area.
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The oceanic whitetip shark is not likely to occur near the proposed project given its preference for deeper
waters. The action agencies believe that the Nassau grouper will not be present given that it is absent from
the Gulf outside of the Florida Keys. Interactions with smalltooth sawfish with the proposed project is
extremely unlikely because they primarily occur in the Gulf off peninsular Florida and are most common off
Southwest Florida. The giant manta ray may encounter the facility given its migratory patterns; however,
disturbance is not expected because the facility is small and will have a short deployment period of
approximately 18 months.

Entanglement impacts were considered for smalltooth sawfish because it is the only listed fish species large
enough to become entangled within the proposed facility’s mooring lines. Entanglement risks to the smalltooth
sawfish from the proposed project are minimized by using rigid and durable cage materials and by keeping all
lines taut (as described in Section 3.0). The ocean currents will maintain the floating cage, mooring lines, and
chain under tension during most times of operation. Additionally, the limited number of vertical mooring lines
reduce the risk of potential entanglement by this listed fish species. Furthermore, interactions are anticipated
to be highly unlikely given their current range in southwest Florida between Ft Myers and the Florida Keys.
Because of the proposed project operations and lack of proximity to the known habitat for the smalltooth
sawfish, the action agencies expect that the effects of this entanglement interaction would be discountable.

For water quality impacts, the EPA is proposing NPDES permit conditions required by the Clean Water Act.
These permit provisions will contain environmental monitoring (water quality, sediment, and benthic infauna)
and conditions that minimize potential adverse impacts to fish from the discharge of effluent from the
proposed facility, and prohibit the discharge of certain pollutants (e.g., oil, foam, floating solids, trash, debris,
and toxic pollutants). Due to the pilot-scale size of the facility, water quality and benthic effects are not
expected to occur outside of 5-10 meters. The discharges authorized by the proposed NPDES permit represent
a small incremental contribution of pollutants that are not expected to affect any ESA-listed fish species in or
near the proposed action area.

Any potential effects from the proposed action on ESA-listed fish are discountable and insignificant. The action
agencies have determined that the activities under the proposed project is NLAA the threatened and
endangered species of fish.

7.1.3 Invertebrates
Potential routes of effects to coral from the proposed project include disturbance (breakage of coral
structures) and water quality impacts (e.g., increased sedimentation, increased nutrient loading, and the
introduction of pollutants).

Regarding disturbance, anthropogenic breakage is extremely unlikely and discountable because the proposed
facility will not be in areas where listed corals may occur. Most of the ESA-listed invertebrate species are
associated with coral reefs that occur in shallower areas of the Gulf and along the west Florida shelf. Only five
species of the invertebrates considered (boulder star, elkhorn, mountainous star, pillar, and staghorn) are not
known to occur near the proposed project location or at depths where the proposed facility is located. Only
two invertebrate species (lobed star coral and rough cactus coral) may occur in the proposed action area.
Moreover, the anchoring system and cage will be placed in an area consisting of unconsolidated sediments,
away from potential hardbottom which may contain corals according to the facility’s seafloor survey. Given
the known geographic locations of the considered coral species and their recognized habitat preferences
related to water depth, the disturbance effects of the proposed action is anticipated to be minimal and
extremely unlikely.



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Regarding impacts from water quality, the discharge from the proposed facility will be covered by a NPDES
permit with water quality conditions required by the Clean Water Act. The aquaculture-specific water quality
conditions contained in the NPDES permit will generally include an environmental monitoring plan (water
quality, sediment, and benthic monitoring) and effluent limitations expressed as BMPs. Water quality effects
are not expected to occur outside of 5-10 m due to the small size of the facility and low production levels.
Sedimentation from the facility is not expected to occur outside of 1,000 m (assuming a maximum production
for the entire duration of the project) with impacts resulting from the proposed facility likely limited to within
300-500 meters from the cage. The NPDES permit will prohibit discharges within 500 m of areas of biological
concern, including live bottoms or coral reefs. The impacts from water quality and sedimentation are expected
to be minimal or insignificant, and the likelihood that deleterious water quality will contribute to any adverse
effects to listed coral species is extremely unlikely.

Any adverse effects from the proposed project on ESA-listed corals are discountable and insignificant. The
action agencies have concluded that the proposed project will NLAA on the ESA-listed invertebrate species.

7.1.4 Marine Mammals
Generally, endangered whales are not likely to be adversely affected by any of the threats considered by the
action agencies at or near the proposed facility because they are unlikely to overlap geographically with the
small footprint of the proposed action area. All whales considered in this BE prefer habitat in waters deeper
than the proposed action (40 m) as described in Section 5.1.4. The expected absence of the ESA-listed marine
mammals in or near the proposed action area is an important factor in the analysis of whether impacts from
the proposed project will have any effect on ESA-listed whales; however, the action agencies have still
considered potential threats (disturbance, entanglement, vessel strikes, and water quality) to the six species
of marine mammals considered in this BE.

Disturbance to marine mammals from ocean noise generated by the proposed facility is expected to be
extremely low given the duration of the project, minimal vessel trips, and scale of the operation. The
production cage will be deployed for a duration of approximately 18 months. Opportunities for disturbance
from the vessel participating in the proposed project are minimal due to the limited trips to the site. The most
likely source of disturbance from the proposed aquaculture activity would be noise from the vessel engines
and barge generator. The noise emitted from the engines and generator would not significantly add to the
frequency or intensity of ambient sound levels in the proposed action area and are not expected to be different
from other vessels operating in federal waters. The action agencies believe that the underwater noise
produced by operating a vessel and cage will not interfere with the ability of marine mammals to communicate,
choose mates, find food, avoid predators, or navigate. The limited amount of noise from the proposed project
would have negligible effect on ESA-listed whales.

Entanglement risks to marine mammals at any aquaculture operation are minimized by using rigid and durable
cage materials and by keeping all lines taut. As described in Section 3.0, the cage material for the proposed
project is constructed with rigid and durable materials that will significantly decrease the likelihood that ESA-
listed species will become entangled. The limited number of vertical mooring lines (3) and the duration of cage
deployment (approximately 18 months) will reduce the risk of potential entanglement by marine mammals.
When the currents change, the lines would likely remain taut even as the currents shift because the weight of
chain and rope create a negative buoyancy on the facility anchorage lines. While it is highly unlikely that ESA-
listed whales would become entangled in the mooring lines; if incidental line contact occurs, serious harm to
the listed whales or sea turtles is not likely due to the tension in the mooring lines. The cage will be constructed
of semi-rigid copper alloy mesh with small openings that will further prevent entanglements.



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Additionally, there have been no recorded incidents of entanglement from ESA-listed marine mammal species
interacting with a permitted commercial-scale marine aquaculture facility in Hawaii (BOM, 2014). The depth
of water and line length used at the proposed project would provide adequate spaces for most marine
mammals to pass through. The proposed action would not likely entangle marine mammals as they are likely
to detect the presence of the facility and would be able to avoid the gear; however, should entanglement
occur, on-site staff would follow the steps outlined in the PSMP and alert the appropriate experts for an active
entanglement. Furthermore, because of the location of the proposed project relative to marine mammal
habitat, the action agencies anticipate the effects of entanglement are highly unlikely..

Regarding vessel strikes, facility staff will be stationed on one vessel for the duration of the project except
during unsafe weather conditions. The probability that collisions with the vessel associated with the proposed
project would kill or injure marine mammals is discountable, as the vessel will not be operated at speeds known
to injure or kill marine mammals. Given the limited trips to the facility with only one vessel, and the high
visibility of whales to small vessels, opportunities for strikes from the vessel participating in the proposed
project are expected to be insignificant. Strikes from other vessels not operated by the facility are anticipated
to be improbable due to the proximity to shore (~45 miles). Additionally, all vessels are expected to follow the
vessel strike and avoidance measures that have been developed by the NMFS. Moreover, should there be any
vessel strike that results in an injury to an ESA-protected marine mammal, the on-site staff would follow the
steps outlined in the PSMP and alert the appropriate experts for an active entanglement.

Regarding potential impacts from water quality, each ESA-listed whale species considered in this BE is not
expected to be affected given their unique habitat preferences and known proximity to the proposed action
area. The discharge from the proposed facility will be covered by a NPDES permit with project-specific
conditions that includes water quality monitoring and implementation of practices to protect the environment
near the proposed action area. The discharge of wastewater from the proposed project are expected to have
a minor impact on water quality due to factors concerning the low fish biomass produced; the relatively small
amounts of pollutants discharged; depth of the sea floor; and current velocities at the proposed action area.
It is anticipated that the proposed activity would add relatively small amounts of nutrient wastes (nitrogen,
phosphorus, particulate organic carbon, and solids) to the ocean in the immediate vicinity of the proposed
action area. The facility’s effluent is expected to undergo rapid dilution from the prevailing current;
constituents will be difficult to detect within short distances from the cage. The impacts from water quality are
expected to be insignificant, and the likelihood of water quality impacts contributing to any adverse effects to
ESA-listed marine mammals is extremely unlikely (see Section 6.4 for more information).

The action agencies believe that any adverse effects from the potential threats considered to ESA-listed marine
mammals are extremely unlikely to occur and are discountable. The action agencies have determined that the
activities authorized under the proposed permits will NLAA any marine mammals considered in this BE.

7.1.5 Reptiles
The action agencies considered disturbance, entanglement, vessel strike, and water quality as the only
potential threats to reptiles within the proposed action area.

Sea turtles may experience disturbance by stress due to a startled reaction should they encounter vessels in
transit to the proposed project site. Given the limited trips to the site, opportunities for disturbance from
vessels participating in the proposed project are minimal. ESA-listed sea turtles may be attracted to
aquaculture facilities as potential sources of food, shelter, and rest, but behavioral effects from disturbance
are expected to be insignificant. Additionally, all vessels are expected to follow the vessel strike and avoidance
measures that have been developed by the NMFS.7 Furthermore, there has been a lack of documented
observations and records of ESA-listed sea turtles interacting with a permitted commercial-scale marine

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aquaculture facility in Hawaii (BOM, 2014); we anticipate that such interactions would be unlikely. As a result,
disturbance effects from human activities and equipment operation associated with the proposed action are
expected to be insignificant on ESA-listed species.

The risk of sea turtles being entangled in an offshore aquaculture operation is greatly reduced by using rigid
cage materials and by keeping all lines taut. Section 3 describes how the cage and mooring material for the
proposed project is constructed with rigid and durable materials, and how the mooring lines will be
constructed of steel chain and thick rope that will be maintained under tension by the ocean currents during
most times of operation. Additionally, the bridle line that connects from the swivel to the cage will be encased
in a rigid pipe. Moreover, the limited number of vertical mooring lines (three) and the duration of cage
deployment (less than 18 months) will reduce the risk of potential entanglement by sea turtles. Because of the
proposed project operations and duration, the action agencies expect that the effects of this entanglement
interaction would be discountable; however, should entanglement occur, on-site staff would follow the steps
outlined in the PSMP and alert the appropriate experts for an active entanglement.

In regard to vessel strikes, facility staff will use only one vessel for the duration of the project. The vessel will
be operated at low speeds that are not known to injure or kill sea turtles; therefore, the probability that
collisions with the vessel associated with the proposed project would kill or injure sea turtles is discountable.
Opportunities for strikes to reptiles from the vessel participating in the proposed project are expected to be
insignificant given the limited number of trips to the facility with one vessel. Strikes from other vessels not
operated by the facility are anticipated to be improbable due to the proximity to shore. Additionally, all vessels
are expected to follow the vessel strike and avoidance measures that have been developed by the NMFS.

The proposed activity would not add significantly to the volume of maritime traffic in the proposed action area.
The number of trips associated with deploying and retrieving the facility components, routine maintenance,
stocking, and harvest operations would minimally increase vessel traffic in the proposed action area. The
project activities are not expected to result in collisions between protected species and any vessels. Collisions
with ESA-listed species during the proposed activity would be extremely unlikely to occur.

Commercial and recreational fishermen are expected to visit the proposed project because it could act as a
fish attraction device. While fishermen would be attracted to the project area from other locations, overall
fishing efforts by these fishermen in federal fisheries would not increase as these fishermen would have fished
elsewhere if the project was not in place. The action agencies do not expect increased fishing activity in the
project area since there were no reports or observations of interactions between fishermen and ESA-listed
species in previous Velella trials (Velella Beta and Velella Gamma) in Hawaii (NMFS, 2016).

The impacts from water quality are expected to be insignificant, and the likelihood of water quality impacts
contributing to any adverse effects to ESA-listed reptiles in or near the proposed action area is extremely
unlikely (see Section 6.4 for more information related to water quality impacts). The discharge from the
proposed facility will be covered by a NPDES permit with project-specific conditions that includes water quality
monitoring and implementation of practices to protect the environment. Water quality effects are not
expected to occur outside of 5-10 m due to the low fish production levels and fast ocean currents.

Any adverse effects from the proposed project on ESA-listed reptiles are extremely unlikely to occur and are
discountable. The action agencies have determined that the activities under the proposed permit will NLAA
the sea turtles considered in this BE.

7.2      Federally Listed Critical Habitat


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7.2.1 Reptiles
The action agencies identified vessel strike and water quality as the only potential routes of impacts to the
loggerhead turtle DPS critical habitat of the Northwest Atlantic. In the Gulf, designated critical habitat consists
of either nearshore reproductive habitat or Sargassum habitat. The proposed project is roughly 45 miles from
shore and will not affect nearshore reproductive habitat. Therefore, the essential features of loggerhead turtle
critical habitat that the proposed action may affect are foraging habitat for hatchlings and association of
hatchlings around Sargassum mats.

Sargassum mats may be impacted by vessel traffic; however, the PSMP that was developed for the proposed
project area includes a provision that trained observers will look for Sargassum mats and will inform vessel
operators as to their location to avoid the mats to the maximum extent practicable. The proposed project will
be sited in the open ocean environment, and Sargassum mats may infrequently drift into the project area;
however, it is highly unlikely the proposed facility would impact Sargassum habitat further offshore where the
facility will be located. Additionally, the facility will only bring the submerged aquaculture cage to the surface
for brief periods to conduct maintenance, feeding, or harvest activities due to the high energy open-ocean
environment where the proposed facility will be located.

Sargassum mats are not anticipated to be negatively impacted by water quality due to the conditions in the
NPDES permit. Potential impacts on loggerhead critical habitat is expected to be discountable because of active
monitoring for Sargassum mats and the extremely low likelihood of impacts from water quality.

The action agencies believe that the adverse effects from the proposed action on the Northwest Atlantic
loggerhead DPS critical habitat will be insignificant due to location of the facility and operational methods used
while the cage is deployed. The action agencies have determined that the activities under the proposed permit
will NLAA the listed sea turtle critical habitat.

7.2.2 Birds
Critical habitat has been designated for the piping plover for coastal wintering habitat areas in Florida;
however, the proposed action does not interfere with any nearshore areas. Therefore, critical habitat for the
piping plover will not be exposed to any potentially harmful elements of the proposed action. The action
agencies have determined that the activities under the proposed project will have no effect to the piping
plover’s critical habitat.

7.3    Federal Proposed Species and Proposed Critical Habitat
The action agencies did not perform an analysis of impacts because no federally-listed proposed species or
proposed critical habitat in or near the proposed action area were identified.




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                        Table 4: Summary of potential impacts considered and ESA determination

                                         Potential Impacts
        Group and Species                                          Potential Effect   Determination
                                         Considered
        Birds
        1 Piping Plover
                                         None                      None               No effect
        2 Red Knot
        Fish
        1 Giant Manta Ray
                                         Disturbance,
        2 Nassau Grouper                                           Discountable and   May affect, but not likely
                                         entanglement, and
        3 Oceanic Whitetip Shark                                   insignificant      to adversely affect
                                         water quality
        4 Smalltooth Sawfish
        Invertebrates
        1 Boulder Star Coral
        2 Elkhorn Coral
        3 Mountainous Star Coral         Disturbance and water     Discountable and   May affect, but not likely
        4 Pillar Coral
                                         quality                   insignificant      to adversely affect
        5 Staghorn Coral
        6 Rough Cactus Coral
        7 Lobed Star Coral
        Marine Mammals
        1 Blue Whale
        2 Fin Whale                      Disturbance,
        3 Humpback Whale                 entanglement, vessel      Discountable and   May affect, but not likely
        4 Sei Whale                      strike, and water         insignificant      to adversely affect
        5 Sperm Whale                    quality
        6 Bryde's Whale
        Reptiles
        1 Green Sea Turtle
                                         Disturbance,
        2 Hawksbill Sea Turtle
                                         entanglement, vessel      Discountable and   May affect, but not likely
        3 Kemp's Ridley Sea Turtle
                                         strike, and water         insignificant      to adversely affect
        4 Leatherback Sea Turtle
                                         quality
        5 Loggerhead Sea Turtle
        Critical Habitat
        1 Hawksbill Sea Turtle
                                         Vessel strike and water   Discountable and   May affect, but not likely
        2 Leatherback Sea Turtle
                                         quality                   insignificant      to adversely affect
        3 Loggerhead Sea Turtle
        4 Piping Plover                  None                      None               No effect




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8.0      Conclusion

The EPA and USACE conclude that the proposed project’s potential threats (disturbance, entanglement, vessel
strike, water quality) to ESA-listed species and critical habitat are highly unlikely to occur or extremely minor
in severity; therefore, the potential effects to ESA protected species and critical habitats are discountable or
insignificant.

8.1     Consultation with USFWS
The EPA and USACE have determined that the proposed project will have “no effect” on the listed species
and critical habitat under the jurisdiction of the USFWS that may occur in the proposed action area and
that may be affected. This determination includes the piping plover and the red knot and critical habitat for
the piping plover. No other listed species, proposed species, critical habitats, or proposed critical habitats were
considered under the authority of the USFWS because there is no evidence to support that a potential effect
from the proposed project may occur. The EPA and USACE request concurrence from the USFWS for this
determination under ESA § 7.

On August 13, 2019, EPA and USACE provided the jointly developed BE to USFWS and initiated consultation
with USFWS. EPA and USACE determined that the discharges and structures authorized by the NPDES or RHA
Section 10 permit will have “no effect” on any federally listed species, proposed species, or critical habitat for
sea birds that are under the jurisdiction of the USFWS and within the proposed action area. On August 27,
2019, a USFWS provided notification that the USFWS does not object to the permit issuance for the proposed
project and had no additional comments. Completion of the informal consultation with the USFWS satisfies
EPA’s obligations under ESA § 7(a)(2).

8.2      Consultation with NMFS
The EPA and USACE have determined that the proposed project “may affect, but is not likely to adversely
affect” the listed species and critical habitat or designated critical habitat under the jurisdiction of the
NMFS. This determination includes: four species of fish, seven species of invertebrates, six species of
whales, reptiles from five species, and critical habitat for reptiles. No other listed species, proposed species,
critical habitats, or proposed critical habitats were considered under the authority of the NMFS because there
is no evidence to support that a potential effect from the proposed project may occur. The EPA and USACE
request concurrence from the NMFS for this determination under ESA § 7.

On August 13, 2019, EPA and USACE provided the jointly developed BE to NMFS and initiated consultation with
the NMFS. Regarding federally listed species, proposed species, or critical habitat under the jurisdiction of the
NMFS, EPA and USACE determined that the proposed project “may affect, but not likely to adversely affect”
certain fish, invertebrates, marine mammals, and reptiles within the proposed action area. On September 30,
2019, NMFS concluded “that the proposed action is not likely to adversely affect listed species under NMFS’s
purview.” Completion of the informal consultation with the NMFS satisfies EPA’s obligations under ESA §
7(a)(2).




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Appendix B – Location Area




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                                                                                OF COMMERCE
                                                      National Oceanic and Atmospheric Administration
                                                      NATIONAL MARINE FISHERIES SERVICE
                                                      Southeast Regional Office
                                                      263 13th Avenue South
                                                      St. Petersburg, Florida 33701-5505
                                                      https://www.fisheries.noaa.gov/region/southeast


                                                                                        F/SER31:JLL
                                                    09/30/2019
                                                                                      SER-2019-02205

 Christopher B. Thomas
 Chief, Permitting and Grants Branch
 U.S. Environmental Protection Agency
 Region 4
 Atlanta Federal Center
 61 Forsyth Street
 Atlanta, Georgia, 30303-8960

 Dear Mr. Thomas:

 This letter responds to your request for consultation with us, the National Marine Fisheries
 Service (NMFS), pursuant to Section 7 of the Endangered Species Act (ESA)           the Fish
 and Wildlife Coordination Act (FWCA) for the following action.

   Project Name              Applicant(s) SER Number             Project Type
   Velella Epsilon           Kampachi       SER0-2019-           Offshore Cage Aquaculture,
   Marine Aquaculture        Farms, LLC     02205                NPDES permit, Section 10
   Facility                                                      permits

 Your request is on behalf of the U.S. Environmental Protection Agency (EPA) and U.S. Army
 Corps of Engineers Jacksonville District (USACE), the two federal agencies responsible for
 permitting aquaculture operations in federal waters of the Gulf of Mexico. The EPA is
 proposing to issue a National Pollutant Discharge Elimination System (NPDES) permit to
 Kampachi Farms, LLC for the point-source discharge of pollutants from their proposed Velella
 Epsilon marine aquaculture facility. The USACE proposing to issue a Department of Army
 permit pursuant to Section 10 of the Rivers and Harbors Act for structures and work affecting
 navigable federal waters from the same aquaculture facility. The EPA has elected to act as the
 lead action agency and the USACE is a cooperating and co-federal agency. The EPA and
 USACE have determined that the proposed actions are not likely to adversely affect any listed
 or proposed species or designated or proposed critical habitat.

 Consultation History
 We received your letter requesting consultation and Biological Evaluation on August 13, 2019
 and initiated consultation that day.

 Project Location
 The proposed aquaculture facility will be located in the Gulf of Mexico in an approximate
 water depth of 130 feet (ft) (40 meters [m]), 45 miles (mi) southwest of Sarasota, Florida.
 The applicant has submitted four potential locations to place the cage and multi-anchor swivel
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 (MAS) mooring system. The applicant will select one of these four potential locations based on
 diver-assisted assessments of the sea floor when the cage and the MAS are deployed.

 Proposed Potential Project Locations
          Address           Location                          Latitude/Longitude                         Water body
                             Option                         (North American Datum
                                                                     1983)
      Approximately 45 mi off              1              27.125787ºN, 83.197565ºW                  Gulf of Mexico
      Sarasota, Florida                    2              27.119580ºN, 83.197096ºW
                                           3              27.115655ºN, 83.19913ºW
                                           4              27.108763ºN, 83.201529ºW

 Pursuant to 50 C.F.R. § 402.02, the term action area is defined as “all areas to be affected
 directly or indirectly by the federal action and not merely the immediate area involved in the
 action. The EPA defined the proposed action area s a 1,000 m radius measured from the
 center of the MAS based on the result of their water quality analysis.

 Existing Site Conditions
 The proposed facility will be placed within an area that contains unconsolidated sediments that
 are 3-10 ft deep. The facility’s potential locations were selected with assistance from NOAA’s
 National Ocean Service National Centers for Coastal Ocean Science (NCCOS). The applicant
 and the NCCOS conducted a site screening process over several months to identify an
 appropriate project site. Some of the criteria considered during the site screening process
 included avoidance of corals, coral reefs, submerged aquatic vegetation, hard bottom habitats,
 marine protected areas, marine reserves, and habitats of particular concern. This siting
 assessment was conducted using the Gulf AquaMapper tool developed by NCCOS. 1

 Upon completion of the site screening process with the NCCOS, the applicant conducted a
 Baseline Environmental Survey (BES) in August 2018 based on guidance developed by the
 NMFS and EPA. 2 The BES report noted that were no physical, biological, or archaeological
 features that would preclude the siting of the proposed aquaculture facility at one of the four
 potential locations

 Project Description
 The project applicant, Kampachi Farms, LLC is proposing to operate a pilot-scale marine
 aquaculture facility, rearing up to 20,000 almaco jack (Seriola rivoliana) for approximately 12
 months (with total deployment of the cage system 18 months) in federal waters of the Gulf of
 Mexico in 130 ft of water.

 A single CopperNet offshore strength (PolarCirkel-style) fully-closed submersible fish pen will
 be deployed on an MAS mooring system. The engineered MAS will have up to three anchors
 (concrete deadweight or embedment anchors) for the mooring, with a swivel and bridle system.
 The cage material for the proposed project is constructed with rigid and durable materials

 1
     The Gulf AquaMapper tool is available at: https://coastalscience.noaa.gov/products-explorer/
                                          https://www.fisheries.noaa.gov/content/fishery-management-plan-
 2 The BES guidance document is available at:

 regulating-offshore-marine-aquaculture-gulf-mexico

                                                                  2
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 (copper mesh net with a diameter of 4 millimeter [mm] wire and 40mm x 40 mm mesh square).
 The mooring lines for the proposed project will be constructed of steel chain (50 mm thick) and
 thick rope (36 mm) that are attached to a floating cage that will rotate in the prevailing current
 direction; this will maintain the mooring rope and chain under tension during most times of
 operation. The bridle line that connects from the swivel to the cage will be encased in a rigid
 pipe.

 The CopperNet cage design is flexible and self-adjusts to suit the constantly changing wave and
 current conditions. Consequently, the system can operate floating on the ocean surface or
 submerged within the water column of the ocean. Normal operating condition of the cage is
 below the water surface. The cage will be submerged and only brought to the surface for brief
 periods to conduct maintenance, feeding, or harvest activities due to the high-energy open ocean
 environment.

 When a storm approaches the area, the operating team uses a valve to flood the floatation system
 with water, causing the entire cage array to submerge. A buoy remains on the surface, marking
 the net pen’s position and supporting the air hose. When the pen approaches the bottom, the
 system will maintain the cage several meters above the sea floor. Submerged and protected from
 the storm above, the system is still able to rotate around the MAS and adjust to the currents.
 After storm events, facility staff makes the cage system buoyant, causing the system to rise back
 to the surface or near surface position to resume normal operational conditions. The proposed
 project cage will have at least one properly functioning global positioning system device to assist
 in locating the system in the event it is damaged or disconnected from the mooring system.

 One support vessel, expected to be a 70-ft-long Pilothouse Trawler (20 ft beam and 5 ft draft)
 with a single 715 horsepower engine, will be tethered to the facility. Another vessel would be
 used for harvest and transport of the fish. The exact harvest vessel is not known; however, it is
 expected to be a vessel already engaged offshore fishing activities in the Gulf.

 Construction Conditions
 The applicant has agreed to follow a protected species monitoring plan (PSMP), which they
 developed with assistance from the NMFS Protected Resources Division. The purpose of the
 PSMP is to provide monitoring procedures and data collection efforts for species protected under
 the MMPA or ESA that may be encountered at the proposed project. The PSMP also contains
 precautionary measures including suspending vessel transit and all surface activities (including
 stocking fish, harvesting operations, and routine maintenance operations) when a protected
 species comes within 100 m of the activity until the animal(s) leave the area. The applicant also
 commits to following vessel strike avoidance guidelines developed by the NMFS. (i.e., NMFS
 Southeast Region Vessel Strike Avoidance Measures and Reporting for Mariners; revised
 February 2008).




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 Effects Determination(s) for Species the Action Agency or NMFS Believes May Be Affected
 by the Proposed Action
                                               ESA        Action
                                                                        NMFS Effect
                    Species                   Listing Agency Effect
                                                                        Determination
                                              Status 3 Determination
  Sea Turtles
  Green (North Atlantic [NA] distinct            T         NLAA             NLAA
  population segment [DPS])
  Green (South Atlantic [SA] DPS)                T         NLAA             NLAA
  Kemp’s ridley                                  E         NLAA             NLAA
  Leatherback                                    E         NLAA             NLAA
  Loggerhead (Northwest Atlantic [NWA]           T         NLAA             NLAA
  DPS)
  Hawksbill                                      E         NLAA              NE
  Fish
  Smalltooth sawfish (U.S. DPS)                  E         NLAA             NLAA
  Nassau grouper                                 T         NLAA              NE
  Giant manta ray                                T         NLAA             NLAA
  Oceanic whitetip shark                         T         NLAA             NLAA
  Invertebrates and Marine Plants
  Elkhorn coral (Acropora palmata)               T         NLAA              NE
  Staghorn coral (Acropora cervicornis)          T         NLAA              NE
  Boulder star coral (Orbicella franksi)         T         NLAA              NE
  Mountainous star coral (Orbicella              T         NLAA              NE
  faveolata)
  Lobed star coral (Orbicella annularis)         T         NLAA              NE
  Rough cactus coral (Mycetophyllia ferox)       T         NLAA              NE
  Pillar coral (Dendrogyra cylindrus)            T         NLAA              NE
  Marine Mammals
  Bryde’s whales                                 E         NLAA              NE
  Blue whale                                     E         NLAA              NE
  Fin whale                                      E         NLAA              NE
  Sei whale                                      E         NLAA              NE
  Sperm whale                                    E         NLAA              NE

 There are listed species for which you made NLAA determinations for the proposed project but
 for which we believe there are no effects. Our rationale for that determination for each of these
 species is as follows:

     1. Hawksbill sea turtles have very specific life history strategies, which are not supported at
        the project site. Hawksbill sea turtles typically inhabit inshore reef and hard bottom areas
        where they forage primarily on encrusting sponges. The proposed facility is located in an
        offshore area that contains 3 to 10-ft deep unconsolidated sediments and not near any
 3
  E = endangered; T = threatened; NLAA = may affect, not likely to adversely affect; NE = no effect; NP = not
 present

                                                         4
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             hardbottom habitat. Consequently, we believe that Hawksbill sea turtles will not be
             present, and that there are no potential rotes of effects on this this species.
        2.   The absence of Nassau grouper in the Gulf of Mexico (excluding around the Florida Keys
             and Dry Tortugas) is well-documented by the lack of records in Florida Fish and Wildlife
             Conservation Commission, Fisheries Independent Monitoring data as well as in various
             surveys conducted by NMFS, Southeast Fisheries Science Center. Nassau grouper are
             not found in or close enough to the action area for there to be any potential routes of
             effects to this species.
        3.   The proposed project will be placed in an area consisting of unconsolidated sediments
             and not near any hardbottom. In your analysis, you concluded that water quality effects
             are not expected to occur outside of 30 m (0.02 mi) due to the small size of the facility.
             You also concluded that sedimentation from the Velella Epsilon facility is not expected
             outside of 1,000 m (0.62 mi), and impacts resulting from the proposed facility are likely
             limited to within 300 to 500 m (0.12 to 0.31 mi) from the cage. Listed corals generally
             occur in the Gulf only near the Florida Keys and Dry Tortugas and in the Flower Banks
             National Marine Sanctuary, located off the coast of Texas and Louisiana. Listed corals
             do not occur in or close enough to the action area for there to be any potential routes of
             effects on these species.
        4.   Two strandings on the Louisiana and Texas coast comprise the only possible record of
             blue whales in the Gulf of Mexico and identifications for both strandings are
             questionable, thus we do not believe blue whales live in the Gulf of Mexico.
        5.   Water depth at the project site is only 40 m deep, and the site is approximately 80+ mi
             from Bryde’s whale biological important areas, the 100-m depth contour, and the shelf
             break. Sperm whales are the most abundant large cetacean in the Gulf of Mexico, found
             year-round in waters greater than 200 m. Sei whales also typically occur in these deeper
             waters. Sei whales are generally found in oceans along the 100-meter depth contour with
             with sightings also spread over deeper water including canyons along the shelf break.
             Fin and sei whale do occasionally strand in the Gulf indicating they may occur, but
             neither is commonly observed in the waters of the Gulf of Mexico. We do not believe
             any of these species will occur in the action area for this project or close enough for there
             to be any potential routes of effects to these species.

 Critical Habitat
 We do not concur with your determination that the proposed action may affect hawksbill,
 leatherback, and loggerhead sea turtle critical habitat. The project is not located in or near
 designated critical habitat of these or any other species. The nearest critical habitat to the project
 is loggerhead nearshore nesting habitat (Units 29 and 30), more than 40 mi away from the action
 area.

 Analysis of Potential Routes of Effects to Species
 Potential routes of effects to the listed species that may occur in the action area (i.e., sea turtles
 [green NA and SA DPSs, loggerhead, leatherbacks, and Kemp’s ridleys] and ESA-listed fish
 [i.e., smalltooth sawfish, giant manta rays, and oceanic whitetip sharks]4) include disturbance,
                entanglement, and water quality changes.


 4
     Hereafter, sea turtles and ESA-listed fish refer to these specific species.

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 Vessel strike
 A vessel strike is a collision between any type of boat and a marine animal in the ocean.
 Collision with the hull, outboard motor, or propeller of a vessel can kill or injure marine animals
 including air-breathing whales and sea turtles as well as any other marine species when feeding,
 basking or even just swimming close to the surface (e.g., giant manta rays and oceanic whitetip
 sharks). Collisions may occur anywhere a vessel cross paths of a species. However, we have
 determined that the potential for a vessel strike on any listed species to result from this proposed
 action is discountable. The proposed project involves only two vessels. A support vessel will be
 present at the facility throughout the life of the project except during certain storm events or
 times when resupplying is necessary; a harvest vessel (expected to be a vessel already engaged in
 offshore fishing in the Gulf) will be used to transport the fish, once grown, to land. Vessels are
 expected to follow the vessel strike and avoidance measures that have been developed by
 NMFS 5. A collision between any specific vessel and marine animal is extremely unlikely to
 occur. For example, when using the conservative mean estimate of a sea turtle strike every 193
 years (range of 135-250 years) per vessel, it would require a moderately-sized marina project
 (e.g., ~200 new vessels introduced to an area) to potentially result in a sea turtle take in any
 single year (Barnette 2018 6). Given the limited vessel activity and duration of the project, a
 vessel strike is extremely unlikely.

 Disturbance
 ESA-listed fish and sea turtles may experience disturbance by stress via a startled reaction should
 they encounter the proposed facility, including the cage associated and the support vessel and/or
 harvest vessel or associated noise (e.g., vessel engine or barge generator), when moving through
 the area. A behavioral reaction could range from the animal approaching and investigating the
 facility to avoidance and moving away from the area. A potential source of disturbance from the
 proposed aquaculture facility would be vessel engine and barge generator noise. ESA-listed fish
 and sea turtles may also be attracted to aquaculture facilities as potential sources of food, shelter,
 and/or rest. However, any stress and behavioral effects on ESA-listed fish and sea turtles from
 disturbance are expected to be insignificant. The facility is not in an area known to be a hot spot
 or high-use area for any important activities (e.g., feeding, reproducing) of the sea turtle or ESA-
 listed fish species. Also, because this is a pilot study with only one cage in the open ocean, the
 proposed project site is small (each potential site <8 square kilometers) and will in no way limit
 movement or ability of a species to avoid the area or navigate through the area. As a result,
 disturbance from human activities and equipment and vessel operation resulting from the
 proposed action is expected to have only insignificant effects on ESA-listed fish and sea turtles.

 Entanglement/Entrapment
 The cage, mooring lines, and bridle line from the proposed project may pose an entanglement
 and an entrapment risk to ESA listed fish and sea turtles. Entanglements occur when lines,
 netting, or other man-made materials become wrapped around the body (e.g., flipper, fin) of the

 5
   NMFS. Vessel Strike Avoidance Measures and Reporting for Mariners NOAA Fisheries Service, Southeast
 Region, February 2008. National Oceanic and Atmospheric Administration, National Marine Fisheries Service,
 Southeast Regional Office, Protected Resources Division, Saint Petersburg, Florida.
 https://www.fisheries.noaa.gov/southeast/consultations/regulations-policies-and-guidance
 6
   Barnette, M. C. 2018. Threats and Effects Analysis for Protected Resources on Vessel Traffic Associated with
 Dock and Marina Construction. National Oceanic and Atmospheric Administration, National Marine Fisheries
 Service, Saint Petersburg, Florida.

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 animal. Entrapment can occur when an animal becomes restrained or stuck in man-made
 structure and cannot escape. However, we believe the effects to sea turtles or ESA listed fish
 from entanglement will be discountable because of how the cage will be constructed and
 deployed. The risk of sea turtles and ESA listed fish being entangled or entrapped is greatly
 reduced by using rigid cage materials and by keeping all lines taut. The cage and moorings for
 the proposed project are constructed with rigid and durable materials, and the mooring lines will
 be constructed of steel chain and thick rope that will be maintained under tension by the ocean
 currents during most times of operation. For example, the lines would likely remain taut even as
 the currents shift because of the weight of the chain and rope creating a negative buoyancy on
 the facility anchorage lines. The cage, even in storm conditions, will be at least several meters
 from the sea floor, allowing safe passage under the cage. Additionally, the bridle line that
 connects from the swivel to the cage will be encased in a rigid pipe. The limited number of
 vertical mooring lines (3) and the duration of cage deployment (less than 18 months) will also
 reduce the risk of potential entanglement. Because of the proposed project operations and
 duration, we expect that the effects of possible entanglement to be discountable.

 Water quality
 Sea turtles and ESA-listed fish species may be affected by water quality/habitat degradation if it
 leads to reduced habitat quality. However, we believe any potential water quality effects on
 ESA-listed fish and sea turtles from the proposed action will be insignificant. Effluent from the
 proposed action can adversely affect water quality, sea floor sediment composition, and benthic
 fauna through the additions of uneaten feed, ammonia excretions, and fish feces from the
 increased fish biomass. The release of nutrients, reductions of dissolved oxygen, and the
 accumulation of sediments under certain aquaculture operations lead to eutrophication and
 degradation of benthic communities. The EPA evaluated the proposed action’s potential impacts
 to water quality and impacts of organic enrichment to the seafloor and benthic communities. The
 EPA also considered the potential water quality impacts from chemical spills, drugs, cleaning,
 and solid wastes. The discharge of wastewater from the proposed project are expected to have a
 minor impact on water quality due to factors concerning the low fish biomass produced; the
 relatively small amounts of pollutants discharged; depth of the sea floor; and current velocities at
 the proposed action area. The EPA anticipates that the proposed activity would add relatively
 small amounts of nutrient wastes (nitrogen, phosphorus, particulate organic carbon, and solids)
 to the ocean in the immediate vicinity of the proposed action area. The facility's effluent is
 expected to undergo rapid dilution from the prevailing current; constituents will be difficult to
 detect within short distances from the cage. Per EPA’ analysis, (1) water quality effects are not
 expected to occur more than 30 m (0.02 mi) away from the cage site due to the small size of the
 facility, and (2) sedimentation from the Velella Epsilon facility is not expected to go more than
 1,000 m (0.62 mi) from the cage, and impacts resulting from the proposed facility are likely
 limited to within 300 to 500 m (0.12 to 0.31 mi) from the cage. The discharges authorized by the
 proposed NPDES permit represent a small incremental contribution of pollutants and will have
 an insignificant affect any on the ESA-listed fish or sea turtles in the action area.

 Conclusion
 Because all potential project effects to listed species were found to be discountable, insignificant,
 or beneficial, we conclude that the proposed action is not likely to adversely affect listed species
 under NMFS’s purview. This concludes your consultation responsibilities under the ESA for
 species under NMFS’s purview. Consultation must be reinitiated if a take occurs or new

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 information reveals effects of the action not previously considered, or if the identified action is
 subsequently modified in a manner that causes an effect to the listed species or critical habitat in
 a manner or to an extent not previously considered, or if a new species is listed or critical habitat
 designated that may be affected by the identified action. NMFS’s findings on the project’s
 potential effects are based on the project description in this response. Any changes to the
 proposed action may negate the findings of this consultation and may require reinitiation of
 consultation with NMFS.

 In your letter to us, you also initiated consultation pursuant to the Fish and Wildlife
 Coordination Act (FWCA). NMFS’s Southeast Regional Office, Habitat                      Division
 reviewed the information in the Draft Biological Evaluation pursuant to the FWCA, and based
 on that review, we anticipate any adverse effects that might occur on marine and anadromous
 fishery resources would be minimal. Therefore, we do not object to issuance of the permit per
 the FWCA.

 We look forward to further cooperation with you on other projects to ensure the conservation of
 our threatened and endangered marine species and designated critical habitat. If you have any
 questions on this consultation, please contact Jennifer Lee, Fishery Biologist, at (727) 551-5778
 or by email at Jennifer.lee@noaa.gov.
                                                  Sincerely,




                                                   David Bernhart
                                                   Assistant Regional Administrator
                                                       for Protected Resources


 cc:     F/SER – J. Beck
         F/SER31 – J. Lee

 File:   1514-22.k




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                       ESSENTIAL FISH HABITAT ASSESSMENT




                          Kampachi Farms, LLC - Velella Epsilon
                                Marine Aquaculture Facility
                                  Outer Continental Shelf
                            Federal Waters of the Gulf of Mexico




                                         August 2, 2019




  U.S. Environmental Protection Agency                     U.S. Army Corps of Engineers
                Region 4                                        Jacksonville District
         Water Protection Division                           Fort Myers Permit Section
           61 Forsyth Street SW                      1520 Royal Palm Square Boulevard Suite 310
          Atlanta Georgia 30303                            Fort Myers Florida 33919-1036

        NPDES Permit Number                                    RHA Section 10 Permit
            FL0A00001                                            SAJ-2017-03488
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1.0      Introduction and Federal Coordination

The Magnuson-Stevens Fishery Conservation and Management Act (MSA) sets forth a
National Marine Fisheries Service (NMFS), regional fishery management councils (FMC), and other federal
agencies to identify and protect important marine fish habitat. The essential fish habitat (EFH) provisions of
the MSA support one of                                                                of maintaining sustainable
fisheries. Essential to achieving this goal is the maintenance of suitable marine fishery habitat quality and
quantity. The FMCs, with assistance from NMFS, have delineated EFH for federally managed species. Federal
action agencies which fund, permit, or carry out activities that may adversely affect EFH are required to consult
with NMFS regarding the potential impacts of their actions on EFH and respond in writing to NMFS or FMC
with any recommendations.

The MSA, administered by the NMFS and regional FMCs, requires collaboration to stop or reverse the
continued loss of fish habitats. Congress mandated the identification of habitats essential to managed species
and measures to conserve and enhance this habitat. Under the MSA, Congress directs NMFS and the eight
regional FMCs, under the authority of the Secretary of Commerce, to describe and identify EFH in Fishery
Management Plans (FMPs); minimize, to the extent practicable, the adverse impacts on EFH; and identify
other actions to encourage the conservation and enhancement of EFH.

On November 9, 2018, the U.S. Environmental Protection Agency Region 4 (EPA) received a complete
application for a Clean Water Act (CWA) National Pollutant Discharge Elimination System (NPDES) permit
from Kampachi Farms for the point-source discharge of pollutants from a marine aquaculture facility in federal
waters of the Gulf of Mexico (Gulf). On November 10, 2018, the U.S. Army Corps of Engineers Jacksonville
District (USACE) received a complete application for Department of Army (DA) permit pursuant to Section
10 of the River and Harbors Act (RHA), 1899 (Section 10), for structures and work affecting navigable waters
from Kampachi Farms.

Given that the action of permitting the proposed project involves more than one federal agency, the EPA has
elected to act as the lead agency to fulfill the consultation responsibilities as allowed by 50 CFR § 600.920(b).1
In the consultation request, the EPA has also notified the NMFS that the EPA is acting as the lead agency as
required by 50 CFR § 600.920(b). The USACE is a cooperating and co-federal agency for the EFH consultation

under MSA Section 305(b)(2).

This EFH assessment was prepared by the EPA and the USACE to jointly consider the potential effects that
the proposed actions may have on EFH under the jurisdiction of the NMFS as required by 50 CFR §
600.920(e)(1). The EPA and the USACE (action agencies) have reviewed the proposed activity and determined
that the level of detail provided in this EFH assessment is commensurate with the complexity and magnitude
of the potential adverse effects of the proposed action as allowed by 50 CFR 600.920(e)(2), and meets the
information requirements that all EFH assessments must include according to 50 CFR § 600.920(e)(3). The
EPA and the USACE are providing this EFH assessment for consideration by the NMFS in compliance with
the MSA Section 305(b)(2).

The EPA and USACE are coordinating the interagency review process as required by the interagency
Memorandum of Understanding for Permitting Offshore Aquaculture Activities in Federal Waters of the Gulf
of Mexico (Aquaculture MOU),2 and conducting a comprehensive analysis of all applicable environmental

1
                                                   If more than one Federal agency is responsible for a Federal action, the consultation
requirements of sections 305(b)(2) through (4) of the Magnuson-Stevens Act may be fulfilled through a lead agency. The lead agency should
notify NMFS in writing that it is representing one or more additional agencies.
2
  On February 6, 2017, the Memorandum of Understanding for Permitting Offshore Aquaculture Activities in Federal Waters of the Gulf of
Mexico became effective for seven federal agencies with permitting or authorization responsibilities.

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requirements under the National Environmental Policy Act (NEPA); however, a consolidated cooperation
process under NEPA is not being used to satisfy the EFH assessment requirements as described in 50 CFR §
600.920(e)(1). 3 The NMFS is a cooperating agency for the NEPA analysis and has provided scientific
expertise related to the NEPA analysis for the proposed action including information about: site selection,
Endangered Species Act (ESA) listed species, and marine mammal protection. While some information related
to the EFH Assessment is within the coordinated NEPA evaluation developed by multiple federal agencies,
this EFH Assessment is being provided as a stand-alone document to comply with the consultation process
under the MSA.

2.0      Proposed Action

Kampachi Farms, LLC (applicant) is proposing to operate a pilot-scale marine aquaculture facility (Velella
Epsilon) in federal waters of the Gulf. The proposed action is the issuance of the CWA and RHA permits under
the respective authorities of the EPA and the USACE as required to operate the facility. The
action is the issuance of a NPDES permit that authorizes the discharge of pollutants from an aquatic animal
production facility that is considered a point source into waters of the United States.
action is the issuance of a DA permit pursuant to Section 10 of the RHA that authorizes anchorage to the sea
floor, structures and work in, over, under, and affecting navigable waters.

3.0      Proposed Project

The proposed project would allow the applicant to operate a pilot-scale marine aquaculture facility with up
to 20,000 almaco jack (Seriola rivoliana) being reared in federal waters for a period of approximately 12
months. Based on an estimated 85 percent survival rate, the operation is expected to yield approximately
17,000 fish. Final fish size is estimated to be approximately 4.4 lbs/fish, resulting in an estimated final
maximum harvest weight of 88,000 lbs (or 74,800 lbs considering the survival rate).

The fingerlings will be sourced from brood stock that are located at Mote Aquaculture Research Park and were
caught in the Gulf near Madeira Beach, Florida. As such, only filial 1 (F1) progeny will be stocked into the
offshore net pen. Following harvest, cultured fish would be landed in Florida and sold to federally-licensed
dealers in accordance with state and federal laws.

A single CopperNet offshore strength (PolarCirkel-style) manufactured submersible fish pen will be deployed
on an engineered multi-anchor swivel (MAS) mooring system. The design provided for the engineered MAS
uses three concrete deadweight anchors for the mooring; however, the final anchor design is likely to utilize
embedment anchors instead. The cage material for the proposed project is constructed with rigid and durable
materials (copper mesh net with a diameter of 4 mm wire and 40 x 40 mm mesh square). The mooring lines
for the proposed project will be constructed of steel chain (50 mm diameter) and rope (36 mm diameter) that
are attached to a floating cage that will rotate in the prevailing current direction; the floating cage position that
is influenced by the ocean currents will maintain the mooring rope and chain under tension during most times
of operation. The bridle line that connects from the swivel to the cage will be encased in a rigid pipe. Structural
information showing the current MAS with deadweight anchors and net-pen array is provided in the Appendix
A.4

The CopperNet cage design is flexible and self-adjusts to suit the constantly changing wave and current

3
                                        Federal agencies may incorporate an EFH Assessment into documents prepared for other purposes
such as Endangered Species Act (ESA) Biological Assessments pursuant to 50 CFR part 402 or National Environmental Policy Act (NEPA)
documents and public notices pursuant to 40 CFR Part 1500.
4
  The anchoring system for the proposed project is being finalized by the applicant. The proposed project will utilize appropriately sized
deadweight or, more likely, embedment anchors. Both anchor types are considered within the EFH assessment and are included for EFH
consultation purposes. The selected final anchor design will be available in the administrative record for the NPDES or USACE permit.


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conditions. As a result, the system can operate floating on the ocean surface or submerged within the water
column of the ocean. When a storm approaches the area, the operating team simply opens a valve to flood the
floatation system with water, causing the entire net pen array to submerge. A buoy remains on the surface,
                                                                                       es the bottom, the system
will maintain the cage several m above the sea floor. Submerged and protected from the storm above, the
system is still able to rotate around the MAS and adjust to the currents. After storm events, the operating team
pumps air back into the floatation system via a hose, making the net pen array buoyant, causing the system to
rise back to or near the surface position to resume operational conditions. The proposed project cage will have
at least one properly functioning global positioning system device to assist in locating the system in the event
it is damaged or disconnected from the mooring system.

4.0       Proposed Action Area

The proposed project would be placed in the Gulf at an approximate water depth of 130 feet (40 m),
generally located 45 miles southwest of Sarasota, Florida. The proposed facility will be placed within an
area that contains unconsolidated sediments that are 3 10 ft deep (see Table 1). The applicant will select the
specific location within that area based on diver-assisted assessment of the sea floor when the cage and
anchoring system are deployed. More information about the proposed project area boundaries are shown in
Appendix B.

                            Table 1: Target Area                          of Unconsolidated Sediments

                          Location                              Latitude                          Longitude
                   Upper Left Corner
                   Upper Right Corner
                   Lower Right Corner                                                          83°
                   Lower Left Corner

The proposed
Ocean Service National Centers for Coastal Ocean Science (NCCOS). The applicant and the NCCOS
conducted an exhaustive site screening process to identify an appropriate project site. Some of the criteria
considered during the site screening process included avoidance of corals, coral reefs, submerged aquatic
vegetation, and hard bottom habitats; and avoidance of marine protected areas, marine reserves, and habitats
areas of particular concern (HAPC). This siting assessment was conducted using the Gulf AquaMapper tool
developed by NCCOS.5

Upon completion of the site screening process with the NCCOS, the applicant conducted a Baseline
Environmental Survey (BES) based on guidance developed by the NMFS and EPA.6 The BES included a
geophysical investigation to characterize the sub-surface and surface geology of the sites and identify areas
with a sufficient thickness of unconsolidated sediment near the surface while also clearing the area of any
geohazards and structures that would impede the implementation of the aquaculture operation. 7 The
geophysical survey for the proposed project consisted of collecting single beam bathymetry, side scan sonar,
sub-bottom profiler, and magnetometer data within the proposed area. The BES report noted that were no
physical, biological, or archaeological features that would preclude the siting of the proposed aquaculture
facility at one of the four potential locations shown in Table 1.



5
  The Gulf AquaMapper tool is available at: https://coastalscience.noaa.gov/products-explorer/
6
  The BES guidance document is available at: http://sero.nmfs.noaa.gov/sustainable_fisheries/Gulf_fisheries/aquaculture/
7
  The BES constitutes additional results to support the evaluation of habitat and site-specific effects that the proposed project may have on
EFH within the proposed action area in accordance with 50 CFR § 600.920(e)(4)(i). The BES was provided to the NMFS by the applicant.

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5.0        Assessment and Ecological Notes on the EFH Fisheries and Species

5.1        EFH Overview

According to the NEPA documentation and the Ocean Discharge Criteria Evaluation prepared in support of
the NPDES permit for the proposed project, which discuss the habitat in the eastern portion of the Gulf, and
the portion of the west Florida shelf, the area specific to the proposed project is known to support commercially
important invertebrates and fishes. The proposed area consists of a wide variety of marine habitats including
unconsolidated sediments (sand and gravel) and low-relief hard bottom habitat, providing critical support for
commercially and recreationally important fishes and invertebrates in the eastern Gulf.

The seasonal and year-round locations of designated EFH for the managed fisheries are depicted on figures
available from the NMFS.8 The NMFS selected 27 species from seven existing Fisheries Management Units
(FMUs). Table 2 lists the 27 species (plus various coral reef fish assemblages) which are known to reside in
Gulf waters and which are managed under the MSA. The listed species are considered ecologically significant
to their respective FMU, and their collective habitat types occur throughout marine and estuarine waters in the
Gulf.

The MSA defines EFH as "those waters and substrate necessary to fish for spawning, breeding, feeding or
growth to maturity" (MSA § 3(10)). EFH must be designated for the fishery (16 USC § 1853(a)(7)). The final
rule clarifies that every FMP must describe and identify EFH for each life stage of each managed species. The
EFH assessment is based on species distribution maps and habitat association tables. In offshore areas, EFH
consists of those areas depict

5.2        Shrimp Fishery

The brown, white and pink shrimp yields in the Gulf are highly dependent upon the abundance and health of
estuarine marshes and seagrass beds. The prey species (food source) for these shrimp depend on similar
vegetated coastal marshes and seagrass beds.

Brown Shrimp
Brown shrimp are generally more abundant in the central and western Gulf and found in the estuaries and
offshore waters to depths of 120 m. Postlarve and juveniles typically occur within estuaries while adults occur
outside of bay areas. In estuaries, brown shrimp postlarve and juveniles are associated with shallow vegetated
habitats, but also are found over silty sand and non-vegetated mud bottoms. In Florida, adult areas are primarily
seaward of Tampa Bay, and associated with silt, muddy sand, and sandy substrates.

           Spawning area: Florida waters to edge of continental shelf; year round
           Nursery area: Tampa Bay

White Shrimp
White shrimp are offshore and estuarine dwellers and are pelagic or demersal depending on their life stage.
The eggs are demersal and larval stages are planktonic, and both occur in nearshore marine waters. Adult white
shrimp are demersal and generally inhabit nearshore Gulf waters in depths less than 33 m on soft mud or silty
bottoms. In Florida, white shrimp are not common east or south of Apalachee Bay and are not expected to be
impacted by the discharges.

           Spawning area: off Mississippi and Alabama; March to October
           Nursery area: Mississippi Sound

8
    Designated EFH for managed fisheries are available at: http://sero.nmfs.noaa.gov/maps_gis_data/habitat_conservation/efh_Gulf/

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Pink Shrimp
Juvenile pink shrimp inhabit most estuaries in the Gulf but are most abundant in Florida. Juveniles are
commonly found in estuarine areas with seagrass. Postlarve, juvenile, and subadults may prefer coarse
sand/shell/mud mixtures. Adults inhabit offshore marine waters, with the highest concentration in depths of
10 to 48 m. According to the NMFS species distribution map, pink shrimp use Tampa Bay from the larval
stage until the species matures to the late juvenile stage.

       Spawning area: Mississippi, Alabama, and Florida offshore; year round
       Nursery area: major nursery areas in Tampa Bay and Florida west coast state waters; summer               and
       fall in the northern Gulf

        Table 2: EFH Species within the Central and Eastern Gulf

        Species                 EFH
        Shrimp (Brown,          All estuaries; the US/Mexico border to Fort Walton Beach, Florida, from
        White, Pink, Royal      estuarine waters out to depths of 100 fathoms; Grand Isle, Louisiana, to
        Red)                    Pensacola Bay, Florida, between depths of 100 and 325 fathoms; Pensacola
                                Bay, Florida, to the boundary between the areas covered by the Gulf of
                                Mexico (GMFMC) and the South Atlantic FMC (SAFMC) out to depths of
                                35 fathoms, Crystal River, Florida, to Naples, Florida, to 25 fathoms and in
                                Florida Bay to 10 fathoms. Marsh, seagrass, mangrove and open water
                                habitats.
        Coastal Migratory       All estuaries; the US/Mexico border to Florida from estuarine waters out to
        Pelagics                depths of 100 fathoms.
        Red Drum                All estuaries; Vermilion Bay, Louisiana, to the eastern edge of Mobile Bay,
                                Alabama, out to depths of 25 fathoms; Crystal River, Florida, to Naples,
                                Florida, between depths of 5 and 10 fathoms; and Cape Sable, Florida, to the
                                boundary between the areas covered by the GMFMC and the SAFMC
                                between depths of 5 and 10 fathoms.
        Reef Fish               All estuaries; the US/Mexico border to the boundary between the areas
                                covered by the GMFMC and the SAFMC from estuarine waters out to
                                depths of 100 fathoms. Reef, seagrass, and mangrove habitat.
        Spiny Lobster           From Tarpon Springs, Florida, to Naples, Florida, out to 10 fathoms; and
                                Cape Sable, Florida, to the boundary between the areas covered by the
                                GMFMC and the SAFMC out to depths of 15 fathoms. Hardbottom habitats
                                with macroalgae, seagrass and mangrove habitats.
        Coral                   Distributed throughout the Gulf including: the North and South Tortugas
                                Ecological Reserves, East and West Flower Garden Banks, McGrail Bank,
                                and the southern portion of Pulley Ridge; the pinnacles and banks from
                                Texas to Mississippi, at the shelf edge and at the Florida Middle Grounds,
                                the southwest tip of the Florida reef tract, and predominant patchy hard
                                bottom offshore of Florida from approximately Crystal River south to the
                                Florida Keys.
        Deepwater Coral         The Viosca Knoll Lease Area south of Mississippi and the Green Canyon
                                Lease Area south of central Louisiana. The Twin Ridges area south of Cape
                                San Blas, Florida. Alderdice, McGrail, and Sonnier Banks off Louisiana.



Royal Red Shrimp
Royal red shrimp are most abundant in the northeastern Gulf in water depths between 270 and 550 m. Little is
known about the larvae. Distribution maps were not available by the NMFS for the royal red shrimp due to the


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limited knowledge and information available for the species. The permitted discharges will take place at or
near the surface, thus there should be no impact on the primary EFH.

        Spawning area: unknown
        Nursery area: unknown

5.3     Red Drum Fishery

Red Drum
In the Gulf, red drum occur in a variety of habitats, ranging from depths of about 43 m offshore to very shallow
estuarine waters. They commonly occur in all                                  ey are associated with a variety of
substrate types including sand, mud, and oyster reefs. Estuaries are important to red drum for both habitat
requirements and for dependence on prey species which include shrimp, blue crab, striped mullet and pinfish.
The GMFMC considers all estuaries to be EFH for the red drum. Schools of large red drum are common in the
deep Gulf waters with spawning occurring in deeper water near the mouths of bays and inlets, and on the Gulf
side of the barrier islands. The Tampa Bay EFH estuarine map shows red drum juveniles to be abundant or
highly abundant in the fall and winter and common in the spring and summer.

        Spawning area: Gulfwide from nearshore to just outside state waters, fall and winter
        Nursery area: major bays and estuaries including Mobile Bay and Tampa Bay, year round

5.4     Reef Fish

Many species of snapper and grouper (mutton, dog, lane, gray and yellowtail snapper- and red, gag and
yellowfin groupers) occupy inshore areas during juvenile stages where they feed on estuarine-dependent prey.
As these species mature they generally move to offshore waters and change their feeding habits. However, reef
fish species still depend on estuarine species for prey.

Red Grouper
The red grouper is demersal and occurs throughout the Gulf at depths from 3 to about 200 m, preferring 30 to
130-m depths. Juveniles are associated with inshore hard bottom habitat, and grass beds, rock formations,
while shallow reefs are preferred for nursery areas. Species distribution maps show that spawning for the red
grouper occurs throughout much of the Gulf waters off Florida, including the Florida Middle Grounds. Nursery
areas occur within and around the selected site.

        Spawning area: Florida continental shelf, well offshore, extending from south of Apalachicola Bay all
        the way to west of the Florida Keys; April to May
        Nursery area: extensively throughout the continental shelf off Florida and along the northern Gulf, year
        round

Black Grouper
The black grouper occurs in the eastern half of the Gulf. The species is demersal and is found from shore to
depths of 170 m. Adults occur over wrecks and rocky coral reefs. Juveniles travel into estuaries occasionally.
Species distribution maps for the black grouper indicate that the range of the species occurs within the Gulf,
outside of state waters.

        Spawning area: throughout eastern Gulf to 170-m depth, spring and summer
        Nursery area: probably the same as the red grouper

Gag Grouper
The gag grouper is demersal and is most common in the eastern Gulf, especially the west Florida shelf. Post

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larvae and pelagic juveniles move through inlets, coastal lagoons and high salinity estuaries in April-May
where they settle into grass flats and oyster beds. Late juveniles move offshore in the fall. Adults prefer hard
bottom areas, offshore reefs and wrecks, coral and live bottom. The species EFH distribution maps indicate
presence throughout the Gulf including estuarine areas.

       Spawning area: spawning areas are not specified on EFH maps
       Nursery area: pelagic waters until post larvae or juvenile

Scamp
Scamp are demersal and widely distributed in the shelf areas of the Gulf, especially off Florida. Juveniles
prefer inshore hard bottoms and reefs in depths of 13 to 36 m. Adults prefer high relief hard bottom areas. The
species EFH distribution maps indicate presence throughout the Gulf including estuarine areas. Presence in
these areas is based only on records for adults.

       Spawning area: spawning area not specified in the EFH maps
       Nursery area: nurseries not specified in the EFH maps

Red Snapper
Red snapper is demersal and found over sandy and rocky bottoms, around reefs, and underwater objects in
depths to 218 m. Juveniles are associated with structures, objects or small burrows, or barren sand and mud
bottoms in shelf waters ranging from 20 to 200 m. Adults favor deeper water in the northern gulf preferring
submarine gullies and depressions, and over coral reefs, rock outcroppings, and gravel bottoms. Spawning
occurs in offshore waters over fine sand bottoms away from reefs. Gulf distribution map show red snapper
nursery areas within the estuarine waters of the Mississippi Sound, and Tampa Bay offshore of state waters

       Spawning area: spawning occurs throughout the Gulf, June to October
       Nursery area: extensive throughout the Gulf, year-round, including Mississippi Sound and Tampa Bay

Vermillion Snapper
Vermillion snapper are found over reefs and rocky bottom from depths of 2 to 220 m in the shelf areas of the
Gulf spawning occurs in offshore areas, with juveniles occupying the same areas as the adults.

        Spawning area: EFH maps not available, not specified in literature reviewed
        Nursery area: EFH maps not available, not specified in literature reviewed

Gray Snapper
The gray snapper generally occurs in the shelf waters of the Gulf and is particularly abundant in south and
southwest Florida. Gray snapper occurs in almost all the Gulf's estuaries but are most common in Florida.
Adults are demersal and mid-water dwellers, occurring in marine, estuarine, and riverine habitats. They are
found among mangroves, sandy grass beds, and coral reefs, and over sandy muddy bottoms. Spawning occurs
offshore, with post larvae moving into estuarine habitat over dense beads of Halodule and Syringodium
grasses. Juveniles are marine, estuarine, and riverine found in most types of habitats. They appear to most
prefer Thalassia grass flats, marl bottoms, seagrass meadows and mangrove roots. Species distribution maps
indicate that nursery areas exist within estuarine areas including the Mississippi Sound and Tampa Bay. Major
adult areas are encountered from the Mississippi Sound across Gulf waters to west of Tampa Bay, where year-
round adult areas occur within Florida state waters and into the southern half of Tampa Bay.

        Spawning area: spawning areas probably exist in the Gulf off many of the nursery areas, but have not
        been positively identified
        Nursery area: found in coastal waters throughout the Gulf, including Mississippi Sound and Tampa
        Bay

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Yellowtail Snapper
Juvenile yellowtail snapper are found in nearshore nursery areas over vegetated sandy substrate and in muddy
shallow bays. Thalassia beds and mangrove roots are preferred habitat of the gray snapper. Late Juvenile and
adults prefer shallow reef areas. According to the Gulf distribution map, this species has nursery areas within
the 3 League Line and Tampa Bay. Spawning and adult areas occur in Gulf waters outside of the 3 League
Line through the Florida Middle Ground and southern Apalachicola areas. EFH is not designated in the state
waters of Mississippi or Alabama.

       Spawning area: west and north of Tampa Bay; spring and summer
       Nursery area: throughout the western and southern coast of Florida, including Tampa Bay

Lane Snappers
The snappers seem to prefer mangrove roots and grassy estuarine areas as well as sandy and muddy bottoms.
Juveniles favor grass flats, reefs and soft bottom areas, to offshore depths of 33 m. Adults occur offshore at
sand bottoms, natural channels, banks, and manmade reef and structures. Gulf distribution maps indicate that
the lane snapper use shallow coastal waters including the Mississippi Sound and Tampa Bay and areas outside
of state waters as nursery areas.

       Spawning area: throughout the adult areas, summer
       nursery areas: shallow coastal areas throughout the Gulf including Mississippi Sound and Tampa Bay.

Greater Amberjack
Greater amberjack seems to prefer habitats that are marine but not estuarine. Based on the Gulf distribution
maps, greater amberjack occur outside the barrier islands across Gulf waters, and usually over reefs, wrecks
and around buoys. Spawning and nursery areas are similar.

       Spawning area: throughout the adult areas in most of the Gulf; year round
       Nursery area: throughout the adult areas; year round

Lesser Amberjack
Juvenile lesser amberjack are found offshore in the late summer and fall in the northern Gulf, along with
smaller juveniles, in areas associated with sargassum. Adults and spawning areas are found offshore year-
round in the northern gulf where they are associated with oil and gas rigs and irregular bottom. The Gulf
distribution map shows the range of the species throughout much of the Gulf and into the Atlantic coastline.

       Spawning area: in adult areas, offshore, in the northern Gulf; year-round
       Nursery area: probably similar to adult areas year-round; EFH map not available

Tilefish
Tilefish occur throughout the continental shelf in the Gulf, usually at depths from 50-200 m.

       Spawning area: throughout the adult area from March to September
       Nursery area: throughout the adult area; year round

Triggerfish
Larval and juvenile gray triggerfish are associated with grass beds, Sargassum and mangrove estuaries. Adults
seem to prefer offshore waters associated with reefs. A general species distribution map was not available,
however a map showing catches per hour by trolling methods within the Gulf was available from the National


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 Oceanic and Atmospheric Administration (NOAA).9 This map indicated that there is a record of occupancy
 for gray triggerfish in state waters of Mississippi/Alabama and Florida.

            Spawning area: EFH map not available; assumed to be adult preferred areas offshore
            Nursery area: EFH map not available; assumed to be estuarine areas throughout the Gulf

 5.5        Coastal Migratory Pelagic Fishery

 Collectively, these species are commonly distributed from the estuaries throughout the marine waters of the
 entire Gulf. However, estuaries are very important, since they contain the major prey base for these species.

 King Mackerel
 King mackerel are found throughout the Gulf and seldom venture into brackish waters. Juveniles occasionally
 use estuaries but are not estuarine dependent, and nursery areas occur in marine environments. According to
 the species distribution map, adult areas are also used for nurseries and spawning (May to November). These
 areas occur outside of the Mississippi Sound, across state waters, throughout the Gulf and into Tampa Bay.

             Spawning area: throughout the Gulf, estuaries and coastal waters in adult areas; May to November
             Nursery area: adult areas; year-round, marine waters, estuaries used occasionally

 Spanish Mackerel
 Adult Spanish mackerel tolerate brackish to oceanic waters and often inhabit estuaries. Estuarine and coastal
 waters also offer year-round nursery habitat. Juveniles appear to prefer marine salinities and sandy bottoms.
 Adults and spawning areas typically occur in offshore areas. According to the species distribution map, EFH
 for adult and nursery areas occurs throughout the selected site. Spawning areas occur in Gulf waters off the
 coast of Florida.

            Spawning area: waters off the coast on the western (Summer and Fall) and eastern Gulf (Spring and
            Summer)
            Nursery area: coastal waters throughout the Gulf

 Cobia
 Cobia only occasionally inhabit estuaries. Spawning occurs in nearshore areas and larvae are found in estuarine
 and offshore waters. Nursery areas are the same as the adult areas which include coastal areas, bays and river
 mouths. The range of cobia extends throughout the Gulf nearshore areas, with the summer adult areas and
 year-round nursery areas from the Mississippi Sound into Gulf waters and to the adult area (spring, summer,
 and fall) and year-round nursery area that extends from just inside Gulf water, halfway into Tampa Bay.

            Spawning area: occurs throughout the adult areas except in bays and estuaries in the northern Gulf,
            Spring and Summer
            Nursery area: coastal areas, bays and river mouths

Dolphin (Mahi-Mahi)
 Dolphin are primarily an oceanic species, but occasionally enter coastal waters with high enough salinity. They
 are common in coastal waters of the northern Gulf mainly during the summer months. It is an epipelagic species
 known for aggregating underneath or near floating objects, especially Sargassum. Spawning occurs throughout
 the adult areas of the open Gulf year-round, with peaks in early spring and fall. Larvae are usually found over
 depths of greater than 50 m and are most abundant at depths over 180 m. Adults occur over depths up to 1,800
 m, but are most common in waters at 40 to 200 m in depth. Nursery areas are year-round in oceanic and coastal

 9
     The map is available at: http://christensenmac.nos.noaa.gov/Gulf-efli/gtrigger.gif

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waters where salinity is high.

        Spawning: throughout the adult areas in open waters of the Gulf; year-round
        Nursery area: throughout the adult areas in open waters of the Gulf; year-round

Bluefish
Bluefish can be found in Gulf estuaries but are more common in estuaries and waters of the Atlantic Ocean.
Spawning grounds are located on the outer half of the continental shelf Nursery areas occur inshore along
beaches and in estuaries, inlets and rivers. Gulf distribution maps were not available for this species and
therefore EFH could not be identified, but may be assumed to include nursery areas within the Mississippi
Sound and Tampa Bay.

        Spawning area: not specified in literature reviewed, EFH map not available
        Nursery area: not specified in literature reviewed; EFH map not available, but probably exists within
        the Mississippi Sound and Tampa Bay

5.6     Spiny Lobster Fishery

The principal habitat for the spiny lobster is offshore reefs and seagrass. Spiny lobsters spawn in offshore
waters along the deeper reef fringes. Adults are known to inhabit bays, lagoons, estuaries, and shallow banks.
According to the species distribution map, spiny lobsters use the lower half of Tampa Bay for nursery areas.
According to the GMFMC, Tampa Bay seems to be the upper limit for spiny lobster abundance due to the
higher salinities found south of the Bay. The Tampa Bay-specific distribution map indicates that spiny lobster
in the Bay are rare. However, the Gulf distribution maps indicate that Tampa Bay is used as an adult area year-
round, and as a nursery area.

        Spawning area: throughout the adult area, particularly north and south of Tampa Bay; March to July
        Nursery area: lower half of Tampa Bay used as nursery; year-round

5.7     Coral and Coral Reefs

The three primary areas in the Gulf where hermatypic corals are concentrated are the East and West Flower
Garden Banks, the Florida Middle Grounds, and the extreme southwestern tip of the Florida Reef Tract, the
Tortugas Ecological Reserve HAPC and the Pulley Ridge HAPC. A number of other identified areas along the
west Florida Shelf, i.e., Long Mound, Many Mounds, North Reed Site, and the West Florida Wall are all on
the west Florida shelf in depths of 200-1000 m and contain deep water (low light) coral communities. Results
from recent research expeditions indicate that the west Florida shelf may have more deep-water coral coverage
than other areas in the Gulf.

5.8     Highly Migratory Species

In addition to the managed fish species described in the previous section, another group of fish with highly
migratory habits have also been examined. This group includes billfish (blue marlin, white marlin and sailfish),
swordfish, tunas (yellow fin, bluefin and skipjack), and of sharks (black tip, bull, dusky, silky, mako, Atlantic
sharpnose, tiger and longfin mako). Most are found beyond the 50, 100 and 200 m contours.

6.0     Assessment of EFH and HAPC in the Gulf

The categories of EFH and HAPC for managed species which were identified in FMP Amendments of the
Gulf FMC and which may occur in marine waters of the Gulf are shown in Table 3. These habitats require
special consideration to promote their viability and sustainability. Some of the habitat categories presented in

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Table 3 are not present in the area affected by the proposed project. Impacts on habitats present or potentially
present are discussed in the following paragraphs. Descriptions of the habitats were mostly excerpted from the
Generic Amendments for Addressing EFH Requirements, HAPC, and Adverse Effects of Fishing in the
Following Fishery Management Plans for the Gulf of Mexico (GMFMC, 1998; GMFMC, 2005).


                Table 3: EFH and HAPC Identified in Fishery Plan Amendments of the Gulf and
                Presence in Area Affected by the Proposed Action

                EFH                                              Presence
                Water Column                                     Yes
                Vegetated Bottoms                                Yes
                Non-vegetated Bottoms                            Yes
                Live Bottoms                                     Yes
                Coral Reefs                                      No: solitary specimens may exist in action area
                Geologic Features                                Yes
                Continental shelf fisheries                      Yes
                West Florida Shelf                               Yes
                Habitat Areas of Particular Concern              Presence
                Florida Middle Grounds                           No: located outside of action area
                Florida Keys National Marine Sanctuary           No: located outside of action area
                Florida Bay                                      No: located outside of action area
                Dry Tortugas                                     No: located outside of action area
                Pulley Ridge                                     No: located outside of action area
                Madison-Swanson and Steamboat Lumps              No: located outside of action area
                Marine Reserves


6.1      Water Column EFH

The flow-averaged total ammonia concentration was calculated using the loading and current velocity
information from the NCCOS modelling report for the proposed project. It was estimated that the total
ammonia discharged from the cage at the maximum fish biomass will be 9.8 kg/day and the biochemical
oxygen demand (BOD) at 59.3 kg/day. The flow-averaged ammonia concentration was estimated at about 4.7
x 10-3                                                                ater is 4-day average is equal to 3.5 x 10-2
mg/L, and the 1-hr average is equal to 2.33 x 10-1 mg/l. BOD is estimated at 6.8 x 10-4 mg/l. At the maximum
biomass of 36,367 kg, the max feeding rate is estimated at 399 kg/day. The maximum solid waste production
is estimated at 83 kg/day. Due to factors concerning the small size of the project and relatively small amounts
of pollutants discharged, location, over bottom depth, and average current velocity, the discharges of wastes
from the proposed project are expected to have a minor impact to water column EFH. It is expected that the
effluent will undergo rapid dilution and constituents will be difficult to detect within short distances from the
cage. 10

The proposed facility will be covered by a NPDES permit as an aquatic animal production facility with
protective conditions required by the Clean Water Act. The NPDES permit will contain conditions that will



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   Further information about                                                                                            can be found in
the final NPDES permit and the Ocean Discharge Criteria (ODC) Evaluation, as well as other supporting documents developed for the
NPDES and Section 10 permits such as the Biological Evaluation that was created to comply with the ESA and the Environmental Assessment
that was developed to comply with NEPA.

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project. The aquaculture-specific water quality conditions placed in the NPDES permit will generally include
a comprehensive environmental monitoring plan. The applicant will be required to monitor and sample certain
water quality, sediment, and benthic parameters at a background (upstream) location and near the cage
occuring at a frequency that is correlated to fish production levels. Additionally, the NPDES permit will include
effluent limitations expressed as best management practices (BMPs) for feed managment, waste collection and
disposal, harvest discharge, carcass removal, materials storage, maintenance, record keeping, and training.
Moreover, the NPDES permit will also require a quality assurance plan to ensure appropriate standards are
met when sampling and emergency management plan to establish operational procedures during disaster events
such as hurricanes.

6.2     Benthic EFH

Discharges from net-pen aquaculture can impact benthic habitat due to the deposition of solid wastes,
comprised of fish feces and uneaten food, onto the seafloor. Due to factors concerning the small size of the
project and relatively small amounts of pollutants discharged, location, over bottom depth, and average current
velocity, the discharges of solid wastes from the cage are expected to have only minor impacts on benthic
habitat and the supported communities.

Modeling of the project estimates the total solids discharge occurring at maximum fish biomass to be about 83
kg/day and organic carbon at 28 kg/day. The slow settling velocities of fecal and food pellets, 0.032 m/s and
0.095 m/s respectively, and variability in current directionality, should cause solids deposition to be distributed
over a large area of the seafloor. Assuming a direct relationship between waste loading and fish biomass, based
on several estimates from large scale fish farms
seafloor will range from 1.0-4.0 g/m2/day with about 35% of that as organic carbon.

6.2.1 Vegetated Bottoms
Seagrasses and macroalgae have long been recognized as important primary producers in marine habitats. Due
to the depths of the area affected by the proposed draft permit, seagrasses are unlikely to be present. The
distribution of benthic algae is ubiquitous throughout the Gulf from bays and estuaries out to depths of 200 m.
It is a significant source of food for fish and invertebrates. The wide gently sloping continental shelf,
particularly in the eastern Gulf, provides a vast area where benthic species of algae can become established
and drift along the bottom and continue to grow even when detached from the substrate. Benthic algae also
form large mats that drift along the bottom. The cage employed will be anchored within an expanse of
unconsolidated sediments unlikely to have attached algal communities. Nutrient loading from the small
amounts of deposited solid wastes are not likely to effect marine plants.

6.2.2 Unconsolidated Sediments
Unconsolidated sediments provide habitat for a diverse invertebrate community consisting of several hundred
of burrowing species and well as benthic fish and macro-invertebrate communities living directly on the sea
floor. These habitats also provide foraging for fishes associated with nearby demersal habitat. Unconsolidated
seafloor habitat may affect shrimp and fish distributions directly in terms of feeding and burrowing activities
or indirectly through food availability, water column turbidity, and related factors. The small amounts of solid
waste deposition predicted from the proposed project should minimize any potential physical impacts to
unconsolidated seafloor habitat. Organic carbon loading is likely to have little measurable effect on associated
benthic communities.

6.2.3 Live Bottoms
Live bottoms are defined as those areas that contain biological assemblages consisting of such sessile
invertebrates as sea fans, sea whips, hydroids, anemones, ascidians, sponges, bryozoans, seagrasses, or corals
living upon and attached to naturally occurring hard or rocky formations with rough, broken, or smooth
topography favoring the accumulation of turtles and fishes. These communities are scattered across the shallow

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waters of the west Florida Shelf and within restricted regions of the rest of the Gulf. Hard substrate on the west
Florida shelf ranges from scattered low relief limestone outcroppings to major structures or groups of structures
which are high relief, biologically developed areas with extensive inhabitation by hermatypic corals, octocorals
and related communities. Additionally, the NPDES will require the proposed facility to be placed at least 500
meters from any hardbottom habitat to protect those communities from physical impacts due to the deposition
of solids and potential impacts due to organic enrichment; the DA permit will not authorize the anchor system
to be placed on vegetated and/or hardbottom habitat (see mitigation measures shown in Section 7).

6.2.4 West Florida Shelf
The west Florida shelf is composed mainly of carbonate sediments. These sediments are in the form of quartz-
shell sand (> 50 percent quartz), shell-quartz sand (< 50 percent quartz), shell sand, and algal sand. The bottom
consists of a flat limestone table with localized relief due to relict reef or erosional structures. The benthic
habitat types include low relief hardbottom, thick sand bottom, coralline algal nodules, coralline algal
pavement, and shell rubble. The west Florida shelf provides a large area of scattered hard substrates, some
emergent, but most covered by a thin veneer of sand, that allow the establishment of a tropical reef biota in a
marginally suitable environment. The only high relief features are a series of shelf edge prominences that are
themselves the remnants of extensive calcareous algal reef development prior to sea level rise and are now, in
most cases, too deep to support active coral communities.

Along the west Florida shelf are areas with substantial relief. In an area south of the Florida Middle Grounds,
in water depths of 46 to 63 m, is a ridge formed from limestone rock termed the Elbow, and it is about 5.4 km
at its widest and has a vertical relief of 6.5 to 14 m. South of Panama City are two notable areas with high
relief. The Madison Swanson Marine Reserve are in 66 to 112 m of water and have rock ledges with 6 to 8 m
of relief and are covered with coral and other invertebrate growth. The Mud Banks are formed by a ledge that


ledges are parallel to the 36.5-m isobath and have relief of 5.5 to 9 m. The features listed above are part of a
larger area of shelf-edge reefs that extend along the 75-m isobath offshore of Panama City to just north of the
Tortugas which also includes the Twin Ridges, The Edges, Steamboat Lumps Marine Reserve (Koenig et. al:
2000). According to Koenig et. Al (2000), the northeastern portion of this area represents the dominant
commercial fishing grounds for gag and contains gag and scamp spawning aggregation sites. Two of the areas,
Madison Swanson and Steamboat Lumps, were designated as marine reserves on June 19, 2002 for a four-year
period to protect a portion of the gag spawning aggregations and to protect a portion of the offshore population
of male gag.

Another west Florida shelf region with notable coral communities is bounded by the waters of Tampa Bay on
the north and Sanibel Island on the south. The area consists of a variety of bottom types. Rocky bottom occurs
at the 18 m contour where sponges, alcyonarians, and the scleractinians Solenastrea hyades and Cladocora
arbuscula are especially prominent.

The Pulley Ridge HAPC is a 100+ km-long series of north-south trending, drowned, barrier islands
approximately 250 km west of Cape Sable, Florida. The ridge is a subtle feature about 5 km across with less
than 10 m of relief. The shallowest parts of the ridge are about 60 m deep. The southern portion of the ridge
hosts an unusual variety of zooxanthellate scleractinian corals, green, red and brown macro algae, and typically
shallow-water tropical fishes. The corals Agaricia sp. and Leptoceris cucullata are most abundant, and form
plates up to 50 cm in diameter and account for up to 60% live coral cover at some localities. Less common
species include: Montastrea cavernosa, Madracis formosa, M. decactis, Porities divaricata, and Oculina
tellena. Sponges, calcareous and fleshy algae, octocorals, and sediment occupy surfaces between the corals.
Coralline algae appear to be producing as much or more sediment than corals, and coralline algal nodule and
cobble zones surround much of the ridge in deeper water (greater than 80 m). The fishes of Pulley ridge
comprise a mixture of shallow water and deep species with more than 60 species present.

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7.0      Federal Action Agency Determination and Mitigation

The implementing regulations of MSA define adverse effect as any impact that reduces quality and/or quantity
of EFH. Adverse effects may include direct or indirect physical, chemical, or biological alterations of the
waters or substrate and loss of, or injury to, benthic organisms, prey species and their habitat, and other
ecosystem components, if such modifications reduce the quality and/or quantity of EFH. Adverse
effects to EFH may result from actions occurring within EFH or outside of EFH and may include site-specific
or habitat-wide impacts, including individual, cu                                                  (50 CFR
600.910(a)).

The EPA and USACE have determined that the minimal short-term impacts associated with the discharge will
not result in substantial adverse effects on EFH, HAPC, or managed species in any life history stage, either
immediate or cumulative, in the proposed project area. A summary of findings is presented in Table 4. Any
potentially harmful physical characteristics and chemical constituents present at the time of discharge should
disperse rapidly as the waste streams undergo physical dilution processes. Major adverse impacts to any
benthic or demersal EFH are unlikely to occur as a result of the discharge. The high degree temporal and spatial
patchiness regarding the distribution of plankton assemblages in the water column should greatly limit
plankton exposure to potentially harmful water quality conditions. Major adverse impacts to any benthic EFH
are unlikely to occur because of the installation of the proposed MAS mooring system.

The EPA will require mitigation measures to be incorporated into the NPDES permit to avoid or limit organic
enrichment and physical impacts to habitat that may support associated hardbottom biological communities.
The NPDES permit will require a condition that the proposed project must be positioned at least 500 m from
any hardbottom habitat. The DA permit condition will state that the proposed MAS anchor system shall be
installed on substrate devoid of vegetated and/or hardbottom habitat.

The federal action agencies used multiple sources to support the determinations described within this EFH
assessment including the analysis of potential impacts that the NMFS used as the basis for its EFH
determination for up to twenty commercial scale offshore marine aquaculture facilities in the Gulf (NMFS,
2009). Additionally, the EFH determination for the proposed project is also supported by the NMFS
concurrence with                               the eastern Gulf Oil and Gas General NPDES Permit (NMFS,
2016). These assessments and determinations have been provided to the NMFS and are incorporated by
reference pursuant to 50 CFR § 600.920(e)(5).11 The EPA and USACE request concurrence from the NMFS
for this EFH determination under the MSA Section 305(b)(2).




11
                                       The assessment may incorporate by reference a completed EFH Assessment prepared for a similar
action, supplemented with any relevant new project specific information, provided the proposed action involves similar impacts to EFH in
the same geographic area or a similar ecological setting. It may also incorporate by reference other relevant environmental assessment
documents. These documents must be provided to NMFS with the EFH


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Table 4: Summary of Potential Impacts to EFH and Geographically Defined HAPC



EFH                                         Presence   Impact Assessment       Reason
Continental Shelf Fisheries                 Yes        No Significant Impact   No exposure
Coral Reefs                                 No         No Significant Impact   Not present
Geologic Features                           Yes        No Significant Impact   No exposure
Live Bottoms                                Yes        No Significant Impact   Limited solid waste deposition
Non-vegetated Bottoms                       Yes        No Significant Impact   Limited solid waste deposition
Vegetated Bottoms                           Yes        No Significant Impact   Limited solid waste deposition
Water Column                                Yes        No Significant Impact   Low levels of ammonia and BOD will
                                                                               be quickly diluted and dissipated
West Florida Shelf                          Yes        No Significant Impact   Limited solid waste deposition
Habitat Ares of Particular Concern          Presence   Impact Assessment       Reason
Dry Tortugas                                No         No Significant Impact   Avoided
Florida Bay                                 No         No Significant Impact   Avoided
Florida Keys National Marine Sanctuary      No         No Significant Impact   Avoided
Florida Middle Grounds                      No         No Significant Impact   Avoided
Madison-Swanson and Steamboat Lumps         No         No Significant Impact   Avoided
Marine Reserves
Pulley Ridge                                No         No Significant Impact   Avoided




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Appendix B Location Area




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                                                    August 23, 2019


 Ms. Mary Jo Bragan, Chief
 NPDES Permitting and Enforcement Branch
 Water Protection Division
 United States Environmental Protection Agency
 Region 4, Atlanta Federal Center
 61 Forsyth Street
 Atlanta, Georgia 30303-8960

 Attention: Ms. Meghan Wahlstrom-Ramler

 Dear Ms. Bragan,

 NOAA’s National Marine Fisheries Service (NMFS), Southeast Region, Habitat Conservation
 Division has reviewed your staff’s email and revised essential fish habitat (EFH) assessment
 dated August 2, 2019, regarding issuance of the U.S. Environmental Protection Agency’s (EPA)
 National Pollutant Discharge Elimination System (NPDES) Permit Number FL0A00001. The
 U.S. Army Corps of Engineers also received an application for a Rivers and Harbors Act Section
 10 permit for structures and work affecting navigable federal waters at the same facility. The
 project applicant, Kampachi Farms, LLC is proposing to operate a pilot-scale marine aquaculture
 facility, Velella Epsilon, in federal waters of the Gulf of Mexico in 130 feet of water
 approximately 45 miles southwest of Sarasota, Florida.

 The NMFS previously completed our EFH consultation for this project on March 12, 2019. The
 EPA’s revised EFH assessment includes the following proposed project design changes:

    (1) The anchoring system for the project would utilize either deadweight or embedment style
        anchors. Final anchor style(s) would be placed within three to 10 feet deep unvegetated
        sandy sediments and sited through diver-assisted placement on the sea floor when
        deployed.

    (2) The NPDES permit will include mitigation measures requiring the proposed facility to be
        placed at least 500 meters from any hardbottom habitat to protect those communities
        from physical impacts due to the deposition of solids and potential impacts due to organic
        enrichment.

 The August 2, 2019, EFH assessment includes a determination that issuance of the NPDES and
 Section 10 permits for the Kampachi Farms project will not result in substantial adverse effects
 on EFH. We concur with the EPA’s determination in the EFH assessment. Therefore, NMFS
 has no EFH conservation recommendations to provide. Assuming the NPDES and Section 10
 Permits are not further revised, this satisfies the consultation procedures outlined in 50 C.F.R.
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 Section 600.920 of the regulation to implement the EFH provisions of the Magnuson-Stevens
 Act.

 Thank you for your consideration of these comments. Please contact Mr. Mark Sramek at the
 letterhead address, through email at Mark.Sramek@noaa.gov or by calling (727) 824-5311 if you
 have questions regarding these comments.

                                                  Sincerely,




                                                  Virginia M. Fay
                                                  Assistant Regional Administrator
                                                  Habitat Conservation Division

 cc: File
     DIR Blough
     F/SER Silverman, Beck-Stimpert
     F/SER2 Malinowski
     F/SER3 Bernhart, Lee, Powell
     F/SER4 Fay, Dale, O’Day
     F/SER46 Sramek
     NOS NCCOS Riley
     USACE Tampa Damico




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         Appendix F
Coastal Aquaculture Siting and Sustainability
NCCOS/National  Ocean
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                                CASS Technical Report
                                Environmental Modelling to Support NPDES Permitting for
                                Velella Epsilon Offshore Demonstration Project in the
                                Southeastern Gulf of Mexico
                                Lead Scientists: Kenneth Riley, Ph.D. and James Morris, Ph.D.
                                Environmental Engineer: Barry King, PE
                                Submitted to Jess Beck (NMFS) and Kip Tyler (EPA), July 19, 2018


        This analysis uses an environmental model to simulate effluent to inform the NMFS Exempted
        Fishing Permit (EFP) and EPA National Pollutant Discharge Elimination System (NPDES) Permit
        for the Velella Epsilon Offshore Demonstration Project. Kampachi Farms, LLC (applicant)
        proposes to develop a temporary, small-scale demonstration net pen operation to produce two
        cohorts of Almaco Jack (Seriola rivoliana) at a fixed mooring located on the West Florida Shelf,
        approximately 45 miles offshore of Sarasota, Florida (Figure 1; Table 1). Scientists from the
        NOAA Coastal Aquaculture Siting and Sustainability (CASS) program worked with the EPA
        project manager and the applicant to develop estimates of effluents and sediment related
        impacts for the offshore demonstration fish farm.

        A numerical production model for two cohorts of Almaco Jack was constructed based upon
        anticipated farming parameters including configuration (net pen volume and mooring
        configuration), fish production (species, biomass, size) and feed input (feed rate, formulation,
        protein content). Using industry standard equations, daily estimates of biomass, feed rates, total
        ammonia nitrogen production, and solids production (see Microsoft Excel Spreadsheet – Velella
        Epsilon Production Model) were developed under a production scenario to estimate the
        maximum biomass of 20,000 fish that would be grown to 1.8 kg in approximately 280 days. The
        total biomass produced with one cohort and no mortality was determined to be 36,280 kg. The
        density in the cage at harvest would be 28 kg/m3. Fish will be fed a commercially available
        growout diet with 43% protein content. Daily feed rations range from 12 kg at stocking to a
        maximum total daily feed ration equivalent to 399 kg at harvest. Maximum daily excretion of
        total ammonia nitrogen is estimated at 16 kg and solids production is 140 kg. A total of 66,449



        The Coastal Aquaculture Siting and Sustainability (CASS) program supports works to provide science-based decision
        support tools to local, state, and federal coastal managers supporting sustainable aquaculture development. The CASS
        program is located with the Marine Spatial Ecology Division of the National Centers for Coastal Ocean Science, National
        Ocean Service, NOAA. To learn more about CASS and how we are growing sustainable marine aquaculture practices at:
        https://coastalscience.noaa.gov/research/marine-spatial-ecology/aquaculture/ or contact Dr. Ken Riley at
        Ken.Riley@noaa.gov.
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kg of feed will be used for production of each cohort of fish to achieve a feed conversion ratio
(FCR) of 1.8. Summary statistics were developed for each cohort and the entire project (Table
2).

Table 1. Boundary locations for the Velella Epsilon Offshore Aquaculture Project.

         Location                     Latitude                   Longitude

 Northwest corner                   27.072360 N                -83.234709 W

 Northeast corner                   27.072360 N                -83.216743 W

 Southwest corner                   27.056275 N                -83.216743 W

 Southeast corner                   27.056275 N                -83.234709 W




Figure 1. Bathymetric map of proposed Velella Epsilon Offshore Aquaculture Project.
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Table 2. Summary statistics for the Velella Epsilon Offshore Aquaculture Project.

     Farming parameter                          Value
 Growout duration                        280 days per cohort
 Total number                           20,000 fish per cohort
 Individual size at harvest                     1.8 kg
 Maximum biomass                              36,280 kg
 Cage density at harvest                      28 kg/m3
 Maximum daily feed rate                       399 kg
 Total feed used                              66,449 kg
 Feed conversion ratio                           1.8


In order to estimate sediment related impacts, a depositional model (DEPOMOD; Cromey et al
2002) was parameterized with data from the production model and environmental and
oceanographic data on the proposed offshore location. DEPOMOD is the most established and
widely used depositional model for estimating sediment related impact from net pen operations.
DEPOMOD is a particle tracking model for predicting the flux of particulate waste material (with
resuspension) and associated benthic impact of fish farms. The model has been proven in a wide
range of environments and is considered through extensive peer-review to be robust and
credible (Keeley et al 2013). Although this modelling platform was initially developed for
salmon farming in cool-temperate waters (Scotland and Canada), it has since been applied and
validated with warm-temperate and tropical net pen production systems (Magill et al. 2006;
Chamberlain and Stucchi 2007; Cromey et al. 2009; Cromey et al. 2012). Coastal managers
responsible for permitting aquaculture worldwide have been using this modelling platform
because it produces consistent results that are field validated and comparable (Chamberlain and
Stucchi 2007; Keeley et al 2013). It is routinely used in Scotland and Canada to set biomass (and
thereby feed use) limits and discharge thresholds of in-feed chemotherapeutants (SEPA 2005).
Further, the model output has been used to develop comprehensive and meaningful monitoring
programs that ensure environmentally sustainable limits are not exceeded (ASC 2012).

Traditionally a baseline environmental survey is used to inform water quality and depositional
models with site specific analysis of currents, tidal flows, sediment profiles, and benthic infaunal
profiles (species richness and abundance). In the absence of a survey, data were collected from
oceanographic and environmental observing systems in the vicinity of the project area. Current
data were obtained from NOAA Buoy Station 42022 along the 50-m isobath and located 45 miles
northwest of the project location (27.505 N, 83.741 W). Currents were recorded continuously
from July 2015 through April 2018. Currents were measured at 1-meter intervals from 4.0
meters to 42.0 meters below the surface (Table 3). Bathymetric data were obtained from the

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NOAA Coastal Relief Model. Bathymetry was resampled to 10 x 10 meter grid cells using a
bilinear interpolation to all for use within the deposition model.

Table 3. Water column related impacts for the Velella Epsilon Offshore Aquaculture Project.
Values represent summation of daily values over a 280-day production cycle.

            Parameter                        Value (kg)
 Total solids production                       23,257
 Total ammonia nitrogen                         2,743
 Total oxygen consumption                      16,612
 Total carbon dioxide production               19,187


The depositional model was executed for two different production simulations that assume
maximum standing biomass and maximum feed rate, which is characteristic when the fish are at
pre-harvest size. The first simulation represented the maximum standing biomass for the Velella
Epsilon Offshore Aquaculture Project. The model was run for 365 days assuming a net pen with
a constant daily standing biomass at 36,275 kg (28 kg/m3) and a daily feed rate of 1.1 percent of
biomass or equivalent to 399 kg of feed. The second simulation doubled production to assess
sediment related impacts at higher levels of biomass and feed rates. The second simulation at a
higher level of production was intended to aid EPA in development of an environmental
monitoring program. Under the second simulation, the model was run for 365 days assuming
two net pens each with a combined constant daily standing biomass at 72,550 kg (28 kg/m3 per
net pen) and a daily feed rate of 1.1 percent of biomass or equivalent to 798 kg of feed.

Waste feed and fish fecal settling rates are important determinants of distance that these
particles will travel in the current flow. The model does not allow the settling velocity of
particles to change through the growing cycle. The values used for feed and feces represented
those that would be encountered during the period of highest standing biomass, largest feed
pellet size, and highest waste output. Each simulation assumed maximum standing biomass each
day of the simulation with a fecal settling velocity at 3.2 cm/s. Many marine fish have fecal
settling velocities ranging from 0.5 to 2.0 cm/s, while salmonids tend to have higher settling
velocities ranging from 2.5 to 4.5 cm/s. Fecal settling velocities applicable to salmon production
were used because they are well studied, validated, and allow for maximum benthic impact
assessment. Standard feed waste was estimated at 3% and the food settling velocity was 9.5
cm/s. Pelleted fish feed is the single largest cost of fish farming, and because of this expense,
farms use best feeding practices to ensure minimal loss. Feed digestibility and water content
were set at 85% and 9%, respectively, which are standards based on technical data provided by
feed manufacturers. All other model parameters were consistent with existing net pen farm
waste modelling methodologies (Cromey et al. 2002a,b) and regulatory farm modelling
standards (SEPA 2005).
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Figure 2. Distribution of current velocities (cm/s) and direction for NOAA Buoy Station 42022
located along the 50-m isobath approximately 45 miles northwest of project location. Currents
are reported for water column depths of 4 m, 24 m, and 36 m.

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Table 4. Current velocities (cm/s) for NOAA Buoy Station 42022 located along the 50-m isobath
approximately 45 miles northwest of project location. Average current velocities are reported
with standard deviation.

     Depth             Average current         Maximum current
      (m)                  (cm/s)                  (cm/s)
         4                 14.6 ± 8.1                    83.9
         10                12.8 ± 8.0                    80.3
         20                12.2 ± 7.3                    67.6
         30                13.8 ± 8.2                    70.8
         40                12.9 ± 7.6                    68.7


Table 5. Model settings applied for depositional simulations of an offshore fish farm in the Gulf
of Mexico.

 Input variable                                Setting
 Feed wastage                                    3%
 Water content of feed pellet                    9%
 Digestibility                                   85%
 Settling velocity of feed pellet             0.095 m/s
 Settling velocity of fecal pellet            0.032 m/s


Offshore fish farms can be managed in terms of maximum allowable impacts to water quality
and sediment that are based on quantifiable indicators. This project will be difficult to monitor
and detect environmental change because of the relatively low level of production associated
with a demonstration farm and the nature of the net pen configuration deployed and moving
about on a single point mooring.

Overall, this analysis found that the proposed demonstration fish farm is not likely to cause
significant adverse impacts on water quality, sediment, or the benthic infaunal community.
Water quality modelling demonstrated that at the maximum farm production capacity of 36,280
kg only insignificant effects would occur in the water column. We believe that the excreted
ammonia levels of 16 kg per day will be rapidly diluted to immeasurable values near (within 30
meters) of the net pen under typical flow regimes of 12.8 ± 8.0 cm s-1. Dilution models could be
used to estimate nearfield and farfield dilution as used in conventional ocean outfall systems.

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However, based on our experience with offshore aquaculture installations and development of
modeling and monitoring programs, we believe that ammonia levels will be difficult to detect
beyond the zone of initial dilution.

The model does not allow the net pen or mooring configuration to move in space or time,
therefore, the model was executed at a fixed location (27.064318, -83.225726) in the center of
the project location (i.e., farm footprint). Net depositional flux was predicted in g m-2 yr-1 on a
two-dimensional grid overlaid on the farm footprint. The grid size was selected such that it
would encompass the whole depositional footprint. The distribution of deposited materials
beneath the cage is a function of local bathymetry and hydrographic regime. In low current
speed environments, only limited distribution of the solids footprint occurs. As current speeds
increase, greater dispersion of solids occurs during settling resulting in a more distributed
footprint. Greater water depth at a site results in increased settling times and result in a more
distributed footprint. Solids distribution is even greater where bottom current speeds are high
causing sediment erosion and particle resuspension and redistribution.

The predicted carbon deposition and magnitude of biodeposition for the single and dual cage
scenarios were estimated over a 2.04 km by 2.04 km evaluation grid. The grid is partitioned into
cells numbering 82 east-west by 82 north-south and identified as 1-82 in both directions. The
units of the axes in both Figures 3 and 4 are these cell counts. The dimension of a single cell
therefore is 2,040m/82=24.87 m. The depositional model predicted and integrated at each one-
hour step, the total carbon that ended up in each cell in the model grid, of which there are 82 x
82 = 6,724 cells. At the end of an execution run the accumulated mass of carbon within each cell
is reported. Predicted annual benthic carbon deposition are presented in Figures 3 and 4.
Frequency histograms of the carbon deposition per cell were created to help with interpretation
of results. The depositional data derived from the frequency histograms are presented in Table
6 and 7.

Table 6 shows the distribution of carbon that results from a single net pen operated for one year
at maximum standing biomass. Of the 6,724 computational cells, 1,386 had no carbon from the
farm. Over 88% of the cells received less than or equal to 1 gram of carbon. Only 2 cells on the
farm measured more than 4 grams of carbon over the year-long simulation.

Table 7 shows the distribution of carbon that results from a two net pens operated for one year
at maximum standing biomass. Similar to the depositional model with one cage, over 75% of the
cells received less than or equal to 1 gram of carbon. One cell was calculated to receive more
than 11 grams, but it is a minuscule mass of carbon to be assimilated by a square meter of ocean
bottom.




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Table 6. Frequency of carbon deposition within 6,724 cells, each measuring 619 m2, over a
4.16-km2 grid system. Values represent an annual sum of carbon deposition resulting from an
offshore fish farm with a constant standing stock biomass of 36,275 kg.

  Carbon deposition           Occurrence              Frequency
      (g/m2/yr)                  (N)                     (%)
             0                   1,386                   20.6
          0.1 – 1.0              4,561                   67.8
          1.1 – 2.0               620                     9.2
          2.1 – 3.0               141                     2.1
          3.1 – 4.0                14                     0.2
          4.1 – 5.0                2                     0.03


Table 7. Frequency of carbon deposition within 6,724 cells, each measuring 619 m2, over a
4.16-km2 grid system. Values represent an annual sum of carbon deposition resulting from an
offshore fish farm with a constant standing stock biomass of 72,550 kg.

  Carbon deposition           Occurrence              Frequency
      (g/m2/yr)                  (N)                     (%)
             0                    999                    14.9
          0.1 – 1.0              4,086                   60.8
          1.1 – 2.0               903                    13.4
          2.1 – 3.0               390                     5.8
          3.1 – 4.0               200                     3.0
          4.1 – 5.0                75                     1.1
          5.1 – 6.0                40                     0.6
          6.1 – 7.0                20                     0.3
          7.1 – 7.0                7                      0.1
          8.1 – 9.0                3                     0.04
         9.1 – 10.0                0                      0.0
         10.1 – 11.0               0                      0.0
         11.1 – 12.0               1                     0.01


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Because of physical oceanographic nature of the site including depth and currents (>10 cm/sec),
dissolved wastes will be widely dispersed and assimilated by the planktonic community (Rensel
et al. 2017). The results of the depositional model show that benthic impacts and accumulation
of particulate wastes would not be detectable or distinguishable from background levels through
measurement of organic carbon, even when the standing stock biomass is doubled. The final
component or step in the modeling process is to predict some measure of change in the benthic
community as a result of increased accumulation of waste material. Deposition of nutrients may
result a minor increase in infaunal invertebrate population or no measureable effect whatsoever.

As part of the model assessment, benthic community impact was predicted by an empirical
relationship between depositional flux (deposition and resuspension) and the Infaunal Trophic
Index (ITI). The ITI is a biotic index that has been used to quantitatively model changes in the
feeding mode of benthic communities and community response to organic pollution gradients
(Word 1978, 1980; Maurer et al. 1999). ITI scores are calculated based on predicted solids
accumulation on the seabed (g m-2 yr-1). ITI scores range from 0 to 100 g m-2 yr-1 and are banded
in terms of impact as:

         60 < ITI < 100 – benthic community normal
         30 < ITI < 60 – benthic community changed
         ITI < 30       – benthic community degraded.

Correlations between predicted solids accumulation and observed ITI and total infaunal
abundance have been established using data from numerous farm sites around the world.
Among the findings of these studies, a completely unperturbed benthic community at
equilibrium is considered to have an ITI of 60 and an ITI rating of 30 is the boundary where the
redox potential of the upper sediment goes from positive to negative and sulfide production
begins. A standard approach in Europe and Canada is to use an ITI of 30 as a lower limit for
acceptable impacts. In the present study with the Velella Project, the two model simulations
resulted in ITI predictions ranging from 58.67 to 58.81. The predicted ITI close to 60 suggests
that the Velella Project, as proposed, will not likely have a discernable impact on the sediment or
benthic infaunal community around the site.

In summary, the resulting model predictions covered a range of outputs representing both
submitted farming parameters and a worst-case scenario (doubled standing stock biomass) for
the Velella Epsilon Project. We conclude that there are minimal to no risks to water column or
benthic ecology functions in the subject area from the operation of the net pen as described in
Kampachi Farms, LLC applications for EFP and NPDES permits.




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Figure 3. Predicted annual benthic carbon deposition field beneath one net pen with a standing
stock biomass of 36,280 kg of Almaco Jack (Seriola rivoliana). Gray circle indicates center
position of the net pen. Axes indicate simulation cell numbers and deposition mass is in grams.




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Figure 4. Predicted annual benthic carbon deposition field beneath two net pens with a standing
stock biomass of 72,560 kg of Almaco Jack (Seriola rivoliana). Gray circle indicates center
position of the net pen. Axes indicate simulation cell numbers and deposition mass is in grams.
The center of the pens is located at (27.056275 N, -83.216743 W). Predicted carbon loading was
derived from the 12-month time series relationship based on depositional flux with
resuspension.


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Coastal Aquaculture Siting and Sustainability
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                             CASS Technical Report
                             Addendum: Environmental Modelling to Support NPDES
                             Permitting for Velella Epsilon Offshore Demonstration
                             Project in the Southeastern Gulf of Mexico
                             Lead Scientists: Kenneth Riley, Ph.D. and James Morris, Ph.D.
                             Environmental Engineer: Barry King, PE
                             Submitted to Kip Tyler (EPA), September 23, 2020
         This report is submitted as an addendum to the report “Environmental Modelling to Support NPDES
         Permitting for Velella Epsilon Offshore Demonstration Project in the Southeastern Gulf of Mexico” of
         August 2018. The Environmental Protection Agency (EPA) is preparing to issue an NPDES permit for
         the Velella Epsilon Offshore Demonstration Project. The applicant, Kampachi Farms, LLC (now
         Ocean Era, Inc.), proposes to develop a temporary, small-scale demonstration net pen operation to
         produce a single cohort of Almaco Jack (Seriola rivoliana) at a fixed mooring located on the West
         Florida Shelf, approximately 45 miles offshore of Sarasota, Florida. With this addendum, scientists
         from the NOAA Coastal Aquaculture Siting and Sustainability (CASS) program continued to work
         with the EPA NPDES permitting program to develop estimates of farm discharge deposition on the
         seabed and surrounding benthic community. Specifically, the farm simulation was executed for five
         years at the maximum stocking density, with the predicted feed and fish waste daily contributions. The
         most recent version of DEPOMOD modelling software (i.e., NewDEPOMOD) was used to calculate
         the distribution and deposition of solid materials at the project location.

         Current data were obtained from NOAA Buoy Station 42022 along the West Florida Shelf at the 50-m
         isobath and located 45 miles northwest of the project location (27.505 N, 83.741 W). The buoy is
         owned and data are collected by the University of South Florida Coastal Ocean Monitoring and
         Prediction System with support from the U.S. Integrated Ocean Observing System. Lacking five
         continuous years of water column flow data at the site, a single year of current data from the original
         simulation was used to produce the assumed current profile at the project location. Given that single
         year current data was used for this model, year-to-year variability in oceanographic patterns that are
         associated with changing climate and weather patterns, water temperature, and storm tracks (e.g.,
         hurricanes) are not evaluated.

         As previously reported, bathymetric data were obtained from the NOAA Coastal Relief Model.
         Bathymetry was resampled to 25 x 25 meter grid cells using a bilinear interpolation to all, for use
         within the deposition model. The characterization of the site and composition of benthic surfaces were
         informed by U.S. Geological Survey offshore surficial sediment data (usSEABED) that describes
         seabed characteristics, including textural, geochemical, and compositional information for the Gulf of
         Mexico. The benthic surfaces for the project location were also informed by acoustic survey and sub-
         bottom profile data included with the applicant’s Baseline Environmental Survey (BES). Sediment
         samples, including core or grab samples, were not collected or analyzed as part of the BES. Without
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knowing explicitly the hydraulic roughness of the benthic surface at the project location, the model
was run (as previous) with the assumption of a smooth benthic surface characteristic of unconsolidated
sediments (coarse to fine grain sand bottom) such as those common on the West Florida Shelf.
Modelling with a smooth benthic surface and reduced roughness tends to lower the bed shear stress
and increase resuspension.

The model does not allow the net pen or mooring configuration to move in space or time, therefore,
the model was executed at a fixed location (27.064318, -83.225726) in the center of the project
location (i.e., farm footprint). The model domain also remained as reported. The model domain was
set to encompass the whole initial depositional footprint under average current velocities estimated at
20 cm/s and with particles settling at rates faster than 0.75 cm/s. The dimensions for the model domain
are standards required by the Scottish Environmental Protection Agency for marine aquaculture
operations. The domain also captures reasonable efficiency in processing large data sets or long time-
series data (i.e., model requires 24-36 hours to process). The predicted carbon deposition and
magnitude of biodeposition were estimated over a 2.04 km by 2.04 km evaluation grid. The grid is
partitioned into square cells with sides measuring 24.87 m and cells numbering 82 east-west by 82
north-south with cells identified as 1-82 in both directions. The modelling software reports the average
solids and carbon within each cell as grams per square meter at the moment it is queried, typically at
the end of the simulation period.

This model execution did not allow the settling velocity of particles to change through the growing
cycle. The values used for feed and feces represented those that would be encountered during the
period of highest standing biomass, largest feed pellet size, and highest waste output from the net pen
operation. Each simulation assumed maximum standing biomass each day of the simulation with fecal
settling and food settling velocities applicable to salmon production at 3.5 and 9.5 cm/s, respectively.
The values for fecal settling velocity may have implications for dispersion. For this study, a
conservative settling velocity (3.5 cm/s) was used to assess the maximum extent of fecal deposition on
benthic surfaces. Knowledge of the physical properties of fish feces under net pen conditions is
rudimentary. Most reported literature addresses the fecal stability, density, and settling velocity (3.5
cm/s) of farmed salmon (Reed et al. 2009). Data on fecal settling velocity for Amberjack (Seriola spp.)
are scarce. Amberjack feces are shapeless and unstable in the water column (e.g., lacking
cohesiveness). The species has a reported fecal settling velocity of about 1.6 cm/s owing to its smaller
size and density (Fernandes and Tanner 2008).

The model was run for 1,825 days assuming a net pen with a constant daily standing biomass at
36,288 kg (22.85 kg/m3) and a daily feed rate of 1.1 percent of biomass or equivalent to 399 kg of
feed. Standard feed waste was estimated at 3%. The model simulates release of fecal and feed particles
from a net pen at hourly increments. Multiple particles are released representing different mass
percentages and different settling velocities defined in the set-up files. The particles are all tracked
throughout the domain at each time step over the duration of the simulation. Particles that are
transported out of the domain boundary at 1,020 m away at the closest, are lost and removed from the
calculations. Only masses of material that remain in the domain at the moment a surface is queried and

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recorded are reported. At high current velocity sites, such as this project location where the average
flow is 13 cm/s and peaking at 67 cm/s at 4 meters above the seabed (Figure 1), the bulk of settleable
solids from the aquaculture operation are dispersed outside of the simulation domain. It is expected
that these solids would continue to be oxygenated and transported along benthic surfaces downstream
where currents allow for deposition and resuspension. This particulate organic carbon would be
readily available and consumed by bacteria and benthic infauna.

SOFTWARE UPDATES
NewDEPOMOD (version 1.3, released July 2020) and previous versions of DEPOMOD are computer
models that have been developed by the Scottish Association of Marine Science to inform siting,
permitting, and regulation of marine fish farms. The model predicts the impact of farm deposition on
the seabed in order to optimize the operation of aquaculture sites to match the environmental capacity.
The Scottish Environmental Protection Agency has used the software for over a decade in direct
support of their aquaculture permitting standards.

NewDEPOMOD incorporates a range of features in its newest release including:
        improved predictive abilities for offshore aquaculture projects including the capacity to use
        three-dimensional hydrodynamic flow field data;
        an updated and characterized resuspension process using data from an extensive set of field
        measurements of erosion, resuspension and transport at farm sites;
        a new model framework for sediment deposition which allows the model to include varying
        bathymetry; and
        a model that produces conservative estimates of the holding capacity of a proposed site that can
        be tuned using data collected once a farm enters production to improve predictions, also useful
        for planning expansion of an existing farm.



ESTIMATING DEPOSITION AND MASS FLOW TO THE BENTHOS
Mass flows of solids onto the seabed were estimated from the mass of cultured fish on the farm and
the specific rate, which they are fed (Table 1). We developed a model for a 1,296-m3 net pen 1 with a
stocking density of 28 kg/m3, which will yield a biomass of 36,288 kg. An estimated 399.17 kg of feed
will be applied per day at a feeding rate of 1.1 percent of body weight. During permitting, the
applicants changed the net pen design to a larger volume, however the biomass within remained the
same at 36,288 kg which is the keystone value for the waste dispersion simulation.




1 After completion of modelling, it was noted by the EPA that minor changes occurred with submission of the Ocean

Era permit application. The net pen configuration changed as did the size of fish at harvest. The discrepancy in net
pen volume (1,296 m3 vs 1,588 m3) and fish size (1.8 kg vs. 2.0 kg), and the implications on model results are
negligible.
                                                          3
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With a feed moisture content of 9% and an estimated 3% food waste rate, the feed dry mass lost from
the net pen is: [ 399.17 kg feed * (100%-9% kg dry feed / kg feed) * 3% kg dry feed lost/kg dry feed]
= 10.89 kg dry feed lost to the environment each day, or 0.454 kg per hour.

Since the feed is measured as 49% carbon, the flux is: 10.89 kg dry feed wastage * 0.49 kg carbon/ kg
dry feed = 5.34 kg carbon per day from feed.

Similarly, for the fecal mass produced with the assumed 9% feed moisture and 85% utilization:
[(399.17 kg feed – 3% lost (11.97 kg)) * 15% fecal mass/mass of solid feed ingested * 91% kg solid
feed / kg feed] = 52.85 kg of fecal solids per day, or 2.2022 kg per hour.

Fecal matter is measured as 30% carbon and yields: 52.85 kg of fecal solids * 0.30 kg carbon / kg of
fecal solids = 15.85 kg carbon per day

Combining the flux masses for solids and carbon an estimated 63.74 kg of solids and 21.19 kg of
carbon are released into the environment each day from the demonstration project.

Table 1. Summary statistics for the Velella Epsilon Offshore Aquaculture Demonstration Project.

           Farming parameter                            Value
 Initial Total number                               20,000 fish
 Individual size at harvest                             1.8 kg
 Maximum biomass during growout                      36,288 kg
 Net pen density at harvest                         22.85 kg/m3
 Maximum daily feed rate                                399 kg
 Total feed used                                     66,449 kg
 Feed conversion ratio                                   1.8



Table 2 reports the mass flows of solids and carbon from the Velella Epsilon Offshore Aquaculture
Demonstration Project within the simulation domain. The bulk of released solids and their carbon are
lost from the domain, carried into the far-field by currents. Comparing values of solids in Table 2, the
simulation predicts that 3.63% of the solids remain within the simulation domain after five years.
There are periods in the water flow cycles when solids accumulation is variable in the domain, as
illustrated in Figure 2. The masses on the final day approximate the average concentrations.




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Table 2. Mass flows of solids and carbon from the Velella Epsilon Offshore Aquaculture
Demonstration Project within the simulation domain at the end of 5 years.

 Model Parameters and Simulation Results                                 Value
 Mass of feed applied (5 years)                                       728,481.60 kg
 Mass of feed wastage (5 years )                                       19,887.57 kg
 Mass of feed wastage carbon (5 years)                                  9,744.89 kg
 Mass of fecal materials (5 years)                                     96,454.61 kg
 Mass of fecal carbon (5 years)                                        28,936.38 kg

 Total mass dry solids released / day                                      63.75 kg
 Total mass dry solids released / year                                 23,268.43 kg
 Total mass dry solids released / 5 years                             116,342.17 kg
 Total mass carbon released / day                                          21.20 kg
 Total mass carbon released / year                                      7,736.25 kg
 Total mass carbon released / 5 years                                  38,681.27 kg

 Solids balance (Total solids within domain after 5 years)               4,224.87 kg
 % solids retained inside domain                                             3.63 %
 % solids exported outside domain                                           96.37 %

 Carbon balance (Total carbon within domain after 5 years)               1,406.13 kg
 % carbon retained inside domain                                             3.64 %
 % carbon exported outside domain                                           96.36 %


At the project location, water velocities are typical for currents along the West Florida Shelf. Figure 1
illustrates the water velocity at the Velella site at a depth of 36.7 meters or approximately 4.0 meters
above the seafloor. Currents at this project location will likely re-suspend feed wastes and fecal
materials transporting these solids across the seafloor. The simulation software calculates the
movement of the released solids using the particle characteristics, the nature of the seafloor, and the
velocity of the water body in the proximity of the seafloor.




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Figure 1. Water currents and flow velocity measured at 4 m above the seafloor.

Figure 2 illustrates the fate of the remaining solids within the domain over the five-year simulation,
calculated from the total mass of released solids, minus the total mass of solids that are exported out of
the simulation domain. The figure shows that over the five-year simulation solids on the seafloor
within the domain reach an equilibrium, at an average total mass of 4,013 kg. The leading edge of the
plot illustrates the point material accumulates on the seabed where it will eventually resuspend leading
to more material being transported away from the depositional site as currents reach the shear force
threshold. During the first days of operation little material was available for resuspension, all the
while, new material was being added at a constant 63.75 kg per day.

NewDEPOMOD reports distribution of solids as surface plots of either solids or carbon, it does not
distinguish between the sources of the carbon, either feed or fecal, and are combined. In Figure 3, the
distribution of carbon is plotted for the final hour of the five-year simulation. Within the software,
each surface plot generates its own scale to coincide with the colors on the map. The reader should use
caution when comparing plots.




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Figure 2. Predicted solids deposition beneath one net pen with a standing stock biomass of 36,288 kg
of Almaco Jack (Seriola rivoliana) after five-year farm simulation.


Figure 3 shows the carbon distribution over the 2,040 x 2,040 meter Velella simulation domain on day
number 1,830. The highest concentration of aquaculture sourced carbon on the site is 4.35 g/m2. Most
noticeable in this deposition prediction map is the wide distribution of carbon over 4 km2 with small
accumulations and no areas of excessive concentrations. Frequency histograms of the carbon
deposition per cell were created to help with interpretation of results. The depositional data derived
from the frequency histograms are presented in Table 3.
This wide dispersion and low concentration of carbon created the average Infaunal Trophic Index (ITI)
score for this final overall benthic surface of 58.96 out of 60. As previously reported, a predicted ITI
of close to 60 suggests that the Velella project will not likely have a discernable impact on benthic
communities around the project location. Similar to other studies reporting ITI as a measure of benthic
impacts from net pen operations, we do not expect significant impact on sediment redox potential or
sulfide production. For example, Hargrave (2010) and Keeley et al. (2013) extensively documented
correlations among the carbon deposition rate, redox potential, hydrogen sulfide concentration,
interstitial dissolved oxygen, and ITI. We believe that the Velella project will present challenges for
monitoring and detecting environmental impacts on sediment chemistry or benthic communities
because of the circulation around the project location and the small mass flows of materials from the
net pen installation. As the simulation illustrates, the high energy environment at the site and the mass

                                                   7
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flow of materials equilibrates at a resident total mass of waste products at approximately 4,000 kg with
local masses never exceeding more than 43.4 g solids per square meter for a single sample point over
the 5 year simulation.

CONCLUSION
There are minimal to no risks to sediment chemistry or benthic ecology functions in the project area
from the operation of the net pen as described in the Ocean Era, LLC application for an NPDES
permit.




Figure 3. Predicted benthic carbon deposition field beneath one net pen with a standing stock biomass
of 36,288 kg of Almaco Jack (Seriola rivoliana) after five years. Grey circle indicates center position
of the net pen. Axes indicate simulation cell numbers and carbon deposition mass is in grams.




                                                   8
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Table 3. Frequency of carbon deposition within 6,724 cells, each measuring 619 m2, over a 4.16-km2
grid system. Values represent an annual sum of carbon deposition resulting from an offshore fish farm
with a constant standing stock biomass of 36,288 kg.
  Carbon deposition             Occurrence                Frequency
      (g/m2/yr)                    (N)                       (%)
            0                       1,508                    22.43
        0.1 – 1.0                   4,526                    67.32
        1.1 – 2.0                    559                      0.08
        2.1 – 3.0                    111                      1.65
        3.1 – 4.0                    16                      < 0.01
        4.1 – 5.0                     4                      < 0.01



REFERENCES

Fernandes, M. and J. Tanner. 2008. Modelling of nitrogen loads from the farming of yellowtail
kingfish Seriola lalandi (Valenciennes, 1833). Aquac. Res. 39: 1328–1338.

Hargrave, B.T. 2010. Empirical relationships describing benthic impacts of salmon aquaculture.
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Keeley, N. B., C. J. Cromey, E. O. Goodwin, M. T. Gibbs, and C. M. Macleod. 2013. Predictive
depositional modelling (DEPOMOD) of the interactive effect of current flow and resuspension on
ecological impacts beneath salmon farms. Aquac. Env. Inter. 3(3): 275-291.

Reid, G. K., M. Liutkus, S. M. C. Robinson, T. R. Chopin, and others. 2009. A review of the
biophysical properties of salmonid faeces:implications for aquaculture waste dispersal models and
integrated multi-trophic aquaculture. Aquac. Res. 40:




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Appendix: Time-series simulation of predicted benthic carbon deposition beneath one net pen
with a standing stock biomass of 36,288 kg of Almaco Jack (Seriola rivoliana). The reader should
use caution comparing plots. The software generates a new legend for each plot in the time
series. The scale and color ramp varies with each surface plot.




                                               10
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Appendix: Time-series simulation of predicted benthic carbon deposition beneath one net pen
with a standing stock biomass of 36,288 kg of Almaco Jack (Seriola rivoliana). The reader should
use caution comparing plots. The software generates a new legend for each plot in the time
series. The scale and color ramp varies with each surface plot.




                                               11
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Appendix: Time-series simulation of predicted benthic carbon deposition beneath one net pen
with a standing stock biomass of 36,288 kg of Almaco Jack (Seriola rivoliana). The reader should
use caution comparing plots. The software generates a new legend for each plot in the time
series. The scale and color ramp varies with each surface plot.




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Appendix: Time-series simulation of predicted benthic carbon deposition beneath one net pen
with a standing stock biomass of 36,288 kg of Almaco Jack (Seriola rivoliana). The reader should
use caution comparing plots. The software generates a new legend for each plot in the time
series. The scale and color ramp varies with each surface plot.




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        Appendix G
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                                      Finding of No Significant Impact
                                      Ocean Era, Inc. Velella Epsilon
                     National Pollutant Discharge System Elimination (NPDES) Permit


Ocean Era, Inc (formerly Kampachi Farms, LLC) (applicant) is proposing to operate and discharge from a pilot-
scale marine aquaculture facility in federal waters of the Gulf of Mexico (Gulf) and has applied for a National
Pollutant Discharge Elimination (NPDES) permit from the U.S. Environmental Protection Agency, Region 4
(EPA).
The applicant requested a permit and authorizations for the Velella Epsilon project, which is a single net pen
demonstration project for open ocean aquaculture of marine finfish in federal waters of the Gulf. The applicant
needs an NPDES permit in order to operate and discharge from its proposed aquaculture facility in compliance
with the Clean Water Act (CWA).
The EPA is required to comply with the procedural requirements of the National Environmental Policy Act
(NEPA) when issuing NPDES permits under section 402 of the CWA for new sources, as defined in section
306 of the CWA. The proposed facility does not meet the definition of a new source under section 306 of the
CWA and therefore, is exempt from NEPA compliance under section 511(c) of the CWA and is not subject to
NEPA analysis requirements. Nevertheless, as a matter of policy, EPA voluntarily used NEPA procedures for this
proposed action since the Agency determined that such an analysis would be beneficial. See 63 FR 58045 (Notice
of Policy and Procedures for Voluntary Preparation of National Environmental Policy Act Document, October 29,
1998). While the EPA voluntarily used NEPA review procedures in conducting the analysis for the NPDES
permit issuance, the EPA also has explained that [t]he voluntary preparation of these documents in no way
legally subjects the Agency to NEPAs requirements (63 FR 58046).
The environmental review process, which is documented by the enclosed final Environmental Assessment (EA),
indicates that no significant environmental impacts are anticipated from the proposed action. The NPDES permit
conditions include protective measures, and these measures are described in the EA and the final NPDES permit.
The issuance of the NPDES permit to the applicant will not cause a significant environmental impact to water
quality or result in any other significant impacts to human health or the natural environment. Accordingly, the
EPA is issuing this Finding of No Significant Impact (FONSI) to document this determination. Substantive public
comments received on the Velella Epsilon NPDES permit and EA and the responses to those comments are
included in the response to comment (RTC) document which is included in the final NPDES permit package and
administrative record.




Responsible Official: ____________________________________                       Date: ___________________
                        Mary S. Walker, Regional Administrator
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        Appendix H
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 RON DESANTIS                                                                                   LAUREL M. LEE
   Governor                                                                                      Secretary of State


Chris Stahl                                                                                       February 08, 2019
Florida State Clearinghouse
Florida Department of Environmental Protection
3800 Commonwealth Blvd., M.S. 47
Tallahassee, Florida 32399-2400

RE:     DHR Project File No.: 2018-6301-B, Received by DHR: January 02, 2019
        Application No.: FL201901048510C
        Project Name: Department of Commerce, National Oceanic and Atmospheric Administration, Velella
        Epsion Project by Kampachi Farms, Offshore Aquaculture, Gulf of Mexico
        County: Sarasota

To Whom It May Concern:

The Florida State Historic Preservation Officer reviewed the referenced project for possible effects on historic
properties listed, or eligible for listing, on the National Register of Historic Places. The review was conducted in
accordance with Section 106 of the National Historic Preservation Act of 1966, as amended, and its implementing
regulations in 36 CFR Part 800: Protection of Historic Properties.

In 2018, a baseline environmental survey (BES) employing single-beam bathymetry, sidescan sonar,
magnetometry, and sub-bottom profiling was completed for the proposed project, Baseline Environmental Survey
Report For the Velella Epsilon Project Pioneering Offshore Aquaculture in the Southeastern Gulf of Mexico,
NOAA Sea Grant 2017 Aquaculture Initiative.

Dr. Gordon Watts, Jr., Senior Marine Archaeologist and Principal Investigator at Tidewater Atlantic Research,
Inc. (TAR), analyzed and interpreted the resulting data sets, determining that no submerged cultural resources will
be impacted by the proposed project if anchors and/or sinkers can be located on, or within, 50 feet of the surveyed
lines. Conditional upon the placement of anchors and/or sinkers on, or within, 50 feet of the surveyed lines, TAR
recommended no additional archaeological investigation of the project area. TAR recommended additional
investigation of the project area should the anchoring design require placing ground tackle outside of the 100 foot
corridors centered on the data tracklines.

Based on the information provided, our office concurs with TAR s recommendations. Should the anchoring
design for the proposed project require placing ground tackle outside of the 100 foot corridors centered on the
data tracklines or project plans change, we request additional consultation with our office, as supplemental remote
sensing surveying may be required.

It is the opinion of this office that the proposed project will have no effect on historic properties. However,
unexpected finds may occur during ground-disturbing activities, and we recommend that the permit, if issued,


                                         Division of Historical Resources
                     R.A. Gray Building      outh Bronough Stre                         32399
                                850.245.630 850.245.6436 (Fax) FLHeritage.com
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Florida State Clearinghouse
02/08/2019
Pg. 2

should include the following Unexpected Discovery Protocol, as outlined by Kampachi Farms, LLC in the
referenced BES report:

        In the event that any project activities expose potential prehistoric/historic cultural materials not identified
        during the remote-sensing survey, operations should be immediately shifted from the site. The respective
        Point of Contact for regulatory agencies with jurisdictional oversight should be immediately apprised of
        the situation. Notification should address the exact location, where possible, the nature of material
        exposed by project activities, and options for immediate archaeological inspection and assessment of the
        site.

If you have any questions, please contact Kristen Hall, Historic Sites Specialist, by email at
Kristen. Hall @dos.myflorida.com, or by telephone at 850.245.6342 or 800.847.7278.

Sincerely,




Timothy A Parsons, Ph.D.
Director, Division of Historical Resources
& State Historic Preservation Officer
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                                February 18, 2019

                                Submitted via Electronic Mail

                                Mr. Chris Stahl
                                Florida Department of Environmental Protection
                                Florida State Clearinghouse
Florida Fish
and Wildlife                    state.clearinghouse@dep.state.fl.us
Conservation
Commission                      RE:    FL201901048510C; Department of Commerce, National Oceanic and
                                       Atmospheric Administration, Velella Epsilon Project by Kampachi Farms,
Commissioners
Robert A. Spottswood
                                       Offshore Aquaculture, Gulf of Mexico; Coastal Zone Management Act
Chairman                               Consistency Determination
Key West

Michael W. Sole
Vice Chairman
                                Dear Mr. Stahl:
Tequesta

Joshua Kellam                   The Florida Fish and Wildlife Conservation Commission (FWC), Division of Marine
Palm Beach Gardens              Fisheries Management has reviewed the Coastal Consistency Determination (CCD)
Gary Lester
                                for the Kampachi Farms offshore aquaculture Velella Epsilon Project (VEP), and
Oxford                          provide the following comments pursuant to the Coastal Zone Management
Gary Nicklaus
                                Act/Florida Coastal Management Program.
Jupiter
                                Section 3.17 of the CCD briefly analyzes the potential impacts from VEP to fish and
Sonya Rood
St. Augustine                   wildlife resources of the State of Florida. While the analysis for this Section does
                                identify what steps VEP is taking to avoid genetic impacts to Florida s coastal
Executive Staff                 fishery resources (e.g., using native broodstock that are not genetically engineered,
Eric Sutton
Executive Director
                                only using first generation offspring), the analysis does not address the mating
Thomas H. Eason, Ph.D.
                                ratios and cohort sizes which could also affect the genetics of Florida s coastal
Assistant Executive Director    fishery resources. While this information is critical to the review of a CCD for
Jennifer Fitzwater              offshore aquaculture activities, the FWC did coordinate with VEP in advance of the
Chief of Staff                  CCD being submitted (email correspondence dated 3/12/2018) and confirmed the
                                proposed mating ratios and cohort sizes were genetically appropriate. The FWC
                                would emphasize that this information should be included in any future CCD
Division of Marine
Fisheries Management            provided for review of proposed offshore aquaculture activities.
Jessica McCawley
Director                        Another potentially significant impact from VEP-proposed activities which was not
(850) 487-0554                  addressed in the CCD is the potential to affect the health of Florida s coastal fishery
(850) 487-4847 FAX              resources. The analysis in the CCD did not identify any steps VEP may be taking to
Managing fish and wildlife      ensure that unhealthy fish are not introduced into the wild or maintained in net
resources for their long-term   pens. While this information is also critical to the review of a CCD for offshore
well-being and the benefit
of people.                      aquaculture activities, the FWC does not want to delay permitting for VEP and is
                                confidant that this issue will be appropriately addressed through application for an
                                FWC Special Activity License and facility certification with the Department of
                                Agriculture and Consumer Services (DACS).
620 South Meridian Street
Tallahassee, Florida
32399-1600                      The FWC finds the CCD provided for VEP consistent with FWC statutes and rules
Voice: 850-488-4676             included in Florida s Coastal Management Program, and looks forward to working
Hearing/speech-impaired:        with Kampachi Farms during the FWC licensing and DACS certification processes.
800-955-8771 (T)
800 955-8770 (V)

MyFWC.com
Mr. Chris Stahl
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February 18, 2019

                The FWC appreciates the opportunity to review this Coastal Consistency
                Determination. For questions or additional information, please contact Lisa Gregg in
                the Division of Marine Fisheries Management at: Lisa.Gregg@MyFWC.com or (850)
                617-9621.



                Sincerely,




                Jessica McCawley
                Director

                jm/lg
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  From:            Tyler, Kip
  To:              Holliman, Daniel; Schwartz, Paul; Ferry, Rol; Wahlstrom-Ramler, Meghan
  Subject:         FW: State_Clearance_Letter_For_FL201901048510C_Velella Epsilon Project by Kampachi Farms, Offshore
                   Aquaculture, Gulf of Mexico, Florida
  Date:            Tuesday, February 26, 2019 12:02:46 AM
  Attachments:     FWC Comments - Velella Epsilon Project.pdf
                   Stahl-FL Clearinghouse-FL201901048510C.pdf
                   DHR Comments for 2018-6301-B Velella Epsion Project by Kampachi Farms Offshore Aquaculture Gulf of Mexico
                   App. No. FL201901048510C 106 EPA.msg


  CZMA concurrence for the Kampachi project is complete.

  Note that: CZMA concurrence is from FDACS, NHPA concurrence is from FDEP, and Florida coastal
  management program concurrence comes from FDEP/FWC.

  Kip Tyler
  w 404.562.9294 | m 404.323.6094


  From: Dennis Peters <dpeters@gsrcorp.com>
  Sent: Monday, February 25, 2019 6:29 PM
  To: Chris.Stahl@dep.state.fl.us
  Cc: Tyler, Kip <Tyler.Kip@epa.gov>; Jess Beck - NOAA Federal <jess.beck@noaa.gov>; Damico, Katy R
  CIV USARMY CESAJ (US) (Katy.R.Damico@usace.army.mil) <Katy.R.Damico@usace.army.mil>; Neil
  Sims (neil@kampachiworld.com) <neil@kampachiworld.com>; lisa@kampachifarm.com; Ken Riley
  (ken.riley@noaa.gov) <ken.riley@noaa.gov>; Sapp, Portia <Portia.Sapp@freshfromflorida.com>
  Subject: FW: State_Clearance_Letter_For_FL201901048510C_Velella Epsilon Project by Kampachi
  Farms, Offshore Aquaculture, Gulf of Mexico, Florida

  Thank you Chris –

  The Kampachi Team and our stakeholders appreciate the State’s thorough review of the VE Project
  plan.

  V/R - Dennis

  Dennis J. Peters
  Gulf South Research Corporation (GSRC)
  (850) 240-3414 (Cell)


  From: Stahl, Chris [mailto:Chris.Stahl@dep.state.fl.us]
  Sent: Monday, February 25, 2019 2:11 PM
  To: petersd1@cox.net
  Cc: State_Clearinghouse; 'FWC Conservation Planning Services'; Sapp, Portia
  Subject: State_Clearance_Letter_For_FL201901048510C_Velella Epsilon Project by Kampachi Farms,
  Offshore Aquaculture, Gulf of Mexico, Florida

  February 25, 2019
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  Dennis Peters
  Gulf South Research Corporation
  815 Bayshore Drive
  Niceville, Florida 32579


  RE: Department of Commerce, National Oceanic and Atmospheric Administration, Velella Epsilon
  Project by Kampachi Farms, Offshore Aquaculture, Gulf of Mexico, Florida
  SAI # FL201901048510C


  Dear Dennis:

  Florida State Clearinghouse staff has reviewed the proposal under the following authorities:
  Presidential Executive Order 12372; § 403.061(42), Florida Statutes; the Coastal Zone Management
  Act, 16 U.S.C. §§ 1451-1464, as amended; and the National Environmental Policy Act, 42 U.S.C. §§
  4321-4347, as amended.

  The Florida Departments of Agriculture and Consumer Services and Department of State, as well as
  the Florida Fish and Wildlife Conservation Commission have reviewed the proposed project and
  provided comment letters which are attached and incorporated hereto.

  Staff of the Florida Departments of Transportation noted on Page 8 of 20 (see pdf page 9 of 123), of
  the “Supplemental Data: In support of the – Velella Epsilon Project” document dated 01/03/2019,
  states “NOAA navigational charts of the area were referenced and did not indicate any conflict with
  major shipping channels or DoD Restricted Access areas.” Florida Department of Transportation’s
  Seaport Office compared the spatial location of the proposed “Most Desired Alternative Sites” with
  historical AIS (Automatic Identification System) vessel tracking data, and was able to identify
  potential cargo and cruise vessel conflicts with the proposed locations. This same finding appears to
  be confirmed by a NOAA National Centers for Coastal Ocean Science slide “Vessel Traffic (AIS Data –
  2013)” also included in the document data 01/03/2019 (see pdf page 53 of 123).

  Based on the information submitted and minimal project impacts, the state has no objections to the
  subject project and, therefore, the funding award is consistent with the Florida Coastal Management
  Program (FCMP). The state’s final concurrence of the project’s consistency with the FCMP will be
  determined during any environmental permitting processes, in accordance with Section 373.428,
  Florida Statutes, if applicable.

  Thank you for the opportunity to review the proposed plan. If you have any questions or need
  further assistance, please don’t hesitate to contact me.

  Sincerely,

  Chris Stahl
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  Chris Stahl, Coordinator
  Florida State Clearinghouse
  Florida Department of Environmental Protection
  3800 Commonwealth Blvd., M.S. 47
  Tallahassee, FL 32399-2400
  ph. (850) 717-9076
  State.Clearinghouse@floridadep.gov
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                                      Finding of No Significant Impact
                                      Ocean Era, Inc. Velella Epsilon
                     National Pollutant Discharge System Elimination (NPDES) Permit


Ocean Era, Inc (formerly Kampachi Farms, LLC) (applicant) is proposing to operate and discharge from a pilot-
scale marine aquaculture facility in federal waters of the Gulf of Mexico (Gulf) and has applied for a National
Pollutant Discharge Elimination (NPDES) permit from the U.S. Environmental Protection Agency, Region 4
(EPA).
The applicant requested a permit and authorizations for the Velella Epsilon project, which is a single net pen
demonstration project for open ocean aquaculture of marine finfish in federal waters of the Gulf. The applicant
needs an NPDES permit in order to operate and discharge from its proposed aquaculture facility in compliance
with the Clean Water Act (CWA).
The EPA is required to comply with the procedural requirements of the National Environmental Policy Act
(NEPA) when issuing NPDES permits under section 402 of the CWA for new sources, as defined in section
306 of the CWA. The proposed facility does not meet the definition of a new source under section 306 of the
CWA and therefore, is exempt from NEPA compliance under section 511(c) of the CWA and is not subject to
NEPA analysis requirements. Nevertheless, as a matter of policy, EPA voluntarily used NEPA procedures for this
proposed action since the Agency determined that such an analysis would be beneficial. See 63 FR 58045 (Notice
of Policy and Procedures for Voluntary Preparation of National Environmental Policy Act Document, October 29,
1998). While the EPA voluntarily used NEPA review procedures in conducting the analysis for the NPDES
permit issuance, the EPA also has explained that [t]he voluntary preparation of these documents in no way
legally subjects the Agency to NEPAs requirements (63 FR 58046).
The environmental review process, which is documented by the enclosed final Environmental Assessment (EA),
indicates that no significant environmental impacts are anticipated from the proposed action. The NPDES permit
conditions include protective measures, and these measures are described in the EA and the final NPDES permit.
The issuance of the NPDES permit to the applicant will not cause a significant environmental impact to water
quality or result in any other significant impacts to human health or the natural environment. Accordingly, the
EPA is issuing this Finding of No Significant Impact (FONSI) to document this determination. Substantive public
comments received on the Velella Epsilon NPDES permit and EA and the responses to those comments are
included in the response to comment (RTC) document which is included in the final NPDES permit package and
administrative record.




Responsible Official: ____________________________________                       Date: ___________________
                        Mary S. Walker, Regional Administrator
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       678                                  OCEAN ERA, INC.



                                   IN RE OCEAN ERA, INC.

                             NPDES Appeal Nos. 20-08 & 20-09

     ORDER REMANDING IN PART AND DENYING REVIEW IN PART


                                       Decided May 6, 2022



                                                 Syllabus

                This matter involves two petitions for review of a National Pollutant Discharge
       Elimination System permit that the Environmental Protection Agency, Region 4, issued to
       Ocean Era, Inc. pursuant to the Clean Water Act. The permit authorizes discharges from
       a pilot-scale offshore marine aquaculture facility, referred to as the Velella Epsilon Project,
       into the Gulf of Mexico.

               Taken together, the two petitions argue that the Region’s permit decision violates
       the Clean Water Act, the Endangered Species Act, the National Environmental Policy Act,
       and the Marine Mammal Protection Act. For all the reasons described, the Environmental
       Appeals Board denies review in part and remands in part.

               Held: The Board remands the permit decision to the Region to clearly state
       whether the Region determined that the permitted discharge will not cause unreasonable
       degradation of the marine environment. The Board denies review of all other issues raised.
       Specific holdings are as follows:

               (A) With respect to the Marine Mammal Protection Act and the National
       Environmental Policy Act, Petitioners have not met their threshold obligations under
       40 C.F.R. § 124.19(a) to preserve their arguments for review. As such, the Board denies
       review of the issues raised under these statutes.

               (B) With respect to the Clean Water Act, the implementing regulations require the
       permitting authority to determine whether a discharge will cause unreasonable degradation
       of the marine environment based on consideration of ten enumerated factors listed in the
       regulations applicable to ocean discharges—the Ocean Discharge Criteria. The Region
       based its unreasonable degradation determination on its consideration of the ten factors,
       including the potential impacts of the pollutants identified by Petitioners. More
       specifically, Petitioners did not meet their burden to show that the Region clearly erred in
       considering: (1) the threat to human health where the Region considered the project’s
       potential contribution to harmful algal blooms and concluded that the discharge of nutrients


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                        ENVIRONMENTAL ADMINISTRATIVE DECISION                                  679

       from the proposed facility would not pose an environmental threat; (2) the potential impact
       from antibiotics discharged from the proposed facility where the Region concluded that
       antibiotics would not likely be used and, if they were, the concentrations of antibiotics
       outside the immediate proximity of the fish pens would be too low to have any adverse
       effects; (3) the potential impacts from pathogens and parasites from the facility where the
       Region considered the impacts and concluded that the permit conditions in place would
       eliminate the low risk of harm; (4) the possibility of fish escapes as a potential discharge
       from the permitted facility; and (5) whether copper cages would create an issue for ocean
       water or marine life where the Region concluded that copper was not expected to occur in
       measurable levels in the facility’s effluent. Additionally, because the Region determined
       there was sufficient information to make the required determination and issued the permit
       under 40 C.F.R. § 125.123(a), the Region was not required to include the permit conditions
       set forth in 40 C.F.R. § 125.123(d).

                The Region however, stated two different things in the conclusion of its evaluation
       with respect to whether the proposed project would cause unreasonable degradation of the
       marine environment. One sentence indicates that permitted discharges will not cause
       unreasonable degradation; the other concludes that unreasonable degradation is “not
       likely” to occur. Under federal regulations, it is the former determination that the Region
       is required to make when issuing the permit at issue. Consequently, as stated above, the
       Board remands the permit to the Region to formally clarify its determination.

                (C) With respect to the Endangered Species Act, the Board determines that the
       Region did not clearly err in its consideration of the proposed permit. Based on its review
       of the record as a whole, the Board determined that the Region considered the issues raised
       by Petitioners in assessing the potential effects and impacts from the proposed action on
       listed species and critical habitat and concluded that the proposed action “will have ‘no
       effect’ on listed species and critical habitat under the jurisdiction of []FWS” and the
       proposed action “‘may affect but is not likely to adversely’ affect the listed species and
       critical habitat” under the jurisdiction of NMFS. That determination was reviewed and
       considered by the Fish and Wildlife Service and the National Marine Fisheries Service—
       and Petitioners have not provided the Board with a sufficient basis to further question the
       complex and comprehensive technical and scientific analysis and expertise of these
       consulting agencies.

             Before Environmental Appeals Judges Aaron P. Avila, Mary Kay Lynch,
       and Kathie A. Stein.
               Opinion of the Board by Judge Stein:

                                        STATEMENT OF THE CASE

              The U.S. Environmental Protection Agency (“EPA”) Region 4 (“Region”)
       issued a Clean Water Act (“CWA”) National Pollutant Discharge Elimination
       System (“NPDES”) permit to Ocean Era, Inc. (“Ocean Era”). The permit


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       authorizes Ocean Era to discharge from a pilot-scale offshore marine aquaculture
       facility, referred to as the Velella Epsilon Project (“Facility”), in the Gulf of
       Mexico, approximately forty-five miles off the coast of Sarasota, Florida, pursuant
       to CWA sections 402 and 403, 33 U.S.C. §§ 1342-1343. See EPA Region 4, Ocean
       Era Inc., NPDES Permit No. FL0A00001 (Sept. 30, 2020) (A.R. B.40) (“Permit”);
       see also Region’s Resp. to CFS Pet. at 1-2.
              A consortium of groups consisting of the Center for Food Safety, Friends
       of the Earth, Recirculating Farms, Tampa Bay Waterkeeper, Suncoast
       Waterkeeper, Healthy Gulf, Sierra Club Florida, the Center for Biological
       Diversity, and Food & Water Watch filed a petition for review (“CFS Petition”) of
       the Region’s permitting decision with the Environmental Appeals Board (“Board”).
       Friends of Animals also filed a petition for review with the Board (“FoA Petition”).
       Following briefing and a stay, oral argument was held.
                                         ISSUES ON APPEAL

               The two petitions present arguments that the Region’s permit decision
       violates the CWA, 33 U.S.C. §§ 1251-1387, the Endangered Species Act (“ESA”),
       16 U.S.C. §§ 1531-1544, the National Environmental Policy Act (“NEPA”),
       42 U.S.C. §§ 4321-4370, and the Marine Mammal Protection Act (“MMPA”),
       16 U.S.C. §§ 1361-1423h. Based on our review of the briefs filed in this matter as
       well as the Administrative Record, we consider the following issues on appeal:
              1) With respect to the MMPA and NEPA, whether Petitioners 1 met their
                 threshold obligations to (a) preserve their arguments for review, (b) state
                 with specificity their arguments on appeal, and (c) address the Region’s
                 responses to comments that were submitted during the public comment
                 period in accordance with 40 C.F.R. section 124.19(a)(4);

              2) Whether the Region clearly erred in evaluating the proposed project’s
                 discharge under the Ocean Discharge Criteria of the CWA; and

              3) Whether the Region clearly erred in its consideration of the Permit under
                 the ESA.




              1
                Only the CFS petition raises a challenge to the Permit under the MMPA. See
       CFS Pet. at 54; see generally FoA Pet.


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                                       STANDARD OF REVIEW

               The Board has discretion to grant or deny review of a permit decision.
       40 C.F.R. § 124.19; see also In re Avenal Power Ctr., LLC, 15 E.A.D. 384, 394-95
       (EAB 2011) (citing Consolidated Permit Regulations, 45 Fed. Reg. 33,290, 33,412
       (May 19, 1980)), remanded on other grounds sub nom. Sierra Club v. EPA,
       762 F.3d 971 (9th Cir. 2014). Ordinarily, the Board will deny review of a permit
       decision and thus not remand it unless the permit decision either is based on a
       clearly erroneous finding of fact or conclusion of law or involves a matter of policy
       or exercise of discretion that warrants review. 40 C.F.R. § 124.19(a)(4)(i)(A)-(B);
       accord, e.g., In re Prairie State Generating Co., 13 E.A.D. 1, 10 (EAB 2006), aff’d
       sub nom. Sierra Club v. EPA, 499 F.3d 653 (7th Cir. 2007); see also Revisions to
       Procedural Rules to Clarify Practices and Procedures Applicable in Permit Appeals
       Pending Before the EAB, 78 Fed. Reg. 5,281, 5,282, 5,284 (Jan. 25, 2013). In
       considering whether to grant or deny review of a permit decision, the Board is
       guided by the preamble to the regulations authorizing appeal under part 124, in
       which the Agency stated that the Board’s power to grant review “should be only
       sparingly exercised,” and that “most permit conditions should be finally determined
       at the [permit issuer’s] level.” 45 Fed. Reg. at 33,412.

               When evaluating a challenged permit decision for clear error, the Board
       examines the administrative record that serves as the basis for the permit to
       determine whether the permit issuer exercised its “considered judgment.” E.g.,
       In re Steel Dynamics, Inc., 9 E.A.D. 165, 191, 224-25 (EAB 2000); In re Ash Grove
       Cement Co., 7 E.A.D. 387, 417-18 (EAB 1997). The permit issuer must articulate
       with reasonable clarity the reasons supporting its conclusion and the significance
       of the crucial facts it relied upon when reaching its conclusion. E.g., In re Shell
       Offshore, Inc., 13 E.A.D. 357, 386 (EAB 2007) (citing In re Carolina Power &
       Light Co., 1 E.A.D. 448, 451 (Acting Adm’r 1978) (some citations omitted). As a
       whole, the record must demonstrate that the permit issuer “duly considered the
       issues raised in the comments” and ultimately adopted an approach that “is rational
       in light of all information in the record.” In re D.C. Mun. Separate Storm Sewer
       Sys., 10 E.A.D. 323, 342 (EAB 2002); accord In re City of Moscow, 10 E.A.D. 135,
       142 (EAB 2001); In re NE Hub Partners, L.P., 7 E.A.D. 561, 567-68 (EAB 1998),
       review denied sub nom. Penn Fuel Gas, Inc. v. EPA, 185 F.3d 862 (3d Cir. 1999).

               Similarly, the Board will uphold a permitting authority’s reasonable
       exercise of discretion if that decision is cogently explained and supported in the
       record. See, e.g., In re Guam Waterworks Auth., 15 E.A.D. 437, 443 n.7
       (EAB 2011) (discussing the abuse of discretion standard); Ash Grove, 7 E.A.D.
       at 397 (“[A]cts of discretion must be adequately explained and justified.”).


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              On matters that are fundamentally technical or scientific in nature, the
       Board will defer to a permit issuer’s technical expertise and experience, as long as
       the permit issuer adequately explains its rationale and supports its reasoning in the
       administrative record. See In re Dominion Energy Brayton Point, LLC, (Formerly
       USGEN New England, Inc.) Brayton Point Station, 12 E.A.D. 490, 510, 560-62,
       645-47, 668, 670-74 (EAB 2006); see also, e.g., In re Russell City Energy Ctr.,
       15 E.A.D. 1, 12, 39-42, 60-66 (EAB 2010), petition denied sub nom. Chabot-Las
       Positas Cmty. Coll. Dist. v. EPA, 482 F. App’x 219 (9th Cir. 2012); NE Hub
       Partners, 7 E.A.D. at 570-71.

                  RELEVANT STATUTORY AND REGULATORY REQUIREMENTS

       A. The Clean Water Act

               Congress enacted the CWA in 1972 “to restore and maintain the chemical,
       physical, and biological integrity of the Nation’s waters.” CWA § 101(a),
       33 U.S.C. § 1251(a). To achieve this objective, the Act prohibits the discharge of
       pollutants into the waters of the United States, unless authorized by an NPDES
       permit or other specified CWA provision. See CWA §§ 301(a), 402, 502(7),
       33 U.S.C. §§ 1311(a), 1342, 1362(7). Section 403 of the CWA, 33 U.S.C. § 1343—
       entitled Ocean Discharge Criteria—addresses the issuance of NPDES permits for
       discharges into the territorial sea, the waters of the contiguous zone, or the oceans.
       In that provision of the CWA, Congress directed EPA to “promulgate guidelines
       for determining the degradation” of these types of waters. 2 CWA § 403(c)(1),
       33 U.S.C. § 1343(c)(1). EPA promulgated those guidelines, and having done so,
       the CWA provides that no NPDES permit for a discharge into federal waters shall
       be issued, except in compliance with the promulgated guidelines. CWA § 403(a),
       (c), 33 U.S.C. § 1343(a), (c). Thus, while referred to as “guidelines,” they are not
       simply guidance; they are regulations with which the permit issuer must comply.
       Id.; see also Ocean Discharge Criteria, 45 Fed. Reg. 65,942, 65, 944 (Oct. 3, 1980).

              Under the regulations (also entitled Ocean Discharge Criteria), EPA must
       determine “whether a discharge will cause unreasonable degradation of the marine
       environment.” 40 C.F.R. § 125.122. “If the [permitting authority] on the basis of
       available information including that supplied by the applicant pursuant to § 125.124
       determines prior to permit issuance that the discharge will not cause unreasonable



              2
                   Throughout this decision we use the phrase “federal waters” to refer to the
       territorial sea, the waters of the contiguous zone, or the oceans over which EPA has
       jurisdiction under the CWA.


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       degradation of the marine environment after application of any necessary
       conditions specified in § 125.123(d), [the permitting authority] may issue an
       NPDES permit containing such conditions.” Id. § 125.123(a). “Unreasonable
       degradation of the marine environment is defined as:

               (1) Significant adverse changes in ecosystem diversity,
               productivity[,] and stability of the biological community within the
               area of discharge and surrounding biological communities,

               (2) Threat to human health through direct exposure to pollutants or
               through consumption of exposed aquatic organisms, or

               (3) Loss of esthetic, recreational, scientific[,] or economic values
               which is unreasonable in relation to the benefit derived from the
               discharge.

       Id. § 125.121(e). The regulations then provide that the permitting authority “shall
       determine whether a discharge will cause unreasonable degradation of the marine
       environment based on consideration of” ten enumerated factors (the “ODC
       factors”). Id. § 125.122(a). Other relevant provisions related to the Ocean
       Discharge Criteria under the CWA are further discussed in Part VI.B, below.

       B. The Endangered Species Act

               Pursuant to the NPDES regulations, the Region is required to comply with
       several potentially relevant federal statutes when issuing NPDES permits. See
       40 C.F.R. § 122.49 (listing federal laws that may apply to NPDES permits and
       providing that when any of the listed laws is applicable, its procedures “must be
       followed”); see also In re Phelps Dodge Corp., 10 E.A.D. 460, 464, 522-525
       (EAB 2002) (remanding an NPDES permit to the region for further proceedings
       under the ESA). The NPDES permit regulations specifically refer to the Regional
       Administrator’s duty under section 7 of the ESA—i.e., “to ensure, in consultation
       with the Secretary of the Interior or Commerce, 3 that any action authorized by EPA


               3
                 The ESA grants authority to two executive departments to implement its major
       provisions. More specifically, the Secretary of the Interior, whose ESA authority is
       exercised by the U.S. Fish and Wildlife Service (“FWS”), has jurisdiction over terrestrial
       and freshwater aquatic species under the ESA. The Secretary of Commerce has jurisdiction
       over marine species under the ESA, and the National Marine Fisheries Service (“NMFS”)
       acts on the Secretary of Commerce’s behalf in this regard. See ESA §§ 3(15), 4, 16 U.S.C.
       §§ 1532(15), 1533. Because these agencies—FWS and NMFS—act based on statutory


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       is not likely to jeopardize the continued existence of any endangered or threatened
       species or adversely affect its critical habitat.” 40 C.F.R. § 122.49(c); see also ESA
       § 7, 16 U.S.C. § 1536 (and implementing regulations at 50 C.F.R. pt. 402).

                The ESA regulations provide a process for federal agencies to fulfill their
       obligations under section 7. See generally 50 C.F.R. § 402. This process requires
       federal agencies to determine whether a proposed action “may affect” listed 4
       species or designated critical habitat 5 in a particular geographical area. Id.
       § 402.14(a) (“Each [f]ederal agency shall review its actions at the earliest possible
       time to determine whether any action may affect listed species or critical habitat.”);
       see also Phelps Dodge, 10 E.A.D. at 485-86. A biological assessment, also referred
       to as a biological evaluation, evaluates the potential effects of the proposed action
       and determines whether the action is “likely to adversely affect” any listed species
       or critical habitat. 50 C.F.R. § 402.12; see also Phelps Dodge, 10 E.A.D at 486. If



       authority under the ESA, they are sometimes referred to as the federal “experts” on the
       ESA.

               4
                  A “listed species” is “any species of fish, wildlife, or plant [that] has been
       determined to be endangered or threatened under section 4 of the [ESA].” 50 C.F.R.
       § 402.02. Species currently on the endangered and threatened lists are set forth in 50 C.F.R.
       §§ 17.11-.12. A biological assessment must evaluate the potential effects of the action on
       both listed species and species proposed to be listed (i.e., proposed in the Federal Register
       to be listed under section 4 of the ESA). Id. §§ 402.02 (defining “proposed species”),
       402.12(a) (identifying the purpose of the biological assessment to include the consideration
       of “proposed species”). For ease of discussion, the term “listed species” used in this
       opinion in the context of discussing the biological assessment includes both those species
       listed and those proposed to be listed as endangered or threatened under the ESA.

               5
                 The ESA encourages critical habitats be designated concurrently with the listing
       of a species as endangered or threatened. See 16 U.S.C. § 1533(b)(6)(C). A “critical
       habitat” is any area designated as critical habitat listed in 50 C.F.R. parts 17 or 226. See
       50 C.F.R. § 424.12 (providing criteria for designating critical habitat). Habitat, “for the
       purposes of designating critical habitat only, is the abiotic and biotic setting that currently
       or periodically contains the resources and conditions necessary to support one or more life
       processes of a species.” Id. § 424.02. As is the case with species, a biological assessment
       must evaluate the potential effects of the action on both designated critical habitat and
       proposed to be designated critical habitat. See id. § 402.12(a). For ease of discussion, the
       term “critical habitat” used in this opinion in the context of discussing the biological
       assessment includes designated critical habitats and those proposed to be designated under
       the ESA.


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       an agency determines in its biological assessment that its proposed action will have
       no effect on any listed species or critical habitat in the action area or is “not likely
       to adversely affect” such species or habitat (sometimes referred to as an “NLAA”
       determination), the agency seeks the concurrence of the appropriate consulting
       agencies—i.e., the Fish and Wildlife Service (“FWS”) or National Marine Fisheries
       Service (“NMFS”)—through “informal” consultation. 50 C.F.R. §§ 402.12(j)-(k),
       402.13. If the agency receives written concurrence from the consulting agencies
       on its determination, then the section 7 process is complete. Id. §§ 402.12(k);
       402.13(c); 402.14(a)-(b)(1); see Phelps Dodge, 10 E.A.D. at 486 n.24. 6 Relevant
       portions of the ESA and its implementing regulations are discussed further in
       Part VI.C, below.

       C. The National Environmental Policy Act

               NEPA requires federal agencies, in proposals for any “major [f]ederal
       actions significantly affecting the quality of the human environment,” to include a
       “detailed statement” discussing, among other things, the environmental impacts of,
       and the alternatives to, the proposed actions. NEPA § 102(C), 42 U.S.C.
       § 4332(2)(C). This detailed statement is known as an environmental impact
       statement (“EIS”). 40 C.F.R. § 1502.3. When NEPA is applicable to an agency
       action, but the agency determines that the action is not likely to have significant
       effects (or when the significance of the effects is unknown), the agency prepares an
       “environmental assessment,” or “EA.” Id. § 1501.5(a). An environmental
       assessment provides “evidence and analysis” to determine whether the action has a
       significant effect and requires an EIS or has no significant effect and warrants a
       finding of no significant impact (“FONSI”). See id. §§ 1501.5(c)(1), 1508.1(h).
       Because NEPA requires an EIS only when an action significantly affects the quality
       of the human environment, a FONSI concludes the NEPA process. See id.
       § 1508.1(l).




               6
                  Although not relevant in this matter, if the Agency determines that a project “is
       likely to have an adverse effect” on a listed species or critical habitat, then the Agency must
       begin “formal” consultation with FWS or NMFS. ESA § 7(a), 16 U.S.C. § 1536(a);
       50 C.F.R. § 402.14. This requires, among other things, the submission by the action
       agency of the “best scientific and commercial data available,” and culminates in the
       issuance of a “biological opinion” (not to be confused with the “biological assessment”
       described in the text above) by the consulting agency(ies) as to whether the proposed
       agency action is likely to jeopardize the continued existence of listed species or result in
       the destruction or adverse modification of critical habitat. See, e.g., 50 C.F.R. § 402.14.


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               That said, actions by EPA under the CWA (with limited exceptions) are
       exempt from NEPA and NEPA’s requirements. CWA § 511(c)(1), 33 U.S.C.
       § 1371(c)(1) (“Except for the provision of [f]ederal financial assistance for the
       purpose of assisting the construction of publicly owned treatment works as
       authorized by section 1281 of [the CWA], and the issuance of a permit under
       section 1342 * * * for the discharge of any pollutant by a new source as defined in
       section 1316 * * *, no action of the Administrator taken pursuant to [the CWA]
       shall be deemed a major [f]ederal action significantly affecting the quality of the
       human environment within the meaning of the [NEPA] of 1969.”)

              For purposes of this appeal, the only potentially relevant exception from the
       CWA exemption from NEPA relates to a permit for the discharge of a pollutant
       from a “new source,” as defined by 33 U.S.C. section 1316. See id.; accord In re
       Dos Republicas Res. Co., 6 E.A.D. 643, 648 (EAB 1996) (explaining that
       permitting actions under the CWA are generally not regarded as major federal
       actions under NEPA with an exception for NPDES permits for new sources as
       mandated by section 511(c)(1) of the CWA). The applicability of NEPA to this
       permit proceeding is discussed further in Part VI.A.2, below.

       D. The Marine Mammal Protection Act

               The MMPA protects and conserves marine mammals, in part, by prohibiting
       the “take” of marine mammals without authorization. MMPA § 102, 16 U.S.C.
       § 1372. The term “take” “means to harass, hunt, capture, or kill, or attempt to
       harass, hunt, capture, or kill any marine mammal.” Id. § 1362(13). Under the
       MMPA, NMFS, as an office within the National Oceanic Atmospheric
       Administration (“NOAA”), may authorize the incidental “taking” of marine
       mammals. See id. §§ 1371(a)(5)(E), 1374(a). For example, the MMPA requires
       an owner of a vessel engaging in commercial fishing operations to obtain
       authorization from NMFS prior to conducting activities that result in any incidental
       “takes” of marine mammals. See id. § 1387(c)(2); 50 C.F.R. § 229.4. The issue
       concerning the MMPA in this appeal is discussed in Part VI.A.1, below.

                              PROCEDURAL AND FACTUAL HISTORY

              The Region issues NPDES permits for discharges into the federal waters of
       the Gulf of Mexico. In October of 2018, Ocean Era submitted a complete
       application to the Region for an NPDES permit authorizing discharges (including
       fish food and fecal matter) from a proposed pilot-scale offshore “net-pen”




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       aquaculture facility—the Velella Epsilon Facility—into the Gulf of Mexico. 7
       Region’s Resp. to CFS Pet. at 3; Kampachi Farms, LLC, NPDES Permit
       Application in Support of the Velella Epsilon Project (Oct. 26, 2018) (A.R. A.1-
       .13). The project proposes to raise a species of fish called Almaco Jack, which is a
       type of yellow fin native to the Gulf of Mexico, starting with 20,000 fish (sourced
       from the Gulf) and producing up to 80,000 pounds of harvest fish over a period of
       12-18 months. U.S. EPA, Region 4, Water Div., Final Fact Sheet for NPDES
       Permit No. FL0A00001, at 1 (A.R. B.15) (“Fact Sheet”); U.S. EPA, Region 4,
       Water Div., Final Ocean Discharge Criteria Evaluation, for Ocean Era, Inc.–
       Velella Epsilon, Permit FL0A00001, at 6 (Sept. 30, 2020) (A.R. B.36) (“ODCE”).

               The Facility includes a single submersed and floating cage constructed of
       mesh net, cylindrical in shape, seventeen meters in diameter across, seven meters
       high, and made of copper alloy (the “net-pen”). Fact Sheet at 1. The Facility was
       proposed to be submerged in approximately forty meters of water and anchored to
       the sea floor by up to three mooring lines using a “multi-anchor swivel” mooring
       system that allows the net-pen to drift freely in the water. Id. The proposal for the
       Facility also includes a supporting seventy-foot long “tender” vessel that would be
       tethered to the Facility and another vessel that would be used for harvest and
       transport of fish. Id.; ODCE at 6.

               In the course of considering the Ocean Era permit application, the Region
       prepared an “Ocean Discharge Criteria Evaluation” document (“ODC Evaluation”)
       to “identify pertinent information relative to the [Ocean Discharge Criteria]” and to
       address the ten factors for determining unreasonable degradation. ODCE at 4, 5
       (tbl.1.1) (identifying where in the document each factor was considered). The ODC
       Evaluation also includes a discussion of the permit conditions deemed necessary,
       as well as the Region’s conclusions as to whether the proposed discharge will cause
       unreasonable degradation of the marine environment. Id. at 48. The ODC
       Evaluation is discussed at length in Part VI.B.

              Additionally, the Region (in consultation and coordination with the
       U.S. Army Corps of Engineers (“USACE”) and NMFS 8) voluntarily prepared an


               7
                 The construction and installation of the net-pen and anchoring system on the sea
       floor also required a permit from the U.S. Army Corps of Engineers (USACE) under
       section 10 of the River and Harbors Act, 33 U.S.C. § 403.

               8
                 For purposes of NEPA, EPA acted as the lead agency with assistance from
       cooperating agencies NMFS and USACE. U.S. EPA, USACE, and National Oceanic and


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       environmental assessment after concluding that a NEPA analysis would be
       beneficial, even though the Region’s issuance of the NPDES permit for the project
       was not subject to NEPA’s requirements. U.S. EPA, USACE & NOAA, DRAFT
       Environmental Assessment (EA), National Pollutant Discharge Elimination System
       (NPDES) Permit and Rivers and Harbor Act Section 10 Permit for Kampachi
       Farms –Velella Epsilon Offshore Aquaculture Project, at 1 (Apr. 2019) (A.R. A.36)
       (“Draft EA”). The Draft EA preliminarily found that “the proposed action
       (issuance of an NPDES permit []) will not cause a significant impact on the
       environment.” Id. at 62.

               To fulfill its obligations under section 7 of the ESA, the Region also
       consulted with NMFS and FWS to ensure that the proposed discharges authorized
       by the Permit would not be likely to jeopardize listed species or adversely modify
       critical habitat. Fact Sheet at 8. The Region and USACE 9 prepared a draft
       biological assessment 10 and submitted it to NMFS and FWS to initiate informal



       Atmospheric Administration of the U.S. Dept. of Commerce (NOAA), Final
       Environmental Assessment (EA), NPDES Permit for Ocean Era, Inc. –Velella Epsilon
       Offshore Aquaculture Project, at 1 (Sept. 2020) (A.R. B.33) (“Final EA”). In addition to
       the cooperating agencies, EPA requested that the Bureau of Ocean Energy Management
       (BOEM), the FWS, the Bureau of Safety and Environmental Enforcement (BSEE), and the
       U.S. Coast Guard (USCG) contribute to the process as participating agencies. Id. at 2. In
       addition, NOAA completed a Programmatic EIS which broadly considers a range of similar
       aquaculture projects in the Gulf. Final EA at 6 tbl.4.

               9
                  To fulfill their respective consultation and conference responsibilities under
       section 7 of the ESA, EPA acted as the lead agency and USACE acted as a cooperating
       co-federal agency. See 50 C.F.R. § 402.07; see also BE at 3; Resp. to Cmts. at 9.
       According to the Response to Comments, the ESA consultations were conducted pursuant
       to the Memorandum of Understanding between EPA, FWS, and NMFS Regarding
       Enhanced Coordination Under the CWA and the ESA (2001) and the Memorandum of
       Understanding (MOU) for Permitting Offshore Aquaculture Activities in Federal Waters
       of the Gulf of Mexico, Bureau of Ocean Energy Management, Bureau of Safety and
       Environmental Enforcement, NMFS, USACE, U.S. Coast Guard, U.S. EPA, and FWS
       (Feb. 6, 2017). Resp. to Cmts. at 9, 39, 42; see also NMFS Consultation Request at 1; FWS
       Consultation Request at 1.

               10
                  The Region’s record document entitled “Biological Evaluation” serves as a
       biological assessment pursuant to ESA § 7(a)(3), 16 U.S.C. § 1536(a)(3), and 50 C.F.R.
       § 402.12. The term “Biological Assessment” is used throughout this decision to refer to
       the Region’s Biological Evaluation.


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       consultation under the ESA. See Letter from Christopher B. Thomas, Permitting
       and Grants Branch Chief, Water Div., U.S. EPA Region 4, to David Bernhart,
       Asst.Reg’l Adm’r, Protected Res. Div., Se. Reg’l Office, Nat’l Marine Fisheries
       Serv., NOAA, re: Informal ESA Section 7 Consultation Request; Kampachi Farms,
       LLC—Velella Epsilon Marine Aquaculture Facility 1 (Aug. 12, 2019) (A.R. A.21)
       (“NMFS Consultation Request”) and attach. 1 (Draft Biological Evaluation,
       U.S. EPA & USACE (Aug. 5, 2019) (“Draft BE”)); Letter from Christopher B.
       Thomas, Permitting and Grants Branch Chief, Water Div., U.S. EPA, Region 4, to
       Roxanne Hinzman, Field Supervisor, S. Fla. Ecological Serv. Field Office, FWS,
       re: Informal ESA Section 7 Consultation Request; Kampachi Farms, LLC—Velella
       Epsilon Marine Aquaculture Facility (Aug. 13, 2019) (A.R. A.22) (“FWS
       Consultation Request”) and attach. 1 (Draft BE); see also Fact Sheet at 8.

               The Draft Biological Assessment concluded that “the proposed project’s
       potential threats * * * to ESA-listed species and critical habitat are highly unlikely
       to occur or extremely minor in severity,” and as such, “the potential effects to ESA
       protected species and critical habitats are discountable or insignificant.” Draft BE
       at 26. Specifically, the Draft Biological Assessment determined that the proposed
       action “will have ‘no effect’ on listed species and critical habitat under the
       jurisdiction of []FWS” and the proposed action “‘may affect but is not likely to
       adversely’ affect the listed species and critical habitat” under the jurisdiction of
       NMFS. Id.; NMFS Consultation Request at 2; FWS Consultation Request at 2. 11

               FWS reviewed the Region and USACE’s no effect determination and did
       not object to issuance of the permit for the proposed project. E-mail from Jeffrey
       Howe, FWS, S. Fla. Ecological Servs. Off., to Meghan Wahlstrom-Ramler,
       U.S. EPA Region 4 (Aug. 27, 2019) (A.R. A.23) (“FWS Concurrence”) (explaining
       that FWS “does not have any additional comments at this time”). NMFS reviewed
       the Draft Biological Assessment and concurred with the Region and USACE’s “not
       likely to adversely affect” determination for many of the listed species and
       designated critical habitat included in the Draft Biological Assessment, but NMFS
       explained that it concluded “there are no effects” on several of the listed species
       and critical habitats based on the proposed action and provided supplemental


               11
                   The Region and USACE also jointly prepared an Essential Fish Habitat
       Assessment pursuant to the Magnuson-Stevens Fishery Conservation and Management
       Act, 16 U.S.C. § 1801, and provided the assessment to NMFS. See Region’s Resp. to FoA
       Pet., att.14. The Region notes that while Petitioners have not alleged a claim under the
       Magnuson-Stevens Act, the Region assessed the effect of its action on essential fish habitat,
       and that assessment informed the Region’s decision-making. Id. at 4 n.4.


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       information to supports its conclusions. See Letter from David Bernhart, Asst.
       Reg’l Adm’r, Se. Reg’l Office, Protected Res. Div., Nat’l Marine Fisheries Serv.,
       to Christopher B. Thomas, Permitting and Grants Branch Chief, Water Div.,
       U.S. EPA Region 4, at 4, 7-8 (Sept. 30, 2019) (A.R. B.11) (“NMFS Concurrence”).

               On August 30, 2019, the Region published the proposed NPDES permit and
       associated documents, including a draft Ocean Discharge Criteria Evaluation, a
       draft EA, and a draft Biological Assessment, and sought public comment. See,
       U.S. EPA, Region 4, Ocean Era Inc., Draft Permit Public Notice (Aug. 30, 2019)
       (A.R. A.58); see also Region 4, U.S. EPA Final Resp. to Significant Cmts., Ocean
       Era, Inc. –Velella Epsilon, NPDES Permit No. FL0A00001, at 7 (Sept. 30, 2020)
       (A.R. B.66) (“Resp. to Cmts.”). The Region received approximately 44,500
       comments from various interested individuals and parties—including comments
       from CFS and FoA—during the public comment period. Resp. to Cmts. at 7-8.
       After the close of the public comment period, which lasted 158 days, the Region
       issued its “Response to Significant Comments.” Id. at 7.

              On September 30, 2020, the Region issued the Permit, along with the
       Region’s responses to public comments, and final versions of the Region’s Ocean
       Discharge Criteria Evaluation, Biological Assessment, and Environmental
       Assessment. These petitions for review followed.

                                                ANALYSIS

               The two petitions for review in this matter together present issues under four
       different statutes: the CWA, NEPA, the MMPA, and the ESA. Of these, the
       arguments made with respect to NEPA and the MMPA raise underlying issues as
       to whether Petitioners have met the threshold requirements under 40 C.F.R. part
       124 for consideration of their arguments on the merits. We resolve these threshold
       matters first and then turn to the substance of the remaining arguments.

       A. Threshold Matters

               In considering a petition for review of a permit decision filed under
       40 C.F.R. section 124.19(a), the Board first evaluates whether the petitioner has
       met threshold procedural requirements, such as issue preservation and specificity.
       In re Indeck-Elwood, LLC, 13 E.A.D. 126, 143 (EAB 2006). For example, a
       petitioner must demonstrate that any arguments it raises on appeal have been
       preserved for Board review, meaning the arguments were “raised during the public
       comment period.” 40 C.F.R. § 124.19(a)(4)(ii); see, e.g., In re City of Attleboro,
       MA Wastewater Treatment Plant, 14 E.A.D. 398, 405-06, 443-44 (EAB 2009); City
       of Moscow, 10 E.A.D. at 141, 149-50. To satisfy the preservation requirement, the


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       issues raised on appeal must have been “raised with ‘a reasonable degree of
       specificity and clarity’ during the public comment period or public hearing.” In re
       City of Lowell, 18 E.A.D. 115, 131 (EAB 2020) (quoting In re Westborough,
       10 E.A.D. 297, 304 (EAB 2002)); accord In re Beeland Group, LLC, 14 E.A.D.
       189, 205 (EAB 2008); see also Attleboro, 14 E.A.D. at 406 (“[T]o preserve an issue
       for review, comments made during the comment period must be sufficiently
       specific.”); Steel Dynamics., 9 E.A.D. at 230 (holding that an issue on appeal was
       not preserved when it was not presented in comments “with sufficient clarity to
       enable a meaningful response”). Specific comments “‘ensure[] that the Region has
       an opportunity to address potential problems with the draft permit before the permit
       becomes final.’” In re CertainTeed Corp., NPDES Appeal No. 15-01, at 11
       (EAB May 7, 2015) (Order Denying Review) (quoting In re Arecibo & Aguadilla
       Regional Wastewater Treatment Plants, 12 E.A.D. 97, 116-17 (EAB 2005)).
       General comments on a topic are not sufficient to preserve a specific argument on
       a distinct issue for review. See In re Footprint Power Salem Harbor Dev., LP,
       16 E.A.D. 546, 574-575 (EAB 2014) (holding that an issue raised on appeal that
       was not raised during the public comment period with the requisite clarity and
       specificity was not preserved for Board review; there were fundamental differences
       between the comment and the issue petitioners raised on appeal); City of Moscow,
       10 E.A.D. at 149-150 nn.37-39 (denying review of issues that were not specifically
       raised during the comment period and that were distinct from the issues raised in
       comments below).

              Additionally, in any appeal from a permit under part 124, the petitioner
       bears the burden of demonstrating that review is warranted. 40 C.F.R.
       § 124.19(a)(4). More specifically, not only must a petition for review “identify the
       contested permit condition or other specific challenge to the permit decision,” but
       it must also “clearly set forth, with legal and factual support, petitioner’s
       contentions for why the permit decision should be reviewed.” Id. § 124.19(a)(4)(i).
       A “petition must demonstrate that each challenge to the permit decision is based
       on: []A finding of fact or conclusion of law that is clearly erroneous.” Id.
       § 124.19(a)(4)(i)(A). A “[p]etitioner may not raise new issues or arguments in [a]
       reply” brief. Id. § 124.19(c)(2).

               To the extent a petitioner challenges an issue that the permit issuer
       addressed in its response to comments, the petitioner must explain why the permit
       issuer’s previous response to that comment is clearly erroneous or otherwise
       warrants review. 40 C.F.R. § 124.19(a)(4)(ii); see, e.g., In re Teck Cominco Alaska
       Inc. (Red Dog Mine), 11 E.A.D. 457, 494-95 (EAB 2004); Westborough, 10 E.A.D.
       at 305, 311-12; In re City of Irving, 10 E.A.D. 111, 129-30 (EAB 2001), review
       denied sub nom. City of Abilene v. EPA, 325 F.3d 657 (5th Cir. 2003). To meet this

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       threshold requirement, “the petitioner must address the permit issuer’s responses to
       relevant comments” and “substantively confront the permit issuer’s subsequent
       explanations.” In re Peabody Western Coal Co., 12 E.A.D. 22, 33 (EAB 2005). A
       petitioner’s failure to do so is grounds for denying review. 12 See, e.g., Lowell,
       18 E.A.D. at 157 (“By failing to grapple with the substance of the [r]egion’s
       position, [petitioner] leaves the [r]egion’s analysis unrebutted.”); In re City of
       Pittsfield, NPDES Appeal No. 08-19, at 10-12 (EAB Mar. 4, 2009) (Order Denying
       Review), aff’d, 614 F.3d 7 (1st Cir. 2010); Indeck-Elwood, 13 E.A.D. at 170 (“[A]
       petitioner’s failure to address the permit issuer’s response to comments is fatal to
       its request for review.”); In re Knauf Fiber Glass, GmbH, 9 E.A.D. 1, 5 (EAB 2000)
       (“Petitions for review may not simply repeat objections made during the comment
       period; instead they must demonstrate why the permitting authority’s response to
       those objections warrants review.”).

               1. CFS Failed to Properly Preserve for Review Its Arguments Concerning
                  the MMPA

              In two paragraphs of its petition for review, CFS seems to argue that under
       the MMPA, EPA was required to “complete an accurate assessment of risks posed”
       to marine mammals and to obtain “proper authorization” from NMFS as a
       prerequisite to the issuance of the permit. See CFS Pet. at 54. 13 Both statements




               12
                  Federal circuit courts of appeal have upheld this Board’s denial of review of an
       issue where a petitioner fails to substantively address the permit issuer’s response to
       comments on that issue. City of Pittsfield v. EPA, 614 F.3d 7, 11-13 (1st Cir. 2010)
       (holding that the Board’s order denying review was appropriate where petitioner made no
       effort to engage EPA’s response to comments), aff’g In re City of Pittsfield, NPDES
       Appeal No. 08-19 (EAB Mar. 4, 2009) (Order Denying Review); Mich. Dep’t of Envtl.
       Quality v. EPA, 318 F.3d 705, 708 (6th Cir. 2003) (“[Petitioner] simply repackag[ing] its
       comments and the EPA’s response as unmediated appendices to its petition to the Board
       * * * does not satisfy the burden of showing entitlement to review.”), aff’g In re
       Wastewater Treatment Facility of Union Twp., NPDES Appeal Nos. 00-26 & 00-28 (EAB
       Jan. 23, 2001) (Order Denying Review); LeBlanc v. EPA, 310 F. App’x 770, 775 (6th Cir.
       2009) (concluding that the Board correctly found petitioners to have procedurally defaulted
       where petitioners merely restated “grievances” without offering reasons why the permit
       issuer’s responses were clearly erroneous or otherwise warranted review), aff’g In re Core
       Energy, LLC, UIC Appeal No. 07-02 (EAB Dec. 19, 2007) (Order Denying Review).

               13
               CFS also states that the USACE was required to obtain “proper authorization”
       from NMFS before “authorizing this permit.” CFS Pet. at 54. To be clear, the CFS petition


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       appear to be based on the argument that the proposed Facility may result in the
       “take” of marine mammals through vessel strikes, entanglement, and increased
       ocean noise. Id. CFS does not cite any regulatory or statutory provisions within
       the MMPA or the CWA in support of its argument that EPA must obtain
       authorization from NMFS prior to EPA issuing an NPDES permit. Id. Nor does
       CFS in any other way articulate the basis for its assertions concerning the MMPA
       and the NPDES program. Id. CFS’s precise argument for how the MMPA should
       be applied to either USACE or EPA as part of the NPDES permitting program is
       not discernable from the CFS petition. 14 Thus, CFS has not satisfied the
       requirement of 40 C.F.R. section 124.19(a)(4)(i) to “clearly set forth, with legal and
       factual support, [its] contentions for why this issue should be reviewed.”

               Additionally, the CFS petition does not identify where in the record this
       issue was raised during the public comment period below as 40 C.F.R. section
       124.19(a)(4)(ii) requires. The only mention of the MMPA in CFS’s comments on
       the draft permit—that the Board has identified 15—is contained in a single sentence



       challenges the EPA’s permit decision. Neither the actions nor inactions of the USACE are
       before the Board.

               14
                  CFS’s argument is particularly difficult to discern in light of the MMPA
       requirement for the owner or operator of a vessel—not an NPDES permit issuer—to obtain
       authorization from NMFS if their activities will result in a “take” of any marine mammal.
       16 U.S.C. § 1372(a) (stating it is unlawful for any person, vessel, or other conveyance to
       take any marine mammal); 50 C.F.R. § 216.11 (stating it is unlawful for any person, vessel,
       or conveyance to take any marine mammal); 16 U.S.C. § 1387(c); 50 C.F.R. § 229.4
       (mandating that the owner or operator of a vessel obtain authorization from NMFS if the
       vessel is operating within a category I or II commercial fishery). The failure of a vessel
       owner or operator to obtain proper authorization allows the government to enforce against
       the violator, i.e., the vessel owner or operator. See 16 U.S.C. §§ 1387(h), 1375, 1377;
       (providing NMFS authority to arrest or penalize any person who commits an unlawful take
       and/or seize the take). The Region asserts that CFS’s MMPA allegations concern the
       permittee’s obligations under the MMPA and that CFS’s claim is not cognizable in an
       NPDES permit appeal. The Board does not disagree.

               15
                 For purposes of preserving an issue for Board review, the petitioner carries the
       burden, not the Board, to identify where in the public comment process an issue was raised.
       See In re Palmdale Energy, LLC, 17 E.A.D. 620, 648, n.21 (EAB 2018) (citing In re
       Encogen Cogeneration Facility, 8 E.A.D. 244, 250 n.10 (EAB 1999) (“It is not incumbent
       upon the Board to scour the record to determine whether an issue was properly raised
       below: this burden rests with petitioners.”)).


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       that states, “when the listed species to be taken are marine mammals, the take must
       first be authorized pursuant to the []MMPA[] and the [incidental take statement of
       the biological opinion issued pursuant to the ESA] must include any additional
       measures necessary to comply with the MMPA take authorization.” CFS Suppl.
       Cmts. at 5. This statement however does not argue that EPA is obligated to obtain
       authorization from NMFS for potential “takes” as part of the NPDES permitting
       process, let alone provide any legal basis for that assertion. This statement does
       not contain “a reasonable degree of specificity and clarity,” Lowell, 18 E.A.D.
       at 131, “to enable a meaningful response,” Steel Dynamics, 9 E.A.D. at 230. In
       other words, even if CFS mentioned the MMPA in its comments, the comments
       were not sufficiently specific to apprise the Region of the argument that CFS
       attempts to make on appeal. Attleboro, 14 E.A.D. at 406 (“[T]o preserve an issue
       for review, comments made during the comment period must be sufficiently
       specific.”).

              Based on our review of the CFS petition and the administrative record, the
       Board concludes that CFS has failed to demonstrate that this issue was properly
       preserved. As such, CFS has failed to satisfy its threshold obligations under
       40 C.F.R. § 124.19(a)(4)(ii) with respect to this issue and its request for review of
       the permit decision based on alleged violations of the MMPA is denied.

              2. CFS and FoA Failed to Properly Preserve for Review Their Arguments
                 with Respect to NEPA’s Applicability to the Permit

               As explained in Part IV.C, above, NEPA requires federal agencies such as
       EPA to include an EIS in all proposals for “major federal actions” that
       “significantly affect the quality of the human environment.” NEPA § 102(2)(C);
       42 U.S.C. § 4332(2)(C). Section 511(c) of the CWA, however, exempts most
       NPDES permits from this requirement. CWA § 511(c), 33 U.S.C. § 1371(c)
       (stating that with two exceptions, “no action of the [EPA] taken pursuant to the
       [CWA] shall be deemed a major [f]ederal action significantly affecting the quality
       of the human environment within the meaning of [NEPA]”). The CWA exemption
       from NEPA does not apply to NPDES permits issued for “a new source as defined
       in section [306]” of the CWA. Id.; see also CWA § 306(a)(2), 33 U.S.C.
       § 1316(a)(2) (defining new source); accord Dos Republicas, 6 E.A.D. at 648
       (explaining that permitting actions under the CWA are generally not regarded as
       major federal actions under NEPA with an exception for NPDES permits for new
       sources as mandated by CWA section 511(c)(1)). “New source” under section 306
       of the CWA, in relevant part, includes a newly constructed facility for which a new
       source performance standard (“NSPS”) has been promulgated. See CWA § 306,
       33 U.S.C. § 1316. The parties agree that the only NSPS relevant to this Permit is


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       for Concentrated Aquatic Animal Production (“CAAP”) facilities. Unless EPA
       specifically designates otherwise, CAAP facilities do not include facilities which
       produce less than 100,000 pounds of aquatic animals per year. 40 C.F.R. § 122,
       App. C (b)(2); see also id. § 122.24(b)-(c).

              Pursuant to EPA policy, permit issuers may voluntarily undertake a NEPA
       analysis even where they are not legally bound to do so. See Policy and Procedures
       for Voluntary Preparation of NEPA Documents, 63 Fed. Reg. 58,045, 58,046
       (Oct. 29, 1998). Under that policy, the Agency has been clear that “[t]he voluntary
       preparation of these documents in no way legally subjects the Agency to NEPA’s
       requirements.” Id.

               In issuing the NPDES Permit in this case the Region determined that the
       Permit was not subject to NEPA’s requirements. The Region based that
       determination on the CWA’s exemption from NEPA. The Region concluded that
       the exception for a “new source” to the CWA’s exemption from NEPA did not
       apply to this Permit and thus, NEPA was inapplicable. Specifically, the Region
       explained that the CWA defines a “new source” as “a facility that is subject to an
       applicable effluent limitation guideline and commenced construction after
       promulgation of the guideline.” Fact Sheet at 1 n.1. But here, the Region explained,
       “the appropriate effluent standards for the aquaculture industry (concentrated
       aquatic animal production facilities) are not directly applicable to the [Facility].”
       Id.; see also Resp. to Cmts. at 28 (explaining that the effluent standards for
       concentrated aquatic animal production facilities “do not apply to facilities
       producing less than 100,000 pounds of aquatic animals annually” and “the
       [Facility] will produce approximately 80,000 pounds of aquatic animals per year”);
       Permit at 1 (authorization to discharge “from an Aquatic Animal Producing Facility
       producing up to 80,000 pounds/year for one production cycle”).

               In this case, the Region conducted an environmental assessment on a
       voluntary basis, solicited public comment on it, issued a final environmental
       assessment, and concluded that issuance of the Permit “will not cause a significant
       environmental impact to water quality or result in any other significant impacts to
       human health or the natural environment.” U.S. EPA, USACE & NOAA, Final
       EA, NPDES Permit for Ocean Era, Inc. –Velella Epsilon Offshore Aquaculture
       Project, at 1, 66 (Sept. 2020) (A.R. B.33) (“Final EA”). The Region expressly
       stated that it had completed an environmental assessment on a voluntary basis and
       explained numerous times during the permitting process the inapplicability of




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       NEPA to this Permit. 16 See Draft EA at 1; Final EA at 1; Resp. to Cmts. at 28; Fact
       Sheet at 1 n.1; U.S. EPA, Region 4, Finding of No Significant Impact, Ocean Era,
       Inc. Velella Epsilon NPDES Permit, at 1 (Sept. 30, 2020) (A.R. B.34) (“FONSI”).
       The Region explained that the decision to conduct a voluntary NEPA analysis is
       consistent with EPA policy. Draft EA at 1 (citing 63 Fed. Reg. at 58,046).

                As discussed further below, Petitioners had multiple opportunities to contest
       the Region’s determination that this Permit was exempt from NEPA under the
       CWA. Petitioners, however, did not raise concerns about this determination in their
       comments on the draft permit. Nor did they challenge the Region’s determination
       in their petitions for review or confront the Region’s explanation for why NEPA is
       inapplicable to this Permit. On appeal, Petitioners challenge the adequacy of the
       Region’s NEPA analysis. CFS Pet. at 34-48; FoA Pet. at 35-39. At no point, prior
       to their reply briefs, did they challenge the Region’s determination that the Permit
       was exempt from NEPA and its requirements.

               During the public comment period, Petitioners challenged only the
       substance of the Region’s voluntary NEPA analysis. See CFS Cmts. at 6-9 (arguing
       that the Region’s analysis in the environmental assessment deviated from the NEPA
       requirements and should have resulted in a finding of significant effects, and
       therefore, the Region was required to prepare an EIS); FoA Cmts. at 5-18.
       Petitioners’ comments on the substance of the Region’s NEPA analysis, however,
       are “distinct from” whether NEPA applies to the Permit in the first instance. City
       of Moscow, 10 E.A.D. at 150 (holding that the issues raised on appeal were distinct
       from the ones raised in comments and were not preserved for Board review); see
       also Indeck-Elwood, 13 E.A.D. at 168-69 (determining the arguments raised during
       the public comment period were “distinctly different” from the one raised on appeal
       and declining to review the issue on appeal because it was not properly preserved).
       While both concern NEPA, there are “fundamental differences” between the two
       issues. Footprint Power, 16 E.A.D. at 574-575 (holding that an issue was not
       preserved for Board review when there were fundamental differences between


               16
                  Because EPA did not make a designation otherwise under 40 C.F.R. § 122.24(c)
       and this Permit authorizes the Facility to produce approximately 80,000 pounds or less of
       aquatic animals, the Permit is not for a CAAP facility. The Region correctly determined
       that the “new source” exception to the CWA’s exemption from NEPA does not apply. See
       In re Peabody Western Coal Co., 15 E.A.D. 406, 430-31 (EAB 2011) (denying review and
       concluding that the region correctly determined that the permitted facility was not a new
       source and that the NPDES permit was not subject to NEPA requirements per the CWA
       exemption).


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       petitioners’ comments on the draft permit and the issue petitioners raised on
       appeal). As such, Petitioners have not met their obligation to demonstrate that
       concern over the applicability of the CWA exemption to the Permit “was raised
       during the public comment period.” See 40 C.F.R. § 124.19(a)(4)(ii). The failure
       to raise an issue that was “reasonably ascertainable” during the public comment
       period is grounds for denial of a petition for review. 17 Id. § 124.13; see also
       § 124.19(a)(4)(ii) (mandating that for issues that were not raised during the public
       period, petitioners explain why such issues were not required to be raised as
       provided in 40 C.F.R. § 124.13); In re Tucson Elec. Power, 17 E.A.D. 675, 689-90
       (EAB 2018) (denying review and holding that an argument raised for the first time
       in a petition “has not been preserved for Board review”).

               Even if the applicability of the CWA exemption had been raised during the
       public comment process, which it was not, the Board would deny review based on
       Petitioners’ failure to raise the challenge in their petitions and address the Region’s
       Response to Comments. 40 C.F.R. § 124.19(a)(4)(i)-(ii) (requiring petitioners to
       the Board to identify and clearly set forth the specific challenges to the permit,
       where each challenge was raised during public comment, and why the Region’s
       response to each challenge was clearly erroneous or otherwise warrants review,
       when applicable). In response to substantive comments on the Region’s voluntary
       Draft EA, the Region again explained that the Permit was not subject to NEPA due
       to the CWA exemption and thus, EPA was not required to prepare any NEPA
       document for the Permit. Resp. to Cmts. at 28 (further explaining that the project
       did not qualify as a “new source” under CWA § 306, 33 U.S.C. § 1316).
       Additionally, in the Final EA that the Region issued with its Response to
       Comments, the Region explained that it had completed an environmental
       assessment on a voluntary basis, but that the decision to voluntarily evaluate the
       Permit did not render the Permit subject to NEPA. Final EA, at 1 (citing Policy for
       Voluntary Preparation of NEPA Documents, 63 Fed. Reg. at 58,046 (“The
       voluntary preparation of these documents in no way legally subjects the Agency to
       NEPA’s requirements.”). The final permit Fact Sheet and FONSI also explained
       the inapplicability of NEPA to this Permit. See Fact Sheet at 1 n.1; FONSI at 1



               17
                  When the Region issued the draft permit for public comment, it explained that
       this Permit was not subject to NEPA due to an exemption in the CWA and that it was
       proceeding to conduct an environmental assessment on a voluntary basis. Draft EA, at 1;
       see also CWA § 511(c)(1), 33 U.S.C. § 1371(c)(1). As such, Petitioners have no grounds
       to argue that the applicability of NEPA was not reasonably ascertainable during the public
       comment period.


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       (concluding that the Permit “is exempt from NEPA compliance under section
       511(c) of the CWA and not subject to NEPA analysis requirements”).

               Notwithstanding the Region’s many explanations regarding why NEPA and
       its requirements do not apply to this Permit, the petitions filed in this matter
       challenge only the adequacy of the Region’s NEPA analysis; they do not challenge
       the Region’s determination that this Permit is exempt from NEPA and its
       requirements. CFS Pet. at 34-48; FoA Pet. at 35-39. Petitioners do not “clearly set
       forth, with legal and factual support” any basis for why the Region was required to
       prepare an EIS under NEPA when the Region had determined the Permit exempt
       from NEPA. 40 C.F.R. § 124.19(a)(4)(i) (requiring petitioners to the Board to
       identify the specific challenge to the permit decision in their petitions); see also
       Lowell, 18 E.A.D. at 157 (explaining that failing to grapple with the substance of
       the permitting authority’s position in the petition leaves the permitting authority’s
       analysis unrebutted).

                Nor do the petitions address the Region’s Response to Comments. See
       Resp. to Cmts. at 28; see In re Chukchansi Gold Resort and Casino Wastewater
       Treatment Plant, 14 E.A.D. 260, 269 (EAB 2009) (denying petition in part based
       on petitioner’s failure to explain with sufficient specificity why the region’s
       previous responses to comments were clearly erroneous or an abuse of discretion).
       In fact, Petitioners “made no effort in [their] petition[s] to the Board to engage the
       EPA’s [] response” regarding the CWA’s exemption of the Permit from NEPA.
       See City of Pittsfield, 614 F.3d at 13; accord Native Vill. of Kivalina IRA Council
       v. EPA, 687 F.3d 1216, 1221 (9th Cir. 2012) (concluding that the petitioner “simply
       did not argue or explain why the EPA’s responses were incorrect” and for that
       reason, affirming the Board’s finding of procedural default), aff’g In re Teck
       Cominco Alaska Incorporated (Red Dog Mine), NPDES Appeal No. 10-04
       (EAB Nov. 18, 2010) 11 E.A.D. 457 (EAB 2004) (Order Denying Review). In
       their silence, Petitioners have failed to “meaningfully confront the response to
       comments” on the applicability of the CWA exemption. See Lowell, 18 E.A.D.
       at 166. Petitioners’ failure to address the Region’s Response to Comments is
       grounds for denial of review. 40 C.F.R. § 124.19(a)(4)(ii); see, e.g., In re City of
       Taunton, 17 E.A.D. 105, 180, 182-83, 189 (EAB 2016) aff’d, 895 F.3d 120
       (1st Cir. 2018), cert. denied, 139 S. Ct. 1240 (2019) (denying review on numerous
       issues because the petitioner failed to address the Region’s explanation for rejecting
       its comments).

                Not until Petitioners filed their reply briefs in this appeal did they, for the
       first time, argue that the CWA exemption from NEPA does not apply to the Permit,
       and that the Region’s voluntary undertaking of an environmental assessment


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       triggers NEPA requirements regardless of the CWA exemption. FoA Reply Br. at
       16-17; CFS Reply Br. at 12-15. Petitioners, however, may not raise new issues in
       their reply briefs. 40 C.F.R. § 124.19(c)(2). As the Board has explained, “new
       issues raised at the reply stage of the[] proceedings are equivalent to late filed
       appeals and must be denied on the basis of timeliness.” Dominion Energy,
       12 E.A.D. at 595 (quoting In re Knauf Fiber Glass, GmbH, 8 E.A.D. 121, 126 n.9
       (EAB 1999)). These arguments therefore come too late, and the Board will not
       consider them.

               The Board denies review of Petitioners’ NEPA arguments because
       Petitioners failed to timely present any argument as to why NEPA is applicable to
       this Permit, despite the Region’s explanation that it is not. See 40 C.F.R.
       § 124.19(a)(4)(i)-(ii).

              We now consider the CWA issues raised in this matter.

       B. Review of the Region’s Evaluation of the Permit under the Ocean Discharge
          Criteria of the Clean Water Act

               Petitioners argue that, in issuing the NPDES Permit for this project, the
       Region failed to comply with the CWA. More specifically, Petitioners maintain
       that the Region clearly erred in its consideration of the Ocean Discharge Criteria
       by failing to fully consider the discharge of nutrients (and their potential to
       contribute to harmful algal blooms, which poses a threat to human health),
       pharmaceuticals in the form of antibiotics given to the farmed fish (and the
       consequent threat to human health due to antibiotic resistance), pathogens and
       parasites (passed from the farmed fish to other marine life), escaped fish, and
       copper 18 (from the net-pen itself). CFS Pet. at 25-32; FoA Pet. at 11-18. Finally,
       Petitioners argue that the Region erred by imposing insufficient monitoring
       provisions and by not including the proper reopener provision in the Permit. FoA
       Pet. at 12; CFS Pet. at 33-34.

               In response to these arguments, the Region maintains that it did consider all
       of the impacts from the proposed discharge in making its unreasonable degradation
       determination and that the record as a whole demonstrates that it met its regulatory
       obligation. Reg. Resp. to CFS Pet. at 14-26; Reg. Resp. to FoA Pet. at 14-25; see
       also Oral Argument Transcript (Dec. 9, 2021) (“Oral Arg. Tr.”) at 73, 90. We begin



              18
                  Only CFS challenges the Region’s failure to consider copper. See CFS Pet.
       at 31-32; see generally FoA Pet.


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       with a discussion of the Ocean Discharge Criteria requirements under the CWA
       and the implementing regulations.

               1. The Ocean Discharge Criteria Under the Clean Water Act

               As discussed above, EPA regulations set forth a process for determining
       whether a discharge will cause an unreasonable degradation of the marine
       environment. CWA § 403(c)(1), 33 U.S.C. § 1343(c)(1) (requiring EPA to
       promulgate guidelines that incorporate specific statutory factors); 40 C.F.R. pt. 125
       subpt. M (setting forth regulations to implement the statutory requirements). Those
       regulations further provide that the permit issuer base its “unreasonable
       degradation” determination on a consideration of ten factors—the ODC factors.
       40 C.F.R. § 125.122(a). Those ten factors are:
                   1) The quantities, composition and potential for bioaccumulation or
               persistence of the pollutants to be discharged;[19]
                   2) The potential transport of such pollutants by biological, physical[,]
               or chemical processes;
                   3) The composition and vulnerability of the biological communities
               which may be exposed to such pollutants, including the presence of unique
               species or communities of species, the presence of species identified as
               endangered or threatened pursuant to the [ESA], or the presence of those
               species critical to the structure or function of the ecosystem, such as those
               important for the food chain;
                   4) The importance of the receiving water area to the surrounding
               biological community, including the presence of spawning sites,
               nursery/forage areas, migratory pathways, or areas necessary for other
               functions or critical stages in the life cycle of an organism;




               19
                   The Board observes that in establishing the Effluent Limitations Guidelines and
       New Source Performance Standards for the Concentrated Aquatic Animal Production
       facilities (“the CAAP Guidelines”), the Agency identified “pollutants of concern,” and
       “regulated pollutants” that are discharged from such facilities. See 69 Fed. Reg. 51,892,
       51,899 (Aug. 23, 2004). The pollutants the Agency identified in the CAAP Guidelines
       include nutrients, organic compounds such as fish food and fish waste, metals, pathogens,
       drugs, and pesticides. Id. Additionally, the Region applied the CAAP Guidelines to the
       proposed project authorized by this NPDES Permit. ODCE at 47; see also Permit Part III
       at 9 (incorporating monitoring provisions from the CAAP Guidance into the Permit) and
       Permit Part IV at 12 (incorporating best management practices from the CAAP Guidance
       into the Permit); Fact Sheet at 3-4.


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                  5) The existence of special aquatic sites including, but not limited to
              marine sanctuaries and refuges, parks, national and historic monuments,
              national seashores, wilderness areas and coral reefs;
                  6) The potential impacts on human health through direct and indirect
              pathways;
                  7) Existing or potential recreational and commercial fishing,
              including finfishing and shellfishing;
                  8) Any applicable requirements of an approved Coastal Zone
              Management plan;
                  9) Such other factors relating to the effects of the discharge as may be
              appropriate;
                  10) Marine water quality criteria developed pursuant to section
              304(a)(1).
       Id.

              If the permit writer “on the basis of available information* * * determines
       * * * that the discharge will not cause unreasonable degradation of the marine
       environment after application of any necessary conditions specified in
       § 125.123(d), [the permit writer] may issue an NPDES permit containing such
       conditions.” Id. § 125.123(a). Subsection (d) conditions include dilution
       requirements, specification of a monitoring program, location-specific conditions,
       and a specific clause (the “reopener clause”) that requires the permit issuer to
       modify or revoke the permit at any time if new data reveals that continued
       discharges may cause unreasonable degradation of the marine environment. Id.
       § 125.123(d). The permit writer may not issue an NPDES permit if it determines
       that the ocean discharge “will cause unreasonable degradation of the marine
       environment.” Id. § 125.123(b).

               On the other hand, if “insufficient information exists on any proposed
       discharge to make a reasonable judgment” on any regulatory requirement
       established under the CWA’s Ocean Discharge Criteria, “no permit shall be
       issued.” CWA § 403(c)(2), 33 U.S.C. § 1343(c)(2). Under the Ocean Discharge
       Criteria regulations, when a permit writer “has insufficient information to
       determine prior to permit issuance that there will be no unreasonable degradation
       of the marine environment * * *, there shall be no discharge of pollutants into the
       marine environment unless the [permit writer] on the basis of available information
       * * *determines that:

                  (1) Such discharge will not cause irreparable harm to the marine
              environment during the period in which monitoring is undertaken,
              and


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                  (2) There are no reasonable alternatives to the on-site disposal of
              these materials, and
                  (3) The discharge will be in compliance with all permit
              conditions established pursuant to paragraph (d) of this section.

       40 C.F.R. § 125.123(c). And if a permit writer issues a permit pursuant to
       subsection (c), then the permit must include the conditions set forth in subsection
       (d). Id. § 125.123(c)-(d).

               The preamble to the regulations makes clear that the Ocean Discharge
       Criteria were intended to “provide flexibility to permit writers to tailor application
       requirements, effluent limitations, and reporting requirements to the specific
       circumstances of each discharge situation, while ensuring consistency and certainty
       by imposing minimum requirements, in situations where the long-term impact of a
       discharge is not fully understood.” 45 Fed. Reg. at 65,942. The preamble also set
       forth the standard for evaluating a permit issuer’s determinations on issues under
       the Ocean Discharge Criteria as one of “reasonable judgment[]” and explained that
       a permit issuer’s judgments “will be made on available information compiled in the
       administrative record of the permit issuance.” Id. at 65,947.

              2. Petitioners Have Not Demonstrated the Region Clearly Erred in Its
                 Consideration of the Ocean Discharge Criteria

               As summarized above, Petitioners raise issues with respect to the Region
       evaluations of: (a) nutrients and harmful algal blooms (“HABs”),
       (b) pharmaceuticals and antibiotic resistance, (c) pathogens and parasites,
       (d) escaped fish, and (e) copper. We address each of these issues in turn below.

                  a. Nutrients and HABs

               Both Petitioners argue that the Region failed to adequately consider, as
       required by 40 C.F.R. § 125.122(a)(6), the threat to human health posed by HABs
       that will result from the Facility’s discharge of nutrients. CFS Pet. at 26-28; FoA
       Pet. at 15-17. Petitioners’ arguments on this issue rest on the underlying
       assumption that the discharge of nutrients from this Facility will contribute to the
       growth of HABs. The Region disagrees with that underlying assumption and
       argues that there is no basis from which to conclude that nutrients discharged from
       this Facility will contribute to the growth of HABs. Reg. Resp. to CFS Pet. at 17-
       20; id. at 19 (arguing among other things that “[w]hile acknowledging that, as a
       general matter, nutrient discharges can contribute to HABs, * * * ‘it is not expected
       that aquaculture-related pollutants will be measured in the water within 5-10 meters
       of the project.’”); Reg. Resp. to FoA Pet. at 22-25 (same).


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               In its ODC Evaluation, the Region identified fish food and fish waste as the
       major pollutants to be discharged. ODCE at 13, 33. When considering the impacts
       of the discharge of fish food and fish waste on the marine environment, the Region
       considered extensively the impact of the nutrients contained in the discharge—
       including phosphorus and nitrogen. See, e.g., id. at 13-14, 33-37, 43-44. As the
       Region acknowledged, adding nutrients to the Gulf can pose a problem because
       nutrients are known to contribute to HABs, including Karenia brevis, more
       commonly known as the red tide organism. Id. at 34. Notwithstanding the potential
       that nutrients have to contribute to HABs in general, the Region explained that the
       concentration of waste nitrogen from net-pens diminishes greatly immediately
       downstream and that “not enough scientific evidence []is available to suggest that
       macronutrients and micronutrients from fish farming, or the proposed project, can
       be directly related to the occurrence of red tides.” Id. at 35. 20

               When analyzing the potential transport of pollutants to be discharged from
       the Facility by biological, physical, and chemical processes, the Region explained
       that “[f]actors influencing the transport and fate of materials discharged from net-
       pen facilities include oceanographic characteristics of the receiving water, physical
       characteristics of the net-pen, water depth below the net-pen, configuration and
       orientation of the net-pen system in relation to predominant currents, type of food
       used, fish feeding rates and stock size.” Id. at 43. Other oceanographic
       considerations consist of “tides, wind, stratification, and current velocities and
       direction.” Id.

              Environmental modeling analysis was conducted of the proposed project to
       help determine the fate and effects of solid wastes discharged from the net-pen. Id.



               20
                  Petitioners assert that the Region’s statement that “there is not enough evidence
       * * *” is equivalent to a determination that there was “insufficient information to make a
       reasonable judgment” as to the Ocean Discharge Criteria. See CFS Pet. at 27; FoA Pet. at
       16-17. We disagree—the two assertions are not synonymous. While there may not have
       been enough scientific evidence to link fish farms to HABs as a general matter, that does
       not mean there was insufficient information to make a reasonable determination that this
       proposed fish farm will not have negative impacts on human health. Petitioners ignore the
       other information on which the Region relied in making its determination. As described
       below, that information included, for example, the environmental modeling for this project,
       the relatively small fish biomass production, the oceanographic characteristics of the
       receiving water, the physical characteristics of the net-pen system, the type of food used,
       and the best management practices in place. See ODCE at 43, 45; Resp. to Cmts. at 20,
       22-23.


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       The modeling was conducted using “maximum fish production amounts for the
       entirety of the simulation period” and several scenarios were used, including one
       that assumed “a maximum biomass for the entire 5-year term of the NPDES
       [P]ermit,” even though the Permit allows only one cohort of fish that is expected to
       be reared over the course of twelve months. Id. Based on an analysis of the
       environmental modeling conducted for the proposed project, the Region explained
       that “[o]cean currents are expected to flush the cages sufficiently to carry wastes
       away from cages and dilute and disperse dissolved and solid wastes over a large
       area.” Id. at 45. The Region further explained that “[d]ue to the small scale of the
       proposed project and because the discharged wastes are largely [made up] of
       organic and inorganic particulates and dissolved metabolic wastes, there is little
       potential for biological or chemical transport.” Id.

                In response to concerns raised during the public comment period regarding
       HABs and the associated threat to human health, the Region again acknowledged
       that “[a] small percentage of algae” can produce “powerful toxins that can kill fish,
       shellfish, mammals, and birds, and may directly or indirectly cause illness in
       people.” Resp. to Cmts. at 22. The Region further explained, however, that
       “[c]ausal linkages have not been established between fish farming and
       phytoplankton blooms.” Id. at 22-23. The Region added that, as part of its analysis
       of this permit action, it had considered “water quality impacts related to HABs such
       as nutrients, organic enrichment impacts to the seafloor sediments and benthic
       communities, estimated water current magnitude and direction, dilution availability,
       and solid and dissolved waste impacts.” Id. at 23.

               The Region also noted that NOAA had concluded that, although there is
       some evidence that effluent from fish farms may contribute to an occurrence of
       HABs in the marine environment, “most studies have failed to demonstrate a clear
       effect.” Id. at 23. Further, where effects from nutrients have been found, the Region
       explained that “hydrological conditions or farm management practices may [have]
       contribute[d].” Id. The Region further observed that “[s]iting farms in deep, well
       flushed waters will help disperse dissolved nutrients, and siting projects away from
       areas where effluent will be washed onshore will also help avoid eutrophication.”
       Id. at 23; see also id. at 26.

               The Region also again pointed out that this Facility is a pilot-scale operation
       that involves one cage situated “45 miles from shore in a high energy environment
       and [will be] discharging for approximately one year.” Id. at 24. Additionally, the
       Permit contains non-numeric effluent limitations (in the form of “best management
       practices”) “to control the discharge of feed and nutrients” and “robust



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       environmental monitoring requirements up-current, down-current, and at the
       [F]acility.” 21 Id.; see also id. at 20.

               After considering the potential impacts of nutrient discharge from the
       Facility, the Region determined that “[d]ue to the relatively small fish biomass
       production estimated for this demonstration and the limited discharges other than
       fish food and fecal matter, the volume and constituents of the discharged material
       are not considered sufficient to pose a significant environmental threat.” Id. at 23.

               Petitioners rely heavily on the Region’s general acknowledgement that
       nutrients can encourage the growth of HABs as a basis for assuming that health
       effects from HABs must be considered. CFS Pet. at 27; FoA Pet. at 16. Neither
       petition, however, challenges the Region’s conclusions with respect to the
       modeling, the siting, the hydrological conditions, or the dispersal of a relatively
       small amount of nutrients over a large area within a short distance of the Facility.
       Because the petitions do not address the reasons the Region gave for its
       determination that the discharged nutrients “are not considered sufficient to pose a
       significant environmental threat,” Petitioners’ arguments fall short of the threshold
       they must meet to demonstrate that the permit issuer clearly erred in making its
       technical determination. See Resp. to Cmts. at 23; see also e.g., Footprint Power,
       16 E.A.D. at 555 (citing Prairie State, 13 E.A.D. at 72) (concluding that petitioners
       failed to provide “a sufficiently compelling rebuttal” of permit issuer’s finding to
       overcome the deference the Board normally gives to permitting authorities on
       technical matters).

               Based on the foregoing, Petitioners have not carried their burden to
       demonstrate that the Region clearly erred by not considering the threat to human
       health from HABs where the Region considered the potential contribution to HABs
       and concluded that the discharge of nutrients from the Facility would not pose an
       environmental threat.



               21
                  FoA argues that the downstream monitoring required is insufficient because it is
       not located far enough away from the Facility. FoA Pet. at 12-13. For reasons explained
       below, FoA’s legal basis for challenging the monitoring is incorrect. Additionally, FoA’s
       argument with respect to the location of the monitoring does not consider that the Region’s
       modeling results—which considerably over-estimated levels of discharge by assuming the
       discharge would be for five years, rather than the approximately twelve months that it will
       take to rear the permitted one cohort of fish—indicated that even very close to the Facility
       waste volumes would be extremely low or barely discernable. ODCE at 43-44; Resp. to
       Cmts. at 23.


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                  b. Pharmaceuticals & Antibiotic Resistance

               Petitioners next argue that the Region failed to fully consider the potential
       impacts of antibiotic usage at the Facility and, in particular, the threat to human
       health in the form of antibiotic resistance. CFS Pet. at 29; see also FoA Pet.
       at 14-15. Petitioners assert the Region’s analysis of the scientific data was flawed,
       and that the Permit should have included terms that limited the use of antibiotics
       but did not. CFS Pet. at 29; see also CFS Reply Br. at 11-12; FoA Reply Br. at 5-6.

               On the contrary, the Region evaluated the potential discharge of antibiotics
       from the Facility over the course of fourteen paragraphs in its ODC Evaluation.
       ODCE at 40-43. Among other things, the Region explained that “[t]he
       concentrations of antibiotics outside of the immediate proximity of the fish pens
       are regarded by most authors as being too low to have adverse effects.” Id. at 42.
       Additionally, the Region distinguished studies done outside of the United States
       because “federal regulations that apply to the use of antibiotics in fish farming in
       the United States appear to be much more stringent than those that apply in Japan
       and Europe * * *.” Id. With respect to studies from Japan, the Region noted that
       even where the use of antibiotics in aquaculture is extensive, the “transfer of drug
       resistance from fish to human pathogenic bacteria,” has been shown to be
       “unlikely.” Id. at 42-43. The Region also noted that “dosage and duration,” in the
       studies from Japan “appear[] to exceed both legal and general practices in the
       United States.” Id. at 41.

               Ultimately, the Region concluded that the need to use antibiotics would be
       minimized by strong currents, low fish density, the cage material being used, and
       the constant movement of the cage. Id. at 43. The Region also noted that if
       antibiotics were used, the Permit requires that the use of any medicinal products
       including therapeutics, antibiotics, drugs, and other treatments must be reported to
       EPA. See Permit at 6, 9. Additionally, with respect to the fish health management,
       the Region included a requirement in the Permit that “all stocking of live aquatic
       organisms, regardless of life stage, must be accompanied by an Official Certificate
       of Veterinary Inspection signed by a licensed and accredited veterinarian attesting
       to the health of the organisms” and the Facility must implement best management
       practices related to fish health management. ODCE at 47-48. The Region also
       considered the applicant’s indication that antibiotics will not likely be used (either
       within any feed or dosing of the rearing water) during the proposed project. Id.
       at 43; see also Resp. to Cmts. at 14. Based on the entirety of the record, the Region
       did consider the potential impacts of the use of antibiotics at the Facility, including
       potential impacts on human health. As such, Petitioners have not met their burden
       to demonstrate that the Region clearly erred by failing to fully consider the potential


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       impacts of antibiotic usage and, in particular, the threat to human health in the form
       of antibiotic resistance.

                    c. Pathogens & Parasites

               Petitioners also argue the Region did not adequately consider the potential
       for “pathogens” to be discharged from the Facility. CFS Pet. at 31; FoA Pet. at 14.
       FoA argues that the Region should have considered the impacts of possible
       “pathogens” on human health and recreational or commercial fisheries, ODC
       factors number 6 (relating to consideration of the potential impacts on human
       health) and 7 (relating to the consideration of existing or potential recreational and
       commercial fishing), respectively, under the Ocean Discharge Criteria, although
       FoA does not elaborate on how exactly it believes pathogens relate to those two
       factors. FoA Pet. at 14 (“EPA erred by not fully considering the possibility of
       disease and pathogen transfer or conducting new studies aimed specifically at the
       waters of the Gulf of Mexico. This speaks to at least two of the factors of
       unreasonable degradation of the marine environment. 40 C.F.R. § 125.122(6),
       (7).”)

               The ODC Evaluation, however, does contain a discussion of pathogens in
       the context of considering ODC factors number 9—“other factors relating to effects
       of the discharge.” 22 ODCE at 47. In that part of the evaluation, the Region
       considered the need for permit conditions to ensure that unreasonable degradation
       to the marine environment will not occur. Again, the Region referred to the permit
       conditions requiring that all fish stocked “must be accompanied by an Official
       Certificate of Veterinary Inspection signed by a licensed and accredited
       veterinarian attesting to the health of the organisms” and the Facility must
       implement a “best management practices” plan that “include[s] conditions to
       control or minimize the transfer of pathogens to wild fish.” Id. at 47-48.

               In the Response to Comments on this issue, the Region agreed that
       pathogens are a “pollutant” within the meaning of the NPDES permitting program.
       Resp. to Cmts. at 19. The Region also recognized the possibility of pathogens being
       transferred from the farmed fish to wild fish as a result of this project. The Region
       then explained that there is very little information available on the effects of such
       pathogen transfer, but the information that is available suggests that there is little



               22
                   Although FoA argues in its petition that impacts of possible pathogens “speaks
       to at least” factors 6 and 7, it makes no argument that the Region erred in considering this
       as part of factor 9. See generally FoA Pet.


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       risk of harm from the transfer of pathogens to wild stock. Id. at 19-20. The Region
       added that “EPA evaluated the direct and indirect potential impacts from pathogens
       and parasites in multiple documents when developing effluent limitation guidelines
       (ELGs) and performance standards for the CAAP industry.” Id. at 19. The Region
       also noted that the permit conditions, which incorporate the CAAP standards,
       address a number of the concerns raised with respect to pathogens and disease
       transfer through non-numeric effluent limits in the form of “best management
       practices.” Id. at 20. The Region maintained that these best management
       practices—e.g., Facility-specific fish health management conditions to minimize
       pathogen transfer—and the permit condition requiring a certificate of health from
       a veterinary inspection would be sufficient to address any concerns. Id. Based on
       the record, the Region considered the potential impact of pathogens from this
       Facility and determined that the permit conditions in place would eliminate the low
       risk of harm. Petitioners have not carried their burden to demonstrate the Region
       clearly erred in its consideration, under the Ocean Discharge Criteria, of potential
       pathogen discharges from this Facility.

                    d. Escaped Fish

                Petitioners next argue that the Region failed to fully consider the possibility
       of “escaped fish” in the ODC Evaluation. CFS Pet. at 32; FoA Pet. at 13-14.
       Petitioners are correct that the Region did not identify escaped fish as a pollutant to
       be discharged in the ODC Evaluation. The Region did, however, respond to
       comments raised during the public comment period regarding escaped fish. Resp.
       to Cmts. at 17, 19. There, the Region acknowledged that escaped fish are
       “pollutants” within the meaning of the CWA that fall within the scope of NPDES
       permitting. Resp. to Cmts. at 19. The Region explained, however, that “the risks
       that escaped farm fish pose to wild populations are a function of the probability of
       escape.” Id. at 17. And, with respect to this Facility, “[t]he copper mesh cage to
       be used is impact resistant and designed to survive storm events while being
       completely submerged,” which results in “a low probability of escape.” Id. The
       Region pointed out that the Permit requires the implementation of a Facility
       Damage Prevention and Control Requirements plan to mitigate environmental
       impacts during any disaster and to prevent the release of aquatic animals. Id.
       at 18. 23 The Region also explained that the Facility would be required to adhere to



               23
                   FoA also argues that the Region did not take into account the increasing
       frequency and severity of hurricanes in the Gulf of Mexico, particularly given the impacts
       of climate change. FoA Pet. at 13-14. The Region, however, addressed concerns regarding


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       a Facility-specific best management practices plan that would ensure the Facility is
       being operated and maintained to mitigate environmental impacts during any
       disaster. Id.

               Notwithstanding the Region’s determination that there is a low probability
       of fish escapes from the Facility, the Region did consider the impacts of escaped
       fish. Id. at 17. The Region observed that the farmed species, Almaco Jack, is
       native and common to the Gulf and that the fingerlings for the project will be
       sourced from brood stock that were caught in the Gulf. Id. Thus, any environmental
       impacts from “escaped fish” would be mitigated because, in the event that any fish
       do escape, there would be no genetic impacts because the fish have the same genetic
       makeup and would not likely pose a competitive risk to the wild stock. Id.

                CFS neither acknowledges nor addresses the Region’s Response to
       Comments in its petition. See CFS Pet. at 32. Rather, CFS argues that the Region
       was required to include its analysis in the ODC Evaluation. Id. at 32. On the
       contrary, the Response to Comments document is an appropriate place for the
       Region to respond to issues raised by comments on the draft permit and to provide
       its rationale for a final permitting decision. See City of Taunton, 17 E.A.D. at 125,
       186; cf. Alaska Eskimo Whaling Comm’n v. EPA, 791 F.3d 1088, 1092
       (9th Cir. 2015) (explaining that the response to comments document, the ocean
       discharge criteria evaluation, and the environmental justice analysis, taken together,
       explain the bases for EPA’s permitting decision). Indeed, that is precisely the
       purpose of the Response to Comments document. See id.; see also 40 C.F.R.
       § 124.17(a) (requiring the permitting authority to briefly respond to all significant
       comments on the draft permit).

               FoA acknowledges the Region’s Response to Comments but argues that the
       Region should have considered known fish escapes from other fish farm facilities,
       such as Puget Sound, and asserts that the Region did not explain why the cage has
       a low probability of escape. FoA Pet. at 13. In describing the comments regarding
       fish escapes in the Response to Comments document, however, the Region did
       acknowledge the fish escape that occurred in Puget Sound and explained that the
       concerns raised about that escape were related to the impacts to the genetic pool of
       native fish, competition for food and habitat, and the spread of parasites or diseases
       to wild stocks. Resp. to Cmts. at 17. In responding to that comment and those
       concerns, the Region also explained why those concerns are not applicable here,


       the impact of hurricanes (including a consideration of climate impacts and extreme
       weather) in the Response to Comments document. Resp. to Cmts. at 18.


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       namely, as explained above, that the cage has a low probability of escape and the
       farmed fish proposed for this Facility are genetically identical to the wild fish. Id.
       at 17.

              In sum, the Region did consider the possibility of fish escapes as a potential
       discharge from the permitted Facility. Petitioners’ arguments to the contrary do not
       demonstrate otherwise. Thus, Petitioners have not met their burden to demonstrate
       the Region clearly erred in its consideration of escaped fish from this Facility.

                    e. Copper

               CFS also argues that the Region failed to include copper in its ODC
       Evaluation. CFS Pet. at 31-32. 24 CFS is correct that the Region did not identify
       copper as a pollutant to be discharged in the ODC Evaluation. This issue was raised
       during the public comment period and the Region responded with, among other
       statements, “[c]opper is not expected to be at a measurable concentration in the
       [F]acility effluent.” Resp. to Cmts. at 15. The Region further explained that,
       notwithstanding this expectation, and “given the unique nature of this project and
       the limited water quality data regarding the use of copper in marine aquaculture
       operations,” the Permit includes a water quality monitoring provision for copper at
       multiple locations in the water column. Id.

               On appeal, CFS does not argue that copper will be discharged in the effluent
       from this Facility, or otherwise confront the Region’s determination that copper
       will not occur in measurable concentrations. See generally CFS Pet. at 31-32; see
       also 40 C.F.R. § 124.19(a)(4)(ii) (requiring petitioners to explain why a permit
       issuer’s response to comments is clearly erroneous or otherwise warrants review);
       City of Pittsfield, NPDES Appeal No. 08-19, at 10-12. Instead, CFS relies on the
       fact that the Permit requires monitoring for copper as the basis for the Region’s
       obligation to consider copper in its ODC Evaluation. CFS Pet. at 31-32. CFS then
       states without citation or support that “[t]he use of copper net pens can result in
       heavy metals being released into the environment and subsequent
       bioaccumulation.” Id. at 32.

               Under the Ocean Discharge Criteria regulations, the Region is required to
       consider “[t]he quantities, composition and potential for bioaccumulation or
       persistence of the pollutants to be discharged.” 40 C.F.R. § 125.122(a)(1) (ODC
       factors number 1). As stated above, the Region here considered whether copper



              24
                   FoA does not raise this issue in its petition for review.


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       cages would create an issue for ocean water or marine life and concluded that
       copper was not expected to occur in measurable levels in the Facility’s effluent.
       Resp. to Cmts. at 15. CFS points to no information to undermine the Region’s
       conclusion, instead relying on the Region’s imposition of a monitoring requirement
       for copper as evidence that the Region believed copper would be discharged. CFS’s
       reliance is misplaced. The fact that the Region conservatively decided to impose a
       monitoring requirement for copper “given the unique nature of this project and the
       limited water quality data regarding the use of copper in marine aquaculture
       operations”—to ensure that copper is not released at a level of concern—does not
       undermine the Region’s conclusion that copper is not expected to occur in
       measurable levels in the Facility’s effluent. CFS has not met its burden to show
       that the Region clearly erred in its consideration of copper in its evaluation of the
       Ocean Discharge Criteria.

              In sum, based on our review of the record as a whole, the Region based its
       unreasonable degradation determination on its consideration of the ODC factors,
       including the potential impacts of the pollutants identified by Petitioners.

               3. The Region Could, But Was Not Required to, Include Certain Permit
                  Conditions Under 40 C.F.R. § 125.123(d).

                Next, FoA argues that the Region was required under 40 C.F.R.
       § 125.123(d)(2) to include more or different monitoring than the Region required.
       FoA Pet. at 12. CFS argues that the Region failed to include the reopener provision
       specified under 40 C.F.R. § 125.123(d)(4), which requires that the permit will be
       revoked or modified if, on the basis of new data, the permit issuer determines that
       continued discharges may cause unreasonable degradation of the marine
       environment. 25 CFS Pet. at 33-34. Both Petitioners misconstrue the regulatory
       requirements. Paragraph (d) of section 125.123 requires that certain provisions be
       included in “permits which authorize the discharge of pollutants pursuant to
       paragraph (c).” 40 C.F.R. § 125.123(d). As the Region points out, however,
       “paragraph (c)” authorizes the Region to issue permits for ocean discharges when
       it has “insufficient information to determine prior to permit issuance that there will



               25
                  The Permit issued does contain a reopener provision, but that provision is not as
       broad as the reopener provision in the Ocean Discharge Criteria regulations for permits
       based on insufficient information, which allows for reopening a permit any time the permit
       issuer determines, based on new data, that “continued discharges may cause unreasonable
       degradation of the marine environment.” Compare 40 C.F.R. § 125.123(d)(4) with Permit
       at 25.


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       be no unreasonable degradation of the marine environment,” so long as certain
       other conditions are met. Id. § 125.123(c); Region’s Resp. to CFS Pet. at 26. In
       issuing this Permit, however, the Region did not rely on paragraph (c). See ODCE
       at 47 (relying on 40 C.F.R. § 125.123(a) as the basis for including permit conditions
       it found “necessary.”); 48 (“Sufficient information currently exists regarding open
       water marine fish farming activities and expected impacts from activities, coupled
       with information regarding proposed discharge, to allow the EPA to adequately
       predict likely environmental outcomes for the Proposed project.”). As such, the
       permit conditions in 40 C.F.R. § 125.123(d) are not mandatory for this Permit as
       issued. See Alaska Eskimo, 791 F.3d at 1094 (holding that 40 C.F.R. § 125.123(a)
       and § 125.123(c) represent separate paths to determining that a discharge will not
       cause unreasonable degradation of the marine environment and rejecting the notion
       that the permit authority was required to include the provisions of paragraph (d)
       when the permit was issued under paragraph (a)). Because the Permit in this case
       was issued pursuant to paragraph (a), the Region was not required to include the
       provisions of paragraph (d), and the fact that the Region opted to include some of
       these conditions did not render the other conditions mandatory. See id.

              4. The Region Must Correct the Record to Reflect Its Ultimate Conclusion

               As discussed above, the Ocean Discharge Criteria provide that, if the
       Region determines “on the basis of available information * * * that the discharge
       will not cause unreasonable degradation of the marine environment” after
       application of permit conditions, then the Region “may issue an NPDES permit
       containing such conditions.” 40 C.F.R. § 125.123(a) (emphasis added). In
       contrast, the Region may not issue an NPDES permit if the Region determines “on
       the basis of available information * * * that the discharge will cause unreasonable
       degradation of the marine environment” after application of permit conditions. Id.
       § 125.123(b).

              Here, the final two sentences of the Region’s conclusion in the ODC
       Evaluation are as follows:

              EPA finds that * * * [the conditions of the Permit] will ensure that
              the discharges from the [F]acility do not cause unreasonable
              degradation of the marine environment.

       and
              The EPA finds that ‘no unreasonable degradation’ will likely occur
              as a result of the discharges from this project based on the available
              scientific information concerning open ocean fish farming, the
              results predicted by deposition and dilution modeling, the effluent

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               limit guidelines for the CAAP industry that are being applied to this
               [F]acility, and the conditions included within the NPDES [P]ermit
               as allowed by the [Ocean Discharge Criteria] implementing
               regulations.

       ODCE at 48 (emphases added). Thus, the Region has said two different things in
       its conclusion in the ODC Evaluation. Finding that the Permit, with its associated
       conditions, ensures that discharges “do not cause” unreasonable degradation and
       finding that “‘no-unreasonable degradation’ will likely occur” are not synonymous.
       The former indicates that permitted discharges will not cause unreasonable
       degradation; the latter acknowledges that unreasonable degradation may occur as a
       result of the permitted discharges. It is the former determination that the Region is
       required to make when issuing the NPDES Permit at issue. See 40 C.F.R.
       § 125.122(a).

               When asked about the inconsistency of language at oral argument and, in
       particular, about the Region’s use of the phrase that no unreasonable degradation
       “will likely occur” in its final sentence, counsel for the Region referred to the
       phrasing as “inartful,” and as “just a relic of inartful characterization drafting.” Oral
       Arg. Tr. at 75. The Ocean Discharge Criteria clearly require the Region make a
       specific determination before issuing an NPDES permit. As explained above, the
       unambiguous language of the regulation provides that a permit may be issued
       authorizing a discharge into federal waters if that discharge will not cause
       unreasonable degradation of the marine environment. 40 C.F.R. § 125.123(a).
       That requirement lies at the core of the Ocean Discharge Criteria.

               While the use of the phrase “no unreasonable degradation will likely occur”
       may be the result of inartful drafting, given the dichotomous phraseology within
       the last two sentences of the Region’s conclusion, we remand for the Region to
       formally clarify its determination. Cf. In re City of Marlborough, 12 E.A.D. 235,
       250-52 (EAB 2005) (remanding permitting decision that included language
       inconsistent with determination required by regulation); In re City of Port St. Joe
       & Fla. Coast Paper Co., 7 E.A.D. 275, 304-05 (EAB 1997) (remanding permit for
       clarification of the Region’s response to petitioners’ arguments based on the permit
       authority’s contradictory positions between its response to comments on the draft
       permit and its statements on appeal).

       C. Petitioners Have Not Demonstrated the Region Clearly Erred in its
          Consideration of the Proposed Permit Under the Endangered Species Act

             Finally, CFS and FoA challenge the Region’s Biological Assessment under
       the ESA on a variety of grounds. We first examine the Region’s obligation to

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       consider the ESA in the context of an NPDES permit and then consider the specific
       challenges to the Region’s Biological Assessment in the context of the Permit at
       issue.

               The ESA requires that each federal agency ensure, through consultation
       with the appropriate federal wildlife agency (e.g., FWS or NMFS), that any action
       it authorizes “is not likely to jeopardize the continued existence of any endangered
       species or threatened species or result in the destruction or adverse modification of
       habitat of such species” determined to be critical. ESA § 7, 16 U.S.C. § 1536(a)(2);
       see also ESA § 2, 16 U.S.C. § 1531 (and implementing regulations at 50 C.F.R.
       part 402). Under the ESA’s implementing regulations, an agency is not subject to
       the formal consultation requirements if it: (1) prepares a biological assessment
       evaluating the potential effects of the action on listed species; (2) determines in the
       assessment that the action is “not likely to adversely affect” such species or critical
       habitat; and (3) receives written concurrence from FWS and/or NMFS, as
       appropriate, on its determination. See 50 C.F.R. §§ 402.12, .13(c), .14(b)(1); see
       also Phelps Dodge, 10 E.A.D. at 486 & n.24 (explaining that if an agency
       determines that its proposed action is not likely to adversely affect any listed species
       or critical habitat and receives concurrence from the appropriate federal agency
       (either NMFS or FWS or both), then no formal consultation is required). A finding
       of “not likely to adversely affect,” sometimes referred to as an NLAA, is
       appropriate when all the effects of the action are expected to be discountable,
       insignificant, or completely beneficial. U.S. EPA, Region 4, & USACE,
       Jacksonville Dist., Final Biological Evaluation, Ocean Era, Inc. –Velella Epsilon,
       at 21 (Sept. 30, 2020) (A.R. B.10) (“BE”); see also FWS & NMFS, The
       Endangered Species Consultation Handbook at xv (Mar. 1998) (A.R. No. C.89)
       (“ESA Handbook”) (cited in BE at 21). Discountable effects are those extremely
       unlikely to occur. BE at 21; ESA Handbook at xvi. Insignificant effects relate to
       the size of the impact and should never reach the scale where a “take” occurs. BE
       at 21; ESA Handbook at xv-xvi. Beneficial effects are contemporaneous positive
       effects that have no adverse effects to the listed species or critical habitat. BE at 21;
       ESA Handbook at xv; see also Conservation Cong. v. U.S. Forest Serv., 720 F.3d
       1048, 1052 n.5 (9th Cir. 2013) (quoting the ESA Handbook).

               As described above, when listed species may be present in the action area,
       a permit issuer first conducts a biological assessment to evaluate the potential
       effects of the action on such species and designated and proposed critical habitat to
       “determine whether any such species or habitat are likely to be adversely affected
       by the action.” See 50 C.F.R. § 402.12(a). The contents of that biological
       assessment are determined at the “discretion” of the preparing agency and “depend
       on the nature of the [f]ederal action.” Id. § 402.12(f) (identifying what “may be

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       considered for inclusion ” in a biological assessment, such as on-site inspections of
       the affected area, expert views, literature reviews, and analysis of alternate actions,
       as well as a “consideration of cumulative effects, and the results of any related
       studies”); see also Conservation Cong., 720 F.3d at 1056 (explaining that the
       contents of a biological assessment are discretionary and that the relevant inquiry
       required to be made is “whether any [endangered] species or [critical] habitat are
       likely to be adversely affected by the action,”) (quoting 50 C.F.R. § 402.12(f));
       Medina Cty. Env’t Action Ass’n v. Surface Transp. Bd., 602 F.3d 687, 699
       (5th Cir. 2010) (determining a biological assessment was appropriate where it
       included only those actions associated with proposed action that were reasonably
       certain to occur); Water Keeper All. v. U.S. Dep’t of Def., 271 F.3d 21, 33
       (1st Cir. 2001) (explaining the discretionary content of a biological assessment).

               On appeal, the Board reviews for clear error whether a permit issuer has
       satisfied its obligation under the ESA when issuing an NPDES permit. See
       40 C.F.R. § 124.19(a)(4); In re Indeck-Elwood, 13 E.A.D. 126, 212 n.162
       (EAB 2006) (noting the Board’s substantive review of decisions derived from other
       statutory regimes, such as the ESA, when the applicable legal framework explicitly
       incorporates the requirements of the other statute by reference, such as in the
       NPDES permitting regulations); see also, e.g., Phelps Dodge, 10 E.A.D.
       at 489-502. The Board will uphold a permit authority’s reasonable exercise of
       discretion so long as the permitting authority’s decision is explained and supported
       in the record. See, e.g., In re Guam Waterworks Auth., 15 E.A.D. 437, 443 n.7
       (EAB 2011) (discussing the abuse of discretion standard); Ash Grove, 7 E.A.D.
       at 397 (“[A]cts of discretion must be adequately explained and justified.”).

               For this Permit, it is undisputed that the Region and the USACE jointly
       issued a biological assessment of the proposed action and determined that “the
       proposed project’s potential threats ([including] disturbance, entanglement, vessel
       strike[s, and] water quality) to ESA-listed species and critical habitat are highly
       unlikely to occur or extremely minor in severity” and that “potential effects to ESA
       protected species and critical habitats are discountable or insignificant.” BE at 28.
       The Biological Assessment concluded either there was “no effect” on, or the
       proposed action “may affect, but [is] not likely to adversely affect,” each species
       considered. Id. at 27. Both FWS and NMFS reviewed the Biological Assessment
       and, as described above, FWS did not object and NMFS concurred with the Region
       and USACE’s conclusions. See Part V, above. Thus, the Region satisfied its
       procedural obligation under the ESA.

              On appeal, Petitioners argue that the Region erred in finding that the
       proposed action is “not likely to affect” listed species and that, as such, the Region


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       “failed” to conduct a formal consultation and obtain a Biological Opinion. CFS
       Pet. at 53; see also FoA Pet. at 18. In so arguing, Petitioners essentially challenge
       the substance (or “content”) of the Region’s Biological Assessment by pointing to
       potential effects and impacts that the Region allegedly failed to consider. More
       specifically, CFS asserts that the Region clearly erred by failing to consider the
       potential effects and impacts to listed species from the release of excess food, light
       pollution, and fish escapes. CFS Pet. at 49-52. CFS also challenges the Region’s
       decision to limit its consideration of potential effects to the time period during
       which the Facility is permitted to operate. Id. at 52. FoA asserts that the Region
       failed to consider possible impacts on listed species with respect to the project’s
       potential to act as a fish attraction (or aggregating) device (“FAD”), degraded
       baseline conditions, and the effects of HABs. FoA Pet. at 18-34. As summarized
       below, we disagree that the Region failed to consider any of the effects and impacts
       that Petitioners identify.

               With respect to excess food, the Region explained that the Permit directs
       the “efficient feed management and feeding strategies” to “minimize potential
       discharges of uneaten food.” Region’s Resp. to CFS Pet. at 27-28(citing Permit at
       12); see also Resp. to Cmts. at 57 (citing Permit parts II and IV.A.1) (discussing
       feed management restrictions and controls, as well as the appropriate monitoring of
       feeding activities). Additionally, the Biological Assessment also noted that the risk
       of entanglements is minimized by the net-pen construction and materials—i.e.,
       rigid and durable cage materials with taut lines reduce entanglements. BE at 21-26.
       And, as described in more detail below, the Region separately considered vessel
       strikes as well. Thus, the Region considered and addressed Petitioner’s concern
       that the release of excess feed could attract endangered species which could, in turn,
       increase the risk of entanglements and vessel strikes. See Pet. at 51; see also BE
       at 19-20 (discussing the required feed monitoring); Resp. to Cmts. at 15, 38
       (discussing feed management).

                With respect to light pollution, the Region explained in its Response to
       Comments that “[l]ight disturbance is not expected to be a relevant environmental
       stressor” because the Facility will not be using lights at night and the navigational
       lights from the mooring vessel and buoys are expected to be insignificant. Resp. to
       Cmts. at 38. CFS fails to address the Region’s response in its petition as is required.
       See Part VI.A, above; see also 40 C.F.R. § 124.19(a)(4)(ii); see also Peabody,
       12 E.A.D. at 33 (explaining the requirement to “address the permit issuer’s
       responses to relevant comments” and “substantively confront the permit issuer’s
       subsequent explanations”).




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               The Region considered the possibility of fish escapes in the context of the
       ODC Evaluation and determined that they were unlikely to occur. See
       Part VI.B.2.d, above; see also Resp. to Cmts. at 19. The Region also responded to
       the comments that were raised with respect to listed species. Resp. to Cmts. at 38
       (explaining, among other things, that the Facility must implement a “plan to
       mitigate environmental impacts during any disaster and prevent the release of
       aquatic animals”). On appeal, CFS has not articulated any basis for concluding that
       fish escapes are likely to happen or described with any specificity or support the
       effect that such escapes, if they occur, might have on listed species. See CFS Pet.
       at 51-52.

               CFS also argues that the Region should have considered the full length of
       the five-year Permit term (even though the Permit authorizes operation of the
       Facility for only twelve to eighteen months during the five-year term), and that the
       Region should have taken into account the future growth potential of aquaculture
       and a possible request to renew the Permit. Id. at 52. CFS, however, has provided
       no legal basis in the ESA or elsewhere for requiring the Region to consider activity
       that is outside the scope of the Permit and the discharges that it authorizes. See
       Medina Cty., 602 F.3d at 699 (holding that biological assessment was appropriate
       because it encompassed only those actions associated with proposed action that
       were reasonably certain to occur, and related development was not dependent on
       the proposed action such that it would be “interrelated,” “cumulative,” or an
       “indirect effect” of proposed action and thus was not required to be considered in
       the biological assessment under the ESA). Again, CFS has not met its burden to
       demonstrate that the Region clearly erred by failing to consider effects outside of
       the terms of the Permit.

               The Region also considered the Permit’s impacts with respect to the
       project’s potential to act as a FAD, the degraded baseline conditions, and the effects
       of HABs. Region’s Resp. to FoA Pet. at 25-31. With respect to the project’s
       potential to act as a FAD, the Region considered both that potential and the likely
       impacts if that potential were realized (i.e., vessel strikes, entanglement, and
       increased fishing). See, e.g., BE at 25 (recognizing and discounting the potential
       for an increase in fishing in the area due to the project acting as a FAD); id. at 24
       (analyzing the potential for vessel strikes from both vessels associated with the
       proposed project, as well as vessels not operated by the Facility); id. at 24-25
       (recognizing that ESA-listed turtles may be attracted to aquaculture facilities and
       discounting the potential effects from disturbance, vessel strikes from both Facility-
       operated vessels and other vessels); id. at 17-18 (discussing the rarity of vessel
       strikes with marine animals); id. at 17 (considering the potential for entanglements
       and discounting those effects based on the design of the Facility); NMFS

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       Concurrence at 6 (discussing the increase in vessels that would be necessary—
       around 200—to potentially result in a sea turtle take in any single year and
       recognizing but discounting potential stress or behavioral effects on ESA-listed fish
       and sea turtles that may be attracted to aquaculture facilities as potential sources of
       food, shelter, and/or rest); Resp. to Cmts. at 37-38 (responding to concerns raised,
       including those resulting from increased traffic, including noise, entanglement,
       vessel strikes, light pollution, excess food escape, nutrient pollution, and fish
       escapes, among other concerns); see also BE at 27 tbl.4 (listing the species
       considered, potential impacts and effects, and adverse effect determination).

                The Region also considered the degraded baseline conditions of the marine
       environment, including the impacts associated with the Deepwater Horizon spill.
       See, e.g., Final EA at 14, 50 (considering the Deepwater Horizon spill, recognizing
       that the cumulative impacts of that event are still relatively unknown, and
       determining that the minor incremental impact of the proposed project would have
       little cumulative impact in the Gulf); Final EA at 50-62 (describing the Region’s
       cumulative impacts analysis, which considered the incremental impact that the
       proposed action could have when added to other past, present, and reasonably
       foreseeable future actions including the Deepwater Horizon oil spill, oil and gas
       operations, other aquaculture operations, and natural disasters); BE at 8 (discussing
       the Baseline Environmental Survey which noted that there were no physical,
       biological, or archaeological features that would preclude siting the project in the
       proposed area); Resp. to Cmts. at 36 (explaining, in support of its consideration of
       cumulative effects, that the Biological Assessment broadly concluded that the
       proposed project is “highly unlikely” to affect listed species and critical habitat and
       that if effects occur, they would be extremely minor in severity).

               With respect to the potential impact of the Permit on listed species through
       HABS, the Region—as explained in Part VI.B.2.a—considered the potential for
       discharges from the Facility to contribute to HABs and concluded that the discharge
       of nutrients from the Facility would not pose an environmental threat. See ODCE
       at 34-35, 43, 45; NMFS Concurrence at 7 (explaining and agreeing with EPA’s
       analysis and conclusions related to the release of nutrients); Resp. to Cmts. at 22-27
       (addressing concerns related to HABs); id. at 38 (addressing comments regarding
       the adequacy of the Biological Assessment and potential water quality impacts on
       listed species).

              Based on our review of the record, the Region considered the issues raised
       by Petitioners in assessing the potential effects and impacts from the proposed
       action on listed species and critical habitat. The Region concluded that the
       proposed action “is not likely to adversely affect” any listed species or critical


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       habitat. See NMFS Consultation Request at 2; FWS Consultation Request at 2.
       That determination was reviewed and considered by the FWS and NMFS—the
       federal organizations that are charged with ESA program responsibility and thus
       serve as federal ESA experts—neither of which disagreed with the Region. In this
       context, Petitioners have not provided the Board with a sufficient basis to further
       question the complex and comprehensive technical and scientific analysis and
       expertise not only of the Region, but of the consulting agencies that reviewed
       EPA’s evaluation and agreed with the Region’s determination.

                Petitioners have not met their burden to show that the Region clearly erred
       in its consideration of the Permit under the ESA.

                                            CONCLUSION

                For the reasons stated above, the Board denies review in part and remands
       in part this NPDES Permit. On remand, the Region must clearly state whether the
       Region determined that the permitted discharge will not cause unreasonable
       degradation of the marine environment.




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                                                         REGION 4
                                                 ATLANTA FEDERAL CENTER
                                                  61 FORSYTH STREET, SW
                                                ATLANTA, GEORGIA 30303-3104


                                                     June  2022




Mr. Neil Anthony Sims
CEO, President
Ocean Era, Incorporated
P.O. Box 4239
Kailua-Kona, Hawaii 96745

Subject: Final Issuance of National Pollutant Discharge Elimination System Permit Number
         FL0A00001 Velella Epsilon

Dear Mr. Sims:

Enclosed are the National Pollutant Discharge Elimination System (NPDES) permit, fact sheet, and
appeal procedures for the above-referenced facility. The permit issuance constitutes the U.S.
Environmental Protection Agency’s final permit decision in accordance with 40 CFR § 124.15(a). The
permit will become effective 30 days after the sLJQDWXUH of the permit decision. Other supporting
documents for the permit issuance are available on the EPA’s website.1

Please note that the permit requires four plans that must be provided to the EPA within 90 days of
permit issuance and approved by EPA prior to discharge. The four plans required by the NPDES
permit are: 1) Environmental Monitoring Plan; 2) Best Management Practices Plan; 3) Facility
Damage Prevention and Control Plan; DQG 4) Quality Assurance Project Plan.

Further information about legal matters relative to the issuance of this permit may be obtained by
contacting Mr. Paul Schwartz, Associate Regional Counsel, at (404) 562-9576 or by email at
Schwartz.Paul@epa.gov. For information regarding technical aspects of the permit, please contact Mr.
Kip Tyler of my staff at (404) 562-9294 or by email at Tyler.Kip@epa.gov.


                                                                Sincerely,
                                                            JEANEANNE                     Digitally signed by JEANEANNE
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                                                               Jeaneanne M. Gettle, Director
                                                               Water Division



Enclosures (3)


1
    www.epa.gov/npdes-permits/ocean-era-inc-velella-epsilon-aquatic-animal-production-facility-national-pollutant
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1. Final NPDES Permit
2. Fact Sheet
3. Appeal Procedures

cc: Mr. John Fellows, USACE (via email)
    Mr. Andrew Richard, NMFS (via email)
    Mr. Charlie Culpepper, FDACS (via email)
    Mr. Marc Harris, FDEP (via email)
 USCA Case #22-1253           Document #1966785                Filed: 09/27/2022       Page 533 of 582
                          UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                                 REGION 4
                                         ATLANTA FEDERAL CENTER
                                          61 FORSYTH STREET, SW
                                        ATLANTA, GEORGIA 30303-3104


                                              June  2022

MEMORANUM

SUBJECT:       EPA’s Final Permit Decision After Remand by Environmental Appeals Board

FROM:          Jeaneanne Gettle, Director, Water Division     JEANEANNE              Digitally signed by JEANEANNE
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TO:            Ocean Era NPDES Permit Administrative Record

CLARIFICATION ON REMAND

On May 6, 2022, EPA’s Environmental Appeals Board (EAB) issued an order remanding in part and
denying review in part for NPDES appeals 20-08 and 20-09 relating to the Ocean Era NPDES Permit.
The EAB remanded the permit decision to the Region “to clearly state whether the Region determined
that the permitted discharge will not cause unreasonable degradation of the marine environment.” The
EAB denied review of all other issues raised by the petitioners.

In its decision, the EAB noted that EPA made two inconsistent statements in the conclusion of the
Ocean Discharge Criteria (ODC) evaluation: (1) “EPA finds that … [the conditions of the Permit] will
ensure that the discharges from the [F]acility do not cause unreasonable degradation of the marine
environment,” and (2) “The EPA finds that ‘no unreasonable degradation’ will likely occur as a result
of the discharges from this project …”. The EAB remanded “for the Region to formally clarify its
determination.”

EPA is clarifying now that it determined prior to issuance of the permit in question that the authorized
discharges will not cause unreasonable degradation of the marine environment. As reflected in the
attached Declaration of Kip Tyler, the staff permit writer assigned to the Ocean Era permit, the use of
inconsistent phrasing in describing the determination in the Ocean Discharge Criteria Evaluation
(ODCE) was unintentional. Mr. Tyler intended to characterize the finding in the ODCE as a
determination that the authorized discharges will not cause unreasonable degradation of the marine
environment, in accordance with the applicable legal standard.

Additionally, the same determination using the correct standard was stated numerous times in the Fact
Sheet and elsewhere in the administrative record. See Ocean Era Fact Sheet at page 4 (“EPA completed
an ODC Evaluation and determined that sufficient information exists to conclude that the discharge from
the facility would not cause unreasonable degradation of the marine environment in accordance with 40
Code of Federal Regulations (CFR) § 125.123(a) and 40 CFR § 125.123(d)), Fact Sheet at page 6
(“Further authority for the permit conditions is provided by CWA § 403 and the ODC (40 CFR Part 125,
Subpart M), because these conditions help ensure that the discharges will not cause unreasonable
degradation of the marine environment.”), Fact Sheet at page 7 (“The EPA completed an ODC
Evaluation and determined that sufficient information exists to conclude that the point source discharge
from the marine aquaculture facility covered by this permit would not cause unreasonable degradation of
the marine environment in accordance with 40 CFR § 125.123(a)”).
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The EAB’s remand required only clarification of this one issue. Pursuant to 40 CFR § 124.19(l), final
agency action on a permit occurs when EAB review procedures are exhausted, and the Regional
Administrator subsequently issues a final permit decision. Under 40 CFR § 124.19(l) (2)(iii), a final
permit decision must be issued by the Regional Administrator “[u]pon the completion of remand
proceedings if the proceedings are remanded, unless the Environmental Appeals Board's remand order
specifically provides that appeal of the remand decision will be required to exhaust administrative
remedies.” As the EAB did not specifically provide for further appeal, the permit is now ripe for
issuance by EPA Region 4 as final agency action and any further appeal must be brought in the
appropriate U.S. Circuit Court of Appeals pursuant Section 509(b)(1)(F), 33 U.S.C. § 1369(b)(1)(F).
Further, as EPA is not changing any terms of the permit, no further opportunity for public comment is
necessary under 40 CFR §124.14. See In Re Upper Blackstone Water Pollution Abatement District, 15
E.A.D. 297, at 311-313 (EAB 2011).

I direct that this Clarification on Remand be added to the Administrative Record in accordance with the
EAB’s remand order providing for the Region to formally clarify its determination that the discharges
authorized by the permit will not cause unreasonable degradation of the marine environment.


Attachment (Declaration of Kip Tyler)
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                    UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                            REGION 4
                                          Water Division
                                      Atlanta Federal Center
                                         61 Forsyth Street
                                   Atlanta, Georgia 30303-8960

                       AUTHORIZATION TO DISCHARGE UNDER THE
                  NATIONAL POLLUTANT DISCHARGE ELIMINATION SYSTEM
                                  PERMIT NUMBER
                                     FL0A00001

Under the authority of the Clean Water Act (CWA) of 1977 (33 USC § 1251 et seq.) and in accordance with the
effluent limitations, monitoring requirements, and other conditions set forth herein.

Permittee:                     Ocean Era, Inc.
                               PO Box 4239
                               Kailua-Kona HI 96745

Facility:                      Velella Epsilon

Location:                      Gulf of Mexico (Approx. 27° 7.34185’N, 83° 12.02291’W)

Authorization to discharge:    Wastewater from an Aquatic Animal Production Facility producing up to 80,000
                               pounds/year for one production cycle (SIC code 0273)

Outfall:                       001

Receiving water body:          Federal Waters of the Gulf of Mexico

Issuance Date:                 June 8, 2022
Permit Effective Date:         July 8, 2022
Permit Expiration Date:        July 7, 2027

The permittee shall reapply for NPDES coverage before January 8, 2027 (180 days before the expiration of this
permit) if the permittee intends to continue to discharge at the facility beyond the term of this permit.

                                                      JEANEANNE              Digitally signed by JEANEANNE
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                                                      GETTLE                 Date: 2022.06.08 11:48:25 -04'00'
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                                                       Jeaneanne M. Gettle, Director
                                                       Water Division
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PART I – SCHEDULE OF SUBMISSIONS

The following table summarizes some of the items that the permittee must complete and submit to the U.S.
Environmental Protection Agency Region 4 (EPA) during the term of this permit:

 Item                         Due Date

1.   Discharge Monitoring     Unless an exception is granted, the effluent and receiving water body monitoring must be
     Reports (DMRs)           submitted on DMRs and entered into NetDMR on a monthly basis (see Part II.A and III.B)

2.   Drug and Chemical Use    Drugs, pesticides, chemicals, investigational new animal drugs, and extra-label drug use
     Report                   must be reported when used (see Part III.A.1).
3.   Best Management          The permittee must develop a BMP plan within 90 days of the issuance date of this permit
     Practices (BMP) Plan     and obtain approval from the EPA prior to discharge (see Part IV).
4.   Environmental            The permittee must develop an EMP within 90 days of permit issuance and obtain approval
     Monitoring Plan (EMP)    from the EPA prior to discharge (see Part V).
5.   Facility Damage
                              The permittee must create a FDPC plan within 90 days of the issuance date of this permit
     Prevention and Control
                              and obtain approval from the EPA prior to discharge (see Part VI).
     (FDPC) Plan
6.   Quality Assurance        The permittee must develop a QAPP within 90 days of the issuance date of this permit and
     Project Plan (QAPP)      obtain approval from the EPA prior to discharge (see Part VII).

7.   Submittal of NPDES       A complete application for the next permit cycle must be submitted to the EPA no later than
     Application              180 days before the permit expires (see 40 CFR § 122.21).

8.   Annual Certification     The permittee must submit a certification to the EPA that the BMP plan, FDPC plan, and
                              QAPP has been reviewed and modified (if necessary) on an annual basis no later than July
                              31st of each year. Certification is not required if the facility is not discharging.
                              See Part IV, VI, and VII for more information. The EMP may be modified as necessary in
                              consultation with the EPA (see Part V for more information).



The address below is to be used for all submittals required by the permit except DMRs:

     U.S. Environmental Protection Agency, Region 4
     Permitting and Grants Branch Chief
     Water Division
     61 Forsyth Street S.W. | Atlanta, Georgia 30303-8960
     (404) 562-9459 | R4NPDESPermits@epa.gov




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  PART II – MONITORING AND OTHER REQUIREMENTS

  A. Water Quality, Sediment, and Biological Monitoring Requirements

  During the period beginning on the effective date and lasting through the expiration date of this permit, the permittee is
  authorized to discharge industrial wastewater from an aquatic animal production facility into the Gulf of Mexico for one
  production cycle. The discharge shall be limited and monitored by the permittee as specified below. All reports shall be
  submitted in accordance with the requirements of the permit.

      1. Monitoring Requirements

                                         Table 1: Summary of Monitoring Requirements


                                               Parameter   Daily         Average               Monitoring
Parameter                         Units                                            Location                    Sample Type
                                               Code 1      Maximum       Monthly               Frequency 2

Water Quality Monitoring
Current measurements 3            m/s          -                                   EF1         Continuous      Instantaneous
                3
Fish biomass                      lbs          -                                   EF1         Monthly         Measured
Feed rate                         lbs/day      45603                               BT1         Monthly         Measured
Feed Conversion Rate 4            %/day        45603                               BT1         Monthly         Calculated
                        5
Medicinal products                lbs or gal   -                                   BT1         As applicable   Measured
Chlorophyll-a                     mg/l         32230
Copper, Total (as Cu)             mg/l         01042
Nitrogen, Ammonia Total (as N)    mg/l         00610       Report        Report
Nitrogen, Total (as N)            mg/l         00600
Oxygen, Dissolved                 mg/l         00300                               UC1, EF1,
                                                                                   EF2, DC1,   Monthly 6       Grab
pH                                s.u.         00400                               DC2
Phosphorus, Total (as P)          mg/l         00665
Solids, Total Suspended           mg/l         00530
Sulfide, Total (as S)             mg/l         00745
Temperature                       °C           00010
Sediment Monitoring
Carbon, Total Organic (TOC)       mg/l         00680
Hydrogen sulfide                  mg/l         71875
Sediment Oxygen Demand            mg/l         51812
Nitrogen, Total (as N)            mg/l         00600                               SD1, SD2,   Biomass
                                                           Report        Report                                Grab
Particle size distribution   3
                                  -            -                                   SD3         based 7
Phosphorus, Total (as P)          mg/l         00665
Solids, Total                     mg/l         00500
Total volatile solids             mg/l         00505
Benthic Monitoring
                                                                                   SD1, SD2,   Biomass
Benthic macroinvertebrates 3      -            -                    Report                                     Grab
                                                                                   SD3         based 7




  Ocean Era, Inc                                                                                       Page 5 of 47
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   Table 1 footnote information:
   1
       Parameter Codes are the unique codes identifying the individual parameter being monitored and shall be
       used when reporting monitoring results in NetDMR pursuant to permit Part III.B.
   2
       The monitoring requirements contained in the NPDES permit are only effective while the facility is
       operational; however, the DMR reporting requirements remain in force while the permit is effective. When
       the facility is not operating or discharging, the regularly scheduled DMRs must be submitted to the EPA
       with the appropriate no discharge reporting code (NODI = 2 Operation Shutdown).
   3
       The environmental monitoring data and reports for current measurements (velocity and direction), fish
       biomass, particle size distribution, and benthic macroinvertebrates shall be submitted to the EPA at the
       address shown in Part I of the permit. The results of monitoring for current measurements and fish biomass
       shall be submitted to the EPA monthly and are due at the end of the following month. The results of
       monitoring for particle size distribution and benthic macroinvertebrates shall be submitted to the EPA on a
       biomass basis (see Footnote 7) and are due at the end of the following month.
   4
       The feed conversion rate shall be reported as the ratio of feed weight per day to animal weight (see
       Appendix D).
   5
       Only medicinal products (all veterinary therapeutic products, antibiotics, and other treatments) and
       medicinal premixes for inclusion in fish feeds which are approved for use in aquaculture by the Food and
       Drug Administration, shall be used. The appropriate withdrawal times for all medicines used in the
       treatment or prevention of fish disease must be adhered to. The discharge of any medicinal products shall
       be reported to the EPA at the address shown in Part I of the permit. The report shall include the mass or
       volume of product discharged, the product, and the duration that the product was used (see Appendix C).
       See Part III.A for more information.

   6
       Effluent and down current samples shall be collected no more than 30 minutes after feeding is complete.
       Upstream current samples shall be collected no more than 60 minutes before or after feeding is complete.
       The sample collected during the final month of the project should be collected just prior to harvesting the
       fish to collect data representative of maximum biomass.
   7
       Sampling shall be collected at frequencies corresponding to fish biomass and should be collected on the
       same day as that month’s water quality samples. Sampling shall occur when the fish production reaches an
       approximate 50 percent biomass and at maximum biomass prior to harvesting.




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   2. Compliance Monitoring Locations

   The following table lists the sampling locations associated with this permit:

                                           Table 2: Sampling Locations

 No      Type                           Current Vector        Location                         Depth
 BT1                                    Not applicable        On vessel                        Not applicable
 UC1                                                          500 m up-current of cage
                                                                                               Mid-cage
 EF1
         Water Quality                                        PGRZQ-current of cage
 EF2                                    Day of sampling 1                                      PEHORZFDJH
 DC1                                                                                           Mid-cage
                                                              5 m down-current of cage
 DC2                                                                                           5 m below cage
 SD1                                                          2,000 m up-current
         Sediment and Benthic
 SD2                                                2         Center of project site
         Macroinfauna Community         Long-term                                              Ocean floor
                                                              Down-current edge of project
 SD3     Sampling
                                                              site

   Table 2 footnote information:
   1
       Water quality sampling locations shall be based on the primary current vector on the day of sampling.
       Sampling locations shall be located along a transect passing through the center of the cage and run in the
       direction of the primary current vector at the time of sampling. These locations could change with each
       water quality sampling event (see Part V for more information).
   2
       Sediment and benthic macroinvertebrate sampling locations shall be based on the long-term primary current
       vector and shall remain the same throughout the lifetime of the project. The exact sampling locations for
       sediment/benthic monitoring will be determined after the cage has been placed in the water and the long-
       term current vector has been confirmed (see Part V for more information).

B. Other Requirements and Prohibitions

   1. There shall be no discharge of floating solids or visible foam in other than trace amounts.

   2. The effluent shall not cause a visible sheen on the receiving water.

   3. The discharge of surfactants, dispersants, and detergents is not allowed.

   4. The discharge of any solid material not in compliance with the other parts of the permit is prohibited.

   5. Any discharge from the facility support vessel must comply with the U.S. Coast Guard regulations
      implementing Annex V of Marpol 73/78 for domestic waste disposal or exploitation of seabed mineral
      resources (33 CFR § 151). These limitations apply to all navigable Waters of the United States to prevent
      pollution from ships (33 USC § 1901). Annex V prohibits the discharge of garbage, including food wastes,
      within 12 nautical miles from land. Comminuted food waste (able to pass through a screen with a mesh size
      no larger than 25 mm) may be discharged within 12 nautical miles or more from land (33 CFR § 151.51 –
      151.77). Gray water, drainage from dishwater, shower, laundry, bath, and washbasins are not considered
      garbage within the meaning of Annex V. Incineration ash and non-plastic clinkers may be discharged
      beyond 12 nautical miles from nearest land.

   6. The discharge from the facility shall not cause unreasonable degradation of the marine environment
      underneath the facility and in the surrounding area. Unreasonable degradation is defined in 40 CFR §
      125.121(e) as significant adverse changes in ecosystem diversity, productivity and stability of the biological
      community within the area of discharge and surrounding biological communities, and/or loss of aesthetic,

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        recreational, scientific or economic values which is unreasonable in relation to the benefit derived from the
        discharge.

    7. All stocking of live aquatic organisms of any life stage must be accompanied by an Official Certificate of
       Veterinary Inspection signed by a licensed and accredited veterinarian attesting to the health of the
       organisms to be stocked.

    8. This permit only authorizes discharges under the CWA in accordance with the terms of this permit and does
       not authorize any activity in violation of other applicable law; permittee remains responsible for compliance
       with all applicable laws.

    9. The use or discharge of toxic chemicals to control the fouling of any part of the cage is prohibited.

    10. Un-pelletized wet feed (minced fish or shellfish) shall not be discharged.

    11. The permittee shall not store toxic chemicals or materials (as defined in 40 CFR § 122, Appendix D) at the
        facility.

    12. The facility and anchoring system shall be placed at least 500 meters from any hardbottom habitat on the
        seafloor.

    13. Discharges from seafood processing activities are not authorized under this permit.

    14. The discharge from the facility is limited to one production cycle of approximately 80,000 lbs over the
        course of approximately 12 months. A production cycle is defined as the period of time that starts when
        fish are placed in the cage until all fish are harvested.

C. Failure to Sample

Should conditions arise so that some or all of the sampling or analytical procedures prescribed in this permit are not
done or reporting cannot occur on schedule, the EPA must be notified in writing (email) within five calendar days
at the address shown in Part I of the permit. The notification should include the nature of the problem and
recommend solutions.




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PART III – REPORTING, MONITORING, AND RECORD REQUIREMENTS

A. Aquaculture Specific Requirements

     1. Reporting Requirements for the Use of Drugs and Other Chemicals

     The following requirements apply to drugs, pesticides, and chemicals that are used in such a way that they will
     be or may be discharged to the receiving water body. More information about the reporting requirements
     (including report examples) for drugs, pesticides, chemicals, structural failure or damage to the facility, and
     spills can be found in the Compliance Guide for the Concentrated Aquatic Animal Production Point Source
     Category. 1

     a. Use of Drugs, Pesticides, and Other Chemicals

         i. All drugs, pesticides and other chemicals must be applied in accordance with label directions.
        ii. The permittee must maintain records of all drug, pesticide, and other chemical applications including
            date and time of application and the quality of the drug or chemical used. See Appendix C for more
            information

     b. Investigational New Animal Drugs (INAD) and Extra-Label Drug Usage

        i.  Participation in INAD Testing and the Use of Extra-Label Drugs: The permittee must notify the EPA in
            writing within seven (7) days of volunteering to participate in INAD testing. The written report must
            identify the INAD to be used, method of use, the dosage, and the disease or condition the INAD is
            intended to treat. For INADs and extra label drug uses, the permittee must provide an oral report to the
            permitting authority as soon as possible, preferably in advance of use, but no later than seven (7) days
            after initiating use of that drug. The oral report must identify the drugs used, method of application, and
            the reason for using that drug. Based on the report, the EPA may implement site-specific action, as
            warranted. For INADs and extra-label drug uses, the permittee must provide a written report to the
            permitting authority within thirty (30) days after initiating the use of that drug. The written report must
            identify the drug used and include: the reason for treatment, date(s) and time(s) of the addition (including
            duration), method of application; and the amount added. See appendix C for more information.
        ii. INAD or Extra-Label Drug Reporting Exception: If the EPA has already approved the permittee’s use
            of a specific INAD or extra-label drug, additional approval to treat another species, or to treat another
            disease using this INAD or extra-label drug, is not necessary provided that the INAD or extra-label use
            is at or below the approved dosage and involves similar conditions of use (See 40 CFR § 451.3(a)).

     2. Structural Failure or Damage to the Facility

     The permittee shall alert the EPA to any failure or damage to any part of the aquatic animal containment
     structures that results in any fish escapes, discharge of pollutants, or hazardous materials, including pollutants
     authorized by this permit, into the receiving water body. The permittee shall make an oral report to the EPA
     within 24 hours of the occurrence identifying the material discharged and describe the cause of the failure or
     damage in the facility. The permittee must also provide a written report within seven days that includes: cause
     of the damage or failure, estimate of time elapsed until the failure or damage was repaired, an estimate of the
     material released, and steps taken to prevent a reoccurrence.




1
 U.S. Environmental Protection Agency. 2006. Compliance Guide for the Concentrated Aquatic Animal Production Point Source Category.
EPA-821-B-05-001. U.S. Environmental Protection Agency, Office of Water, Washington, DC.
< http://water.epa.gov/scitech/wastetech/guide/aquaculture/upload/2006_05_03_guide_aquaculture_guidance_full-final.pdf >.

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       3. Spills of Feed, Drugs, Pesticides, or Other Chemicals

       The permittee shall alert the EPA of a spill of any hazardous materials, drugs, pesticides, or feed that results in
       a discharge to waters of the United States. The permittee shall make an oral report to the EPA within 24 hours
       of the spill’s occurrence identifying the cause and amount of material discharged. The permittee must also
       provide a written report within seven (7) days that includes: cause of the spill, estimate of time elapsed until the
       spill was contained, an estimate of the material released, and steps taken to prevent a reoccurrence.

B. Electronic Reporting Requirements

       1. Except as described in item 2 below, all monitoring data required by this permit shall be submitted on the
          EPA Form 3320-1 Discharge Monitoring Report (DMR) forms using the electronic DMR (NetDMR)
          internet application. NetDMR is a web-based application that allows NPDES Permittee Users to enter and
          electronically submit DMR data through the Central Data Exchange to the Integrated Compliance
          Information System (ICIS). 2

       2. The environmental monitoring data and reports for current measurements (velocity and direction), fish
          biomass, particle size distribution, and benthic macroinvertebrates shall be submitted to the EPA at the
          address shown in Part I of the permit. Results shall include any narrative reporting in electronic format
          (.pdf, .doc, .txt, etc.). All processed and raw data shall be included in Excel (.xls) format. The results of
          monitoring for current measurements and fish biomass shall be submitted to the EPA monthly and are due
          at the end of the following month. The results for monitoring for particle size distribution and benthic
          macroinvertebrates shall be submitted based on product biomass (50 percent biomass and maximum
          biomass) and are due at the end of the following month

       3. The permittee shall determine its ability to meet the electronic reporting requirements. DMRs must be
          reported using the EPA’s electronic NetDMR tool unless a waiver from electronic reporting has been
          granted from the EPA Region 4. If the permittee wishes to obtain a waiver from submitting DMRs
          electronically, a written request must be submitted to EPA Regional 4 at the address shown in Part I of the
          permit. Temporary and permanent waivers from electronic reporting may be granted based on one of the
          following conditions.

           a. If the permittee’s headquarters is physically located in a geographic area (i.e., zip code or census tract)
              that is identified as under-served for broadband Internet access in the most recent report from the
              Federal Communications Commission; or

           b. If the permittee has limitations regarding available computer access or computer capability.

           The request must document which exemption is met and provide evidence supporting any claims. A waiver
           may only be considered granted once the permittee receives written confirmation from EPA Region 4. If
           the permittee qualifies for a waiver from electronic reporting, monitoring data must be submitted on paper
           DMR forms provided by EPA Region 4.

       4. The DMRs shall be signed by a facility's Responsible Official or a Delegated Responsible Official (i.e. a
          person delegated by the Responsible Official) in accordance with 40 CFR § 122.22(b). The Responsible
          Official of a facility is defined in Part VIII. For NetDMR, the person(s) viewing, editing, signing and
          submitting the DMRs will need to register for a new account managed by the EPA Region 4. A request for
          signatory privilege requires submission of a Subscriber Agreement to the EPA Region 4 for any facility or
          permittee staff responsible for signing and submitting DMRs on behalf of an organization. Additionally,
          Delegated Responsible Officials must be delegated by the Responsible Official, either on-line using
          NetDMR, or on a paper delegation form provided by the EPA Region 4. More information and guidance
          on NetDMR can be found online.2
2
    EPA’s NetDMR webpage can be found at: https://netdmr.epa.gov.

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    5. DMRs submitted using NetDMR shall be submitted to the EPA Region 4 by the end of the month following
       the month for which the monitoring was completed. DMRs submitted on paper must include the original
       signed DMR form and must be submitted to the EPA at the address shown in Part I of the permit.

        A paper copy of the submitted EPA 3320-1 DMR shall be maintained onsite for records retention purposes.
        For NetDMR users, view and print the DMR from the Submission Report Information page after each
        original or revised DMR is submitted. For submittals on paper, make a copy of the completed paper form
        after it is signed by a Responsible Official or a Delegated Responsible Official.

C. Monitoring Procedures

In accordance with 40 CFR § 122.41(j)(4), monitoring and sampling must be conducted according to test procedures
approved under 40 CFR Part 136, unless other sufficiently sensitive test procedures have been specified in this
permit or approved by EPA as an alternate test procedure under 40 CFR § 136.5.

D. Additional Monitoring by the Permittee

In accordance with 40 CFR § 122.41(l)(4)(ii), if the permittee monitors any additional parameters/pollutants or
monitors any parameter/pollutant more frequently than required by this permit, using test procedures approved
under 40 CFR Part 136 or as specified in this permit, the permittee must include the results of this monitoring in
the calculation and reporting of the data submitted in the DMR.

E. Retention of Records

In accordance with 40 CFR § 122.41(j)(2), the permittee shall retain records of all monitoring information including
all calibration and maintenance records, all recordings for continuous monitoring instrumentation, copies of all
reports and plans required by this permit, and records of all data used to complete the application for this permit,
for a period of at least three years from the date of the sample, measurement, report, plan, or application. This period
may be extended by request of the Director at any time.




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PART IV – BEST MANAGEMENT PRACTICES

A. Requirements

The permittee must use Best Management Practices (BMPs) as well as develop and implement a BMP Plan that
will prevent or minimize the generation of direct and indirect discharge for wastes and pollutants to the receiving
water body that are associated with the aquaculture facility. More information about BMP plan requirements
(including examples) can be found in the EPA’s Compliance Guide for the Concentrated Aquatic Animal
Production Point Source Category. The BMP Plan must include, at a minimum, procedures and information
explaining how the permittee will meet all the following requirements:

    1. Feed Management

    The permittee must employ efficient feed management and feeding strategies that limit feed input to the
    minimum amount reasonably necessary to achieve production goals and sustain targeted rates of aquatic animal
    growth in order to minimize potential discharges of uneaten food and waste products to the waters of the U.S.
    These strategies must minimize the accumulation of uneaten food beneath the pens through the use of active
    feed monitoring and management practices. These practices may include one or more of the following: use of
    real-time feed monitoring, including devices such as video cameras, digital scanning sonar, and upwelled
    systems; monitoring of sediment quality beneath the pens; monitoring of benthic community quality beneath
    the pens; capture of waste feed and feces; or other good husbandry practices. Feeding methods should maximize
    ingestion and food conversion by using slow-settling and highly digestible feed.

    2. Waste Collection and Disposal

    The permittee must collect, return to shore, and properly dispose of all feed bags, packaging materials, waste
    rope and netting.

    3. Transport or Harvest Discharge

    The permittee must minimize any discharge associated with the transport or harvesting of aquatic animals
    including blood, viscera, aquatic animal carcasses, or transport water containing blood. The permittee shall
    contain and transfer commercial fish and other aquatic life in a manner which shall prevent the unconfined entry
    of commercial aquatic life into waters of the United States, and in a manner, which shall prevent release by
    overstocking, tipping, or rupture. All transfer structures/facilities shall conform with and be maintained in
    accordance with all applicable manufacturer and U.S. Coast Guard requirements and recommendations.

    4. Carcass and Waste Removal

    The permittee must identify and implement procedures to collect, store, and dispose of wastes, including
    biological wastes, such as fish mortalities and other solid processing aquaculture wastes. The permittee must
    remove and dispose of aquatic animal mortalities properly on a regular basis to prevent discharge to waters of
    the United States. Mortalities must be stored and transported in closed containers with tight fitting lids and
    must be returned to shore.

    5. Material Storage

        a. The permittee must ensure proper storage of drugs, pesticides, feed, and hazardous materials in a
           manner designed to prevent spills that may result in the discharge of drugs, pesticides, feed, and
           hazardous materials to water of the United States. The permittee shall:


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            i.   Maintain the facility, its support craft, and storage facilities in clean and tidy condition to minimize
                 the possibility of accidents and spills of petroleum products and other hazardous materials in the
                 operation of the facility.
           ii.   Conduct periodic inspection, cleaning, and maintenance of the facility, and its support craft.
          iii.   Develop a list of appropriate agencies to contact in the event of a spill that includes, but is not
                 limited to, the EPA, U.S. Army Corps of Engineers, and National Marine Fisheries Service.
          iv.    Provide and always have on-hand absorbent materials and appropriate tools in enough quantities
                 to contain and collect chemicals spilled at the mariculture facility, on its support craft, and in
                 shore-based storage facilities.

       b. The permittee must implement procedures for properly containing, cleaning, and disposing of any
          spilled material. The permittee must:

           i.    Provide a complete and up-to-date list of all chemicals and other hazardous materials stored at the
                 facility.
          ii.    Include descriptions of the procedures used to properly prevent, control, clean, dispose and/or treat
                 spills and unplanned discharges of chemicals and other hazardous materials.
         iii.    Include a description of the supplies and equipment which prevent, control, and/or treat spills and
                 unplanned discharges and a compliance schedule to install any necessary items.
         iv.     Describe the reporting system which shall be used to alert responsible facility management and
                 appropriate legal and regulatory authorities.
          v.     Store all petroleum products and other hazardous materials in durable, impervious containers
                 which are clearly labeled to indicate their contents. Fuel used for boat and small engine operation
                 shall be stored in U.S. Coast Guard-approved containers.
         vi.     In the event of a discharge of petroleum products and other hazardous materials:
                 a. Undertake actions to limit and prevent the spreading of the discharge to the waters of the
                      United States.
                 b. Notify the appropriate agencies as soon as possible and within twenty-four (24) hours.
                 c. Commence cleanup efforts immediately and be completed as soon as possible, taking
                      precedence over normal work, and include the proper disposal of any spilled materials and
                      used cleanup materials (chemical wastes and spilled chemicals shall be removed from the
                      mariculture facility and disposed of at an approved facility).

   6. Structural Maintenance

   The permittee shall implement procedures to ensure structural maintenance of the facility. At a minimum, the
   permittee must ensure that all equipment is operational by:

       a. Routine inspection of the production system to identify and promptly repair any damage.
       b. Regularly conduct maintenance of the production system in order to ensure that it is properly
          functioning.

   7. Record-keeping

   The permittee shall implement record keeping procedures. At a minimum, the permittee must implement the
   following record maintenance requirements:

       a. Maintain records for aquatic animal net pens documenting feed amounts and estimates of the numbers
          and weights of aquatic animals in order to calculate representative feed conversion ratios.
       b. Keep records documenting frequency of cleaning, inspections, maintenance, and repairs. A checklist
          of record-keeping requirements is in Appendix R of EPA’s 2006 Compliance Guide for the
          Concentrated Aquatic Animal Production Point Source Category.


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    8. Training Requirements

    At a minimum, the permittee must implement the following training requirements:

        a. Train all relevant personnel in spill prevention and how to respond in the event of a spill to ensure
           proper clean-up and disposal of spilled materials.
        b. Train personnel on proper operation and cleaning of all feeding procedures, equipment, proper disposal
           of waste material including carcasses, administration of drugs, and treatment systems.

    9. Pathogen Requirements

    The permittee shall create and implement health management procedures to prevent and minimize the indirect
    transfer or discharge of aquaculture pathogens. At a minimum, the following procedures are required:

        a. Create a frequent fish inspection, fish sampling, or fish monitoring program to identify aquatic
           pathogens and parasites as early as practicable.
        b. Develop a cage monitoring and cleaning plan that maximizes flow through the rearing area.
        c. Identify the feasibility of using alternative disease control prevention measures such as vaccines.

B. Plan Development, Implementation, Submission, and Approval

The permittee must develop and implement a BMP Plan that meets the specific requirements listed in this Part. The
plan must be provided to the EPA within 90 days of permit issuance and approved by the EPA prior to discharge
(i.e. stocking of fish). The plan shall include the NPDES number, the name of the facility, the date the plan was
developed, and signed by an authorized representative pursuant to 40 CFR § 122.22. The BMP plan shall be
submitted to the EPA at the address shown in Part I of the permit.

C. Modification and Annual Certification

The permittee must amend the BMP Plan whenever there is a change in the facility or in the operation of the facility
which materially increases the generation of pollutants or their release or potential release to surface waters. With
any change in operator, the BMP Plan must be reviewed and modified, if necessary. The permittee must review the
BMP Plan annually and provide certification that the BMP plan has been reviewed annually and modified if
necessary. The annual certification is due July 31st of each year. If the BMP plan is modified, implementation of
the modified plan is required upon submittal to the EPA. When determined as necessary, the EPA has the authority
to require modifications to the BMP plan. Modification and certification are not required if the facility is not
operating or discharging.

D. Documentation

The permittee must maintain a copy of the BMP Plan at the facility and make it available to the EPA or an authorized
representative upon request.




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PART V – ENVIRONMENTAL MONITORING

A. Requirements

The permittee shall perform environmental monitoring as well as develop and implement an environmental
monitoring plan (EMP) to provide project-specific details for the water quality, sediment, and benthic infauna
monitoring and sampling requirements contained in the permit. The permittee must comply with the following
requirements:

   1. Water Quality Samples

       a. Sampling Locations

       Water quality samples shall be collected at locations along the primary current vector. Samples shall be
       collected at one point up-current of the cage (reference), two points directly next to the cage (effluent), and
       two locations down-current of the cage. Sampling locations shall be located along a transect passing through
       the center of the cage and run with the primary current vector (determined at the time of sampling). Samples
       shall also be collected at different depths depending on the location. The sample depths shall be based off
       the depth of the cage at the time of feeding. See Table 3 and Figure 1 at the end of Part V for a summary of
       the sampling locations. The cage shall not be moved vertically until after sampling is complete. The
       sampling sites include:

           i.   Up-current: The up-current sample (UC1) shall be collected at the same depth as mid-cage at a
                point approximately 500 meters up-current of the cage.
         ii.    Effluent: Two effluent samples shall be collected. One effluent sample must be at mid-cage depth
                (EF1). Another effluent sample shall be collected at a depth of less than 1 meter below the cage
                (EF2). Both samples shall be collected at a point less than 1 meter down-current from the edge of
                the cage.
         iii.   Down-current: One sample shall be collected at mid-cage depth (DC1). Another sample shall be
                collected 5 meters below the bottom of the cage (DC2). Both samples must be collected at a location
                approximately 5 meters down-current from the edge of the cage.

       d. Sampling Frequency

       Sampling shall occur at the monitoring frequency shown in Table 1 (Permit Part II.A) while the facility is
       discharging (fish are present). The sample during the last month shall be collected just prior to harvesting
       the fish to collect data representative of maximum biomass. Effluent and down current samples shall be
       collected no more than 30 minutes after feeding is complete. Upstream current samples shall be collected
       no more than 60 minutes before or after feeding is complete.

       e. Water Quality Parameters

       Water quality parameters shall include dissolved oxygen, pH, temperature, total suspended solids,
       chlorophyll-a, sulfide, copper, total ammonia-N, total nitrogen, and total phosphorous. Samples shall be
       collected at the locations and the frequencies mentioned above.

       Water quality-associated parameters shall include fish biomass, feed rate, feed conversion ratio, medicinal
       products, and current measurement. Monitoring shall be performed at the location and frequencies specified
       in Table 1.




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         f.     Current Measurement

         Water quality sampling locations shall be based on the primary current vector on the day of sampling. The
         primary current vector is the direction of the current at the facility on the day of sampling. To comply with
         the monitoring requirements, continuous measurements shall be taken to determine the direction and
         magnitude of the current prior to water quality sample collection. The primary current vector measurement
         shall be representative of the current at the time of sampling. The current measurement results and report
         must provide the direction (frequency distribution) and magnitude (average and maximum velocity) for the
         appropriate depth intervals (identified in the EMP by the permittee). The report shall also indicate the
         primary direction and magnitude at the time of water quality sampling. Current measurement data should
         be submitted in accordance with Permit Part III.B.

     2. Sediment Samples
         a. Sampling Locations

         Sediment samples shall be collected at intervals along a transect passing through the center of the site
         parallel to the long-term primary current vector. Sediment samples must occur at three sampling locations:

                i.   Up-current (SD1): approximately 2,000 meters up-current of the cage along the long-term primary
                     flow vector.
               ii.   Facility (SD2): in the middle of the project area along the long-term primary flow vector; and
              iii.   Down-current (SD3): at the down-current edge of the project site along the long-term primary
                     flow vector.

         b.      Sampling Frequency

         Sampling shall occur at stages corresponding with increments of increasing fish biomass and should be
         collected on the same day as that month’s water quality sample. Sediment samples will be collected during
         two periods:

                i.   when the production reaches an approximate 50 percent biomass; and
               ii.   at the maximum biomass immediately prior to harvesting.

         c. Sediment Parameters

         Sediment physical characteristics shall be collected consisting of particle size distribution and total solids.
         Sediment chemical composition samples shall consist of total volatile solids (TOV), total organic carbon
         (TOC), total nitrogen, total phosphate, hydrogen sulfide, and sediment oxygen demand.3

         d. Current Measurement

         Sediment sampling shall be based on the long-term primary current vector and shall remain the same
         throughout the lifetime of the project. The exact sampling locations will be determined after the cage has
         been placed in the water and the current measurements have confirmed the long-term primary current
         vector. To comply with the monitoring requirements, continuous measurements of the current velocity and
         direction shall be taken to determine the long-term primary current vector. The current results must provide
         the direction (frequency distribution) and magnitude (recorded as the average and maximum velocity) at
         the appropriate depth intervals identified in the EMP by the permittee. Current measurement data should
         be submitted in accordance with Permit Part III.B.


3
 Analytical methods to determine TOC or TOV may be hampered by sediment grain size as influenced by scouring currents. In the event
one or both parameters cannot be determined, the permittee must document such as a failure.

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    3. Benthic Sampling

        a. Sampling Locations

        Benthic samples shall be collected at the same sample locations as the sediment samples.

        b. Sampling Frequency

        Benthic samples shall be collected at the same frequency as the sediment samples.

        c. Benthic Parameters

        Benthic macroinvertebrates or infauna (organisms that are retained on a 0.5 mm sieve) shall be collected at
        each benthic sample location for community structure analysis. Organisms shall be identified to the lowest
        possible identification level and counted. Infauna community structure analysis shall include species
        richness and diversity. Species richness shall be calculated as Margalefs index: d = (S-1)/log N, where N is
        the total number of species in the sample). Species diversity must be calculated as Shannon diversity: H' =
        -i pi(log pi)).

        d. Current Measurement

        Benthic macroinvertebrate sampling shall be based on the long-term primary current vector and shall
        remain the same throughout the lifetime of the project. The exact sampling locations will be determined
        after the cage has been placed in the water and the current measurements have confirmed the long-term
        primary current vector. To comply with the monitoring requirements, continuous measurements of the
        current velocity and direction shall be taken to determine the long-term primary current vector. The current
        results must provide the direction (frequency distribution) and magnitude (recorded as the average and
        maximum velocity) at the appropriate depth intervals identified in the EMP by the Permittee. Current
        measurement data should be submitted in accordance with Permit Part III.B.

B. Plan Development, Implementation, Submission, and Approval

The permittee must develop and implement an EMP for all the monitoring required by the permit. The EMP plan
must be provided to the EPA within 90 days of permit issuance and approved by the EPA prior to discharge (i.e.
stocking of fish). The plan shall include the NPDES number, the name of the facility, the date the plan was
developed, and signed by an authorized representative pursuant to 40 CFR § 122.22. The EMP shall be submitted
to the EPA at the address shown in Part I of the permit.

C. Modifications to the EMP

The specifications in the monitoring program are subject to modification by the EPA if warranted, based on
evaluation of physical, chemical, and biological data or proposed changes. The permittee may request modifications
of the monitoring program in writing to the EPA. The EPA shall consider modification requests based on findings
of the monitoring program, in consultation with the permittee. If the EMP is modified, implementation of the
modified plan is required upon submittal to the EPA. When determined as necessary, the EPA has the authority to
require modifications to the EMP.

D. Documentation

The permittee must maintain a copy of the EMP at the facility and make it available to the EPA or an authorized
representative upon request.



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                 Table 3 – Summary of Sampling Locations with Distance and Depths

                     Depth              Up-current   Effluent    Down-current
                     Mid-cage           UC1          EF1         DC1
                     < 1 m below cage   -            EF2         -
                     5 m below cage     -            -           DC2


                                        Figure 1: Sampling Locations




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PART VI – FACILITY DAMAGE PREVENTION AND CONTROL

A. Requirements

The permittee must implement Facility Damage Prevention and Control (FDPC) practices as well as develop and
implement a FDPC plan to demonstrate that the facility is being operated and maintained to mitigate any
environmental impacts during any disaster and prevent the release of aquatic animals from entering waters of the
United States during any disaster. At a minimum, the permittee must use the below practices:

   1. Prevention Practices

   The permittee shall operate and maintain the facility, anchors, mooring lines, confinement structures, and
   support vessels in a structurally sound manner to prevent or minimize the impact of disasters. At a minimum,
   the following prevention practices shall be used:

       a. Identify procedures to operate and maintain all facility components in a structurally sound manner in
          order to prevent or minimize the impact of disasters.
       b. Describe how the facility systems conform with and will be maintained in accordance with all
          applicable manufacturer requirements and recommendations and include a maintenance schedule for
          all facility components.
       c. Provide a facility-specific analysis of potential risks for each type of disaster (extreme weather events,
          tropical storms, hurricanes, vessel strike, entanglement of mammals, etc.).
       d. Describe the procedures used to prevent, control, and/or minimize the impacts of disasters to the facility
          according to the type and magnitude of the disaster.
       e. Assess the appropriate materials, supplies, equipment, and tools needed to contain and collect aquatic
          life at the facility.
       f. Include the description of the reporting system which shall be used to alert responsible facility
          management and appropriate regulatory authorities during disasters.
       g. An emergency contact list including but not limited to the EPA, U.S. Army Corps of Engineers,
          National Marine Fisheries Service, and the U.S. Coast Guard.
       h. Develop procedures to contain and transfer commercial fish and other aquatic life in a manner which
          shall prevent the entry of commercial aquatic life into waters of the United States.
       i. Describe the emergency procedures that will be taken to minimize the structural failure of the facility
          or fish escapes.
       j. Provide written certification that all members of the facility’s staff have an operational familiarity with
          the prevention practices and plan.

   2. Disaster Response

   In the event of a disaster, the permittee shall undertake actions to limit and prevent environmental impacts and
   the release of commercial aquatic life into the waters of the United States. At a minimum, the disaster response
   efforts shall include:

       a. Procedures for notification of the appropriate agencies as soon as possible and within 24 hours of any
          disaster impacting the facility.
       b. Procedures requiring the permittee to report any emergency procedures used during a disaster. The
          report shall include the cause of the disaster, aquatic animal escape information, facility and/or aquatic
          animal recovery efforts, and the effectiveness of any emergency efforts deployed.
       c. Procedures for commencing response and cleanup efforts immediately and completing such efforts as
          soon as possible, taking precedence over normal work.
       d. Procedures for the proper disposal of dead or parts of commercial fish, aquatic life, and debris at an
          approved method.
       e. Provide written certification that all members of the facility’s staff have an operational familiarity with

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            the disaster response requirements and plan.

B. Plan Development, Implementation, and Submission

The permittee must develop and implement a FDPC plan to meet the requirements within this part of the permit.
The plan must be provided to the EPA within 90 days of permit issuance and approved by the EPA prior to discharge
(i.e. stocking of fish). The plan shall include the NPDES number, the name of the facility, the date the plan was
developed, and signed by an authorized representative pursuant to 40 CFR § 122.22. The FDPC plan shall be
submitted to the EPA at the address shown in Part I of the permit.

C. Modification and Annual Certification

The permittee must amend the FDPC plan whenever there is a change in the facility or in the operation of the facility
which materially increases the risk of damage to the site. The permittee must review the FDPC Plan annually and
provide certification that the FDPC Plan has been reviewed annually. The annual certification is due July 31st of
each year. Modification and certification is not required if the facility is not operating or discharging. If the FDPC
plan is modified, implementation of the modified plan is required upon submittal to the EPA. When determined as
necessary, EPA has the authority to require modifications to the FDCP plan.

D. Documentation

The permittee must maintain a copy of the FDCP Plan at the facility and make it available to the EPA or an
authorized representative upon request.




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PART VII – QUALITY ASSURANCE

A. Requirements

The permittee shall ensure that all monitoring data collected is reliable through the implementation of quality
assurance (QA) procedures and development a QA Project Plan (QAPP). Quality assurance procedures shall be
used to support sample collection and analysis, document and identify representative sampling conditions, and data
anomalies at the facility and in the receiving water body. The QAPP shall provide details (such as sampling devices,
methods, sample holding times, quality control/quality assurance, chain of custody, etc.) to be used to collect water
quality, sediment, and benthic samples. The permittee must use the appropriate EPA-approved quality assurance
and quality control (QA/QC) and chain-of-custody procedures throughout the sample collection and analysis
activities. More information about QA/QC procedures are described in the EPA’s Requirements for Quality
Assurance Project Plans 4 and Guidance for Quality Assurance Project Plans. 5 At a minimum, the QA procedures
must include the following:

     1. Details on the number of samples, type of sample containers, preservation of samples, holding times,
        analytical methods, analytical detection and quantification limits for each parameter, type and number of
        quality assurance field samples, precision and accuracy requirements, sample preparation requirements,
        sample shipping methods, chain of custody, and laboratory data delivery requirements.
     2. Requirements and procedures for the collection of information about the weather and ocean conditions
        during each sampling event such as a record of the sea surface conditions (wind, wave amplitude and
        frequency, rain, cloud cover, air temperature, salinity, current velocity, and current direction).
     3. Details about the production amounts such as current stocking density, feeding rate, and an analysis of feed
        contents.
     4. Description of current measuring devices and/or methods used to accurately measure the current vectors at
        the facility and within the sampling area, calibration procedures, and calculations used.
     5. Maps indicating the location of each sampling point.
     6. Qualification and training of personnel, or any specialized training and certifications, needed to properly
        conduct sampling, measurements, or perform analyses.
     7. Documentation of how environmental monitoring data will be managed, formatted, and compiled in
        electronic systems or databases.
     8. Name, address, and telephone number of the laboratory used by the permittee.

B. Plan Development, Implementation, Submission, and Approval

The permittee must develop and implement a QAPP for all monitoring required by this part of the permit. The
QAPP must be provided to the EPA within 90 days of permit issuance and approved by the EPA prior to discharge
(i.e., stocking of fish). The plan shall include the NPDES number, the name of the facility, the date the plan was
developed, and signed by an authorized representative pursuant to 40 CFR § 122.22. The QAPP shall be submitted
to the EPA at the address shown in Part I of the permit.

C. Modification and Annual Certification

The permittee must amend the QAPP whenever there is a change in the facility or in the operation of the facility
which materially increases the generation of pollutants or their release or potential release to surface waters. An
amendment to the QAPP is also required whenever there is a modification in sample collection, sample analysis, or
other procedure addressed by the QAPP. The permittee must amend the QAPP with any change in operator. The

4
  U.S. Environmental Protection Agency. 2001. EPA Requirements for Quality Assurance Project Plans (QA/R-5). EPA/240/B-01/003. U.S.
Environmental Protection Agency, Office of Environmental Information, Washington, DC.
< https://www.epa.gov/quality/epa-qar-5-epa-requirements-quality-assurance-project-plans >
5
  U.S. Environmental Protection Agency. 2002. Guidance for Quality Assurance Project Plans (QA/G-5). EPA/240/R-02/009. U.S.
Environmental Protection Agency, Office of Environmental Information, Washington, DC.
< https://www.epa.gov/quality/guidance-quality-assurance-project-plans-epa-qag-5>

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permittee must review the QAPP annually and provide certification that the QAPP has been reviewed annually. The
annual certification is due July 31st of each year. Modification and certification is not required if the facility is not
operating or discharging. If the QAPP is modified, implementation of the modified plan is required upon submittal
to EPA. When determined as necessary, EPA has the authority to require modifications to the QAPP.

D. Documentation

The permittee must maintain a copy of the QAPP at the facility and make it available to the EPA or an authorized
representative upon request.




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PART VIII – STANDARD CONDITIONS

A. General Conditions

1. Duty to Comply [40 CFR §§ 122.41(a) and 122.41(a)(1)]

The permittee must comply with all conditions of this permit. Any permit noncompliance constitutes a violation of
the CWA or Act) and is grounds for enforcement action; for permit termination, revocation and reissuance, or
modification; or denial of a permit renewal application. The permittee shall comply with effluent standards or
prohibitions established under Section 307(a) of the CWA for toxic pollutants and with standards for sewage sludge
use or disposal established under Section 405(d) of the CWA within the time provided in the regulations that
establish these standards or prohibitions or standards for sewage sludge use or disposal, even if the permit has not
yet been modified to incorporate the requirement.

2. Penalties for Violations of Permit Conditions [40 CFR § 122.41(a)(2) and 40 CFR § 122.41(a)(3)]

(Note: Civil and administrative penalty amounts described in this subsection are based on adjustments to the original
statutory amounts based on inflation, pursuant to the Federal Civil Penalties Inflation Adjustment Act of 1990 (28
U.S.C. § 2461 note; Pub. L. 101- 410, enacted October 5, 1990; 104 Stat. 890), as amended by the Debt Collection
Improvement Act of 1996 (31 U.S.C. § 3701 note; Public Law 104-134, enacted April 26, 1996; 110 Stat. 1321)
and as set forth at 40 CFR § 19.4.)

The CWA provides that any person who violates Section 301, 302, 306, 307, 308, 318 or 405 of the Act, or any
permit condition or limitation implementing any such sections in a permit issued under Section 402, or any
requirement imposed in a pretreatment program approved under Sections 402(a)(3) or 402(b)(8) of the Act, is
subject to a civil penalty not to exceed $51,570 per day for each violation. The CWA provides that any person who
negligently violates Sections 301, 302, 306, 307, 308, 318, or 405 of the Act, or any condition or limitation
implementing any of such sections in a permit issued under Section 402 of the Act, or any requirement imposed in
a pretreatment program approved under Section 402(a)(3) or 402(b)(8) of the Act, is subject to criminal penalties
of $2,500 to $25,000 per day of violation, or imprisonment of not more than one year, or both. In the case of a
second or subsequent conviction for a negligent violation, a person shall be subject to criminal penalties of not more
than $50,000 per day of violation, or by imprisonment of not more than two years, or both. Any person who
knowingly violates such sections, or such conditions or limitations is subject to criminal penalties of $5,000 to
$50,000 per day of violation, or imprisonment for not more than three years, or both. In the case of a second or
subsequent conviction for a knowing violation, a person shall be subject to criminal penalties of not more than
$100,000 per day of violation, or imprisonment of not more than six years, or both. Any person who knowingly
violates Section 301, 302, 303, 306, 307, 308, 318 or 405 of the Act, or any permit condition or limitation
implementing any of such sections in a permit issued under Section 402 of the Act, and who knows at that time that
he thereby places another person in imminent danger of death or serious bodily injury, shall, upon conviction, be
subject to a fine of not more than $250,000 or imprisonment of not more than 15 years, or both. In the case of a
second or subsequent conviction for a knowing endangerment violation, a person shall be subject to a fine of not
more than $500,000 or by imprisonment of not more than 30 years, or both. An organization, as defined in Section
309(c)(3)(B)(iii) of the CWA, shall, upon conviction of violating the imminent danger provision, be subject to a
fine of not more than $1,000,000 and can be fined up to $2,000,000 for second or subsequent convictions.

Any person may be assessed an administrative penalty by the Administrator for violating Section 301, 302, 306,
307, 308, 318 or 405 of this Act, or any permit condition or limitation implementing any of such sections in a permit
issued under Section 402 of this Act. Administrative penalties for Class I violations are not to exceed $20,628 per
violation, with the maximum amount of any Class I penalty assessed not to exceed $51,570. Penalties for Class II
violations are not to exceed $20,628 per day for each day during which the violation continues, with the maximum
amount of any Class II penalty not to exceed $257,848. The specific penalty amounts described above for violations
reflect those in effect at the time of permit issuance and are subject to change.



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3. Civil and Criminal Liability [40 CFR § 122.41(m) and (n)]

Except as provided in permit conditions on “Bypassing” Section B, and “Upset” Section B, nothing in this permit
shall be construed to relieve the permittee from civil or criminal penalties for noncompliance.

4. Duty to Mitigate [40 CFR § 122.41(d)]

The permittee shall take all reasonable steps to minimize or prevent any discharge or sludge use or disposal in
violation of this permit which has a reasonable likelihood of adversely affecting human health or the environment.

5. Permit Actions [40 CFR § 122.41(f)]

This permit may be modified, revoked and reissued, or terminated for cause. The filing of a request by the permittee
for a permit modification, revocation and reissuance, or termination, or a notification of planned changes or
anticipated noncompliance does not stay any permit condition.

6. Toxic Pollutants [40 CFR § 122.44(b)(1)]

If any applicable toxic effluent standard or prohibition (including any schedule of compliance specified in such
effluent standard or prohibition) is promulgated under Section 307(a) of the CWA for a toxic pollutant and that
standard or prohibition is more stringent than any limitation on the pollutant in the permit, the Director shall institute
proceedings under these regulations to modify or revoke and reissue the permit to conform to the toxic effluent
standard or prohibition.

7. Oil and Hazardous Substance Liability

Nothing in this permit shall be construed to preclude the institution of any legal action or relieve the permittee from
any responsibilities, liabilities, or penalties to which the permittee is or may be subject under Section 311 of the
CWA.

8. State Laws

Nothing in this permit shall be construed to preclude the institution of any legal action or relieve the permittee from
any responsibilities, liabilities, or penalties established pursuant to any applicable State law or regulation under
authority preserved by Section 510 of the CWA.

9. Effect of a Permit [40 CFR § 122.5(a)(l) and (2)]

Except for any toxic effluent standards and prohibitions imposed under Section 307 of the CWA and “standards for
sewage sludge use or disposal” under Section 405(d) of the CWA, compliance with a permit during its term
constitutes compliance, for purposes of enforcement, with Sections 301, 302, 306, 307, 318, 403, and 405 (a)-(b)
of the CWA. However, a permit may be modified, revoked and reissued, or terminated during its term for cause as
set forth in 40 CFR §§ 122.62 and 122.64.

Compliance with a permit condition which implements a particular “standard for sewage sludge use or disposal”
shall be an affirmative defense in any enforcement action brought for a violation of that “standard for sewage sludge
use or disposal” pursuant to Sections 405(e) and 309 of the CWA.

10. Property Rights [40 CFR § 122.5(b), 40 CFR § 122.41(g), and 40 CFR § 122.5(c)]

This permit does not convey any property rights of any sort, or any exclusive privilege. The issuance of a permit
does not authorize any injury to persons or property or invasion of other private rights, or any infringement of State
or local law or regulations.


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11. Onshore or Offshore Construction

This permit does not authorize or approve the construction of any onshore or offshore physical structures or facilities
or the undertaking of any work in any waters of the United States.

12. Severability

The provisions of this permit are severable, and if any provision of this permit, or the application of any provision
of this permit to any circumstance, is held invalid, the application of such provision to other circumstances, and the
remainder of this permit, shall not be affected thereby.

13. Duty to Provide Information [40 CFR § 122.41(h)]

The permittee shall furnish to the Director, within a reasonable time, any information which the Director may
request to determine whether cause exists for modifying, revoking and reissuing, or terminating this permit or to
determine compliance with this permit. The permittee shall also furnish to the Director upon request, copies of
records required to be kept by this permit.

14. Reopener Clause [40 CFR § 122.62(a)(7)]

This permit shall be modified, or alternatively, revoked and reissued, to comply with any applicable effluent
standard or limitation issued or approved under CWA § 301(b)(2)(C), CWA § 301(b)(2)(D), and CWA § 307(a)(2),
as amended, if the effluent standard or limitation so issued or approved:

    a. Contains different conditions or is otherwise more stringent than any condition in the permit; or

    b. Controls any pollutant not addressed in the permit.

The permit as modified or reissued under this paragraph shall contain any other requirements of the CWA then
applicable.




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B. Operation and Maintenance of Pollution Controls

1. Proper Operation and Maintenance [40 CFR § 122.41(e)]

The permittee shall always properly operate and maintain all facilities and systems of treatment and control (and
related appurtenances) which are installed or used by the permittee to achieve compliance with the conditions of
this permit. Proper operation and maintenance also includes adequate laboratory controls and appropriate quality
assurance procedures. This provision requires the operation of backup or auxiliary facilities or similar systems
which are installed by a permittee only when the operation is necessary to achieve compliance with the conditions
of the permit.

2. Need to Halt or Reduce Activity Not a Defense [40 CFR § 122.41(c)]

It shall not be a defense for a permittee in an enforcement action that it would have been necessary to halt or reduce
the permitted activity in order to maintain compliance with the conditions of this permit.

3. Bypass of Treatment Facilities [40 CFR § 122.41(m)(1)-(4)]

     a.   Definitions

          (1) “Bypass” means the intentional diversion of waste streams from any portion of a treatment facility.

          (2) “Severe property damage” means substantial physical damage to property, damage to the treatment
              facilities which causes them to become inoperable, or substantial and permanent loss of natural
              resources which can reasonably be expected to occur in the absence of a bypass. Severe property
              damage does not mean economic loss caused by delays in production.

     b.   Bypass not exceeding limitations

          The permittee may allow any bypass to occur which does not cause effluent limitations to be exceeded,
          but only if it also is for essential maintenance to assure efficient operation. These bypasses are not subject
          to the provisions of Paragraphs c. and d. of this subsection.

     c.   Notice

          (1) Anticipated bypass. If the permittee knows in advance of the need for a bypass, it shall submit prior
              notice, if possible, at least ten days before the date of the bypass.

          (2) Unanticipated bypass. The permittee shall submit notice of an unanticipated bypass as required in
              Section D, Subsection 8 (24-hour notice).

     d.   Prohibition of bypass

          (1) Bypass is prohibited, and the Director may take enforcement action against a permittee for bypass,
              unless:

               (a) Bypass was unavoidable to prevent loss of life, personal injury, or severe property damage; and

               (b) There were no feasible alternatives to the bypass, such as the use of auxiliary treatment facilities,
                   retention of untreated wastes, or maintenance during normal periods of equipment downtime.
                   This condition is not satisfied if adequate back-up equipment should have been installed in the
                   exercise of reasonable engineering judgment to prevent a bypass which occurred during normal
                   periods of equipment downtime or preventive maintenance; and


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               (c) The permittee submitted notices as required under Paragraph c. of this subsection.

          (2) The Director may approve an anticipated bypass, after considering its adverse effects, if the Director
              determines that it will meet the three conditions listed above in Paragraph d.(1) of this subsection.

4.   Upsets [40 CFR § 122.41(n)(1)-(4)]

     a.   Definition

          “Upset” means an exceptional incident in which there is unintentional and temporary noncompliance with
          technology-based permit effluent limitations because of factors beyond the reasonable control of the
          permittee. An upset does not include noncompliance to the extent caused by operational error, improperly
          designed treatment facilities, inadequate treatment facilities, lack of preventive maintenance, or careless
          or improper operation.

     b.   Effect of an upset

          An upset constitutes an affirmative defense to an action brought for noncompliance with such technology-
          based permit effluent limitations if the requirements of Paragraph c. of this subsection are met. No
          determination made during administrative review of claims that noncompliance was caused by upset, and
          before an action for noncompliance, is final administrative action subject to judicial review.

     c.   Conditions necessary for a demonstration of upset

          A permittee who wishes to establish the affirmative defense of upset shall demonstrate, through properly
          signed, contemporaneous operating logs, or other relevant evidence that:

          (1) An upset occurred and that the permittee can identify the cause(s) of the upset;

          (2) The permitted facility was at the time being properly operated;

          (3) The permittee submitted notice of the upset as required in Section D, Subsection 8 (24-hour notice);
              and

          (4) The permittee complied with any remedial measures required under Section A, Subsection 4.

     d.   Burden of proof

          In any enforcement preceding the permittee seeking to establish the occurrence of an upset has the burden
          of proof.

5.   Removed Substances

This permit does not authorize discharge of solids, sludge, filter backwash, or other pollutants removed during
treatment or control of wastewaters of the United States unless specifically limited in Part I.




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C. Monitoring and Records

1.   Representative Sampling [40 CFR § 122.41(j)(1)]

Samples and measurements taken for the purpose of monitoring shall be representative of the monitored activity.

All samples shall be taken at the monitoring points specified in this permit and, unless otherwise specified, before
the effluent joins or is diluted by any other waste stream, body of water, or substance. Monitoring points shall not
be changed without notification to and the approval of the Director.

2.   Current Measurements [40 CFR 122.44(i)(1)(iii)]

Appropriate current measurement devices and methods consistent with accepted scientific practices shall be selected
and used to ensure the accuracy and reliability of measurements of the volume of monitored discharges. The devices
shall be installed, calibrated, and maintained to ensure that the accuracy of all measurements are consistent with the
accepted capability of that type of device. Devices selected shall be capable of measuring current with a maximum
deviation of less than + 10% from the true discharge rates throughout the range of expected discharge volumes.

3. Monitoring Procedures [40 CFR § 122.41(j)(4)]

Monitoring results must be conducted according to test procedures approved under 40 CFR Part 136 unless another
method is required under 40 CFR sub-chapters N or O.

4.   Penalties for Tampering [40 CFR § 122.41(j)(5)]

The CWA provides that any person who falsifies, tampers with, or knowingly renders inaccurate any monitoring
device or method required to be maintained under this permit shall, upon conviction, be punished by a fine of not
more than $10,000, or by imprisonment for not more than 2 years, or both. If a conviction of a person is for a
violation committed after a first conviction of such person under this paragraph, punishment is a fine of not more
than $20,000 per day of violation, or by imprisonment of not more than 4 years, or both.

5.   Retention of Records [40 CFR § 122.41(j)(2)]

Except for records of monitoring information required by this permit related to the permittee's sewage sludge use
and disposal activities, which shall be retained for a period of at least five years (or longer as required by 40 CFR
Part 503), the permittee shall retain records of all monitoring information, including all calibration and maintenance
records and all original strip chart recordings for continuous monitoring instrumentation, copies of all reports
required by this permit, and records of all data used to complete the application for this permit, for a period of at
least 3 years from the date of the sample, measurement, report or application. This period may be extended by
request of the Director at any time.

6.   Record Contents [40 CFR § 122.41(j)(3)(i)-(vi)]

Records of monitoring information shall include:

     a.   The date, exact place, and time of sampling or measurements;

     b.   The individual(s) who performed the sampling or measurements;

     c.   The date(s) analyses were performed;

     d.   The individual(s) who performed the analyses;

     e.   The analytical techniques or methods used; and

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     f.   The results of such analyses.


7.   Inspection and Entry [40 CFR § 122.41(i)(1)-(4)]

The permittee shall allow the Director or an authorized representative (including an authorized contractor acting as
a representative of the Administrator), upon presentation of credentials and other documents as may be required by
law, to:

     a.   Enter upon the permittee's premises where a regulated facility or activity is located or conducted, or where
          records must be kept under the conditions of this permit;

     b.   Have access to and copy, at reasonable times, any records that must be kept under the conditions of this
          permit;

     c.   Inspect at reasonable times any facilities, equipment (including monitoring and control equipment),
          practices, or operations regulated or required under this permit; and

     d.   Sample or monitor at reasonable times, for the purposes of assuring permit compliance or as otherwise
          authorized by the CWA, any substances or parameters at any location.




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D. Reporting Requirements

1.   Change in Discharge [40 CFR § 122.41(l)(1)(i)-(iii)]

The permittee shall give notice to the Director as soon as possible of any planned physical alterations or additions
to the permitted facility. Notice is required only when:

     a. The alteration or addition to a permitted facility may meet one of the criteria for determining whether a
        facility is a new source in 40 CFR § 122.29(b); or

     b. The alteration or addition could significantly change the nature or increase the quantity of pollutants
        discharged. This notification applies to pollutants which are subject neither to effluent limitations in the
        permit, nor to notification requirements under Section D.

     c. The alteration or addition results in a significant change in the permittee's sludge use or disposal practices,
        and such alteration, addition, or change may justify the application of permit conditions that are different
        from or absent in the existing permit, including notification of additional use or disposal sites not reported
        during the permit application process or not reported pursuant to an approved land application plan.

2.   Anticipated Noncompliance [40 CFR § 122.41(l)(2)]

The permittee shall give advance notice to the Director of any planned changes in the permitted facility or activity
which may result in noncompliance with permit requirements.

Any maintenance of facilities, which might necessitate unavoidable interruption of operation and degradation of
effluent quality, shall be scheduled during noncritical water quality periods and carried out in a manner approved
by the Director.

3.   Transfer of Ownership of Control [40 CFR § 122.41(l)(3), § 122.61, and § 122.61(b)]

     a. This permit is not transferable to any person except after notice to the Director. The Director may require
        modification or revocation and reissuance of the permit to change the name of the permittee and
        incorporate such other requirements as may be necessary under the CWA.

     b. In some cases, modification or revocation and reissuance is mandatory.

     c. Automatic transfers. As an alternative to transfers of permits by modification, any NPDES permit may be
        automatically transferred to a new permittee if:

          (1) The current permittee notifies the Director at least 30 days in advance of the proposed transfer date
              in Subparagraph b(2) of this subsection;

          (2) The notice includes a written agreement between the existing and new permittee(s) containing a
              specific date for transfer of permit responsibility, coverage, and liability between them; and

          (3) The Director does not notify the existing permittee and the proposed new permittee of his or her intent
              to modify or revoke and reissue the permit. A modification under this subparagraph may also be a
              minor modification under 40 CFR § 122.63. If this notice is not received, the transfer is effective on
              the date specified in the agreement mentioned in Subparagraph b(2) of this subsection.




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4.   Monitoring Reports [40 CFR § 122.41(l)(4) and 40 CFR § 122.41(l)(4)(i)]

Monitoring results shall be reported at the intervals specified in this permit. Monitoring results must be reported on
a Discharge Monitoring Report (DMR) or forms provided or specified by the Director for reporting results of all
effluent and in-stream monitoring.

5.   Additional Monitoring by the Permittee [40 CFR § 122.41(l)(4)(ii)]

If the permittee monitors any pollutant more frequently than required by the permit using test procedures approved
under 40 CFR Part 136, or another method required for an industry-specific waste stream under 40 CFR subchapters
N or O, the results of this monitoring shall be included in the calculation and reporting of the data submitted in the
DMR.

6.   Averaging of Measurements [40 CFR § 122.41(l)(4)(iii)]

Calculations for all monitoring or limitations which require averaging of measurements shall utilize an arithmetic
mean unless otherwise specified by the Director in the permit.

7.   Compliance Schedules [40 CFR § 122.41(l)(5)]

The permittee shall achieve compliance with the effluent limitations and monitoring requirements specified for
discharges by the effective date of this permit. Reports of compliance or noncompliance with, or any progress
reports on, interim and final requirements contained in any compliance schedule of this permit shall be submitted
no later than 14 days following each schedule date. Any reports of noncompliance shall include the cause of
noncompliance, any remedial actions taken, and the probability of meeting the next scheduled requirement.

8.   Twenty-Four Hour Reporting [40 CFR § 122.44(g), 40 CFR § 122.41(l)(6), and 40 CFR § 122.44(g)]

The permittee shall report any noncompliance which may endanger health or the environment. Any information
shall be provided orally within 24 hours from the time the permittee becomes aware of the circumstances. A written
submission shall also be provided within five calendar days of the time the permittee becomes aware of the
circumstances. The written submission shall contain a description of the noncompliance and its cause; the period of
noncompliance, including exact dates and times, and if the noncompliance has not been corrected, the anticipated
time it is expected to continue; and steps taken or planned to reduce, eliminate, and prevent reoccurrence of the
noncompliance.

The following shall be included as information which must be reported within 24 hours under this paragraph. The
Director may waive the written report on a case-by-case basis for reports under this subsection if the oral report has
been received within 24 hours.

     a. Any unanticipated bypass which exceeds any effluent limitation in the permit.

     b. Any upset which exceeds any effluent limitation in the permit.

     c. Violation of a maximum daily discharge limitation for any of the pollutants listed by the Director in the
        permit to be reported within 24 hours.

9.   Other Noncompliance [40 CFR § 122.41(l)(7)]

The permittee shall report all instances of noncompliance not reported under Section D at the time monitoring
reports are submitted. The reports shall contain the information listed in Section D, Subsection 8.

10. Other Information [40 CFR § 122.41(l)(8)]


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Where the permittee becomes aware that it failed to submit any relevant facts in a permit application or submitted
incorrect information in a permit application or in any report to the Director, it shall promptly submit such facts or
information to the Director.

11. Changes in Discharge of Toxic Substances [40 CFR § 122.42(a)(1)(i-iii) and 40 CFR § 122.42(a)(2)(i-iii)]

The following conditions apply to all NPDES permits within the categories specified below:

     a.   Existing manufacturing, commercial, mining, and silvicultural dischargers. All existing manufacturing,
          commercial, mining, and silvicultural dischargers must notify the Director as soon as they know or have
          reason to believe:

          (1) That any activity has occurred or will occur which would result in the discharge, on a routine or
              frequent basis, of any toxic pollutant which is not limited in the permit, if that discharge will exceed
              the highest of the following “notification levels”:

               (a) 100 micrograms per liter (100 μg/l);

               (b) 200 micrograms per liter (200 μg/l) for acrolein and acrylonitrile; 500 micrograms per liter (500
                   μg/l) for 2,4-dinitrophenol and for
                   2-methyl-4,6-dinitrophenol; and 1 milligram per liter (1 mg/l) for antimony; or

               (c) Five times the maximum concentration value reported for that pollutant in the permit application
                   in accordance with 40 CFR § 122.21(g)(7).

          (2) That any activity has occurred or will occur which would result in any discharge, on a non-routine
              or infrequent basis, of a toxic pollutant which is not limited in the permit, if that discharge will exceed
              the highest of the following “notification levels”:

               (a) 500 micrograms per liter (500 μg/l);

               (b) 1 milligram per liter (1 mg/l) for antimony; or

               (c) Ten times the maximum concentration value reported for that pollutant in the permit application
                   in accordance with 40 CFR § 122.21(g)(7).

     b.   Publicly owned treatment works. All POTWs must provide adequate notice to the Director of the
          following:

          (1) Any new introduction of pollutants into the POTW from an indirect discharger which would be
              subject to Section 301 or 306 of CWA if it were directly discharging those pollutants; and

          (2) Any substantial change in the volume or character of pollutants being introduced into that POTW by
              a source introducing pollutants into the POTW at the time of issuance of the permit.

          (3) For purposes of this paragraph, adequate notice shall include information on the quality and quantity
              of effluent introduced into the POTW, and any anticipated impact of the change on the quantity or
              quality of effluent to be discharged from the POTW. [40 CFR § 122.42(b)]

12. Duty to Reapply [40 CFR § 122.41(b), § 122.21(d), § 122.6(a), and § 122.6(b)]

If the permittee wishes to continue an activity regulated by this permit after the expiration date of this permit, the
permittee must apply for and obtain a new permit.


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The application should be submitted at least 180 days before the expiration date of this permit. The Regional
Administrator may grant permission to submit an application later than the 180 days in advance, but no later than
the permit expiration date.

The conditions of an expired permit continue in force under 5 U.S.C. 558(c) until the effective date of a new permit
if the permittee has submitted a timely application under this subsection which is a complete application for a new
permit; and the Regional Administrator, through no fault of the permittee, does not issue a new permit with an
effective date on or before the expiration date of the previous permit. Permits continued under this section remain
fully effective and enforceable.

13. Signatory Requirements [40 CFR § 122.41(k)(1) and 40 CFR § 122.22]

All applications, reports, or information submitted to the Director shall be signed and certified.

     a.   All permit applications shall be signed as follows:

          (1) For a corporation. By a responsible corporate officer. For the purpose of this section, a responsible
              corporate officer means:

               (a) A president, secretary, treasurer, or vice-president of the corporation in charge of a principal
                   business function, or any other person who performs similar policy or decision-making
                   functions for the corporation, or

               (b) The manager of one or more manufacturing, production, or operating facilities,
                   provided the manager is authorized to make management decisions which govern the operation
                   of the regulated facility including having the explicit or implicit duty of making major capital
                   investment recommendations, and initiating and directing other comprehensive measures to
                   assure long term environmental compliance with environmental laws and regulations; the
                   manager can ensure that the necessary systems are established or actions taken to gather
                   complete and accurate information for permit application requirements; and where authority to
                   sign documents has been assigned or delegated to the manager in accordance with corporate
                   procedures.

               NOTE: The EPA does not require specific assignments or delegations of authority to responsible
               corporate officers identified in this subparagraph. The Agency will presume that these responsible
               corporate officers have the requisite authority to sign permit applications unless the corporation has
               notified the Director to the contrary. Corporate procedures governing authority to sign permit
               applications may provide for assignment or delegation to applicable corporate positions under this
               subparagraph rather than to specific individuals.

          (2) For a partnership or sole proprietorship. By a general partner or the proprietor, respectively; or

          (3) For a municipality, State, Federal, or other public agency. By either a principal executive officer or
              ranking elected official. For purposes of this section, a principal executive officer of a Federal agency
              includes:

               (a) the chief executive officer of the agency, or

               (b) a senior executive officer having responsibility for the overall operations of a principal
                   geographic unit of the agency (e.g., Regional Administrators of EPA).

     b.   All reports required by permits, and other information requested by the Director shall be signed by a
          person described in Paragraph a. of this section, or by a duly authorized representative of that person. A
          person is a duly authorized representative only if:

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         (1) The authorization is made in writing by a person described in Paragraph a. of this section;

         (2) The authorization specifies either an individual or a position having responsibility for the overall
             operation of the regulated facility or activity such as the position of plant manager, operator of a well
             or a well field, superintendent, position of equivalent responsibility, or an individual or position
             having overall responsibility for environmental matters for the company.

         (3) The written authorization is submitted to the Director.

    c.   Changes to authorization. If an authorization under Paragraph b. of this section is no longer accurate
         because a different individual or position has responsibility for the overall operation of the facility, a new
         authorization satisfying the requirements of Paragraph b. of this section must be submitted to the Director
         prior to or together with any reports, information, or applications to be signed by an authorized
         representative.

    d.   Certification. Any person signing a document under Paragraph a. or b. of this section shall make the
         following certification:

         “I certify under penalty of law that this document and all attachments were prepared under my direction
         or supervision in accordance with a system designed to assure that qualified personnel properly gather
         and evaluate the information submitted. Based on my inquiry of the person or persons who manage the
         system, or those persons directly responsible for gathering the information, the information submitted is,
         to the best of my knowledge and belief, true, accurate, and complete. I am aware that there are significant
         penalties for submitting false information, including the possibility of fine and imprisonment for knowing
         violations.”

14. Availability of Reports and the Administrative Record [40 CFR §§ 124.18 & 122.7]

Except for data determined to be confidential under 40 CFR Part 2, all reports prepared in accordance with the terms
of this permit shall be available for public inspection at the offices of the EPA. As required by the Act, permit
applications, permits and effluent data shall not be considered confidential.

15. Penalties for Falsification of Reports [40 CFR § 122.41(k)(2)]

The CWA provides that any person who knowingly makes any false statement, representation, or certification in
any record or other document submitted or required to be maintained under this permit, including monitoring reports
or reports of compliance or non-compliance shall, upon conviction, be punished by a fine of not more than $10,000
per violation, or by imprisonment for not more than six (6) months per violation, or by both.




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E. Definitions

1. The EPA [40 CFR § 122.2]

The Regional Administrator of EPA Region 4 or his/her designee is “The EPA,” unless at some time in the future
the State or Indian Tribe receives authority to administer the NPDES program and assumes jurisdiction over the
permit at which time, the Director of the State program receiving the authorization becomes the issuing authority.

The use of the term “Director” in this permit shall apply to the EPA Regional Administrator, Region 4.

2. Act [40 CFR § 124.2]

"Act" means the CWA (formerly referred to as the Federal Water Pollution Control Act or Federal Water Pollution
Control Act Amendments of 1972) Public Law 92-500, as amended by Public Law 95-217, Public Law 95-576,
Public Law 96-483, and Public Law 97-117, 33 U.S.C. 1251 et seq.

3. Discharge Monitoring Report (DMR) [40 CFR § 122.2]

“Discharge Monitoring Report” means the EPA national form (Form 3320-1) or electronic reporting form required
by the federal regulations including any subsequent additions, revisions, or modifications for the reporting of self-
monitoring results by permittees.

4. Measurements [40 CFR § 122.2]

The “Daily discharge” means the “discharge of a pollutant” measured during a calendar day or any 24-hour period
that reasonably represents the calendar day for purposes of sampling. For pollutants with limitations expressed in
units of mass, the “daily discharge” is calculated as the total mass of the pollutant discharged over the day. For
pollutants with limitations expressed in other units of measurement (i.e., concentration), the “daily discharge” is
calculated as the average measurement of the pollutant over the day.

The “average annual discharge limitation” means the highest allowable average of “daily discharges” over a period
of 12 consecutive calendar months, calculated as the “arithmetic mean” of the monthly averages for the current
calendar month and the 11 prior calendar months. The annual average is calculated each month. This limitation is
identified as “Annual Average” in the permit.

The “average monthly discharge limitation” other than for bacterial indicators, means the highest allowable average
of “daily discharges” over a calendar month, calculated as the sum of all “daily discharges” measured during a
calendar month divided by the number of “daily discharges” measured during that month. For bacterial indicators,
the “average monthly discharge limitation” is calculated using a “geometric mean.” This limitation is identified as
“Monthly Average” or “Daily Average” in the permit.

The “average weekly discharge limitation” means the highest allowable average of “daily discharges” over a
calendar week, calculated as the sum of all “daily discharges” measured during a calendar week divided by the
number of “daily discharges” measured during that week. This limitation is identified as “Weekly Average” in the
permit.

The “maximum daily discharge limitation” means the highest allowable “daily discharge.” This limitation is
identified as “Daily Maximum” in the permit.

The “Method Detection Limit (MDL)” means the minimum concentration of a substance (analyte) that can be
measured and reported with 99 percent confidence that the analyte concentration is greater than zero and is
determined from analysis of a sample in a given matrix containing the analyte.



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The “Minimum Level (ML)” means the concentration at which the entire analytical system must give a recognizable
signal and an acceptable calibration point. The ML is the concentration in a sample that is equivalent to the
concentration of the lowest calibration standard analyzed by a specific analytical procedure, assuming that all the
method-specified sample weights, volumes and processing steps have been followed.

5. Types of Samples

    a. Composite Sample: A “composite sample” is a combination of not less than eight influent or effluent
       portions (aliquots), of at least 100 ml, collected over the full time specified in the permit. The composite
       sample must be flow proportioned by either a time interval between each aliquot, or by volume as it relates
       to effluent flow at the time of sampling, or by total flow since collection of the previous aliquot. Aliquots
       may be collected manually or automatically.

    b. Grab Sample: A “grab sample” is a single influent or effluent portion which is not a composite sample. The
       sample(s) shall be collected at the period(s) most representative of the total discharge.

6. Calculation of Means

    a. Arithmetic Mean: The “arithmetic mean” of any set of values is the sum of the individual values divided
       by the number of individual values.

    b. Geometric Mean: The “geometric mean” of any set of values is the Nth root of the product of the individual
       values where N is equal to the number of individual values. The geometric mean is equivalent to the antilog
       of the arithmetic mean of the logarithms of the individual values. For purposes of calculating the geometric
       mean, values of zero (0) shall be considered to be one (1).

7. Permittee [40 CFR 122.21(b)]

The “permittee” means the operator who has substantial control over the day-to-day operations of the facility; when
a facility or activity is owned by one person but is operated by another person, it is the operator’s duty to obtain a
permit.

8. Hazardous Substance [40 CFR § 122.2]

A “hazardous substance” means any substance designated under 40 CFR Part 116 pursuant to Section 311 of the
CWA.

9. Toxic Pollutants [40 CFR § 122.2]

A “toxic pollutant” is any pollutant listed as toxic under Section 307(a)(1) of the CWA or, in the case of “Sewage
sludge use or disposal practices,” any pollutant identified in regulations implementing Section 405(d) of the CWA.




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APPENDICES 6

Appendix A: Best Management Practices (BMP) Plan Certification
Appendix B: Quality Assurance Plan (QAPP) Certification
Appendix C: Drug and Chemical Use Certification
Appendix D: Example Feed Conversion Ratios Log




6
 More guidance about the reporting and certification requirements for the aquaculture industry (including plans, certifications, reports, and
guidance) can be found in the Compliance Guide for the Concentrated Aquatic Animal Production Point Source Category.
U.S. Environmental Protection Agency. 2006. Compliance Guide for the Concentrated Aquatic Animal Production Point Source Category.
EPA-821-B-05-001. U.S. Environmental Protection Agency, Office of Water, Washington, DC.
< http://water.epa.gov/scitech/wastetech/guide/aquaculture/upload/2006_05_03_guide_aquaculture_guidance_full-final.pdf >.

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                                      Appendix A

                          Best Management Practices (BMP) Plan
                                     Certification




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                                     Best Management Practices (BMP) Plan
                                                    Certification


Facility Name: _________________________________________
NPDES Permit Number: ________________________________


The BMP Plan is complete and has been submitted to EPA.
The BMP Plan is being implemented by trained employees.
The BMP Plan has been reviewed and endorsed by the facility manager.
The individuals responsible for implementation of the BMP Plan have been properly trained.


“I certify under penalty of law that this document and all attachments were prepared under my direction or
supervision in accordance with a system designed to assure that qualified personnel properly gather and evaluate
the information submitted. Based on my inquiry of the person or persons who manage the system, or those persons
directly responsible for gathering the information, the information submitted is, to the best of my knowledge and
belief, true, accurate, and complete. I am aware that there are significant penalties for submitting false information,
including the possibility of fine and imprisonment for knowing violations.”



Print Name: _______________________________


Title/Company: ____________________________


Signature: _________________________________


Date: _____________________________________




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                                      Appendix B

                          Quality Assurance Project Plan (QAPP)
                                       Certification




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                                     Quality Assurance Project Plan (QAPP)
                                                    Certification




Facility Name: _________________________________________
NPDES Permit Number: ________________________________


The QAPP is complete and has been submitted to EPA.
The QAPP is being implemented by trained employees.
The QAPP has been reviewed and endorsed by the facility manager.
The individuals responsible for implementation of the QAPP have been properly trained.

“I certify under penalty of law that this document and all attachments were prepared under my direction or
supervision in accordance with a system designed to assure that qualified personnel properly gather and evaluate
the information submitted. Based on my inquiry of the person or persons who manage the system, or those persons
directly responsible for gathering the information, the information submitted is, to the best of my knowledge and
belief, true, accurate, and complete. I am aware that there are significant penalties for submitting false information,
including


Print Name: _______________________________


Title/Company: ____________________________


Signature: _________________________________


Date: _____________________________________




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                                     Appendix C

                                Drug and Chemical Use
                                   Report Contents




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           CHECKLIST FOR ORAL REPORT FOR INAD AND EXTRA-LABEL DRUG USE

Instructions: Provide an oral and written report to EPA within seven days after initiating use of the drug. The first
row is an example row.


                                                                                              Date Oral
  Reported to        Name of Drug (INAD &                                     First Date        Report
                                                          Method of
  Permitting         Extra-label) Used &                                       of Drug       Submitted       Initials
                                                          Application
  Authority?         Reason for Use                                              Use        to Permitting
                                                                                              Authority
                 Extra-label: Erythromycin
 ‫܈‬               Treat bacterial infections                 Injection         09/09/04        09/10/04      MJ


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             WRITTEN REPORT FOR AGREEING TO PARTICIPATE IN AN INAD STUDY


Facility Name:                                                            NPDES Permit Number:

Name of person submitting this report:

Date this written report was submitted to the permitting authority:


Instructions: Submit a written report to the EPA within 7 days of agreeing or signing up to participate in an INAD study.
The first row is an example row.


   Date Initiating          Name of INAD
                                                       Disease or Condition
    INAD Study              Drug Used &                                                            Method of Application
    Participation           Dosage                      Intended to Treat

                                                                                        ‫ ܈‬Medicated feed
                                                    For controlling                     ‫ ܆‬Injection
       09/09/04           Oxytetracycline           columnaris in walleye               ‫ ܆‬Bath treatment
                                                                                        ‫ ܆‬Other:


                                                                                        ‫ ܆‬Medicated feed
                                                                                        ‫ ܆‬Injection
                                                                                        ‫ ܆‬Bath treatment
                                                                                        ‫ ܆‬Other:


                                                                                        ‫ ܆‬Medicated feed
                                                                                        ‫ ܆‬Injection
                                                                                        ‫ ܆‬Bath treatment
                                                                                        ‫ ܆‬Other:


                                                                                        ‫ ܆‬Medicated feed
                                                                                        ‫ ܆‬Injection
                                                                                        ‫ ܆‬Bath treatment
                                                                                        ‫ ܆‬Other:


Note: This form is only an example of what a written report could look like. Facilities may use other types of existing written reports if available.




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                        WRITTEN REPORT FOR INAD AND EXTRA-LABEL DRUG USE



Facility Name:                                                NPDES Permit Number:

Name of person submitting this report:

Date this written report was submitted to the permitting authority:


Instructions: Submit a written report to the EPA within 30 days after initiating use of the drug. For extra-label drug
use, include the name of the prescribing veterinarian and date of the prescription. The first row is an example row.


                          Date and                                                              Total              Total
                          Time of                                                               Amount of          Amount of
  Name of Drug &
                         Application        Duration           Method of Application            Active             Medicated
  Reason for Use
                        (start date/time                                                        Ingredient         Feed
                        end date/time)                                                          Added              Added**

  Oxytetracycline          09/09/04                        ‫ ܈‬Medicated feed
                           10:00 AM        5               ‫ ܆‬Injection
                                           consecutive                                         1 g/lb as sole
  For control of                                           տ Bath treatment                                           50 lbs
                                           days                                                ration
  columnaris in            09/13/04                        տ Other:
  walleye                  10:00 AM

                                                           ‫ ܆‬Medicated feed
                                                           տ Injection
                                                           տ Bath treatment
                                                           տ Other:


                                                           ‫ ܆‬Medicated feed
                                                           տ Injection
                                                           տ Bath treatment
                                                           տ Other:


                                                           ‫ ܆‬Medicated feed
                                                           տ Injection
                                                           տ Bath treatment
                                                           ‫ ܆‬Other:


  * This form is only an example of what a written report could look like. Facilities may use other types of existing written
    reports if available.
  ** Applies only to drugs applied through medicated feed.




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                                      Appendix D

                               Feed Conversion Ratios Log




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                                       FEED CONVERSION RATIOS LOG
                      FLOW-THROUGH, RECIRCULATING, AND NET PEN SYSTEMS


Instructions: This example form may be used to keep track of feeding and to calculate/track feed conversion ratios
(FCR). The first row is an example row. The FCR is calculated with the following equation:


                            FCR = Dry weight of feed applied / Wet weight of fish gained


                                                                   Weights of
  Date (start                                 Total Feed
                Description of Group                              Animals (start      Weight       Calculated
  date   end                                  Amounts              weight end         Gained          FCR
  date)                                       (Estimate)            weight)

    3/20/04                                                          100 lbs
                Brook trout stockers for        5,275 lbs                             4,700 lbs        1.12
   10/21/04     Potomac River                                       4,800 lbs




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